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           THE UNITED STATES COURT OF APPEALS FOR THE FIRST CIRCUIT
           Appeal from the United States District Court for the District of Rhode Island

      MARY SEGUIN                                                   No. 23-1967
      Plaintiff-Appellant                                           No. 23-1978
                                                                    No. 24-1313
      v.
      RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, et al.
      Defendants-Appellees
                           ___________________
       APPELLANT’S L.R. 45.0(a) MOTION TO REINSTATE Appeal Cases No.
                              23-1978 and 24-1313

                                                and

       MOTION FOR AN ORDER WAIVING FEES In Cases No. 23-1978 and No.
          24-1313 UNDER THE REMEDY PRINCIPLE UNDER BIVENS
                          ___________________

              Texas Appellant, MARY SEGUIN, respectfully moves under Local Rule

      45.0 (a) to set aside the dismissal and reinstate Appeals No. 23-1978 and 24-1313.

      Public Interest is implicated – the Public has an interest in the fair administration

      of justice in the federal courts in the First Circuit, namely the Public has an interest

      in Appellant’s right to proceed in the pending official proceeding before this Court

      in Appeal 23-1967, free from a multitude of functus officio void ab initio

      interference or functus officio under color of federal law alterations and

      falsifications of record on appeal by William E. Smith, a functus officio federal

      public officer under the ministerial supervision of the Chief Judge of the Court of

      Appeals in the First Circuit. Appellant is injured and is prejudiced as a result.

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      Under applicable Supreme Court laws, the Appellant is entitled to remedy for

      injury resulting from federal public officers, inter alia, functus officio officers,

      acting under color of federal law that moreover violate criminal obstruction laws,

      under Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403

      U.S. 388 (1971); see, also, Fischer v. U.S., 603 U.S. __ (2024); district courts

      have jurisdiction over Bivens causes of action under 28 U.S.C. § 1331 because

      they are “civil actions arising under the Constitution.” Carlson, 446 U.S. at 21-22

      (“[O]ur decisions, although not expressly addressing and deciding the question,

      indicate that punitive damages may be awarded in a Bivens suit.”); Sanchez v.

      Rowe, 651 F. Supp. 571, 574 (N.D. Tex. 1986) (“[P]unitive damages may be

      awarded against an individual defendant in a Bivens suit”) (citing Carlson, 446

      U.S. at 22). The Supreme Court has reasoned that a Bivens action deters future

      constitutional violations of individual officers by providing a mechanism by which

      they can be held accountable for their unlawful actions. See Malesko, 534 U.S. at

      70 (“The purpose of Bivens is to deter individual federal officers from committing

      constitutional violations.”). Plaintiff moreover is entitled to injunctive actions

      brought against officers who, in their official capacities, have the authority to carry

      out the requested injunctive relief. See, e.g., Hubbard v. EPA Adm’r, 809 F.2d 1,

      11 (D.C. Cir. 1986) (recognizing claim against the agency for equitable relief to

      remedy constitutional violations); Solida v. McKelvey, 820 F.3d 1090 (9th Cir.


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      2016) (holding that Bivens suits are individual capacity suits; and official

      government action can be enjoined). Thus, in this case in which claims for both

      damages under Bivens and injunctive relief can be brought, the Plaintiff seeks to

      sue public officers in both their individual capacity (for the Bivens claim) and their

      official capacity (for the injunctive relief claim), including federal auditors or

      persons or officers who knew or should have known of alteration and falsification

      of federal records and obstruction in Rhode Island, including federal court records.

      See, the Ninth Circuit affirmed the availability of a Bivens remedy “where a

      federal official willfully submitted false documentation evidence and the

      submission of this evidence resulted in a complete bar to relief to which the

      individual was otherwise entitled under congressionally enacted laws.” Lanuza v.

      Love, 899 F.3d 1019, 1028 (9th Cir. 2018), indicating that Congress contemplated

      the availability of civil actions for statutory or constitutional violations by federal

      officers and state officers authorized to act in a federal capacity)). Notably Bivens

      applies to First and Fourth Amendment injuries: In 2021, the Ninth Circuit

      recognized a Bivens remedy against a border patrol agent for First and Fourth

      Amendment violations; see, Boule v. Egbert, 998 F.3d 370 (9th Cir. 2021) (federal

      agent entered the plaintiff’s private property and physically injured him).

            Moreover, the Supreme Court held in Hormel v. Helvering, 312 U.S. 552

      (1941) that “Rules of practice and procedure are devised to promote the ends of

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      justice, not to defeat them. A rigid and undeviating judicially declared practice

      under which courts of review would invariably and under all circumstances decline

      to consider all questions which had not been previously urged would be out of

      harmony with this policy. Rules of procedure do not require sacrifice of the rules

      of fundamental justice.” Id. at 557.

            Appellant is entitled to the requested remedy of waiving $605 filing and

      docketing fees per appeal prescribed under mere appellate rules, in order to appeal

      functus officio public officers’ criminal obstruction of this Court’s records under

      color of federal law, interfering with Appeal No. 23-1967. Requiring fee payment

      under pains of dismissal amounts to nothing more than “sacrifice of the rules of

      fundamental justice.” Id. at 557.

            On September 15, 2024, Appellant filed with the clerk of the court of the

      district court for the District of Rhode Island the attached Rule 62.1 Motion for

      Indicative Ruling to amend and supplement under Rules 15(a)(2) and 15(d) Bivens

      claims. See attached filing, attached to Exhibit I.

            Just as Appellant is entitled under the law to access to Bivens claims in

      district courts, Appellant is entitled to remedy for injury suffered here in the

      pending official proceeding Appeal No. 23-1967 by functus officio public officers’

      alterations and falsifications of the record on appeal held in the district and


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      appellate Courthouses in the First Circuit. Appellant’s reasonable request for

      partial remedy directly available in the appellate court at this time is the waiving of

      the court fees. Rigid adherence to the $605 per appeal fee payment fails to serve

      any purpose in the furtherance of the Court’s obligation towards the fair

      administration of justice, as void ab initio orders can be attacked collaterally at any

      time in any court. See, e.g., Vallely v. Northern Fire & Marine Ins. Co., 254 U.S.

      348, 41 S. Ct. 116 (1920) “a void order may be attacked at any time in any court,

      either directly or collaterally”; “[void] orders are regarded as nullities. They are

      not voidable, but simply void, and this even prior to reversal.” Old Wayne Mut. I.

      Assoc. v. McDonough, 204 U.S. 8, 27 S. Ct. 236 (1907). Accordingly, under these

      circumstances, forcing the Appellant to “pay to challenge access” or “pay for

      remedy relief” or “pay to play” runs afoul of First Amendment rights and federal

      laws, and the fair administration of justice. Appellant is prejudiced.

            On September 3, 2024, Appellant had moreover filed a motion to waive fees.

      Document: 00118185554. The Court’s September 4, 2024 Order (Document:

      00118185743) relies on Rule 45.0(a) and is silent on Appellant’s September 3,

      2024 Document: 00118185554 motion to waive fees. The Court’s August 15,

      2024 Order had not considered the Bivens holding, that by its principle, entitles

      Appellant to remedy for injuries caused by functus officio public officers under

      color of federal law. Appellant’s September 15, 2024 filed Rule 62.1 Motion for

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      Indicative Ruling on Rule 15(a) and (d) Bivens Claims in district court makes clear

      that Appellant is entitled to damages remedy in district courts as well as entitled to

      waived fees relief in appellate courts under the fair administration of justice, and

      under Public Interest.

                                             CONCLUSION

                   WHEREFORE, the Appellant respectfully requests this Appeals Court

      to GRANT the Appellant’s herein Motion for an Order waiving fees, and reinstate

      Appeal No. 23-1978 and 24-1313 under L.R. 45.0(a). The Appellant requests the

      Court to commit its decision and reasoning in writing, including adequate redress

      for the functus officio mispriscio clericio harm suffered by the Appellant after the

      Court already performed forensic investigation of the record on appeal showing

      forensic misconduct in May 2024, for Article III Supreme Court review. The

      Appellant respectfully requests any and all relief under these extraordinary

      circumstances involving 18 U.S.C. §1512(c) and Section 1503 obstruction by

      officers of the federal court in the district court for the district of Rhode Island.

                                        Respectfully submitted,
                                        Mary Seguin
                                        Pro Se
                                        /s/____________________
                                        Email: maryseguin22022@gmail.com
                                        Phone: (281)744-2016
                                        P.O. Box 22022

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                                      Houston, TX 77019

                                      Dated: September 15, 2024

                               CERTIFICATE OF SERVICE

            This is to certify that the foregoing instrument has been served via the

      Court’s ECF filing system on September 15, 2024, on all registered counsel of

      record, and has been transmitted to the Clerk of the Court.


                                                     Mary Seguin
                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019




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                                 EXHIBIT I.
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                                                                                                        6665205




                      United States Court of Appeals
                                       For the First Circuit
                                          _____________________

      No. 23-1978
                                               MARY SEGUIN,

                                             Plaintiff - Appellant,

                                                       v.

       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
            ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
         MEYERSIEK, in his individual and official capacity; PRISCILLA GLUCKSMAN; PAUL
         GOULD; JOHN A. LANGLOIS; MICHAEL D. COLEMAN, in his individual and official
             capacity; DEBORAH A. BARCLAY, in her individual and official capacity; LISA
          PINSONNEAULT, in her individual and official capacity; CARL BEAUREGARD, in his
         individual and official capacity; KEVIN TIGHE; MONIQUE BONIN; WENDY FOBERT;
       KARLA CABALLEROS; TIMOTHY FLYNN; RHODE ISLAND COURT SYSTEM; PAUL
        A. SUTTELL, in his individual and official capacity as Executive Head of Rhode Island State
      Court System; RHODE ISLAND ADMINISTRATIVE OFFICE OF STATE COURTS; RHODE
         ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT; RHODE ISLAND
      JUDICIAL COUNCIL; RHODE ISLAND SUPERIOR COURT; RHODE ISLAND SUPERIOR
            COURT JUDICIAL COUNCIL; THE JUDICIAL TECHNOLOGY CENTER; JULIE
       PATALANO HAMIL; MARISA P. BROWN; FRANK DIBIASE; JOHN JOSEPH BAXTER,
          JR.; JUSTIN CORREA; RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL;
       RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT;
               ADAM D. ROACH; PETER F. NERONHA; TYLER TECHNOLOGIES, INC.,

                                            Defendants - Appellees.
                                            __________________

                                                 JUDGMENT

                                         Entered: September 4, 2024
                                        Pursuant to 1st Cir. R. 27.0(d)

              Plaintiff-Appellant Mary Seguin is presently in default for failure to pay the docketing fee.
      The court previously issued an order to appellant on August 13, 2024, which warned appellant that
      failure to pay the docketing fee would result in this appeal's dismissal for lack of diligent
      prosecution. The order extended appellant's deadline to pay the docketing fee until September 3,
      2024. Appellant has failed to comply.

              Accordingly, it is ordered that the above-captioned appeal be dismissed. See 1st Cir. R.
      3.0(b) and 45.0(a).
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                                                       Filed:09/04/2024
                                                              09/15/2024   Entry
                                                                           EntryID:
                                                                                 ID:6665205
                                                                                     6667446




                                              By the Court:

                                              Maria R. Hamilton, Clerk


      cc:
      Peter F. Neronha
      Joanna M. Achille
      Mary Seguin
      Marissa D. Pizana
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                                                                          Mary Seguin <maryseguin22022@gmail.com>



23-cv-126 Plaintiff's Second Rule 62.1 Motion on Indicative Ruling on Rule 15(a) and
15(d) Motions to Add Bivens Claims
Mary Seguin <maryseguin22022@gmail.com>                                                     Sun, Sep 15, 2024 at 3:11 PM
To: RID_ECF_INTAKE <RID_ECF_INTAKE@rid.uscourts.gov>

  Dear Clerks of the Court,

  Please find attached my Second Rule 62.1 Motion on Indicative Ruling on Rule 15(a) and 15(d) to add, among others,
  Bivens claims.

  Please docket, pursuant Fed. R. Civ. P 79.

  Thank you in advance for your assistance.

  Wish you a nice day.

  Respectfully submitted,
  Mary Seguin




      Final 23-cv-126 Rule 62.1 motion on Rule 15(a) and 15(d) motions to add Bivens WITH EXHIBITS 091524.pdf
      6037K
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                        Civil Action No. 1:23-cv-126-WES-PAS
                                  U.S. Court of Appeals for the First Circuit Appeal No. 23-1967
                                  Related Appeal No. 23-1851
                                  Related Appeal No. 24-1451

       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, et al.
       Defendants-Appellees
       Defendants



               SECOND RULE 62.1 INDICATIVE MOTION ON PLAINTIFF’S
       RULE 60(b), RULE 15(a)(2) and RULE 15(d) MOTIONS TO SUPPLEMENT
        AND ADD BIVENS AND TORT CLAIMS AND FEDERAL AND STATE
        DEFENDANTS FOR DAMAGES CLAIMS AND INJUNCTIVE RELIEF


                               ORAL ARGUMENT REQUESTED
                                         ___________________


         STATE-SPONSORED ORGANIZED FRAUD, THEFT OF PUBLIC
       MONEY AND GOVERNMENT PROGRAMS INVOLVING BILLIONS OF
                            DOLLARS
         Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
        the Title IV-D Legal Framework Involving Organized Felonious Obstruction
           of Justice Acts by Defendants, Obstruction of Justice and Misprision of
                              Felony by Defendant Counsels, and


                                    I.      UNDISPUTED FACTS


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          Before the Court is Plaintiff’s Rule 62.1 Indicative Motion filed on September

       6, 2024 (ECF 64). On September 13, 2024, Plaintiff-Appellant filed Appellant’s

       Opening Brief in Appeal No. 23-1967 that arises from the above-captioned district

       court case. Plaintiff, MARY SEGUIN, hereby incorporates all factual allegations

       and arguments alleged therein (in ECF 64 and 23-1967 Opening Brief) as fully

       alleged herein, and hereby moves under Rule 62.1 for an Indicative Ruling on

       Plaintiff’s Rule 15(a)(2) and Rule 15(d) Motions to (1) add tort and Bivens claims

       to the Amended Complaint (ECF 25), and to (2) supplement the Pleading with

       facts subsequent to the September 1, 2023 Amended Complaint; and to add

       defendants William E. Smith, John Doe and Jane Doe clerks of the United States

       District Court for the District of Rhode Island, Joanna Achille, Marissa Pizana and

       Peter Neronha and all named individual defendants in their individual functus

       officio void ab initio capacities under Bivens (federal) and official and individual

       liability of the defendants for tort claims, Sections 1983 claims and RICO claims

       (monetary damages) for misprisio clerici obstruction acts that further involve

       concealing any and all federal record alteration and falsification already aforesaid

       raised before this Court and the Court of Appeals in the First Circuit, and

       interfering with the pending Appeals 23-1967, then 23-1978, that exposes the

       above named for Bivens, tort, 42 U.S.C. §1983, civil RICO, among others.

       Plaintiff seeks $605,000 in damages per count and $605 Million in damages for the


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       conspiracy. Public Interest is implicated - their obstruction acts and conspiracy go

       towards the legitimacy of the judiciary and the legitimacy of the government.

          Plaintiff hereby preserves the issues raised in this motion for Article III review

       by the U.S. Supreme Court and states on the record that the raised and preserved

       issues are ripe for Supreme Court review.

          In support thereof, the Plaintiff states the follows:

                                     I. LAW AND ARGUMENT

       1. Plaintiff is injured and seeks to sue aforesaid William E. Smith, John Doe and

       Jane Doe individually under Bivens claims for his and their post-appeal functus

       officio void ab initio acts, altering and concealing the alteration and falsification of

       federal records of the record on appeal, and aiding in and concealing his former

       clients’ alteration and falsification of federal Title IV-D federal Central Registry

       records for the purpose of making false claims that exposes him and the above-

       named to, among others, civil rights deprivation, obstruction and RICO liability

       and monetary damages. The Ninth Circuit Court of Appeals explains that “[t]he

       whole administrative record,” as per 5 U.S.C. § 706, “’is not necessarily those

       documents that the agency has complied and submitted as ‘the’ administrative

       record.’ ’The ‘whole’ administrative record . . . consists of all documents and

       materials directly or indirectly considered by agency decision-makers and includes


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       evidence contrary to the agency’s position.’” Thompson v. United States Dep’t of

       Labor, 885 F.2d 551, 555 (9th Cir. 1989) (emphasis in original; citations omitted).

       The newly discovered evidence prescribing administrative procedures that

       systemically and systematically shows falsification and alteration of federal Title

       IV-D records as it relates to Rhode Island’s unlawful 12% compound interest that

       prescribes “zeroing out” interest and altering support orders to zero out interest,

       purposefully on its face is intended to conceal the unlawful and 42 U.S.C. §

       654(21)(A) noncompliant 12% compound interest Rhode Island Defendants seek

       to collect in actions in debt, triggering systemic (1) RICO liability, (2) false claims

       liability and (3) obstruction liability. The Supreme Court Trump v. U.S., 603

       U.S.__(2024) and Fischer v. U.S., 603 U.S. __ (2024) made it crystal clear that

       alterations and falsification of court orders trigger 18 U.S.C. § 1512(c)(2), record

       alterations that interfere with a pending proceeding, which is precisely what the

       functus officio William E. Smith leading the charge of the remainder aforesaid

       persons did post-appeal, and concealed the record alteration, that as it turns out,

       goes towards the impeding and impairing the availability of, and concealment of

       [precisely and textually what the new evidence prescribes to do, alter court orders

       to zero out the interest. The whole district court post-judgment administrative

       record and Smith’s former clients’ Title IV-D administrative record must now be

       brought before this Court.


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        II. FED. R. CIV. P. 62.1 ALLOWS THIS COURT TO REMEDY SMITH’S,
              JOHN DOE’S, JANE DOE’S AND DEFENDANTS’ CRIMINAL
                                    MALFEASANCE.
       2. Defendants’ criminal record alteration and falsification obstruction

       malfeasance infiltrates the federal district court for the District of Rhode Island by

       their former attorney, the functus officio William E. Smith, who led the functus

       officio charge to tamper the record on appeal of 23-1967 post-appeal during the

       pendency of the appeal, corruptly calculated in part to make the federal appellate

       court to falsely believe it lacked jurisdiction over an appeal proper before it – since

       post-judgment Smith obstructed appellate review of Plaintiff’s monetary damages

       claims for, as it turns out, his former clients’ systemic administrative procedures of

       Title IV-D that alters and falsifies the interest records calculated to ultimately

       make false claims for Rhode Island’s unlawful 12% compound interest debt, and to

       make false claims for federal funding operating the RICO scheme – Smith himself

       has a personal interest in the outcome of this matter, as he knew and should have

       known the systemic odious Title IV-D federal record falsification that is in effect

       throughout all political subdivisions of Rhode Island, who are his former clients,

       with whom he had in addition, intimate political and personal relationships – his

       judgeship is precisely owed to this very loyal political relationship to Governor

       Chafee who is responsible for approving the record alteration administrative

       procedures dated 2011 that is in question in 2011, (see Exhibit I, at bottom left


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       corner of document, date of 2011); central to the facts and evidence is the fact that

       Governor Chafee oversaw the Executive Office of Health and Human Services that

       also had to approve the record alteration administrative procedures under Rhode

       Island laws and regulations that themselves are regulated by federal law and

       auditors under Title IV-D. See, Rhode Island General Laws § 42-7.2-2, § 42-7.2-

       4, § 42-7.2-5, § 42-7.2-6, § 42-7.2-6.1(2). The new evidence makes clear that the

       “zeroing out interest” procedures apply to Rhode Island’s prior legacy Title IV-D

       computer system named InRed. See Exhibit I. InRed is the legacy system that

       Rhode Island implement in response to Congress’s 1996 Amendments to Title IV-

       D that required participating States to implement a computer record system for

       federal Title IV-D records, that needed to be in effect by the year 2000. See 42

       U.S.C. §654(24), (27). From 1996 to 2002, Smith built and headed the largest

       Rhode Island Public Law Practice advising a broad base of political subdivisions

       of Rhode Island covered by 42 U.S.C. §654(1), who knew and should have known

       Rhode Island’s falsification of Title IV-D records in response to Congress’s 1996

       Amendments across the State in order to falsely make it look like Rhode Island

       federal law compliant, calculated to make claims for federal funding Rhode Island

       knew it is ineligible for, and would moreover incur substantial penalties. See 42

       U.S.C. §655. Accordingly, Smith’s personal interest in the outcome of this matter

       is so great that he led the charge pre-appeal to obstruct docketing of three post-


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       judgment motions raising his disqualification, and then post-appeal to alter the

       record on appeal, to falsely make it look like there were pending post-judge

       motions before the filing of the notice of appeal in order to falsely make the

       appellate falsely believe that the appellate court lacked jurisdiction to review de

       novo Plaintiff’s properly filed appeal (ECF 32, 32-1, 33, 33-1). Smith et al. is

       exposed to Bivens liabilities under federal law for their post-appeal actions, and

       Defendants’ and their counsels’ federal obstruction actions expose them to tort,

       Section 1983 and RICO monetary damages liabilities.

       2. Plaintiff has already proffered the newly discovered evidence to obtain an

       indicative ruling – see ECF 64. To reiterate, “A party proffering newly discovered

       evidence may obtain an indicative ruling from a district court concerning relief

       from judgment pending appeal.” Franken v. Mukamal, 449 F. App’x 776, 779

       (11th Cir. 2011) (citing Fed. R. Civ. P. 62.1; Fed. R. App. P. 12.1); see also

       Amarin Pharm. Ireland v. Food & Drug Admin., 139 F. Supp. 3d 437, 447 (D.D.C.

       2015) (“Where a district court concludes, for example, that newly discovered

       evidence warrants vacatur of a judgment that is already on appeal, the court can

       issue an indicative ruling . . . .”).

       3. Once an appeal is filed, the District Court no longer has jurisdiction to consider

       motions to vacate judgment. Gould v. Mut. Life Ins. Co. of N.Y., 790 F.2d 769, 772

       (9th Cir.1986). However, the District Court may entertain and decide a motion
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       after notice of appeal is filed if the movant adheres to Rule 62.1, which sets forth a

       process to “ask the district court whether it wishes to entertain the motion, or to

       grant it, and then move this court, if appropriate, for remand of the case.” Id; see

       also Crateo, Inc. v. Intermark, Inc., 536 F.2d 862, 869 (9th Cir. 1976) (“The most

       the District Court could do was to either indicate that it would ‘entertain’ such a

       motion or indicate that it would grant such a motion.”). If the District Court states

       that it would grant the motion or that the motion raises a “substantial issue,” the

       movant must notify the Circuit Clerk and the District Court “may decide the

       motion if the court of appeals remands for that purpose.” Fed. R. Civ. P. 62.1(b),

       (c); see also Hoopa Valley Tribe v. Nat'l Marine Fisheries Serv., No. 16- 04294,

       2018 WL 2010980, at *4 (N.D. Cal. Apr. 30, 2018) (district courts “have authority

       to deny [a motion], but . . . may not grant it without a remand from the court of

       appeals”).

        1. Fed. R. Civ. P. 60(b) Relief From This Court’s Judgment is Appropriate.

       4. Usually, Rule 62.1 relief is sought under Rule 60(b). See Williams v. Woodford,

       384 F.3d 567, 586 (9th Cir. 2004) (“To seek Rule 60(b) relief during the pendency

       of an appeal, the proper procedure is to ask the district court whether it wishes to

       entertain the motion, or to grant it, and then move this court, if appropriate, for

       remand of the case.”). As explained in Hake v. Guardian Life Ins. Co.: Rule 62.1

       permits the Court to make an “indicative ruling” on a post-judgment motion to give
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       the Court of Appeals an indication on how the Court would rule if it still had

       jurisdiction to rule. The Rule 62.1 “indicative ruling” procedure was instituted to

       deal with post-appeal Rule 60(b) motions, where a district court lacks jurisdiction

       to rule directly. No. 07-1712, 2010 WL 11578944, at *2 (D. Nev. Apr. 1, 2010)

       (citing Fed. R. Civ. P. 62.1 advisory committee’s note). In Comm. on Oversight &

       Gov't Reform, United States House of Representatives v. Sessions it was similarly

       explained: Rule 62.1 provides that upon the timely filing of a motion for relief that

       the court lacks authority to grant because of an appeal that has been docketed and

       is pending, the court may: (1) defer considering the motion; (2) deny the motion; or

       (3) state either that it would grant the motion if the court of appeals remands for

       that purpose or that the motion raises a substantial issue. This rule is invoked in

       situations where a court has lost jurisdiction over a case because it has been

       docketed for appeal, and therefore cannot entertain motions such as those made

       under Rule 60(b) for relief from judgment. Rule 62.1 allows a court to indicate to

       the appeals court that it would grant the party’s motion if remanded to the lower

       court. 344 F. Supp. 3d 1, 7 (D.D.C. 2018) (quotation omitted).

                2. Fed. R. Civ. P. 15(a)(2) Leave To Amend Is Also Appropriate.

       5. While “Rule 62.1 codifies the procedure most courts used to address Rule 60(b)

       motions to vacate final judgments which had already been appealed . . . , nothing in

       Rule 62.1’s language limits its application to Rule 60(b) motions or to motions
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       made after final judgment.” Ret. Bd. of Policemen's Annuity v. Bank of New York

       Mellon, 297 F.R.D. 218, 221 (S.D.N.Y. 2013). The Advisory Committee’s note

       confirms that it “adopt[ed] for any motion that the district court cannot grant

       because of a pending appeal the practice that most courts follow when a party

       makes a Rule 60(b) motion to vacate a judgment that is pending on appeal.” Fed.

       R. Civ. P. 62.1 Advisory Committee’s Note; see also Idaho Bldg. & Const. Trades

       Council, AFL-CIO v. Wasden, No. 11-0253, 2013 WL 1867067, at *3 (D. Idaho

       May 1, 2013) (issuing an indicative ruling under Rule 62.1 regarding a motion to

       add a party under Rule 21); Reflex Media, Inc. v. Chan, No. 16- 0795, 2017 WL

       8223985, at *1 (C.D. Cal. Oct. 17, 2017) (“Rule 62.1 provisions were originally

       drafted as an addition to Rule 60, addressing only relief under Rule 60 pending

       appeal, but the proposal was broadened to include all circumstances in which a

       pending appeal ousts district court authority to grant relief.”). Thus, an indicative

       ruling is appropriate where, under any Rule of Federal Procedure, it would “allow

       for the timely resolution of motions which may further the appeal or obviate its

       necessity” and not simply “place a district court in a position where it must predict

       the outcome of an appeal of its own decision.” United States v. Brennan, 385 F.

       Supp. 3d 205, 208 (W.D.N.Y. 2019) (quotation omitted); see e.g. Rabang v. Kelly,

       No. 17-088, 2018 WL 1737944, at *3 (W.D. Wash. Apr. 11, 2018) (denying a Rule

       62.1 motion that was “simply asking this Court to decide the question on appeal”).


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       6. Plaintiff is requesting that this Court allow Plaintiff to assert new Bivens

       claims, tort claims, Section 1983 claims and RICO claims, and add new federal

       and state individual defendants, based on both pre-appeal federal records

       falsification obstruction (covering both federal Title IV-D records and federal court

       records) and also subsequent actions by functus officio William Smith leading the

       charge altering federal records on appeal during the pendency of an official

       proceeding and based on new evidence that was not—but should have been—

       available when Defendants made their filings in the district court. Attached to

       Exhibit I is so the forensic investigation of the record on appeal that Smith et al.

       altered performed by Plaintiff and the appellate court in an official proceeding,

       after which the appellate court found, despite Smith et al,’s record alteration, that

       the appellate court has jurisdiction, inherent in which Smith et al,’s post-appeal

       alterations of the record are nothing but functus officio void ab initio actions and

       inactions that obstructed the pending appellate proceeding, inherently criminally.

                3. Fed. R. Civ. P. 15(d) Leave To Supplement Is Also Appropriate.

       6. Fed. R. Civ. P. 15(d) provides:

                “Supplemental Pleadings. On motion and reasonable notice, the court may,
            on just terms, permit a party to serve a supplemental pleading setting out
             any transaction, occurrence, or event that happened after the date of the
           pleading to be supplemented. The court may permit supplementation even


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           though the original pleading is defective in stating a claim or defense. The
           court may order that the opposing party plead to the supplemental pleading
                                      within a specified time.”


       7. The rule is intended “to give district courts broad discretion in allowing

       supplemental pleadings[,]” and promote judicial economy and convenience.

       Moreover, “[i]t is a useful device, enabling a court to award complete relief, or

       more nearly complete relief, in one action, and to avoid the cost, delay and waste

       of separate actions which must be separately tried and prosecuted.” See, U.S. ex

       rel. Gadbois v. PharMerica Corp., 809 F.3d 1, 4 (1st Cir. 2015) (“Fed. R. Civ. P.

       15(d) affords litigants a pathway for pleading any transaction, occurrence, or event

       that happened after the date of the pleading to be supplemented. The rule shares the

       core objective of the Civil Rules: to make pleadings a means to achieve an orderly

       and fair administration of justice.”). See, also, San Luis & Delta-Mendota Water

       Auth. v. U.S. Dept. of Int., 236 F.R.D. 491, 495-96 (E.D. Cal. 2006) (quoting Keith

       v. Volpe, 858 F.2d 467, 473, 496. (9th Cir. 1988)). A supplemental pleading differs

       from an amended pleading: although an amended pleading concerns matters that

       happened prior to the original pleading and serves to completely replace the

       original pleading, a supplemental pleading concerns events that happened after the

       initial pleading and adds to the initial pleading. Therefore, it is appropriate for

       parties to follow up their pleadings with supplemental pleadings should that be


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       needed to bring a case up to date. See, Habitat Educ. Ctr., Inc. v. Kimbell, 250

       F.R.D. 397, 401 (E.D. Wis. 2008); Millay v. Surry Sch. Dept., 584 F. Supp. 2d 219,

       226 (D. Maine 2008) (quoting United States v. Russell, 241 F.2d 879, 882 (1st Cir.

       1957)); see also, Francis ex rel. Estate of Francis v. Northumberland Cty., 636 F.

       Supp. 2d 368, 383 (M.D. Pa. 2009). Supplemental pleadings are particularly

       flexible—even when parties have mislabeled requests for supplemental pleadings,

       courts have granted leave to file the correct type of pleading. Because the motions

       under the rule for amended pleading and supplemental pleading are both within the

       discretion of the court, the fact that parties may incorrectly plead one or the other is

       not fatal. Thus, courts may treat amended pleadings which seek to add claims to

       the original pleadings as if they had been properly filed pursuant to Rule 15(d),

       even if incorrectly labeled. See, e.g., Broadview Chem. Corp. v. Loctite Corp., No.

       13104, 1970 WL 10113, *1 (D. Conn. Sept. 23, 1970); Soler v. G & U, Inc., 103

       F.R.D. 69, 73 (S.D.N.Y. 1984).

       8. A supplemental pleading may be used for numerous purposes. Supplemental

       pleadings may be used to introduce facts which bring the original pleading up to

       date, including new facts which enlarge or change the relief first sought.

       Additionally, supplemental pleadings may reflect events that occurred after the

       original pleading was first filed. Although some courts have held that supplemental

       pleadings cannot assert new causes of action, other courts have allowed such

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       pleadings so long as the new pleading is based on the events and facts raised in the

       original pleading and does not unduly prejudice the opposing party. See, Kaiser-

       Frazier Corp. v. Otis & Co., 8 F.R.D. 364, 367 (S.D.N.Y. 1948); see, City of

       Texarkana, Tex. v. Arkansas, Louisiana Gas Co., 306 U.S. 188, 203 (1939); see

       also, Health Ins. Ass’n of America v. Goddard Claussen Porter Novelli, 213 F.R.D.

       63, 67 (D.D.C. 2003) (quoting Aftergood v. Central Intelligence Agency, 225 F.

       Supp. 2d 27, 30 (D.D.C. 2002)).

       9. Under the 1963 amendments to the Federal Rules of Civil Procedure, courts

       have been given great discretion to allow for supplemental pleadings, even under

       circumstances concerning defective original pleadings. The court may allow

       supplemental pleading even though the original pleading is defective in stating a

       claim or defense. All of this is to say that Fed. R. Civ. P. 15(d) allows for broad

       and flexible supplemental pleading, which permits litigants to correct, add and

       supplement without the added cost and expense of dismissal and subsequent suits

       over the same set of issues or bringing new claims in a separate suit. See, Notes of

       Advisory Committee on 1963 Amendment to FED. R. CIV. P. 15(d); see also,

       Harnett v. Barr, 538 F. Supp. 2d 511, 514 (N.D.N.Y. 2008). Under the law,

       Plaintiff is entitled to Rule 15(d) relief to supplement the amended complaint.

             II.     PLAINTIFF DESERVES FED. R. CIV. P. 60(B), 15(A)(2) AND
                                      15(D) RELIEF.

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       1. Plaintiff Deserves Leave To Supplement Pleading and To Plead New
       Bivens, Tort, Section 1983 and Civil RICO Claims By Amendment.
       10. Under U.S. ex rel. Gadbois v. PharMerica Corp., 809 F.3d 1, 4 (1st Cir. 2015),

       (“Fed. R. Civ. P. 15(d) affords litigants, such as the Plaintiff, a pathway for

       pleading any transaction, occurrence, or event that happened after the date of the

       pleading to be supplemented. The rule shares the core objective of the Civil Rules:

       to make pleadings a means to achieve an orderly and fair administration of

       justice.”) Moreover, a motion to amend the complaint “can be entertained if the

       judgment is first reopened under a motion brought under Rule 59 or 60.” Lindauer

       v. Rogers, 91 F.3d 1355, 1357 (9th Cir. 1996); see also Laber v. Harvey, 438 F.3d

       404, 427 (4th Cir. 2006) (same). Under Rule 60(b)(6), a judgment may be vacated

       for any “reason justifying relief from operation of the judgment.” Fed. R. Civ. P.

       60(b)(6). The U.S. Supreme Court has held that a “motion to vacate the judgment

       in order to allow amendment of the complaint” constitutes such a justifying reason,

       so long as the movant meets the requirements of Rule 15(a). Foman v. Davis, 371

       U.S. 178, 182 (1962). As the Foman rule was more recently articulated by the

       Fourth Circuit: “To determine whether vacatur is warranted . . . the court need not

       concern itself with either [Rule 59 or 60]’s legal standards. The court need only ask

       whether the amendment should be granted, just as it would on a prejudgment

       motion to amend pursuant to Fed. R. Civ. P. 15(a). In other words, a court should


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       evaluate a post judgment motion to amend the complaint under the same legal

       standard as a similar motion filed before judgment was entered—for prejudice, bad

       faith, or futility.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir.

       2011) (quotation omitted).

       11. Had the Defendants not withheld in both 2022 and 2023 the new 2024

       evidence, when the public officers Defendants originally produced documents

       pursuant to APRA in 2022, and in the district court as required by federal law

       based on their administration of Title IV-D, pursuant to Rule 11(b)(3), 18 U.S.C. §

       4, 1503 and 1512(c)(2), the Plaintiff would have had the factual and legal basis

       required by Rule 11(b)(3) to seek leave to amend Plaintiff’s Amended Complaint

       and add the above referenced claims and add new defendants, e.g., William E.

       Smith, Lincoln Chafee, Office of the Governor, Secretary of Executive Office of

       Health and Human Services, former Firm Edwards & Angell. Plaintiff now has the

       evidence Plaintiff needs to bring those damages claims and add the new

       defendants. Plaintiff was manifestly prejudiced by not being able to seek leave to

       plead those five new claims to the Court under Rule 15(a). None of the new claims

       would be futile. All claims are plausible, if not dispositive in favor of Plaintiff.

       Defendants, on the other hand, have demonstrated bad faith by not originally

       producing the federal record alteration and falsification evidence either as part of

       the administrative record in July 2023, or in response to Plaintiff’s APRA-FOIA

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       request for administrative procedures documents or in response to Plaintiff’s

       APRA-FOIA request for administrative procedures documents on December 1,

       2022.

       12. Moreover, post-appeal of this matter from November 17, 2023 onward, it is

       well settled law the district court is functus officio and loses jurisdiction over the

       matter – there is no “outer-perimeter,” for example, allowing for altering records

       on appeal to make it falsely look like the appellate court lacks appellate jurisdiction

       over a properly filed appeal where the district court clerk certified there were no

       pending motions at the time of filing of appeal (ECF 32, 32-1, 33, 33-1).

       Obstruction Functus Officio acts are unofficial. Plaintiff is entitled to Bivens

       claims and add William E. Smith, John Doe, Jane Doe; and Plaintiff is entitled to

       add tort, Sections 1983 and Civil RICO claims, and add the aforesaid state

       defendants. Under Bivens v. Six Unknown Named Agents of Federal Bureau of

       Narcotics, 403 U.S. 388 (1971), individuals have access to a judicial damages

       remedy for federal officers conduct by federal agents that violates the U.S.

       Constitution. In Bivens, the Supreme Court held that where a federal officer

       “acting under color of [federal] authority” commits a constitutional tort, a cause of

       action for money damages arises directly under the Constitution. Bivens, 403 U.S.

       at 389. The Court reasoned that “where legal rights have been invaded . . . federal

       courts may

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       use any available remedy to make good the wrong done.” Id. at 396 (quotation and

       citation

       omitted). In addition, the Court found “no special factors counselling hesitation in

       the absence of affirmative action by Congress.” Id. Accordingly, the Court held

       that Mr. Bivens pled a cause of action under the Fourth Amendment and therefore

       could recover monetary damages for the agents’ violations thereof. Id. at 397. The

       Court also recognized that federal courts had the power to award equitable relief—

       such as injunctive relief—directly under the Constitution. Id.; see also id. at 400

       (Harlan, J., concurring). Unlike a Federal Tort Claims Act (FTCA) claim, Plaintiff

       can file a Bivens action directly in district court.

       2. Plaintiff Should Also Be Granted Rule 60(b)(2) Relief.

       13. Rule 15(a) aside, Plaintiff is independently entitled to Rule 60(b)(2) relief

       under the “newly discovered evidence” rule. Fed. R. Civ. P. 60(b)(2). For the Court

       to grant relief under this rule “the movant must show the evidence (1) existed at the

       time of the [judgment], (2) could not have been discovered through due diligence,

       and (3) was of such magnitude that production of it earlier would have been likely

       to change the disposition of the case.” Jones v. Aero/Chem Corp., 921 F.2d 875,

       878 (9th Cir. 1990) (quotation omitted). Requirements (1) and (2) are easily met.

       There is no doubt that this evidence was discovered after the now-appealed


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       judgment was issued. There is no doubt that Plaintiff made several APRA-FOIA

       requests for administrative procedure documents to both the Department of Human

       Services and Rhode Island Judiciary Defendants in 2022 and 2023. This evidence,

       particularly was of such magnitude that production of it earlier would have been

       likely to change the disposition of the case. Those new evidence show that in

       making systemic falsification of federal records to zero out interest in Title IV-D

       federal registry, federal interests are not only central to this case, but that

       Defendants are involved in systematic and systemic falsifying records in official

       proceedings systematic for the purpose of making false claims to both the United

       States and support obligors, in actions at debt at common law, and creating

       purposeful constitutional infirm Title IV proceeding forums to rig the process in a

       RICO scheme, that purposefully impair the availability of public Title IV-D

       actions in debt at common law proceeding records to federal auditors, pro se

       support obligors and to the public. This is not permitted under Title IV-D that is

       subject to the Administrative Procedures Act (APA). Id. at 43; see also, e.g., ATX,

       Inc. v. U.S. Dep’t of Transp., 41 F.3d 1522, 1527 (D.C. Cir. 1994) (“The test is

       whether ‘extraneous factors intruded into the calculus of consideration’ of the

       individual decisionmaker.”) (quoting Peter Kiewit Sons’ Co. v. United States Army

       Corps of Eng’rs, 714 F.2d 163, 170 (D.C. Cir. 1983)); Saget v. Trump, 375 F.

       Supp. 3d 280, 360 (E.D.N.Y. 2019) (finding an agency “decision was arbitrary and


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       capricious due to improper political influence”); Connecticut v. U.S. Dep’t of the

       Interior, 363 F. Supp. 3d 45, 65 (D.D.C. 2019) (APA claim where “significant

       political pressure was brought to bear on the issue and the Secretary may have

       improperly succumbed to such pressure”); Tummino v. Torti, 603 F. Supp. 2d 519,

       544 (E.D.N.Y. 2009) (“An agency’s consideration of some relevant factors does

       not immunize the decision; it would still be invalid if based in whole or in part on

       the pressures emanating from political actors.”) (quotation omitted). The new

       evidence would have easily produced a different result. In addition, as noted

       above, had Plaintiff been in possession of the record falsification record, in

       particular, Plaintiff would have sought to amend Plaintiff’s Complaint pursuant to

       Rule 15(a) to allege additional claims and add additional defendants, as alleged

       above already. See e.g. Jianhong Zhai v. Ning Liu, No. 16-7242, 2017 WL

       7156251, at *2 (C.D. Cal. Aug. 17, 2017) (instructing plaintiffs to “file a motion to

       set aside the default judgment pursuant to Rule 60(b) in conjunction with a motion

       to supplement the complaint pursuant to Rule 15(d)” in order to include new

       evidence in a pleading).

       14. Plaintiff is moreover entitled to Rule 60(b)(3) relief for fraud, as the new

       evidence delineates in detail falsification of records for false claims in actions in

       debt at common law – and is corollary to the functus officio Smith-led charge to

       alter the federal record on appeal.

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       15. Plaintiff is further entitled to Rule 60(b)(4) relief to vacate all void orders

       issued post appeal after November 17, 2023 by William Smith, as outlined above.

       17. Plaintiff is additionally entitled to Rule 60(b)(6) relief to vacate based on the

       extraordinary egregious gross irreparable harm to Plaintiff that has been outlined in

       detail above, that implicates Public Interests in the legitimacy of the judiciary and

       the legitimacy of the government. District courts have jurisdiction over Bivens

       causes of action under 28 U.S.C. § 1331 because they are “civil actions arising

       under the Constitution.” Carlson, 446 U.S. at 21-22 (“[O]ur decisions, although not

       expressly addressing and deciding the question, indicate that punitive damages

       may be awarded in a Bivens suit.”); Sanchez v. Rowe, 651 F. Supp. 571, 574 (N.D.

       Tex. 1986) (“[P]unitive damages may be awarded against an individual defendant

       in a Bivens suit”) (citing Carlson, 446 U.S. at 22). The Supreme Court has

       reasoned that a Bivens action deters future constitutional violations of individual

       officers by providing a mechanism by which they can be held accountable for their

       unlawful actions. See Malesko, 534 U.S. at 70 (“The purpose of Bivens is to deter

       individual federal officers from committing constitutional violations.”). Plaintiff

       moreover is entitled to injunctive actions must brought against officers who, in

       their official capacities, have the authority to carry out the requested injunctive

       relief. See, e.g., Hubbard v. EPA Adm’r, 809 F.2d 1, 11 (D.C. Cir. 1986)

       (recognizing claim against the agency for equitable relief to remedy constitutional

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       violations); Solida v. McKelvey, 820 F.3d 1090 (9th Cir. 2016) (holding that

       Bivens suits are individual capacity suits; and official government action can be

       enjoined). Thus, in this case in which claims for both damages under Bivens and

       injunctive relief can be brought, the Plaintiff seeks to sue in both their individual

       capacity (for the Bivens claim) and their official capacity (for the injunctive relief

       claim), covering federal auditors or persons or officers who knew or should have

       known of alteration and falsification of federal records and obstruction in Rhode

       Island. See, the Ninth Circuit affirmed the availability of a Bivens remedy “where

       a federal official willfully submitted false documentation evidence and the

       submission of this evidence resulted in a complete bar to relief to which the

       individual was otherwise entitled under congressionally enacted laws.” Lanuza v.

       Love, 899 F.3d 1019, 1028 (9th Cir. 2018), indicating that Congress contemplated

       the availability of civil actions for statutory or constitutional violations by federal

       officers and state officers authorized to act in a federal capacity)). Notably Bivens

       applies to First and Fourth Amendment injuries: In 2021, the Ninth Circuit

       recognized a Bivens remedy against a border patrol agent for First and

       Fourth Amendment violations; see, Boule v. Egbert, 998 F.3d 370 (9th Cir. 2021)

       (federal agent entered the plaintiff’s private property and physically injured him).

       18. Based on the above, the Court must disqualify William E. Smith and re-assign

       to hear this motion. As stated by James Madison, “No man is allowed to be a
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       judge in his own cause; because his interest would certainly bias his judgment, and,

       not improbably, corrupt his integrity.” The Federalist No. 10, at 59 (J. Cooke ed.

       1961). William E. Smith is exposed to Bivens liability and Plaintiff has a Bivens

       claim against Smith. As 28 U.S.C. §455(a) is self-executing, Smith is moreover

       required under the law to recuse. See, In re Martinez-Catala,129 F.3d 213, 220 (1st

       Cir. 1991).

       19. The issues raised herein are hereby preserved on the record and is ripe for

       Article III review by the Supreme Court of the United States.

                                         VI. CONCLUSION

          20. Plaintiff is entitled to Bivens claims, tort claims, Section 1983 claims and

       civil RICO claims for both monetary damages remedies, punitive remedies and

       injunctive relief; Plaintiff is entitled to Rule 60(b), 15(a)(2) and Rule 15(d) reliefs.

       Plaintiff is entitled to the availability of civil actions for statutory or constitutional

       violations by federal officers and state officers authorized to act in a federal

       capacity). This Court must be allowed to discover who (state and federal) and

       what actually caused to and to what extent, and how falsified Title IV-D records

       have been transmitted to the federal Central Registry, based on which how much

       federal public funds has been knowingly falsely claimed to the United States under

       the Title IV-D legal framework to operate the RICO scheme and to support


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       obligors, and to the Plaintiff. Plaintiff and this Court must allow amendment and

       supplements to the complaint. Oral Argument is Requested.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: September 15, 2024

                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing motion has been filed on September 15,
       2024 electronically transmitted to the Clerk of the Court who serves via the Court’s
       ECF filing system, on all registered counsel of record.

                                                     Mary Seguin
                                                     Pro Se
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                                 EXHIBIT I.
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                       Civil Action No. 1:23-cv-126-WES-PAS
                                 U.S. Court of Appeals for the First Circuit Appeal No. 23-1967
                                 Related Appeal No. 23-1851
                                 Related Appeal No. 24-1451

       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, et al.
       Defendants-Appellees
       Defendants



                      RULE 62.1 INDICATIVE MOTION ON PLAINTIFF’S
                          RULE 60(b)(2) Motion based on New Evidence
                                                AND
             RULE 60(b)(3) Motion based on Fraud to Vacate the Final Judgment
                                                AND
                    RULE 60(b)(4) MOTION to Vacate Void Post Appeal Orders
                                                AND
              RULE 60(b)(6) MOTION to Vacate based on 28 U.S.C. § 655(a)
        Disqualification of William E. Smith for Functus Officio Pattern of Mispricio
        Clericio Obstruction Involving the Alteration and Falsification of the Record
         on Appeal Corruptly Influencing A Pending Official Appellate Proceeding,
                NECESSITATING DISQUALIFICATION and RE-ASSIGN
                                                AND
                                   RULE 15(a)(2) MOTION


                               ORAL ARGUMENT REQUESTED

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                                        ___________________


         STATE-SPONSORED ORGANIZED FRAUD, THEFT OF PUBLIC
       MONEY AND GOVERNMENT PROGRAMS INVOLVING BILLIONS OF
                            DOLLARS
        Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
       the Title IV-D Legal Framework Involving Organized Felonious Obstruction
          of Justice Acts by Defendants, Obstruction of Justice and Misprision of
                             Felony by Defendant Counsels, and


                                   I.      UNDISPUTED FACTS


          State Title IV-D Administrator and private partner Defendants withheld from

       the Court, concealed from United States judges and federal authorities listed in 18

       U.S.C. §§ 1503, 1512, and 4 concealed document evidence (Exhibit A) within

       their possession (and knowledge) that shows the decades-long and on-going

       official Rhode-Island State-prescribed administrative procedure that prescribes

       altering and falsifying federal Central Registry records and state court orders for

       the purpose of concealment by “zeroing out” Rhode Island’s unlawful usurious

       12% compound interest in interstate support cases, which on its face runs afoul of

       federal laws and regulations requiring the Rhode Island Title IV-D State Plan

       Administrator State Defendants to only charge interest (if any) between 3%-6%

       simple interest, per 42 U.S.C. § 654(21)(A). The new evidence shows the corrupt

       scheme put in place (regarding altering and falsifying the interest records in the


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       State’s new computer Title IV record system as of 2011 by the State Defendants

       Administrators of federal Title IV-A and Title IV-D of the Social Security Act)

       entails the coordination of all political subdivisions of the State of Rhode Island

       (see 42 U.S.C. § 654(1) requiring the State’s Title IV-D administrative procedures

       in place to be in effect in all political subdivisions of the State), to order 12%

       compound interest through the complicit state family court, which the Title IV-D

       State Administrators (State Defendants) subsequently “zero out” in the 42 U.S.C. §

       654(27) computer federal records when transmitting support records to the federal

       Central Registry (see federal regulation 45 CFR 303.2 and 45 CFR 303.7),

       including “modifying court orders” that contain Rhode Island’s unlawful 12%

       compound interest. Federal regulation requires the State Title IV-D Administrator

       Defendants to certify records transmitted to the federal Central Registry within

       Title IV-D framework (see 45 CFR 303), which the State Title IV-D Administrator

       Defendants falsely certified to the accuracies of the interest “zeroed-out” support

       records and support court orders that the Defendants modified, aided in modifying

       and knew were modified. In interstate support cases under 42 U.S.C. § 666(14),

       the State Title IV-D Administrator Defendants moreover certify systematically and

       systemically to Receiving States, such as Texas, that there is no interest in the

       support cases, after falsifying the records and support orders “zeroing out” interest.

       In this matter, State Title IV-D Administrator Defendants’ false certifications of


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       “zero interest” to the United States and to Texas occurred in 2018, 2019, 2020,

       2021, 2022, 2023 and 2024, and is on-going, pursuant to the new evidenced

       Defendants’ Title IV-D administrative procedures. New evidence shows that after

       the aforesaid 12% compound interest record is “zeroed out,” Defendants represent

       to support obligor victims that interest was “waived” then fraudulently “put interest

       back on the system” and pursue debt collection activities and legal actions in debt

       at common law, including placing fraudulent liens on properties for the

       Defendants’ “zeroed out” 12% compound interest against the support obligor

       victims, dressed up as “enforcement” under the Title IV-D legal framework in

       “Title IV” proceedings in constitutionally infirm forums, that moreover deprive the

       right to jury trial. The infirm state family court forum’s domestic procedure does

       not even contain rules (e.g. domestic rule 38 of the state family court’s rules and

       procedures is intentionally left blank as “reserved”) preserving the right to jury

       trial – the deprivation of trial by jury in a thoroughly constitutionally infirm forum

       for Title IV-D proceedings is intentional, so that the Defendants’ egregious

       systemic and systematic criminal “zeroing out” of Rhode Island’s unlawful 12%

       compound interest in both Title IV federal records and modification of support

       orders has not been at issue in the annals of Rhode Island Supreme Court caselaw.

       To that end, the Judiciary Title IV-D State Administrator Defendants make sure to

       conceal, impair and otherwise obstruct the availability to the public and federal


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       auditors alike of state court records and state judge-created laws in the State’s

       digital courts so as to obstruct and impair the availability and access to cases in

       which the systemic criminal federal record alteration “zeroing out of interest”

       issues are actually raised in cases in the state’s digital courts. Finally, to ensure

       that judge-created laws relating to the unlawful 12% compound interest that is

       “zeroed out” is cleaned up so that the State Defendants’ criminal systemic record

       alterations in Title IV proceedings are equally “erased from the record,” the State

       Judiciary Defendants implemented and continuously operate digital courts that

       operate two separate electronic case management systems, one undisclosed and

       unnamed “legacy system” with its own separate set of court clerks called “clerks of

       Reciprocal” for the filings for State Title IV-D Administrator Defendants who

       “zero out interest” record alterations and falsifications that only the State and the

       judge can see, and another separate electronic case filing system for everyone else

       called Odyssey, purposefully failing to integrate the two case management

       systems, so that: (1) State Administrator Defendants’ electronic filings (pursuing

       12% compound interest) cannot be seen by anyone else other than the judge and

       the State Defenders; (2) State Administrator Defendants’ electronic filings are not

       noticed to the opposing party who is predominantly pro se; (3) the clerks of the

       state family court are not able to see the State Administrator Defendants’ filings

       nor can the Rhode Island’s Virtual Clerk see their “legacy system” filings; (4)


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       despite objections filed by the opposing party to the State Administrator’s

       proposed orders (that obscure the unlawful 12% compound interest and zeroing out

       interest facts purposefully in vague language in order to conceal it), the judge

       automatically signs and enters the State’s proposed orders without a hearing, in

       violation of due process; (5) pro se litigants are denied electronic remote access to

       their own court case information; (6) the public, pro se litigants and federal

       auditors are denied remote access to court information of Rhode Island’s digital

       courts, effectively denied access to, obstructed from access to Rhode Island judge-

       created laws, in violation of the First Amendment, the Due Process and Equal

       Protection and Privileges and Immunities Clauses, the Supremacy Clause, the

       Administrative Procedures Act, and the Government Edicts Doctrine – see Rhode

       Island Supreme Court promulgated and enforced Rule 5 Denying Remote Access

       to Court Information to the public, pro se litigants and Federal Auditors – see new

       evidence Exhibit A showing Rhode Island Supreme Court acknowledgement that

       Rule 5 “is a problem.” More importantly, Defendants’ acts carry federal criminal

       penalties, in violation of RICO (making false claims for debt), wire fraud, mail

       fraud, computer fraud, obstruction (inter alia 18 U.S.C. §§1512, 1503, 1516, 666).

       Plaintiff repeatedly raised these facts and issues of egregious criminality, to which

       neither Defendants nor Defendant counsel disputed, including the Rhode Island

       Attorney General, in the pending official federal proceeding Appeal 23-1967, nor


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       any explanatory justification whatsoever for systemically and systematically

       altering and falsifying federal Title IV records zeroing out Rhode Island’s 12%

       compound interest for both federal central registry computer records and

       “modifying court orders zeroing out interest,” then certifying there is no interest to

       both the United States and to receiving State Sovereigns. Under the

       Administrative Procedures Act, State Defendants’ criminal record falsification and

       alteration to conceal Rhode Island’s unlawful 12% compound interest systemically

       and systematically altering court orders in the system to zero out interest in order

       to conceal it, falsely certifying to the altered records’ accuracy then making claims

       for federal funds under Title IV-A and Title IV-D when the State is knowingly

       noncompliant with federal regulation are egregious, treasonous crimes. Obvious to

       the Court and to any objective observer under 28 U.S.C. § 455(a), the integrity of

       federal records for one of the largest State-Federal work-together Programs is

       damaged, the legitimacy of the agency administration and political subdivision

       administration of an Act of Congress is grossly harmed, the United States is the

       recipient of false claims from Rhode Island, and the State Defendants systemically

       make false claims to support obligors within the federal Title IV-D legal

       framework. Defendants caused gross irreparable harm to the Plaintiff, and the

       systemic nature of Defendants’ corrupt egregiously criminal administration of an




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       Act of Congress is a matter of extraordinary public interest causing extraordinary

       irreparable public harm. The aforesaid is at the state level.

          At the federal level, the Plaintiff is moreover irreparably harmed by the federal

       judiciary in the district for Rhode Island, for similar pattern of criminal misprisio

       clericio record alteration, falsification, impairment and obstruction of the record on

       appeal during the pendency of Appeal No. 23-1967 by the functus officio William

       E. Smith and associating clerks of the court in the district court, in violation of 18

       U.S.C. § § 1512(c)(2) and 1503. Moreover, the Plaintiff has raised the facts and

       criminal issues of the record on appeal in this matter in the pending Appeal No. 23-

       1967 to United States judges – again, none of the Defendants-Appellees disputed.

       The undisputed facts of the record on appeal shows the follows:

             (1) Emblazoned on the Federal Judiciary website for the district of Rhode

                 Island is the undisputed biographical facts that U.S. District Court Judge

                 William E. Smith has had unusually intimate multi-prong and multi-

                 layered personal, professional attorney-client relationships with

                 numerous state (inter alia Office of the Governor and Office of the

                 Treasury) and municipal political subdivisions of the State of Rhode

                 Island, and loyal political relationships with the Rhode Island

                 government judicial and executive Appellees, who implemented the 2024

                 newly evidenced systemic and systematic criminal document alteration
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                of Title IV of the Social Security Act federal records procedures

                approved and operating under former Rhode Island Governor Lincoln

                Chafee in 2011 (systemic criminal computer record alteration procedures

                evidenced in the 2024 new evidence shows it is effective from 2011 (start

                of Chafee Governorship) to the present), for whom William Smith had

                quit his Partnership at his former firm Edwards & Angell in order to run

                Chafee’s campaign full-time for the U.S. Senate in 2000; Chafee, after

                successful election to the Senate, in turn rewarded Smith’s personal and

                political loyalty by nominating Smith to the federal judgeship that Smith

                started twenty-two years ago in 2002.

             (2) Earlier iterations (from 1996 to 2011) of the 2024 evidence showing

                Rhode Island’s systemic and systematic criminal federal document

                alteration procedures were implemented by and in effect in all political

                subdivisions of Rhode Island (including counties, cities, towns, villages)

                under the Rhode Island State Plan pursuant to 42 U.S.C. § 654(1).

                Chafee served as the mayor of W. Warwick at the time of the seismic

                1996 Congressional Amendments to Part D of Title IV of the Social

                Security Act, and the Rhode Island criminal federal document alteration

                procedures were in effect in W. Warwick, a political subdivision of

                Rhode Island, as early as 1996, zeroing out Rhode Island’s 12%


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                compound interest systemically and systematically electronically and

                manually.

             (3) Smith had complex and in-depth attorney-client relationships with

                political subdivisions of Rhode Island at multiple levels, e.g., towns,

                cities, counties, state judiciary, state attorney-general, state secretary,

                state treasury, state governor and executive subdivisions, to a well-known

                personal attorney-client relationship fact in Rhode Island with Lincoln

                Chafee from 1996 to 2002. This fact is so well known that the Federal

                Judiciary Website itself credits Smith with building Edward & Angell’s

                Public Law Practice based on Smith’s person, professional and political

                attorney-client relationships with the judiciary and executive Appellees,

                in part through his personal relationship with Chafee. Smith knew and or

                should have known the 2024 new evidence of Rhode Island systemic

                alteration of federal records for the purpose of making false claims to the

                United States for federal public funds of billions of dollars, and making

                false claims to support obligors for tens of millions of dollars within the

                reach of the Title IV legal framework.

             (4) Before the Notice of Appeal was filed on November 17, 2024 (ECF 32),

                Smith interfered three times with the docketing of Appellant’s filed

                papers on November 16, 2024 and November 17, 2024, in a pending


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                judicial proceeding at the federal district court in the district of Rhode

                Island in violation of Federal Rules of Civil Procedure 79, and federal

                criminal laws 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 1503, among

                others, such as misprisio clerici.

             (5) There were no pending motions before the docketing of the Notice of

                Appeal (ECF 32) on November 17, 2023 – this critical fact is now

                undisputable: The Court Order dated May 24, 2024 in Appeal No. 23-

                1967 Document: 00118148678 found the Court has jurisdiction over

                Appeal No. 23-1978 after reviewing Appellant’s court-ordered Show

                Cause, which is only legally possible if there were no pending motions at

                the time of notice of appeal filing on November 17, 2023 (ECF 32).

             (6) Moreover, the district court clerk had certified there were no pending

                motions on November 17, 2023 (ECF 33, 33-1) – this critical fact is also

                undisputable: The Court Order dated May 24, 2024 in Appeal No. 23-

                1967 Document: 00118148678 found the Court has jurisdiction over

                Appeal No. 23-1978 after reviewing Appellant’s court-ordered Show

                Cause.

             (7) Three days post appeal (23-1967), on November 20, 2023, the functus

                officio misprisio clerici district court judge William E. Smith, whose

                personal, political and professional attorney-client relationship with the


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                executive and judicial Appellees are at issue on appeal (and the

                subsequent 2024 new evidence shows Smith knew or should have known

                of the systemic Rhode Island falsification of federal Title IV official

                records in the federal Central Registry), in his unofficial capacity

                schemed to alter the record on appeal. Issuing a void, functus officio

                directive dressed up as “an order,” William E. Smith instructed the

                district court clerks in Rhode Island to alter the district court docket and

                the record on appeal, that purposefully falsified the record on appeal to

                make it look like there were pending motions on November 17, 2023.

                Therefore, while the federal Appeal 23-1967 was pending, Smith and the

                district court clerks knowingly falsified the federal record on appeal by

                post-appeal docketing three motions under the date November 17, 2023,

                to corruptly fabricate a false appellate record aimed to confuse this Court

                to falsely believe there were pending motions on November 17, 2023 this

                Court lacked jurisdiction over properly filed appeal no. 23-1978 that

                precisely appealed the district court’s void November 20, 2023 text order

                and the subsequent resulting falsification and alteration of the original

                record on appeal, docketing on November 20, 2023 three motions under

                the November 17, 2023 docket entry date for the purpose of falsely

                making it look like there were pending motions on November 17, 2023,


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                for the purpose of corruptly influencing this Court into believing it lacked

                jurisdiction over properly filed appeal No. 23-1978 (that appealed the

                validity of William Smith’s post-appeal functus officio November 20,

                2023 order). The knowing functus officio actions by William E. Smith

                and persons in the district court altering the record on appeal for the

                purpose of corruptly influencing and interfering with a pending federal

                official proceeding in their unofficial capacities, trigger 18 U.S.C. §

                1512(c)(2) and § 1503, and misprisio clerici among others.

             (8) William E. Smith’s former clients, the Rhode Island government

                judiciary and executive Appellees, in coordination with Smith,

                knowingly and purposefully filed dressed up “objections” in the district

                court while Appeal No. 23-1967 was pending, in coordination with the

                functus officio district court transmitting altered and falsified record on

                appeal with the purpose of interfering with the pending No. 23-1967 and

                23-1978, moreover triggered 18 U.S.C. § 1512(c)(2) and § 1503 and

                among others, misprisio clerici.

             (9) On February 1, 2024, William Smith in his functus officio misprisio

                clerici unofficial capacity issued a void “order” dressed up as “in aid of

                the court” to interfere with the pending appeals 23-1967 and 23-1978.




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             (10) This appellate Court fell for the functus officio William E. Smith’s and

                the Rhode Island judiciary and executive Appellees’ criminal misprisio

                clerici ruse. Three days prior to the due date of the opening brief, this

                Court vacated its original briefing schedule on the late afternoon of a

                Friday, on March 1, 2024, with explicit instructions to the Appellant to

                file a motion for extension of time under FRAP 4 or amend the complaint

                in Appeal no. 23-1967.

             (11) Appeal No. 24-1313 arises from the district court’s equally functus

                officio misprisio clerici VOID denials (dressed up as legitimate) of timely

                filed FRAP 4 motions for extensions of time, that this Court-instructed

                Appellant to file.

             (12) The functus officio misprisio clerici William E. Smith, in his

                unofficial capacity, persons in the district court in coordination with

                Smith, and William Smith’s former clients, Rhode Island judiciary and

                executive Appellees, in coordination with Smith, knowingly altered and

                falsified the record on appeal, committed at common law misprisio

                clerici, and collectively interfered with Appeal No. 23-1967 and 23-1978,

                that succeeded in confusing this Court and succeeded in interfering with

                pending proceedings in this Court, which necessitated the filing of an




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                appeal of yet more functus officio VOID denial orders in March 2024, the

                resulting Appeal 24-1313.

             (13) The newly discovered evidence showing criminal systemic and

                systematic procedures altering and falsifying federal records by the

                Appellees and all political subdivisions under the State Plan federally

                regulated and federally funded under Part D of Title IV of the Social

                Security Act shows the motive behind the elaborate falsification and

                alteration of federal records of pending official proceedings in Appeals

                No. 23-1967 and 23-1978 by the functus officio William E. Smith, the

                Appellees with whom William E. Smith had intimate, extensive and

                broad multiple attorney-client relationships at multiple levels of political

                divisions and political subdivisions of the State of Rhode Island in which

                the systemic and systematic falsification of federal records procedures

                were in effect pursuant to federal regulation under 42 U.S.C. § 654(1),

                and functus officio persons employed by the district court for the district

                of Rhode Island, who all knew or should have known that making

                functus officio alterations to the record pursuant to a functus officio

                judge’s void orders during the pendency of said appeals to falsely make it

                look like the appellate court lacked jurisdiction over a properly filed

                appeal corruptly interferes with the pending official appellate


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                proceedings. The forensic misconduct implicates on its face misprisio

                clerici by officers of the federal court, whose misconduct this Court has

                ministerial supervision responsibility.

             (14) After this Court performed a forensic investigation of the record on

                appeal in the same underlying district court matter 23-cv-126 and

                determined that the Court has jurisdiction over Appeal 23-1978 because

                the forensic record investigation concluded there were no pending

                motions on November 17, 2023, the Court in effect determined forensic

                misconduct misprisio clerici by the functus officio William E. Smith who

                issued not one but FIVE functus officio misprisio clerici VOID orders

                post appeal, purposefully and corruptly dressed up as legitimate orders by

                falsifying the docket entry post-appeal on November 20, 2023 to make it

                look like there were pending motions at the time of the appeal of the final

                judgment on November 17, 2023. The forensic investigation of the

                record performed by this Court shows as a matter of undisputed fact that

                the acts of William E. Smith, the Appellees with whom Smith had

                extensive attorney-client relationships, and persons at the district court

                triggered federal criminal 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 1503,

                as well as misprisio clerici among others.




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             (15) Pursuant to the performance of forensic investigation of the record on

                appeal, the Court of Appeals, at Plaintiff-Appellant’s request,

                consolidated three appeals, 23-1967, 23-1978 and 24-1313.

             (16) These above extraordinary circumstances involve federal obstruction

                crimes by federal officers of the district court for the district of Rhode

                Island under misprisio clerici at common law.

             (17) Under these extraordinary circumstances that involve the commission

                of misprisio clerici by functus officio persons of the federal judiciary

                in and officers of the lower district court for the district of Rhode

                Island, this Court’s equitable obligations and the Court’s adherence to 28

                U.S.C. § 455(a) require the Court to disqualify William E. Smith, at the

                minimum, whose actions caused appeals No. 23-1978 and 24-1313, that

                had stemmed from injurious harm to Appellant caused by the misprisio

                clerici functus officio forensic misconduct by William E. Smith. The

                Court by law should apply the superseding Fischer vs. U.S., 603 U.S. __

                (2024), Trump vs. U.S., 603 U.S. __ (2024), and Lopes Bright

                Enterprises, Inc. vs. Raimondo (2024)(Slip Opinion).

           Plaintiff hereby incorporates the Appellate Court’s May 24, 2024 Order in

       Appeal No. 23-1967 Document: 00118148678 as fully referenced herein.

       Plaintiff hereby incorporates the Appellate Court’s filings Documents

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       00118162842 and Document 00118178653 as fully alleged herein. The Court

       must note and find as a matter of fact in the record on appeal in Appeal 23-1967

       that Plaintiff-Appellant repeatedly made several filings of the above facts in the

       pending Appeal 23-1967 for seven months from March 2024 to September 2024,

       to which facts the Defendants from March 2024 to September 2024 do not dispute.

       The state government defendants as a matter and fundamental issue of government

       legitimacy concern must dispute allegations challenging the legitimacy and legality

       of its actions that violate federal criminal laws in our democratic government

       system. The Title IV-D Administrator Defendants never disputed any of the above

       aforesaid facts. The aforesaid facts are undisputed facts. William E. Smith’s

       extensive, broad and political attorney-client relationship makes it clear to the 28

       U.S.C. § 455(a) objective observer that Smith knew or should have known about

       the systemic and systematic criminal alteration and falsification of federal Title IV-

       D records effective in ALL political subdivisions of Rhode Island under 42 U.S.C.

       § 654(1)with whom Smith had intimate, broad, in depth political and personal and

       attorney-client relationships in one of the largest state-federal work-together

       programs in the counry.

          In light of this newly discovered withheld and concealed evidence, Plaintiff

       respectfully requests that the Court indicate to the First Circuit that it would grant

       Plaintiffs’ Rule 60(b) and 15(a)(2) Motions.

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          Had Defendants, who are not just officers of the federal Court but are also

       public officers in the First Circuit under United States v. §ballo-Rodriguez, 480

       F.3d 62 (1st Cir. 2007) (who are also referenced as public officers in Section 1503

       and Section 1512) that applies to any and all public federal and state officials

       throughout the First Circuit as required by federal law, and when required by this

       Court nearly a year ago, Plaintiff would have sought leave to bring five

       Administrative Procedure Act (“APA”) claims, i.e., that State Defendant Agency

       Rhode Island Department of Human Service’s November 29, 2022, decision (1) is

       per se arbitrary and capricious; and (2) resulted from improper criminal influence

       by the Office of the Child Support Services and for reasons that Congress did not

       intend him to consider; Defendants’ “zeroing out interest” of Title IV-D records

       then put the zeroed out and State falsely certified “no-interest” back on the system

       are criminal obstruction; Defendants’ Rule 5 concealment, impairment of

       availability of court information records showing the State’s systemic and

       systematic zeroing out of interest from federal auditors are criminal obstruction;

       denials of access to administrative procedures relating to the State’s making claims

       for all Title IV federal Public Funds related to the zeroed out interest records that

       are criminal obstruction. 5 U.S.C. § 706; Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

       State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)




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          Plaintiff has now presented new evidence that “raises a substantial issue,” the

       relevance of which Plaintiff and this Court should at least be allowed to explore.

       Fed. R. Civ. P. 62.1. Plaintiff has otherwise “made [a] showing that defendants’

       actions were ‘arbitrary, capricious, an abuse of discretion, or otherwise not in

       accordance with law.” 5 U.S.C. § 706. This Court should not countenance

       Defendants’ now transparent criminal dereliction of agencies’ duties—especially

       Title IV-D administrators’ statutory and regulatory obligation to furnish this Court

       the whole record. 5 U.S.C. § 706.

          II.     The Omitted New Evidence Reveal Defendants’ and Smith’s Scheme
                  To Help Operate A ‘Racket’ Under RICO.
          The aforesaid makes clear that Defendants’ and William E. Smith’s scheme

       help operate a “racket” under RICO and operating false claims that involves

       document obstruction under 18 U.S.C. § 1512(c)(2) and 1503, including mispisio

       clerico.

          III.    Defendants Withheld The Systemic and Systematic Title IV-D
                  Administrative Procedures Prescribing “Zero Out Interest” Federal
                  Record Alteration and Falsification Evidence Despite Plaintiffs’
                  APRA-FOIA Request.
          The Defendant State Administrators of Title IV-D withheld the federal record

          alteration and falsification Title IV-D administrative procedures prescribing

          zeroing out to conceal Rhode Island’s unlawful 12% compound interest despite

          Plaintiff’s APRA-FOIA request. The Defendant’s administration of Title IV-D


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          involves falsifying federal Title IV-D records in the federal Central Registry

          that is regulated by federal law and regulations and the Defendants’

          administration is funded by federal public funds contingent upon compliance

          with federal laws and regulations, which Defendants purposefully schemed to

          violate, conceal and aimed to operate a RICO debt collecting enterprise, funded

          by federal public funds. It is utterly outrageous and goes towards the

          legitimacy of the government that commits systemic fraud and obstruction with

          each count punishable by 20 years imprisonment.

          IV.    FEDERAL OBSTRUCTION OF JUSTICE CONSTRUCTION
                 STATUTES RELATING TO DOCUMENTS IS BROAD



          1. The undisputed fact remains that Smith, persons in the district court and the

       Appellees altered the record on appeal in part to make it look like the Court lacked

       jurisdiction over Appeal 23-1978 and subsequent post-appeal void orders,

       succeeded in confusing this Court, the Court had to perform a forensic

       investigation of the record, found forensic alteration implicating functus officio

       misprisio clerici forensic misconduct by officers of the district court, and that it

       turns out in part was calculated to conceal a more egregious systemic document

       alteration and falsification crime by the State Appellees, with whom William E.

       Smith had extensive and broad attorney-client relationships, and who knew and

       should have known about the systemic federal record falsification implicating false
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       claims involving billions of federal public funds, showing Smith’s commission of

       egregious misprisio clerici with broad implications affecting the legitimacy of the

       judiciary and the corrupt administration of the federal Title IV-A and Title IV-D

       programs.

          2. Obstruction of justice as both a concept and a legal term of art has adorned

       the halls of Anglo-American justice in the context of professional misconduct for

       over four centuries. See People ex. rel. Karlin v. Culkin, 162 N.E. 487, 489-92

       (N.Y. 1928) (Cardozo, C.J.) (tracing, with derision, the history of barristers and

       attorneys who have been charged with obstruction of justice back to the

       seventeenth century and making comparisons to contemporaneous prosecutions).

       In analyzing a case involving "practices obstructive or harmful to the

       administration of justice," Justice Cardozo considered the early instances of the

       attachment of culpability for such behavior, and that history underscores the

       importance of documentation in the judicial process dating to the 16th Century.' Id.

       at 490-91 (discussing the charge of misprisio clerici: the submission of writs

       without the required formalities). The appearance of judicial propriety, equity, and

       fairness was the underlying rationale behind the charge, as the Court emphatically

       must apply here. "Our court is 'slandered and evil spoken of, our cares and labors

       made void and frustrate' by the 'negligence of clerks and ministers;' the client

       'beginneth to think evil of us that are judges, to suspect our skill,' and to speak evil

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       of the law." Id. (quoting in part the Lord Chief Justice of the Common Pleas,

       Easter Term, 9 Eliz. 1567). The charge of obstruction of justice was carried into

       the Americas and retained its strongly negative normative overtone. See THE

       DECLARATION OF INDEPENDENCE para. 2, 10 (U.S. 1776), noted in

       O'Malley v. Woodrough, 307 U.S. 277, 284 (1939). The Declaration of

       Independence is illustrative: "The history of the present King of Great Britain is a

       history of repeated injuries and usurpations, all having in direct object the

       establishment of an absolute Tyranny over these States .... He has obstructed the

       Administration of Justice, by refusing his Assent to Laws for establishing Judiciary

       powers. ' Id. (emphasis added). In the twentieth century, federal obstruction of

       justice provisions expanded from Section 1503, the wellspring from which most of

       the obstruction of justice provisions arose, including section 1512. See United

       States v. Poindexter, 951 F.2d 359, 380-83 (D.C. Cir. 1991) (providing a detailed

       history of the development of federal obstruction of justice statutes including §§

       1503, 1505, and 1512). Sections 1503 and 1512 have been broadly construed to

       proscribe actions beyond those enumerated in their provisions. See Michael E.

       Tigar, Crime Talk, Rights Talk, and Double-Talk: Thoughts on Reading the

       Encyclopedia of Crime and Justice, 65 TEX. L. REV. 101, 111 n.72 (1986).

       Section 1512 was thought to "significantly broaden" the reach of Section 1503,

       even while 1503 was being read to reach outside its specifically enumerated scope.


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       Tigar, supra note 33, at 111 n.72. Modern readings of the statutes texts “corrupt”

       intent require only that the act in question have the reasonably foreseeable effect of

       obstructing a proceeding, regardless of the defendant's actual intent. See Jeffrey R.

       Kallstrom & Suzanne E. Roe, Obstruction of Justice, 38 AM. CRIM. L. REV.

       1090-91 (2001). The prosecutorial inquiry is not, therefore, the presence of intent

       to obstruct the proceeding per se, but rather the presence of intent to commit an act

       that could reasonably be foreseen to have that effect. Id. Already having had to

       apply the necessary prosecutorial inquiry itself during the Appellate Court’s own

       performance of forensic investigation of the appellate record in order to determine

       that Appeal 23-1978 could proceed, the Appellate Court already answered in the

       affirmative the “presence of intent to commit an act that could reasonably be

       foreseen to have that effect” – the act did in fact confuse the Appellate Court, did

       in fact mislead the Appellate Court into falsely believing initially that the

       Appellate Court lacked jurisdiction over 23-1978 after William E. Smith and

       officers of the court in the district court altered and falsified the appellate record

       post-appeal (on November 20, 2023) to falsely make it look like there were

       pending motions when the notice of appeal was filed for appeal no. 23-1967 (ECF

       32 filed on November 17, 2023). (Successfully) Misleading the Appellate Court

       through record alteration into falsely believing the Appellate Court lacks threshold




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       jurisdiction over a properly filed notice of appeal (23-1978) is a fundamental

       material corruption of the record on appeal.

          3. Moreover, under construction of Section 1503, to be "corrupt" an act must

       only have the natural and probable effect of interfering with an official proceeding.

       Both natural and probable effect of interfering with this pending official

       proceeding occurred here. See United States v. Aguilar, 515 U.S. 593, 598-601

       (1995). In United States v. Aguilar, a federal judge was convicted of both illegally

       disclosing a wiretap and obstruction of justice. Section 1512(c)(1) states, “alters,

       destroys, mutilates, or conceals a record, document, or other object, or attempts to

       do so, with the intent to impair the object’s integrity or availability for use in an

       official proceeding.” Section 1512(c)(2) states, “otherwise obstructs, influences, or

       impedes any official proceeding, or attempts to do so, shall be fined under this title

       or imprisoned not more than 20 years, or both.”

          4. The Supreme Court in Fischer vs. U.S., 603 U.S. ___ (2024) made clear that

       Section 1512(c)(2) “otherwise obstructs, influences, or impedes any official

       proceeding, or attempts to do so,” relates to any official proceeding obstruction

       involving documents and records, that this Court must apply to the district court’s

       acts in these consolidated matters. The Court must independently review the facts

       of travel of the appellate record post appeal after the overturn of the Chevron

       deference (see Lopes Bright Enterprise vs. Raimondo, (2024) (Slip Opinion), with
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       no deference to the agency Defendant-Appellees who aided and abetted the

       criminal alteration of the record on appeal. Trump vs. U.S., 603 U.S. ___ (2024)

       instructs the Court to review official and unofficial acts by public officials, that

       when applied here, must make the distinction among functus officio void acts of

       mispriscio clericio dressed up as valid judge-created law that on its face states “in

       aid of the court” showing intent to corruptly influence and interfere with the

       appellate judges in a pending official appellate proceeding when the functus officio

       William Smith lacked any authority, that the 2024 new evidence shows Smith’s

       action is calculated to conceal, impair, impede the availability of egregiously

       incriminating evidence from coming to light showing systemic and systematic

       federal record falsification and alteration procedures that went on for decades in

       Rhode Island covered by 18 U.S.C. §1512(c)(1) and (2), each count up to 20 years

       imprisonment.

          5. Under the Court’s fundamental truth-finding and equitable obligations, these

       sets of extraordinary circumstances involving systematic and systemic obstruction

       with each count up to 20 years imprisonment warrants the Court to explore the

       “substantial issue.”   Smith’s obstruction act is not merely prejudicial to the

       Plaintiff-Appellant but compounds the officer mispriscio clericio injury rather than

       provide requisite truth-seeking and equitable obligation the Court by law is

       required to remedy. The harm of any resulting error would be irreparable and

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       goes towards the legitimacy of the judiciary. Appellant hereby preserves the issues

       raised in this motion for Article III review by the U.S. Supreme Court and states on

       the record that the raised and preserved issues are ripe for Supreme Court review.

                                    V. LAW AND ARGUMENT

       6. The Ninth Circuit Court of Appeals explains that “[t]he whole administrative

       record,” as per 5 U.S.C. § 706, “’is not necessarily those documents that the

       agency has complied and submitted as ‘the’ administrative record.’ ’The ‘whole’

       administrative record . . . consists of all documents and materials directly or

       indirectly considered by agency decision-makers and includes evidence contrary to

       the agency’s position.’” Thompson v. United States Dep’t of Labor, 885 F.2d 551,

       555 (9th Cir. 1989) (emphasis in original; citations omitted). The newly

       discovered evidence prescribing administrative procedures that systemically and

       systematically shows falsification and alteration of federal Title IV-D records as it

       relates to Rhode Island’s unlawful 12% compound interest that prescribes “zeroing

       out” interest and altering support orders to zero out interest, purposefully on its

       face is intended to conceal the unlawful and 42 U.S.C. § 654(21)(A) noncompliant

       12% compound interest Rhode Island Defendants seek to collect in actions in debt,

       triggering systemic (1) RICO liability, (2) false claims liability and (3) obstruction

       liability. The Supreme Court Trump v. U.S., 603 U.S.__(2024) made it crystal

       clear that alterations and falsification of court orders trigger 18 U.S.C. §
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       1512(c)(2), which is [precisely and textually what the new evidence prescribes to

       do, alter court orders to zero out the interest. The whole administrative record

       must now be brought before this Court.

              A. FED. R. CIV. P. 62.1 ALLOWS THIS COURT TO REMEDY
                     DEFENDANTS’ CRIMINAL MALFEASANCE.
       7. “A party proffering newly discovered evidence may obtain an indicative ruling

       from a district court concerning relief from judgment pending appeal.” Franken v.

       Mukamal, 449 F. App’x 776, 779 (11th Cir. 2011) (citing Fed. R. Civ. P. 62.1; Fed.

       R. App. P. 12.1); see also Amarin Pharm. Ireland v. Food & Drug Admin., 139 F.

       Supp. 3d 437, 447 (D.D.C. 2015) (“Where a district court concludes, for example,

       that newly discovered evidence warrants vacatur of a judgment that is already on

       appeal, the court can issue an indicative ruling . . . .”).

       8. Once an appeal is filed, the District Court no longer has jurisdiction to consider

       motions to vacate judgment. Gould v. Mut. Life Ins. Co. of N.Y., 790 F.2d 769, 772

       (9th Cir.1986). However, the District Court may entertain and decide a motion

       after notice of appeal is filed if the movant adheres to Rule 62.1, which sets forth a

       process to “ask the district court whether it wishes to entertain the motion, or to

       grant it, and then move this court, if appropriate, for remand of the case.” Id; see

       also Crateo, Inc. v. Intermark, Inc., 536 F.2d 862, 869 (9th Cir. 1976) (“The most

       the District Court could do was to either indicate that it would ‘entertain’ such a


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       motion or indicate that it would grant such a motion.”). If the District Court states

       that it would grant the motion or that the motion raises a “substantial issue,” the

       movant must notify the Circuit Clerk and the District Court “may decide the

       motion if the court of appeals remands for that purpose.” Fed. R. Civ. P. 62.1(b),

       (c); see also Hoopa Valley Tribe v. Nat'l Marine Fisheries Serv., No. 16- 04294,

       2018 WL 2010980, at *4 (N.D. Cal. Apr. 30, 2018) (district courts “have authority

       to deny [a motion], but . . . may not grant it without a remand from the court of

       appeals”).

         1. Fed. R. Civ. P. 60(b) Relief From This Court’s Judgment is Appropriate.

        9. Usually, Rule 62.1 relief is sought under Rule 60(b). See Williams v. Woodford,

       384 F.3d 567, 586 (9th Cir. 2004) (“To seek Rule 60(b) relief during the pendency

       of an appeal, the proper procedure is to ask the district court whether it wishes to

       entertain the motion, or to grant it, and then move this court, if appropriate, for

       remand of the case.”). As explained in Hake v. Guardian Life Ins. Co.: Rule 62.1

       permits the Court to make an “indicative ruling” on a post-judgment motion to give

       the Court of Appeals an indication on how the Court would rule if it still had

       jurisdiction to rule. The Rule 62.1 “indicative ruling” procedure was instituted to

       deal with post-appeal Rule 60(b) motions, where a district court lacks jurisdiction

       to rule directly. No. 07-1712, 2010 WL 11578944, at *2 (D. Nev. Apr. 1, 2010)

       (citing Fed. R. Civ. P. 62.1 advisory committee’s note). In Comm. on Oversight &
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       Gov't Reform, United States House of Representatives v. Sessions it was similarly

       explained: Rule 62.1 provides that upon the timely filing of a motion for relief that

       the court lacks authority to grant because of an appeal that has been docketed and

       is pending, the court may: (1) defer considering the motion; (2) deny the motion; or

       (3) state either that it would grant the motion if the court of appeals remands for

       that purpose or that the motion raises a substantial issue. This rule is invoked in

       situations where a court has lost jurisdiction over a case because it has been

       docketed for appeal, and therefore cannot entertain motions such as those made

       under Rule 60(b) for relief from judgment. Rule 62.1 allows a court to indicate to

       the appeals court that it would grant the party’s motion if remanded to the lower

       court. 344 F. Supp. 3d 1, 7 (D.D.C. 2018) (quotation omitted).

              2. Fed. R. Civ. P. 15(a)(2) Leave To Amend Is Also Appropriate.

       10. While “Rule 62.1 codifies the procedure most courts used to address Rule

       60(b) motions to vacate final judgments which had already been appealed . . . ,

       nothing in Rule 62.1’s language limits its application to Rule 60(b) motions or to

       motions made after final judgment.” Ret. Bd. of Policemen's Annuity v. Bank of

       New York Mellon, 297 F.R.D. 218, 221 (S.D.N.Y. 2013). The Advisory

       Committee’s note confirms that it “adopt[ed] for any motion that the district court

       cannot grant because of a pending appeal the practice that most courts follow when

       a party makes a Rule 60(b) motion to vacate a judgment that is pending on appeal.”
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       Fed. R. Civ. P. 62.1 Advisory Committee’s Note; see also Idaho Bldg. & Const.

       Trades Council, AFL-CIO v. Wasden, No. 11-0253, 2013 WL 1867067, at *3 (D.

       Idaho May 1, 2013) (issuing an indicative ruling under Rule 62.1 regarding a

       motion to add a party under Rule 21); Reflex Media, Inc. v. Chan, No. 16- 0795,

       2017 WL 8223985, at *1 (C.D. Cal. Oct. 17, 2017) (“Rule 62.1 provisions were

       originally drafted as an addition to Rule 60, addressing only relief under Rule 60

       pending appeal, but the proposal was broadened to include all circumstances in

       which a pending appeal ousts districtcourt authority to grant relief.”). Thus, an

       indicative ruling is appropriate where, under any Rule of Federal Procedure, it

       would “allow for the timely resolution of motions which may further the appeal or

       obviate its necessity” and not simply “place a district court in a position where it

       must predict the outcome of an appeal of its own decision.” United States v.

       Brennan, 385 F. Supp. 3d 205, 208 (W.D.N.Y. 2019) (quotation omitted); see e.g.

       Rabang v. Kelly, No. 17-088, 2018 WL 1737944, at *3 (W.D. Wash. Apr. 11,

       2018) (denying a Rule 62.1 motion that was “simply asking this Court to decide

       the question on appeal”).

       11. Plaintiff is requesting that this Court allow Plaintiff to assert five new claims,

       based on new evidence that was not—but should have been—available when

       Defendants made their filings in the district court.



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          C. PLAINTIFF DESERVES BOTH FED. R. CIV. P. 60(B) AND 15(A)(2)
                                  RELIEF.
       1. Plaintiff Deserves Leave To Plead Two New APA Claims By Amendment.

       12. A motion to amend the complaint “can be entertained if the judgment is first

       reopened under a motion brought under Rule 59 or 60.” Lindauer v. Rogers, 91

       F.3d 1355, 1357 (9th Cir. 1996); see also Laber v. Harvey, 438 F.3d 404, 427 (4th

       Cir. 2006) (same). Under Rule 60(b)(6), a judgment may be vacated for any

       “reason justifying relief from operation of the judgment.” Fed. R. Civ. P. 60(b)(6).

       The U.S. Supreme Court has held that a “motion to vacate the judgment in order to

       allow amendment of the complaint” constitutes such a justifying reason, so long as

       the movant meets the requirements of Rule 15(a). Foman v. Davis, 371 U.S. 178,

       182 (1962). As the Foman rule was more recently articulated by the Fourth Circuit:

       “To determine whether vacatur is warranted . . . the court need not concern itself

       with either [Rule 59 or 60]’s legal standards. The court need only ask whether the

       amendment should be granted, just as it would on a prejudgment motion to amend

       pursuant to Fed. R. Civ. P. 15(a). In other words, a court should evaluate a post

       judgment motion to amend the complaint under the same legal standard as a

       similar motion filed before judgment was entered—for prejudice, bad faith, or

       futility.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir. 2011)

       (quotation omitted).



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       13. Had the Defendants not withheld in both 2022 and 2023 the new 2024

       evidence, Plaintiff (also — per 5 U.S.C. § 706) when the public officers

       Defendants originally produced documents pursuant to APRA in 2022, and in the

       district court as required by federal law based on their administration of Title IV-

       D, pursuant to Rule 11(b)(3), 18 U.S.C. § 4, 1503 and 1512(c)(2), the Plaintiff

       would have had the factual and legal basis required by Rule 11(b)(3) to seek leave

       to amend Plaintiff’s Amended Complaint and add five new Administrative

       Procedure Act (APA) claims. Plaintiff now has the evidence Plaintiff needs to

       bring those five claims. Plaintiff was manifestly prejudiced by not being able to

       seek leave to plead those five new claims to the Court under Rule 15(a). None of

       the new claims would be futile. All claims are plausible, if not dispositive in favor

       of Plaintiff. Defendants, on the other hand, have demonstrated bad faith by not

       originally producing the federal record alteration and falsification evidence either

       as part of the administrative record in July 2023, or in response to Plaintiff’s

       APRA-FOIA request for administrative procedures documents or in response to

       Plaintiff’s APRA-FOIA request for administrative procedures documents on

       December 1, 2022.

       2. Plaintiff Should Also Be Granted Rule 60(b)(2) Relief.

       14. Rule 15(a) aside, Plaintiff is independently entitled to Rule 60(b)(2) relief

       under the “newly discovered evidence” rule. Fed. R. Civ. P. 60(b)(2). For the Court
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       to grant relief under this rule “the movant must show the evidence (1) existed at the

       time of the [judgment], (2) could not have been discovered through due diligence,

       and (3) was of such magnitude that production of it earlier would have been likely

       to change the disposition of the case.” Jones v. Aero/Chem Corp., 921 F.2d 875,

       878 (9th Cir. 1990) (quotation omitted). Requirements (1) and (2) are easily met.

       There is no doubt that this evidence was discovered after the now-appealed

       judgment was issued. There is no doubt that Plaintiff made several APRA-FOIA

       requests for administrative procedure documents to both the Department of Human

       Services and Rhode Island Judiciary Defendants in 2022 and 2023. This evidence,

       particularly was of such magnitude that production of it earlier would have been

       likely to change the disposition of the case. Those new evidence show that in

       making systemic falsification of federal records to zero out interest in Title IV-D

       federal registry, federal interests are not only central to this case, but that

       Defendants are involved in systematic and systemic falsifying records in official

       proceedings systematic for the purpose of making false claims to both the United

       States and support obligors, in actions at debt at common law, and creating

       purposeful constitutional infirm Title IV proceeding forums to rig the process in a

       RICO scheme, that purposefully impair the availability of public Title IV-D

       actions in debt at common law proceeding records to federal auditors, pro se

       support obligors and to the public. This is not permitted under the APA. Id. at 43;


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       see also, e.g., ATX, Inc. v. U.S. Dep’t of Transp., 41 F.3d 1522, 1527 (D.C. Cir.

       1994) (“The test is whether ‘extraneous factors intruded into the calculus of

       consideration’ of the individual decisionmaker.”) (quoting Peter Kiewit Sons’ Co.

       v. United States Army Corps of Eng’rs, 714 F.2d 163, 170 (D.C. Cir. 1983)); Saget

       v. Trump, 375 F. Supp. 3d 280, 360 (E.D.N.Y. 2019) (finding an agency “decision

       was arbitrary and capricious due to improper political influence”); Connecticut v.

       U.S. Dep’t of the Interior, 363 F. Supp. 3d 45, 65 (D.D.C. 2019) (APA claim

       where “significant political pressure was brought to bear on the issue and the

       Secretary may have improperly succumbed to such pressure”); Tummino v. Torti,

       603 F. Supp. 2d 519, 544 (E.D.N.Y. 2009) (“An agency’s consideration of some

       relevant factors does not immunize the decision; it would still be invalid if based in

       whole or in part on the pressures emanating from political actors.”) (quotation

       omitted). The new evidence would have easily produced a different result. In

       addition, as noted above, had Plaintiff been in possession of the record falsification

       record, in particular, Plaintiff would have sought to amend Plaintiff’s Complaint

       pursuant to Rule 15(a) to allege additional five APA claims, as alleged above

       already. See e.g. Jianhong Zhai v. Ning Liu, No. 16-7242, 2017 WL 7156251, at *2

       (C.D. Cal. Aug. 17, 2017) (instructing plaintiffs to “file a motion to set aside the

       default judgment pursuant to Rule 60(b) in conjunction with a motion to




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       supplement the complaint pursuant to Rule 15(d)” in order to include new evidence

       in a pleading).

       15. Plaintiff is moreover entitled to Rule 60(b)(3) relief for fraud, as the new

       evidence delineates in detail falsification of records for false claims in actions in

       debt at common law.

       16. Plaintiff is further entitled to Rule 60(b)(4) relief to vacate all void orders

       issued post appeal after November 17, 2023 by William Smith, as outlined above.

       17. Plaintiff is additionally entitled to Rule 60(b)(6) relief to vacate based on the

       extraordinary egregious gross irreparable harm to Plaintiff that has been outlined in

       detail above.

       18. Based on the above, the Court must disqualify William E. Smith and re-assign

       to hear this motion.

       19. The issues raised herein are hereby preserved on the record and is ripe for

       Article III review by the Supreme Court of the United States.

                                        VI. CONCLUSION

          20. Plaintiff and this Court must be allowed to discover who and what actually

       caused to and to what extent, and how falsified Title IV-D records have been

       transmitted to the federal Central Registry, based on which how much federal


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       public funds has been knowingly falsely claimed to the United States to operate the

       RICO scheme and to support obligors, and to the Plaintiff. Oral Argument is

       Requested.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: September 5, 2024

                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing motion has been filed on September 5,
       2024 electronically transmitted to the Clerk of the Court who serves via the Court’s
       ECF filing system, on all registered counsel of record.

                                                     Mary Seguin
                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019




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Case: Case
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                                       Exhibit A
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                                    Document        Date  Filed: 09/15/2024
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Case: Case
      23-1978    Document: 00118189824
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                                    Document        Date  Filed: 09/15/2024
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Case: Case
      23-1978    Document: 00118189824
           1:23-cv-00126-WES-PAS        Page:6478 Filed
                                    Document        Date  Filed: 09/15/2024
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                                         #: 2430
Case: Case
      23-1978    Document: 00118189824
           1:23-cv-00126-WES-PAS        Page:6479 Filed
                                    Document        Date  Filed: 09/15/2024
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                                         #: 2431
Case: Case
      23-1978    Document: 00118189824
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                                         #: 2432
Case: Case
      23-1978    Document: 00118189824
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Case: Case
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                                    Document        Date  Filed: 09/15/2024
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Case: Case
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Case: Case
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Case: Case
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Case: Case
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                                   Recorded Phone Call


                                     Recording Name:
         [Recording of phone conversations among John Langlois, Debra DeStefano and
              Mary Seguin recorded in Texas by Mary Seguin on October 5 2022]




                                 Transcript Prepared By:




                                         720-287-3710
                                      3801 E. Florida Ave.
                                           Suite 500
                                       Denver, CO 80210


                                  DUNS Number: 037801851
                                    CAGE Code: 6C7D5
                                    Tax ID #: XX-XXXXXXX
Case: Case
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         1   Seguin:      ‘Cause all -- like, if -- if we base the practice on

         2                how things are done of -- based on what Mr. Langlois,

         3                John, is representing today, everyone should be able

         4                to look at that screenshot, that screen, and be able

         5                to rely on it, correct?

         6   DeStefano:      Well, yeah, I --

         7   Seguin:      And its accuracy, correct?

         8   DeStefano:      -- I mean, the agen- --

         9   Seguin:      So --

        10   DeStefano:      The agency is going to have to prove it.                      Yes.   The

        11                agency is going to have to submit -- and, again, it --

        12                it’s difficult for me to know how relevant what you’re

        13                asking for is ‘cause I don’t know what the agency’s

        14                gonna submit yet, uh, to -- to support their position.

        15                So --

        16   Langlois: And can I -- can I just say, the reason I asked

        17                earlier whether, uh, Mary had spoken to Carla after

        18                she made the $104,000 payment was because there was a

        19                change in circumstances immediately after that and I

        20                don’t know whether anyone in my agency has ever

        21                explained that to Mary.

        22   Seguin:      Wait -- wait -- wait a minute.

        23   Langlois: (Inaudible - 00:01:10)

        24   Seguin:      Wait a minute.

        25   Langlois: (Inaudible - 00:01:11)




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         1   Seguin:      Wait -- wait -- wait -- wait a minute.                     Wait a minute.

         2                If there is --

         3   DeStefano:      Wait a minute.

         4   Seguin:      -- I’d like to get some documents of that.                       Okay?   So

         5                -- so, again --

         6   DeStefano:      Mary, what do you --

         7   Seguin:      -- I’ve asked for, I think --

         8   DeStefano:      Oh.     Wait a minute --

         9   Seguin:      I -- I’m so sorry.           I’m --

        10   DeStefano:      -- Mary.       I know -- I know what you asked for.                   Let

        11                me get to -- let me understand what John just said

        12                before.      So, John, you’re saying there was a change

        13                subsequent to her making a payment --

        14   Langlois: Correct.

        15   DeStefano:      -- but before the Notice of Lien went out?

        16   Langlois: Yes.

        17   DeStefano:      Okay.     So --

        18   Langlois: And can I -- can -- if I could just back up and

        19                explain what happened.             Okay?

        20   DeStefano:      Okay.

        21   Seguin:      This --

        22   Langlois: This is -- 99 percent of this is a misunderstanding.

        23   DeStefano:      Okay.

        24   Langlois: Okay?

        25   Seguin:      Including --




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         1   Langlois: (Inaudible - 00:01:51)

         2   Seguin:      -- what’s on the screenshot?                Is that a

         3                misunderstanding?

         4   Langlois: Can -- can I speak without being shouted over?

         5   Seguin:      Well, I’m --

         6   DeStefano:        Mary, let --

         7   Seguin:      I’m sh- --

         8   DeStefano:        Let --

         9   Seguin:      I’m flabbergasted really.

        10   DeStefano:        Uh, Mary, you’ve got to let me --

        11   Seguin:      Sorry.

        12   DeStefano:        -- listen --

        13   Seguin:      Sorry.

        14   DeStefano:        -- to what the agency is gonna --

        15   Seguin:      I appreciate that.

        16   DeStefano:        I mean, I know -- I only know that -- what’s in

        17                front of me and I don’t know everything that has

        18                happened in this case, but if -- if -- let me just

        19                listen to the agency and see what they have to say for

        20                --

        21   Seguin:      Sure.

        22   DeStefano:        Go ahead, John.

        23   Langlois: What -- what happened in this case is when, uh --

        24                Mary’s representative, her attorney, called us in late

        25                November 2021 and said there’s a -- she wants her




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         1                passport released.           What does she have to do to

         2                release her passport?             They put her in touch with

         3                Carla, who gave her the $104,000 number.                      Where that

         4                number came from, was the department attorney

         5                contacted the custodial parent, Mr. Miurski (ph) or,

         6                uh, Mr. -- I can’t pronounce her last name.

         7                Meyersiek.        So we contacted his attorney -- it wasn’t

         8                me, but it was someone in my office -- and said, “If

         9                she’s willing to make a $104,000 payment to pay off

        10                the principal, would you agree to waive the $75,000” -

        11                - I think it was $73,000 in arrears at that time?                        He

        12                said yes.       So Carla notified Mary that, if she paid

        13                $104,000, it would be paid in full because he was

        14                willing to waive the interest.                 That was just the

        15                principal.        What happened was, the day after Carla

        16                spoke to Mary and told her to mail in the -- or to --

        17                to wire the $104,000, the attorney for Mr., um,

        18                Meyersiek contacted us again and said he changed his

        19                mind, please put the interest back up on the system,

        20                so we did.        That’s his money.          The state is just

        21                collecting for -- for this past child support that’s

        22                owed to him.         If he wants the arrears, he has every

        23                right to ask for it.            So the number that was given to

        24                her was correct on the day it was given to her.                        The

        25                arrears for $104,000.             Because when he was waiving the




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         1                arrears, wen he changed his mind the next day, we put

         2                the arrear -- I mean, interest back up on the system.

         3   Seguin:      I think --

         4   Langlois: He was waiving the interest, and when that interest

         5                went back up on the system, that’s why the system is

         6                now saying she owes $73,000.                That’s why, in March,

         7                when the system saw that she had a, uh -- some kind of

         8                a personal injury settlement or some kind of an

         9                insurance settlement, we had -- we -- our system was

        10                showing that she owed $73,000 in interest, so we

        11                issued the lien.          But that’s what happened, is when he

        12                changed his mind the next day, and that’s what messed

        13                up the numbers.          So that’s how this all happened.              It

        14                was a pure misunderstanding.                I don’t know whether

        15                anyone has ever explained that to Mary, how that

        16                happened.

        17   DeStefano:      Okay.     Mary, did anybody ever explain that to you

        18                before?

        19   Seguin:      No.    No one ever --

        20   DeStefano:      That the system has just -- just --

        21   Seguin:      -- explained any of that, and I --




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         1                               TRANSCRIBER'S CERTIFICATE

         2

         3                I, Laurel Keller, do hereby certify that I have

         4   listened to the recording of the foregoing; further that the

         5   foregoing transcript, Pages 1 through 5, was reduced to

         6   typewritten form from a digital recording of the proceedings

         7   held October 5, 2022, in this matter; that Participant Mary

         8   Seguin has stated John Langlois and Debra DeStefano present were

         9   included in this recording; and that the foregoing is an

        10   accurate record of the proceedings as above transcribed in this

        11   matter on the date set forth.

        12                DATED this 20th day of June, 2024.

        13

        14

        15                                                     _________________________

        16                                                     Laurel Keller

        17                                                     Ditto Transcripts
                                                               3801 E. Florida Ave.
        18                                                     Suite 500
                                                               Denver, CO 80210
        19                                                     Tel: 720-287-3710
        20                                                     Fax: 720-952-9897

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                                                                               Supreme Court

                                                                               No. 2023-278-A.



                          Mary Seguin                    :

                               v.                        :

        Rhode Island Department of Human Services        :
            Office of Child Support Services.


                                                  ORDER

                    The appellant’s “Second Motion to Repeal Rule 5 of the Rhode Island Rules of

          Practice Governing Public Access to Electronic Case Information”, as prayed, is denied.

                    The appellant’s “Second Motion to Stay Proceedings Until Repeal of Rule 5 of

          Rules of Practice Governing Public Access to Electronic Case Information”, as prayed, is

          denied.

                    The appellant’s “Motion to Compel and Comply with the Court’s Order”, as

          prayed, is denied. This Court’s November 27, 2023 Order stated that, to extent the

          appellant needed any materials “related to this matter” during the pendency of this appeal,

          the Clerk’s Office was directed to make reasonable efforts to provide her with the requested

          materials. Pursuant to that Order, the appellant is only permitted to request materials from

          the Clerk’s Office that have been filed in her Superior Court case (PC 22-07215) or in this

          appeal.

                    The appellant’s “Third Motion for an Extension of Time to File Statement of the

          Case and a Summary of the Issues Proposed to be Argued” is granted. The appellant shall

          either file her Rule 12A statement within thirty (30) days of the date of this Order or she
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          may seek to hold this appeal in abeyance until she is permitted remote access to case

          materials as a pro se litigant which access we estimate will be in effect by the end of the

          year.

                  Chief Justice Suttell did not participate.

                  Justice Lynch Prata did not participate.


                  Entered as an Order of this Court this 29th day of March 2024.


                                                         By Order,



                                                         /s/ Meredith A. Benoit
                                                         Clerk
Case Number: SU-2023-0278-A
Filed in Supreme Court
         Case: Case
                 23-1978       Document: 00118189824
                         1:23-cv-00126-WES-PAS
Submitted: 8/1/2024 4:26 PM
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                                                  Document          Date
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Envelope: 4740095                                      #: 2448
Reviewer: Zoila Corporan




              STATE OF RHODE ISLAND                                               SUPREME COURT
             MARY SEGUIN
                Appellant

             VS.                                                       C.A. NO. SU-2023-0278-A

             RHODE ISLAND DEPARTMENT OF HUMAN SERVICES et al.
                 Appellees

                     APPELLANT’S MOTION FOR PRELIMINARY INJUNCTION
                    Texas Appellant, MARY SEGUIN, proceeding self-represented (“pro se”),

             respectfully moves the Court for a preliminary injunction to enjoin the Court, also

             known as the Rhode Island Supreme Court, in its ministerial capacity as the Rhode

             Island courts rules promulgator, administrator and digital court implementor to

             immediately enjoin from enforcing (1) Rhode Island Supreme Court promulgated

             and administered Rule 5 that denies remote access to judge-created laws and all

             digital court information (except for the docket sheet) to the public, pro-se litigants

             and federal agency or federal auditors in Rhode Island’s digital courts; (2) enjoin

             from enforcing and ministering grossly structurally defective digital courts that

             operates TWO digital case management systems and TWO sets of court clerks,

             effectively, TWO court systems within the court that forces pro-se and all other

             court users to use Odyssey while executive administrative agencies, such as the

             Appellee Department of Human Services, file through an unnamed LEGACY case

             management system where agency filings are (a) only visible to themselves and the

             judge, (b) are invisible to pro se litigants, the public and the Virtual Clerk in
                                                     Page 1 of 36
Case Number: SU-2023-0278-A
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Submitted: 8/1/2024 4:26 PM
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Reviewer: Zoila Corporan




             Odyssey, (c) are not digitally nor electronically noticed to the pro-se litigant, (d)

             the agencies’ filings are managed by a separate “reciprocal court clerks” that fail to

             coordinate with the main court clerks who manage everyone else’s filings through

             Odyssey, (d) that result in agency proposed orders automatically entered and

             signed by a judge even though objections are filed by defendants through Odyssey

             without a hearing thereby unconstitutionally structurally prejudiced to advantage

             Rhode Island’s agencies in violation of inter alia Due Process and Equal

             Protection Clauses; (3) enjoin Appellees and this Court’s ministered Rhode Island

             Family Court forum from structurally depriving defendants of United States

             Constitutional Seventh Amend rights to trial by jury in civil actions at law and civil

             actions in debt at common law (ordered support are debts (including debts signed

             over to the State in welfare cases) with the federal Title IV legal framework in

             Title IV proceedings – this Court’s ministered Domestic Family Relations Rule 38

             that traditionally provide for preserving the right for jury trial does not exist and is

             ”reserved”; (4) enjoin Appellees and this Court’s ministered Rhode Island Family

             Court forum from structurally depriving defendants of Rhode Island constitutional

             right to jury under Section 15 right to jury trial shall be inviolate in civil actions at

             law and civil action in debt at common law (ordered support are debts (including

             debts signed over to the State in welfare cases) within the federal Title IV llegal

             framework in Title IV proceedings. Appellant is unconstitutionally denied access


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Reviewer: Zoila Corporan




             to judge-created laws in Rhode Island’s digital courts and hereby reserves and

             preserves Appellant’s right to amend and supplement this motion with Rhode

             Island judge-created laws created by the Superior Court judges, Family Court

             judges, and Supreme Court judges that are unpublished and freely publicly

             accessible on all issues raised herein. This State’s constitution moreover

             guarantees the right to justice and entitles the Appellant to the requested remedy

             under Section 5 that guarantees Appellant the right to “obtain justice freely,

             without purchase, completely and without denial, promptly and without delay,

             comformably to the laws.” This Court in its ministerial capacity promulgating and

             administering the rules of the courts and the structures of the digital courts

             purposefully and knowingly violate established principles of the Government

             Edicts Doctrine, the First Amendment, Due Process and Equal Protection,

             Privileges and Immunities Clauses, the Seventh Amendment, and the Supremacy

             Clause, as well as this state’s constitution guarantees in Section 5 and Section 15.

             In support of this motion for preliminary injunction, Appellant incorporates all

             motions files before this Court requesting access to judge-created laws and court

             information in Rhode Island’s digital courts, that have been acknowledged by this

             Court as “a problem” and won’t be resolved until the “end of the year,” and

             simultaneously denied immediate relief in violation of the First Amendment, Due

             Process, Equal Protection, Privileges and Immunities Clauses and the Government


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Submitted: 8/1/2024 4:26 PM
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             Edicts Doctrine, violating constitutional guarantees for prompt remedy without

             delay and purchase, and contravening constitutional requirement to comform to the

             laws. The laws require this Court to minister the judicial branch’s court

             architecture and basic structure to conform to the Laws and to the Constitution, not

             structurally rig proceedings to the advantage of agencies, such as the Appellees.

             Appellant has raised this fundamental structural issue in both lower courts (in

             superior court incorporating the Administrative Procedure Act over Title IV

             administration by Appellee, and in the family court incorporating compliance to

             Title IV in Title IV proceedings) to no avail, saying they can’t do anything about it

             (denying remedy) and to go and ask the Rhode Island Supreme Court for remedy.

             Appellant hereby moves this Court now for the above requested remedy to enjoin

             the aforesaid structural bias promulgated, implemented and ministered by this

             Court – in other words, the lower courts point to THIS Court for unconstitutional

             structural bias causation - and preserves this Rhode Island Supreme Court

             fundamental ministerial unconstitutional court structural bias for United States

             Supreme Court review – Appellant preserves the issue of structural bias and raises

             before the Court that it is ripe for Article III review. Appellant raises before the

             Court that the Court’s ministered structural bias functions to CONCEAL criminal

             agency administration of federal programs calculated to make false claims in

             constitutionally infirm forums that deny the fundamental right to jury trial in civil


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             actions at common law, to wit the Appellees’ criminal policy and procedure to

             falsify interstate interest support records zeroing out Rhode Island’s illegal 12%

             compound interest disallowed by 42 U.S.C. sec. 654(21)(A) then electronically

             transmits the falsified zeroed out interest support records to the Federal Central

             Registry within the Title IV legal framework, while falsely certifying the falsified

             support record and falsely transmitting a falsified zeroed out interest support order

             to the Federal Central Registry and to the Receiving State, in this case, to Texas,

             thus damaging and destroying the integrity of both the Federal Central Registry

             records and the Receiving State (this case Texas) Registry records within the Title

             IV legal framework – that encompassed the calculation to ultimately make false

             claims to the United States Title IV federal program for funding in the attempt to

             CONCEAL the 12% compound interest that facially contravenes 42 U.S.C. sec.

             654(21)(A) for the purpose of receiving TANF and Title IV-D 66% funding that

             the Appellee agency persons know(s) they are not eligible for when they falsify

             records, zero out the unlawful 12% compound interest and “collect debt” in actions

             in debt at common law in constitutionally infirm forums like this Court’s

             ministered family court that operates the illegal aforesaid structurally biased two

             digital case management systems that further deprives access to court information

             and judge-created laws to pro se litigants and the public, as well as deprive

             defendants the right to jury trial in actions in debt at common law, and which the


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             Appellee agencies knowingly scheme to conceal this penalty incurring scheme

             from federal auditor detection under 42 U.S.C. sec. 655. This Court’s ministering

             and enforcement of Rule 5 effectively functions to CONCEAL from and obstruct

             federal auditors access to judge-created law Title IV proceeding documents that

             involve documented evidence of the falsification of Title IV records by Appellees

             routinely zeroing out Rhode Island’s unlawful 12% compound interest in Title IV

             interstate support cases, false certifications of Title IV compliance, routinely

             falsifying support orders with zeroed out interest, routinely transmitting falsified

             records to the Federal Central Registry and routinely transmitting falsified records

             to the receiving states’ registry carrying false certifications of regulatory

             compliance within the Title IV legal framework. As such, Appellant incorporates

             the Administrative Procedure Act that is triggered upon injury to the Appellant.

             This Access to Public Records Act action over the Appellees’ interstate

             administration of the Title IV program incorporates by definition the

             Administrative Procedure Act. The Appellant submitted the public records request

             to the Appellee agency on December 1, 2022, at which time there was no pending

             action initiated by the Appellees. The Appellees’ public records written denial on

             December 13, 2022 relied on alleged “unsegregable” reasons, not impending

             litigation. The Appellee agency Chief Counsel Ms. Martinelli’s written public

             records denial letter dated December 16, 2022 also relied on unsegregable reasons


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             not impending litigation, notifying Appellant in writing of Appellant’s right to

             appeal under the Access to Public Records Act. Mr. Coleman’s written claims in

             this proceeding contravenes his boss Ms. Martinelli’s written reasons for record

             denial. Either Mr. Coleman is lying on July 31, 2024 before this Court or his boss

             Ms. Martinelli is lying, in writing, dated December 16, 2022. Either way, the

             Appellee is lying, in writing, before this Court and/or committing wire fraud

             interstate to Texas lying about public record denials under both open records laws

             and the Administrative Procedure Act governing Appellee administration

             procedures of the federal Title IV program, that it turns out, involves routine

             interstate criminal fraud, false claims, obstruction, and obstruction of federal

             auditors. This state’s open government laws never differentiate textually between

             Title IV records and other federal program records, conferring the family court

             jurisdiction over public access to Title IV records – instead jurisdiction is

             conferred to the Superior Court over ALL records access denial appeals

             irrespective of program, agency or nature. No litigation was pending at the time of

             APRA request and Appellee counsel Ms. Martinelli never stated impending

             litigation as a basis for denial on December 16, 2022, instead stating in writing

             “unsegregable” as the reason. The Superior Court structurally is required to review

             the disputed records to make a determination, not defer to Appellee agency

             opinions, which is controlled by new Supreme Court case law, Loper Bright


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             Enterprise Inc. vs. Raimondo, Slip opinion (2024) conclusively overturning the

             Chevron deference. In support of this motion, Appellant incorporates Appellant’s

             Rule 12A Statement, all of Appellant’s filed motions to repeal Rule 5 and grant

             access to judge-created laws, motion to stay, and the Court’s orders to date in this

             matter, as fully alleged and raised herein. Moreover, Appellant states the follows:

             New Controlling United States Supreme Court Case Law

                    Overturn of the Chevron Deference

                    1. This Court's ministering of the biased court structure rigged in favor of

                       the Appellee agency, replete with family court structure operating the

                       aforesaid said biased and illegal TWO digital case management systems

                       that blinds the pro se litigant, fails to notice the pro se litigant and

                       coupled with access denial to court information and judge-created laws

                       effectively functions as this Court’s deference to the agency on steroids,

                       that implements and enforces and administers structural biased rigged in

                       favor of the Appellee agency. This Court’s ministerial bias in gross

                       deference to the Administrative State is ripe for United States Supreme

                       Court review of this State’s administration of federal Title IV that

                       incorporates the Administrative Procedure Act over the subsequently

                       enacted Title IV.



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                    2. Lopes Bright Enterprises Inc. vs. Raimondo (Slip Opinion) (2024)

                       overturned the Chevron deference, and gives Article III courts

                       independent review of all agency administrative actions of federal

                       programs. This Court’s ministerial administration of structurally biased

                       state courts involving federal Title IV programs in favor of the agency

                       that de facto functions to conceal from the public and support obligors

                       and conceal from federal auditors court documents and otherwise

                       records evidence relating to the Appellee agency’s routine falsification

                       of Title IV records zeroing out Rhode Island’s unlawful 12% compound

                       interest in interstate cases in order to make false claims is

                       unconstitutional and Appellant is entitled under the Constitution to

                       remedy upon injury. Appellant preserves the issue for United States

                       Supreme Court review of Appellee and court structural ministering by

                       this Court triggering 18 U.S.C. § 4 and incorporates 18 U.S.C. § 1512,

                       18 U.S.C. § 666, 18 U.S.C. § 241, 18 U.S.C. § 1516.

                    3. Corner Post, Inc. v. Board of Governors of the Federal Reserve

                       System, 603 U. S. ____ (2024) makes clear that Appellant is entitled to

                       remedy upon injury by the aforesaid Court ministered structural defect

                       and the Appellee’s corrupt administration of a federal program,

                       including covering up and denying access to Appellees’ routine


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                       falsification of interstate Title IV support records under the

                       Administrative Procedure Act that requires disclosure of records.

                       Appellant is injured now and continues to seek denied remedy.

                       Appellant’s entitlement to remedy upon injury is moreover guaranteed

                       by the Rhode Island constitution Section 5. This issue of remedy denial

                       thus far is preserved for United States Supreme Court review. Appellant

                       seeks remedy now that conform to the laws, that this Court

                       acknowledges “is a problem” but denies Appellant the requisite

                       immediate remedy to irreparable harms by the Court’s ministerial acts.

                       Appellant is entitled to access Rhode Island’s judge’s created laws

                       relating to access to all Title IV public records, Appellee procedures

                       zeroing out interest, procedures falsifying and certifying zeroed out

                       interest in interstate Title IV support cases, and the procedures relating

                       to the transmission of falsified zeroed out interest records to the Federal

                       Central Registry and the receiving state that is moreover governed under

                       the Administrative Procedure Act. This Court’s ministerial court

                       information and judge-created laws access denial as it relates to what the

                       judges are up to in Rhode Island as it relates to agency administration of

                       federal programs requires immediate First Amendment injury remedial

                       access. This issue is preserved for Article III review.


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                    4. On June 28, 2024, the United States Supreme Court reinforced in

                       Fischer v. U.S., 603 U. S. ____ (2024), that 18 U.S.C. § 1512(c)(1) and

                       Section 1512(c)(2) cover criminal conduct altering, fabricating and

                       falsifying U.S. Government Federal Central Registry computer records

                       by the State Appellees and Appellee client Gero Meyersiek. On page 9,

                       the U.S. Supreme Court held “…subsection (c)(2) makes it a crime to

                       impair the availability or integrity of records, documents, or objects used

                       in an official proceeding in ways other than those specified in (c)(1). For

                       example, it is possible to violate (c)(2) by creating false evidence—

                       rather than altering incriminating evidence. See, e.g., United States v.

                       Reich, 479 F. 3d 179, 185–187 (CA2 2007) (Sotomayor, J.) (prosecution

                       under subsection (c)(2) for transmitting a forged court order). Subsection

                       (c)(2) also ensures that liability is still imposed for impairing the

                       availability or integrity of other things used in an official proceeding

                       beyond the “record[s], document[s], or other object[s]” enumerated in

                       (c)(1), such as witness testimony or intangible information. See, e.g.,

                       United States v. Mintmire, 507 F. 3d 1273, 1290 (CA11 2007)

                       (prosecution under subsection (c)(2) based in part on the defendant’s

                       attempt to orchestrate a witness’s grand jury testimony).” Id. It is plain

                       that the district court’s description of “state enforcement” that


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                       Appellant’s newly-discovered evidence proves fundamentally involves

                       the wholesale policy-prescribed criminal alteration, fabrication and

                       falsification of federal computer government records and State

                       Appellees’ false certification of federal law compliance that are

                       calculated to make false claims to the United States for billions of

                       dollars of federal funding Rhode Island is not eligible for, conceal from

                       federal auditors Rhode Island’s policy-prescibed wholesale criminal

                       falsification of federal Central Registry support obligation records and

                       conceal from federal auditors Rhode Island’s false certification of

                       federal law compliance, in violation of 18 U.S.C. § 1512(c)(1) and

                       (c)(2), and to make false claims to interstate support obligors for

                       unlawful interest debt and false claims for waived interest does not only

                       go towards the issue of Younger Abstention, but show Appellant’s

                       reporting to the United States judges under 18 U.S.C. § 4 the State

                       Appellees’ and Appellee Gero Meyersiek’s violate a slew of multiple

                       federal criminal laws discussed by Fischer v. U.S., 603 U. S. ____

                       (2024), such as 18 U.S.C. § 1516 (impairing or obstructing federal

                       audit), 18 U.S.C. § 1503(a), for example, makes it a crime to “corruptly,

                       or by threats or force, or by any threatening . . . communication,

                       endeavor[] to influence, intimidate, or impede” any juror or court


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                       officer”; “sub-sections (a)(2)(C), (b)(3), and (d)(2) criminalize various

                       means of preventing someone from giving a judge or law

                       enforcement officer information relating to the commission or

                       possible commission of a federal offense. And subsections (d)(3) and

                       (4) make it a crime to harass someone and thereby dissuade them from

                       arresting or prosecuting a person alleged to have committed a federal

                       offense. None of these crimes requires an “official proceeding.” Id.

                       (emphasis added). “For a person to have violated (c)(2), “an official

                       proceeding need not be pending or about to be instituted.” §1512(f )(1).

                       And interference with an arrest or with communications to authorities

                       about federal offenses could very well obstruct the initiation of future

                       official proceedings.” Id. Applying the Supreme Court’s rulings of

                       obstruction acts in Fischer to this matter, the record in this matter shows

                       State Appellees, counsel for State Appellees (a state official who knows,

                       aids and abets in the furtherance of the State Policy to falsify federal

                       records to impair their integrity that is calculated to aid and abet Rhode

                       Island to make false claims to the United States for federal funds Rhode

                       Island is not eligible for and to conceal the federal penalty-incurring

                       criminal conduct under 42 U.S.C. § 655) and Appellee Title IV client

                       Gero Meyersiek engaging in criminal activities discussed by the


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                       Supreme Court in Fischer. The Appellees by policy conceal Rhode

                       Island’s unlawful 12% compound interest by removing it thereby

                       falsifying federal Central Registry records that impairs the records’

                       integrity. After removing the interest that all users relying on the

                       integrity of the records rely on record truthfulness, the Appellees then

                       represent to the support obligor, the Appellant, that interest was waived.

                       After removing the interest from the record, State Appellees further

                       falsely certify to federal authorities and federal auditors that Rhode

                       Island is federal law compliant. Then, the Appellees put back on the

                       state register the unlawful 12% compound interest, then fraudulently lien

                       Appellant’s Texas properties. The State Appellee John Langlois again

                       states in 2022 in Rhode Island’s Title IV enforcement agency appeal

                       proceeding that Appellee Gero Meyersiek waived the interest. See

                       attached Exhibit I Transcript of audio recording Appellant made in

                       Texas on October 5, 2022 of telephone call Appellant had with Appellee

                       John Langlois, Esq., Deputy Chief Counsel of the Appellee Office of

                       Child Support Services, and Debra DeStefano, Rhode Island Executive

                       Office of Health and Human Services Appeals Officer in a Title IV

                       enforcement agency appeal proceeding in agency Appeal No. 22-2116




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                       that occurred on October 5, 2022, at the Title IV-D enforcement Appeal

                       telephonic Hearing, pages 2-5:

                 “DeStefano: -- Mary. I know -- I know what you asked for. Let

                11 me get to -- let me understand what John just said

                12 before. So, John, you’re saying there was a change

                13 subsequent to her making a payment --

                14 Langlois: Correct.

                15 DeStefano: -- but before the Notice of Lien went out?

                16 Langlois: Yes.

                17 DeStefano: Okay. So --

                18 Langlois: And can I -- can -- if I could just back up and

                19 explain what happened. Okay?

                20 DeStefano: Okay.

                21 Seguin: This --

                22 Langlois: This is -- 99 percent of this is a misunderstanding.

                23 DeStefano: Okay.



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                24 Langlois: Okay?

                25 Seguin: Including --

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                1 Langlois: (Inaudible - 00:01:51)

                2 Seguin: -- what’s on the screenshot? Is that a

                3 misunderstanding?

                4 Langlois: Can -- can I speak without being shouted over?

                5 Seguin: Well, I’m --

                6 DeStefano: Mary, let --

                7 Seguin: I’m sh- --

                8 DeStefano: Let --

                9 Seguin: I’m flabbergasted really.

                10 DeStefano: Uh, Mary, you’ve got to let me --

                11 Seguin: Sorry.

                12 DeStefano: -- listen --

                13 Seguin: Sorry.


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                14 DeStefano: -- to what the agency is gonna --

                15 Seguin: I appreciate that.

                16 DeStefano: I mean, I know -- I only know that -- what’s in

                17 front of me and I don’t know everything that has

                18 happened in this case, but if -- if -- let me just

                19 listen to the agency and see what they have to say for

                20 --

                21 Seguin: Sure.

                22 DeStefano: Go ahead, John.

                23 Langlois: What -- what happened in this case is when, uh --

                24 Mary’s representative, her attorney, called us in late

                25 November 2021 and said there’s a -- she wants her

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                1 passport released. What does she have to do to

                2 release her passport? They put her in touch with

                3 Carla, who gave her the $104,000 number. Where that


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                4 number came from, was the department attorney

                5 contacted the custodial parent, Mr. Miurski (ph) or,

                6 uh, Mr. -- I can’t pronounce her last name.

                7 Meyersiek. So we contacted his attorney -- it wasn’t

                8 me, but it was someone in my office -- and said, “If

                9 she’s willing to make a $104,000 payment to pay off

                10 the principal, would you agree to waive the $75,000” -

                11 - I think it was $73,000 in arrears at that time? He

                12 said yes. So Carla notified Mary that, if she paid

                13 $104,000, it would be paid in full because he was

                14 willing to waive the interest. That was just the

                15 principal. What happened was, the day after Carla

                16 spoke to Mary and told her to mail in the -- or to --

                17 to wire the $104,000, the attorney for Mr., um,

                18 Meyersiek contacted us again and said he changed his

                19 mind, please put the interest back up on the system,


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                20 so we did. That’s his money. The state is just

                21 collecting for -- for this past child support that’s

                22 owed to him. If he wants the arrears, he has every

                23 right to ask for it. So the number that was given to

                24 her was correct on the day it was given to her. The

                25 arrears for $104,000. Because when he was waiving the

                Page 5

                2 arrears, when he changed his mind the next day, we put

                2 the arrear -- I mean, interest back up on the system.”

                Then, after that agency proceeding was dismissed, Appellant on December 1,

             2022 requested the Title IV debt collection procedure records in general

             jurisdiction Superior Court under this state’s open records act that incorporates the

             federal Administrative Procedure Act. After the Appellant initiated the open

             records act record denial appeal in the Superior Court, the State Appellees initiated

             a judicial proceeding in the limited jurisdiction state family court that utterly lacks

             jurisdiction to put back on the federal computer system the unlawful 12%

             compound interest that Rhode Island Office of Child Support Services removes

             (and modifies the court order/falsified court order) from the Federal Central

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             Registry computer system, by Rhode Island’s official criminal State Policy and

             that Appellee nonwelfare client Gero Meyersiek waived – under Title IV and all

             applicable federal (preemption) law, the limited jurisdiction state family court

             lacks jurisdiction to oblige Rhode Island State Appellees and Appellee client Gero

             Meyersiek. As the United States Supreme Court warns corrupt officials on July 1,

             2024, “The President is not above the law.” Trump v. U.S., 603 U. S. ____ (2024).

             Nobody is above the law, the United States Supreme Court warned, much less the

             Appellees in Rhode Island, whose conduct by conclusive evidence have been

             shown to be criminally corrupt falsifying federal records for the purpose of making

             false claims, and reveal a sense of being above the law for decades, in this matter

             alone, from 1996 to the present, and is on-going. Similarly, the Court’s

             ministerial acts described herein as it relates to ministering the structurally

             defective courts that favors the Appellee agency, conceals judge-created laws

             relating to the Appellee criminal administration of Title IV and deprives defenders’

             right to jury trial in actions in law and in debt at common law, are not above the

             law. the state family court lacks jurisdiction to unlawfully establish 12%

             compound interest that violates the preemptive 42 U.S.C. § 654(21)(A), or

             establish the 12% compound interest retroactively that violates 42 U.S.C. §

             666(9)(C), or enforce unlawful 12% compound interest that is by Rhode Island’s

             State Policy always and “automatically” removed from the Federal Government


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             Central Registry computer system records, including transmitting modified support

             orders (falsified court orders in violation of 18 U.S.C. § 1512(c)(2) see June 28,

             2024 United States Supreme Court holding, Fischer v. U.S., 603 U. S. ____

             (2024), citing United States v. Reich, 479 F. 3d 179, 185–187 (CA2 2007)

             (Sotomayor, J.) (prosecution under subsection (c)(2) for trans mitting a forged

             court order). “Subsection (c)(2) also ensures that liability is still imposed for

             impairing the availability or integrity of other things used in an official proceeding

             be yond the “record[s], document[s], or other object[s]” enumerated in (c)(1), such

             as witness testimony or intangible information. See, e.g., United States v.

             Mintmire, 507 F. 3d 1273, 1290 (CA11 2007) (prosecution under subsection (c)(2)

             based in part on the defendant’s attempt to orchestrate a witness’s grand jury

             testimony)”) in order to conceal unlawful 12% compound interest from federal

             auditors (in violation of 18 U.S.C. § 1216, see Fischer v. U.S., Id.), the State

             Judiciary Appellees exercise the ministerial function of establishing “court rules”

             governing the digital courts the state judiciary implemented calculated to conceal

             from the public, from federal authorities, from pro-se litigants any and all judge-

             created laws (and the respective syllabi that show the State Appellee Department

             of Human Services and Office of Child Support routinely establishing and

             administering and enforcing unlawful 12% compound interest enabled in the state

             family court of limited jurisdiction that is by Rhode Island state policy criminally


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             removed from the Federal Central Registry, to which the Appellees transmit forged

             falsified self-modified court orders and whenever certifications of federal law

             compliance is performed) created by the state family court that lacks jurisdiction to

             preempt Title IV of the Social Security Act. See, Trump vs. U.S., 603 U. S. ____

             (2024) (reinforcing and directing Special Prosecutor Jack Smith to apply Fischer

             vs. U.S., 603 U. S. ____ (2024); Fischer vs. U.S., 603 U. S. ____ (2024); LOPER

             BRIGHT ENTERPRISES ET AL. v. RAIMONDO, SECRETARY OF

             COMMERCE, ET AL., No. 22-451 *Together with No. 22–1219, Relentless, Inc.,

             et al. v. Department of Commerce, et al.; Corner Post, Inc. v. Board of Governors

             of the Federal Reserve System, 603 U. S. ____ (2024)

                       THIS COURT MINISTERS STRUCTURALLY
                       CONSTITUTIONALLY INFIRM FORUMS THAT DEPRIVE THE
                       SEVENTH AMENDMENT TRIAL BY JURY RIGHT AND R.I.
                       CONSTITUTION SECTION 15 JURY TRIAL RIGHT IN DEBT
                       ENFORCEMENT PROCEEDINGS THAT THE LIMITED
                       JURISDICTION FAMILY COURT LACKS THE AUTHORITY TO
                       CALL – APPELLANT MOVES TO ENJOIN APPELLEES AND THE
                       COURT FROM MINISTERING FORUMS THAT DEPRIVE JURY
                       TRIAL RIGHTS IN LEGAL ACTIONS IN DEBT AT COMMON LAW



                    5. the United States Supreme Court’s June 28, 2024 ruling in S.E.C. v.

                       Jarkesy, 603 U.S.___(2024), that upheld the defendant’s right to a trial

                       by jury, not just a judge as in the limited jurisdiction family court, in

                       debt enforcement proceedings. “Actions by the Government to recover

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                       civil penalties under statutory provisions,” we explained, “historically

                       ha[d] been viewed as [a] type of action in debt requiring trial by jury”

                       quoting Tull v. U.S., 481 U.S., at 418-419 (1987).

                    6. When the state family court adjudicates, there are no juries. R.I.G.L. 8-

                       10-3 confers no authority to the limited jurisdiction state family court to

                       call juries. In these proceedings, the above-mentioned unconstitutional

                       structural defect already violates the due process mandate Congress

                       legislated in 42 U.S.C. § 666. The Fifth Circuit applied a two-part test

                       from Granfinan ciera, S. A. v. Nordberg, 492 U. S. 33 (1989), the panel

                       held that the agency’s decision to adjudicate the matter in-house violated

                       Jarkesy’s and Patriot28’s Seventh Amendment right to a jury trial. 34 F.

                       4th, at 451. First, the panel determined that because these SEC antifraud

                       claims were “akin to [a] traditional action[] in debt,” a jury trial would

                       be required if this case were brought in an Article III court. Id., at 454;

                       see id., at 453–455. The Fifth Circuit panel concluded that case should

                       have been brought in federal court, where a jury could have found the

                       facts. Based on this Seventh Amendment violation, the panel vacated the

                       final order. Id., at 459. It also identified two further constitutional

                       problems. First, it determined that Congress had violated the non

                       delegation doctrine by authorizing the SEC, without adequate guidance,


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                       to choose whether to litigate this action in an Article III court or to

                       adjudicate the matter itself. See id., at 459–463. The panel also found

                       that the insulation of the SEC ALJs from executive supervision with two

                       layers of for-cause removal protections violated the separation of

                       powers. See id., at 463–466.

                    7. Interest on overdue support claims are traditional actions in debt, and a

                       jury trial would be required if this case were brought in an Article III

                       court. The state family court is a constitutionally infirm forum for

                       actions in debt that violate Seventh Amendment right and to Section 15

                       of the R.I. Constitution guarantee to jury trial at common law. This

                       Court’s ministering of Title IV proceedings for actions in debt at

                       common law in constitutionally infirm forums that deprive the defendant

                       of the Seventh Amendment right to jury trial and Section 15 of the R.I.

                       constitution’s right to jury trial at common law must moreover be

                       immediately enjoined. The Appellees’ knowing deception against

                       support obligors in actions in debt at common law in constitutionally

                       infirm forums like the family court that deprive defendants’ right to jury

                       trial at common law must moreover be immediately enjoined. S.E.C. vs.

                       Jarkesy, 603 U.S.___(2024) is controlling, and Appellant preserves and

                       reserves this issue (Appellant is denied access by this Court to review


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                       R.I. judge created laws in all Rhode Island courts on the right of jury

                       trial and further reserves the right to supplement once access is granted

                       by the end of the year, per this Court’s orders) that is ripe for United

                       States Supreme Court review. A jury would have found the facts that

                       the Appellees actively sought to conceal, obstruct access to, and impair

                       access to documents relating to Appellee falsification of Title IV

                       records, zeroing out Rhode Island’s unlawful 12% compound interest

                       that facially violate 42 U.S.C. sec. 654(21)(A) in order to make false

                       claims. The Court’s ministerial acts depriving Title IV support obligors

                       in Title IV proceedings that deprive the right to trial by jury to find all

                       triable facts de facto functions to aid and abet agency Appellees’ making

                       false claims to support obligors and the United States. A jury would

                       have found triable facts surrounding the Appellee agency removal or

                       zeroing out Rhode Island’s 12% compound interest, then stating to

                       support obligors that the $0 interest showing resulting from the removal

                       means interest was waived, then clandestinely illegally put the interest

                       back on the system to make false claims. This fraudulent alteration of

                       federal Title IV interest record by Appellees in constitutionally infirm

                       and grossly structurally defective lower state courts implemented and

                       ministered by the Rhode Island Supreme Court must be enjoined


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                       immediately, must be remedied and is ripe for United States Supreme

                       Court review. The Court’s ministerial acts and the Appellees moreover

                       violate Separation of Powers, so that the Court denies immediate remedy

                       that conform with the law under both the U.S. Constitution and R.I.

                       constitution. This Court’s denial of remedy concerning federal interstate

                       programs that involve egregious criminal activity thus far is ripe for

                       Article III review.

                    8. Appellant incorporates this Court’s four orders dated November 27,

                       2023, January 19, 2024, March 29, 2024 and June 7, 2024 and all

                       motions filed before this Court to date by reference as proof of

                       Appellant-raised and preserved but unremedied fundamental structural

                       defect issues prejudicing not just this appeal forum but all state lower

                       court structural defects implemented and ministered against the

                       Appellant that violate core tenets of law and order in our democratic

                       system, namely the Government Edicts Doctrine, the First Amendment,

                       the Seventh Amendment, Sections 1, 5, 15 of the R.I. constitution, Due

                       Process and Equal Protection, Privileges and Immunities Clauses and

                       Separation of Powers in this Court’s ministered digital court structure

                       and purposely unlawfully designed architecture that shows conclusive

                       evidence of prejudice, bias, concealment with knowing, admitted and


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                       purposeful violation of the Constitution, of the First Amendment, the

                       Due Process Clause, the Equal Protection Clause, and the Privileges and

                       Immunities Clauses, the Seventh Amendment, Separation of Powers, and

                       the Supremacy Clause. Denied access to judge-created laws created in

                       Rhode Island, Appellant’s Due Process is violated and Appellant is

                       unconstitutionally targeted as a class (the public and the pro se litigants

                       are denied access) – this evidently ministerial court policy that motivates

                       the Rule 5 denial is upheld by the very persons who sit in a judicial

                       capacity in this matter to continue to deny judge-created law access by

                       its latest June 6, 2024 order denying Appellant’s application for access

                       in its entirety. Because access denial to Rhode Island’s judge-created

                       laws functions to conceal the law in Rhode Island relating to corrupt

                       administration of federal programs by the Appellees and conceal from

                       the public what the courts in Rhode Island are up to as they relate to the

                       continuing corrupt administration of the federal programs by the

                       Appellees, under the United States Supreme Court’s established case

                       laws on public access to court information and judge-created laws, the

                       Court in its ministerial acts and the Appellees violate the core tenets of

                       our democracy: see, Richmond Newspapers v. Virginia, 448 U.S. at

                       587–88 (1980) (emphasis added) “the First Amendment . . . has a


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                       structural role to play in securing and fostering our republican system of

                       self-government. Implicit in this structural role is not only ‘the principle

                       that debate on public issues should be uninhibited, robust, and wide-

                       open,’ but the antecedent assumption that valuable public debate—as

                       well as other civic behavior—must be informed. The structural model

                       links the First Amendment to that process of communication necessary

                       for a democracy to survive, and thus entails solicitude not only for

                       communication itself but also for the indispensable conditions of

                       meaningful communication.” The structure of this Court fails to comport

                       with the fundamental tenets of our republican system of self-government

                       and the Constitution, evidently by design and purposefully, and rejects

                       Appellant’s proper requests to timely comply with the Constitution

                       under the First Amendment. As such, Appellant hereby reserves and

                       preserves all rights to supplement Appellant’s motion to enjoin until

                       such time Appellant is granted remote access to judge-created laws

                       created by Rhode Island judges. Since the Court acknowledges the

                       problem and acknowledges proceeding is due process violative,

                       Appellant concurrently filed separately a motion to stay pursuant to the

                       Court’s Order dated March 29, 2024 relating to this matter – however,

                       the structural defects raised in this motion must be enjoined and


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                       remedied without delay nor could they be held in abeyance, which are

                       categorically ripe for review by Article III, the United States Supreme

                       Court. Jarkesy, Lopes Bright Enterprise Inc., Fischer, and Trump show

                       the United States Supreme Court places paramount priority reigning in

                       the excesses of the [criminal] abuses of the Administrative State of

                       government agency actions, as It should, that this matter shows the

                       Administrative State engages in criminal schemes to harm the public,

                       defraud the public and undermine core tenets and the rule of law of our

                       democracy.

                       Officials’ Violation of the Law Is Treated As More Severe That Is
                       Herein Preserved For Article III Review

                    9. Under 18 U.S.C. § 4, hinderance, concealment, suppression, affirmative

                       neglect, or unjustified delay are “especially culpable for public officers,

                       since they received a higher penalty for the crime than that received by

                       ordinary citizens at common law." Mullis, supra. at 1113. The public

                       officers specifically named in the Federal misprision statutory text with a

                       duty to act upon the receipt of information are “judge(s) and civil

                       authorities.” The First Circuit federal appeals court equally applies the

                       Federal misprision statute to state and local public officers, such as the

                       Appellees and Mr. Coleman, and this Court’s justices in their ministerial

                       capacities ministering, promulgating, administering, implementing the
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                       afore-described structurally defective and constitutionally infirm forums

                       targeting pro se litigants and concealing what the Appellees and the

                       judges in Rhode Island are up to, by denying access to court information

                       to the public and to Appellant regarding the judge-created laws

                       concerning the Appellees’ corrupt administration of Title IV program

                       that involves routine falsification of federal support records zeroing out

                       interest and otherwise alterations of the Title IV records to make false

                       claims. United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                       2007). The First Circuit in Caraballo further noted that the Supreme

                       Court also noted in Branzburg v. Hayes, 408 U.S. 665, 696 n. 36, 92

                       S.Ct. 2646, 33 L.Ed.2d 626 (1972), that some lower courts had construed

                       the statute to require both knowledge of a crime and an affirmative act of

                       concealment or participation, but that both the Supreme Court and the

                       First Circuit did not adopt that construction. Appellant preserves this

                       issue as it relates to this matter concerning Appellee conduct, Mr.

                       Coleman’s conduct, and the Court’s ministerial conduct, and the issue is

                       ripe for Article III review by the United States Supreme Court.

                       Moreover, the Plaintiff-Appellant raised the specter of Appellee

                       Misprision of felony committed before this Court on July 31, 2024

                       evidenced by the Appellee’s 12A Counter Statement and Objection to


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                       Motion to Stay submitted by the Appellees through Mr. Coleman, an

                       agency Deputy Chief Counsel, a public officer. The First Circuit in

                       Caraballo (precedent) cited United States v. Sessions, Nos. 00-1756, 00-

                       1791, 2000 WL 1456903 (8th Cir. Oct.2, 2000) (unpublished decision),

                       holding that the misprision statute was satisfied where the individual

                       "gave incomplete information regarding his knowledge of the [crime],"

                       at least where he "gave the police partial information that was

                       misleading." Id. at *1, 2000 WL 1456903. If the statute is geared toward

                       avoiding the misleading of authorities, Ciambrone, 750 F.2d at 1418, it

                       is still possible, in concept and in fact, that even a truthful but partial

                       disclosure could conceal by misleading the government through the

                       withholding of key information, specifically in footnote 10 that “it is

                       commonly accepted in other areas of law. The specific cases the First

                       Circuit Court cited and relied on are all in the form of omitted facts in

                       filings submitted to judges in a federal court of law in official federal

                       proceedings that “may mislead.” (Emphatically, it is obvious that the

                       omission of key facts submitted in this Court which satisfies the

                       misprision statute equally applies to the omission of key facts submitted

                       in the federal appellate court). See the Caraballo Court cited cases,

                       United States v. Nelson-Rodriguez, 319 F.3d 12, 33 (1st Cir.2003)


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                       (recognizing that omitted facts in a wiretap warrant affidavit may

                       mislead); United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir.1996)

                       (commenting that a "bare-bones description" submitted to judge may

                       have been "calculated to mislead"); United States v. Stanert, 762 F.2d

                       775, 781 (9th Cir.1985) (holding that omitted facts in a warrant

                       affidavit may mislead); United States v. Previte, 648 F.2d 73, 85 (1st

                       Cir.1981) (noting that trial court's use of slide transparencies to deliver

                       jury instructions "had some potential to mislead the jury, more by what

                       they omitted than by what they contained"). Therefore it is abundantly

                       plain that the First Circuit Caraballo Court applied the misprision

                       statute to court “filings submitted to a judge.” The federal misprision

                       of felony statute is a carry-over of common law misprision of felony that

                       equally applies to Rhode Island state misprision of felony – accordingly

                       both apply as they relate to Title IV program administration and corrupt

                       ministering or aid and abet of corrupt administration of federal programs

                       by state persons. Accordingly, the Appellee Rule 12A Counter

                       Statement and Objection to motion to stay that were filed before this

                       very Court, that grossly and egregiously omitted key facts evidenced in

                       the previously Appellant-submitted state policy documenting the

                       falsification of federal computer records zeroing out the unlawful 12%


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                       compound interest in order to conceal it for the felonious purpose of

                       feloniously making false claims to the United States and to support-

                       obligors, “may have been calculated to mislead” which the First Circuit

                       held in United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                       2007) satisfies the misprision of felony statute, holding that the

                       misprision statute was satisfied where the individual "gave incomplete

                       information regarding his knowledge of the [crime]," at least where he

                       "gave the partial information that was misleading" which the Plaintiff-

                       Appellant plainly contends before this same Court was committed by the

                       Appellees, and Plaintiff-Appellant now preserves this misprision of

                       felony by the Appellees filings submitted to appellate Rhode Island

                       supreme court judges omitting the substantial fact of falsification of

                       federal computer records zeroing out the unlawful 12% compound

                       interest for the purpose of making false claims “calculated to mislead”

                       and “satisfies the misprision statute” for all applicable prosecution under

                       misprision of felony by the Appellant, and all qualifying persons, and

                       that it is ripe for review by Article III United States Supreme Court. The

                       Court should note that the Plaintiff-Appellant applies for the $250,000

                       per Appellee submission per count allowed under the misprision statute

                       by law and should grant under the misprision law – there is no basis in


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                       law or fact for NO consequence or no addressment or indifference or

                       inaction or denying remedy by this Court under the misprision statute or

                       at common law, as painstakingly detailed by the First Circuit in United

                       States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir. 2007).

                    10.Under United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                       2007), immediate remedy and relief to the Appellant at the first

                       opportunity further complies with 18 U.S.C. § 4 and Rhode Island’s

                       misprision of felony at common law and by the First Circuit Court’s own

                       addressment in Caraballo, is required at common law, having at length

                       described as a forewarning the consequences of failure to act by public

                       officers. This applies in equal force to this Court’s ministerial acts

                       implementing, ministering and enforcing structurally defective and

                       constitutionally infirm lower courts in the administration of federal Title

                       IV proceedings in the administration of federal programs, incorporating

                       the Administrative Procedure Act.

                       CONCLUSION

                                WHEREFORE, the Court should GRANT Appellant’s motion

                       to enjoin. The Court should commit its decision, remedy or lack thereof

                       and reasoning in writing. The structurally defective and all issues raised

                       herein are preserved and are ripe for the United States Supreme Court


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                       review of the State’s corrupt, unlawful, unconstitutional, and criminally

                       obstructive administration of a federal program that implicates billions

                       of federal funds falsely claimed by the State and billions of dollars

                       falsely claimed by the State against support obligors since the 1996

                       Amendments to Title IV through the routine falsification of Title IV

                       records zeroing out Rhode Island’s 12% compound interest by the

                       Appellees since 1996, such as the Appellant. The Court should GRANT

                       Appellant’s application for $250,000 per Appellee concealment,

                       obstruction and misprision of felony under common law by the

                       Appellees. Appellant condemns the Appellees. Appellant preserves the

                       issue of Appellee violation of, and the Court’s ministering of Rule 5’s

                       violation of, and those persons knowingly ministering Rule 5, and denial

                       of public, federal auditors and Appellant’s right to remote access of

                       court information and judge-created laws in violation of the following

                       federal criminal codes (that are not exhaustive): 18 U.S.C. § 2, 18 U.S.C.

                       §3, 18 U.S.C. § 4, 18 U.S.C. § 1512, 18 U.S.C. § 1516, 18 U.S.C. § 666,

                       18 U.S.C. § 241. Appellant reserves and preserves all rights to

                       supplement this motion upon being granted remote access to Rhode

                       Island’s judge-created laws in all its courts.

                                                            Respectfully submitted,

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Envelope: 4740095                                    #: 2483
Reviewer: Zoila Corporan




                                                            Mary Seguin
                                                            Pro Se
                                                            /s/____________________
                                                            Email: maryseguin22022@gmail.com
                                                            Phone: (281)744-2016
                                                            P.O. Box 22022
                                                            Houston, TX 77019

                                                            Dated: August 1, 2024



                                          CERTIFICATE OF SERVICE


                   I HEREBY CERTIFY that on August 1, 2024, I filed the within Motion with
             the Clerk of the Court via the Rhode Island Electronic filing system, and a copy to
             Attorney Michael Coleman, Esq., 25 Howard Bldg. 57, Cranston, RI 02920. A
             copy of the filing through the Court’s EFS is available for downloading and
             viewing.
                                                          Respectfully submitted,
                                                            Mary Seguin
                                                            Pro Se
                                                            /s/____________________
                                                            Email: maryseguin22022@gmail.com
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                                                            P.O. Box 22022
                                                            Houston, TX 77019

                                                            Dated: August 1, 2024




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                                           EXHIBIT I.
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                                          Recorded Phone Call


                                            Recording Name:
               [Recording of phone conversations among John Langlois, Debra DeStefano and
                    Mary Seguin recorded in Texas by Mary Seguin on October 5 2022]




                                        Transcript Prepared By:




                                                720-287-3710
                                             3801 E. Florida Ave.
                                                  Suite 500
                                              Denver, CO 80210


                                         DUNS Number: 037801851
                                           CAGE Code: 6C7D5
                                           Tax ID #: XX-XXXXXXX
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Filed in Supreme Court
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                                                               Filed   Filed: 09/15/2024
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               1   Seguin:      ‘Cause all -- like, if -- if we base the practice on

               2                how things are done of -- based on what Mr. Langlois,

               3                John, is representing today, everyone should be able

               4                to look at that screenshot, that screen, and be able

               5                to rely on it, correct?

               6   DeStefano:      Well, yeah, I --

               7   Seguin:      And its accuracy, correct?

               8   DeStefano:      -- I mean, the agen- --

               9   Seguin:      So --

             10    DeStefano:      The agency is going to have to prove it.                      Yes.   The

             11                 agency is going to have to submit -- and, again, it --

             12                 it’s difficult for me to know how relevant what you’re

             13                 asking for is ‘cause I don’t know what the agency’s

             14                 gonna submit yet, uh, to -- to support their position.

             15                 So --

             16    Langlois: And can I -- can I just say, the reason I asked

             17                 earlier whether, uh, Mary had spoken to Carla after

             18                 she made the $104,000 payment was because there was a

             19                 change in circumstances immediately after that and I

             20                 don’t know whether anyone in my agency has ever

             21                 explained that to Mary.

             22    Seguin:      Wait -- wait -- wait a minute.

             23    Langlois: (Inaudible - 00:01:10)

             24    Seguin:      Wait a minute.

             25    Langlois: (Inaudible - 00:01:11)




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               1   Seguin:      Wait -- wait -- wait -- wait a minute.                     Wait a minute.

               2                If there is --

               3   DeStefano:      Wait a minute.

               4   Seguin:      -- I’d like to get some documents of that.                       Okay?   So

               5                -- so, again --

               6   DeStefano:      Mary, what do you --

               7   Seguin:      -- I’ve asked for, I think --

               8   DeStefano:      Oh.     Wait a minute --

               9   Seguin:      I -- I’m so sorry.           I’m --

             10    DeStefano:      -- Mary.       I know -- I know what you asked for.                   Let

             11                 me get to -- let me understand what John just said

             12                 before.      So, John, you’re saying there was a change

             13                 subsequent to her making a payment --

             14    Langlois: Correct.

             15    DeStefano:      -- but before the Notice of Lien went out?

             16    Langlois: Yes.

             17    DeStefano:      Okay.     So --

             18    Langlois: And can I -- can -- if I could just back up and

             19                 explain what happened.             Okay?

             20    DeStefano:      Okay.

             21    Seguin:      This --

             22    Langlois: This is -- 99 percent of this is a misunderstanding.

             23    DeStefano:      Okay.

             24    Langlois: Okay?

             25    Seguin:      Including --




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               1   Langlois: (Inaudible - 00:01:51)

               2   Seguin:      -- what’s on the screenshot?                Is that a

               3                misunderstanding?

               4   Langlois: Can -- can I speak without being shouted over?

               5   Seguin:      Well, I’m --

               6   DeStefano:        Mary, let --

               7   Seguin:      I’m sh- --

               8   DeStefano:        Let --

               9   Seguin:      I’m flabbergasted really.

             10    DeStefano:        Uh, Mary, you’ve got to let me --

             11    Seguin:      Sorry.

             12    DeStefano:        -- listen --

             13    Seguin:      Sorry.

             14    DeStefano:        -- to what the agency is gonna --

             15    Seguin:      I appreciate that.

             16    DeStefano:        I mean, I know -- I only know that -- what’s in

             17                 front of me and I don’t know everything that has

             18                 happened in this case, but if -- if -- let me just

             19                 listen to the agency and see what they have to say for

             20                 --

             21    Seguin:      Sure.

             22    DeStefano:        Go ahead, John.

             23    Langlois: What -- what happened in this case is when, uh --

             24                 Mary’s representative, her attorney, called us in late

             25                 November 2021 and said there’s a -- she wants her




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               1                  passport released.          What does she have to do to

               2                  release her passport?            They put her in touch with

               3                  Carla, who gave her the $104,000 number.                     Where that

               4                  number came from, was the department attorney

               5                  contacted the custodial parent, Mr. Miurski (ph) or,

               6                  uh, Mr. -- I can’t pronounce her last name.

               7                  Meyersiek.       So we contacted his attorney -- it wasn’t

               8                  me, but it was someone in my office -- and said, “If

               9                  she’s willing to make a $104,000 payment to pay off

              10                  the principal, would you agree to waive the $75,000” -

              11                  - I think it was $73,000 in arrears at that time?                       He

              12                  said yes.      So Carla notified Mary that, if she paid

              13                  $104,000, it would be paid in full because he was

              14                  willing to waive the interest.                That was just the

              15                  principal.       What happened was, the day after Carla

              16                  spoke to Mary and told her to mail in the -- or to --

              17                  to wire the $104,000, the attorney for Mr., um,

              18                  Meyersiek contacted us again and said he changed his

              19                  mind, please put the interest back up on the system,

              20                  so we did.       That’s his money.          The state is just

              21                  collecting for -- for this past child support that’s

              22                  owed to him.        If he wants the arrears, he has every

              23                  right to ask for it.           So the number that was given to

              24                  her was correct on the day it was given to her.                       The

              25                  arrears for $104,000.            Because when he was waiving the




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               1                  arrears, wen he changed his mind the next day, we put

               2                  the arrear -- I mean, interest back up on the system.

               3    Seguin:       I think --

               4    Langlois: He was waiving the interest, and when that interest

               5                  went back up on the system, that’s why the system is

               6                  now saying she owes $73,000.               That’s why, in March,

               7                  when the system saw that she had a, uh -- some kind of

               8                  a personal injury settlement or some kind of an

               9                  insurance settlement, we had -- we -- our system was

              10                  showing that she owed $73,000 in interest, so we

              11                  issued the lien.         But that’s what happened, is when he

              12                  changed his mind the next day, and that’s what messed

              13                  up the numbers.         So that’s how this all happened.              It

              14                  was a pure misunderstanding.               I don’t know whether

              15                  anyone has ever explained that to Mary, how that

              16                  happened.

              17    DeStefano:      Okay.     Mary, did anybody ever explain that to you

              18                  before?

              19    Seguin:       No.   No one ever --

              20    DeStefano:      That the system has just -- just --

              21    Seguin:       -- explained any of that, and I --




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               1                                TRANSCRIBER'S CERTIFICATE

               2

               3                  I, Laurel Keller, do hereby certify that I have

               4    listened to the recording of the foregoing; further that the

               5    foregoing transcript, Pages 1 through 5, was reduced to

               6    typewritten form from a digital recording of the proceedings

               7    held October 5, 2022, in this matter; that Participant Mary

               8    Seguin has stated John Langlois and Debra DeStefano present were

               9    included in this recording; and that the foregoing is an

              10    accurate record of the proceedings as above transcribed in this

              11    matter on the date set forth.

              12                  DATED this 20th day of June, 2024.

              13

              14

              15                                                      _________________________

              16                                                      Laurel Keller

              17                                                      Ditto Transcripts
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        An official website of the United States government Here’s how you know


  State Child Support Agencies with Debt
  Compromise Policies
      Listen



  Publication Date: June 2, 2023 Current as of: June 2, 2023
  OCSS found that at least 36 states and the District of Columbia have debt compromise options available to
  noncustodial parents. Although the approach varies from state to state, each has the same goal to
  encourage consistent payments and foster better family relationships.

  Please check with the state in which you have your child support order for additional information. See our
  map for contact information for each state.


  Alabama

  An interest rebate law allows for forgiveness of interest owed to the state and custodial parent (if the
  custodial parent agrees), in cases where current support is paid consistently for at least 12 months.

  Source: Code of Alabama §30-3-6.1

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  Alaska

  The state offers debt forgiveness for noncustodial parents who have accrued at least $1,500 in state-owed
  child support arrears and meets other eligibility criteria. If the parent complies with the arrears forgiveness
  agreement, state-owed debt will be forgiven in stages over a 6-year period.

  Source: 15 AAC 125.650

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  Arizona

  The Division of Child Support Services (DCSS) Settlement Program assists noncustodial parents who may
  have a large arrears balance on their child support case. It provides an opportunity to pay off past-due
  balances.
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  If you are limited in your ability to pay, you may offer to settle your arrears balance by paying either a lump
  sum or by making monthly installments that can be accepted for up to three months.

  To participate in the program:

       1.   Think about how much you would like to offer to settle the past due amount.
       2.   Stop by a local DCSS office or contact the DCSS Customer Service Center at 602-252-4045 or 1-800-
            882-4151, or email the DCSS Settlement Team at dcsssettlement@azdes.gov to submit your
            settlement offer.

  Note: The state’s role is not to advocate the amount of the settlement, but to facilitate whatever offer is
  appropriate for the state and the parties involved in the case. The DCSS cannot require a custodial parent
  to accept a settlement offer.

  Source: Arizona Parents who Pay Child Support




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  Arkansas

  Does not have a program.

                                                                                                     Back to top

  California

  The California Department of Child Support Services’ Debt Reduction Program aims to increase support
  collected for families and resolve uncollectable debt that is owed to the state of California. The Debt
  Reduction Program allows for the acceptance of a partial-pay offer in exchange for compromising the
  remainder of permanently assigned arrears owed by a participant.

  Source: Child Support Reduction Program




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  Colorado

  County child support offices have the ability to offer arrears compromise for assigned child support
  arrears. It is up to the counties to determine if they want to implement an arrears compromise program
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  and, if so, what criteria they wish to use.

  Source: State
                                                                                                 Back to top
  Connecticut

  Connecticut has implemented two arrears programs. The first one, the Arrears Adjustment Program, is
  designed to reduce state-owed debt as well as encourage the positive involvement of NCPs in the lives of
  their children and to pay current support. The second program, the Arrears Liquidation Program, is
  designed to liquidate state-owed arrears by allowing obligors to pay off arrears in a lump-sum payment at a
  discounted rate.

  Source: Regulations of Connecticut State Agencies §17b-179b-1 to §17b-179b-4

                                                                                                 Back to top

  Delaware

  Does not have a program.

                                                                                                 Back to top

  District of Columbia

  The Fresh Start program allows for a portion of Temporary Assistance for Needy Families (TANF) arrears to
  be forgiven in return for successfully making consecutive timely payments on the current support
  obligation or making a lump sum payment towards arrears. The Child Support Services Division must invite
  noncustodial parents to participate in the program.

  Qualifications are:

               At least $1,000 owed in TANF arrears
               No voluntary payment in at least 12 months
               Previous unsuccessful enforcement efforts
               Valid addresses for both parties
               Failure to pay support must not be due to bad faith
               Responding interstate cases are not eligible for the program

  Source: District of Columbia Fresh Start Program
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  Florida

  Does not have a program.

                                                                                                    Back to top

  Georgia

  A state statute gives the child support program the authority to waive, reduce, or negotiate the payment of
  state-owed arrears for administrative child support orders if it is determined that there is good cause for
  nonpayment or that enforcement would result in substantial and unreasonable hardship to the parent or
  parents responsible for the support. Courts have discretion in applying or waiving past-due interest owed
  on arrears.




  Source: O.C.G.A. § 19-11-5, § 7-4-12.1; Ga. Comp. R. & Regs. r. 290-7-1-.20

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  Hawaii

  Does not have a program.

                                                                                                    Back to top

  Idaho

  Does not have a program.

                                                                                                    Back to top

  Illinois

  Project Clean Slate provides opportunities for low‐income noncustodial parents to apply for forgiveness of
  assigned arrears in exchange for making regular, ordered payments of current support to the custodial
  parent for six months. The noncustodial parent must have demonstrated that they were unable to pay the
  assigned support at the time it was owed due to unemployment, incarceration, or serious illness. The
  noncustodial parent must also meet low‐income standards.
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  Source: Clean Slate Program ; Illinois Public Aid Code §5/10-17.12; 89 Illinois Administrative Code
  Section 160.64.
                                                                                                       Back to top
  Indiana

  Does not have a program.

                                                                                                       Back to top

  Iowa

  The Promoting Opportunities for Parents Program assists parents in overcoming the barriers which
  interfere with fulfilling their obligations to their children. In order to encourage parent participation, Iowa’s
  Child Support Recovery Unit may partner with community providers and resources and offer incentives.
  The incentives include satisfactions of arrears due to the state for payment of court-ordered child support.

  Source: Iowa CSRU Customer Handbook

                                                                                                       Back to top

  Kansas

  The updated incentive program returned January 1, 2021, with an effective date of September 1, 2020. The
  focus of the updated incentive program is to work with payors to achieve stable employment. The primary
  incentive remains: a reduction of state-owed arrears only, with a lifetime maximum of $2500 and an
  additional incentive of $1000 for those payors who complete their GED or high school diploma. So, the
  lifetime maximum for those who obtain a GED is $3500.

  There are three different categories in the incentives:
  1) Career enhancement: Enables a payor to progress in their career, $2000 cap (HVAC certificate,
  barbershop or cosmetology license, forklift driver certificate, etc.)

  2) Education: $1000 cap (GED or high school equivalent)

  3) Personal enhancement: $500 cap (fatherhood or parenting class, finance class, addiction class, etc.)

  The incentives are capped by their category. For example, the completion of an addiction class and a
  financial class will only result in one $500 incentive. Completion of both the HVAC and Welding certificate
  programs will only result in one $2000 incentive. In addition, if a payor has already received the maximum
  amount under prior versions of the incentive program, they will not receive additional incentives. If,
  however, a payor only received $500 previously, they could be eligible for additional incentives under this
  program.
Case: Case
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  Beginning January 1, 2021, all incentives program requests with their appropriate documentation
  (certificates of completion, attendance logs, etc.) must be sent to DCF.CSSIncentives@ks.gov for
  consideration and approval of credit.
                                                                                                Back to top
  Kentucky

  Does not have a program.

                                                                                                Back to top

  Louisiana

  Does not have a program.

                                                                                                Back to top

  Maine

  Does not have a formal program. The state considers debt forgiveness on a case-by-case basis only for
  assigned arrears. Factors considered are:

              Ability to pay (present and future)
              Partial or continuing payments for current or partial debt
              Reduction in state owed arrears
              Potential case closure




                                                                                                Back to top

  Maryland

  The Payment Incentive Program encourages the noncustodial parent to make consistent child support
  payments by:

              Reducing state-owed arrears by half if the noncustodial parent makes full child support
              payments for a year.
              Eliminating the balance owed if the noncustodial parent makes full child support payments
              for two years.

  The noncustodial parent will receive credit for uninterrupted court-ordered payments made immediately
  prior to participation in the program. Consideration will be given for periods of unemployment due to
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  seasonal work and no-fault termination.

  Source: Maryland Payment Incentive Program
                                                                                                    Back to top
  Massachusetts

  Massachusetts child support regulations allow for the settlement of interest, penalties, and arrears, as well
  as equitable adjustment of arrears. The Child Support Commissioner may waive all or a portion of the
  interest and penalties owed to the Commonwealth if the Commissioner determines such waiver is in the
  best interest of the Commonwealth and will maximize collection of current and past‐due child support.




  The Commissioner may also accept an offer in settlement that is less than the full amount of state‐owed
  arrears, where there is serious doubt as to liability or collectability of such arrearages. The Commissioner
  may also equitably adjust the amount of child support arrearages owed to the Commonwealth when the
  obligor has no present or future ability to pay the full arrearages.

  Source: 830 CMR 119.A.6.2

                                                                                                    Back to top

  Michigan

  Several laws allow for adjustment of arrears and interest.

               In some cases, the Department of Human Services or its designee may use discretion to settle
               and compromise state-owed arrears (MCL 205.13).
               Other laws allow noncustodial parents who do not have the ability to pay the arrearage in full,
               presently, or in the near future to request a payment plan (for a minimum of 24 months). At
               the completion of the payment plan, the court may waive any remaining arrears owed to the
               state (MCL 552.605e).
               Additionally, noncustodial parents may request a payment plan as a means to have the
               surcharge (interest) waived or reduced if regular payments are made (MCL 552.603d).

  Source: MCL 205.13     , MCL 552.605e      , MCL 552.603d

                                                                                                    Back to top

  Minnesota
Case: Case
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  State statute gives the parties (including the public authority with assigned arrears) the authority to
  compromise unpaid support debts or arrearages owed by one party to another, whether or not docketed as
  a judgment.

  Source: Minn. Stat. §518A.62

                                                                                                  Back to top
  Mississippi

  Does not have a program.




                                                                                                  Back to top

  Missouri

  Does not have a program.

                                                                                                  Back to top

  Montana

  Does not have a program.

                                                                                                  Back to top

  Nebraska

  Does not have a program.

                                                                                                  Back to top

  Nevada

  Nevada will only consider arrears-only cases where there is no money owed to the custodian. The
  noncustodial parent must apply and provide supporting documents. Each application is reviewed, and a
  recommendation is provided to the Administrator of the Division of Welfare and Support Services who has
  authority to forgive state debt.

  Source: State

                                                                                                  Back to top
Case: Case
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  New Hampshire

  The New Hampshire Division of Child Support Services does not have a formal debt compromise policy.
  Child support workers do have some discretion to negotiate agreements to secure current support that
  may include forgiveness of assistance debt owed to the state that accrued prior to the establishment of a
  child support order and which was based on imputed income. Any such agreement must be approved by
  the child support worker’s supervisor. Check with the state for more information.

  Source: State

                                                                                                  Back to top

  New Jersey

  Occasionally, the New Jersey Child Support Program will offer a time-limited match on payments made
  towards the child support case and credit the same amount towards the arrears balance owed to the state.
  The program is announced yearly and is based on availability of funds.

  Source: New Jersey Arrears Match Program

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  New Mexico

  New Mexico’s Child Support Arrears Management Program, Fresh Start, supports the needs of today’s
  modern family by reviewing cases to focus on right-sized court orders, resulting in more payments and less
  debt. This program may provide an option for the noncustodial parent to reduce the amount of assigned
  arrears by providing a lumpsum payment or consistent monthly payments to the custodial parent. To be
  eligible, the noncustodial parent must have over $1,000 of state-owed arrears and meet other additional
  criteria outlined on the Fresh Start Arrears Management Program        .

  Source: State

                                                                                                  Back to top

  New York

  New York State offers several debt compromise programs to noncustodial parents who owe the state. The
  program varies depending on the local district. Interested persons must confirm with the local district
  where their order was issued if the service is available.

               Arrears Cap: a limit on the amount of child support debt owed to the government.
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             Arrears Credit Program: open to noncustodial parents who owe Department of Social Services
               child support arrears and do not have more than $3,000 in the bank or more than $5,000 in
               property.
               Parent Success Program: designed to help noncustodial parents by supporting their well-
               being and strengthening their ability to provide for their children by completing a substance-
               use treatment program.
               Pay It Off: a time-limited program that enables noncustodial parents to pay off NYC DSS child
               support debt twice as fast. See the website for more information about each program.

  Source: New York Debt Reduction
                                                                                                    Back to top
  North Carolina

  To be eligible the obligor must:

               Owe a minimum of $15,000 in state‐owed arrears
               Agree to make 24 consecutive monthly payments for current support and an amount toward
               arrears
               Comply with the agreement.

  Source: NC General Statute, Chapter 110, Section 135 (§ 110-135)         (PDF)

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  North Dakota

  North Dakota has three goals for its debt compromise program:

      1.   Motivate obligors to comply with long-term payment plan
      2.   Eliminate uncollectible debt
      3.   Facilitate case closure where appropriate

  Compromise of assigned arrears is permitted if an offer is received for at least 95% of the outstanding
  arrears balance (after subtracting all negotiable interest) or 90% with IV-D Director approval.

  Interest may be compromised when an obligor enters into a payment plan to avoid license suspension or
  other enforcement remedies or when an obligor has been making payments on a regular basis.

  In both cases, interest is not charged while regular payments are made and, after one year of regular
  payments, any unpaid interest that had accrued before that date can be compromised.
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  Interest can also be considered uncollectible under certain circumstances. Some situations are pre-
  approved, such as an obligor is receiving Supplemental Security Income. In these cases, a worker may
  prevent interest from accruing on the case and can request an adjustment to the payment record for any
  unpaid interest that has already accrued.

  In situations that are not pre-approved, the worker cannot suspend interest or have it waived as
  uncollectible without IV-D Director approval.

  Source: State
                                                                                                  Back to top
  Ohio

  Permanently assigned arrears can be reduced if/ when the obligor satisfies all the terms and conditions of a
  waiver, installment plan compromise, lump sum compromise, or a family support program.

  Source: Ohio Administrative Code: Rule 5101:12-60-70

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  Oklahoma

  The state permits a waiver of some or all child support arrears with court approval, provided the parents
  mutually agree (or the state agrees when the debt is owed to the state).

  Settlements of past support may include an agreement that the noncustodial parent make a lump-sum
  partial payment or a series of payments toward the total amount of past support.

  Settlements also may include an agreement for the noncustodial parent to pay a specified number of
  current child support payments or in-kind payments in the future.

  In addition, the state has established an amnesty program for accrued interest owed to the state. The state
  attorney in the local district must approve all settlements of state-owed interest.

  Source: 43 O.S. §112 Oklahoma Administrative Code 340:25-5-140 56 O.S. §234

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  Oregon

  The Oregon Child Support Program/ Division of Child Support does not have a formal program, but
  forgiveness is used in appropriate situations. The program considers the family’s best interest and may
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  satisfy all or any portion of child support arrears that are assigned to the State of Oregon or to any other
  jurisdiction if:

                The arrears are a substantial hardship to the paying parent
                A compromise will result in greater collections on the case; or
                The paying parent enters into an agreement with the program to enhance the parent’s ability
                to pay or their relationship with the children for whom the parent owes arrears.

  Source: OAR Rule 137-055-6120




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  Pennsylvania

  Per Pennsylvania Supreme Court Rule, any compromise of state-owed debt must be approved by the court.

  Source: State

                                                                                                   Back to top

  Rhode Island

  The Office of Child Support Services has the discretion to compromise state-owed arrears.

  Source: State

                                                                                                   Back to top

  South Carolina

  Does not have a program.

                                                                                                   Back to top

  South Dakota

  South Dakota Division of Child Support (DCS) does not have a formal debt compromise policy.

  Child support workers do have some discretion to negotiate a lump sum settlement of 75% of state-owed
  arrears. If the parents agree to a lump sum settlement for arrears owed to the family, DCS has a forgiveness
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  of arrears form, which the parties can sign. The form is submitted to the court for approval. If the court
  approves the settlement, DCS will remove the arrears from the case.

  Source: State
                                                                                                     Back to top
  Tennessee

  With the approval of the court, the parties have the right to compromise and settle child support arrears
  owed directly to the person owed support (family-owed arrears). State-owed debt cannot be forgiven.

  Source: Public Chapter 200, amending Tennessee Code Annotated, Section 36-5-101(f)               (PDF)

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  Texas

  The child support agency may establish and administer a payment incentive program to promote payment
  by noncustodial parents who are delinquent in satisfying child support arrearages assigned to the child
  support agency under Section 231.104(a).

  The program must provide to a participating noncustodial parent a credit for every dollar amount paid on
  interest and arrearage balances during each month of the NCP’s voluntary enrollment in the program.

  Source: Texas Family Code 231.124

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  Utah

  The Prisoner Forgiveness Program targets recently released prisoners and forgives state‐owed arrears for
  those who are approved for the program and pay 12 consecutive months of current support plus a nominal
  amount toward arrears.

  Utah also targets obligors in treatment programs and forgives state‐owed arrears for those who are
  approved for the program and pay 12 consecutive months of current support and/or arrears.

  Source: UT Admin. Code Rule R527‐258

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  Vermont

  The court may limit the child support debt, taking into consideration the criteria of 15 V.S.A. § 659.
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  Source: 33 VSA §3903
                                                                                                       Back to top
  Virginia

  The Division of Child Support Enforcement's Temporary Assistance for Needy Families (TANF) Debt
  Compromise Program is available to parents who owe TANF debt under a Virginia court or administrative
  order.

  The program is designed to encourage consistent child support payments by offering eligible parents a
  debt reduction in TANF debt. There are three tiers of participation based on your ability to pay. For more
  information on how much you may be eligible to save, call 800-468-8894 or visit your local district office.

  Source: State Child Support TANF Debt

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  Washington

  The Child Support Department may accept offers of compromise of disputed claims and may grant partial
  or total charge-off of support arrears owed to the state.

  The state established an administrative dispute resolution process through its Child Support Conference
  Boards to hear parents’ request to reduce the amount of arrears and make determinations based on the
  individual circumstances.

  Source: Rev. Code of Washington 74.20A.220         , Washington Admin. Code 388-14A-6400 through 388-
  14A-6415

  Washington Child Support Conference Boards           (PDF)

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  West Virginia

  This program allows forgiveness of interest for obligors who pay off all arrears within 5 years/60 months.
  This is a voluntary program and requires all parties to voluntarily agree to forgive the interest.

  Source: West Virginia Code §48‐1‐302 (c)

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  Wisconsin

  Local child support agencies may forgive all or part of the state-owed arrears under a variety of
  circumstances, including when the obligor is unable to pay the arrearage based on income, earning
  capacity, and assets, or the obligor has a long-term disability.

  Source: Child Support Bulletin # CSB 20-06

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  Wyoming

  Does not have a program.

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  Puerto Rico

  Does not have a program.

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  Virgin Islands

  Does not have a program.

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  American Samoa

  Does not have a program.

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  Commonwealth of the Northern Mariana Islands

  Does not have a program.

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  Guam

  Does not have a program.
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  Federated States of Micronesia

  Does not have a program.

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  Republic of the Marshall Islands

  Does not have a program.

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  Republic of Palau

  Does not have a program.

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      Outreach Material

      Audiences:
      Parents , States
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                     United States Court of Appeals
                                  For the First Circuit
                                    _____________________

       No. 23-1967

                                        MARY SEGUIN,

                                       Plaintiff - Appellant,

                                                v.

        RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
            ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
        MEYERSIEK, in his individual and official capacity; PRISCILLA GLUCKSMAN; JOHN A.
           LANGLOIS; PAUL GOULD; MICHAEL D. COLEMAN, in his individual and official
             capacity; DEBORAH A. BARCLAY, in her individual and official capacity; LISA
          PINSONNEAULT, in her individual and official capacity; CARL BEAUREGARD, in his
         individual and official capacity; KEVIN TIGHE; MONIQUE BONIN; FRANK DIBIASE;
       WENDY FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN; RHODE ISLAND COURT
        SYSTEM; MARISA BROWN; PAUL A. SUTTELL, in his individual and official capacity as
        Executive Head of Rhode Island State Court System; RHODE ISLAND ADMINISTRATIVE
         OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE OFFICE OF THE
       SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RHODE ISLAND SUPERIOR
         COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE JUDICIAL
            TECHNOLOGY CENTER; JULIE HAMIL; JOHN JOSEPH BAXTER, JR.; JUSTIN
        CORREA; RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL; RHODE ISLAND
           OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT; ADAM D.
                    ROACH; PETER F. NERONHA; TYLER TECHNOLOGIES, INC.,

                                     Defendants - Appellees.

       Nos.   23-1978
              24-1313

                                        MARY SEGUIN,

                                       Plaintiff - Appellant,

                                                v.

        RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
           ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
                       MEYERSIEK, in his individual and official capacity,
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                                             Defendants - Appellees,

       MICHAEL D. COLEMAN, in his individual and official capacity; DEBORAH A. BARCLAY,
        in her individual and official capacity; LISA PINSONEAULT, in her individual and official
         capacity; CARL BEAUREGARD, in his individual and official capacity; KEVIN TIGHE;
       MONIQUE BONIN; WENDY A. FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN;
          RHODE ISLAND COURT SYSTEM; PAUL A. SUTTELL, in his individual and official
            capacity as Executive Head of Rhode Island State Court System; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE
           OFFICE OF THE SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RI
        SUPERIOR COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE
         JUDICIAL TECHNOLOGY CENTER; JULIE PATALANO HAMIL; FRANK DIBIASE;
       MARISA P. BROWN; JOHN JOSEPH BAXTER, JR.; JUSTIN CORREA; RHODE ISLAND
          ATTORNEY GENERAL'S OFFICE; RHODE ISLAND OFFICE OF THE ATTORNEY
          GENERAL OPEN GOVERNMENT UNIT; ADAM D. ROACH; PETER F. NERONHA;
                                      TYLER TECHNOLOGIES, INC.,

                                                 Defendants.
                                             __________________

                                             ORDER OF COURT

                                             Entered: May 24, 2024

               Plaintiff-Appellant Mary Seguin has filed three related appeals from rulings made in a
       single district court case concerning child-support matters. Seguin named as defendants various
       Rhode Island agencies, officials and employees, (collectively, "the State Defendants-Appellees"),
       as well as an individual by the name of Gero Meyersiek.

               The court has considered Seguin's response to the order to show cause entered in Appeal
       No. 23-1978. That appeal shall proceed, with all jurisdictional and other issues reserved to the
       ultimate merits panel. Further, the three above-captioned appeals are consolidated for purposes of
       briefing and disposition. A consolidated briefing schedule will enter in the ordinary course. The
       ultimate merits panel will decide the proper scope of the appeals and will consider to an appropriate
       extent each argument developed in briefing.

               Numerous motions currently are pending in the appeals. As an initial matter, this court
       resolves appeals through the briefing process and generally does not engage in piecemeal
       adjudication of individual issues by way of motion practice. Going forward, the parties should
       focus on briefing and are strongly discouraged from filing further motions, especially motions
       addressing the merits of the district court's rulings and procedural handling of the underlying
       matter.

               Many of Seguin's motions concern the merits of the district court's rulings in the underlying
       matter and/or offer materials and arguments not placed before the district court. Those motions are
       denied, though Seguin is free to address relevant matters during briefing, and this denial is without
       prejudice to the pursuit of any specific argument during briefing. Again, the ultimate merits panel
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       will decide this appeal based on the parties' briefs and will consider those matters properly
       encompassed by the appeals. In light of the foregoing, any requests for the court to strike filings
       by Seguin are denied.

              Seguin's sanctions motions are all denied, as Seguin has failed to identify legitimately
       sanctionable conduct, and Seguin is strongly discouraged from filing further such baseless
       motions.

               Any pending motions or requests not specifically addressed above are denied. Again, a
       consolidated briefing schedule will enter, and the parties are strongly encouraged to focus their
       attentions on briefing, not further motion practice.


                                                            By the Court:

                                                            Maria R. Hamilton, Clerk

       cc:
       Mary Seguin
       Marissa D. Pizana
       Joanna M. Achille
       Peter F. Neronha
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                                        No. 23-1978

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                     MARY SEGUIN
                                             v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.



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          Appeal from the United States District Court for the District of Rhode Island
                                       ___________________

            APPELLANT’S SHOW CAUSE IN SUPPORT OF APPELLANT’S
                         MOTION TO CONSOLIDATE
                            ___________________

                In response to the Court’s Order Extending Time to April 1, 2024 for

       Appellant to show cause, including in support of Appellant’s Motion to

       Consolidate, Appellant respectfully states the November 20, 2023 Notice of

       Appeal (ECF 38) filed by the Appellant in this matter appeals the district court’s

       November 20, 2023 Text Order, and as such the appeal is a direct attack on the

       district court’s void order issued on November 20, 2023 when the district court

       became functus officio, yet plainly and explicitly modified without authority the

       district court’s November 17, 2023 two denials denying the Plaintiff-Appellant

       post-judgment motions.

                This appeal is a direct attack on the district court’s November 20, 2023 void

       order.

                As such all subsequent void orders or “corrections arising from omissions”

       resulting from, stemming from, caused by, effected by, linked to, or corollary to

       the district court’s November 20, 2023 void order are subject to appellate review in

       this matter, including the February 1, 2024 district court denial, another void order.



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             The Notice of Appeal in this matter dated November 20, 2024 appeals the

       void district court November 20, 2023 Text order issued three days after the

       Notice of Appeal of the Final Judgement was filed (or perfected) on November 17,

       2023. See, ECF 32, 32-1, 33, 33-1.

             Pursuant to Griggs v. Provident Consumer Discount Company, 459 U.S. 56

       (1982) the district court on November 20, 2023 was divested of jurisdiction to

       modify its judgment or take other action affecting the cause without permission

       from the court of appeals.

             Appellant states, in support of the Show Cause, that a straightforward

       timeline and content examination of the November 17, 2023 docketed Notice of

       Appeal of the Final Judgment (ECF 32, 32-1) and the docketed district court

       clerk’s certification of the appeal record (ECF 33, 33-1), all dated November 17,

       2023, emphatically shows the district court was divested of jurisdiction as of

       November 17, 2023.

             As such, the district court’s November 20, 2023 and February 1, 2024 court

       orders in this matter are null and void, pursuant to Griggs v. Provident Consumer

       Discount Company, 459 U.S. 56 (1982).

             The Appellant avers the follows in support of consolidation:




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            I.    The November 17, 2023 district court certified record on appeal,
                  ECF 33 and ECF 33-1, shows on November 17, 2023, no pending
                  motions were docketed.

                  1. Emphatically, the November 17, 2023 district court certified record

                     on appeal, ECF 33 and ECF 33-1 shows on November 17, 2023,

                     no motions were docketed, proving there were no pending

                     motions filed prior to the Notice of Appeal of the Final Judgment.

                  2. Emphatically, the November 17, 2023 district court certified record

                     on appeal, ECF 33 and ECF 33-1, shows only two entries for

                     November 17, 2023: the two text orders dated November 17, 2023.

                  By way of visual illustration in support of this Show Cause, Appellant

                  attaches herewith a screenshot of ECF 33-1, of page 9 of 92:




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Case:
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                Document:00118189824
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                  3. Moreover, the Court is requested to Judicially Notice pursuant to

                     Fed. R. Evid. 201 that the docket entry for ECF 32 on November

                     17, 2023 states unequivocally, “NOTICE OF APPEAL by Mary

                     Seguin as to Text Order, Text Order” making it explicitly clear

                     that the only two docket entries of November 17, 2023, “Text

                     Order and Text Order,” are the district court’s denials of

                     Appellant’s first November 16, 2023 post-judgment Rule 59

                     motions and then the one November 17, 2023 post-judgment Rule

                     60(b)(1) motion which the docket entry for ECF 32 makes clear

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                     that Appellant’s Notice of Appeal of the Final Judgment filed on

                     November 17, 2023 (ECF 32, 32-1) explicitly appeals “as to

                     TEXT ORDER, TEXT ORDER” in addition to the Final

                     Judgment. Therefore, all post-judgment motion filings actually

                     filed by the Appellant were disposed by the two post-judgment

                     denial Text Orders on November 17, 2023, prior to the filing of the

                     Notice of Appeal (ECF 32). Attached herewith for show cause

                     purposes are the aforementioned electronic court filing entry

                     documents:

                     Exhibit I.: ECF 32, ECF 32-1

                     Exhibit II.: ECF 33, 33-1



                     Therefore, the examination of ECF 32, 32-1, 33 and ECF 33-1

                  evidences that are attached to Exhibits A and B shows the functus

                  officio district court was divested of jurisdiction upon the filing of the

                  November 17, 2023 Notice of Appeal appealing the Final Judgment

                  and the two text orders issued on November 17, 2023 “as to Text

                  Order, Text Order.”



            II.   The District Court is DIVESTED of JURISDICTION Griggs v.
                  Provident Consumer Discount Company, 459 U.S. 56 (1982) and
                                           Page 6 of 42
Case:
 Case:23-1978
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                                       Page:165
                                             7              Date
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                  the November 20, 2023 Notice of Appeal in this matter appeals the
                  Void November 20, 2023

                           As a general rule, an appeal divests the district court of power

                  to modify its judgment or take other action affecting the cause without

                  permission from the court of appeals Griggs v. Provident Consumer

                  Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                  Neighborhood Housing Services of Chicago, 583 U.S. ___ (2017).

                  The appeal filed on November 17, 2023 is from a Final Judgment.

                  Once a district court enters final judgment and once the district court

                  denies post-judgment motions, the final judgment and district court’s

                  denials of post-judgment motions become subject to appellate review.

                  See Commonwealth School, Inc. v. Commonwealth Academy Holdings

                  LLC, 2021 WL 1398268 (1st Cir. Apr. 14, 2021). See also John's

                  Insulation, Inc.v. L. Addison and Assocs., 156 F.3d 101, 105 (1st Cir.

                  1998).

                           Here, the two text orders docketed on November 17, 2023 are

                  clearly denials of the only post-judgment motions the Appellant filed

                  on November 16, 2023 and November 17, 2023 – as such the two

                  November 17, 2023 text orders disposed and denied Appellant’s post-

                  judgment motions on November 17, 2023. Subsequent to the district

                  court’s November 17, 2023 denials of post-judgment motions, in the
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                  late afternoon of November 17, 2023, Appellant filed the Notice of

                  Appeal (ECF 32, 32-1) appealing:

                         (1) the Final Judgment,

                         (2) the district court’s two denials of post-judgment motions

                  text orders of November 17, 2023, and

                         (3) the obstruction by Judge William Smith of the docketing by

                  the clerk of Appellant’s post-judgment motions between November

                  16th and 17th of 2023.

                         Therefore, the filing of the Notice of Appeal (ECF-32) meant

                  the final judgment and district court’s denials of post-judgment

                  motions dated November 17, 2023 become subject to appellate

                  review.

                         Therefore, here, the general rule that an appeal divests the

                  district court of power to modify its judgment or take other action

                  affecting the cause without permission from the court of appeals,

                  applies; see, Griggs v. Provident Consumer Discount Company, 459

                  U.S. 56 (1982).

                  The district court became functus officio and the district court functus

            offico judge William Smith, no longer holding office or having official

            authority, as he, nor the functus officio district court no longer had the


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Case:
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            power to modify the two text orders judge Smith made on November 17,

            2023.

                    As such, on November 20, 2023, the functus officio district court,

            divested of jurisdiction, no longer had the authority to order

            modifications to the two text orders judge Smith made on November 17,

            2023.

                    Accordingly, the district court’s November 20, 2023 Text Order that

            plainly modified his November 17, 2023 two denials for leave to file, are

            VOID.

                    Accordingly, the November 20, 2023 Notice of Appeal in this matter

            filed by the Appellant appeals the void November 20, 2023 Text Order.

                    Having established that the appeal in this matter appeals the district

            court’s void November 20, 2023 Text Order, the Appellant respectfully

            requests Judicial Notice under Fed. R. Evid. 201 the 77-page Notice of

            Appeal (ECF-32).

                          A. Notice of Appeal (ECF 32) appeals the district court’s

                              “interference with appeal”

                              Appellant attaches herewith a screenshot of page 4 of the

                              Notice of Appeal, and under Fed. R. Evid. 201, requests

                              Judicial Notice of numbered paragraph 3 to 5:


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Case:
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                           The Notice of Appeal requests appellate review of the

                           refusal by the United States District Court for the District of

                           Rhode Island’s refusal to docket on the record Plaintiff-

                           Appellant’s 28-day post-judgment motions filed on

                           November 16, 2023 and the third post-judgment motion




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                           filed on November 17, 2023, “pursuant to instructions by

                           Judge Smith.”

                              In enumerated paragraph 5, the Plaintiff plainly appeals,

                           “ Plaintiff attaches the aforesaid post judgment Motions and

                           requests appellate review under these extraordinary and

                           troubling factual circumstances that violate and obstruct the

                           fundamental First Amendment right of access to the Court of

                           Record, due process and obstruction to justice in the First

                           Circuit, and inter alia, interference with the accuracy of

                           the court’s record for appeal in this matter.”

                              Therefore, the “interference with the accuracy of the

                           court’s record for appeal in this matter” is under appellate

                           review in Appeal No. 23-1967.

                              Therefore, the appeal divests the district court of power

                           to take other action affecting the cause without permission

                           from the court of appeals. Griggs v. Provident Consumer

                           Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                           Neighborhood Housing Services of Chicago, 583 U.S. ___

                           (2017).




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Case:
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                              Since Judge Smith’s repeating “interference with the

                           accuracy of the court’s record for the appeal” on November

                           20, 2023 issuing the functus officio void November 20,

                           2023 Text Order modifying his pre-appeal November 17,

                           2023 text order denials is the order under appeal here, and is

                           a continuance of the “interference with the accuracy of the

                           court’s record for the appeal” that is under appellate review

                           in Appeal No. 23-1967, the legal justification to consolidate

                           Appeal No. 23-1967 and Appeal No. 23-1978 is

                           compelling.

                        B. “Purported Mistake has Been Rectified” - The functus
                           officio district court admits in the February 1, 2024
                           order that the November 20, 2023 “rectified the mistake”
                           of the district court’s November 17, 2023 text orders that
                           are under appeal in Appeal No. 23-1967 showing
                           continuing “interference with the accuracy of the court’s
                           record for the appeal” by rectifying mistakes after the
                           appeal and while the appeal is pending without
                           authorization from the court of appeals
                              In the void February 1, 2024 district court order, (ECF

                           48) the functus officio district court admits that the

                           November 20, 2023 order purported to “rectify the mistake”

                           of the two Text Orders of November 17, 2023 that are under

                           appeal in Appeal No. 23-1967. Appellant quotes the


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                           February 1, 2024 order, last paragraph of the last page of the

                           order “ … Text Order (Nov. 20, 2023). Thus, the purported

                           mistake has been rectified.” The Appellant attaches

                           herewith the screenshot of the void February 1, 2024 order

                           bearing Judge Smith’s signature, and under Fed. R. Evid.

                           201 requests judicial notice of the screenshot pasted to this

                           Show Cause here below (see page 14 of this Show Cause):




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Case:
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                            Therefore, Judge Smith admits that on November 20, 2023,

                           when the district court became divested of jurisdiction, the

                           district court issued the void order purportedly to “rectify the



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                             mistake” of the district court order’s November 17, 2023

                             text orders.

                                This Court is fully cognizant of the interference with the

                             accuracy of the record on appeal Judge Smith’s admitted

                             rectification caused. It is crystal clear that the functus

                             officio judge Smith lacked any authority on November 20,

                             2023 to modify the two November 17, 2023 district court

                             text orders issued before the filing of the Notice of Appeal

                             without the authority of the court of appeals.

            Therefore, Appeal No. 23-1967 and 23-1978 should be consolidated.


            III.   Judge Smith’s Functus Officio obstructions and interferences of
                   the appeal in this matter appears to be calculated to conceal from
                   judicial notice of the crucial fact that he was Defendant-
                   Appellees’ chief outside counsel at Edwards & Angell
                   representing the State of Rhode Island at the time of the 1996
                   Amendment of Title IV-D of the Social Security Act


                   The pinnacle matter of this action at law is the fact that the Rhode

                   Island Appellees in an organized and deliberate manner fail to comply

                   with the 1996 Amendment to Title IV Part D of the Social Security

                   Act. Indeed, the billion dollar question at the heart of the matter is the

                   extent to which the organized knowing failure to comply with Title IV


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                   pervades the 42 U.S.C. sec. 654(1) political subdivisions of Rhode

                   Island, and thus the amount in billions of dollars of penalties and

                   fines, that may involve jail time, incurred and accrued since 1996

                   when Judge Smith was the chief outside counsel of the Rhode Island

                   Appellees and their employees.

                         Title IV, one of the largest federal-state cooperative Entitlement

                   Program appropriated hundreds of billions to trillions of dollars

                   annually, saw Congress enact meaningful penalties against

                   noncompliant states in 1996, and as such Judge Smith as the lead

                   outside counsel for an extensive majority of the political subdivisions

                   of the State of Rhode Island had and should have had knowledge of

                   issues of noncompliance with Title IV-D, Title IV-A and 42 U.S.C.

                   sec. 654.

                         Accordingly, in support of this Show Cause, Appellant moves

                   for judicial notice of the following, pursuant to Fed. R. Evid. 201

                   and the Court’s inherent truth-seeking authority.

                   Diligently scouring the federal appellate rules and procedures,

                   Appellant could not find any explicit requirements to file a stand-

                   alone separate application or motion for Fed. R. Evid. 201 for judicial

                   notice, therefore, if Appellant, just as do judges and courts that make


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                   mistakes, respectfully requests good cause or excusable neglect

                   reasons for failing to find any textually explicit requirement to file a

                   motion for judicial notice under Fed. R. Evid. 201 separately. If the

                   Court so orders, Appellant will absolutely comply.

            IV.    Appellant’s Motion pursuant to Fed. R. Evid. 201 and 18 U.S.C.
                   sec. 4 for Judicial Notice of the Commission of Organized Crimes

                   Under Fed. R. Evid. 201 and pursuant to U.S.C. § 4, 18 U.S.C. § 666

                   18 U.S.C. § 287 - making false, fictitious claims,

                   18 U.S.C. § 371 - conspiracy to defraud the United States,

                   18 U.S.C. § 1001 - false documents or false statements to a federal

                   agency,

                   18 U.S.C. § 1341 - mail fraud,

                   18 U.S.C. § 1343 - wire fraud,

                   18 U.S.C. § 641 - Public money, property or records,

                   31 U.S.C. § 3279 - federal civil false claims act Et al. , Appellant

                   respectfully requests judicial notice of all that is made known to

                   judges of the United States below.

                         Under Fed. R. Evid. 201(e), Appellant requests for a hearing

                   on Appellant’s motion to take judicial notice.




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             The Court may take judicial notice of any matter “not subject to reasonable

       dispute because it . . . can be accurately and readily determined from sources

       whose accuracy cannot reasonably be questioned.” Fed R. Evid. 201(b).

             The legislations publication, concurrent litigation court information, United

       States’ Briefs and Judge-Created Laws are available through the Congress’s

       official website, through the Rhode Island Publications of State Legislations,

       through Rhode Island’s Digital Courts’ online portals, and through the United

       States Department of Justice Website, and, thus, is properly subject to judicial

       notice. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir.

       2010) (taking judicial notice of information contained in school district websites).

             The State Policy attached in Exhibit A was not available until 2024 and is

       highly indisputable fact. It is a written policy regarding, inter alia, the removal of

       interest from the automated data processing and information retrieval system in

       interstate cases, and at the top of the one page policy, it states, “This specification

       will outline the process by which interstate cases are selected, automatic

       adjustments are created, and support orders are modified all for the purpose of

       removing interest from interstate cases.” It is directly relevant to and at the heart

       of this INTERSTATE matter. Rhode Island’s policy and practice administering

       the Title IV Program requiring by Policy “Specification for OCSS Change Order”

       the systemic unlawful and fraudulent removal from the automated data processing
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Case:
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       and information retrieval system mandated by 42 U.S.C. sec. 654, thus creating,

       inter alia, false accounting records, false certifications to the State of TEXAS and

       to the UNITED STATES under 42 U.S.C. sec. 654 and 42 U.S.C. sec. 666 are

       crucial factual allegations at the heart of this matter – see Amended Complaint,

       ECF 25. And Judge Smith knew and should have known and advised the Rhode

       Island Appellees on the legality of this scheme from 1996 to the time of his

       appointment as Federal Judge in 2002. As such, Judge Smith had an obligation to

       make it known to a judge or other civil or military authority of the United States

       under 18 U.S.C. sec. 4.

             The next paragraph of this Policy states, “It is desirable for the Rhode Island

       Office of Child Support Services (OCSS) to prohibit the charging of interest on

       interstate cases. This is manually done by placing an N in the interest field on page

       2 of the support order. Entry of the N not only prohibits the charging of future

       interest but automatically creates adjustments to zero out any existing interest.”

             The last paragraph of this one-page policy states, “Two reports will be

       created” for several different categories of various manual adjustments N, Y, B or

       P. Therefore, in this interstate case targeting TEXAS, interest was manually

       removed from the system when Rhode Island falsely certified the accuracy of the

       total amount due in violation of, inter alia, 42 U.S.C. sec. 666(14), lying and

       deceiving TEXAS that there is no interest when in fact the interest amounting to
                                            Page 19 of 42
Case:
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       tens of thousands of dollars were unlawfully and fraudulently removed from the

       system. This simultaneously created a false certification to the UNITED STATES

       under the Title IV-D and Title IV-A Programs to fraudulently certify that Rhode

       Island is in compliant with Title IV in order to procure billions of dollars of federal

       funding it is ineligible for, which automated system adjustments to conceal the

       noncompliant 12% compound interest and false certification acts since the 1996

       Amendments to 42 U.S.C. sec. 654, incurred and accrued over a billion dollars.

             At the bottom of the Policy page, it is dated January 25, 2011. 12%

       compound interest was established in 2012 in Appellant’s case. Therefore, the

       Policy affects and is directly and materially relevant to this matter.

             The screenshots of the Appellees’ State Plan operated online Child Support

       account that is operated by the State Plan’s automated data processing and

       information retrieval system are extensively described in the Amended Complaint

       in this matter. The Policy is relevant because it states the policy that “it is

       undesirable for the Rhode Office of Child Support Services to charge interest in

       interstate cases.” The Amended Complaint describes an interstate case in which

       interest is charged by the Appellees. The policy is moreover relevant because it

       states “two reports” will be created that shows retrieval of data from the automated

       data processing and retrieval system, one with adjustments and another without

       adjustments, which is described in the Amended Complaint, describing at least
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       seven different sets of books of accounts showing accounting fraud in interstate

       cases. The Policy describing detailed instructions on how to make adjustments to

       the automated data processing and information retrieval system to create two

       reports in interstate cases relating to adjustments of “undesirable” interest in

       interstate cases shows an organized falsification of certification and government

       records in Title IV-D Program official records and documents, that are

       straightforward criminal. That “undesirable” interest in interstate cases concerns

       the routine establishment and enforcement of 12% compound interest in Rhode

       Island under color of state law, R.I.G.L. sec. 15-5-16.5. It is “undesirable” because

       under Title IV-D, specifically 42 U.S.C. sec. 654(21)(A), 12% compound interest

       is prohibited, and it is “undesirable” in interstate cases because Rhode Island

       knows full well that the 12% compound interest state legislation is preempted by

       42 U.S.C. sec. 654(21)(A) upon State’s acceptance of participation in Title IV-D.

       The Policy evidences the knowing violation and organized Rhode Island

       circumvention of 42 U.S.C. sec. 654(21)(A) through the creation of multiple books

       or reports of accounts that are false in interstate cases. The Policy evidences that

       the charging of the color of state law 12% compound interest necessarily involves

       a symbiotic entity that establishes the “undesirable” 12% compound interest in

       interstate cases – that would be the 42 U.S.C. sec. 654(1) state political




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       subdivision, Rhode Island state family court and certain pliant judges sitting

       therein.

             The Younger abstention issue squarely before this Court then is, unlike other

       state proceedings, the federal government is heavily involved in Title IV-D

       proceedings, and prescribed explicitly by statute tens of millions of dollars of

       penalty liable by the State for a single unwilful noncompliance. This State Policy

       (Exhibit A) that explicitly provides for “it is undesirable to charge interest in

       interstate cases” and the creations of “two reports” resulting from “adjustments” to

       the automated data processing and information retrieval system in interstate cases

       makes it plain that noncompliance is not just willful by policy and systemic, but

       also involves acts that violate the Federal Criminal Codes, as it entails theft of the

       Federal Program Funding under 18 U.S.C. sec. 666 and 18 U.S.C. sec. 641 through

       falsification of records. Therefore, does the Comity envisioned in our Union

       envisioned by Appellees and the district court under Younger Abstention apply

       when the federal preemptive statutory text of Title IV-D explicitly provide for

       steep penalties for single noncompliance in fiscal year that runs up to tens of

       millions of dollars, with a penalty compounding effect (of its own!) of subsequent

       State failures up to 30% of the amount of federal funding paid to the State –

       certainly additional penalties accrued in 2023 and now in 2024 directly as a result

       of applying Younger Abstention, and that certainly is not in the State’s interest to

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Case:
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       continue to fail to comply, willfully, in light of Appellant’s challenges, here, in

       Appeal No. 23-1967, 23-1978 and in yet a possible fourth appeal.

             The Appellant is introducing highly indisputable facts.

             These facts are compelling because they provide a tantamount service to the

       United States and are moreover proffered to the Judges of the United States under

       18 U.S.C. sec. 4.

             Under the Appellate Court’s inherent equitable authority, moreover, the

       federal courts of appeals have relied on the truth-seeking function of the judiciary

       to permit supplementation of evidence. See., e.g., “It would be nonsensical to

       overlook the existence of materials that bear heavily on the contested issue.”

       Colbert v. Potter, 471 F.3d 158, 166 (D.C. Cir. 2006). Here, one of the threshold

       issues of Younger Abstention is whether the limited jurisdiction state family court,

       itself a 42 U.S.C. sec. 654(1) political subdivision that 42 U.S.C. sec. 654 binds,

       has the authority to enforce, establish or address Rhode Island’s routine 42 U.S.C.

       sec. 654(21)(A) prohibited 12% compound interest on overdue support under color

       of state law when Rhode Island participates in Title IV-D that Congress in its

       statutory text explicitly preempts State general laws and State constitutions to the

       extent that Congress prescribes “Grace Periods for Effective Date” prescribing the

       States to amend the State constitution for compliance, or whether proceedings as


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       such lack any authority under the law as plainly “under color of state law” void,

       voidable and nullity proceedings that are fraudulent and penalty-incurring (tens of

       millions of dollars for a single willful violation under Title IV-D). Therefore, in

       this case, Rhode Island’s noncompliance incurs monetary liability that are in the

       tens of millions of dollars per single violation explicitly prescribed by Congress in

       42 U.S.C. sec. 654. States lack any interest in the knowing and abusive violation

       of the preemptive 42 U.S.C. sec. 654, abusively dressed up as a state “interest to

       enforce child support.” In reality, Rhode Island has an overwhelming and

       compelling State interest to comply with 42 U.S.C. sec. 654 rather than violate

       provisions of 42 U.S.C. sec. 654. For this First Circuit, the question of the

       resulting harm inflicted on the State of Texas to have to then address the

       unenforceability and issues of void judgments under color of Rhode Island state

       law, and Rhode Island’s inherent attempt to harm citizens of Texas, harming

       Texas’s State interest, as well as Texas Appellant’s individual interests, must be

       decided, and the decision affects the National Interest and the Public’s Interest

       nationally. This Court must take judicial notice of the fact that all other applicable

       federal districts within the First Circuit, Massachusetts, New Hampshire, Maine are

       42 U.S.C. sec. 654(21)(A) compliant (setting 0% - 6% interest). Title IV-D also

       specifically prescribes federal and states review (executive and judicial) of whether

       support orders are enforceable and Congress cast doubt to the accuracy of support


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       orders and enforcement operations that prompted Congress to act and enact the

       1996 Amendments to 42 U.S.C. sec. 654, specifically explicitly providing penalties

       that could amount to tens of millions of dollars to over hundred million dollars in a

       fiscal year for State noncompliance – to wit the $10 million penalty incurred by

       South Carolina in 2010 described in the United States Brief in the seminal case,

       Turner v. Rogers. It is against the public interest and against the “Comity” to

       permit the wanton continuation of Rhode Island’s 12% compound interest under

       color of state law targeting noncustodial victims that, if allowed to mushroom,

       reaches its tentacles across all corners of the United States, out of an inequitable

       disproportionate concern for Appellee-alleged Rhode Island’s “interest” that

       essentially is no interest at all. Essentially, it is in Rhode Island’s interest to

       comply with 42 U.S.C. sec. 654. For the majority law-abiding 360 million

       population’s interest in the United States to subserve to the law-violating Rhode

       Island’s Appellee-alleged “state interest,” in essence, non-interest, runs afoul of

       Inherent Justice for all.

              The Court’s Truth-Seeking Function and Fed. R. Evid. 201

              I.      Inherent Equitable Authority

              The lower court dismissed Appellant’s Amended Complaint without leave to

       amend, with the Appellees answering the Amended Complaint. The First


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       Amended Complaint in that action amends the original complaint filed in the

       action at law filed on March 30, 2023, based on factual circumstances here, namely

       presenting in pleading of facts supported by evidence produced by the State

       Appellees pursuant to court ordered discovery since seven months ago in February

       2023 by the family court in State ex. rel. Gero Meyersiek v. Mary Seguin,

       K20010521M and information obtained through statutory right of access to public

       records via federal and state freedom of information act and access to public

       records acts.

             Federal courts of appeals have held that a plaintiff appealing an FRCP 12(b)

       dismissal may request that the court consider extra-record materials, in determining

       whether the complaint should have been dismissed without leave to amend. In

       Orthmann v. Apple River Campground, Inc., 757 F.2d 909 (7th Cir. 1985), for

       example, the Seventh Circuit considered evidence produced during discovery in a

       parallel case but never introduced at trial in the case on appeal.

             As Judge Posner explained in Orthmann, although the materials presented

       for the first time on appeal were "no part of the official record," the appellant,

       hoping "to show that the complaint should not have been dismissed on its face"

       could present "an unsubstantiated version of the events," so long as that story "was

       not inconsistent with the allegations of the complaint." Orthmann, supra n. 46, at

       914-15.
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             The supplemental materials, he noted, "[were] usable to show how the

       accident might have happened." Id. at 915.

             Here, the supplemental materials are usable to show how the breach of

       contract, fraud and deprivation of Constitutional rights might have happened, since

       much of the legislative history and statutory notes of 42 U.S.C. sec. 654 showing

       its preemptive effect on State legislation as well as State constitutions, and the

       State’s prima facie Policy showing its “work-around” scheme to circumvent

       detection of its unlawful 12% compound interest through the creation of “two

       reports” that are then interchangeably used to cover up the unlawful 12%

       compound interest when certifying to Texas and to the United States, then another

       “report” when it enforces the unlawful 12% compound interest in the state’s family

       court and intrastate under color of state law are usable to show how the breach of

       contract and fraud, as well as deprivation of Appellant’s due process rights

       protected by 42 U.S.C. sec. 654 as well as Federal Constitutional rights happened

       with organized intent by the Appellees.

             Appellant relies on the 2024 recently discovered State Policy to show how

       breach of contract, fraud and deprivation of Constitutional rights might have been

       established and, accordingly, why the district court should not have dismissed

       Appellant’s complaint, not even without leave to amend. Moreover, this evidence



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       corroborates the Amended Complaint filed in the concurrent matter before this

       Court of Appeals, in Appeal Case. No. 23-1967.

             Accordingly, Appellant files this motion pursuant to the Court’s inherent

       truth seeking function authority to supplement the record.

             II.     Federal Rules of Evidence 201

             Under Fed. R. Evid. 201, federal courts of appeals can take judicial notice of

       highly indisputable facts or other court proceedings that directly relate to the issues

       on appeal. The record on appeal is subject to the right of an appellate court to take

       judicial notice of new developments not considered by the lower court.” See e.g.

       Landy v. FDIC, 486 F.2d 139, 151 (3d Cir. 1973). Parties may in consequence seek

       to supplement the appellate record with new materials under Fed. R. Fed. 201.

                Judicial Notice of Legislative Acts by Congress and Congressional statutory

       notes and texts that explicitly provide for the preemptive effect of 42 U.S.C. sec.

       654 over State general laws and State constitutions, are under Fed. R. Evid. 201[a]

       Advisory Committee’s note or are “established truths, facts or pronouncements that

       do not change from case to case” and “do not relate specifically to the…litigants.”

       [United States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. In general, courts are

       free to take notice of legislative facts, including research data and writings like

       those cited in the famous “Brandeis briefs.” Appellate courts take judicial notice of


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       such legislative facts, because they help them develop reasonable rules of law that

       will apply in future cases.

             Appellant was not aware of the Rhode Island State Policy that prohibits the

       charging of interest rate in interstate cases until 2024, see Appellee Rhode Island

       Office of Child Support Services Policy Exhibit A. Therefore, this evidence was

       not available at the time final judgment was issued on October 19, 2023 in this

       matter. Judicial Notice, in aid of the court, is respectfully requested of it. Whether

       requesting or opposing judicial notice, litigants have a right to be heard on the

       issue under Rule 201[e], therefore, Appellant requests a hearing on the issue

       under Rule 201(e).

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995]. See also, White v. Gaetz, 588 F.3d 1135, 1137 n. 2 (7th Cir.

       2009) (taking judicial notice of state court transcript). The federal courts of

       appeals may take judicial notice of a proceeding in another court if the proceeding
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       has a direct connection to the issues on appeal, See Philips Med. Sys. Intl., B.V. v.

       Bruetman, 982 F.2d 211, 215 (7th Cir. 1992).

             Appellant respectfully requests the Court to take judicial notice under Fed.

       R. Evid. 201 of the attached Objection and Notice to Take Judicial Notice Pursuant

       to Fed. R. Evid 201 and 18 U.S.C. sec. 4 filed in Appeal No. 23-1967, Document:

       00118126457 filed on March 29, 2024. See Exhibit B. Document: 00118126457.

             Judicial Notice in practice is taken at any time of a proceeding, including for

       the first time on appeal, of legislative history and statutory amendments, etc.,, e.g.,

       the legislative history of 42 U.S.C. sec. 654 regarding Congress’s Amendment in

       1996. This similarly applies to the State of Rhode Island’s legislative history, to

       wit, the failure of Rhode Island Gen. Law. 15-5-16.5 to comply with the 1996

       Amendment of 42 U.S.C. sec. 654. 42 U.S.C. sec. 654 makes it explicitly clear

       that such failures incur penalties. The fact that Rhode Island family court is a court

       of limited jurisdiction, as prescribed by R.I. Gen. Law. 8-10-3 where limited relief

       is authorized by State legislation is a matter of legislative fact, that in practice is

       judicially noted at any time of a proceeding, including for the first time on appeal.

             Appellant attaches the above legislations, requesting judicial notice of

       Congress’s publication of 42 U.S.C. sec. 654 that answers all threshold questions

       of jurisdiction. The Congressional 1996 Amendment for 42 U.S.C. sec. 654


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       explicitly make clear that 42 U.S.C. sec. 654 preempts State laws and State

       constitutions, and mandates that participating States must change State laws and

       amend State constitutions accordingly to comply with the 1996 Amendment

       provisions of 42 U.S.C. sec. 654. The pre-emptive effect of the explicit language

       in the statutory provisions under Amendment 1996 of 42 U.S.C. sec. 654 make

       clear that the State of Rhode Island is operating an unlawful State Plan that

       unlawfully charges 12% compound interest on overdue support under color of state

       law, which noncompliant state law is the basis of the current “State enforcement”

       of its routine “court orders” charging 12% compound interest without jurisdiction.

       Moreover, the fact that since 1996 Rhode Island falsely certified to the United

       States for the past twenty-eight (28) years that its State laws are compliant with 42

       U.S.C. sec. 654 violates Federal Criminal Codes, is a fact that this Court must take

       judicial notice under Fed. R. Evid. 201, its inherent truth-seeking authority, and

       under Appellant’s invocation of 18 U.S.C. sec. 4. Since a trial did not occur in

       this matter, at this juncture the Court must take all factual allegations in the

       Amended Complaint in this matter as true, and it plainly pleads that the State

       Appellee represented to the Appellant in Texas that if Appellant paid $104,185.98

       in one lump sum, Appellee Gero Meyersiek waived interest, and that the

       $104,185.98 is a pay-off amount that does not include interest. And this allegedly

       enforceable interest was established under R.I. Gen Laws 15-5-16.5 that is


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       explicitly preempted by 42 U.S.C. sec. 654 upon Rhode Island’s acceptance of

       participation in 42 U.S.C. sec. 654 since 1996, along with the 1996 Amendment’s

       explicitly provided penalties for noncompliance – in Rhode Island’s case, as shown

       by the posture of the Appellees in multiple jurisdictions, the noncompliance is

       willful and defiant. Rhode Island is free to continue enforcing its 12% compound

       interest state law, but that, by Federal Law, requires withdrawing from

       participation in Title IV, per the plain language of Title IV-D, and paying the

       penalties it incurred and accrued since 1996 during Rhode Island’s participation

       that amounts to up to billions of dollars, as explicitly provided for in 42 U.S.C. sec.

       654 to make the United States whole. To make Appellant whole, Appellant seeks

       millions of dollars in damages in this action at law.

             Appellee Gero Meyersiek changed his mind after the Texas Appellant

       accepted the offer in Texas, performed and paid the lump sum $104,185.98. The

       “changed his mind” entailed the action of “putting interest back on the system” that

       consists of 12% compound interest (see attached R.I.G.L. sec. 15-5-16.5.).

             Since the State Plan that charges 12% compound interest, takes interest off

       the system only during certifications to the TEXAS and UNITED STATES

       authorities, and then puts interest back on the system when Appellee Gero

       Meyersiek “changed his mind” waiving interest after Texas Appellant performed

       on the terms of the agreement, it is abundantly clear that the Appellees,
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       government and private persons, operate a criminally unlawful State Plan. Since

       all Appellees participate in the “take interest off the system” when certifying to

       TEXAS and when certifying to the UNITED STATES the total support due, and

       since the State Policy provides for the creation of “two reports,” Fed. R.Evidence

       201 evidence is abundantly clear before this Court and before a panel of “some

       judges” pursuant to the pending Fed. R. App. P 8(a)(2)(D) motion supported by

       affidavit in Appeal No. 23-1967 of organized criminal fraud and the lack of

       jurisdiction of the limited jurisdiction state family court to issue orders for 12%

       compound interest on overdue support that 42 U.S.C. 654(21)(A) explicitly

       prohibits, this Court must take judicial notice of legislative and adjudicative facts

       relating to these critical matters materially relevant to this case.

             For the convenience of the Judges of this Court, Appellant attached hereto

       Congress’s publication of 42 U.S.C.. sec. 654, the RI Gen. Law 15-5-16.5.

             Appellees’ request to strike Fed. R. Evid. 201 evidence of crimes made

       known to “some judges” under 18 U.S.C. sec. 4 from the record in a matter that

       involves Appellees’ organized criminal activity that violates, inter alia, 18 U.S.C.

       sec. 666 and 18 U.S.C. sec. 641, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 - false

       documents or false statements to a federal agency,18 U.S.C. § 1341 - mail fraud,



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       18 U.S.C. § 1343 - wire fraud by the Appellees is an obstruction of an official

       proceeding and an obstruction of justice.

             Finally, undisputed Appellees’ operational evidence that includes unlawful

       redactions made sense only after the availability in 2024 of the State Policy that

       evidences the State Plan operating an unlawful Child Support enforcement

       program by policy of creating “two reports” in interstate cases, one with the

       unlawful 12% compound interest to enforce under color of law, and one report for

       the purposes of making false claims, false certifications, and falsifying official

       government documents to unlawfully apply for Federal Title IV Program funding

       that the Appellees knew Rhode Island is ineligible for. That amounts to billions of

       dollars of theft against the United States.

             Emphatically, Congress intended, by making “some judge(s)”…”of the

       United States” to whom the commission of crimes is mandated to be made known,

       explicitly conferred the duty on Judges of the United States under Federal Criminal

       Law the same duty, obligations and responsibility acting as authorities under the

       United States, as the “other persons in civil or military authority under the United

       States” explicitly named in the federal criminal statute 18 U.S.C. sec. 4. Appellant

       requested Judicial Notice under 18 U.S.C. sec. 4 to the “some judges” as the

       “person in authority under the United States” under 18 U.S.C. sec. 4. Striking

       from the record Congressional legislation history of 42 U.S.C. sec. 654, State
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       legislation history, Rhode Island State Plan 42 U.S.C. sec. 654(3) State operating

       and disbursement unit’s Policy that are neither classified information nor

       confidential or privileged information to the United States are further not in the

       interest of the United States.

             Striking evidence that shows $0.00 interest on a December 6, 2021

       screenshot of the Appellee-operated 42 U.S.C. sec. 654a automated data

       processing and information retrieval system accomplishes nothing other than

       taking as true the factual allegations in the Amended Complaint that details

       Appellant being shown the $0.00 Under Interest generated by the automated data

       processing and information retrieval system. The Fed. R. Evid. visual evidence

       aids the court to visualize the truth of Appellant’s factual allegations.

             Striking evidence of a screenshot of the Appellee-operated 42 U.S.C. sec.

       654a automated data processing and information retrieval system that shows $0.00

       Payment for Appellant’s whopping lump sum $104,185.98 December 7, 2021

       payment accomplishes nothing, when the screenshot is a visual evidence of the

       “two reports” explicitly stated in the Appellee State Policy to create “two reports”

       that consist of falsified records – these are evidence in the aid of the court of

       Appellant’s 18 U.S.C. sec. 4 and Fed. R. Evid. request to take judicial notice of

       activities that harm the United States and steal from Federal Program Funds.



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             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

       Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be taken at

       any stage of the proceedings, including on appeal. In practice, appellate courts

       frequently take judicial notice of both adjudicative and legislative facts presented

       for the first time on appeal, whether requested by a party or on their own initiative.

       See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New York, N.Y.

       & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation, 311 F.3d

       534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197, 205 [3d

       Cir. 1995].

             Appellate courts take judicial notice of facts that were not available to

       litigants at trial and events that occurred after judgment was entered. For example,

       courts have taken judicial notice of guilty pleas entered in a related criminal case

       after judgment in the civil case was entered. See, e.g., Colonial Penn Ins. Co. v.

       Coil, 887 F.2d 1236, 1239 [4th Cir. 1989]. Similarly, appellate courts have taken

       judicial notice of post-judgment changes in the conditions in a foreign country

       relevant to an immigration appeal, Ivezaj v. INS , 84 F.3d 215, 218-19 [6th Cir.

       1996], as well as post-trial changes in the racial composition of a state’s judiciary

       in a discrimination suit. Southern Christian Leadership Conference of Alabama v.

       Sessions, 56 F.3d 1281, 1288 n.13 [11th Cir. 1995].



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             Certain categories of facts have long been the subject of judicial notice on

       appeal. Courts routinely take judicial notice of pleadings and records in other court

       cases [see, e.g., Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 [7th Cir.

       1983]; E.I. du Pont de Nemours & Co. Inc. v. Cullen, 791 F.2d 5, 7 [1st Cir. 1986]]

       and in administrative agency proceedings [see, e.g., Opeka v. INS, 194 F.3d 392,

       394-95 [7th Cir. 1996]], Courts are generally willing to take judicial notice of data,

       pronouncements and publications issued by the government, such as

       Environmental Protection Agency research [Nebraska v. EPA, 331 F.3d 995, 998

       n.3 [D.C. Cir. 2003]]; State Department travel warnings [Parsons v. United Tech.

       Corp ., 700 A.2d 655, 665 n.18 [Conn. 1997]]; and a federal fisheries management

       plan approved by formal rule [City of Charleston v. A Fisherman’s Best Inc., 310

       F.3d 155, 172 [4th Cir. 2002], cert. denied, 123 S.Ct. 2573 [2003]]. Appellate

       courts are also likely to take judicial notice of relevant newspaper articles [see,

       e.g., The Washington Post v. Robinson, 935 F.2d 282, 291-92 [D.C. Cir. 1991]]

       and historical information contained in authoritative publications, such as a text on

       the history of Lincoln Center [see, e.g., Hotel Employees, 311 F.3d at 540 n.1.].

             Courts take judicial notice of online information. Appellate courts have

       increasingly cited information found on the Internet. In today’s digital courts, all

       court information filed in concurrent and related state court proceedings are

       available online, on government websites, such as Rhode Island’s digital courts

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       where this Federal Appeals Court should by the plain textual language of Rhode

       Island Rules and Practice Rule 5 relating to access to court information (that denies

       the Public and pro-se litigants remote access), should have no trouble accessing

       court information through Rhode Island’s digital courts’ online portal. Rhode

       Island’s judge-created laws regarding all relating cases enforcing the 12%

       compound interest published online should also be available to this Federal Court

       online under the Government Edicts Doctrine (although they are accessible to the

       Public and to the pro-se litigants) – see Georgia v. Public.Resource.Org, Inc., 590

       U.S. ___ (2020). As with hard-copy publications, courts are most willing to take

       judicial notice of information found on government Web sites, such as the time of

       sunrise found on the Web site of the U.S. Naval Observatory [U.S. v. Bervaldi, 226

       F.3d 1256, 1266 n.9 [11th Cir. 2000]]; the prime interest rate on the Federal

       Reserve Board Web site [Levan v. Capital Cities/ABC Inc., 190 F.3d 1230, 1235

       n.12 [11th Cir. 1999]]; and records of retired military personnel on a federal Web

       site [Denius, 330 F.3d at 926]. Courts have even been willing to take judicial

       notice of information on arguably less reliable commercial Internet sites, including

       mileage information on Mapquest [In re Extradition of Gonzalez, 52 F. Supp. 2d

       725, 731 n.12 [W.D. La. 1999]]; historical information on Liberia on the

       “Geocities” Web site [Bridgeway Corp. v. Citibank, 45 F. Supp. 2d 276, 278 n.2

       [S.D.N.Y. 1999]]; and information regarding a bank’s ownership from the bank’s


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Case:
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                Document:00118189824
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       Web site [see Laborers’ Pension Fund v. Blackmore Sewer Constr. Inc., 298 F.3d

       600, 607 [7th Cir. 2002]]. Therefore, information on the complete extent of Rhode

       Island’s citizenry harmed by the State’s unlawful establishment and enforcement

       of the unlawful and Title IV-D-preempted 12% compound interest under color of

       state law that is available online on Rhode Island’s Government’s Digital Courts

       Website, is reliable, is judge-created by state judges, and is directly related to the

       Amended Complaint, motion to amend complaint nunc pro tunc, the September

       28, 2023 judgment in this matter, and the State Policy attached in Exhibit A that

       was available to the Appellant in 2024, after the Appellant filed her Opening Brief

       in 2023 pursuant to the Court’s Briefing schedule.

             The use of judicial notice spans a wide spectrum of cases, from the most

       historically significant-such as Chief Justice Earl Warren’s reliance in Brown v.

       Board of Ed., 347 U.S. 483, 494 n.11 [1954], on scholarly publications

       documenting the effect of segregated schools on minority children-to the most

       mundane, such as the 2d U.S. Circuit Court of Appeals’ judicial notice of the

       “traditional features of a snowman.” Eden Toys Inc. v. Marshall Field & Co., 675

       F.2d 498, 500 n.1 [2d Cir. 1982].

             In general, courts are free to take notice of legislative facts, including

       research data and writings like those cited in the famous “Brandeis briefs.”

       Appellate courts are understandably more willing to take judicial notice of such
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Case:
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       legislative facts, because they help them develop reasonable rules of law that will

       apply in future cases. “Legislative facts,” which are facts of general “relevance to

       legal reasoning and the lawmaking process” [Fed. R. Evid. 201[a] Advisory

       Committee’s note] or are “established truths, facts or pronouncements that do not

       change from case to case” and “do not relate specifically to the…litigants.” [United

       States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. 42 U.S.C. sec. 654 relates to

       all interested parties and the United States, and are established truths and facts that

       do not change from case to case, and do not specifically only apply just to this

       matter. Likewise R.I. Gen. Laws. Sec, 15-5-16.5 relates to all interested parties

       and the United States, not just to this matter. Likewise the Appellees’ State Policy

       prohibiting the charging of interest in interstate cases and creating “two reports”

       from the policy adjustments to the 42 U.S.C. sec. 654a automated data processing

       and information retrieval system is established truths and facts that do not change

       from case to case, and do not specifically only apply just to this matter. The

       resultant Screenshot evidence of the resulting false records created by the “two

       reports” do not change because Rhode Island creates two reports in intrastate cases

       in order to evade detection of the unlawful 12% compound interest under color of

       state law, one for enforcement under color of law, one for false certification of

       State Plan compliance to the United States Title IV Program. While full suite of

       issues concerning State noncompliance with 42 U.S.C. sec. 654 this Court notices


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Case:
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                  Document:00118189824
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       under the Turner v. Rogers Amicus Brief submitted by the United States can be

       noticed on the Court’s own initiative, however, the full suite of the issues

       contained therein made sense of the State Policy that was not available to the

       Appellant under 2024 – nevertheless, Appellant makes known this evidence to the

       judges of the First Circuit Court of Appeals under 18 U.S.C. sec. 4 and Fed. R.

       Evid. 201.

       As such, all public truths and facts and publications “made known” to this Court

       under 18 U.S.C. sec. 4 and Fed. R. Evid. 201 should be judicially noticed.

       Appellant attaches the Brief hereto.

             Appellant declares under Fed. R. Evid. 201 and 28 U.S.C. sec. 1746(2),

       that all the facts “made known” to the United States Panel of Judges invoking

       18 U.S.C. sec. 4 and/or Fed. R. Evid. 201 in Appellant’s Notice of the

       Commission of Facts are true to the best of Appellant’s knowledge.

             Appellant attaches hereto the 18 U.S.C. sec. 4 materials that are subject

       of this Fed. R. Evid. 201 Motion to Take Judicial Notice.

             Accordingly, Appellant requests judicial notice of the documents attached

       here to. Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a

       hearing.




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Case:
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                                                                                  EntryID:
                                                                                        ID:6632590
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                                           CONCLUSION

             For the above reasons the Court should consolidate Appeal No. 23-1967 and

       Appeal No. 23-1978.

       Respectfully submitted,
                                      Mary Seguin
                                      Pro Se
                                      /s/____________________
                                      Email: maryseguin22022@gmail.com
                                      Phone: (281)744-2016
                                      P.O. Box 22022
                                      Houston, TX 77019

                                      Dated: March 31, 2024

                                 CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 31, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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Case:
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                                 EXHIBIT I.
Case:
Case:23-1978
      23-1978
      Case      Document:
                 Document:00118189824
                           00118126723
           1:23-cv-00126-WES-PAS        Page:
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                                    Document  202
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                                           850



                                              Form 1A

              Notice of Appeal to a Court of Appeals From a Judgment of a District Court

                                  United States District Court for the
                                       District of Rhode Island
                                Docket Number 1:23-cv-126-WES-PAS


       MARY SEGUIN, Plaintiff

       v.                                         Notice of Appeal

       RHODE ISLAND DEPARTMENT
       OF HUMAN SERVICES in its
       official capacity; MICHAEL D.
       COLEMAN, DEBORAH A.
       BARCLAY in their individual and
       official capacities;
       RHODE ISLAND OFFICE OF
       CHILD SUPPORT SERVICES in its
       official capacity; KEVIN TIGHE,
       MONIQUE BONIN, FRANK
       DIBIASE, WENDY FOBERT,
       KARLA CABALLEROS,
       TIMOTHY FLYNN, LISA
       PINSONNEAULT, CARL
       BEAUREGARD, PRISCILLA
       GLUCKSMAN, JOHN LANGLOIS,
       PAUL GOULD, in their individual
       and official capacities; RHODE
       ISLAND STATE COURT SYSTEM
       in its official capacity; PAUL A.
       SUTTELL in his individual and
       official capacity as EXECUTIVE
       HEAD OF RHODE ISLAND
       STATE COURT SYSTEM; RHODE
       ISLAND ADMINISTRATIVE
       OFFICE OF STATE COURTS in its
       official capacity; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its
       official capacity; RHODE ISLAND
       JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT in its official
Case:
Case:23-1978
      23-1978
      Case      Document:
                 Document:00118189824
                           00118126723
           1:23-cv-00126-WES-PAS        Page:
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                                    Document  203
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       capacity; RHODE ISLAND
       SUPERIOR COURT JUDICIAL
       COUNCIL in its official capacity;
       THE JUDICIAL TECHNOLOGY
       CENTER in its official capacity;
       JULIE HAMIL, MARISA BROWN,
       JOHN JOSEPH BAXTER, JR.,
       JUSTIN CORREA in their
       individual and official capacities;
       RHODE ISLAND OFFICE OF THE
       ATTORNEY GENERAL in its
       official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY
       GENERAL OPEN GOVERNMENT
       UNIT in its official capacity; ADAM
       D. ROACH, PETER NERONHA in
       their official and individual
       capacities; TYLER
       TECHNOLOGIES, INC.; GERO
       MEYERSIEK, Defendants

       MARY SEGUIN (name all parties taking the appeal) ∗ appeals to the United States Court of
       Appeals for the FIRST Circuit from the final judgment entered on October 19, 2023 (state the
       date the judgment was entered).


                                                                   Mary Seguin
                                                                   Pro Se
                                                                   /s/____________________
                                                                   Email: maryseguin22022@gmail.com
                                                                   Phone: (281)744-2016
                                                                   P.O. Box 22022
                                                                   Houston, TX 77019

                                                                   Dated: November 17, 2023




       ∗
           See Rule 3(c) for permissible ways of identifying appellants.
Case:
Case:23-1978
      23-1978
      Case      Document:
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           1:23-cv-00126-WES-PAS        Page:
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                    Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                PLAINTIFF’S DOCKETING STATEMENT TO THE UNITED STATES COURT

          OF APPEALS FOR THE FIRST CIRCUIT AND THE UNITED STATES DISTRICT

                             COURT OF THE DISTRICT OF RHODE ISLAND

               1. Plaintiff, proceeding pro se from and as a citizen of Texas, respectfully states to the

                    U.S. Court of Appeals for the First Circuit and the United States District Court of the

                    District of Rhode Island that this case is related to the pending appellate case, Mary

                    Seguin v. Rhode Island Office of Child Support Services, et al, Case Number 23-1851.
Case:
Case:23-1978
      23-1978
      Case      Document:
                 Document:00118189824
                           00118126723
           1:23-cv-00126-WES-PAS        Page:
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                                    Document  205
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              2. Plaintiff respectfully requests the U.S. Court of Appeals for the First Circuit to review

                 Plaintiff’s timely filed Rule 59 Motion and Rule 60 Motion that were filed in the U.S.

                 District Court of the District of Rhode Island on November 16, 2023 as proper part of

                 the record of appeal. Prior to filing this Notice of Appeal, Plaintiff also filed a Rule

                 60(b)(1) Motion regarding the District Court’s interference with Plaintiff’s right to

                 file Rule 59 and Rule 60 post judgement in which Plaintiff sought to preserve issues

                 for appeal on the record. Plaintiff attaches all relevant documentation, including all

                 relevant emails to the Clerk of the Court of the District Court and Plaintiff’s properly

                 filed post judgment motions pursuant to Rule 59 and Rule 60 herein to this Notice of

                 Appeal and Docket Statement.

              3. Plaintiff’s Rule 59 Motion was filed on November 16, 2023, which the District Court

                 of Rhode Island refused to docket on the record, pursuant to instructions by Judge

                 Smith.

              4. Plaintiff’s first Rule 60 Motion was filed on November 16, 2023, which the District

                 Court of Rhode Island refused to docket on the record, pursuant to instructions by

                 Judge Smith.

              5. Plaintiff attaches the aforesaid post judgment Motions and requests appellate review

                 under these extraordinary and troubling factual circumstances that violate and

                 obstruct the fundamental First Amendment right of access to the Court of Record, due

                 process and obstruction to justice in the First Circuit, and inter alia, interference with

                 the accuracy of the court’s record for appeal in this matter.



                                           CERTIFICATE OF SERVICE
Case:
Case:23-1978
      23-1978
      Case      Document:
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                                                    Date
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              I HEREBY CERTIFY that on November 16, 2023, I filed the within Motion with the

       Clerk of the Court via email.

                                                       Respectfully submitted,
                                                       Mary Seguin
                                                       Pro Se
                                                       /s/____________________
                                                       Email: maryseguin22022@gmail.com
                                                       Phone: (281)744-2016
                                                       P.O. Box 22022
                                                       Houston, TX 77019

                                                       Dated: November 17, 2023
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                                         No. 23-1978

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                        MARY SEGUIN
                                              v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.



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          Appeal from the United States District Court for the District of Rhode Island
                                       ___________________

           APPELLANT’S SUPPLEMENTAL SHOW CAUSE IN SUPPORT OF
                  APPELLANT’S MOTION TO CONSOLIDATE
                            ___________________

                Appellant, MARY SEGUIN, respectfully supplement Appellant’s Show

       Cause (filed on March 31, 2024) with the following documentary proof, namely

       the district court’s Clerk’s Certificate and Appellate Cover Sheet ECF 33, that the

       district court’s functus officio actions taken subsequent to the November 17, 2023

       filing of the Notice of Appeal of Judgment are void. In the section under “Record

       Information,” the district clerk checked off “NO” as to whether motions are

       pending, proving that at the time of the filing of the Notice of Appeal of the final

       judgment on November 17, 2023, NO MOTIONS WERE PENDING, per the

       district court clerk’s certification. This certification is electronically signed by

       district court Deputy Clerk Meghan Kenny.

                The Appeal divested the district court of power to modify its pre-Appeal

       orders or take other actions affecting the cause without permission from the court

       of appeals. Since the district court clerk certified on the date of the Appeal on

       November 17, 2023 that there were NO pending motions (see ECF 33), the

       functus officio judge William Smith’s post-appeal actions affecting the cause




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       without permission from the court of appeals are void. His actions interfered with

       the cause without permission from the court of appeals.

                This appeal of the district court’s November 20, 2023 functus officio Text

       Order appeals the functus officio November 20, 2023 Text order and actions taken

       by the district court from November 20, 2023 onward.

                In aid of the Court, Appellant attaches the screenshot of ECF 33 below, and

       requests judicial notice pursuant to Fed. R. of Evid. 201 of this undisputable fact:




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Case: 23-1978     Document: 00118189824       Page: 210       Date Filed: 09/15/2024   Entry ID: 6667446




                Appellant attaches herewith in Exhibit A, the Clerk’s Certificate and

       Appellate Cover Sheet ECF 33.

                The functus officio jurisdiction-divested district court judge’s post-appeal

       functus officio actions that are under appeal have interfered with the cause of the

       appeal of the final judgment. The functus officio district court actions interfered

       with the Appellant’s right to amend the appeal.

                The functus officio district court’s void post-appeal actions interfered with

       Appellant’s right to amend the appeal in Appeal No. 23-1967.

                The functus district court’s void post-appeal actions interfering with

       Appellant’s right to amend the appeal in No. 23-1967 necessitated a third Notice of

       Appeal to be filed appealing the district court’s denials of the Appellant’s FRAP 4

       motions for extension of time to amend the appeal – Appellant filed the extension

       of time pursuant to the Court of Appeal’s late-hour March 1, 2024 Court order in

       Appeal No. 23-1967 vacating the briefing schedule there out of confusion over the

       altered record on appeal that the functus officio district court altered without

       authority and unlawfully, intentionally. Judge William E. Smith, prior to his

       federal judicial appointment, was the Chief outside counsel for the Appellee Rhode

       Island political subdivisions under the State Plan under Title IV of the Social

       Security Act, from 1996 to 2002, and had advised the Appellee Rhode Island


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       political subdivisions on the State’s noncompliant charge of 12% compound

       interest that violates 42 U.S.C. sec. 654(21)(A) (which permits only 0%-6% simple

       interest), and the State’s unlawful and organized cover-up circumventing practices

       of making manual adjustments to the automated data processing and information

       retrieval system through the removal of the unlawful 12% compound interest

       whenever the State certifies the accounting fraud as a “true account,” whether to

       other states, like TEXAS, for enforcement cooperations under 42 U.S.C. sec. 666,

       or to the United States for the unlawful procurement of federal funding under the

       Title IV Programs. Because Rhode Island knows violations of 42 U.S.C. sec. 654

       incurs tens of millions of penalties in a fiscal year and may cause it to lose TANF

       funding, and the willful violation may cause it to become ineligible to participate

       in Title IV Programs, Rhode Island engages in systemic cover up, accounting

       fraud, falsification of government records and false certifications, all of which

       Judge William Smith had advised to as the Chief outside counsel for Rhode Island

       political subdivisions and the Rhode Island Appellees. This is essentially a cover

       up of organized unlawful theft of TEXAS, theft of the United States and theft of

       targeted unsuspecting noncustodial parent victims under color of Rhode Island

       state law.

                The Notice of Appeal of the November 20, 2023 Text Order in this matter

       encompasses the void district court actions from November 20, 2023 onward, as

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       well as the self-executing disqualification of the district court judge is one of the

       cause of appeal in this matter.

                In aid of the Court, the Appellant attaches herewith in Exhibit B , (ECF 59)

       the Notice of Appeal, filed on April 1, 2024, appealing from the district court’s

       March 7th, 2024, March 8th, 2024 and March 11th, 2024 Text Orders.

                Appellant appeals to the United States Court of Appeals for the FIRST

       Circuit from all the functus officio modifications to the district court’s orders or

       functus officio actions taken in the district court after the filing of the appeal on

       November 17, 2023, affecting the cause without permission from the court of

       appeals.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT from the functus officio actions taken in the district court after the filing

       of the appeal on November 17, 2023 (ECF 32), affecting the cause without

       permission from the court of appeals, that moreover deprived Plaintiff’s right to

       file an amended notice of appeal.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT and filed that direct attack on the functus officio void actions taken in

       the district court without jurisdiction or without authority after the filing of the

       appeal on November 17, 2023 (ECF 32), affecting the cause without permission


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       from the court of appeals. The appeal divested the district court of authority to

       modify the TWO November 17, 2023 Text Orders appealed from (ECF 32) or take

       other actions affecting the cause without permission from the court of appeals.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT the matter of the self-executing disqualification of the functus officio

       district court Judge William E. Smith.

                Appellant appeals to the Court of Appeals for the FIRST CIRCUIT

       from Post-Appeal Orders and Actions Taken by the District Court Affecting

       the Cause under appeal.

                      By way of visual illustration in support of this Show Cause, and in aid

                      of the Court, Appellant further attaches herewith a screenshot of ECF

                      33-1, of page 9 of 92, that corroborates with the clerk’s certification of

                      the record on appeal (ECF 33) certifying that there were NO pending

                      motions at the time of the filing of the Notice of Appeal of the Final

                      Judgment on November 17, 2023:




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                Accordingly, Appellant requests judicial notice of the documents attached

       here to and screenshots of the documents affixed to the text of this Show Cause

       response to the Court. Pursuant to Fed. R. Evidence 201(e), Appellant requests by

       right a hearing.

                                             CONCLUSION

                For the above reasons the Court should consolidate Appeal No. 23-1967 and

       Appeal No. 23-1978.

                                         Respectfully submitted,

                                             Page 8 of 10
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                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
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                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: April 2, 2024

                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on April 2, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                     Mary Seguin
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                                    Exhibit A
Case: 23-1978    Document: 00118189824
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                                     Document 218 Filed
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Case: 23-1978   Document: 00118189824    Page: 219   Date Filed: 09/15/2024   Entry ID: 6667446




                                        Exhibit B
Case: 23-1978    Document: 00118189824
       Case 1:23-cv-00126-WES-PAS       Page: 59
                                     Document 220 Filed
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            Notice of Appeal to a Court of Appeals From Post-Appeal Orders of a District Court

                         United States District Court for the District of Rhode Island
                                  Docket Number 1:23-cv-126-WES-PAS

       MARY SEGUIN, Plaintiff

       v.                                              Notice of Appeal

       RHODE ISLAND DEPARTMENT
       OF HUMAN SERVICES in its
       official capacity; MICHAEL D.
       COLEMAN, DEBORAH A.
       BARCLAY in their individual and
       official capacities;
       RHODE ISLAND OFFICE OF
       CHILD SUPPORT SERVICES in its
       official capacity; KEVIN TIGHE,
       MONIQUE BONIN, FRANK
       DIBIASE, WENDY FOBERT,
       KARLA CABALLEROS,
       TIMOTHY FLYNN, LISA
       PINSONNEAULT, CARL
       BEAUREGARD, PRISCILLA
       GLUCKSMAN, JOHN LANGLOIS,
       PAUL GOULD, in their individual
       and official capacities; RHODE
       ISLAND STATE COURT SYSTEM
       in its official capacity; PAUL A.
       SUTTELL in his individual and
       official capacity as EXECUTIVE
       HEAD OF RHODE ISLAND
       STATE COURT SYSTEM; RHODE
       ISLAND ADMINISTRATIVE
       OFFICE OF STATE COURTS in its
       official capacity; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its
       official capacity; RHODE ISLAND
       JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT JUDICIAL
       COUNCIL in its official capacity;
       THE JUDICIAL TECHNOLOGY

                                                  Page 1 of 3
Case: 23-1978    Document: 00118189824
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       CENTER in its official capacity;
       JULIE HAMIL, MARISA BROWN,
       JOHN JOSEPH BAXTER, JR.,
       JUSTIN CORREA in their
       individual and official capacities;
       RHODE ISLAND OFFICE OF THE
       ATTORNEY GENERAL in its
       official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY
       GENERAL OPEN GOVERNMENT
       UNIT in its official capacity; ADAM
       D. ROACH, PETER NERONHA in
       their official and individual
       capacities; TYLER
       TECHNOLOGIES, INC.; GERO
       MEYERSIEK, Defendants

       Plaintiff, MARY SEGUIN (name all parties taking the appeal), ∗ appeals to the United States
       Court of Appeals for the FIRST Circuit from the Text Orders entered on March 7, 2024, on
       March 8, 2024 and on March 11, 2024.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST Circuit
       all the functus officio modifications to the district court’s orders or functus officio actions taken
       in the district court after the filing of the appeal on November 17, 2023, affecting the cause
       without permission from the court of appeals.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT the functus officio actions taken in the district court after the filing of the appeal on
       November 17, 2023 (ECF 32), affecting the cause without permission from the court of appeals,
       that moreover deprived Plaintiff’s right to file an amended notice of appeal.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT this direct attack on the functus officio void actions taken in the district court without
       jurisdiction or without authority after the filing of the appeal on November 17, 2023 (ECF 32),
       affecting the cause without permission from the court of appeals. The appeal divested the district
       court of authority to modify the TWO November 17, 2023 Text Orders appealed from (ECF 32)
       or take other actions affecting the cause without permission from the court of appeals.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT the matter of the self-executing disqualification of the functus officio district court
       Judge William E. Smith.




       ∗
           See Rule 3(c) for permissible ways of identifying appellants.
                                                         Page 2 of 3
Case: 23-1978    Document: 00118189824
       Case 1:23-cv-00126-WES-PAS       Page: 59
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       Plaintiff, MARY SEGUIN, appeals to the Court of Appeals for the FIRST CIRCUIT from
       Post-Appeal Orders and Actions Taken by the District Court Affecting the Cause under
       appeal.


                                                     Mary Seguin

                                                     Pro Se
                                                     /s/____________________
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                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019

                                                     Dated: April 1, 2024




                                            Page 3 of 3
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                                         No. 23-1978

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                        MARY SEGUIN
                                              v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.



                                          Page 1 of 10
Case: 23-1978     Document: 00118189824      Page: 224       Date Filed: 09/15/2024   Entry ID: 6667446




          Appeal from the United States District Court for the District of Rhode Island
                                       ___________________

           APPELLANT’S SUPPLEMENTAL SHOW CAUSE IN SUPPORT OF
                  APPELLANT’S MOTION TO CONSOLIDATE
                            ___________________

                Appellant, MARY SEGUIN, respectfully supplement Appellant’s Show

       Cause (filed on March 31, 2024) with the following documentary proof, namely

       the district court’s Clerk’s Certificate and Appellate Cover Sheet ECF 33, that the

       district court’s functus officio actions taken subsequent to the November 17, 2023

       filing of the Notice of Appeal of Judgment are void. In the section under “Record

       Information,” the district clerk checked off “NO” as to whether motions are

       pending, proving that at the time of the filing of the Notice of Appeal of the final

       judgment on November 17, 2023, NO MOTIONS WERE PENDING, per the

       district court clerk’s certification. This certification is electronically signed by

       district court Deputy Clerk Meghan Kenny.

                The Appeal divested the district court of power to modify its pre-Appeal

       orders or take other actions affecting the cause without permission from the court

       of appeals. Since the district court clerk certified on the date of the Appeal on

       November 17, 2023 that there were NO pending motions (see ECF 33), the

       functus officio judge William Smith’s post-appeal actions affecting the cause




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       without permission from the court of appeals are void. His actions interfered with

       the cause without permission from the court of appeals.

                This appeal of the district court’s November 20, 2023 functus officio Text

       Order appeals the functus officio November 20, 2023 Text order and actions taken

       by the district court from November 20, 2023 onward.

                In aid of the Court, Appellant attaches the screenshot of ECF 33 below, and

       requests judicial notice pursuant to Fed. R. of Evid. 201 of this undisputable fact:




                                              Page 3 of 10
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                Appellant attaches herewith in Exhibit A, the Clerk’s Certificate and

       Appellate Cover Sheet ECF 33.

                The functus officio jurisdiction-divested district court judge’s post-appeal

       functus officio actions that are under appeal have interfered with the cause of the

       appeal of the final judgment. The functus officio district court actions interfered

       with the Appellant’s right to amend the appeal.

                The functus officio district court’s void post-appeal actions interfered with

       Appellant’s right to amend the appeal in Appeal No. 23-1967.

                The functus district court’s void post-appeal actions interfering with

       Appellant’s right to amend the appeal in No. 23-1967 necessitated a third Notice of

       Appeal to be filed appealing the district court’s denials of the Appellant’s FRAP 4

       motions for extension of time to amend the appeal – Appellant filed the extension

       of time pursuant to the Court of Appeal’s late-hour March 1, 2024 Court order in

       Appeal No. 23-1967 vacating the briefing schedule there out of confusion over the

       altered record on appeal that the functus officio district court altered without

       authority and unlawfully, intentionally. Judge William E. Smith, prior to his

       federal judicial appointment, was the Chief outside counsel for the Appellee Rhode

       Island political subdivisions under the State Plan under Title IV of the Social

       Security Act, from 1996 to 2002, and had advised the Appellee Rhode Island


                                               Page 4 of 10
Case: 23-1978     Document: 00118189824     Page: 227       Date Filed: 09/15/2024   Entry ID: 6667446




       political subdivisions on the State’s noncompliant charge of 12% compound

       interest that violates 42 U.S.C. sec. 654(21)(A) (which permits only 0%-6% simple

       interest), and the State’s unlawful and organized cover-up circumventing practices

       of making manual adjustments to the automated data processing and information

       retrieval system through the removal of the unlawful 12% compound interest

       whenever the State certifies the accounting fraud as a “true account,” whether to

       other states, like TEXAS, for enforcement cooperations under 42 U.S.C. sec. 666,

       or to the United States for the unlawful procurement of federal funding under the

       Title IV Programs. Because Rhode Island knows violations of 42 U.S.C. sec. 654

       incurs tens of millions of penalties in a fiscal year and may cause it to lose TANF

       funding, and the willful violation may cause it to become ineligible to participate

       in Title IV Programs, Rhode Island engages in systemic cover up, accounting

       fraud, falsification of government records and false certifications, all of which

       Judge William Smith had advised to as the Chief outside counsel for Rhode Island

       political subdivisions and the Rhode Island Appellees. This is essentially a cover

       up of organized unlawful theft of TEXAS, theft of the United States and theft of

       targeted unsuspecting noncustodial parent victims under color of Rhode Island

       state law.

                The Notice of Appeal of the November 20, 2023 Text Order in this matter

       encompasses the void district court actions from November 20, 2023 onward, as

                                             Page 5 of 10
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       well as the self-executing disqualification of the district court judge is one of the

       cause of appeal in this matter.

                In aid of the Court, the Appellant attaches herewith in Exhibit B , (ECF 59)

       the Notice of Appeal, filed on April 1, 2024, appealing from the district court’s

       March 7th, 2024, March 8th, 2024 and March 11th, 2024 Text Orders.

                Appellant appeals to the United States Court of Appeals for the FIRST

       Circuit from all the functus officio modifications to the district court’s orders or

       functus officio actions taken in the district court after the filing of the appeal on

       November 17, 2023, affecting the cause without permission from the court of

       appeals.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT from the functus officio actions taken in the district court after the filing

       of the appeal on November 17, 2023 (ECF 32), affecting the cause without

       permission from the court of appeals, that moreover deprived Plaintiff’s right to

       file an amended notice of appeal.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT and filed that direct attack on the functus officio void actions taken in

       the district court without jurisdiction or without authority after the filing of the

       appeal on November 17, 2023 (ECF 32), affecting the cause without permission


                                              Page 6 of 10
Case: 23-1978     Document: 00118189824       Page: 229       Date Filed: 09/15/2024   Entry ID: 6667446




       from the court of appeals. The appeal divested the district court of authority to

       modify the TWO November 17, 2023 Text Orders appealed from (ECF 32) or take

       other actions affecting the cause without permission from the court of appeals.

                Appellant appeals to the United States Court of Appeals for the FIRST

       CIRCUIT the matter of the self-executing disqualification of the functus officio

       district court Judge William E. Smith.

                Appellant appeals to the Court of Appeals for the FIRST CIRCUIT

       from Post-Appeal Orders and Actions Taken by the District Court Affecting

       the Cause under appeal.

                      By way of visual illustration in support of this Show Cause, and in aid

                      of the Court, Appellant further attaches herewith a screenshot of ECF

                      33-1, of page 9 of 92, that corroborates with the clerk’s certification of

                      the record on appeal (ECF 33) certifying that there were NO pending

                      motions at the time of the filing of the Notice of Appeal of the Final

                      Judgment on November 17, 2023:




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                Accordingly, Appellant requests judicial notice of the documents attached

       here to and screenshots of the documents affixed to the text of this Show Cause

       response to the Court. Pursuant to Fed. R. Evidence 201(e), Appellant requests by

       right a hearing.

                                             CONCLUSION

                For the above reasons the Court should consolidate Appeal No. 23-1967 and

       Appeal No. 23-1978.

                                         Respectfully submitted,

                                             Page 8 of 10
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                                       Houston, TX 77019

                                       Dated: April 2, 2024

                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on April 2, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                     Mary Seguin
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                                                     Houston, TX 77019




                                            Page 9 of 10
Case: 23-1978   Document: 00118189824   Page: 232       Date Filed: 09/15/2024   Entry ID: 6667446




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Case: 23-1978   Document: 00118189824   Page: 233   Date Filed: 09/15/2024   Entry ID: 6667446




                                    Exhibit A
Case: 23-1978    Document: 00118189824
       Case 1:23-cv-00126-WES-PAS       Page: 33
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                                        Exhibit B
Case: 23-1978    Document: 00118189824
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            Notice of Appeal to a Court of Appeals From Post-Appeal Orders of a District Court

                         United States District Court for the District of Rhode Island
                                  Docket Number 1:23-cv-126-WES-PAS

       MARY SEGUIN, Plaintiff

       v.                                              Notice of Appeal

       RHODE ISLAND DEPARTMENT
       OF HUMAN SERVICES in its
       official capacity; MICHAEL D.
       COLEMAN, DEBORAH A.
       BARCLAY in their individual and
       official capacities;
       RHODE ISLAND OFFICE OF
       CHILD SUPPORT SERVICES in its
       official capacity; KEVIN TIGHE,
       MONIQUE BONIN, FRANK
       DIBIASE, WENDY FOBERT,
       KARLA CABALLEROS,
       TIMOTHY FLYNN, LISA
       PINSONNEAULT, CARL
       BEAUREGARD, PRISCILLA
       GLUCKSMAN, JOHN LANGLOIS,
       PAUL GOULD, in their individual
       and official capacities; RHODE
       ISLAND STATE COURT SYSTEM
       in its official capacity; PAUL A.
       SUTTELL in his individual and
       official capacity as EXECUTIVE
       HEAD OF RHODE ISLAND
       STATE COURT SYSTEM; RHODE
       ISLAND ADMINISTRATIVE
       OFFICE OF STATE COURTS in its
       official capacity; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its
       official capacity; RHODE ISLAND
       JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT JUDICIAL
       COUNCIL in its official capacity;
       THE JUDICIAL TECHNOLOGY

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       CENTER in its official capacity;
       JULIE HAMIL, MARISA BROWN,
       JOHN JOSEPH BAXTER, JR.,
       JUSTIN CORREA in their
       individual and official capacities;
       RHODE ISLAND OFFICE OF THE
       ATTORNEY GENERAL in its
       official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY
       GENERAL OPEN GOVERNMENT
       UNIT in its official capacity; ADAM
       D. ROACH, PETER NERONHA in
       their official and individual
       capacities; TYLER
       TECHNOLOGIES, INC.; GERO
       MEYERSIEK, Defendants

       Plaintiff, MARY SEGUIN (name all parties taking the appeal), ∗ appeals to the United States
       Court of Appeals for the FIRST Circuit from the Text Orders entered on March 7, 2024, on
       March 8, 2024 and on March 11, 2024.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST Circuit
       all the functus officio modifications to the district court’s orders or functus officio actions taken
       in the district court after the filing of the appeal on November 17, 2023, affecting the cause
       without permission from the court of appeals.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT the functus officio actions taken in the district court after the filing of the appeal on
       November 17, 2023 (ECF 32), affecting the cause without permission from the court of appeals,
       that moreover deprived Plaintiff’s right to file an amended notice of appeal.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT this direct attack on the functus officio void actions taken in the district court without
       jurisdiction or without authority after the filing of the appeal on November 17, 2023 (ECF 32),
       affecting the cause without permission from the court of appeals. The appeal divested the district
       court of authority to modify the TWO November 17, 2023 Text Orders appealed from (ECF 32)
       or take other actions affecting the cause without permission from the court of appeals.

       Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
       CIRCUIT the matter of the self-executing disqualification of the functus officio district court
       Judge William E. Smith.




       ∗
           See Rule 3(c) for permissible ways of identifying appellants.
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       Plaintiff, MARY SEGUIN, appeals to the Court of Appeals for the FIRST CIRCUIT from
       Post-Appeal Orders and Actions Taken by the District Court Affecting the Cause under
       appeal.


                                                     Mary Seguin

                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019

                                                     Dated: April 1, 2024




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                                        No. 23-1978

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                     MARY SEGUIN
                                             v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.



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          Appeal from the United States District Court for the District of Rhode Island
                                       ___________________

            APPELLANT’S SHOW CAUSE IN SUPPORT OF APPELLANT’S
                         MOTION TO CONSOLIDATE
                            ___________________

                In response to the Court’s Order Extending Time to April 1, 2024 for

       Appellant to show cause, including in support of Appellant’s Motion to

       Consolidate, Appellant respectfully states the November 20, 2023 Notice of

       Appeal (ECF 38) filed by the Appellant in this matter appeals the district court’s

       November 20, 2023 Text Order, and as such the appeal is a direct attack on the

       district court’s void order issued on November 20, 2023 when the district court

       became functus officio, yet plainly and explicitly modified without authority the

       district court’s November 17, 2023 two denials denying the Plaintiff-Appellant

       post-judgment motions.

                This appeal is a direct attack on the district court’s November 20, 2023 void

       order.

                As such all subsequent void orders or “corrections arising from omissions”

       resulting from, stemming from, caused by, effected by, linked to, or corollary to

       the district court’s November 20, 2023 void order are subject to appellate review in

       this matter, including the February 1, 2024 district court denial, another void order.



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             The Notice of Appeal in this matter dated November 20, 2024 appeals the

       void district court November 20, 2023 Text order issued three days after the

       Notice of Appeal of the Final Judgement was filed (or perfected) on November 17,

       2023. See, ECF 32, 32-1, 33, 33-1.

             Pursuant to Griggs v. Provident Consumer Discount Company, 459 U.S. 56

       (1982) the district court on November 20, 2023 was divested of jurisdiction to

       modify its judgment or take other action affecting the cause without permission

       from the court of appeals.

             Appellant states, in support of the Show Cause, that a straightforward

       timeline and content examination of the November 17, 2023 docketed Notice of

       Appeal of the Final Judgment (ECF 32, 32-1) and the docketed district court

       clerk’s certification of the appeal record (ECF 33, 33-1), all dated November 17,

       2023, emphatically shows the district court was divested of jurisdiction as of

       November 17, 2023.

             As such, the district court’s November 20, 2023 and February 1, 2024 court

       orders in this matter are null and void, pursuant to Griggs v. Provident Consumer

       Discount Company, 459 U.S. 56 (1982).

             The Appellant avers the follows in support of consolidation:




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            I.    The November 17, 2023 district court certified record on appeal,
                  ECF 33 and ECF 33-1, shows on November 17, 2023, no pending
                  motions were docketed.

                  1. Emphatically, the November 17, 2023 district court certified record

                     on appeal, ECF 33 and ECF 33-1 shows on November 17, 2023,

                     no motions were docketed, proving there were no pending

                     motions filed prior to the Notice of Appeal of the Final Judgment.

                  2. Emphatically, the November 17, 2023 district court certified record

                     on appeal, ECF 33 and ECF 33-1, shows only two entries for

                     November 17, 2023: the two text orders dated November 17, 2023.

                  By way of visual illustration in support of this Show Cause, Appellant

                  attaches herewith a screenshot of ECF 33-1, of page 9 of 92:




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                  3. Moreover, the Court is requested to Judicially Notice pursuant to

                     Fed. R. Evid. 201 that the docket entry for ECF 32 on November

                     17, 2023 states unequivocally, “NOTICE OF APPEAL by Mary

                     Seguin as to Text Order, Text Order” making it explicitly clear

                     that the only two docket entries of November 17, 2023, “Text

                     Order and Text Order,” are the district court’s denials of

                     Appellant’s first November 16, 2023 post-judgment Rule 59

                     motions and then the one November 17, 2023 post-judgment Rule

                     60(b)(1) motion which the docket entry for ECF 32 makes clear

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                     that Appellant’s Notice of Appeal of the Final Judgment filed on

                     November 17, 2023 (ECF 32, 32-1) explicitly appeals “as to

                     TEXT ORDER, TEXT ORDER” in addition to the Final

                     Judgment. Therefore, all post-judgment motion filings actually

                     filed by the Appellant were disposed by the two post-judgment

                     denial Text Orders on November 17, 2023, prior to the filing of the

                     Notice of Appeal (ECF 32). Attached herewith for show cause

                     purposes are the aforementioned electronic court filing entry

                     documents:

                     Exhibit I.: ECF 32, ECF 32-1

                     Exhibit II.: ECF 33, 33-1



                     Therefore, the examination of ECF 32, 32-1, 33 and ECF 33-1

                  evidences that are attached to Exhibits A and B shows the functus

                  officio district court was divested of jurisdiction upon the filing of the

                  November 17, 2023 Notice of Appeal appealing the Final Judgment

                  and the two text orders issued on November 17, 2023 “as to Text

                  Order, Text Order.”



            II.   The District Court is DIVESTED of JURISDICTION Griggs v.
                  Provident Consumer Discount Company, 459 U.S. 56 (1982) and
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                  the November 20, 2023 Notice of Appeal in this matter appeals the
                  Void November 20, 2023

                           As a general rule, an appeal divests the district court of power

                  to modify its judgment or take other action affecting the cause without

                  permission from the court of appeals Griggs v. Provident Consumer

                  Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                  Neighborhood Housing Services of Chicago, 583 U.S. ___ (2017).

                  The appeal filed on November 17, 2023 is from a Final Judgment.

                  Once a district court enters final judgment and once the district court

                  denies post-judgment motions, the final judgment and district court’s

                  denials of post-judgment motions become subject to appellate review.

                  See Commonwealth School, Inc. v. Commonwealth Academy Holdings

                  LLC, 2021 WL 1398268 (1st Cir. Apr. 14, 2021). See also John's

                  Insulation, Inc.v. L. Addison and Assocs., 156 F.3d 101, 105 (1st Cir.

                  1998).

                           Here, the two text orders docketed on November 17, 2023 are

                  clearly denials of the only post-judgment motions the Appellant filed

                  on November 16, 2023 and November 17, 2023 – as such the two

                  November 17, 2023 text orders disposed and denied Appellant’s post-

                  judgment motions on November 17, 2023. Subsequent to the district

                  court’s November 17, 2023 denials of post-judgment motions, in the
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                  late afternoon of November 17, 2023, Appellant filed the Notice of

                  Appeal (ECF 32, 32-1) appealing:

                         (1) the Final Judgment,

                         (2) the district court’s two denials of post-judgment motions

                  text orders of November 17, 2023, and

                         (3) the obstruction by Judge William Smith of the docketing by

                  the clerk of Appellant’s post-judgment motions between November

                  16th and 17th of 2023.

                         Therefore, the filing of the Notice of Appeal (ECF-32) meant

                  the final judgment and district court’s denials of post-judgment

                  motions dated November 17, 2023 become subject to appellate

                  review.

                         Therefore, here, the general rule that an appeal divests the

                  district court of power to modify its judgment or take other action

                  affecting the cause without permission from the court of appeals,

                  applies; see, Griggs v. Provident Consumer Discount Company, 459

                  U.S. 56 (1982).

                  The district court became functus officio and the district court functus

            offico judge William Smith, no longer holding office or having official

            authority, as he, nor the functus officio district court no longer had the


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            power to modify the two text orders judge Smith made on November 17,

            2023.

                    As such, on November 20, 2023, the functus officio district court,

            divested of jurisdiction, no longer had the authority to order

            modifications to the two text orders judge Smith made on November 17,

            2023.

                    Accordingly, the district court’s November 20, 2023 Text Order that

            plainly modified his November 17, 2023 two denials for leave to file, are

            VOID.

                    Accordingly, the November 20, 2023 Notice of Appeal in this matter

            filed by the Appellant appeals the void November 20, 2023 Text Order.

                    Having established that the appeal in this matter appeals the district

            court’s void November 20, 2023 Text Order, the Appellant respectfully

            requests Judicial Notice under Fed. R. Evid. 201 the 77-page Notice of

            Appeal (ECF-32).

                          A. Notice of Appeal (ECF 32) appeals the district court’s

                              “interference with appeal”

                              Appellant attaches herewith a screenshot of page 4 of the

                              Notice of Appeal, and under Fed. R. Evid. 201, requests

                              Judicial Notice of numbered paragraph 3 to 5:


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                           The Notice of Appeal requests appellate review of the

                           refusal by the United States District Court for the District of

                           Rhode Island’s refusal to docket on the record Plaintiff-

                           Appellant’s 28-day post-judgment motions filed on

                           November 16, 2023 and the third post-judgment motion




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                           filed on November 17, 2023, “pursuant to instructions by

                           Judge Smith.”

                              In enumerated paragraph 5, the Plaintiff plainly appeals,

                           “ Plaintiff attaches the aforesaid post judgment Motions and

                           requests appellate review under these extraordinary and

                           troubling factual circumstances that violate and obstruct the

                           fundamental First Amendment right of access to the Court of

                           Record, due process and obstruction to justice in the First

                           Circuit, and inter alia, interference with the accuracy of

                           the court’s record for appeal in this matter.”

                              Therefore, the “interference with the accuracy of the

                           court’s record for appeal in this matter” is under appellate

                           review in Appeal No. 23-1967.

                              Therefore, the appeal divests the district court of power

                           to take other action affecting the cause without permission

                           from the court of appeals. Griggs v. Provident Consumer

                           Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                           Neighborhood Housing Services of Chicago, 583 U.S. ___

                           (2017).




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                              Since Judge Smith’s repeating “interference with the

                           accuracy of the court’s record for the appeal” on November

                           20, 2023 issuing the functus officio void November 20,

                           2023 Text Order modifying his pre-appeal November 17,

                           2023 text order denials is the order under appeal here, and is

                           a continuance of the “interference with the accuracy of the

                           court’s record for the appeal” that is under appellate review

                           in Appeal No. 23-1967, the legal justification to consolidate

                           Appeal No. 23-1967 and Appeal No. 23-1978 is

                           compelling.

                        B. “Purported Mistake has Been Rectified” - The functus
                           officio district court admits in the February 1, 2024
                           order that the November 20, 2023 “rectified the mistake”
                           of the district court’s November 17, 2023 text orders that
                           are under appeal in Appeal No. 23-1967 showing
                           continuing “interference with the accuracy of the court’s
                           record for the appeal” by rectifying mistakes after the
                           appeal and while the appeal is pending without
                           authorization from the court of appeals
                              In the void February 1, 2024 district court order, (ECF

                           48) the functus officio district court admits that the

                           November 20, 2023 order purported to “rectify the mistake”

                           of the two Text Orders of November 17, 2023 that are under

                           appeal in Appeal No. 23-1967. Appellant quotes the


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                           February 1, 2024 order, last paragraph of the last page of the

                           order “ … Text Order (Nov. 20, 2023). Thus, the purported

                           mistake has been rectified.” The Appellant attaches

                           herewith the screenshot of the void February 1, 2024 order

                           bearing Judge Smith’s signature, and under Fed. R. Evid.

                           201 requests judicial notice of the screenshot pasted to this

                           Show Cause here below (see page 14 of this Show Cause):




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                            Therefore, Judge Smith admits that on November 20, 2023,

                           when the district court became divested of jurisdiction, the

                           district court issued the void order purportedly to “rectify the



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                             mistake” of the district court order’s November 17, 2023

                             text orders.

                                This Court is fully cognizant of the interference with the

                             accuracy of the record on appeal Judge Smith’s admitted

                             rectification caused. It is crystal clear that the functus

                             officio judge Smith lacked any authority on November 20,

                             2023 to modify the two November 17, 2023 district court

                             text orders issued before the filing of the Notice of Appeal

                             without the authority of the court of appeals.

            Therefore, Appeal No. 23-1967 and 23-1978 should be consolidated.


            III.   Judge Smith’s Functus Officio obstructions and interferences of
                   the appeal in this matter appears to be calculated to conceal from
                   judicial notice of the crucial fact that he was Defendant-
                   Appellees’ chief outside counsel at Edwards & Angell
                   representing the State of Rhode Island at the time of the 1996
                   Amendment of Title IV-D of the Social Security Act


                   The pinnacle matter of this action at law is the fact that the Rhode

                   Island Appellees in an organized and deliberate manner fail to comply

                   with the 1996 Amendment to Title IV Part D of the Social Security

                   Act. Indeed, the billion dollar question at the heart of the matter is the

                   extent to which the organized knowing failure to comply with Title IV


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                   pervades the 42 U.S.C. sec. 654(1) political subdivisions of Rhode

                   Island, and thus the amount in billions of dollars of penalties and

                   fines, that may involve jail time, incurred and accrued since 1996

                   when Judge Smith was the chief outside counsel of the Rhode Island

                   Appellees and their employees.

                         Title IV, one of the largest federal-state cooperative Entitlement

                   Program appropriated hundreds of billions to trillions of dollars

                   annually, saw Congress enact meaningful penalties against

                   noncompliant states in 1996, and as such Judge Smith as the lead

                   outside counsel for an extensive majority of the political subdivisions

                   of the State of Rhode Island had and should have had knowledge of

                   issues of noncompliance with Title IV-D, Title IV-A and 42 U.S.C.

                   sec. 654.

                         Accordingly, in support of this Show Cause, Appellant moves

                   for judicial notice of the following, pursuant to Fed. R. Evid. 201

                   and the Court’s inherent truth-seeking authority.

                   Diligently scouring the federal appellate rules and procedures,

                   Appellant could not find any explicit requirements to file a stand-

                   alone separate application or motion for Fed. R. Evid. 201 for judicial

                   notice, therefore, if Appellant, just as do judges and courts that make


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                   mistakes, respectfully requests good cause or excusable neglect

                   reasons for failing to find any textually explicit requirement to file a

                   motion for judicial notice under Fed. R. Evid. 201 separately. If the

                   Court so orders, Appellant will absolutely comply.

            IV.    Appellant’s Motion pursuant to Fed. R. Evid. 201 and 18 U.S.C.
                   sec. 4 for Judicial Notice of the Commission of Organized Crimes

                   Under Fed. R. Evid. 201 and pursuant to U.S.C. § 4, 18 U.S.C. § 666

                   18 U.S.C. § 287 - making false, fictitious claims,

                   18 U.S.C. § 371 - conspiracy to defraud the United States,

                   18 U.S.C. § 1001 - false documents or false statements to a federal

                   agency,

                   18 U.S.C. § 1341 - mail fraud,

                   18 U.S.C. § 1343 - wire fraud,

                   18 U.S.C. § 641 - Public money, property or records,

                   31 U.S.C. § 3279 - federal civil false claims act Et al. , Appellant

                   respectfully requests judicial notice of all that is made known to

                   judges of the United States below.

                         Under Fed. R. Evid. 201(e), Appellant requests for a hearing

                   on Appellant’s motion to take judicial notice.




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             The Court may take judicial notice of any matter “not subject to reasonable

       dispute because it . . . can be accurately and readily determined from sources

       whose accuracy cannot reasonably be questioned.” Fed R. Evid. 201(b).

             The legislations publication, concurrent litigation court information, United

       States’ Briefs and Judge-Created Laws are available through the Congress’s

       official website, through the Rhode Island Publications of State Legislations,

       through Rhode Island’s Digital Courts’ online portals, and through the United

       States Department of Justice Website, and, thus, is properly subject to judicial

       notice. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir.

       2010) (taking judicial notice of information contained in school district websites).

             The State Policy attached in Exhibit A was not available until 2024 and is

       highly indisputable fact. It is a written policy regarding, inter alia, the removal of

       interest from the automated data processing and information retrieval system in

       interstate cases, and at the top of the one page policy, it states, “This specification

       will outline the process by which interstate cases are selected, automatic

       adjustments are created, and support orders are modified all for the purpose of

       removing interest from interstate cases.” It is directly relevant to and at the heart

       of this INTERSTATE matter. Rhode Island’s policy and practice administering

       the Title IV Program requiring by Policy “Specification for OCSS Change Order”

       the systemic unlawful and fraudulent removal from the automated data processing
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       and information retrieval system mandated by 42 U.S.C. sec. 654, thus creating,

       inter alia, false accounting records, false certifications to the State of TEXAS and

       to the UNITED STATES under 42 U.S.C. sec. 654 and 42 U.S.C. sec. 666 are

       crucial factual allegations at the heart of this matter – see Amended Complaint,

       ECF 25. And Judge Smith knew and should have known and advised the Rhode

       Island Appellees on the legality of this scheme from 1996 to the time of his

       appointment as Federal Judge in 2002. As such, Judge Smith had an obligation to

       make it known to a judge or other civil or military authority of the United States

       under 18 U.S.C. sec. 4.

             The next paragraph of this Policy states, “It is desirable for the Rhode Island

       Office of Child Support Services (OCSS) to prohibit the charging of interest on

       interstate cases. This is manually done by placing an N in the interest field on page

       2 of the support order. Entry of the N not only prohibits the charging of future

       interest but automatically creates adjustments to zero out any existing interest.”

             The last paragraph of this one-page policy states, “Two reports will be

       created” for several different categories of various manual adjustments N, Y, B or

       P. Therefore, in this interstate case targeting TEXAS, interest was manually

       removed from the system when Rhode Island falsely certified the accuracy of the

       total amount due in violation of, inter alia, 42 U.S.C. sec. 666(14), lying and

       deceiving TEXAS that there is no interest when in fact the interest amounting to
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       tens of thousands of dollars were unlawfully and fraudulently removed from the

       system. This simultaneously created a false certification to the UNITED STATES

       under the Title IV-D and Title IV-A Programs to fraudulently certify that Rhode

       Island is in compliant with Title IV in order to procure billions of dollars of federal

       funding it is ineligible for, which automated system adjustments to conceal the

       noncompliant 12% compound interest and false certification acts since the 1996

       Amendments to 42 U.S.C. sec. 654, incurred and accrued over a billion dollars.

             At the bottom of the Policy page, it is dated January 25, 2011. 12%

       compound interest was established in 2012 in Appellant’s case. Therefore, the

       Policy affects and is directly and materially relevant to this matter.

             The screenshots of the Appellees’ State Plan operated online Child Support

       account that is operated by the State Plan’s automated data processing and

       information retrieval system are extensively described in the Amended Complaint

       in this matter. The Policy is relevant because it states the policy that “it is

       undesirable for the Rhode Office of Child Support Services to charge interest in

       interstate cases.” The Amended Complaint describes an interstate case in which

       interest is charged by the Appellees. The policy is moreover relevant because it

       states “two reports” will be created that shows retrieval of data from the automated

       data processing and retrieval system, one with adjustments and another without

       adjustments, which is described in the Amended Complaint, describing at least
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       seven different sets of books of accounts showing accounting fraud in interstate

       cases. The Policy describing detailed instructions on how to make adjustments to

       the automated data processing and information retrieval system to create two

       reports in interstate cases relating to adjustments of “undesirable” interest in

       interstate cases shows an organized falsification of certification and government

       records in Title IV-D Program official records and documents, that are

       straightforward criminal. That “undesirable” interest in interstate cases concerns

       the routine establishment and enforcement of 12% compound interest in Rhode

       Island under color of state law, R.I.G.L. sec. 15-5-16.5. It is “undesirable” because

       under Title IV-D, specifically 42 U.S.C. sec. 654(21)(A), 12% compound interest

       is prohibited, and it is “undesirable” in interstate cases because Rhode Island

       knows full well that the 12% compound interest state legislation is preempted by

       42 U.S.C. sec. 654(21)(A) upon State’s acceptance of participation in Title IV-D.

       The Policy evidences the knowing violation and organized Rhode Island

       circumvention of 42 U.S.C. sec. 654(21)(A) through the creation of multiple books

       or reports of accounts that are false in interstate cases. The Policy evidences that

       the charging of the color of state law 12% compound interest necessarily involves

       a symbiotic entity that establishes the “undesirable” 12% compound interest in

       interstate cases – that would be the 42 U.S.C. sec. 654(1) state political




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       subdivision, Rhode Island state family court and certain pliant judges sitting

       therein.

             The Younger abstention issue squarely before this Court then is, unlike other

       state proceedings, the federal government is heavily involved in Title IV-D

       proceedings, and prescribed explicitly by statute tens of millions of dollars of

       penalty liable by the State for a single unwilful noncompliance. This State Policy

       (Exhibit A) that explicitly provides for “it is undesirable to charge interest in

       interstate cases” and the creations of “two reports” resulting from “adjustments” to

       the automated data processing and information retrieval system in interstate cases

       makes it plain that noncompliance is not just willful by policy and systemic, but

       also involves acts that violate the Federal Criminal Codes, as it entails theft of the

       Federal Program Funding under 18 U.S.C. sec. 666 and 18 U.S.C. sec. 641 through

       falsification of records. Therefore, does the Comity envisioned in our Union

       envisioned by Appellees and the district court under Younger Abstention apply

       when the federal preemptive statutory text of Title IV-D explicitly provide for

       steep penalties for single noncompliance in fiscal year that runs up to tens of

       millions of dollars, with a penalty compounding effect (of its own!) of subsequent

       State failures up to 30% of the amount of federal funding paid to the State –

       certainly additional penalties accrued in 2023 and now in 2024 directly as a result

       of applying Younger Abstention, and that certainly is not in the State’s interest to

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       continue to fail to comply, willfully, in light of Appellant’s challenges, here, in

       Appeal No. 23-1967, 23-1978 and in yet a possible fourth appeal.

             The Appellant is introducing highly indisputable facts.

             These facts are compelling because they provide a tantamount service to the

       United States and are moreover proffered to the Judges of the United States under

       18 U.S.C. sec. 4.

             Under the Appellate Court’s inherent equitable authority, moreover, the

       federal courts of appeals have relied on the truth-seeking function of the judiciary

       to permit supplementation of evidence. See., e.g., “It would be nonsensical to

       overlook the existence of materials that bear heavily on the contested issue.”

       Colbert v. Potter, 471 F.3d 158, 166 (D.C. Cir. 2006). Here, one of the threshold

       issues of Younger Abstention is whether the limited jurisdiction state family court,

       itself a 42 U.S.C. sec. 654(1) political subdivision that 42 U.S.C. sec. 654 binds,

       has the authority to enforce, establish or address Rhode Island’s routine 42 U.S.C.

       sec. 654(21)(A) prohibited 12% compound interest on overdue support under color

       of state law when Rhode Island participates in Title IV-D that Congress in its

       statutory text explicitly preempts State general laws and State constitutions to the

       extent that Congress prescribes “Grace Periods for Effective Date” prescribing the

       States to amend the State constitution for compliance, or whether proceedings as


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       such lack any authority under the law as plainly “under color of state law” void,

       voidable and nullity proceedings that are fraudulent and penalty-incurring (tens of

       millions of dollars for a single willful violation under Title IV-D). Therefore, in

       this case, Rhode Island’s noncompliance incurs monetary liability that are in the

       tens of millions of dollars per single violation explicitly prescribed by Congress in

       42 U.S.C. sec. 654. States lack any interest in the knowing and abusive violation

       of the preemptive 42 U.S.C. sec. 654, abusively dressed up as a state “interest to

       enforce child support.” In reality, Rhode Island has an overwhelming and

       compelling State interest to comply with 42 U.S.C. sec. 654 rather than violate

       provisions of 42 U.S.C. sec. 654. For this First Circuit, the question of the

       resulting harm inflicted on the State of Texas to have to then address the

       unenforceability and issues of void judgments under color of Rhode Island state

       law, and Rhode Island’s inherent attempt to harm citizens of Texas, harming

       Texas’s State interest, as well as Texas Appellant’s individual interests, must be

       decided, and the decision affects the National Interest and the Public’s Interest

       nationally. This Court must take judicial notice of the fact that all other applicable

       federal districts within the First Circuit, Massachusetts, New Hampshire, Maine are

       42 U.S.C. sec. 654(21)(A) compliant (setting 0% - 6% interest). Title IV-D also

       specifically prescribes federal and states review (executive and judicial) of whether

       support orders are enforceable and Congress cast doubt to the accuracy of support


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       orders and enforcement operations that prompted Congress to act and enact the

       1996 Amendments to 42 U.S.C. sec. 654, specifically explicitly providing penalties

       that could amount to tens of millions of dollars to over hundred million dollars in a

       fiscal year for State noncompliance – to wit the $10 million penalty incurred by

       South Carolina in 2010 described in the United States Brief in the seminal case,

       Turner v. Rogers. It is against the public interest and against the “Comity” to

       permit the wanton continuation of Rhode Island’s 12% compound interest under

       color of state law targeting noncustodial victims that, if allowed to mushroom,

       reaches its tentacles across all corners of the United States, out of an inequitable

       disproportionate concern for Appellee-alleged Rhode Island’s “interest” that

       essentially is no interest at all. Essentially, it is in Rhode Island’s interest to

       comply with 42 U.S.C. sec. 654. For the majority law-abiding 360 million

       population’s interest in the United States to subserve to the law-violating Rhode

       Island’s Appellee-alleged “state interest,” in essence, non-interest, runs afoul of

       Inherent Justice for all.

              The Court’s Truth-Seeking Function and Fed. R. Evid. 201

              I.      Inherent Equitable Authority

              The lower court dismissed Appellant’s Amended Complaint without leave to

       amend, with the Appellees answering the Amended Complaint. The First


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       Amended Complaint in that action amends the original complaint filed in the

       action at law filed on March 30, 2023, based on factual circumstances here, namely

       presenting in pleading of facts supported by evidence produced by the State

       Appellees pursuant to court ordered discovery since seven months ago in February

       2023 by the family court in State ex. rel. Gero Meyersiek v. Mary Seguin,

       K20010521M and information obtained through statutory right of access to public

       records via federal and state freedom of information act and access to public

       records acts.

             Federal courts of appeals have held that a plaintiff appealing an FRCP 12(b)

       dismissal may request that the court consider extra-record materials, in determining

       whether the complaint should have been dismissed without leave to amend. In

       Orthmann v. Apple River Campground, Inc., 757 F.2d 909 (7th Cir. 1985), for

       example, the Seventh Circuit considered evidence produced during discovery in a

       parallel case but never introduced at trial in the case on appeal.

             As Judge Posner explained in Orthmann, although the materials presented

       for the first time on appeal were "no part of the official record," the appellant,

       hoping "to show that the complaint should not have been dismissed on its face"

       could present "an unsubstantiated version of the events," so long as that story "was

       not inconsistent with the allegations of the complaint." Orthmann, supra n. 46, at

       914-15.
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             The supplemental materials, he noted, "[were] usable to show how the

       accident might have happened." Id. at 915.

             Here, the supplemental materials are usable to show how the breach of

       contract, fraud and deprivation of Constitutional rights might have happened, since

       much of the legislative history and statutory notes of 42 U.S.C. sec. 654 showing

       its preemptive effect on State legislation as well as State constitutions, and the

       State’s prima facie Policy showing its “work-around” scheme to circumvent

       detection of its unlawful 12% compound interest through the creation of “two

       reports” that are then interchangeably used to cover up the unlawful 12%

       compound interest when certifying to Texas and to the United States, then another

       “report” when it enforces the unlawful 12% compound interest in the state’s family

       court and intrastate under color of state law are usable to show how the breach of

       contract and fraud, as well as deprivation of Appellant’s due process rights

       protected by 42 U.S.C. sec. 654 as well as Federal Constitutional rights happened

       with organized intent by the Appellees.

             Appellant relies on the 2024 recently discovered State Policy to show how

       breach of contract, fraud and deprivation of Constitutional rights might have been

       established and, accordingly, why the district court should not have dismissed

       Appellant’s complaint, not even without leave to amend. Moreover, this evidence



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       corroborates the Amended Complaint filed in the concurrent matter before this

       Court of Appeals, in Appeal Case. No. 23-1967.

             Accordingly, Appellant files this motion pursuant to the Court’s inherent

       truth seeking function authority to supplement the record.

             II.     Federal Rules of Evidence 201

             Under Fed. R. Evid. 201, federal courts of appeals can take judicial notice of

       highly indisputable facts or other court proceedings that directly relate to the issues

       on appeal. The record on appeal is subject to the right of an appellate court to take

       judicial notice of new developments not considered by the lower court.” See e.g.

       Landy v. FDIC, 486 F.2d 139, 151 (3d Cir. 1973). Parties may in consequence seek

       to supplement the appellate record with new materials under Fed. R. Fed. 201.

                Judicial Notice of Legislative Acts by Congress and Congressional statutory

       notes and texts that explicitly provide for the preemptive effect of 42 U.S.C. sec.

       654 over State general laws and State constitutions, are under Fed. R. Evid. 201[a]

       Advisory Committee’s note or are “established truths, facts or pronouncements that

       do not change from case to case” and “do not relate specifically to the…litigants.”

       [United States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. In general, courts are

       free to take notice of legislative facts, including research data and writings like

       those cited in the famous “Brandeis briefs.” Appellate courts take judicial notice of


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       such legislative facts, because they help them develop reasonable rules of law that

       will apply in future cases.

             Appellant was not aware of the Rhode Island State Policy that prohibits the

       charging of interest rate in interstate cases until 2024, see Appellee Rhode Island

       Office of Child Support Services Policy Exhibit A. Therefore, this evidence was

       not available at the time final judgment was issued on October 19, 2023 in this

       matter. Judicial Notice, in aid of the court, is respectfully requested of it. Whether

       requesting or opposing judicial notice, litigants have a right to be heard on the

       issue under Rule 201[e], therefore, Appellant requests a hearing on the issue

       under Rule 201(e).

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995]. See also, White v. Gaetz, 588 F.3d 1135, 1137 n. 2 (7th Cir.

       2009) (taking judicial notice of state court transcript). The federal courts of

       appeals may take judicial notice of a proceeding in another court if the proceeding
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       has a direct connection to the issues on appeal, See Philips Med. Sys. Intl., B.V. v.

       Bruetman, 982 F.2d 211, 215 (7th Cir. 1992).

             Appellant respectfully requests the Court to take judicial notice under Fed.

       R. Evid. 201 of the attached Objection and Notice to Take Judicial Notice Pursuant

       to Fed. R. Evid 201 and 18 U.S.C. sec. 4 filed in Appeal No. 23-1967, Document:

       00118126457 filed on March 29, 2024. See Exhibit B. Document: 00118126457.

             Judicial Notice in practice is taken at any time of a proceeding, including for

       the first time on appeal, of legislative history and statutory amendments, etc.,, e.g.,

       the legislative history of 42 U.S.C. sec. 654 regarding Congress’s Amendment in

       1996. This similarly applies to the State of Rhode Island’s legislative history, to

       wit, the failure of Rhode Island Gen. Law. 15-5-16.5 to comply with the 1996

       Amendment of 42 U.S.C. sec. 654. 42 U.S.C. sec. 654 makes it explicitly clear

       that such failures incur penalties. The fact that Rhode Island family court is a court

       of limited jurisdiction, as prescribed by R.I. Gen. Law. 8-10-3 where limited relief

       is authorized by State legislation is a matter of legislative fact, that in practice is

       judicially noted at any time of a proceeding, including for the first time on appeal.

             Appellant attaches the above legislations, requesting judicial notice of

       Congress’s publication of 42 U.S.C. sec. 654 that answers all threshold questions

       of jurisdiction. The Congressional 1996 Amendment for 42 U.S.C. sec. 654


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       explicitly make clear that 42 U.S.C. sec. 654 preempts State laws and State

       constitutions, and mandates that participating States must change State laws and

       amend State constitutions accordingly to comply with the 1996 Amendment

       provisions of 42 U.S.C. sec. 654. The pre-emptive effect of the explicit language

       in the statutory provisions under Amendment 1996 of 42 U.S.C. sec. 654 make

       clear that the State of Rhode Island is operating an unlawful State Plan that

       unlawfully charges 12% compound interest on overdue support under color of state

       law, which noncompliant state law is the basis of the current “State enforcement”

       of its routine “court orders” charging 12% compound interest without jurisdiction.

       Moreover, the fact that since 1996 Rhode Island falsely certified to the United

       States for the past twenty-eight (28) years that its State laws are compliant with 42

       U.S.C. sec. 654 violates Federal Criminal Codes, is a fact that this Court must take

       judicial notice under Fed. R. Evid. 201, its inherent truth-seeking authority, and

       under Appellant’s invocation of 18 U.S.C. sec. 4. Since a trial did not occur in

       this matter, at this juncture the Court must take all factual allegations in the

       Amended Complaint in this matter as true, and it plainly pleads that the State

       Appellee represented to the Appellant in Texas that if Appellant paid $104,185.98

       in one lump sum, Appellee Gero Meyersiek waived interest, and that the

       $104,185.98 is a pay-off amount that does not include interest. And this allegedly

       enforceable interest was established under R.I. Gen Laws 15-5-16.5 that is


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       explicitly preempted by 42 U.S.C. sec. 654 upon Rhode Island’s acceptance of

       participation in 42 U.S.C. sec. 654 since 1996, along with the 1996 Amendment’s

       explicitly provided penalties for noncompliance – in Rhode Island’s case, as shown

       by the posture of the Appellees in multiple jurisdictions, the noncompliance is

       willful and defiant. Rhode Island is free to continue enforcing its 12% compound

       interest state law, but that, by Federal Law, requires withdrawing from

       participation in Title IV, per the plain language of Title IV-D, and paying the

       penalties it incurred and accrued since 1996 during Rhode Island’s participation

       that amounts to up to billions of dollars, as explicitly provided for in 42 U.S.C. sec.

       654 to make the United States whole. To make Appellant whole, Appellant seeks

       millions of dollars in damages in this action at law.

             Appellee Gero Meyersiek changed his mind after the Texas Appellant

       accepted the offer in Texas, performed and paid the lump sum $104,185.98. The

       “changed his mind” entailed the action of “putting interest back on the system” that

       consists of 12% compound interest (see attached R.I.G.L. sec. 15-5-16.5.).

             Since the State Plan that charges 12% compound interest, takes interest off

       the system only during certifications to the TEXAS and UNITED STATES

       authorities, and then puts interest back on the system when Appellee Gero

       Meyersiek “changed his mind” waiving interest after Texas Appellant performed

       on the terms of the agreement, it is abundantly clear that the Appellees,
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       government and private persons, operate a criminally unlawful State Plan. Since

       all Appellees participate in the “take interest off the system” when certifying to

       TEXAS and when certifying to the UNITED STATES the total support due, and

       since the State Policy provides for the creation of “two reports,” Fed. R.Evidence

       201 evidence is abundantly clear before this Court and before a panel of “some

       judges” pursuant to the pending Fed. R. App. P 8(a)(2)(D) motion supported by

       affidavit in Appeal No. 23-1967 of organized criminal fraud and the lack of

       jurisdiction of the limited jurisdiction state family court to issue orders for 12%

       compound interest on overdue support that 42 U.S.C. 654(21)(A) explicitly

       prohibits, this Court must take judicial notice of legislative and adjudicative facts

       relating to these critical matters materially relevant to this case.

             For the convenience of the Judges of this Court, Appellant attached hereto

       Congress’s publication of 42 U.S.C.. sec. 654, the RI Gen. Law 15-5-16.5.

             Appellees’ request to strike Fed. R. Evid. 201 evidence of crimes made

       known to “some judges” under 18 U.S.C. sec. 4 from the record in a matter that

       involves Appellees’ organized criminal activity that violates, inter alia, 18 U.S.C.

       sec. 666 and 18 U.S.C. sec. 641, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 - false

       documents or false statements to a federal agency,18 U.S.C. § 1341 - mail fraud,



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       18 U.S.C. § 1343 - wire fraud by the Appellees is an obstruction of an official

       proceeding and an obstruction of justice.

             Finally, undisputed Appellees’ operational evidence that includes unlawful

       redactions made sense only after the availability in 2024 of the State Policy that

       evidences the State Plan operating an unlawful Child Support enforcement

       program by policy of creating “two reports” in interstate cases, one with the

       unlawful 12% compound interest to enforce under color of law, and one report for

       the purposes of making false claims, false certifications, and falsifying official

       government documents to unlawfully apply for Federal Title IV Program funding

       that the Appellees knew Rhode Island is ineligible for. That amounts to billions of

       dollars of theft against the United States.

             Emphatically, Congress intended, by making “some judge(s)”…”of the

       United States” to whom the commission of crimes is mandated to be made known,

       explicitly conferred the duty on Judges of the United States under Federal Criminal

       Law the same duty, obligations and responsibility acting as authorities under the

       United States, as the “other persons in civil or military authority under the United

       States” explicitly named in the federal criminal statute 18 U.S.C. sec. 4. Appellant

       requested Judicial Notice under 18 U.S.C. sec. 4 to the “some judges” as the

       “person in authority under the United States” under 18 U.S.C. sec. 4. Striking

       from the record Congressional legislation history of 42 U.S.C. sec. 654, State
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       legislation history, Rhode Island State Plan 42 U.S.C. sec. 654(3) State operating

       and disbursement unit’s Policy that are neither classified information nor

       confidential or privileged information to the United States are further not in the

       interest of the United States.

             Striking evidence that shows $0.00 interest on a December 6, 2021

       screenshot of the Appellee-operated 42 U.S.C. sec. 654a automated data

       processing and information retrieval system accomplishes nothing other than

       taking as true the factual allegations in the Amended Complaint that details

       Appellant being shown the $0.00 Under Interest generated by the automated data

       processing and information retrieval system. The Fed. R. Evid. visual evidence

       aids the court to visualize the truth of Appellant’s factual allegations.

             Striking evidence of a screenshot of the Appellee-operated 42 U.S.C. sec.

       654a automated data processing and information retrieval system that shows $0.00

       Payment for Appellant’s whopping lump sum $104,185.98 December 7, 2021

       payment accomplishes nothing, when the screenshot is a visual evidence of the

       “two reports” explicitly stated in the Appellee State Policy to create “two reports”

       that consist of falsified records – these are evidence in the aid of the court of

       Appellant’s 18 U.S.C. sec. 4 and Fed. R. Evid. request to take judicial notice of

       activities that harm the United States and steal from Federal Program Funds.



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             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

       Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be taken at

       any stage of the proceedings, including on appeal. In practice, appellate courts

       frequently take judicial notice of both adjudicative and legislative facts presented

       for the first time on appeal, whether requested by a party or on their own initiative.

       See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New York, N.Y.

       & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation, 311 F.3d

       534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197, 205 [3d

       Cir. 1995].

             Appellate courts take judicial notice of facts that were not available to

       litigants at trial and events that occurred after judgment was entered. For example,

       courts have taken judicial notice of guilty pleas entered in a related criminal case

       after judgment in the civil case was entered. See, e.g., Colonial Penn Ins. Co. v.

       Coil, 887 F.2d 1236, 1239 [4th Cir. 1989]. Similarly, appellate courts have taken

       judicial notice of post-judgment changes in the conditions in a foreign country

       relevant to an immigration appeal, Ivezaj v. INS , 84 F.3d 215, 218-19 [6th Cir.

       1996], as well as post-trial changes in the racial composition of a state’s judiciary

       in a discrimination suit. Southern Christian Leadership Conference of Alabama v.

       Sessions, 56 F.3d 1281, 1288 n.13 [11th Cir. 1995].



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             Certain categories of facts have long been the subject of judicial notice on

       appeal. Courts routinely take judicial notice of pleadings and records in other court

       cases [see, e.g., Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 [7th Cir.

       1983]; E.I. du Pont de Nemours & Co. Inc. v. Cullen, 791 F.2d 5, 7 [1st Cir. 1986]]

       and in administrative agency proceedings [see, e.g., Opeka v. INS, 194 F.3d 392,

       394-95 [7th Cir. 1996]], Courts are generally willing to take judicial notice of data,

       pronouncements and publications issued by the government, such as

       Environmental Protection Agency research [Nebraska v. EPA, 331 F.3d 995, 998

       n.3 [D.C. Cir. 2003]]; State Department travel warnings [Parsons v. United Tech.

       Corp ., 700 A.2d 655, 665 n.18 [Conn. 1997]]; and a federal fisheries management

       plan approved by formal rule [City of Charleston v. A Fisherman’s Best Inc., 310

       F.3d 155, 172 [4th Cir. 2002], cert. denied, 123 S.Ct. 2573 [2003]]. Appellate

       courts are also likely to take judicial notice of relevant newspaper articles [see,

       e.g., The Washington Post v. Robinson, 935 F.2d 282, 291-92 [D.C. Cir. 1991]]

       and historical information contained in authoritative publications, such as a text on

       the history of Lincoln Center [see, e.g., Hotel Employees, 311 F.3d at 540 n.1.].

             Courts take judicial notice of online information. Appellate courts have

       increasingly cited information found on the Internet. In today’s digital courts, all

       court information filed in concurrent and related state court proceedings are

       available online, on government websites, such as Rhode Island’s digital courts

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       where this Federal Appeals Court should by the plain textual language of Rhode

       Island Rules and Practice Rule 5 relating to access to court information (that denies

       the Public and pro-se litigants remote access), should have no trouble accessing

       court information through Rhode Island’s digital courts’ online portal. Rhode

       Island’s judge-created laws regarding all relating cases enforcing the 12%

       compound interest published online should also be available to this Federal Court

       online under the Government Edicts Doctrine (although they are accessible to the

       Public and to the pro-se litigants) – see Georgia v. Public.Resource.Org, Inc., 590

       U.S. ___ (2020). As with hard-copy publications, courts are most willing to take

       judicial notice of information found on government Web sites, such as the time of

       sunrise found on the Web site of the U.S. Naval Observatory [U.S. v. Bervaldi, 226

       F.3d 1256, 1266 n.9 [11th Cir. 2000]]; the prime interest rate on the Federal

       Reserve Board Web site [Levan v. Capital Cities/ABC Inc., 190 F.3d 1230, 1235

       n.12 [11th Cir. 1999]]; and records of retired military personnel on a federal Web

       site [Denius, 330 F.3d at 926]. Courts have even been willing to take judicial

       notice of information on arguably less reliable commercial Internet sites, including

       mileage information on Mapquest [In re Extradition of Gonzalez, 52 F. Supp. 2d

       725, 731 n.12 [W.D. La. 1999]]; historical information on Liberia on the

       “Geocities” Web site [Bridgeway Corp. v. Citibank, 45 F. Supp. 2d 276, 278 n.2

       [S.D.N.Y. 1999]]; and information regarding a bank’s ownership from the bank’s


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       Web site [see Laborers’ Pension Fund v. Blackmore Sewer Constr. Inc., 298 F.3d

       600, 607 [7th Cir. 2002]]. Therefore, information on the complete extent of Rhode

       Island’s citizenry harmed by the State’s unlawful establishment and enforcement

       of the unlawful and Title IV-D-preempted 12% compound interest under color of

       state law that is available online on Rhode Island’s Government’s Digital Courts

       Website, is reliable, is judge-created by state judges, and is directly related to the

       Amended Complaint, motion to amend complaint nunc pro tunc, the September

       28, 2023 judgment in this matter, and the State Policy attached in Exhibit A that

       was available to the Appellant in 2024, after the Appellant filed her Opening Brief

       in 2023 pursuant to the Court’s Briefing schedule.

             The use of judicial notice spans a wide spectrum of cases, from the most

       historically significant-such as Chief Justice Earl Warren’s reliance in Brown v.

       Board of Ed., 347 U.S. 483, 494 n.11 [1954], on scholarly publications

       documenting the effect of segregated schools on minority children-to the most

       mundane, such as the 2d U.S. Circuit Court of Appeals’ judicial notice of the

       “traditional features of a snowman.” Eden Toys Inc. v. Marshall Field & Co., 675

       F.2d 498, 500 n.1 [2d Cir. 1982].

             In general, courts are free to take notice of legislative facts, including

       research data and writings like those cited in the famous “Brandeis briefs.”

       Appellate courts are understandably more willing to take judicial notice of such
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       legislative facts, because they help them develop reasonable rules of law that will

       apply in future cases. “Legislative facts,” which are facts of general “relevance to

       legal reasoning and the lawmaking process” [Fed. R. Evid. 201[a] Advisory

       Committee’s note] or are “established truths, facts or pronouncements that do not

       change from case to case” and “do not relate specifically to the…litigants.” [United

       States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. 42 U.S.C. sec. 654 relates to

       all interested parties and the United States, and are established truths and facts that

       do not change from case to case, and do not specifically only apply just to this

       matter. Likewise R.I. Gen. Laws. Sec, 15-5-16.5 relates to all interested parties

       and the United States, not just to this matter. Likewise the Appellees’ State Policy

       prohibiting the charging of interest in interstate cases and creating “two reports”

       from the policy adjustments to the 42 U.S.C. sec. 654a automated data processing

       and information retrieval system is established truths and facts that do not change

       from case to case, and do not specifically only apply just to this matter. The

       resultant Screenshot evidence of the resulting false records created by the “two

       reports” do not change because Rhode Island creates two reports in intrastate cases

       in order to evade detection of the unlawful 12% compound interest under color of

       state law, one for enforcement under color of law, one for false certification of

       State Plan compliance to the United States Title IV Program. While full suite of

       issues concerning State noncompliance with 42 U.S.C. sec. 654 this Court notices


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       under the Turner v. Rogers Amicus Brief submitted by the United States can be

       noticed on the Court’s own initiative, however, the full suite of the issues

       contained therein made sense of the State Policy that was not available to the

       Appellant under 2024 – nevertheless, Appellant makes known this evidence to the

       judges of the First Circuit Court of Appeals under 18 U.S.C. sec. 4 and Fed. R.

       Evid. 201.

       As such, all public truths and facts and publications “made known” to this Court

       under 18 U.S.C. sec. 4 and Fed. R. Evid. 201 should be judicially noticed.

       Appellant attaches the Brief hereto.

             Appellant declares under Fed. R. Evid. 201 and 28 U.S.C. sec. 1746(2),

       that all the facts “made known” to the United States Panel of Judges invoking

       18 U.S.C. sec. 4 and/or Fed. R. Evid. 201 in Appellant’s Notice of the

       Commission of Facts are true to the best of Appellant’s knowledge.

             Appellant attaches hereto the 18 U.S.C. sec. 4 materials that are subject

       of this Fed. R. Evid. 201 Motion to Take Judicial Notice.

             Accordingly, Appellant requests judicial notice of the documents attached

       here to. Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a

       hearing.




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                                           CONCLUSION

             For the above reasons the Court should consolidate Appeal No. 23-1967 and

       Appeal No. 23-1978.

       Respectfully submitted,
                                      Mary Seguin
                                      Pro Se
                                      /s/____________________
                                      Email: maryseguin22022@gmail.com
                                      Phone: (281)744-2016
                                      P.O. Box 22022
                                      Houston, TX 77019

                                      Dated: March 31, 2024

                                 CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 31, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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                                 EXHIBIT I.
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                                              Form 1A

              Notice of Appeal to a Court of Appeals From a Judgment of a District Court

                                  United States District Court for the
                                       District of Rhode Island
                                Docket Number 1:23-cv-126-WES-PAS


       MARY SEGUIN, Plaintiff

       v.                                         Notice of Appeal

       RHODE ISLAND DEPARTMENT
       OF HUMAN SERVICES in its
       official capacity; MICHAEL D.
       COLEMAN, DEBORAH A.
       BARCLAY in their individual and
       official capacities;
       RHODE ISLAND OFFICE OF
       CHILD SUPPORT SERVICES in its
       official capacity; KEVIN TIGHE,
       MONIQUE BONIN, FRANK
       DIBIASE, WENDY FOBERT,
       KARLA CABALLEROS,
       TIMOTHY FLYNN, LISA
       PINSONNEAULT, CARL
       BEAUREGARD, PRISCILLA
       GLUCKSMAN, JOHN LANGLOIS,
       PAUL GOULD, in their individual
       and official capacities; RHODE
       ISLAND STATE COURT SYSTEM
       in its official capacity; PAUL A.
       SUTTELL in his individual and
       official capacity as EXECUTIVE
       HEAD OF RHODE ISLAND
       STATE COURT SYSTEM; RHODE
       ISLAND ADMINISTRATIVE
       OFFICE OF STATE COURTS in its
       official capacity; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its
       official capacity; RHODE ISLAND
       JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT in its official
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       capacity; RHODE ISLAND
       SUPERIOR COURT JUDICIAL
       COUNCIL in its official capacity;
       THE JUDICIAL TECHNOLOGY
       CENTER in its official capacity;
       JULIE HAMIL, MARISA BROWN,
       JOHN JOSEPH BAXTER, JR.,
       JUSTIN CORREA in their
       individual and official capacities;
       RHODE ISLAND OFFICE OF THE
       ATTORNEY GENERAL in its
       official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY
       GENERAL OPEN GOVERNMENT
       UNIT in its official capacity; ADAM
       D. ROACH, PETER NERONHA in
       their official and individual
       capacities; TYLER
       TECHNOLOGIES, INC.; GERO
       MEYERSIEK, Defendants

       MARY SEGUIN (name all parties taking the appeal) ∗ appeals to the United States Court of
       Appeals for the FIRST Circuit from the final judgment entered on October 19, 2023 (state the
       date the judgment was entered).


                                                                   Mary Seguin
                                                                   Pro Se
                                                                   /s/____________________
                                                                   Email: maryseguin22022@gmail.com
                                                                   Phone: (281)744-2016
                                                                   P.O. Box 22022
                                                                   Houston, TX 77019

                                                                   Dated: November 17, 2023




       ∗
           See Rule 3(c) for permissible ways of identifying appellants.
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                    Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                PLAINTIFF’S DOCKETING STATEMENT TO THE UNITED STATES COURT

          OF APPEALS FOR THE FIRST CIRCUIT AND THE UNITED STATES DISTRICT

                             COURT OF THE DISTRICT OF RHODE ISLAND

               1. Plaintiff, proceeding pro se from and as a citizen of Texas, respectfully states to the

                    U.S. Court of Appeals for the First Circuit and the United States District Court of the

                    District of Rhode Island that this case is related to the pending appellate case, Mary

                    Seguin v. Rhode Island Office of Child Support Services, et al, Case Number 23-1851.
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              2. Plaintiff respectfully requests the U.S. Court of Appeals for the First Circuit to review

                 Plaintiff’s timely filed Rule 59 Motion and Rule 60 Motion that were filed in the U.S.

                 District Court of the District of Rhode Island on November 16, 2023 as proper part of

                 the record of appeal. Prior to filing this Notice of Appeal, Plaintiff also filed a Rule

                 60(b)(1) Motion regarding the District Court’s interference with Plaintiff’s right to

                 file Rule 59 and Rule 60 post judgement in which Plaintiff sought to preserve issues

                 for appeal on the record. Plaintiff attaches all relevant documentation, including all

                 relevant emails to the Clerk of the Court of the District Court and Plaintiff’s properly

                 filed post judgment motions pursuant to Rule 59 and Rule 60 herein to this Notice of

                 Appeal and Docket Statement.

              3. Plaintiff’s Rule 59 Motion was filed on November 16, 2023, which the District Court

                 of Rhode Island refused to docket on the record, pursuant to instructions by Judge

                 Smith.

              4. Plaintiff’s first Rule 60 Motion was filed on November 16, 2023, which the District

                 Court of Rhode Island refused to docket on the record, pursuant to instructions by

                 Judge Smith.

              5. Plaintiff attaches the aforesaid post judgment Motions and requests appellate review

                 under these extraordinary and troubling factual circumstances that violate and

                 obstruct the fundamental First Amendment right of access to the Court of Record, due

                 process and obstruction to justice in the First Circuit, and inter alia, interference with

                 the accuracy of the court’s record for appeal in this matter.



                                           CERTIFICATE OF SERVICE
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                                           854




              I HEREBY CERTIFY that on November 16, 2023, I filed the within Motion with the

       Clerk of the Court via email.

                                                       Respectfully submitted,
                                                       Mary Seguin
                                                       Pro Se
                                                       /s/____________________
                                                       Email: maryseguin22022@gmail.com
                                                       Phone: (281)744-2016
                                                       P.O. Box 22022
                                                       Houston, TX 77019

                                                       Dated: November 17, 2023
Case:
Case:23-1978
      23-1978
      Case      Document:
                 Document:00118189824
                           00118126723
           1:23-cv-00126-WES-PAS        Page:
                                        Page:32
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 ÿÿ0ÿ55ÿÿÿ!"#$ÿ ÿ%&'(&)(ÿ0!!ÿ9ÿ56789ÿ*ÿ9
 "6+,ÿ-ÿ.8 1 ÿ562*96 ÿ6,ÿ1/ÿ09*9ÿ#,9 ÿÿ)12*)%354#5
 0123ÿ56789ÿ56789:;<=>?@@A@@B<67>CDEF6G                                                                H8>IÿKFLÿMNIÿ@A@Oÿ7PÿMQORÿST
 U87VP
   U;78ÿWC;8X:ÿFVÿPY;ÿWF=8PI
   Zÿ:[FX;ÿ\>PYÿWC;8XÿT;<Y7?ÿPF]79ÿ8;<78]>?<ÿ7?ÿ=[]7P;ÿF?ÿPY;ÿ]FEX;P>?<ÿFVÿ69ÿ6FP>F?:D
   HFCCF\>?<ÿF=8ÿ]>:E=::>F?IÿZÿ8;:[;EPV=CC9ÿ8;^=;:PÿPY;ÿWC;8XÿFVÿPY;ÿWF=8PÿPFÿ]FEX;PÿPF]79ÿ69ÿ7PP7EY;]ÿ_=C;ÿ̀AabcaMcÿTFP>F?I
   ]7P;]ÿKFL;6b;8ÿMNIÿ@A@OIÿPY7Pÿ>:ÿP>6;d:;?:>P>L;D
   SC;7:;ÿ67X;ÿ:=8;ÿPY7Pÿ69ÿ7PP7EY;]ÿ_=C;ÿ̀AabcaMcÿTFP>F?ÿ>:ÿ]FEX;P;]ÿ7:ÿeWHÿO@D
   SC;7:;ÿ67X;ÿ:=8;ÿPY7PÿPY;ÿC7\ÿ>:ÿVFCCF\;]ÿPY7Pÿ69ÿ7PP7EY;]ÿ_=C;ÿ̀AabcaMcÿTFP>F?ÿ>:ÿKfgÿVF8\78];]ÿPFÿWY76b;8:ÿ[8>F8ÿPF
   ]FEX;P>?<DÿÿZÿ76ÿKfgÿ8;^=;:P>?<ÿPY;ÿWF=8PÿC;7L;ÿPFÿV>C;Iÿ:>?E;ÿ>Pÿ>:ÿ69ÿ8><YPÿPFÿV>C;ÿPY;ÿ7PP7EY;]ÿ_=C;ÿ̀AabcaMcÿTFP>F?DÿÿKF
   WY76b;8ÿ>?P;8V;8;?E;ÿ:YF=C]ÿb;ÿP7X>?<ÿ[C7E;ÿPFÿ[8;L;?PÿPY;ÿ]FEX;P>?<ÿFVÿ69ÿ7PP7EY;]ÿ_=C;ÿ̀AabcaMcÿTFP>F?D
   gY7?Xÿ9F=ÿVF8ÿ9F=8ÿ7::>:P7?E;D
   _;:[;EPV=CC9ÿh=b6>PP;]I
   T789ÿh;<=>?
   iF=:PF?Iÿg;j7:
   ddddddddddÿHF8\78];]ÿ6;::7<;ÿddddddddd
   H8F6Qÿ0123ÿ56789ÿ56789:;<=>?@@A@@B<67>CDEF6G
   U7P;QÿH8>IÿKFLÿMNIÿ@A@Oÿ7PÿM@QOOkST
   h=bl;EPQÿH\]Qÿm_neKgÿdÿgZTeÿheKhZgZoeÿdÿHZpeÿgfUqrÿ_mpeÿstÿTfgZfKÿ>?ÿh;<=>?ÿLDÿ_>ÿU;[PÿFVÿi=67?ÿh;8L>E;:ÿ;P
   7CIÿW>L>CÿqEP>F?ÿKFDÿMQ@OdELdM@`duehdSqh
   gFQÿ_ZUveWHvZKgqweÿ5_ZUveWHvZKgqweB8>]D=:EF=8P:D<FLG
   U;78ÿWC;8X:ÿFVÿPY;ÿWF=8PI
   Zÿ76ÿ8;:[;EPV=CC9ÿVFCCF\>?<ÿ=[ÿF?ÿ69ÿ_=C;ÿstÿTFP>F?ÿV>C>?<D
   r;:P;8]79IÿKFL;6b;8ÿM`Iÿ@A@OIÿ7PÿMQOMÿSTÿW;?P87Cÿg>6;IÿZÿV>C;]ÿL>7ÿ;67>Cÿb;CF\Iÿ69ÿ_=C;ÿstÿTFP>F?ÿ>?ÿPY;ÿ7bFL;
   E7[P>F?;]ÿ67PP;8Iÿh;<=>?ÿLDÿ_>ÿU;[PÿFVÿi=67?ÿh;8L>E;:ÿ;Pÿ7CIÿW>L>CÿqEP>F?ÿKFDÿMQ@OdELdM@`duehdSqhDÿÿq:ÿ>?]>E7P;]ÿ>?ÿ69
   ;67>Cÿb;CF\IÿZÿ;6[Y7:>x;]ÿPY7Pÿ]FEX;P>?<ÿPY;ÿ_=C;ÿstÿTFP>F?ÿF?ÿKFL;6b;8ÿM`Iÿ@A@Oÿ>:ÿ=8<;?PIÿPFÿEF6[C9ÿ\>PYÿPY;ÿ@Rÿ]79
   V>C>?<ÿ[F:Pdl=]<6;?Pÿ];7]C>?;Iÿ\Y>EYÿ69ÿV>C>?<ÿ6;;P:ÿdÿKFL;6b;8ÿM`Iÿ@A@Oÿ>:ÿ\>PY>?ÿPY;ÿ@Rÿ]79ÿ];7]C>?;ÿFVÿH;]Dÿ_DÿFVÿW>LD
   SDÿstÿPY7PÿPFCC:ÿPY;ÿP>6;ÿVF8ÿV>C>?<ÿ7?ÿ7[[;7CDÿÿ
   ZÿVFCCF\;]ÿ=[ÿ\>PYÿP;C;[YF?;ÿE7CC:ÿPFÿPY;ÿWC;8Xy:ÿfVV>E;ÿ7PÿMQO@ÿSTÿW;?P87Cÿg>6;Iÿ7?]ÿ7PÿOQz@ÿSTÿW;?P87Cÿg>6;ÿPFÿ8;^=;:P
   P>6;C9ÿ]FEX;PÿFVÿ69ÿ_=C;ÿstÿTFP>F?Iÿ7?]ÿPY;ÿWC;8Xy:ÿfVV>E;ÿ7::=8;]ÿ6;ÿ;7EYÿP>6;ÿPY7Pÿ7ÿ];[=P9ÿEC;8Xÿ>:ÿ\F8X>?<ÿF?ÿ>Pÿ7?]
   PY7Pÿ>Pÿ\>CCÿb;ÿ]FEX;P;]ÿF?ÿPY;ÿ]79ÿ>Pÿ\7:ÿ8;E;>L;]ÿ7?]ÿPY7PÿPY;ÿ]FEX;Pÿ\>CCÿ8;VC;EPÿPY;ÿ;67>Cÿ]7P;ÿ:P76[ÿFVÿPY;ÿ]79ÿPY;ÿ_=C;
   stÿTFP>F?ÿ>:ÿ8;E;>L;]ÿb9ÿ;67>CDÿÿH=8PY;8IÿZÿ\7:ÿPFC]ÿPY7Pÿ1ÿ-997 ÿZÿ;67>CÿPFÿPY;ÿWC;8Xy:ÿfVV>E;ÿ\>CCÿb;ÿ]FEX;P;]ÿ7?]
   EF?:>];8;]ÿb9ÿPY;ÿWF=8Pÿ7:ÿY7L>?<ÿb;;?ÿV>C;]ÿF?ÿPY;ÿ]79ÿPY7PÿPY;ÿ6FP>F?ÿ\7:ÿ;67>C;]ÿPFÿPY;ÿWC;8Xy:ÿfVV>E;D
   gY;8;VF8;Iÿ69ÿ_=C;ÿstÿTFP>F?ÿ;67>C;]ÿF?ÿKFL;6b;8ÿM`Iÿ@A@Oÿ:YF=C]ÿb;ÿ7EEF8]>?<C9ÿ]FEX;P;]ÿ7:ÿ0ÿ2ÿ\>PYÿPY;ÿ6 ,23
   -{,1,97ÿ-997ÿ ÿ*6 '62ÿ)%/ÿ2Iÿ>?ÿPY;ÿ7bFL;ÿE7[P>F?;]ÿ67PP;8Iÿh;<=>?ÿLDÿ_>ÿU;[PÿFVÿi=67?ÿh;8L>E;:ÿ;Pÿ7CIÿW>L>C
   qEP>F?ÿKFDÿMQ@OdELdM@`duehdSqhD
   iF\;L;8Iÿ7:ÿFVÿPY>:ÿP>6;IÿF?ÿKFL;6b;8ÿMNIÿ@A@Oÿ7C6F:Pÿ@zÿYF=8:ÿC7P;8Iÿ69ÿ_=C;ÿstÿTFP>F?ÿ>:ÿ:P>CCÿ?FPÿ]FEX;P;]D
   Zÿ\F=C]ÿC>X;ÿPFÿ8;:[;EPV=CC9ÿEC78>V9ÿPY7PÿPY;ÿg;jPÿf8];8ÿ]7P;]ÿfEPFb;8ÿMtIÿ@A@Oÿ>?ÿPY>:ÿ67PP;8ÿ:P7P;:ÿPY7PÿF?C9ÿ69ÿ;C;EP8F?>E
   V>C>?<ÿ[8>L>C;<;ÿ\7:ÿ8;LFX;]Iÿb=PÿPY;8;ÿ>:ÿÿF8];8ÿ8;^=>8>?<ÿPY7PÿZÿ?;;]ÿPFÿV>C;ÿVF8ÿC;7L;ÿFVÿWF=8PÿPFÿV>C;ÿ7?9ÿ[F:Pdl=]<6;?P
   6FP>F?:Iÿ:=EYÿ7:ÿ69ÿ_=C;ÿstÿTFP>F?D
Case:
Case:23-1978
      23-1978
      Case      Document:
                 Document:00118189824
                           00118126723
           1:23-cv-00126-WES-PAS        Page:
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                                    Document  288
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  012345ÿ7189 9ÿ5ÿ5ÿÿ99192ÿ9ÿ9ÿ9ÿÿ ÿ3ÿ!"ÿ#$ÿ93ÿ095ÿ32ÿ19ÿ%ÿ9
  $9 35ÿ%1ÿ1 92ÿ 9ÿ3ÿ499234ÿ9ÿ32ÿ1%3292ÿ 4ÿ&'9ÿ()ÿ$11ÿ1ÿ3 9ÿ'1ÿ995ÿ'ÿ3ÿ49ÿ1
  93ÿ3ÿ1 ÿ3 95ÿ'ÿ22ÿ1ÿ1%ÿ%3ÿ%3ÿ3' ÿ9ÿ12ÿ'ÿ%9ÿÿ392ÿ%4ÿ3 9ÿ919ÿ
  3 ÿ31ÿ*ÿ1'ÿ%ÿ3ÿ9ÿ219 ÿ239ÿ1ÿ9ÿ&'9ÿ()ÿ$11+ÿÿÿ9,992ÿ 4ÿ19ÿ1ÿ9ÿ&'9ÿ()
  293295ÿ9 3- ÿ3ÿÿ1ÿ9ÿ9ÿ1ÿ ÿ3ÿ3935ÿ9919ÿÿ99'4ÿ9.'992ÿ3ÿ9ÿ219ÿ3'394
   99ÿ 4ÿ94ÿ ÿ1ÿ 4ÿ&'9ÿ()ÿ$11ÿ1ÿ7189 9ÿ/5ÿÿ03ÿ" ÿ1$ÿ93ÿ092+
  #221345ÿÿ1 92ÿ9ÿ$9 3ÿ3ÿÿ992ÿ1ÿ9ÿ9ÿ9ÿ1 31ÿ18292ÿ3 1895ÿ32ÿÿ32ÿ31ÿ92ÿ3
  94ÿ3456ÿ89ÿ$11ÿ4992345ÿ:;<6=>6?ÿ@8AÿB9BC5ÿ3ÿDECFÿGHÿI6JK?L5ÿMN=65ÿ34ÿ9.'9 ÿ219 ÿ1ÿ99
  ÿ%3ÿ94ÿ92ÿ83ÿ9 3ÿ1ÿ1ÿ7189 9ÿ/5ÿ+ÿÿÿ9 3-92ÿ1ÿ9ÿ$9 3ÿ3ÿ99ÿÿ35ÿ3ÿ&'9ÿ/
  $11ÿ92ÿ%ÿ!ÿ234ÿ1OP'2 9ÿ1ÿ9ÿ9ÿ1ÿ ÿ3ÿ393+ÿÿ9ÿ$9 3ÿ12ÿ 9ÿ3ÿ 4ÿ&'9ÿ/ÿ$11
  %3ÿ1%3292ÿ1ÿ3 9ÿ3ÿ%9+ÿÿ#12 ÿ1ÿ9ÿ9ÿ9ÿ1 315ÿ 4ÿ3456ÿ89ÿH;KN;Jÿ992ÿ1ÿ9
  21992Q92ÿ3ÿRISÿCCAÿTLK6TÿUKL=V6TÿWN56Tÿ;Jÿ:;<6=>6?ÿ@8AÿB9BC+
  X'9ÿ1ÿ9ÿ3 189ÿ1 31ÿ9 32 ÿ9ÿ19 ÿ1ÿ 4ÿ1OP'2 9ÿ 115ÿÿ9,992ÿ1ÿ9ÿ$9 3ÿ 4
  19ÿ9 32 ÿ9ÿ1'ÿ192'9ÿ1ÿ1%32 ÿ 4ÿ9O989ÿ1OP'2 9ÿ 11ÿ1ÿ3 9ÿ%1'
  219 Q 5ÿ32ÿ9ÿ19ÿ9O989ÿ 11ÿ99  4ÿ1ÿ3 'ÿÿ3 9ÿ3ÿ9ÿ239ÿ1ÿ9ÿ!O234
  29329ÿ'392ÿ4ÿ&'9ÿ()5ÿ32ÿ&'9ÿ/ÿ3ÿ94ÿ939ÿ1ÿ1 ÿ9ÿ9ÿ1ÿ ÿ3ÿ393+ÿÿÿ9,992ÿ 4ÿ9,
  19ÿ3ÿÿ99ÿ1ÿ9989ÿ 4ÿÿ1ÿ3935ÿ32ÿ3ÿÿ99'4ÿ99ÿ1ÿ9989ÿ1ÿ9ÿ912ÿ9ÿ'9
  1392ÿÿ 4ÿ&'9ÿ()ÿ32ÿ&'9ÿ/ÿ$11ÿ3ÿ39ÿ' 94ÿ919ÿ3 95ÿ%1'ÿ219 5ÿ4ÿ3%ÿ%ÿ9
  P'21ÿ1ÿ9ÿY+Z+ÿXÿ1'ÿ1ÿ&129ÿ32+ÿÿ$4ÿ&'9ÿ()ÿ32ÿ&'9ÿ/ÿ$11ÿ39ÿ1ÿ9,O39ÿ1ÿ9 9 94
     11+
  $191895ÿÿ9,992ÿ1ÿ9ÿ$9 3ÿ 4ÿ19ÿ3ÿ9ÿ19 ÿ1ÿ 4ÿ1OP'2 9ÿ 11ÿ1%3292ÿ1
  3 9ÿ32ÿ99  4ÿ92 ÿ919ÿ3 9ÿ%1'ÿ9ÿ 11ÿ9 ÿ219925ÿ3ÿ 4ÿÿ1ÿ393ÿO
  234ÿ1ÿP'2 95ÿ32ÿ12345ÿ[2345ÿÿX34ÿ)+ÿÿÿ12ÿ9ÿ9ÿ3ÿ'29ÿ9ÿ' 39ÿÿÿ 395ÿÿ99ÿ1
  9989ÿ1ÿ393ÿ9ÿ'9ÿ392ÿÿ 4ÿ94ÿ92ÿ&'9ÿ()ÿ$11ÿ32ÿ&'9ÿ/ÿ$115ÿ32ÿ3ÿÿ99ÿ1ÿ9989
     4ÿÿ1ÿ393ÿ%ÿ9ÿO234ÿ1P'2 9ÿ912+
  ÿ31ÿ2'92ÿ%ÿ9ÿ9ÿ3ÿ 4ÿ94ÿ92ÿ'ÿ'21992ÿ&'9ÿ()ÿ$11ÿ32ÿ&'9ÿ/ÿ$11ÿ3ÿ%99
  1%3292ÿ1ÿ32ÿ' 94ÿ919ÿ3 9ÿ3'9ÿ3ÿ'93ÿ995ÿ3 ÿ9ÿ239ÿ1ÿ 4ÿ ÿ1ÿ719ÿ1ÿ#935
  9ÿ29329ÿ1ÿ%ÿÿ7189 9ÿ!5ÿ5ÿ3ÿZ3'234+ÿÿÿ\392ÿ1ÿ9ÿ' 9ÿ3ÿ32ÿ'9ÿ9 32 ÿ4
  219 ÿ 4ÿ ÿ1ÿ9ÿ9125ÿÿ3 ÿ1992ÿ 4ÿÿ1ÿ39ÿ1ÿ9ÿ1'ÿ39ÿ3925ÿ32ÿ3ÿ 4ÿ719ÿ1
  #93ÿ 34ÿ31ÿ3 'ÿÿ21ÿ1ÿ9989ÿ34ÿ1ÿ9ÿ3ÿ1'2ÿ9ÿ 329ÿ1ÿ9ÿ'93ÿ1ÿ9ÿ99ÿ1ÿ ÿ3
  719ÿ1ÿ#93ÿ3ÿ3ÿ 39ÿ1ÿÿ3ÿÿ3'92ÿ4ÿ31ÿ4ÿ3 9ÿ1ÿ94O92ÿ&'9ÿ()ÿ32ÿ&'9ÿ/ÿ$11
  3ÿ1ÿ9ÿ9ÿ1ÿ9ÿ3ÿ393+ÿÿ9,4ÿ9,992ÿ 4ÿ19ÿ1ÿ9ÿ99ÿ1ÿ 4ÿ39ÿ1ÿ9ÿ1'+
  ÿ99'4ÿ9.'9ÿ3ÿÿ9 3ÿ1 '31ÿ9 32 ÿ9ÿ Q219 ÿ1ÿ 4ÿ&'9ÿ()ÿ$11ÿ9ÿ21992ÿ1
  3'394ÿ99ÿ9ÿ912ÿ1ÿ393ÿ31 ÿ%ÿ9ÿ&'9ÿ()ÿ$11ÿ3ÿ9ÿ9ÿ9ÿ&'9ÿ()ÿ$11ÿÿ21992ÿ4ÿ9
  9+
  03ÿ41'ÿÿ32839ÿ1ÿ41'ÿ339+
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  $34ÿZ9 '




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  [1 "ÿHL?]ÿ^6_4NJÿ̀ 349 'a 3+1 b
  X39"ÿ0'5ÿ718ÿ/5ÿÿ3ÿ" c1$
  Z' P9"ÿY&de70ÿOÿ0$eÿZe7Z0feÿOÿ[geÿ0X#hÿ&Ygeÿ()ÿ$07ÿÿZ9 'ÿ8+ÿ&ÿX9ÿ1ÿi' 3ÿZ989ÿ9ÿ35
  8ÿ#1ÿ71+ÿ"O8O/OjeZO1#Z
  01"ÿ&Xke[k70#leÿ̀&Xke[k70#lea 2+'1'+18b
Case:
Case:23-1978
      23-1978
      Case      Document:
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                    Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                                       PLAINTIFF’S RULE 60(b)(1) MOTION

               1. Plaintiff, proceeding from and as a citizen of Texas, respectfully requests pursuant to

       Fed. R. Civ. P. Rule 60(b)(1), (3), (4) and (6) for a new trial. Judge Smith had obstructed

       Plaintiff access to the Court, by instructing the Clerk of the Court, Meghan, to not docket

       Plaintiff’s timely filed Rule 59 and Rule 60 Motions filed with the Clerk via email on November

       16, 2023, as to obstruct Plaintiff’s right to access the Court to preserve the issues for appeal.

       Plaintiff avers the following, supported by affidavit attached:


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              (1) On November 16, 2023, at 1:31 PM Central Time, Plaintiff filed via email to the

       Office of the Clerk In-Take email, Plaintiff’s timely-filed Rule 59 Motion, requesting a new trial

       as Rule 59(e) provides. Plaintiff requested in her email that the Clerk timely docket the time-

       sensitive Rule 59 Motion on November 16, 2023. Plaintiff telephoned the Clerk’s Office twice

       on November 16, 2023 to make sure of the Clerk’s receipt of Plaintiff’s filings, and was

       confirmed, and told that all motions emailed to the Clerk’s Office are docketed as filed on the

       date stamp receipt by the Court’s Clerk’s Office. See attached email and email-attached Motion.

              (2) On November 16, 2023, at 4:39 PM Central Time, Plaintiff filed via email to the

       Office of the Clerk In-Take email, Plaintiff’s timely-filed Rule 60(b) Motion, requesting a new

       trial. Plaintiff requested in her email that the Clerk timely docket the time-sensitive Rule 60

       Motion on November 16, 2023. See attached email and email-attached Motion.

              (3) However, neither motions were docketed by the Clerk of the Court, and Plaintiff

       followed up first thing on November 17, 2023 at 8:00 AM Central Time. Plaintiff spoke to Clerk

       Meghan who informed Plaintiff that she had forwarded Plaintiff’s Rule 59 and Rule 60 Motion

       to Chambers because the Court told her to, without docketing Plaintiff’s Motions. Clerk Meghan

       told Plaintiff she will email Chambers to “find out what is going on.” No Order in this matter

       requires Plaintiff to file for leave of Court to file any post judgement motions, and even if leave

       is required, Plaintiff’s court-submitted Rule 59 and Rule 60 Motions seeking to preserve issues

       for appeal are required by law to be docketed in all courts of law to complete an accurate record

       for appeal.

              (4) Plaintiff expressed to Clerk Meghan Plaintiff’s concern that the irregular forwarding

       of timely filed Rule 59 Motion and Rule 60 Motion languishing in Chambers without being

       docketed on the record adversely impede and obstruct Plaintiff’s right of access to the Court, as



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       well as obstructs Plaintiff’s right to preserve legal issues for appeal, and fabricating an inaccurate

       record for appeal, as well as violates due process.

              (5) At 12:20 PM, Plaintiff followed up by telephone, and was told that there were no

       updates from Chambers and Plaintiff’s Rule 59 and Rule 60 Motions are still not docketed.

       Plaintiff emailed the Clerk’s office documenting in writing the irregularity described above. At

       the very same moment, Judge Smith entered a text order stating that the Court is in receipt of two

       emails sent by the Plaintiff and construes them as motion for leave to file, that are denied.

       Plaintiff’s Rule 59 and Rule 60 Motions continue to be not docketed. Plaintiff phoned the Office

       of the Clerk again, and the Clerk informed Plaintiff that the Court is telling her not to docket

       Plaintiff’s Rule 59 and Rule 60 motions. This is prima facie judicial obstruction of Plaintiff’s

       right to file Rule 59 and Rule 60 Motions against the Plaintiff to preserve issues on the record for

       appeal. Plaintiff attaches herewith the aforesaid November 17, 2023 email for the record.

              WHEREFORE, Plaintiff requests the Court to docket Plaintiff’s timely filed Rule 59 and

       Rule 60 Motions and the aforesaid three emails to preserve the record accurately. Plaintiff

       requests the Court treat Plaintiff’s timely filed Rule 59 Motion and Rule 60 Motion filed on

       November 16, 2023 as timely filed. Plaintiff requests the disqualification of Judge Smith by the

       Court. Plaintiff requests any and all such relief deemed just under the circumstances.

                                            CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on November 17, 2023, I filed the within Motion with the

       Clerk of the Court via email.

                                                              Respectfully submitted,
                                                              Mary Seguin
                                                              Pro Se
                                                              /s/____________________

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                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019

                                                     Dated: November 17, 2023




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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                   Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                             PLAINTIFF’S RULE 59 MOTION FOR A NEW TRIAL

               1. Plaintiff, proceeding from and as a citizen of Texas, respectfully requests pursuant to

       Fed. R. Civ. P. Rule 59 for a new trial. Plaintiff avers the following, supported by affidavit

       attached: The 91-page First Amended Complaint [ECF 25] filed on September 1, 2023 seeks

       monetary damages against the Rhode Island State Defendants and the private actor Defendants

       for:

               (1) The Rhode Island Judiciary and Tyler Technologies’ monopoly of publication of law.


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              (2) The Rhode Island Judiciary and Tyler Technologies’ denial to the Public and to all

              Pro Se Litigants all access and the denial of free access to the contents of the law created,

              authored, and deliberated by the Rhode Island Judiciary.

              (3) The civil conspiracy by the Rhode Island Judiciary and Tyler Technologies to

              knowingly fail to properly integrate the legacy electronic court case management systems

              used by Rhode Island Department of Human Services and Office of Child Support

              Services during the implementation of Odyssey from 2013 to 2014 (the State’s official

              electronic court filing and electronic case management system), so that these state

              agencies’ filings are discriminately invisible only to the Public, to Pro Se Litigants and to

              the Rhode Island Virtual Clerk of the Courts in the Rhode Island Family Court, a limited

              jurisdiction court of record. The State’s filings are only visible to the judges and to the

              State filers, thus manipulating the proceeding towards a foregone conclusion in favor of

              the State filers.

              (4) The civil conspiracy by the Rhode Island Judiciary and Tyler Technologies to

              misrepresent to the Public and to the Pro Se Litigants that the implemented electronic

              court case records of judge created laws are available to all court users, in order to cover

              up their monopolization of the publication of law denies the Public and the Pro Se

              Litigant access to the judge-created laws.

              (5) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services that the State routinely establishes

              and enforces 12% compound interest on child and spousal support in Title IV of the

              Social Security Act state family court proceedings, in violation of the uniform statutory

              requirement of 42 U.S.C. § 654(21)(A) that provides States may opt to charge a fee, and



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              if the State opts to do so, between 3% to 6% simple interest, not 12% compound interest,

              targeting noncustodial parents victims. In welfare cases, support are assigned by the

              custodial parent to the State, and the 12% compound interest represents a fee for the

              State’s “services” in the support’s establishment and enforcement paid to the State, which

              at 12% compound interest represents lucrative, illegally obtained revenue to the State

              actors, who are financially incentivized to obtain as much as possible.

              (6) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services and Tyler Technologies to

              knowingly fail to properly integrate Odyssey with the State’s legacy electronic court

              filing system resulting in the State’s filings seeking illegal 12% compound interest, as

              well as to deny the Public and to Pro Se Litigants’ access to their publication of judge-

              created law records for the purpose of cover up of this wholesale illegal defraud of the

              court, extortionary defraud under color of state law targeting the unsuspecting

              noncustodial parents victims, and defraud of the United States (66% of the cost of these

              child support “operations” is funded by the U.S. Department of Health and Human

              Services through Title IV of the Social Security Act through funds appropriated by

              Congress through the annual budget appropriations.)

              (7) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Tyler Technologies to operate the Title IV Program of the Social

              Security Act in all manners violative of due process, in prima facie due process violative

              State Electronic Courts, for the purpose of generating state revenue through fraud and

              deceit, through conspired tortious interference of rights of access to the courts, rights of




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              access to state case documents, and rights of access to judge-created laws targeting

              litigants, targeting the Public and targeting Pro Se Litigants.

              (8) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Tyler Technologies to cover up their public-access-denied

              publication of state judge-created laws of illegal 12% compound interest benefiting the

              state’s revenue by adopting a State policy not to establish nor enforce any interest in

              interstate support cases only, calculated to cover up the collective fraud from federal

              enforcement officials and other states’ enforcement officials of court orders (laws)

              showing 12% compounded interest established and funded under Title IV that are facially

              illegally violative of 42 U.S.C. § 654(21)(A) which explicitly provides States may opt to

              charge a fee, and if the State opts to do so, between 3% to 6% simple interest, not 12%

              compound interest. The federal Title IV Program regulation by Congressional intent

              explicitly preempts any related state laws of all participating states.

              (9) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services and Barbara Grady and Gero

              Meyersiek to use the fraudulent, First Amendment-, Fourth Amendment-, Fifth

              Amendment-, Seventh Amendment-, and Fourteenth Amendment violative state court

              machinery weaponizing Title IV Program of the Social Security Act to target the Plaintiff

              pro se noncustodial parent in Texas to retaliate against Plaintiff for her past lawsuits

              against them, namely ten years ago in Seguin v. Chafee et al., Civil No. 12-cv-708-JD

              (D.R.I. 2013), Seguin v. Bedrosian et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and

              Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-LM (D.R.I. 2013), in which Plaintiff sued

              them, inter alia, for monetary damages claims for extortion by the Rhode Island state



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              court’s under color of state law abuse of the legal frame work of another federal-funded

              human services program Violence Against Women Act, 34 U.S.C. § 12471 et seq.,

              through which Rhode Island demanded that Plaintiff pay the state court actor $55,000.00

              per visitation if Plaintiff wanted to see her children in Rhode Island, because the state

              court stated in writing they believed Plaintiff married “a rich oil man” in Texas, absent

              any other legally sufficient basis. Plaintiff had reported this prima facie extortion under

              color of state law and under color of federal law 34 U.S.C. § 12471 et seq., to the federal

              law enforcement authorities, e.g., the F.B.I. in Texas and the Office of the U.S.

              Department of Justice in Texas. Here, Plaintiff’s retaliation damages claims have been

              issues pending before the Court since September 1, 2023 [ECF 25], at which point Judge

              Smith was disqualified under the self-executing expectation under 28 U.S.C. § 455,

              additionally given the fact Judge Smith had also self-recused from Seguin v. Chafee et

              al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v. Bedrosian et al, Civil No. 12-cv-

              614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-LM (D.R.I.

              2013) ten years ago. See In re Martinez-Catala, 129 F.3d 213, 220 (1st Cir. 1998)

              (“[under §455] the judge is expected to recuse sua sponte, where necessary, even if no

              party has requested it”).

              (10) The Rhode Island Judiciary continues the pattern of cover up by denying Plaintiff’s

              request for public judicial records related to the monopoly of publication of judge-created

              records submitted to the State Judiciary pursuant to the Rhode Island Access to Public

              Records Act (“RI APRA”).

              4. Plaintiff obtained new evidence on October 6, 2023 that the Rhode Island Judiciary is a

       former client of Judge Smith, and on November 9, 2023, Plaintiff obtained new evidence that the



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       Rhode Island Judiciary remains a major client of Judge Smith’s former law firm. Plaintiff’s due

       diligence search for conflict of interest has been impeded by the Rhode Island Judiciary and

       Tyler Technologies monopoly of publication of judge-created laws in the state’s electronic court

       system and their denial of access to the judge-created laws, and Plaintiff, as a member of the

       Public and proceeding pro se without a Rhode Island Attorney license, the issuance of which is

       also monopolized by the Rhode Island Judiciary, has further been denied access to official

       records, including through the Rhode Island Access to Public Records Act, consistent with a

       pattern of civil conspiracy cover up.

              5. A new trial or a stay of the Judgment is necessary to prevent irreparable harm to

       Plaintiff, and to Americans across the First Circuit who would be needlessly deprived of access

       to the federal courts of law in the First Circuit for monetary damages redress - the judicially

       created doctrine of Younger Abstention that functioned as a court of equity - regarding Plaintiff’s

       monetary damages claims against the Rhode Island Judiciary and Tyler Technologies’ scheme to

       monopolize the publication of judge-created laws that denies, tortiously interferes, tortiously

       abridges and tortiously obstruct the Public access to those very laws; regarding Defendant Rhode

       Island Office of Child Support Services’ unlawful seizures of interstate Texas properties outside

       of Rhode Island under color of Rhode Island state law based on legally insufficient interest

       charge on overdue support based on the unlawful rate of 12% compound interest that is

       disallowed under Title IV-D Program of the Social Security Act, specifically 42 U.S.C. §

       654(21)(A) that provides States may opt to charge a fee, and if the State opts to do so, between

       3% to 6% simple interest, not 12% compound interest. And this is on top of Defendants’ breach

       of contract that was brokered by Defendant Rhode Island Office of Child Support Services on

       behalf of the agency’s client; the contract between the custodial parent client, defendant Gero



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       Meyersiek and the Texas Plaintiff stipulated that the custodial parent waived interest upon the

       Texas Plaintiff paying a lump sum of $104,185.98 pay-off amount, which Plaintiff performed

       from Texas on December 7, 2021. Even at the point of contractual agreement, Defendant Rhode

       Island Office of Child Support Services in conjunction with Defendant Gero Meyersiek,

       misrepresented there was lawful and enforceable interest to be waived, as they removed the

       accrued interest from the Title IV-D Program mandated support record system in order to cover

       up from the Plaintiff, and from federal and Texas authorities the unlawful 12% compound rate.

       After fraudulently inducing Plaintiff in Texas to agree to and to perform on the contract, the

       Defendants immediately put the interest back into the Title IV-D Program-mandated automated

       support record system and started to seize Plaintiff’s properties in Texas under color of Rhode

       Island state law.

                 6. The final judgment is on its face violative of binding First Circuit caselaw that

       mandates lower courts to stay monetary damages claims when applying Younger Abstention.

       See DeMauro v. DeMauro, 115 F.3d 94, 98 (1st Cir. 1997) (relying on Quackenbush v. Allstate

       Ins. Co., 517 U.S. 706 (1996) in holding that abstention does not allow for dismissal of damages

       claim).

                 7. 42 U.S.C. § 654(21)(A) has been in effect since the enactment of the Title IV-D

       Program of the Social Security Act several decades ago, and Congress’s original intent was to

       combat poverty within the populace of single mothers and children in welfare cases; Congress at

       no time intended to shift the undue burden of Rhode Island’s 12% compound interest on overdue

       support under color of Rhode Island state law to noncustodial parents, whether targeting Texas

       or across the country, which in welfare cases Rhode Island converts the 12% compound interest

       to assigned debts owed by noncustodial parents to Rhode Island’s state agencies and state



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       government, representing underhanded unlawful state revenue unlawfully obtained through the

       legal framework of Title IV-D Program of the Social Security Act, targeting unsuspecting

       noncustodial parents victims. As a legal point of a state’s lawful application of 42 U.S.C. §

       654(21)(A) within the First Circuit, New Hampshire, in compliance with the letter of federal law,

       opts into Title IV-D Program and opts not to charge any interest whatsoever, as per the letter of

       law and the original intent of Congress, 42 U.S.C. § 654(21)(A). Similarly, Texas charges 6% in

       compliance with 42 U.S.C. § 654(21)(A).

              8. Defendant Rhode Island Office of Child Support Service’s illegal denial and

       obstruction of access to Plaintiff’s own child support case file that contains the incriminating

       illegal and arguably criminal scheme of removing the interest rate from the Title IV-D Program

       mandated and federally funded support record system to cover up the unlawful 12% compound

       interest from federal and Texas authorities, as well as from the Plaintiff in Texas, violates due

       process, obstructs justice, obstructs a federally funded and federal program proceeding, and the

       legal framework of Title IV-D of the Social Security Act, specifically, 42 U.S.C. § 654 and 42

       U.S.C. § 666.

              9. Judge Smith’s dismissal of Texas Plaintiff’s legal remedy monetary damages and

       breach of contract fraudulent inducement damages claims under Younger Abstention in this

       Court of law represents irreparable harm violative of the First Amendment, Fourth Amendment,

       Fifth Amendment, the Fourteenth Amendment, the Seventh Amendment and the First

       Amendment access to the Court. The undisputable fact remains, Plaintiff’s legal remedy request

       for monetary damages in this court of law consisting of twenty-two causes of action that cannot

       be dismissed under Younger Abstention, namely monetary damages claims of breach of contract

       fraudulent inducement, breach of implied contract, unjust enrichment, misrepresentation,



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       negligent misrepresentation, intentional/fraudulent misrepresentation, common law bad faith,

       breach of the covenant of good faith and fair dealings, tortious breach of the covenant of good

       faith and fair dealings, breach of fraudulent concealment/common law fraud, concealed fraud,

       tort of deceit, reckless indifference to the rights of Plaintiff, deliberate indifference to the rights

       of Plaintiff, abuse of process, breach of duty, accounting fraud, fraud cover up, RI Government

       Tort Liability (R.I. Gen. Laws 9-31-1, et seq.), 42 U.S.C. § 1983 Claim for Reckless Indifference

       of Plaintiff’s Clearly Established Constitutional Rights, 42 U.S.C. § 1983 claim of Fourth

       Amendment Illegal Seizure of Plaintiff’s Texas Property, state tort of liability against defendants

       under 42 U.S.C. § 1983, Civil RICO [ECF 25].

               10. Judge Smith’s legally-unsupported and factually-unsupported, and “legally

       insufficient” opinion that the limited jurisdiction family court is an adequate forum to raise

       Plaintiff’s federal legal damages claims of breach of contract et al., contravenes Rhode Island

       law: R.I. Gen Laws 8-10-3 makes clear that family court is not a court of general jurisdiction,

       can only conduct bench trials functioning as a court of equity, not of law, and prohibits family

       court from exercising jurisdiction over breach of contract claims et al between the Texas Plaintiff

       and the Defendants; family court lacks jurisdiction over the Plaintiff’s federal causes of actions;

       lacks the jurisdiction to summon a jury for jury trial in a court of law.

               11. Finally, but equally critically, twenty-one days post judgment Plaintiff discovered

       troubling new evidence on November 9, 2023, that Judge Smith appears to have impermissibly

       acted in favor of the interests of the defendants – he is automatically disqualified under 28

       U.S.C. § 455, because as a partner in his past practice and firm, the state government and the

       Rhode Island Judiciary were not only his clients, but continue to be that firm’s major client under

       a flat fee contract and he has knowledge of the defendants’ actions in this action – as a major



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       partner in his firm, the Rhode Island Judiciary is his and his form’s past and current clients, the

       state government actors and the state courts actors, cooperate in the routine establishment and

       enforcement of 12% compound interest under the legal framework of Title IV-D Program of the

       Social Security Act, where 12% compound interest is disallowed under 42 U.S.C. § 654(21)(A).

       To the objective observer, having knowledge of the facts and circumstances of this case, and

       being a partner in his past firm that continues to have the Rhode Island Judiciary as a client,

       Judge Smith appears biased in favor of the defendants’ interest to continue raking in state

       revenue under the auspices of 42 U.S.C. § 654(21))(A) that explicitly disallows state debts of

       12% compound interest assigned to Rhode Island that the state actors who cover up the 12%

       compound rate by obstructing the noncustodial parent’s access to her own child support case file

       that is further violative of the due process provisions under 42 U.S.C. § 654 and §666, in Rhode

       Island’s federally funded operation with funds appropriated by Congress intended for the lawful

       operation of Title IV-D of the Social Security Act. Although under the judicial self-executing

       expectation under 28 U.S.C. §455, the Texas Plaintiff is not expected to cull court records in the

       Rhode Island state courts for judicial conflict of interest, nevertheless the Plaintiff in good faith

       and diligently attempted to perform a remote search of Rhode Island’s electronic court case

       management system, Odyssey in 2023. In so doing, Plaintiff discovered troubling newly-

       discovered evidence that the Rhode Island Judiciary, while publicly representing that the 2014 $6

       million state transition from paper courts to electronic courts promises all court users will be

       able to call up court documents remotely from their mobile devices, in reality Rhode Island

       adopted rules only denying the public and pro se litigants remote access to court case

       information, including pro-se litigants’ own case records, that both the public and all litigants

       had equal statutory, common law and constitutional rights of access in paper courts – Judge



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       Smith’s firm’s clients, the Rhode Island Judiciary, therefore implemented electronic court public

       access denials that obstructed Plaintiff’s and the public’s discovery of Judge Smith’s judicial

       disqualification regarding his former clients such as the state courts, the defendant state actors

       and other conflict entities.

               I. LEGAL STANDARD

               11. The United States Supreme Court in 2020 reaffirmed, in GEORGIA, ET AL.,

       PETITIONERS v. PUBLIC.RESOURCE.ORG, INC, 590 U.S. ___ (2020), the century-old

       government edicts doctrine, making clear that officials empowered to speak with the force of law

       cannot be the authors of—and therefore cannot monopolize access—the works they create in the

       course of their official duties. The U.S. Supreme Court previously applied that doctrine to hold

       that non-binding, explanatory legal materials when created by judges who possess the authority

       to make and interpret the law shall not monopolize access to it. See Banks v. Manchester, 128 U.

       S. 244 (1888). Tyler Technologies is a for profit organization that aims to facilitate public access

       to government judge-created records and legal materials. Tyler Technologies is contracted by the

       Rhode Island Judiciary to implement the State’s electronic courts in 2013 and together, they both

       publicly represented that access to the contents of judge-created laws records will be readily

       called on mobile devices to all court users, namely, to the Public and to pro se litigators.

               12. Under the government edicts doctrine, judges may not be considered the “authors” of

       the works they produce in the course of their official duties as judges. That rule applies

       regardless of whether a given material carries the force of law. In Banks v. Manchester, 128 U. S.

       244 (1888) the Supreme Court concluded that “the judge who, in his judicial capacity, prepares

       the opinion or decision, the statement of the case and the syllabus or head note” cannot “be

       regarded as their author or their proprietor. Banks, 128 U. S, at 253 (emphasis in original).



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       Rather, “[t]he whole work done by the judges constitutes the authentic exposition and

       interpretation of the law, which, binding every citizen, is free for publication to all.” Ibid. (citing

       Nash v. Lathrop, 142 Mass. 29, 6 N. E. 559 (1886)). These cases establish a straightforward rule:

       Because judges are vested with the authority to make and interpret the law, they cannot be the

       “author” of the works they prepare “in the discharge of their judicial duties.” Banks, 128 U. S., at

       253. This rule applies both to binding works (such as opinions) and to non-binding works (such

       as headnotes and syllabi). Ibid. The animating principle behind this rule is that no one can own

       the law. “Every citizen is presumed to know the law,” and “it needs no argument to show . . . that

       all should have free access” to its contents. Nash, 142 Mass., at 35, 6 N. E., at 560 (cited by

       Banks, 128 U. S., at 253–254). Rather than attempting to catalog the materials that constitute

       “the law,” the doctrine bars the officials responsible for creating the law from being considered

       the “author[s]” of “whatever work they perform in their capacity” as lawmakers. Ibid. (emphasis

       added). Because these officials are generally empowered to make and interpret law, their “whole

       work” is deemed part of the “authentic exposition and interpretation of the law” and must be

       “free for publication to all.” Ibid.

               13. Rhode Island Judiciary and Tyler Technologies monopoly of publication of the

       judge-created laws and their “whole works” making and interpreting the law that explicitly by

       design deny access to the Public and to the Pro Se Litigant runs afoul of the government edicts

       doctrine.

               14. Courts have long understood the government edicts doctrine to apply to legislative

       materials. See, e.g., Nash, 142 Mass., at 35, 6 N. E., at 560 (judicial opinions and statutes stand

       “on substantially the same footing” for purposes of the government edicts doctrine); moreover,

       just as the doctrine applies to “whatever work [judges] perform in their capacity as judges,”



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       Banks, 128 U. S., at 253, it applies to whatever work judges perform in their capacity as judges.

       Banks, following Wheaton and the “judicial consensus” it inspired, denied publication monopoly

       protection to judicial opinions without excepting concurrences and dissents that carry no legal

       force. 128 U. S., at 253 (emphasis deleted). As every judge learns the hard way, “comments in

       [a] dissenting opinion” about legal principles and precedents “are just that: comments in a

       dissenting opinion.” Railroad Retirement Bd. v. Fritz, 449 U. S. 166, 177, n. 10 (1980). Yet such

       comments are covered by the government edicts doctrine because they come from an official

       with authority to make and interpret the law. Indeed, Banks went even further and withheld

       publication monopoly protection from headnotes and syllabi produced by judges. 128 U. S., at

       253. Surely these supplementary materials do not have the force of law, yet they are covered by

       the doctrine. The simplest explanation is the one Banks provided: These non-binding works are

       not copyrightable because of who creates them—judges acting in their judicial capacity. See

       ibid. The textual basis for the doctrine is the “authorship” requirement, which unsurprisingly

       focuses on—the author, the judges. The Supreme Court long ago interpreted the ‘author” to be

       officials empowered to speak with the force of law. The doctrine distinguishes between some

       authors (who are empowered to speak with the force of law) and others (who are not). The

       Supreme Court explicitly rejects allowing the States to “monetize its entire suite of legislative

       and judicial history. With today’s digital tools, States might even launch a subscription or pay-

       per-law service.” See Georgia v, Public Resources Org. at 590 U. S. ____ (2020) It is obviously

       explicitly clear that the Supreme Court refers to the prohibition against the Rhode Island

       Judiciary and Tyler Technology’s monopolization of the digital publication of DIGITAL

       COURT JUDICIAL COURT RECORDS that denies publication access of judge-created laws

       and their work materials to the Public and to Pro Se Litigants.



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              15. There is no legitimate Rhode Island government interest in the knowing illegal denial

       of access to the public and to pro se litigants the digital records of the Rhode Island Judiciary’s

       and Tyler Technologies’ illegal monopolization of digital publication of judge-created laws

       involving the establishment nor enforcement of unlawful 12% compound interest violative of

       explicitly clear 42 U.S.C. § 654(21)(A) within the legal framework of Title IV-D Program

       targeting noncustodial parties in Texas who are outside of Rhode Island that Rhode Island

       already knows is unenforceable in Texas, and thus had removed the 12% compound interest in

       2018 calculated to cover it up from federal and Texas authorities. Rhode Island’s abuse of the

       legal framework of the government edict doctrine and the legal framework of Title IV-D

       Program are diametrically at odds with the intent of Congress and binding caselaws of the U.S.

       Supreme Court. The civil conspiracy to cover up the illegal machinery of the digital electronic

       courts in Rhode Island is clear. See Turner v. Rogers, 131 S. Ct. 2507, 2518 (2011). See Georgia

       v, Public Resources Org. at 590 U. S. ____ (2020); See HOUSE COMM. WAYS & MEANS,

       Section 8: Child Support Enforcement Program, in 2004 GREEN BOOK: BACKGROUND

       MATERIAL AND DATA ON THE PROGRAMS WITHIN THE JURISDICTION OF THE

       COMMITTEE ON WAYS AND MEANS 8-1, 8-2 (2004). See Social Services Amendments of

       1974, Pub. L. No. 93-647, § 101, 88 Stat. 2337, 2351. Where the mother receives public aid,

       federal and state governments will provide the child support payment to the mother and hold the

       father indebted to the government for that amount. In cases where the mother is not dependent

       on welfare, the government has largely stayed out of the fray. See HOUSE COMM. WAYS &

       MEANS, supra note 38. Yet, this case does not involve a welfare case, as the custodial father is

       wealthy, but the Defendants are motivated by retaliation against the Plaintiff for suing them ten

       years ago in Seguin v. Chafee et al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v. Bedrosian



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       et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-

       LM (D.R.I. 2013), in which Plaintiff sued them, inter alia, for monetary damages claims for

       extortion by the Rhode Island state court’s under color of state law abuse of the legal frame work

       of another federal-funded human services program Violence Against Women Act, 34 U.S.C. §

       12471 et seq., through which Rhode Island demanded that Plaintiff pay the state court actor

       $55,000.00 per visitation if she wanted to see her children in Rhode Island, because the state

       court stated in writing they believed Plaintiff married “a rich oil man” in Texas, absent any other

       legally sufficient basis. Plaintiff had reported this prima facie extortion under color of state law

       and under color of federal law 34 U.S.C. § 12471 et seq., to the federal law enforcement

       authorities, e.g., the F.B.I. in Texas and the Office of the U.S. Department of Justice in Texas.

       Here, Plaintiff’s retaliation damages claims have been issues pending before the Court since

       September 1, 2023 [ECF 25], at which point Judge Smith was disqualified under the self-

       executing expectation under 28 U.S.C. § 455, additionally given the fact Judge Smith had also

       self-recused from Seguin v. Chafee et al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v.

       Bedrosian et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-

       cv-95-JNL-LM (D.R.I. 2013) ten years ago. See In re Martinez-Catala, 129 F.3d 213, 220 (1st

       Cir. 1998) (“[under §455] the judge is expected to recuse sua sponte, where necessary, even if no

       party has requested it”).

                                                II. ARGUMENT

              16. Plaintiff has appealed the Court’s/Judge Smith’s judgment in its entirety in the related

       case, Seguin v, RI Office of Child Support Services et al Civil No. 23-cv-34-WES-PAS (D.R.I.

       2023) and respectfully submits that she is likely to secure a complete reversal of this Court’s




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       holding that the judicially created doctrine of Younger Abstention applies to the dismissal of her

       monetary damages and breach of contract damages claims.

               17. Plaintiff further submits that she is likely to secure a complete reversal of this Court’s

       in this case.

               18. Conducting state proceedings funded by federal funding appropriated by Congress

       under Title IV of the Social Security Act in state monopolized electronic courts that violate the

       long-established government edict doctrine as it related to the Public’s access of the digital

       publication of judge-created laws and violate the Constitution targeting Texas assets and Texas

       parties for illegal 12% compound interest involving fraudulent inducement that cannot be

       enforceable in Texas is the prima facie example of government fraud and government waste,

       warranting cut off from federal funding at the very minimum. Not even Judge Smith, friend of

       the Rhode Island Judiciary, can punt these egregious state activities to later addressment via the

       attention of the Supreme Court and to Congress Appropriation Committees, wrongfully using

       Younger Abstention.

               19. Judge Smith’s holding is defect in claiming without a shred of factual basis that

       Plaintiff can raise her federal monetary damages claims and fraudulent inducement breach of

       contract claims in the jurisdictionally defective Rhode Island family court, that R.I. Gen. Laws 8-

       10-3 plainly states the family court is not a court of general jurisdiction, and which lacks the

       jurisdiction over the controversy for legal relief of monetary damages tort claims and fraudulent

       inducement breach of contract damages claims over both the Plaintiff and all the named

       defendants.




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                20. Plaintiff seeks a new trial or a stay pending appeal as Plaintiff’s likelihood of success

       on appeal, together with the lopsided balance of hardships, weigh heavily in favor of granting the

       stay being sought pending appellate review.

                A. Plaintiff is Likely To Succeed On Appeal Of the Judgment Ordered By the

       Court:

                21. Although Plaintiff recognizes that the Court has ruled against her as to the scope of

       relief, Plaintiff is likely to succeed on appeal of those issues, and has raised serious legal

       questions and presented a substantial case. See Arnold v. Garlock, Inc., 278 F.3d 426,

       438-39 (5th Cir. 2001).

                22. Plaintiff incorporates by reference her prior remedy arguments. Plaintiff reserves the

       right to make any and all arguments on appeal.

                23. Among the substantial questions raised by Plaintiff is whether the Court erred in

       awarding Defendants dismissal of Plaintiff’s monetary damages claim in this First Circuit under

       Younger Abstention and erred in failing to self-execute 28 U.S.C. § 455. And Plaintiff

       respectfully submits that she is likely to succeed on appeal in arguing that, in these

       circumstances, dismissal was not properly ordered in the particular circumstances of this case

       pursuant to established binding First Circuit caselaws on both the Court’s errors applying

       Younger Abstention as well as judicial disqualification. See DeMauro v. DeMauro, 115 F.3d 94,

       98 (1st Cir. 1997); In re Martinez-Catala, 129 F.3d 213, 220 (1st Cir. 1998); Quackenbush v.

       Allstate Ins. Co., 517 U.S. 706 (1996). See also Allen v. La. State Bd. of Dentistry, 835 F.2d 100,

       104 (5th Cir. 1988). (“Younger abstention does not apply to claims for monetary damages.”)



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              24. Absence of a new trial or a stay of the judgment will erode confidence in the

       Judiciary in the First Circuit by creating an impression that it is violating national law regarding

       the government edict doctrine and setting illegal new national policy regarding the Title IV-D

       Program. It may also have the effect of “encouraging forum shopping.” Trump v. Hawaii, 138

       S. Ct. 2392, 2425 (2018) (Thomas, J., concurring). It further “undermines the judicial system’s

       goals of allowing the ‘airing of competing views’ and permitting multiple judges and circuits to

       weigh in on significant issues.” See also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

       (2008) (traditional remedial principles account for “the public interest” and “the balance of

       equities”); EME Homer City Generation, LP v. EPA, 795 F.3d 118, 132 (D.C. Cir. 2015)

       (Kavanaugh, J.) (declining to vacate unlawful agency action under the APA because “vacatur

       could cause substantial disruption”). In this context, the dismissal of Plaintiff’s state government

       tort monetary damages claims entered by the Court could cause substantial disruption to the

       uniform application of the legal framework of the Title IV-D Program Congress explicitly

       intended.

              25. The serious legal questions raised in this case regarding the scope of remedy go

       beyond the questions of whether a Younger abstention is applicable to federal monetary damages

       claims and or the feeble assertion of comity applied to the Rhode Island Judiciary and Tyler

       Technology’s gross violation of the government edict doctrine—and indeed, those questions

       should not have even entered into this case. Here, among Plaintiff’s challenges was to state

       Judiciary, Tyler Technologies and agency actions, and Plaintiff pursued fraudulent inducement

       breach of contract damages claims and tort monetary damages claims. Instead, the Court at law

       cannot vacate a federal statute—i.e., cannot “delete a previously enacted statute from the books”

       such as 42 U.S.C. § 1983. See also Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va.


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       L. Rev. 933, 936 (2018) (“The federal courts have no authority to erase a duly enacted law from

       the statute books, and they have no power to veto or suspend a statute. The power of judicial

       review is more limited.” (footnotes omitted). Legal monetary damages relief under 42 U.S.C. §

       1983 that would hold the Rhode Island state government accountable under the Rhode Island

       Government Tort Act for Rhode Island government actors’ tortious actions violating the legal

       framework of the Title IV-D Program federal statutes targeting the Plaintiff in Texas was a legal

       remedy conferred by Congress to federal courts to grant legal relief appropriate in this case. The

       Court has an unflagging obligation to exercise jurisdiction conferred to it by Congress. See

       Sprint Communications, Inc. v. Jacobs, 571 U.S. 69 (2013)

              26. With respect, although the Court has entered a judgment otherwise, Plaintiff has

       demonstrated a likelihood of success on appeal of the Final Judgment sufficient to justify a stay

       of the judgment.

              B. The Balance of the Equities Overwhelmingly Favors the Requested New Trial or

       Stay

              27. The balance of the equities overwhelmingly favors a new trial or stay: The State of

       Rhode Island plainly lacks any legitimate interest in the State’s systemic knowing violation of

       the government edict doctrine and violation of 42 U.S.C. § 654(21)(A) that they now target

       Plaintiff in Texas, and which they sought to cover up from federal and Texas authorities, as well

       as from Plaintiff, by knowingly and unlawfully removing interest from the automated support

       record system. Americans outside of Rhode Island re fraudulently, unlawfully and systemically

       fleeced by Rhode Island’s illegal scheme that is illegally funded through the State’s defrauding

       of the United States lying to the United States that these activities are eligible for federal funds



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       appropriated by Congress for the legal administration of Title IV Program of the Social Security

       Act.

              28. Defendants will face no harm from Plaintiff’s requested new trial or stay. The

       judgment that is specifically directed to and protects the prevailing Defendants from legal

       accountability of their illegal actions, is further issued by a disqualified judge, Judge Smith, who

       was the former counsel for the Defendants and a partner of the firm whose major client is the

       Rhode Island Judiciary, e.g., Rhode Island state government entities, including the state courts

       and state agencies. The requested new trial or stay will thus impose no hardship on the

       prevailing Defendants at all.

              29. By contrast, the public and the Plaintiff face significant harm if now new trial is

       ordered or the judgment is not stayed. As an initial matter, “any time a [government]” violates

       “statutes enacted by representatives of its people,” the people “suffer a form of irreparable

       injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation

       omitted). But the harm here is much greater and more far-reaching. The government edict

       doctrine is willfully violated by the Rhode Island Judiciary and Tyler Technology in a civil

       conspiracy to cover up the illegal state family court creating judge-created laws ordering and

       enforcing 12% compound interest, aided and abetted by the Department of Human Services -

       Title IV-D requires the uniform application and compliance by participating States with the

       Social Security Act. Congress’s as well as the United States through the Secretary of the U.S.

       Department of Health and Human Services’ interest in the uniform compliance of 42 U.S.C. §

       654(21)(A), § 654 and 42 U.S.C. § 666 are well established. The States are reimbursed 66% of

       the cost of operations through federal funding appropriated by Congress under Title IV-D of the

       Social Security Act. The Defendants’ arbitrary illegal removal of the illegal unenforceable 12%

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       compound interest from the automated support record system and cover up of their illegal 12%

       compound interest scheme from the federal and Texas authorities targeting Texas properties and

       targeting the Plaintiff in Texas demonstrates Rhode Island government agencies (who are former

       clients of Judge Smith) knowingly committed criminal schemes illegally seizing Plaintiff’s

       properties interstate in Texas that they know are violative of federal criminal codes and Texas

       civil and penal codes. See, e.g., Social Services Amendments of 1974 (1975 Act), Pub. L. No.

       93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et seq.) (adding Title IV-D to the Social Security

       Act). The program, which is administered by the United States Secretary of Health and Human

       Services (Secretary), provides that States with approved plans for child and spousal support that

       meet federal requirements are reimbursed by the federal government for a significant sixty-six

       percent (66%) of the costs of operating their child-support enforcement programs. 42 U.S.C.

       §v655(a)(2)(C). In 1975, Congress adopted Title IV-D, 42 U.S.C. §v651 et seq., and established

       the general statutory framework that exists today. See 1975 Act § 101(a), 88 Stat. 2351; Blessing

       v. Freestone, 520 U.S. 329, 333-335 (1997) (describing program). Congress ultimately set the

       federal share of reimbursable expenditures at 66%, 42 U.S.C. 655(a)(2), but expanded the

       availability of matching funds at the 90% level for State expenditures for automating data

       processing systems to improve “the monitoring of support payments, the maintenance of

       accurate records regarding the payment of support. Therefore, the Defendants’ illegal operations

       cannot be funded by Congressional appropriations.

              30. Judge Smith’s failure to self-execute his disqualification under 28 U.S.C. § 455 as

       well as Canon 3E of the Code of Judicial Conduct, then his subsequent refusal to recuse in the

       related case, Seguin v, RI Office of Child Support Services et al Civil No. 23-cv-34-WES-PAS

       (D.R.I. 2023), upon Plaintiff’s request after she raised newly discovered discovery post judgment


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       on October 6, 2023 of his direct and past public sector law practice’s contract legal

       representation of the Defendants, state courts, state agencies and other conflict entities, have the

       appearance, to the objective observer, of the Court’s issuance of judgment in favor of the

       Defendants in error that contravenes established First Circuit case law on Younger Abstention as

       well as disqualification, calculated to benefit the interests of his former clients, as partner of his

       former firm that represents the Rhode Island Judiciary and the state government.

               31. Moreover, the Court’s judgment effectively functions as a denial of Plaintiff’s access

       to this Court of law to redress her legal monetary damages claims and fraudulent inducement

       breach of contract damages claims. It is well-settled that even minimal loss of First Amendment

       freedoms, “unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373, 96

       S. Ct. 2673, 49 L. Ed. 2d 547 (1976) (plurality)); see also Elrod, 427 U.S. at 373.; N.Y. Times v.

       United States, 403 U.S. 713, 715 (1971). Accordingly, Plaintiff has a strong likelihood of success

       on the merits, will suffer irreparable injury without a stay, and a stay will not injure others while

       furthering the public interest.

               III. CONCLUSION

               27. For the foregoing reasons, Plaintiff has demonstrated a likelihood of success on

       appeal of the Judgment ordered, and has demonstrated that the balance of the equities favors a

       new trial or a stay. Plaintiff respectfully requests that the Court stay the final judgment for the

       duration of appellate proceedings relating to the related Seguin v, RI Office of Child Support

       Services et al Civil No. 23-cv-34-WES-PAS (D.R.I. 2023).

                                             CERTIFICATE OF SERVICE




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              I HEREBY CERTIFY that on November 16, 2023, I filed the within Motion with the

       Clerk of the Court via email.

                                                       Respectfully submitted,
                                                       Mary Seguin
                                                       Pro Se
                                                       /s/____________________
                                                       Email: maryseguin22022@gmail.com
                                                       Phone: (281)744-2016
                                                       P.O. Box 22022
                                                       Houston, TX 77019

                                                       Dated: November 16, 2023




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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                  Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

       Defendants
             MARY SEGUIN’S DECLARATION IN SUPPORT OF PLAINTIFF’S RULE 59
                                     MOTION


             I, MARY SEGUIN, hereby declare under penalty of perjury, pursuant to 28 U.S.C. sec.
       1746(2) that the following statements are true and correct:
               1. That I am the Plaintiff, Pro Se, in the above captioned matter.
               2. That I exercised, am exercising and continue to exercise my statutory right to appear
                  pro se party in the above captioned civil matter in federal court by statute 28 U.S.C.
                  sec. 1654.
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              3. That in state proceedings in Rhode Island, I am required to comply with Rhode Island
                 Article X. Rules Governing Electronic Filing, Rule 2. Official Court Record, (a)
                 Official Court Record. “Upon the implementation of the Electronic Filing System
                 (“EFS”) in each court, all documents shall be filed electronically and shall be the
                 official court record.”
              4. That the state proceedings in which I am a party are public and are not about child
                 custody nor involve a minor.
              5. That the Rhode Island Family Court, through its adoption and promulgation of
                 Administrative Order 2021-01 A2) mandated that all child support interest matters
                 shall be heard remotely via WebEx. Further, Administrative Order 2021-01 B1)
                 mandated that all non-emergency filings shall be filed using the electronic filing
                 system in accordance with the Family Court Rules of Domestic Relations Procedure,
                 which is the Odyssey system.
              6. That the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                 GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,
                 Rule 5. Access to Case Information, (c) Remote Access to Case Information. (1)
                 Policy. To allow limited Remote Access to the Database through the Public
                 Portal. Non-public case types shall not be remotely accessible except for certain
                 case types to attorneys who have entered an appearance in a case. (2) Content.
                 (a) The Public, Self-represented Litigants and Parties. The Public, self-
                 represented litigants, and parties shall have Remote Access to the register of
                 actions or Docket but shall not have Remote Access to other Electronic Case
                 Information” bar, deny, violate, abridge, infringe and interfere with Pro Se
                 Litigants’ and the Public’s fundamental rights to access public court records and
                 Pro Se Litigants’ fundamental right to meaningful access to the courts. See
                 “RHODE ISLAND JUDICIARY RULES OF PRACTICE GOVERNING
                 PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION” Rule 5(c)(2)(a)
                 “The Public, Self-represented Litigants and Parties. The Public, self-represented
                 litigants, and parties shall have Remote Access to the register of actions or
                 Docket but shall not have Remote Access to other Electronic Case Information.”
                 See also “RHODE ISLAND JUDICIARY, Access to Case Information, 2.
                 Remote Access to Case Information A. The Public, Self-represented Litigants,
                 and Parties to a Case, The public, self-represented litigants, and parties in a case
                 shall have remote access to the register of actions or docket but shall not have
                 remote access to other electronic case information.”
              7. That I, the Plaintiff, learned and verified on July 10, 2023 directly from the Rhode
                 Island Judiciary itself through numerous (14) correspondences with the Rhode Island
                 Judiciary from June 10, 2023 to July 10, 2023, pursuant to my RI Access to Public
                 Records Act (“APRA”) request for public records from the Rhode Island Judiciary,
                 that as a matter of State policy, State Court Rule, and Judiciary Rule, in the digital
                 courts implemented by the Rhode Island Judiciary, the State Court, the Rhode Island
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                 Judiciary deny remote digital access of the Rhode Island Judiciary’s monopolized
                 publication of court and judicial records using the digital tool maintained and
                 published by Tyler Technologies, Odyssey, including judge-created, judge-authored
                 court decisions arising from state proceedings in the State’s digital electronic courts,
                 and digital court transcripts ordered by and paid by pro-se litigants that are published
                 by the Judiciary digitally on Tyer Technologies’ Odyssey are also denied access to
                 the Public, pro-se litigants, and parties to the litigation (who are represented by
                 counsel). The Rhode Island State Court only grants remote access to digital court and
                 judicial records created by judges produced in digital courts to Rhode Island attorneys
                 and state and federal agencies that are approved by the Rhode Island Judiciary’s
                 monopoly. On this matter, I corresponded in writing fourteen (14) APRA
                 correspondence emails with Mr. Justin Correa, Esq. and Ms. Alexandra Kriss of the
                 Rhode Island Judiciary from June 10, 2023 to July 10, 2023.
              8. That the State Defendants in this matter electronically file all notices using another
                 electronic filing system that is even separate and different from the EFS (Odyssey).
              9. That the State Defendants’ court electronic filings are not noticed to me in Texas.
              10. That the State Defendants’ court electronic filings are not visible to me on the Rhode
                  Island courts’ EFS.
              11. That the State Defendants’ court electronic filing court records cannot be accessed
                  remotely by me, solely because I am a self-represented litigant.
              12. That the State Defendants’ court electronic filing court records cannot be accessed
                  remotely by the public, by self-represented litigants, nor by parties to the case, but
                  can be accessed remotely and instantly through the internet by attorneys in Rhode
                  Island and state and federal agencies.
              13. That the Rhode Island Court Clerks state to me over the phone that they are
                  prohibited from reading the contents of the court records over the phone to me.
              14. That the Rhode Island Court virtual clerks state to me over the phone that even they
                  are unable to see or access the court record information of filings by the State
                  Defendants from the virtual clerks’ access portals.
              15. That the Rhode Island Electronic Filing System, case management system, rules and
                  practices outright and unconstitutionally restrict and deny access to the court to three
                  classes: (1) the public; (2) pro-se litigants; (3) parties to the case (who are represented
                  by counsel), and is obviously outright reserved for only the government and Rhode
                  Island attorneys.
              16. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS.
              17. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices, and
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                 withdrew from my-initiated RI EOHHS agency appeal in 2022 in a scheme to procure
                 a favorable judgment in a state proceeding that deny my federal constitutional and
                 due process rights in Texas.
              18. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices, and
                  initiated the family court state proceeding on January 31, 2023 before the Covid
                  Emergency Declaration was lifted.
              19. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices that
                  appear to only allow remote, instant and full court access to a restricted club of
                  R.I. lawyers and the government, pose unconstitutional and undue burden on me, a
                  citizen of Texas over 2,500 miles away.
              20. That the State Defendant have full knowledge of the egregiously unfair due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices that
                  deny me access to the required electronic court transcripts prepared by the court
                  reporter and electronically filed in the state EFS that I ordered and paid for for
                  appeal, but the State Defendants have instant remote access by state court design.
              21. That the State Defendants have full knowledge of the above unconstitutional
                  restriction on access to court records and information to the public and non-lawyers is
                  deliberate, by design and calculated to be unfair, violating constitutional guarantees
                  of full and fair opportunity to raise claims in state proceedings.
              22. That the above-raised unconstitutional restrictions are not exhaustive.
              23. That my federal monetary damages claims on the unconstitutionality of the Rhode
                  Island state court rules, practices and proceedings that violate the government edict
                  doctrine and violate the pro-se litigants’, such as my-self, federal constitutional rights:
                  (1) federal constitutional right of equal access to the courts, (2) federal constitutional
                  right to equal access to court records to receive information on the contents of all
                  electronically filed notices, pleadings, court decisions, and transcripts that I myself
                  ordered and paid for for appeal that are required to be electronically filed by state
                  court rules and practices, (3) federal constitutional due process right and equal right to
                  be given equal and timely notice of electronic filings and entries by the courts
                  (including court decisions, court orders, court judgments, full docket entries, etc.) that
                  the Rhode Island Judiciary deliberately deny by category all pro-se litigants access to
                  court information, namely the contents of judicial/court records of cases to which I
                  am the self-represented party, (4) federal constitutional due process right to be heard
                  (Rhode Island Superior Court threatens me, the Texas pro-se plaintiff, with denial of
                  my request to conduct WebEx hearings for the purpose of denying the Texas pro-se
                  litigant access to the court and to be heard), (5) federal constitutional due process
                  right to decision by a neutral decision-maker (the court that denies pro-se litigant
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                 access to the court and the corollary opportunity to be heard fails the neutral decision-
                 maker test). This list is not exhaustive.
              24. That I seek to sue in federal court the State Defendants and add additional defendants.
              25. I am an out-of-state diversity and a pro-se litigant in two state proceedings in Rhode
                  Island, and have been unconstitutionally singled out by the State Judiciary, by
                  category “self-represented litigant,” to be barred from accessing electronic case
                  information authored by judges and which the Judiciary has a monopoly in the
                  publication of the judge-created laws in which state court cases I am the pro-se party,
                  and therefore have standing to raise claims against this unconstitutional state practice
                  and unconstitutional state court practice and rules. I understand the Rhode Island
                  Judiciary’s monopoly in the digital publication of judge-created laws in the Judiciary’
                  implemented digital/electronic courts and the Judiciary’s denial to the Public and to
                  me from accessing the monopolized electronic publication of the judge-created laws
                  in the court records violate the government edict doctrine.
              26. Additionally, my fundamental First and Fourteenth Amendment constitutional right
                  and common law right to equal, meaningful, and timely access to judicial records and
                  public court records in litigation, given timely notice, adequate opportunity to be
                  heard and to decision by a neutral decision-maker are fundamental First and Fourth
                  Amendment and Fourteenth Amendment rights. Critically, the unconstitutional
                  abridgement, infringement, and denial of judicial and court records to out-of-state
                  pro-se litigants by the Rhode Island State Courts, Rhode Island State Judiciary and
                  the Rhode Island Superior Court Bench Bar Committee directly relate to Younger
                  Abstention Exception.
              27. The State Defendants deliberately file all the State’s pleadings outside of the State’s
                  electronic filing system, “Odyssey,” and deliberately use a wholly different un-named
                  electronic filing system, different and separate from that (“Odyssey”) provided for
                  pro-se litigants, so that pro-se litigants do not receive any requisite automated
                  electronic notices of court motions or pleadings the State Defendants file
                  electronically, nor are pro se litigants able to electronically access the content
                  information of the State Defendants’ electronically-filed pleadings. The only way the
                  pro se litigant, such as me, the Texas Plaintiff, can access the court record is to
                  personally go over 2,500 miles away to the courthouse in Rhode Island to access the
                  court pleading information, or get a “courtesy notice” via email or get a “courtesy
                  notice” through U.S. Mail sent by the State Defendants at whim. The State
                  Defendants deliberately fail to send the notices electronically or by U.S. Mail, and the
                  state courts deliberately promulgated court rules disallowing the public, pro-se
                  litigants and even the parties who are represented by lawyers, remote access to court
                  records, and critically, deny access to crucial court decisions, judgments and orders of
                  public cases, as well as deny remote access to the transcripts ordered by pro-se
                  litigants for appeal. Critically, the State court’s abridgment and denial of access to
                  court documents to the pro se litigant and the general public result in the
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                 unconstitutional abridgment and denial of equal, timely and meaningful access to
                 court complaints, decisions, judgments and orders. What is truly shocking is that the
                 Rhode Island Judiciary even denies and/or bars pro-se litigants remote access of court
                 transcripts that were ordered by pro-se litigants for appeal.
              28. Thirdly, the Texas Pro-Se Plaintiff discovered and verified the fact, on or about July
                  7, 2023, that the Rhode Island Judiciary, using the aforesaid state court rule barring,
                  by category, pro-se litigants from accessing court case information remotely, bars the
                  Plaintiff by category (“self-represented litigant”) from accessing state court
                  proceeding transcripts that the Texas Plaintiff ordered and paid for, for appeal. In
                  other words, the RI Supreme Court Clerk stated to the Texas Plaintiff that the
                  Plaintiff, in Texas, is unconstitutionally barred from remotely accessing the
                  transcripts of court proceedings that she ordered and paid for in her appeal to the RI
                  Supreme Court in the Plaintiff-initiated APRA action Seguin v. RI Office of Child
                  Support Services, PC-22-07215, and yet the State Defendants are inequitably
                  granted instant and free remote access to those very transcripts that the Texas Plaintiff
                  ordered and paid for, for appeal. The federal Texas Plaintiff respectfully requests this
                  Court the extension of time to present the new evidence and plead the verified facts.
              29. Fourthly, the Texas Plaintiff discovered and verified the fact, on or about July 11,
                  2023, that, despite the Texas Plaintiff’s several phone inquiries to the RI Superior
                  Court in the past several weeks regarding the status of the appeal, the RI Superior
                  Court, for undisclosed reasons, failed and continue to fail to relinquish jurisdiction
                  and transfer the court case file of Seguin v. RI Office of Child Support Services,
                  PC-22-07215 to the RI Supreme Court within the requisite 60 days after Plaintiff’s
                  filing of Notice of Appeal on April 3, 2023, as required by the RI Supreme Court
                  rules and procedures. At the same time, the Texas Plaintiff verified the fact that the
                  Plaintiff-ordered transcripts of the state proceedings in the Federal Plaintiff-initiated
                  state APRA action Seguin v. RI Office of Child Support Services, PC-22-07215
                  show the RI Superior Court further unconstitutionally sought to deny the Texas
                  Plaintiff access to the state court and opportunity to be heard by outright threatening
                  the Plaintiff in open court that the Judge, David Cruise, during the hearing of March
                  24, 2023 in that matter, shall use the state court’s discretionary power in the future to
                  deny all of the Texas pro-se Plaintiff’s petitions for remote WebEx hearings to
                  effectively deny her access to the state superior court. The state court that denies
                  court access and the opportunity to be heard fails the neutral-decision-maker test
                  required under the Fourteenth Amendment. I now specifically request further the
                  Court to judicially notice that this court access denial and denial to be heard occurred
                  on March 24, 2023, PRIOR to President Biden’s lifting of the COVID-19 National
                  Health Emergency Declaration. I, the Texas Plaintiff, aver this is a direct
                  contributory reason for the RI Superior Court’s failure to transfer the case file to the
                  Supreme Court within 60 days (by June 3, 2023) of the Plaintiff’s filing of Notice of
                  Appeal on April 3, 2023 in Seguin v. RI Office of Child Support Services, PC-22-
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              30. Fifthly, the Plaintiff presents to this Court and respectfully requests the Court to take
                  judicial notice of the undisputed fact of the court rule-making process in Rhode
                  Island. The 1966 Rules were promulgated by the justices of the superior court
                  pursuant to section 8-6-2 of the General Laws of Rhode Island. This enabling act
                  departed from the Federal Rules Enabling Act and most state enabling legislation
                  conferring rule-making power on the supreme courts of the respective governments.
                  The Rhode Island Enabling Act was adopted in 1940, 1940 R.I. Pub. Laws ch. 943,
                  sec. 1. It conferred the power on the justices of the superior court and the 1966
                  reform was the product of that court. In 1969 an amendment to section 8-6-2 made
                  the Rules thereafter adopted by the trial courts subject to the approval of the Supreme
                  Court. 1969 R.I. Pub. Laws ch. 239, sec 2. Therefore, all public records relating to
                  the adoption and promulgation of the “RHODE ISLAND JUDICIARY RULES OF
                  PRACTICE GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE
                  INFORMATION” are “made in the course of, made or received pursuant to law or
                  ordinance or in connection with the transaction of official business by any agency,
                  ““agency” or "public body" means any executive, legislative, judicial, regulatory, or
                  administrative body of the state, or any political subdivision thereof” as per R.I. Gen.
                  Laws § 38-2-2, a.k.a. RI Access to Public Records Act (“APRA”). Even though the
                  Rhode Island Enabling Act conferred the power on the judiciary public body to
                  promulgate and adopt court rules, a.k.a. rule-making process, the Rhode Island
                  Judiciary, pursuant to the Plaintiff’s APRA request for public records, denied the
                  Plaintiff’s APRA request within the 10 business day period, as well as denies it
                  possesses public records, as defined by APRA, relating to the rule-making process by
                  the judiciary of the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                  GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,”
                  including denying possession of public records that show the intent of the rule-makers
                  to promulgate and adopt court rules denying fundamental right of public access to
                  electronic case information remotely to the public, to self-represented litigants, and to
                  parties to a case. See Exhibit D fourteen (14) APRA correspondence emails between
                  the Plaintiff and/with Mr. Justin Correa, Esq. and Ms. Alexandra Kriss of the Rhode
                  Island Judiciary from June 10, 2023 to July 10, 2023. The Texas pro-se Plaintiff
                  respectfully requests the extension of time to present the new evidence and plead the
                  newly verified facts and claims, and amend the complaint, which is further in the
                  interest of judicial economy. The Plaintiff further seeks to appeal and file her claim
                  against the implausible denial by the RI Judiciary, which is conferred by the Rhode
                  Island Enabling Act to make rules of the court, that it possesses public records
                  relating to the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                  GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,” that
                  the judiciary, conferred power by the Rhode Island Enabling Act, “made in the course
                  of, made or received pursuant to law or ordinance or in connection with the
                  transaction of official business by any agency, ““agency” or "public body" means any
                  executive, legislative, judicial, regulatory, or administrative body of the state, or any
                  political subdivision thereof” as per R.I. Gen. Laws § 38-2-2, a.k.a. RI Access to
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                 Public Records Act (“APRA”). Because the RI Superior Court clearly ruled in
                 Seguin v. RI Office of Child Support Services, PC-22-07215 that it lacked subject
                 matter jurisdiction to hear my/the Texas Plaintiff’s APRA-related claims, I, the Texas
                 Plaintiff, now exercise my statutory and constitutional rights to petition this Federal
                 Court, invoking 28 U.S.C. § 1343(a)(3) (civil rights) and 28 U.S.C. § 1367 that
                 provides supplemental jurisdiction over the state law tort claims that arose from the
                 same common nuclei of facts, invoking 28 U.S.C. § 1331 (federal question), and
                 invoking 42 U.S.C. § 1983 for violations of civil rights under the First, Fourth and
                 Fourteenth Amendments to the United States Constitution. I, the Plaintiff,
                 respectfully request this Court for the extension of time to file my claims.
              31. Plaintiff discovered on October 6, 2023 that the Rhode Island Judiciary and
                  Government Defendants are former clients of Judge Smith, a partner in his former
                  firm, Edwards & Angell.
              32. Plaintiff discovered on November 9, 2023 that the Rhode Isand Judiciary and
                  Government Defendants are current clients of the firm Edwards & Angell, the former
                  firm of Judge Smith, a partner in the firm.
              33. A plain reading of 28 U.S.C. sec. 455 makes clear that Judge Smith is disqualified
                  from this case, and a plain reading of case law makes clear that 28 U.S.C. sec. 455 is
                  self-executing, without necessitating any party’s request.


                                                           Respectfully submitted,
                                                           Date: November 16, 2023
                                                           MARY SEGUIN


                                                           _____________________________
                                                           Mary Seguin
                                                           P.O. Box 22022
                                                           Houston, TX 77019
                                                           maryseguin22022@gmail.com
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                    Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                                        PLAINTIFF’S RULE 60(b) MOTION

               1. Plaintiff, proceeding from and as a citizen of Texas, respectfully requests pursuant to

       Fed. R. Civ. P. Rule 60(b)(1), (3), (4) and (6) for a new trial. Plaintiff avers the following,

       supported by affidavit attached: The 91-page First Amended Complaint [ECF 25] filed on

       September 1, 2023 seeks monetary damages against the Rhode Island State Defendants and the

       private actor Defendants for:

               (1) The Rhode Island Judiciary and Tyler Technologies’ monopoly of publication of law.


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              (2) The Rhode Island Judiciary and Tyler Technologies’ denial to the Public and to all

              Pro Se Litigants all access and the denial of free access to the contents of the law created,

              authored, and deliberated by the Rhode Island Judiciary.

              (3) The civil conspiracy by the Rhode Island Judiciary and Tyler Technologies to

              knowingly fail to properly integrate the legacy electronic court case management systems

              used by Rhode Island Department of Human Services and Office of Child Support

              Services during the implementation of Odyssey from 2013 to 2014 (the State’s official

              electronic court filing and electronic case management system), so that these state

              agencies’ filings are discriminately invisible only to the Public, to Pro Se Litigants and to

              the Rhode Island Virtual Clerk of the Courts in the Rhode Island Family Court, a limited

              jurisdiction court of record. The State’s filings are only visible to the judges and to the

              State filers, thus manipulating the proceeding towards a foregone conclusion in favor of

              the State filers.

              (4) The civil conspiracy by the Rhode Island Judiciary and Tyler Technologies to

              misrepresent to the Public and to the Pro Se Litigants that the implemented electronic

              court case records of judge created laws are available to all court users, in order to cover

              up their monopolization of the publication of law denies the Public and the Pro Se

              Litigant access to the judge-created laws.

              (5) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services that the State routinely establishes

              and enforces 12% compound interest on child and spousal support in Title IV of the

              Social Security Act state family court proceedings, in violation of the uniform statutory

              requirement of 42 U.S.C. § 654(21)(A) that provides States may opt to charge a fee, and



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              if the State opts to do so, between 3% to 6% simple interest, not 12% compound interest,

              targeting noncustodial parents victims. In welfare cases, support are assigned by the

              custodial parent to the State, and the 12% compound interest represents a fee for the

              State’s “services” in the support’s establishment and enforcement paid to the State, which

              at 12% compound interest represents lucrative, illegally obtained revenue to the State

              actors, who are financially incentivized to obtain as much as possible.

              (6) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services and Tyler Technologies to

              knowingly fail to properly integrate Odyssey with the State’s legacy electronic court

              filing system resulting in the State’s filings seeking illegal 12% compound interest, as

              well as to deny the Public and to Pro Se Litigants’ access to their publication of judge-

              created law records for the purpose of cover up of this wholesale illegal defraud of the

              court, extortionary defraud under color of state law targeting the unsuspecting

              noncustodial parents victims, and defraud of the United States (66% of the cost of these

              child support “operations” is funded by the U.S. Department of Health and Human

              Services through Title IV of the Social Security Act through funds appropriated by

              Congress through the annual budget appropriations.)

              (7) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Tyler Technologies to operate the Title IV Program of the Social

              Security Act in all manners violative of due process, in prima facie due process violative

              State Electronic Courts, for the purpose of generating state revenue through fraud and

              deceit, through conspired tortious interference of rights of access to the courts, rights of




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              access to state case documents, and rights of access to judge-created laws targeting

              litigants, targeting the Public and targeting Pro Se Litigants.

              (8) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Tyler Technologies to cover up their public-access-denied

              publication of state judge-created laws of illegal 12% compound interest benefiting the

              state’s revenue by adopting a State policy not to establish nor enforce any interest in

              interstate support cases only, calculated to cover up the collective fraud from federal

              enforcement officials and other states’ enforcement officials of court orders (laws)

              showing 12% compounded interest established and funded under Title IV that are facially

              illegally violative of 42 U.S.C. § 654(21)(A) which explicitly provides States may opt to

              charge a fee, and if the State opts to do so, between 3% to 6% simple interest, not 12%

              compound interest. The federal Title IV Program regulation by Congressional intent

              explicitly preempts any related state laws of all participating states.

              (9) The civil conspiracy by the Rhode Island Judiciary and the Defendant Department of

              Human Services and Office of Child Support Services and Barbara Grady and Gero

              Meyersiek to use the fraudulent, First Amendment-, Fourth Amendment-, Fifth

              Amendment-, Seventh Amendment-, and Fourteenth Amendment violative state court

              machinery weaponizing Title IV Program of the Social Security Act to target the Plaintiff

              pro se noncustodial parent in Texas to retaliate against Plaintiff for her past lawsuits

              against them, namely ten years ago in Seguin v. Chafee et al., Civil No. 12-cv-708-JD

              (D.R.I. 2013), Seguin v. Bedrosian et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and

              Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-LM (D.R.I. 2013), in which Plaintiff sued

              them, inter alia, for monetary damages claims for extortion by the Rhode Island state



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              court’s under color of state law abuse of the legal frame work of another federal-funded

              human services program Violence Against Women Act, 34 U.S.C. § 12471 et seq.,

              through which Rhode Island demanded that Plaintiff pay the state court actor $55,000.00

              per visitation if Plaintiff wanted to see her children in Rhode Island, because the state

              court stated in writing they believed Plaintiff married “a rich oil man” in Texas, absent

              any other legally sufficient basis. Plaintiff had reported this prima facie extortion under

              color of state law and under color of federal law 34 U.S.C. § 12471 et seq., to the federal

              law enforcement authorities, e.g., the F.B.I. in Texas and the Office of the U.S.

              Department of Justice in Texas. Here, Plaintiff’s retaliation damages claims have been

              issues pending before the Court since September 1, 2023 [ECF 25], at which point Judge

              Smith was disqualified under the self-executing expectation under 28 U.S.C. § 455,

              additionally given the fact Judge Smith had also self-recused from Seguin v. Chafee et

              al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v. Bedrosian et al, Civil No. 12-cv-

              614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-LM (D.R.I.

              2013) ten years ago. See In re Martinez-Catala, 129 F.3d 213, 220 (1st Cir. 1998)

              (“[under §455] the judge is expected to recuse sua sponte, where necessary, even if no

              party has requested it”).

              (10) The Rhode Island Judiciary continues the pattern of cover up by denying Plaintiff’s

              request for public judicial records related to the monopoly of publication of judge-created

              records submitted to the State Judiciary pursuant to the Rhode Island Access to Public

              Records Act (“RI APRA”).

              4. Plaintiff obtained new evidence on October 6, 2023 that the Rhode Island Judiciary is a

       former client of Judge Smith, and on November 9, 2023, Plaintiff obtained new evidence that the



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       Rhode Island Judiciary remains a major client of Judge Smith’s former law firm. Plaintiff’s due

       diligence search for conflict of interest has been impeded by the Rhode Island Judiciary and

       Tyler Technologies monopoly of publication of judge-created laws in the state’s electronic court

       system and their denial of access to the judge-created laws, and Plaintiff, as a member of the

       Public and proceeding pro se without a Rhode Island Attorney license, the issuance of which is

       also monopolized by the Rhode Island Judiciary, has further been denied access to official

       records, including through the Rhode Island Access to Public Records Act, consistent with a

       pattern of civil conspiracy cover up.

              5. A new trial or a stay of the Judgment is necessary to prevent irreparable harm to

       Plaintiff, and to Americans across the First Circuit who would be needlessly deprived of access

       to the federal courts of law in the First Circuit for monetary damages redress - the judicially

       created doctrine of Younger Abstention that functioned as a court of equity - regarding Plaintiff’s

       monetary damages claims against the Rhode Island Judiciary and Tyler Technologies’ scheme to

       monopolize the publication of judge-created laws that denies, tortiously interferes, tortiously

       abridges and tortiously obstruct the Public access to those very laws; regarding Defendant Rhode

       Island Office of Child Support Services’ unlawful seizures of interstate Texas properties outside

       of Rhode Island under color of Rhode Island state law based on legally insufficient interest

       charge on overdue support based on the unlawful rate of 12% compound interest that is

       disallowed under Title IV-D Program of the Social Security Act, specifically 42 U.S.C. §

       654(21)(A) that provides States may opt to charge a fee, and if the State opts to do so, between

       3% to 6% simple interest, not 12% compound interest. And this is on top of Defendants’ breach

       of contract that was brokered by Defendant Rhode Island Office of Child Support Services on

       behalf of the agency’s client; the contract between the custodial parent client, defendant Gero



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       Meyersiek and the Texas Plaintiff stipulated that the custodial parent waived interest upon the

       Texas Plaintiff paying a lump sum of $104,185.98 pay-off amount, which Plaintiff performed

       from Texas on December 7, 2021. Even at the point of contractual agreement, Defendant Rhode

       Island Office of Child Support Services in conjunction with Defendant Gero Meyersiek,

       misrepresented there was lawful and enforceable interest to be waived, as they removed the

       accrued interest from the Title IV-D Program mandated support record system in order to cover

       up from the Plaintiff, and from federal and Texas authorities the unlawful 12% compound rate.

       After fraudulently inducing Plaintiff in Texas to agree to and to perform on the contract, the

       Defendants immediately put the interest back into the Title IV-D Program-mandated automated

       support record system and started to seize Plaintiff’s properties in Texas under color of Rhode

       Island state law.

                 6. The final judgment is on its face violative of binding First Circuit caselaw that

       mandates lower courts to stay monetary damages claims when applying Younger Abstention.

       See DeMauro v. DeMauro, 115 F.3d 94, 98 (1st Cir. 1997) (relying on Quackenbush v. Allstate

       Ins. Co., 517 U.S. 706 (1996) in holding that abstention does not allow for dismissal of damages

       claim).

                 7. 42 U.S.C. § 654(21)(A) has been in effect since the enactment of the Title IV-D

       Program of the Social Security Act several decades ago, and Congress’s original intent was to

       combat poverty within the populace of single mothers and children in welfare cases; Congress at

       no time intended to shift the undue burden of Rhode Island’s 12% compound interest on overdue

       support under color of Rhode Island state law to noncustodial parents, whether targeting Texas

       or across the country, which in welfare cases Rhode Island converts the 12% compound interest

       to assigned debts owed by noncustodial parents to Rhode Island’s state agencies and state



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       government, representing underhanded unlawful state revenue unlawfully obtained through the

       legal framework of Title IV-D Program of the Social Security Act, targeting unsuspecting

       noncustodial parents victims. As a legal point of a state’s lawful application of 42 U.S.C. §

       654(21)(A) within the First Circuit, New Hampshire, in compliance with the letter of federal law,

       opts into Title IV-D Program and opts not to charge any interest whatsoever, as per the letter of

       law and the original intent of Congress, 42 U.S.C. § 654(21)(A). Similarly, Texas charges 6% in

       compliance with 42 U.S.C. § 654(21)(A).

              8. Defendant Rhode Island Office of Child Support Service’s illegal denial and

       obstruction of access to Plaintiff’s own child support case file that contains the incriminating

       illegal and arguably criminal scheme of removing the interest rate from the Title IV-D Program

       mandated and federally funded support record system to cover up the unlawful 12% compound

       interest from federal and Texas authorities, as well as from the Plaintiff in Texas, violates due

       process, obstructs justice, obstructs a federally funded and federal program proceeding, and the

       legal framework of Title IV-D of the Social Security Act, specifically, 42 U.S.C. § 654 and 42

       U.S.C. § 666.

              9. Judge Smith’s dismissal of Texas Plaintiff’s legal remedy monetary damages and

       breach of contract fraudulent inducement damages claims under Younger Abstention in this

       Court of law represents irreparable harm violative of the First Amendment, Fourth Amendment,

       Fifth Amendment, the Fourteenth Amendment, the Seventh Amendment and the First

       Amendment access to the Court. The undisputable fact remains, Plaintiff’s legal remedy request

       for monetary damages in this court of law consisting of twenty-two causes of action that cannot

       be dismissed under Younger Abstention, namely monetary damages claims of breach of contract

       fraudulent inducement, breach of implied contract, unjust enrichment, misrepresentation,



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       negligent misrepresentation, intentional/fraudulent misrepresentation, common law bad faith,

       breach of the covenant of good faith and fair dealings, tortious breach of the covenant of good

       faith and fair dealings, breach of fraudulent concealment/common law fraud, concealed fraud,

       tort of deceit, reckless indifference to the rights of Plaintiff, deliberate indifference to the rights

       of Plaintiff, abuse of process, breach of duty, accounting fraud, fraud cover up, RI Government

       Tort Liability (R.I. Gen. Laws 9-31-1, et seq.), 42 U.S.C. § 1983 Claim for Reckless Indifference

       of Plaintiff’s Clearly Established Constitutional Rights, 42 U.S.C. § 1983 claim of Fourth

       Amendment Illegal Seizure of Plaintiff’s Texas Property, state tort of liability against defendants

       under 42 U.S.C. § 1983, Civil RICO [ECF 25].

               10. Judge Smith’s legally-unsupported and factually-unsupported, and “legally

       insufficient” opinion that the limited jurisdiction family court is an adequate forum to raise

       Plaintiff’s federal legal damages claims of breach of contract et al., contravenes Rhode Island

       law: R.I. Gen Laws 8-10-3 makes clear that family court is not a court of general jurisdiction,

       can only conduct bench trials functioning as a court of equity, not of law, and prohibits family

       court from exercising jurisdiction over breach of contract claims et al between the Texas Plaintiff

       and the Defendants; family court lacks jurisdiction over the Plaintiff’s federal causes of actions;

       lacks the jurisdiction to summon a jury for jury trial in a court of law.

               11. Finally, but equally critically, twenty-one days post judgment Plaintiff discovered

       troubling new evidence on November 9, 2023, that Judge Smith appears to have impermissibly

       acted in favor of the interests of the defendants – he is automatically disqualified under 28

       U.S.C. § 455, because as a partner in his past practice and firm, the state government and the

       Rhode Island Judiciary were not only his clients, but continue to be that firm’s major client under

       a flat fee contract and he has knowledge of the defendants’ actions in this action – as a major



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       partner in his firm, the Rhode Island Judiciary is his and his form’s past and current clients, the

       state government actors and the state courts actors, cooperate in the routine establishment and

       enforcement of 12% compound interest under the legal framework of Title IV-D Program of the

       Social Security Act, where 12% compound interest is disallowed under 42 U.S.C. § 654(21)(A).

       To the objective observer, having knowledge of the facts and circumstances of this case, and

       being a partner in his past firm that continues to have the Rhode Island Judiciary as a client,

       Judge Smith appears biased in favor of the defendants’ interest to continue raking in state

       revenue under the auspices of 42 U.S.C. § 654(21))(A) that explicitly disallows state debts of

       12% compound interest assigned to Rhode Island that the state actors who cover up the 12%

       compound rate by obstructing the noncustodial parent’s access to her own child support case file

       that is further violative of the due process provisions under 42 U.S.C. § 654 and §666, in Rhode

       Island’s federally funded operation with funds appropriated by Congress intended for the lawful

       operation of Title IV-D of the Social Security Act. Although under the judicial self-executing

       expectation under 28 U.S.C. §455, the Texas Plaintiff is not expected to cull court records in the

       Rhode Island state courts for judicial conflict of interest, nevertheless the Plaintiff in good faith

       and diligently attempted to perform a remote search of Rhode Island’s electronic court case

       management system, Odyssey in 2023. In so doing, Plaintiff discovered troubling newly-

       discovered evidence that the Rhode Island Judiciary, while publicly representing that the 2014 $6

       million state transition from paper courts to electronic courts promises all court users will be

       able to call up court documents remotely from their mobile devices, in reality Rhode Island

       adopted rules only denying the public and pro se litigants remote access to court case

       information, including pro-se litigants’ own case records, that both the public and all litigants

       had equal statutory, common law and constitutional rights of access in paper courts – Judge



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        Smith’s firm’s clients, the Rhode Island Judiciary, therefore implemented electronic court public

        access denials that obstructed Plaintiff’s and the public’s discovery of Judge Smith’s judicial

        disqualification regarding his former clients such as the state courts, the defendant state actors

        and other conflict entities.

                I. LEGAL STANDARD

                11. The United States Supreme Court in 2020 reaffirmed, in GEORGIA, ET AL.,

        PETITIONERS v. PUBLIC.RESOURCE.ORG, INC, 590 U.S. ___ (2020), the century-old

        government edicts doctrine, making clear that officials empowered to speak with the force of law

        cannot be the authors of—and therefore cannot monopolize access—the works they create in the

        course of their official duties. The U.S. Supreme Court previously applied that doctrine to hold

        that non-binding, explanatory legal materials when created by judges who possess the authority

        to make and interpret the law shall not monopolize access to it. See Banks v. Manchester, 128 U.

        S. 244 (1888). Tyler Technologies is a for profit organization that aims to facilitate public access

        to government judge-created records and legal materials. Tyler Technologies is contracted by the

        Rhode Island Judiciary to implement the State’s electronic courts in 2013 and together, they both

        publicly represented that access to the contents of judge-created laws records will be readily

        called on mobile devices to all court users, namely, to the Public and to pro se litigators.

                12. Under the government edicts doctrine, judges may not be considered the “authors” of

        the works they produce in the course of their official duties as judges. That rule applies

        regardless of whether a given material carries the force of law. In Banks v. Manchester, 128 U. S.

        244 (1888) the Supreme Court concluded that “the judge who, in his judicial capacity, prepares

        the opinion or decision, the statement of the case and the syllabus or head note” cannot “be

        regarded as their author or their proprietor. Banks, 128 U. S, at 253 (emphasis in original).



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        Rather, “[t]he whole work done by the judges constitutes the authentic exposition and

        interpretation of the law, which, binding every citizen, is free for publication to all.” Ibid. (citing

        Nash v. Lathrop, 142 Mass. 29, 6 N. E. 559 (1886)). These cases establish a straightforward rule:

        Because judges are vested with the authority to make and interpret the law, they cannot be the

        “author” of the works they prepare “in the discharge of their judicial duties.” Banks, 128 U. S., at

        253. This rule applies both to binding works (such as opinions) and to non-binding works (such

        as headnotes and syllabi). Ibid. The animating principle behind this rule is that no one can own

        the law. “Every citizen is presumed to know the law,” and “it needs no argument to show . . . that

        all should have free access” to its contents. Nash, 142 Mass., at 35, 6 N. E., at 560 (cited by

        Banks, 128 U. S., at 253–254). Rather than attempting to catalog the materials that constitute

        “the law,” the doctrine bars the officials responsible for creating the law from being considered

        the “author[s]” of “whatever work they perform in their capacity” as lawmakers. Ibid. (emphasis

        added). Because these officials are generally empowered to make and interpret law, their “whole

        work” is deemed part of the “authentic exposition and interpretation of the law” and must be

        “free for publication to all.” Ibid.

                13. Rhode Island Judiciary and Tyler Technologies monopoly of publication of the

        judge-created laws and their “whole works” making and interpreting the law that explicitly by

        design deny access to the Public and to the Pro Se Litigant runs afoul of the government edicts

        doctrine.

                14. Courts have long understood the government edicts doctrine to apply to legislative

        materials. See, e.g., Nash, 142 Mass., at 35, 6 N. E., at 560 (judicial opinions and statutes stand

        “on substantially the same footing” for purposes of the government edicts doctrine); moreover,

        just as the doctrine applies to “whatever work [judges] perform in their capacity as judges,”



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        Banks, 128 U. S., at 253, it applies to whatever work judges perform in their capacity as judges.

        Banks, following Wheaton and the “judicial consensus” it inspired, denied publication monopoly

        protection to judicial opinions without excepting concurrences and dissents that carry no legal

        force. 128 U. S., at 253 (emphasis deleted). As every judge learns the hard way, “comments in

        [a] dissenting opinion” about legal principles and precedents “are just that: comments in a

        dissenting opinion.” Railroad Retirement Bd. v. Fritz, 449 U. S. 166, 177, n. 10 (1980). Yet such

        comments are covered by the government edicts doctrine because they come from an official

        with authority to make and interpret the law. Indeed, Banks went even further and withheld

        publication monopoly protection from headnotes and syllabi produced by judges. 128 U. S., at

        253. Surely these supplementary materials do not have the force of law, yet they are covered by

        the doctrine. The simplest explanation is the one Banks provided: These non-binding works are

        not copyrightable because of who creates them—judges acting in their judicial capacity. See

        ibid. The textual basis for the doctrine is the “authorship” requirement, which unsurprisingly

        focuses on—the author, the judges. The Supreme Court long ago interpreted the ‘author” to be

        officials empowered to speak with the force of law. The doctrine distinguishes between some

        authors (who are empowered to speak with the force of law) and others (who are not). The

        Supreme Court explicitly rejects allowing the States to “monetize its entire suite of legislative

        and judicial history. With today’s digital tools, States might even launch a subscription or pay-

        per-law service.” See Georgia v, Public Resources Org. at 590 U. S. ____ (2020) It is obviously

        explicitly clear that the Supreme Court refers to the prohibition against the Rhode Island

        Judiciary and Tyler Technology’s monopolization of the digital publication of DIGITAL

        COURT JUDICIAL COURT RECORDS that denies publication access of judge-created laws

        and their work materials to the Public and to Pro Se Litigants.



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               15. There is no legitimate Rhode Island government interest in the knowing illegal denial

        of access to the public and to pro se litigants the digital records of the Rhode Island Judiciary’s

        and Tyler Technologies’ illegal monopolization of digital publication of judge-created laws

        involving the establishment nor enforcement of unlawful 12% compound interest violative of

        explicitly clear 42 U.S.C. § 654(21)(A) within the legal framework of Title IV-D Program

        targeting noncustodial parties in Texas who are outside of Rhode Island that Rhode Island

        already knows is unenforceable in Texas, and thus had removed the 12% compound interest in

        2018 calculated to cover it up from federal and Texas authorities. Rhode Island’s abuse of the

        legal framework of the government edict doctrine and the legal framework of Title IV-D

        Program are diametrically at odds with the intent of Congress and binding caselaws of the U.S.

        Supreme Court. The civil conspiracy to cover up the illegal machinery of the digital electronic

        courts in Rhode Island is clear. See Turner v. Rogers, 131 S. Ct. 2507, 2518 (2011). See Georgia

        v, Public Resources Org. at 590 U. S. ____ (2020); See HOUSE COMM. WAYS & MEANS,

        Section 8: Child Support Enforcement Program, in 2004 GREEN BOOK: BACKGROUND

        MATERIAL AND DATA ON THE PROGRAMS WITHIN THE JURISDICTION OF THE

        COMMITTEE ON WAYS AND MEANS 8-1, 8-2 (2004). See Social Services Amendments of

        1974, Pub. L. No. 93-647, § 101, 88 Stat. 2337, 2351. Where the mother receives public aid,

        federal and state governments will provide the child support payment to the mother and hold the

        father indebted to the government for that amount. In cases where the mother is not dependent

        on welfare, the government has largely stayed out of the fray. See HOUSE COMM. WAYS &

        MEANS, supra note 38. Yet, this case does not involve a welfare case, as the custodial father is

        wealthy, but the Defendants are motivated by retaliation against the Plaintiff for suing them ten

        years ago in Seguin v. Chafee et al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v. Bedrosian



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        et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-cv-95-JNL-

        LM (D.R.I. 2013), in which Plaintiff sued them, inter alia, for monetary damages claims for

        extortion by the Rhode Island state court’s under color of state law abuse of the legal frame work

        of another federal-funded human services program Violence Against Women Act, 34 U.S.C. §

        12471 et seq., through which Rhode Island demanded that Plaintiff pay the state court actor

        $55,000.00 per visitation if she wanted to see her children in Rhode Island, because the state

        court stated in writing they believed Plaintiff married “a rich oil man” in Texas, absent any other

        legally sufficient basis. Plaintiff had reported this prima facie extortion under color of state law

        and under color of federal law 34 U.S.C. § 12471 et seq., to the federal law enforcement

        authorities, e.g., the F.B.I. in Texas and the Office of the U.S. Department of Justice in Texas.

        Here, Plaintiff’s retaliation damages claims have been issues pending before the Court since

        September 1, 2023 [ECF 25], at which point Judge Smith was disqualified under the self-

        executing expectation under 28 U.S.C. § 455, additionally given the fact Judge Smith had also

        self-recused from Seguin v. Chafee et al., Civil No. 12-cv-708-JD (D.R.I. 2013), Seguin v.

        Bedrosian et al, Civil No. 12-cv-614-JD (D.R.I. 2013), and Seguin v. Suttell et al, Civil No. 13-

        cv-95-JNL-LM (D.R.I. 2013) ten years ago. See In re Martinez-Catala, 129 F.3d 213, 220 (1st

        Cir. 1998) (“[under §455] the judge is expected to recuse sua sponte, where necessary, even if no

        party has requested it”).

                                                 II. ARGUMENT

               16. Plaintiff has appealed the Court’s/Judge Smith’s judgment in its entirety in the related

        case, Seguin v, RI Office of Child Support Services et al Civil No. 23-cv-34-WES-PAS (D.R.I.

        2023) and respectfully submits that she is likely to secure a complete reversal of this Court’s




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        holding that the judicially created doctrine of Younger Abstention applies to the dismissal of her

        monetary damages and breach of contract damages claims.

                17. Plaintiff further submits that she is likely to secure a complete reversal of this Court’s

        in this case.

                18. Conducting state proceedings funded by federal funding appropriated by Congress

        under Title IV of the Social Security Act in state monopolized electronic courts that violate the

        long-established government edict doctrine as it related to the Public’s access of the digital

        publication of judge-created laws and violate the Constitution targeting Texas assets and Texas

        parties for illegal 12% compound interest involving fraudulent inducement that cannot be

        enforceable in Texas is the prima facie example of government fraud and government waste,

        warranting cut off from federal funding at the very minimum. Not even Judge Smith, friend of

        the Rhode Island Judiciary, can punt these egregious state activities to later addressment via the

        attention of the Supreme Court and to Congress Appropriation Committees, wrongfully using

        Younger Abstention.

                19. Judge Smith’s holding is defect in claiming without a shred of factual basis that

        Plaintiff can raise her federal monetary damages claims and fraudulent inducement breach of

        contract claims in the jurisdictionally defective Rhode Island family court, that R.I. Gen. Laws 8-

        10-3 plainly states the family court is not a court of general jurisdiction, and which lacks the

        jurisdiction over the controversy for legal relief of monetary damages tort claims and fraudulent

        inducement breach of contract damages claims over both the Plaintiff and all the named

        defendants.




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                 20. Plaintiff seeks a new trial or a stay pending appeal as Plaintiff’s likelihood of success

        on appeal, together with the lopsided balance of hardships, weigh heavily in favor of granting the

        stay being sought pending appellate review.

                 A. Plaintiff is Likely To Succeed On Appeal Of the Judgment Ordered By the

        Court:

                 21. Although Plaintiff recognizes that the Court has ruled against her as to the scope of

        relief, Plaintiff is likely to succeed on appeal of those issues, and has raised serious legal

        questions and presented a substantial case. See Arnold v. Garlock, Inc., 278 F.3d 426,

        438-39 (5th Cir. 2001).

                 22. Plaintiff incorporates by reference her prior remedy arguments. Plaintiff reserves the

        right to make any and all arguments on appeal.

                 23. Among the substantial questions raised by Plaintiff is whether the Court erred in

        awarding Defendants dismissal of Plaintiff’s monetary damages claim in this First Circuit under

        Younger Abstention and erred in failing to self-execute 28 U.S.C. § 455. And Plaintiff

        respectfully submits that she is likely to succeed on appeal in arguing that, in these

        circumstances, dismissal was not properly ordered in the particular circumstances of this case

        pursuant to established binding First Circuit caselaws on both the Court’s errors applying

        Younger Abstention as well as judicial disqualification. See DeMauro v. DeMauro, 115 F.3d 94,

        98 (1st Cir. 1997); In re Martinez-Catala, 129 F.3d 213, 220 (1st Cir. 1998); Quackenbush v.

        Allstate Ins. Co., 517 U.S. 706 (1996). See also Allen v. La. State Bd. of Dentistry, 835 F.2d 100,

        104 (5th Cir. 1988). (“Younger abstention does not apply to claims for monetary damages.”)



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               24. Absence of a new trial or a stay of the judgment will erode confidence in the

        Judiciary in the First Circuit by creating an impression that it is violating national law regarding

        the government edict doctrine and setting illegal new national policy regarding the Title IV-D

        Program. It may also have the effect of “encouraging forum shopping.” Trump v. Hawaii, 138

        S. Ct. 2392, 2425 (2018) (Thomas, J., concurring). It further “undermines the judicial system’s

        goals of allowing the ‘airing of competing views’ and permitting multiple judges and circuits to

        weigh in on significant issues.” See also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

        (2008) (traditional remedial principles account for “the public interest” and “the balance of

        equities”); EME Homer City Generation, LP v. EPA, 795 F.3d 118, 132 (D.C. Cir. 2015)

        (Kavanaugh, J.) (declining to vacate unlawful agency action under the APA because “vacatur

        could cause substantial disruption”). In this context, the dismissal of Plaintiff’s state government

        tort monetary damages claims entered by the Court could cause substantial disruption to the

        uniform application of the legal framework of the Title IV-D Program Congress explicitly

        intended.

               25. The serious legal questions raised in this case regarding the scope of remedy go

        beyond the questions of whether a Younger abstention is applicable to federal monetary damages

        claims and or the feeble assertion of comity applied to the Rhode Island Judiciary and Tyler

        Technology’s gross violation of the government edict doctrine—and indeed, those questions

        should not have even entered into this case. Here, among Plaintiff’s challenges was to state

        Judiciary, Tyler Technologies and agency actions, and Plaintiff pursued fraudulent inducement

        breach of contract damages claims and tort monetary damages claims. Instead, the Court at law

        cannot vacate a federal statute—i.e., cannot “delete a previously enacted statute from the books”

        such as 42 U.S.C. § 1983. See also Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va.


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        L. Rev. 933, 936 (2018) (“The federal courts have no authority to erase a duly enacted law from

        the statute books, and they have no power to veto or suspend a statute. The power of judicial

        review is more limited.” (footnotes omitted). Legal monetary damages relief under 42 U.S.C. §

        1983 that would hold the Rhode Island state government accountable under the Rhode Island

        Government Tort Act for Rhode Island government actors’ tortious actions violating the legal

        framework of the Title IV-D Program federal statutes targeting the Plaintiff in Texas was a legal

        remedy conferred by Congress to federal courts to grant legal relief appropriate in this case. The

        Court has an unflagging obligation to exercise jurisdiction conferred to it by Congress. See

        Sprint Communications, Inc. v. Jacobs, 571 U.S. 69 (2013)

               26. With respect, although the Court has entered a judgment otherwise, Plaintiff has

        demonstrated a likelihood of success on appeal of the Final Judgment sufficient to justify a stay

        of the judgment.

               B. The Balance of the Equities Overwhelmingly Favors the Requested New Trial or

        Stay

               27. The balance of the equities overwhelmingly favors a new trial or stay: The State of

        Rhode Island plainly lacks any legitimate interest in the State’s systemic knowing violation of

        the government edict doctrine and violation of 42 U.S.C. § 654(21)(A) that they now target

        Plaintiff in Texas, and which they sought to cover up from federal and Texas authorities, as well

        as from Plaintiff, by knowingly and unlawfully removing interest from the automated support

        record system. Americans outside of Rhode Island re fraudulently, unlawfully and systemically

        fleeced by Rhode Island’s illegal scheme that is illegally funded through the State’s defrauding

        of the United States lying to the United States that these activities are eligible for federal funds



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        appropriated by Congress for the legal administration of Title IV Program of the Social Security

        Act.

               28. Defendants will face no harm from Plaintiff’s requested new trial or stay. The

        judgment that is specifically directed to and protects the prevailing Defendants from legal

        accountability of their illegal actions, is further issued by a disqualified judge, Judge Smith, who

        was the former counsel for the Defendants and a partner of the firm whose major client is the

        Rhode Island Judiciary, e.g., Rhode Island state government entities, including the state courts

        and state agencies. The requested new trial or stay will thus impose no hardship on the

        prevailing Defendants at all.

               29. By contrast, the public and the Plaintiff face significant harm if now new trial is

        ordered or the judgment is not stayed. As an initial matter, “any time a [government]” violates

        “statutes enacted by representatives of its people,” the people “suffer a form of irreparable

        injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation

        omitted). But the harm here is much greater and more far-reaching. The government edict

        doctrine is willfully violated by the Rhode Island Judiciary and Tyler Technology in a civil

        conspiracy to cover up the illegal state family court creating judge-created laws ordering and

        enforcing 12% compound interest, aided and abetted by the Department of Human Services -

        Title IV-D requires the uniform application and compliance by participating States with the

        Social Security Act. Congress’s as well as the United States through the Secretary of the U.S.

        Department of Health and Human Services’ interest in the uniform compliance of 42 U.S.C. §

        654(21)(A), § 654 and 42 U.S.C. § 666 are well established. The States are reimbursed 66% of

        the cost of operations through federal funding appropriated by Congress under Title IV-D of the

        Social Security Act. The Defendants’ arbitrary illegal removal of the illegal unenforceable 12%

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        compound interest from the automated support record system and cover up of their illegal 12%

        compound interest scheme from the federal and Texas authorities targeting Texas properties and

        targeting the Plaintiff in Texas demonstrates Rhode Island government agencies (who are former

        clients of Judge Smith) knowingly committed criminal schemes illegally seizing Plaintiff’s

        properties interstate in Texas that they know are violative of federal criminal codes and Texas

        civil and penal codes. See, e.g., Social Services Amendments of 1974 (1975 Act), Pub. L. No.

        93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et seq.) (adding Title IV-D to the Social Security

        Act). The program, which is administered by the United States Secretary of Health and Human

        Services (Secretary), provides that States with approved plans for child and spousal support that

        meet federal requirements are reimbursed by the federal government for a significant sixty-six

        percent (66%) of the costs of operating their child-support enforcement programs. 42 U.S.C.

        §v655(a)(2)(C). In 1975, Congress adopted Title IV-D, 42 U.S.C. §v651 et seq., and established

        the general statutory framework that exists today. See 1975 Act § 101(a), 88 Stat. 2351; Blessing

        v. Freestone, 520 U.S. 329, 333-335 (1997) (describing program). Congress ultimately set the

        federal share of reimbursable expenditures at 66%, 42 U.S.C. 655(a)(2), but expanded the

        availability of matching funds at the 90% level for State expenditures for automating data

        processing systems to improve “the monitoring of support payments, the maintenance of

        accurate records regarding the payment of support. Therefore, the Defendants’ illegal operations

        cannot be funded by Congressional appropriations.

               30. Judge Smith’s failure to self-execute his disqualification under 28 U.S.C. § 455 as

        well as Canon 3E of the Code of Judicial Conduct, then his subsequent refusal to recuse in the

        related case, Seguin v, RI Office of Child Support Services et al Civil No. 23-cv-34-WES-PAS

        (D.R.I. 2023), upon Plaintiff’s request after she raised newly discovered discovery post judgment


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        on October 6, 2023 of his direct and past public sector law practice’s contract legal

        representation of the Defendants, state courts, state agencies and other conflict entities, have the

        appearance, to the objective observer, of the Court’s issuance of judgment in favor of the

        Defendants in error that contravenes established First Circuit case law on Younger Abstention as

        well as disqualification, calculated to benefit the interests of his former clients, as partner of his

        former firm that represents the Rhode Island Judiciary and the state government.

                31. Moreover, the Court’s judgment effectively functions as a denial of Plaintiff’s access

        to this Court of law to redress her legal monetary damages claims and fraudulent inducement

        breach of contract damages claims. It is well-settled that even minimal loss of First Amendment

        freedoms, “unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373, 96

        S. Ct. 2673, 49 L. Ed. 2d 547 (1976) (plurality)); see also Elrod, 427 U.S. at 373.; N.Y. Times v.

        United States, 403 U.S. 713, 715 (1971). Accordingly, Plaintiff has a strong likelihood of success

        on the merits, will suffer irreparable injury without a stay, and a stay will not injure others while

        furthering the public interest.

                III. CONCLUSION

                27. For the foregoing reasons, Plaintiff has demonstrated a likelihood of success on

        appeal of the Judgment ordered, and has demonstrated that the balance of the equities favors a

        new trial or a stay. Plaintiff respectfully requests that the Court stay the final judgment for the

        duration of appellate proceedings relating to the related Seguin v, RI Office of Child Support

        Services et al Civil No. 23-cv-34-WES-PAS (D.R.I. 2023).

                                              CERTIFICATE OF SERVICE




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               I HEREBY CERTIFY that on November 16, 2023, I filed the within Motion with the

        Clerk of the Court via email.

                                                        Respectfully submitted,
                                                        Mary Seguin
                                                        Pro Se
                                                        /s/____________________
                                                        Email: maryseguin22022@gmail.com
                                                        Phone: (281)744-2016
                                                        P.O. Box 22022
                                                        Houston, TX 77019

                                                        Dated: November 16, 2023




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               UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


        MARY SEGUIN,
        pro se

        Plaintiff,

        VS.                                                  Civil Action No. 1:23-cv-126-WES-PAS


        RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
        D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
        RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
        TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
        CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
        PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
        official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
        A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
        ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
        STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
        THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
        its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
        ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
        TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
        JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
        ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
        OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
        TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

        Defendants
              MARY SEGUIN’S DECLARATION IN SUPPORT OF PLAINTIFF’S RULE 60(b)
                                       MOTION


              I, MARY SEGUIN, hereby declare under penalty of perjury, pursuant to 28 U.S.C. sec.
        1746(2) that the following statements are true and correct:
                1. That I am the Plaintiff, Pro Se, in the above captioned matter.
                2. That I exercised, am exercising and continue to exercise my statutory right to appear
                   pro se party in the above captioned civil matter in federal court by statute 28 U.S.C.
                   sec. 1654.
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              3. That in state proceedings in Rhode Island, I am required to comply with Rhode Island
                 Article X. Rules Governing Electronic Filing, Rule 2. Official Court Record, (a)
                 Official Court Record. “Upon the implementation of the Electronic Filing System
                 (“EFS”) in each court, all documents shall be filed electronically and shall be the
                 official court record.”
              4. That the state proceedings in which I am a party are public and are not about child
                 custody nor involve a minor.
              5. That the Rhode Island Family Court, through its adoption and promulgation of
                 Administrative Order 2021-01 A2) mandated that all child support interest matters
                 shall be heard remotely via WebEx. Further, Administrative Order 2021-01 B1)
                 mandated that all non-emergency filings shall be filed using the electronic filing
                 system in accordance with the Family Court Rules of Domestic Relations Procedure,
                 which is the Odyssey system.
              6. That the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                 GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,
                 Rule 5. Access to Case Information, (c) Remote Access to Case Information. (1)
                 Policy. To allow limited Remote Access to the Database through the Public
                 Portal. Non-public case types shall not be remotely accessible except for certain
                 case types to attorneys who have entered an appearance in a case. (2) Content.
                 (a) The Public, Self-represented Litigants and Parties. The Public, self-
                 represented litigants, and parties shall have Remote Access to the register of
                 actions or Docket but shall not have Remote Access to other Electronic Case
                 Information” bar, deny, violate, abridge, infringe and interfere with Pro Se
                 Litigants’ and the Public’s fundamental rights to access public court records and
                 Pro Se Litigants’ fundamental right to meaningful access to the courts. See
                 “RHODE ISLAND JUDICIARY RULES OF PRACTICE GOVERNING
                 PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION” Rule 5(c)(2)(a)
                 “The Public, Self-represented Litigants and Parties. The Public, self-represented
                 litigants, and parties shall have Remote Access to the register of actions or
                 Docket but shall not have Remote Access to other Electronic Case Information.”
                 See also “RHODE ISLAND JUDICIARY, Access to Case Information, 2.
                 Remote Access to Case Information A. The Public, Self-represented Litigants,
                 and Parties to a Case, The public, self-represented litigants, and parties in a case
                 shall have remote access to the register of actions or docket but shall not have
                 remote access to other electronic case information.”
              7. That I, the Plaintiff, learned and verified on July 10, 2023 directly from the Rhode
                 Island Judiciary itself through numerous (14) correspondences with the Rhode Island
                 Judiciary from June 10, 2023 to July 10, 2023, pursuant to my RI Access to Public
                 Records Act (“APRA”) request for public records from the Rhode Island Judiciary,
                 that as a matter of State policy, State Court Rule, and Judiciary Rule, in the digital
                 courts implemented by the Rhode Island Judiciary, the State Court, the Rhode Island
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                 Judiciary deny remote digital access of the Rhode Island Judiciary’s monopolized
                 publication of court and judicial records using the digital tool maintained and
                 published by Tyler Technologies, Odyssey, including judge-created, judge-authored
                 court decisions arising from state proceedings in the State’s digital electronic courts,
                 and digital court transcripts ordered by and paid by pro-se litigants that are published
                 by the Judiciary digitally on Tyer Technologies’ Odyssey are also denied access to
                 the Public, pro-se litigants, and parties to the litigation (who are represented by
                 counsel). The Rhode Island State Court only grants remote access to digital court and
                 judicial records created by judges produced in digital courts to Rhode Island attorneys
                 and state and federal agencies that are approved by the Rhode Island Judiciary’s
                 monopoly. On this matter, I corresponded in writing fourteen (14) APRA
                 correspondence emails with Mr. Justin Correa, Esq. and Ms. Alexandra Kriss of the
                 Rhode Island Judiciary from June 10, 2023 to July 10, 2023.
              8. That the State Defendants in this matter electronically file all notices using another
                 electronic filing system that is even separate and different from the EFS (Odyssey).
              9. That the State Defendants’ court electronic filings are not noticed to me in Texas.
              10. That the State Defendants’ court electronic filings are not visible to me on the Rhode
                  Island courts’ EFS.
              11. That the State Defendants’ court electronic filing court records cannot be accessed
                  remotely by me, solely because I am a self-represented litigant.
              12. That the State Defendants’ court electronic filing court records cannot be accessed
                  remotely by the public, by self-represented litigants, nor by parties to the case, but
                  can be accessed remotely and instantly through the internet by attorneys in Rhode
                  Island and state and federal agencies.
              13. That the Rhode Island Court Clerks state to me over the phone that they are
                  prohibited from reading the contents of the court records over the phone to me.
              14. That the Rhode Island Court virtual clerks state to me over the phone that even they
                  are unable to see or access the court record information of filings by the State
                  Defendants from the virtual clerks’ access portals.
              15. That the Rhode Island Electronic Filing System, case management system, rules and
                  practices outright and unconstitutionally restrict and deny access to the court to three
                  classes: (1) the public; (2) pro-se litigants; (3) parties to the case (who are represented
                  by counsel), and is obviously outright reserved for only the government and Rhode
                  Island attorneys.
              16. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS.
              17. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices, and
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                 withdrew from my-initiated RI EOHHS agency appeal in 2022 in a scheme to procure
                 a favorable judgment in a state proceeding that deny my federal constitutional and
                 due process rights in Texas.
              18. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices, and
                  initiated the family court state proceeding on January 31, 2023 before the Covid
                  Emergency Declaration was lifted.
              19. That the State Defendants have full knowledge of the egregious due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices that
                  appear to only allow remote, instant and full court access to a restricted club of
                  R.I. lawyers and the government, pose unconstitutional and undue burden on me, a
                  citizen of Texas over 2,500 miles away.
              20. That the State Defendant have full knowledge of the egregiously unfair due process
                  violations of the Rhode Island state court EFS system/architecture/rules/practices that
                  deny me access to the required electronic court transcripts prepared by the court
                  reporter and electronically filed in the state EFS that I ordered and paid for for
                  appeal, but the State Defendants have instant remote access by state court design.
              21. That the State Defendants have full knowledge of the above unconstitutional
                  restriction on access to court records and information to the public and non-lawyers is
                  deliberate, by design and calculated to be unfair, violating constitutional guarantees
                  of full and fair opportunity to raise claims in state proceedings.
              22. That the above-raised unconstitutional restrictions are not exhaustive.
              23. That my federal monetary damages claims on the unconstitutionality of the Rhode
                  Island state court rules, practices and proceedings that violate the government edict
                  doctrine and violate the pro-se litigants’, such as my-self, federal constitutional rights:
                  (1) federal constitutional right of equal access to the courts, (2) federal constitutional
                  right to equal access to court records to receive information on the contents of all
                  electronically filed notices, pleadings, court decisions, and transcripts that I myself
                  ordered and paid for for appeal that are required to be electronically filed by state
                  court rules and practices, (3) federal constitutional due process right and equal right to
                  be given equal and timely notice of electronic filings and entries by the courts
                  (including court decisions, court orders, court judgments, full docket entries, etc.) that
                  the Rhode Island Judiciary deliberately deny by category all pro-se litigants access to
                  court information, namely the contents of judicial/court records of cases to which I
                  am the self-represented party, (4) federal constitutional due process right to be heard
                  (Rhode Island Superior Court threatens me, the Texas pro-se plaintiff, with denial of
                  my request to conduct WebEx hearings for the purpose of denying the Texas pro-se
                  litigant access to the court and to be heard), (5) federal constitutional due process
                  right to decision by a neutral decision-maker (the court that denies pro-se litigant
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                 access to the court and the corollary opportunity to be heard fails the neutral decision-
                 maker test). This list is not exhaustive.
              24. That I seek to sue in federal court the State Defendants and add additional defendants.
              25. I am an out-of-state diversity and a pro-se litigant in two state proceedings in Rhode
                  Island, and have been unconstitutionally singled out by the State Judiciary, by
                  category “self-represented litigant,” to be barred from accessing electronic case
                  information authored by judges and which the Judiciary has a monopoly in the
                  publication of the judge-created laws in which state court cases I am the pro-se party,
                  and therefore have standing to raise claims against this unconstitutional state practice
                  and unconstitutional state court practice and rules. I understand the Rhode Island
                  Judiciary’s monopoly in the digital publication of judge-created laws in the Judiciary’
                  implemented digital/electronic courts and the Judiciary’s denial to the Public and to
                  me from accessing the monopolized electronic publication of the judge-created laws
                  in the court records violate the government edict doctrine.
              26. Additionally, my fundamental First and Fourteenth Amendment constitutional right
                  and common law right to equal, meaningful, and timely access to judicial records and
                  public court records in litigation, given timely notice, adequate opportunity to be
                  heard and to decision by a neutral decision-maker are fundamental First and Fourth
                  Amendment and Fourteenth Amendment rights. Critically, the unconstitutional
                  abridgement, infringement, and denial of judicial and court records to out-of-state
                  pro-se litigants by the Rhode Island State Courts, Rhode Island State Judiciary and
                  the Rhode Island Superior Court Bench Bar Committee directly relate to Younger
                  Abstention Exception.
              27. The State Defendants deliberately file all the State’s pleadings outside of the State’s
                  electronic filing system, “Odyssey,” and deliberately use a wholly different un-named
                  electronic filing system, different and separate from that (“Odyssey”) provided for
                  pro-se litigants, so that pro-se litigants do not receive any requisite automated
                  electronic notices of court motions or pleadings the State Defendants file
                  electronically, nor are pro se litigants able to electronically access the content
                  information of the State Defendants’ electronically-filed pleadings. The only way the
                  pro se litigant, such as me, the Texas Plaintiff, can access the court record is to
                  personally go over 2,500 miles away to the courthouse in Rhode Island to access the
                  court pleading information, or get a “courtesy notice” via email or get a “courtesy
                  notice” through U.S. Mail sent by the State Defendants at whim. The State
                  Defendants deliberately fail to send the notices electronically or by U.S. Mail, and the
                  state courts deliberately promulgated court rules disallowing the public, pro-se
                  litigants and even the parties who are represented by lawyers, remote access to court
                  records, and critically, deny access to crucial court decisions, judgments and orders of
                  public cases, as well as deny remote access to the transcripts ordered by pro-se
                  litigants for appeal. Critically, the State court’s abridgment and denial of access to
                  court documents to the pro se litigant and the general public result in the
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                 unconstitutional abridgment and denial of equal, timely and meaningful access to
                 court complaints, decisions, judgments and orders. What is truly shocking is that the
                 Rhode Island Judiciary even denies and/or bars pro-se litigants remote access of court
                 transcripts that were ordered by pro-se litigants for appeal.
              28. Thirdly, the Texas Pro-Se Plaintiff discovered and verified the fact, on or about July
                  7, 2023, that the Rhode Island Judiciary, using the aforesaid state court rule barring,
                  by category, pro-se litigants from accessing court case information remotely, bars the
                  Plaintiff by category (“self-represented litigant”) from accessing state court
                  proceeding transcripts that the Texas Plaintiff ordered and paid for, for appeal. In
                  other words, the RI Supreme Court Clerk stated to the Texas Plaintiff that the
                  Plaintiff, in Texas, is unconstitutionally barred from remotely accessing the
                  transcripts of court proceedings that she ordered and paid for in her appeal to the RI
                  Supreme Court in the Plaintiff-initiated APRA action Seguin v. RI Office of Child
                  Support Services, PC-22-07215, and yet the State Defendants are inequitably
                  granted instant and free remote access to those very transcripts that the Texas Plaintiff
                  ordered and paid for, for appeal. The federal Texas Plaintiff respectfully requests this
                  Court the extension of time to present the new evidence and plead the verified facts.
              29. Fourthly, the Texas Plaintiff discovered and verified the fact, on or about July 11,
                  2023, that, despite the Texas Plaintiff’s several phone inquiries to the RI Superior
                  Court in the past several weeks regarding the status of the appeal, the RI Superior
                  Court, for undisclosed reasons, failed and continue to fail to relinquish jurisdiction
                  and transfer the court case file of Seguin v. RI Office of Child Support Services,
                  PC-22-07215 to the RI Supreme Court within the requisite 60 days after Plaintiff’s
                  filing of Notice of Appeal on April 3, 2023, as required by the RI Supreme Court
                  rules and procedures. At the same time, the Texas Plaintiff verified the fact that the
                  Plaintiff-ordered transcripts of the state proceedings in the Federal Plaintiff-initiated
                  state APRA action Seguin v. RI Office of Child Support Services, PC-22-07215
                  show the RI Superior Court further unconstitutionally sought to deny the Texas
                  Plaintiff access to the state court and opportunity to be heard by outright threatening
                  the Plaintiff in open court that the Judge, David Cruise, during the hearing of March
                  24, 2023 in that matter, shall use the state court’s discretionary power in the future to
                  deny all of the Texas pro-se Plaintiff’s petitions for remote WebEx hearings to
                  effectively deny her access to the state superior court. The state court that denies
                  court access and the opportunity to be heard fails the neutral-decision-maker test
                  required under the Fourteenth Amendment. I now specifically request further the
                  Court to judicially notice that this court access denial and denial to be heard occurred
                  on March 24, 2023, PRIOR to President Biden’s lifting of the COVID-19 National
                  Health Emergency Declaration. I, the Texas Plaintiff, aver this is a direct
                  contributory reason for the RI Superior Court’s failure to transfer the case file to the
                  Supreme Court within 60 days (by June 3, 2023) of the Plaintiff’s filing of Notice of
                  Appeal on April 3, 2023 in Seguin v. RI Office of Child Support Services, PC-22-
                  07215.
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              30. Fifthly, the Plaintiff presents to this Court and respectfully requests the Court to take
                  judicial notice of the undisputed fact of the court rule-making process in Rhode
                  Island. The 1966 Rules were promulgated by the justices of the superior court
                  pursuant to section 8-6-2 of the General Laws of Rhode Island. This enabling act
                  departed from the Federal Rules Enabling Act and most state enabling legislation
                  conferring rule-making power on the supreme courts of the respective governments.
                  The Rhode Island Enabling Act was adopted in 1940, 1940 R.I. Pub. Laws ch. 943,
                  sec. 1. It conferred the power on the justices of the superior court and the 1966
                  reform was the product of that court. In 1969 an amendment to section 8-6-2 made
                  the Rules thereafter adopted by the trial courts subject to the approval of the Supreme
                  Court. 1969 R.I. Pub. Laws ch. 239, sec 2. Therefore, all public records relating to
                  the adoption and promulgation of the “RHODE ISLAND JUDICIARY RULES OF
                  PRACTICE GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE
                  INFORMATION” are “made in the course of, made or received pursuant to law or
                  ordinance or in connection with the transaction of official business by any agency,
                  ““agency” or "public body" means any executive, legislative, judicial, regulatory, or
                  administrative body of the state, or any political subdivision thereof” as per R.I. Gen.
                  Laws § 38-2-2, a.k.a. RI Access to Public Records Act (“APRA”). Even though the
                  Rhode Island Enabling Act conferred the power on the judiciary public body to
                  promulgate and adopt court rules, a.k.a. rule-making process, the Rhode Island
                  Judiciary, pursuant to the Plaintiff’s APRA request for public records, denied the
                  Plaintiff’s APRA request within the 10 business day period, as well as denies it
                  possesses public records, as defined by APRA, relating to the rule-making process by
                  the judiciary of the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                  GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,”
                  including denying possession of public records that show the intent of the rule-makers
                  to promulgate and adopt court rules denying fundamental right of public access to
                  electronic case information remotely to the public, to self-represented litigants, and to
                  parties to a case. See Exhibit D fourteen (14) APRA correspondence emails between
                  the Plaintiff and/with Mr. Justin Correa, Esq. and Ms. Alexandra Kriss of the Rhode
                  Island Judiciary from June 10, 2023 to July 10, 2023. The Texas pro-se Plaintiff
                  respectfully requests the extension of time to present the new evidence and plead the
                  newly verified facts and claims, and amend the complaint, which is further in the
                  interest of judicial economy. The Plaintiff further seeks to appeal and file her claim
                  against the implausible denial by the RI Judiciary, which is conferred by the Rhode
                  Island Enabling Act to make rules of the court, that it possesses public records
                  relating to the “RHODE ISLAND JUDICIARY RULES OF PRACTICE
                  GOVERNING PUBLIC ACCESS TO ELECTRONIC CASE INFORMATION,” that
                  the judiciary, conferred power by the Rhode Island Enabling Act, “made in the course
                  of, made or received pursuant to law or ordinance or in connection with the
                  transaction of official business by any agency, ““agency” or "public body" means any
                  executive, legislative, judicial, regulatory, or administrative body of the state, or any
                  political subdivision thereof” as per R.I. Gen. Laws § 38-2-2, a.k.a. RI Access to
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                 Public Records Act (“APRA”). Because the RI Superior Court clearly ruled in
                 Seguin v. RI Office of Child Support Services, PC-22-07215 that it lacked subject
                 matter jurisdiction to hear my/the Texas Plaintiff’s APRA-related claims, I, the Texas
                 Plaintiff, now exercise my statutory and constitutional rights to petition this Federal
                 Court, invoking 28 U.S.C. § 1343(a)(3) (civil rights) and 28 U.S.C. § 1367 that
                 provides supplemental jurisdiction over the state law tort claims that arose from the
                 same common nuclei of facts, invoking 28 U.S.C. § 1331 (federal question), and
                 invoking 42 U.S.C. § 1983 for violations of civil rights under the First, Fourth and
                 Fourteenth Amendments to the United States Constitution. I, the Plaintiff,
                 respectfully request this Court for the extension of time to file my claims.
              31. Plaintiff discovered on October 6, 2023 that the Rhode Island Judiciary and
                  Government Defendants are former clients of Judge Smith, a partner in his former
                  firm, Edwards & Angell.
              32. Plaintiff discovered on November 9, 2023 that the Rhode Isand Judiciary and
                  Government Defendants are current clients of the firm Edwards & Angell, the former
                  firm of Judge Smith, a partner in the firm.
              33. A plain reading of 28 U.S.C. sec. 455 makes clear that Judge Smith is disqualified
                  from this case, and a plain reading of case law makes clear that 28 U.S.C. sec. 455 is
                  self-executing, without necessitating any party’s request.


                                                           Respectfully submitted,
                                                           Date: November 16, 2023
                                                           MARY SEGUIN


                                                           _____________________________
                                                           Mary Seguin
                                                           P.O. Box 22022
                                                           Houston, TX 77019
                                                           maryseguin22022@gmail.com
Case: Case
      23-1978    Document: 00118189824
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 Meghan Kenny

 From:                Mary Seguin <maryseguin22022@gmail.com>
 Sent:                Friday, November 17, 2023 3:21 PM
 To:                  RID_ECF_INTAKE
 Subject:             URGENT - TIME SENSITIVE - FILE TODAY NOTICE OF APPEAL in Seguin v. Ri Dept of Human Services
                      et al, Civil Action No. 1:23-cv-126-WES-PAS
 Attachments:         CA 126 Notice of Appeal 111723.pdf

 Categories:          Being Worked On MK



 CAUTION - EXTERNAL:


 Dear Clerks of the Court,

 I spoke with Clerk Meghan today regarding an update on the docketing of my motions and filing a Notice of Appeal in
 the above captioned matter, Seguin v. Ri Dept of Human Services et al, Civil Action No. 1:23‐cv‐126‐WES‐PAS.

 Following our discussion, I emailed and filed today at 3:10 PM Eastern Time to the Clerk of the Court and respectfully
 requested the Clerk of the Court to docket today my Rule 60(b)(1) Motion, dated November 17, 2023, that is time‐
 sensitive, per my email below.

 Please make sure that my previously filed Rule 60(b)(1) Motion referred in my below email is docketed as ECF 32.

 Please make sure that the law is followed so that my attached Rule 60(b)(1) Motion is NOT forwarded to Chambers prior
 to docketing. I am NOT requesting the Court leave to file, since it is my right to file the attached Rule 60(b)(1)
 Motion. No Chamber interference should be taking place to prevent the docketing of my attached Rule 60(b)(1) Motion.

 Additionally, subsequent to my filing of the aforementioned Rule 60(b)(1) Motion referenced in my email below that I
 had requested be docketed as ECF 32, I am herewith filing my attached Notice of Appeal in the above captioned
 matter, Seguin v. Ri Dept of Human Services et al, Civil Action No. 1:23‐cv‐126‐WES‐PAS.

 Please make sure that my Notice of Appeal filed herewith that is attached to this email is docketed today as ECF 33.

 Please make sure that the law is followed so that my attached Notice of Appeal docketed immediately upon receipt and
 is NOT forwarded to Chambers prior to docketing. I am NOT requesting the Court leave to file, since it is my right to file
 the attached Notice of Appeal. No Chamber interference should be taking place to prevent the docketing of my
 attached Notice of Appeal.

 Thank you for your assistance.

 Respectfully Submitted,
 Mary Seguin
 Houston, Texas

 ‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
 From: Mary Seguin <maryseguin22022@gmail.com>
 Date: Fri, Nov 17, 2023 at 2:10 PM
 Subject: URGENT ‐ TIME SENSITIVE ‐ FILE TODAY RULE 60(b)(1) MOTION in Seguin v. Ri Dept of Human Services et al, Civil
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      23-1978    Document: 00118189824
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                                           928
 Action No. 1:23‐cv‐126‐WES‐PAS
 To: RID_ECF_INTAKE <RID_ECF_INTAKE@rid.uscourts.gov>


 Dear Clerks of the Court,

 I spoke with Clerk Meghan today regarding an update on the docketing of my motions.

 Following our discussion, I respectfully request the Clerk of the Court to docket today my attached Rule 60(b)(1) Motion,
 dated November 17, 2023, that is time‐sensitive.

 Please make sure that my attached Rule 60(b)(1) Motion is docketed as ECF 32.

 Please make sure that the law is followed that my attached Rule 60(b)(1) Motion is NOT forwarded to Chambers prior to
 docketing. I am NOT requesting the Court leave to file, since it is my right to file the attached Rule 60(b)(1) Motion. No
 Chamber interference should be taking place to prevent the docketing of my attached Rule 60(b)(1) Motion.

 Thank you for your assistance.

 Respectfully Submitted,
 Mary Seguin
 Houston, Texas

 ‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
 From: Mary Seguin <maryseguin22022@gmail.com>
 Date: Fri, Nov 17, 2023 at 12:33 PM
 Subject: Fwd: URGENT ‐ TIME SENSITIVE ‐ FILE TODAY RULE 59 MOTION in Seguin v. Ri Dept of Human Services et al, Civil
 Action No. 1:23‐cv‐126‐WES‐PAS
 To: RID_ECF_INTAKE <RID_ECF_INTAKE@rid.uscourts.gov>


 Dear Clerks of the Court,

 I am respectfully following up on my Rule 59 Motion filing.

 Yesterday, November 16, 2023, at 1:31 PM Central Time, I filed via email below, my Rule 59 Motion in the above
 captioned matter, Seguin v. Ri Dept of Human Services et al, Civil Action No. 1:23‐cv‐126‐WES‐PAS. As indicated in my
 email below, I emphasized that docketing the Rule 59 Motion on November 16, 2023 is urgent, to comply with the 28
 day filing post‐judgment deadline, which my filing meets ‐ November 16, 2023 is within the 28 day deadline of Fed. R. of
 Civ. P. 59 that tolls the time for filing an appeal.

 I followed up with telephone calls to the Clerk's Office at 1:32 PM Central Time, and at 3:42 PM Central Time to request
 timely docket of my Rule 59 Motion, and the Clerk's Office assured me each time that a deputy clerk is working on it and
 that it will be docketed on the day it was received and that the docket will reflect the email date stamp of the day the
 Rule 59 Motion is received by email. Further, I was told that all filings I email to the Clerk's Office will be docketed and
 considered by the Court as having been filed on the day that the motion was emailed to the Clerk's Office.

 Therefore, my Rule 59 Motion emailed on November 16, 2023 should be accordingly docketed as ECF 32 with the entry
 of/stating filing on November 16, 2023, in the above captioned matter, Seguin v. Ri Dept of Human Services et al, Civil
 Action No. 1:23‐cv‐126‐WES‐PAS.

 However, as of this time, on November 17, 2023 almost 24 hours later, my Rule 59 Motion is still not docketed.

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 I would like to respectfully clarify that the Text Order dated October 19, 2023 in this matter states that only my
 electronic filing privilege was revoked, but there is no order requiring that I need to file for leave of Court to file any
 post‐judgment motions, such as my Rule 59 Motion.

 Today, November 17, 2023, I telephoned the Clerk's Office first thing at 8:00 AM Central Time, and spoke with Clerk
 Meghan, who informed me that yesterday she had forwarded my Rule 59 Motion to Chambers upon receipt, but has yet
 to hear back from Chambers, but did not know what was causing the hold up when I asked why Chambers' response is
 taking almost 24 hours which impacts the docketing date of the Rule 59 Motion. I expressed my concern of the Rule 59
 deadline, emphasizing that it tolls the time for filing an appeal, therefore I respectfully requested that the docket
 accurately reflects my timely filing of my Rule 59 Motion on November 16, 2023 (at 1:31 PM Central Time).

 Additionally, I informed Clerk Meghan that I relied on the Clerk's Office's information provided above, and I had also
 filed a timely Rule 60 Motion yesterday, November 16, 2023, at 4:39 PM Central Time, similarly requesting docketing to
 reflect it was timely filed via email to on November 16, 2023. I emphasized to Clerk Meghan that timeliness is critical, as
 Rule 60 Motion filed within 28 days post‐judgment tolls the time for filing an appeal. Clerk Meghan told me that my
 Rule 60 Motion was forwarded to Chambers as well. According to the Clerk's Office's information, my Rule 60 Motion
 needs to be docketed/filed as ECF 33, dated stamped filed on November 16, 2023.

 Due to the above information regarding the processing of my post‐judgment motions, I expressed to Clerk Megghan my
 concern regarding the Court's procedure of forwarding my time‐sensitive post‐judgment motions to Chambers without
 docketing/filing, and then those time‐sensitive motions seemingly to languish in Chambers past the date of the 28‐day
 deadline stipulated by Rule 59, and Rule 60 as they relate to tolling the time for filing an appeal. I expressed my explicit
 concern that I seek to preserve my right of appeal, and that I respectfully seek to preserve on the record the issues
 contained in my Rule 59 and Rule 60 Motions that are currently before Chambers, without docketing, by law within the
 jurisdiction of the U.S. District Court of Rhode Island. My Rule 59 and Rule 60 Motions are not ex‐parte or emergency
 motions.

 Moreover, I expressed to Clerk Meghan my concern that the processing of my post‐judgment motions forwarded to
 Chambers and seemingly pending before Chambers without the motions being docketed, impacts my right of appeal 30‐
 days post judgment, and today, Friday, is Day 29. I told the Clerk that under the circumstances in this matter, I seek to
 preserve for appeal the issues raised in my timely filed Rule 59 Motion and Rule 60 Motion, and that I seek to preserve
 my right to appeal within the 30‐day postjudgment period.

 I also discussed with the Clerk that my timely filed but undocketed Rule 59 Motion and Rule 60 Motion that were
 forwarded to and currently before Chambers cause an uncertain effect, impacting the date of my filing of Notice of
 Appeal, the deadline of which is November 18, 2023, a Saturday. Based on the current facts and issues regarding simply
 docketing my filings on the record, I am concerned my rights of access to the Courts are impacted, and that my Notice of
 Appeal may also languish I do not believe any pro se litigant should be made to be uncertain of the timeliness of filing a
 Notice of Appeal as a matter of right that is caused by inaction by Chambers on timely‐filed Rule 59 and Rule 60 Motions
 that toll the time to file an appeal. I explicitly expressed my concern on the effect on my access to the Courts.

 I respectfully request that this email communication regarding the filing/docketing of my Rule 59 Motion be docketed to
 accurately reflect the record on appeal along with the Rule 59 Motion at the time the Rule 59 Motion is docketed by the
 Clerk.

 Thank you in advance for you assistance.

 Respectfully submitted,
 Mary Seguin




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 ‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
 From: Mary Seguin <maryseguin22022@gmail.com>
 Date: Thu, Nov 16, 2023 at 1:31 PM
 Subject: URGENT ‐ TIME SENSITIVE ‐ FILE TODAY RULE 59 MOTION in Seguin v. Ri Dept of Human Services et al, Civil
 Action No. 1:23‐cv‐126‐WES‐PAS
 To: RID_ECF_INTAKE <RID_ECF_INTAKE@rid.uscourts.gov>


 Dear Clerk of the Court,

 Kindly urgently file today, November 16, 2023, my attached Rule 59 Motion in the above captioned case, Seguin v. Ri
 Dept of Human Services et al, Civil Action No. 1:23‐cv‐126‐WES‐PAS.

 Because this Rule 59 Motion is time sensitive, kindly make sure that it is filed and docketed today, November 16, 2023. I
 do not have access to electronic filing, it appears.

 Thank you in advance for your assistance.

 Respectfully Submitted,
 Mary Seguin
 PO Box 22022
 Houston, TX 77019
 (281) 244‐2016

  CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
  attachments or clicking on links.




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                     1%&& F.01$%2/ÿ31071.ÿ8862617ÿ1221E&32F.ÿ18838ÿÿ5ÿJÿÿ4&167.
                     01$%2/ÿ31071.#ÿ423$385ÿ.
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                     $371238ÿ1F3ÿ$3H6%F70ÿ1FF638ÿ2ÿ2E3ÿ$3F686ÿO%83#ÿE3ÿ1FF6&32ÿ6FÿF%'O32ÿ2ÿ2E3
                      $3F686ÿO%83PFÿ8323$&6126ÿ2E12ÿ2E3ÿ1F3F/ÿ6ÿ12/ÿ1$3ÿ$371238#ÿ01$%2/ÿ31071.
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                     1FF638ÿ2ÿ06F2$62ÿM%83ÿN67761&ÿ4#ÿ1&62Eÿ$ÿ177ÿ%$2E3$ÿ$ 3386F#ÿQ$62186/
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                     1% $2ÿ13$H63Fÿ6211/ÿ1$6FF1.ÿ423$385ÿ*-.
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                      X!%/'.'+0!uÿv+wY+x#'+ÿ23ÿ83ÿ9\8=ÿP9\8<ÿ83SÿP1Tÿ0126324045S
        0126124045 6dÿ6t ÿÿ63ÿ89 9 ÿÿ3ÿ4\ÿ91ÿ0+,ÿ)Y/%ÿy[z0{ÿn #'+
                      l!ÿv+wY+x#'|%ÿ)%/'%lÿ23ÿ83ÿ9\8=ÿP;5Tÿ]ÿ6ÿ52ÿ451ÿ1ÿ3
                      8ÿ\;3ÿ8ÿÿ93ÿQ;1\SP9\8<ÿ83SÿP1Tÿ0126124045S
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                      o|',%+x%ÿ}Y~.'##%,ÿl!ÿ- .*/0'+#ÿ0+,ÿn #'+ÿl!ÿq%.*!0!uÿ)%(#!0'+'+ÿ"!,%!=
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                      7,)ÿ7./ÿ0ÿ+ÿ1ÿ7,)ÿ7./ÿ0ÿ+ÿ2ÿ7,)ÿ7./
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                      6'1ÿ52ÿ512p6)ÿ'(ÿ1ÿ 419ÿM6451ÿ9ÿ1ÿ5 1ÿ76'(ÿ021;1ÿ2Lÿ%'4(499
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                 654349ÿ163ÿ52ÿ14 313 57ÿ69634ÿ52ÿ297ÿ5449ÿÿ9ÿ416ÿÿ699ÿ
                 4598ÿ&"ÿ9ÿ1349ÿ/"ÿ69ÿ335 9ÿ0"ÿ5639ÿÿ9ÿ459ÿ!ÿ569ÿ69699 92ÿ
                 7ÿ419"ÿ52ÿ3ÿ%317ÿ163ÿ6996%92ÿ6ÿ 7ÿ9ÿ%96 9 ÿ52ÿ29ÿ
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             &:#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
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             &;#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
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                ÿ8956ÿ4 62ÿ1ÿÿ226ÿ596641ÿ232ÿ46 ÿ ÿ86465ÿ9212219ÿ4ÿ
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             #$"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
                1121264ÿ236ÿ8 1ÿ952ÿ226ÿ596641ÿ9ÿ+5ÿ,#*ÿ,ÿ68956ÿ236ÿ-914ÿ
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                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
                121H6ÿ98ÿ6!ÿ965ÿ*Iÿ16ÿ0"ÿ
             "ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ815ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
                6*ÿ2ÿ236ÿ226ÿ&68642ÿ36ÿ122ÿ56 926ÿ6ÿÿ226ÿ952ÿ461"ÿ
             #"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ96ÿ9212219ÿ
                56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
             "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
             ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
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                N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                    ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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                 011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
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                 81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿÿ"717ÿ35052ÿ16895ÿ10323ÿÿ0ÿ572ÿ9632ÿ095$ÿ
                 0 ÿ57292692ÿ702ÿ350 !ÿ56ÿ9032ÿ103ÿ0!035ÿ573ÿ8163558560ÿ35052ÿ901512ÿ
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                 2ÿ96ÿ011233!ÿ572ÿ666,2ÿ2215961ÿ81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿ
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                 2215961ÿ!ÿ3352$ÿ2925ÿ0 ÿ3209052ÿ96ÿ5705ÿ7&6 332'ÿ962ÿ69ÿ
                 9632ÿ5!053$ÿ36ÿ5705ÿ9632ÿ5!053ÿ6ÿ65ÿ92122ÿ0 ÿ9208352ÿ0856052ÿ
                 2215961ÿ65123ÿ6ÿ16895ÿ6563ÿ69ÿ20!3ÿ572ÿ5052ÿ22 053ÿ2ÿ
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                 69056ÿ6ÿ572ÿ5052ÿ22 053)ÿ22159610 2ÿ20!3ÿÿ72ÿ6 ÿ"0ÿ572ÿ
                 96ÿ32ÿ5!05$ÿ3817ÿ03ÿ2$ÿ572ÿ203ÿ+05$ÿ10ÿ011233ÿ572ÿ16895ÿ92169ÿ3ÿ56ÿ
                 29360 ÿ!6ÿ629ÿ$88ÿ23ÿ0"0ÿ56ÿ572ÿ1689576832ÿÿ#762ÿ30 ÿ56ÿ011233ÿ572ÿ
                 16895ÿ20!ÿ69056$ÿ69ÿ!25ÿ0ÿ&1689523ÿ6512'ÿ0ÿ20ÿ69ÿ!25ÿ0ÿ&1689523ÿ
                   6512'ÿ57968!7ÿ9ÿ:0ÿ325ÿÿ572ÿ5052ÿ22 053ÿ05ÿ"7ÿÿÿ72ÿ5052ÿ
                 22 053ÿ229052 ÿ0ÿ56ÿ32 ÿ572ÿ65123ÿ22159610 ÿ69ÿÿ9ÿ:0$ÿ0 ÿ572ÿ
                 35052ÿ168953ÿ229052 ÿ968!052ÿ16895ÿ9823ÿ306"!ÿ572ÿ81$ÿ9632ÿ
                  5!053ÿ0 ÿ22ÿ572ÿ09523ÿ"76ÿ092ÿ92923252ÿÿ0" 293$ÿ92652ÿ011233ÿ56ÿ16895ÿ
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                 16895ÿ618253ÿ56ÿ572ÿ96ÿ32ÿ5!05ÿ0 ÿ572ÿ!2290ÿ81ÿ92385ÿÿ572ÿ

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                 2305ÿ23876154ÿ2646314ÿ0 154ÿ71ÿ3 4ÿÿ75ÿ64ÿ508ÿ43261ÿ64ÿ575ÿ5ÿ
                 3ÿ4871ÿ06267ÿ1ÿ164ÿ713ÿ74ÿ34ÿ86567154ÿ35ÿ72244ÿ3ÿ2305ÿ
                 57142654ÿ575ÿÿ3 ÿÿ34ÿ86567154ÿ3ÿ778ÿÿÿ
             !"ÿ$6 8ÿ5ÿ$%74ÿ&3'ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿ
                 (ÿ!)!*ÿ575ÿ5ÿ3ÿ4871ÿ06267ÿ0461ÿ5ÿ73476ÿ4575ÿ2305ÿ08ÿ7 61ÿ
                   ÿ2753ÿ34ÿ86567154ÿ3ÿ7224461ÿ2305ÿ274ÿ61375631ÿ358ÿ74ÿ5ÿ
                 &876156ÿÿ2753ÿ+,48415ÿ8656715-.ÿ3ÿ7224461ÿ4575ÿ2305ÿ
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                 35ÿ3 4ÿ5ÿÿ'0ÿ/305ÿ/8ÿ4575ÿ53ÿ5ÿ$%74ÿ&876156ÿ575ÿ5ÿ
                 &876156ÿ61ÿ$%74ÿ64ÿ01231456505631788ÿ7 ÿ3ÿ358ÿ7224461ÿ5ÿ
                 57142654ÿ3ÿ2305ÿ32614ÿ575ÿ4ÿ3 ÿ71ÿ76ÿ3ÿ61ÿÿ778ÿ53ÿ5ÿÿ
                 '0ÿ/305ÿ61ÿ5ÿ&8761566165675ÿ0&0ÿ725631ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ
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                48c0?:7@;08kÿf7?_ÿ128<_ÿB;067@2_ÿ7f?;1g2_ÿ;8c?;8g2ÿ781ÿ;8@2?c2?2ÿe;@/ÿZ?0ÿT2ÿ
                U;@;g78@5lÿ781ÿ@/2ÿZ>f6;bl5ÿc>817:28@76ÿ?;g/@5ÿ@0ÿ7bb255ÿh>f6;bÿb0>?@ÿ?2b0?15ÿ781ÿ
                Z?0ÿT2ÿU;@;g78@5lÿc>817:28@76ÿ?;g/@ÿ@0ÿ:278;8gc>6ÿ7bb255ÿ@0ÿ@/2ÿb0>?@51ÿÿ) ÿ
                '.QCRSÿ4TUAVRÿWXR4=4A.Yÿ.XUSTÿC9ÿZ.A=[4=Sÿ\C]S.V4V\ÿ
                ZXKU4=ÿA==STTÿ[CÿSUS=[.CV4=ÿ=ATSÿ4V9C.^A[4CV*ÿÿ.>62ÿ̀dbHdDHd7Hÿ
                '[/2ÿZ>f6;b_ÿT26cG?2h?2528@21ÿU;@;g78@5ÿ781ÿZ7?@;25aÿ[/2ÿZ>f6;b_ÿ526cG?2h?2528@21ÿ
                6;@;g78@5_ÿ781ÿh7?@;25ÿ5/766ÿ/7B2ÿ.2:0@2ÿAbb255ÿ@0ÿ@/2ÿ?2g;5@2?ÿ0cÿ7b@;085ÿ0?ÿ
                R0bj2@ÿf>@ÿ5/766ÿ80@ÿ/7B2ÿ.2:0@2ÿAbb255ÿ@0ÿ0@/2?ÿS62b@?08;bÿ=752ÿ48c0?:7@;08a*ÿÿ
                ) ÿ5ÿ'.QCRSÿ4TUAVRÿWXR4=4A.Y_ÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08_ÿÿDaÿ
                .2:0@2ÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08ÿAaÿ[/2ÿZ>f6;b_ÿT26cG?2h?2528@21ÿU;@;g78@5_ÿ
                781ÿZ7?@;25ÿ@0ÿ7ÿ=752_ÿ[/2ÿh>f6;b_ÿ526cG?2h?2528@21ÿ6;@;g78@5_ÿ781ÿh7?@;25ÿ;8ÿ7ÿb752ÿ
                5/766ÿ/7B2ÿ?2:0@2ÿ7bb255ÿ@0ÿ@/2ÿ?2g;5@2?ÿ0cÿ7b@;085ÿ0?ÿ10bj2@ÿf>@ÿ5/766ÿ80@ÿ/7B2ÿ
                ?2:0@2ÿ7bb255ÿ@0ÿ0@/2?ÿ262b@?08;bÿb752ÿ;8c0?:7@;081*ÿ
             m1ÿ3456ÿÿ64ÿN58968##ÿ59ÿ59ÿ 8#8ÿ9ÿnÿopÿ!p!0ÿ8 6ÿ#ÿ64ÿ4ÿ
                59ÿn885ÿ86 #ÿ644ÿ9 ÿ%o,&ÿ 99 ÿ864ÿ64ÿ4ÿ59ÿ
                n885ÿ#ÿn9ÿopÿ!p!0ÿ6ÿnÿopÿ!p!0ÿ 596ÿ6ÿÿÿ ÿ6ÿN+8ÿ
                 ÿ6ÿ%'N*&ÿ 6ÿ#ÿ+8ÿÿ#ÿ64ÿ4ÿ59ÿn885ÿ
                6456ÿ5ÿ5ÿ566ÿ#ÿ)656ÿ8ÿ)656ÿ$6ÿÿ59ÿn885ÿÿ89ÿÿ64ÿ8865ÿ
                6ÿ8  96ÿ+ÿ64ÿ4ÿ59ÿn885ÿ64ÿ)656ÿ$6ÿ64ÿ4ÿ59ÿ

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                 012343567ÿ297ÿ69 9ÿ2335ÿ5449ÿÿ9ÿ29ÿ52ÿ012343567ÿ 392ÿ
                 13453 ÿÿ416ÿ52ÿ123435ÿ69462ÿ13ÿ9ÿ2335ÿ ÿ53 5392ÿ52ÿ
                 1392ÿ7ÿ796ÿ94 39ÿ2797ÿ34123ÿÿ129469592ÿ12951692ÿ
                 416ÿ29433 ÿ5633ÿ6 ÿ59ÿ649923ÿ3ÿ9ÿ59ÿ2335ÿ9946 34ÿ416ÿ
                 52ÿ2335ÿ416ÿ65463ÿ629692ÿ7ÿ52ÿ532ÿ7ÿ69ÿ335 ÿ5ÿ569ÿ1392ÿ
                 7ÿ9ÿ012343567ÿ23357ÿ ÿ796ÿ94 39ÿ2797ÿ569ÿ5ÿ29392ÿ5449ÿÿ
                  9ÿ134ÿ69ÿ335 ÿ52ÿ5639ÿÿ9ÿ3353 ÿ!ÿ569ÿ69699 92ÿ7ÿ
                 419"#ÿÿ9ÿ29ÿ52ÿ59ÿ$ 16ÿ 7ÿ65 ÿ69 9ÿ5449ÿÿ2335ÿ416ÿ52ÿ
                 123435ÿ69462ÿ469592ÿ7ÿ129ÿ621492ÿ3ÿ2335ÿ416ÿÿ29ÿ52ÿ5 697ÿ
                 52ÿ59ÿ52ÿ92965ÿ59439ÿ5ÿ569ÿ56%92ÿ7ÿ9ÿ29ÿ52ÿ012343567ÿ
                       7#ÿ ÿ3ÿ596ÿÿ4669 292ÿ3ÿ!633ÿ1699ÿ&'"ÿ((ÿ
                 4669 2949ÿ9 53ÿ!3ÿ)6#ÿ013ÿ$ 6695ÿ*+#ÿ52ÿ)#ÿ(9,5265ÿ-63ÿÿ9ÿ
                 29ÿ52ÿ012343567ÿ6 ÿ019ÿ&.ÿ/./0ÿÿ017ÿ&.ÿ/./0#ÿ
             1#ÿ5ÿ9ÿ59ÿ39925 ÿ3ÿ3ÿ596ÿ9946 3457ÿ39ÿ5ÿ 349ÿ13ÿ5 96ÿ
                 9946 34ÿ33ÿ79 ÿ5ÿ3ÿ9%9ÿ95659ÿ52ÿ23969 ÿ6 ÿ9ÿ*4ÿ2797"#ÿ
             5#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ569ÿ ÿ 3492ÿÿ9ÿ3ÿ9,5#ÿ
             &.#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ569ÿ ÿ%339ÿÿ9ÿ ÿ9ÿ29ÿ
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             &/#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ416ÿ69462ÿ45 ÿ9ÿ544992ÿ
                 69 97ÿ7ÿ9ÿ134ÿ7ÿ969699 92ÿ335 ÿ 6ÿ7ÿ5639ÿÿ9ÿ459ÿ1ÿ
                 45ÿ9ÿ544992ÿ69 97ÿ52ÿ35 7ÿ61ÿ9ÿ3 969ÿ7ÿ5 697ÿ3ÿ29ÿ
                 52ÿ52ÿ59ÿ52ÿ92965ÿ59439#ÿ
             &0#ÿ5ÿ9ÿ29ÿ52ÿ$ 16ÿ$966ÿ59ÿÿ9ÿ%96ÿ9ÿ 9ÿ5ÿ97ÿ569ÿ
                 63392ÿ6 ÿ69523ÿ9ÿ4 9 ÿÿ9ÿ416ÿ69462ÿ%96ÿ9ÿ 9ÿÿ9#ÿ
             &'#ÿ5ÿ9ÿ29ÿ52ÿ$ 16ÿ%3615ÿ4966ÿ59ÿÿ9ÿ%96ÿ9ÿ 9ÿ5ÿ9%9ÿ97ÿ
                 569ÿ159ÿÿ99ÿ6ÿ5449ÿ9ÿ416ÿ69462ÿ36 53 ÿÿ33ÿ7ÿ9ÿ59ÿ
                 39925 ÿ6 ÿ9ÿ%3615ÿ4966ÿ5449ÿ65#ÿÿÿ
             &7#ÿ5ÿ9ÿ29ÿ52ÿ*946 34ÿ433ÿ79 ÿ459ÿ559 9 ÿ79 ÿ619ÿ52ÿ
                 654349ÿ163ÿ52ÿ14 313 57ÿ69634ÿ52ÿ297ÿ5449ÿÿ9ÿ416ÿÿ699ÿ
                 4598ÿ&"ÿ9ÿ1349ÿ/"ÿ69ÿ335 9ÿ0"ÿ5639ÿÿ9ÿ459ÿ!ÿ569ÿ69699 92ÿ
                 7ÿ419"ÿ52ÿ3ÿ%317ÿ163ÿ6996%92ÿ6ÿ 7ÿ9ÿ%96 9 ÿ52ÿ29ÿ
                 52ÿ5 697#ÿ
             &:#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
                 %353 ÿÿ9ÿ29ÿ52ÿ59ÿ416ÿ*4#ÿ
             &;#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
                 %353 ÿÿ9ÿ29ÿ52ÿ59ÿ416ÿ*4ÿ79 <564394169<619<654349ÿ52ÿ

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                ÿ8956ÿ4 62ÿ1ÿÿ226ÿ596641ÿ232ÿ46 ÿ ÿ86465ÿ9212219ÿ4ÿ
                46ÿ596ÿ5132ÿ1ÿ6!"ÿ
             #$"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
                1121264ÿ236ÿ8 1ÿ952ÿ226ÿ596641ÿ9ÿ+5ÿ,#*ÿ,ÿ68956ÿ236ÿ-914ÿ
                 656ÿ&65219ÿ0ÿ18264"ÿ
             #."ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
                121H6ÿ98ÿ6!ÿ965ÿ*Iÿ16ÿ0"ÿ
             "ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ815ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
                6*ÿ2ÿ236ÿ226ÿ&68642ÿ36ÿ122ÿ56 926ÿ6ÿÿ226ÿ952ÿ461"ÿ
             #"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ96ÿ9212219ÿ
                56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
             "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
             ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
                952ÿ1895 219*ÿ 6ÿ236ÿ9262ÿ98ÿ411)952ÿ56954ÿ98ÿ6ÿ29ÿ0313ÿÿ
                 ÿ236ÿ6856566264ÿ52*ÿNPOÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ29ÿ6ÿ3654ÿ
                N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                    ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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                 011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
                 029ÿ5235ÿÿ73ÿ35ÿ3ÿ65ÿ2708352ÿ
             ÿ705ÿÿ322ÿ56ÿ382ÿÿ2290ÿ16895ÿ572ÿ5052ÿ22 053ÿ0 ÿ0 ÿ0 560ÿ22 053ÿ
             ÿÿ0ÿ0ÿ685635052ÿ2935ÿ0 ÿ0ÿ9632ÿ5!05ÿÿ5"6ÿ35052ÿ96122!3ÿÿ#762ÿ
                 30 $ÿ0 ÿ702ÿ22ÿ8163558560 ÿ3!2ÿ685ÿÿ572ÿ5052ÿ%8109$ÿÿ
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                 69056ÿ0857692ÿÿ(8!23ÿ0 ÿ"717ÿ572ÿ%8109ÿ703ÿ0ÿ666 ÿÿ572ÿ
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                 71ÿ5714ÿ5ÿ2305ÿ274ÿ68ÿ3ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ14DD?EFÿ12E85>2GHÿ
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                                    Exhibit A
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                                        Exhibit B
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                                        No. 23-1967

                     IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                     Plaintiff-Appellant,
                                      MARY SEGUIN
                                              v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                    Appellants-Appellees.


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                               for the District of Rhode Island
                                  ___________________
        APPELLANT’S OBJECTION TO APPELLEES’ MOTION TO STRIKE
        Fed. R. App. 8(a)(2)(A) and Fed. R. App. 8(a)(2)(B) SUBMISSIONS IN A
          PENDING FED. R. APP. P 8(a)(2)(D) MOTION, THE APPELLANT’S
       NOTICE OF APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED
         STATES OF THE COMMISSION OF ACTIVITIES BY PERSONS OR
            WHOEVER INVOLVING RECORD TAMPERING; KNOWING
              PRESENTATION, OR CAUSING TO BE PRESENTED OR
         CERTIFICATION OF A FALSE OR FRAUDULENT CLAIM TO THE
         UNITED STATES, TO THE STATE OF TEXAS, FOR PAYMENT OR
         APPROVAL; KNOWINGLY MAKING, USING OR CAUSING TO BE
       MADE OR USED, A FALSE RECORD OR STATEMENT MATERIAL TO
         A FALSE OR FRAUDULENT CLAIM; CONSPIRING TO COMMIT A
            VIOLATION OF THE AFORESAID TO PROCURE TITLE IV-D
        FUNDING, THAT INVOLVE VIOLATIONS OF 42 U.S.C. § 654 WHICH
                                          ARE
        PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
       654, COMMITTED BY INDIVIDUAL APPELLEE PERSONS, WHOEVER,
       AND AGENTS OF TITLE IV SOCIAL SECURITY ACT RHODE ISLAND
                              STATE PLAN
                                        Pursuant to
                                         18 U.S.C. § 4
                                      18 U.S.C. § 666
                     18 U.S.C. § 287 - making false, fictitious claims,
                  18 U.S.C. § 371 - conspiracy to defraud the United States,
          18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                18 U.S.C. § 1341 - mail fraud,
                                18 U.S.C. § 1343 - wire fraud,
                    18 U.S.C. § 641 - Public money, property or records,
                        31 U.S.C. § 3279 - federal civil false claims act


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                                                 Et al.
                                                 AND
           APPELLANT’S REQUEST FOR A HEARING PURSUANT TO FED. R.
                                EVID. 201(e)
                                      ___________________



             ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
         GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS


             Appellant, MARY SEGUIN, hereby objects to State Appellees’ Motion to

       Strike dated March 29, 2024, Document: 00118126195 and requests a hearing of

       Appellant’s Objection pursuant to Rule 201[e].

             Appellant’s Fed. R. App. P 8(a)(a)(D) Motion filing is supported by

       Appellant’s Declaration of the truths of Appellant’s Notice of the Commission of

       the Facts submitted pursuant to Fed. R. Evid. 201 Document number:

       00118123623. Appellant was not aware of the Rhode Island State Policy that

       prohibits the charging of interest rate in interstate cases until 2024, see Appellee

       Rhode Island Office of Child Support Services Policy Exhibit A. Therefore, this

       evidence was not available at the time final judgment was issued on October 19,

       2023 in this matter. Judicial Notice, in aid of the court, is respectfully requested of

       it. Whether requesting or opposing judicial notice, litigants have a right to be heard




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       on the issue under Rule 201[e], therefore, Appellant requests a hearing on the

       issue under Rule 201(e).

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995].

             Judicial Notice in practice is taken at any time of a proceeding, including for

       the first time on appeal, of legislative history, to wit the legislative history of 42

       U.S.C. sec. 654 regarding Congress’s Amendment in 1996. This similarly applies

       to the State of Rhode Island’s legislative history, to wit, the failure of Rhode Island

       Gen. Law. 15-5-16.5 to comply with the 1996 Amendment of 42 U.S.C. sec. 654.

       42 U.S.C. sec. 654 makes it explicitly clear that such failures incur penalties. The

       fact that Rhode Island family court is a court of limited jurisdiction, as prescribed

       by R.I. Gen. Law. 8-10-3 where limited relief is authorized by State legislation is a

       matter of legislative fact, that in practice is judicially noted at any time of a

       proceeding, including for the first time on appeal.
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             Appellant re-attaches these legislative copies hereto this Objection. These

       legislations and the pre-emptive effect of the explicit language in the statutory

       provisions under Amendment 1996 of 42 U.S.C. sec. 654 make clear that the State

       of Rhode Island is operating an unlawful State Plan that unlawfully charges 12%

       compound interest on overdue support under color of state law, the basis of the

       current “State enforcement” of its “court orders” charging 12% compound interest

       without jurisdiction. Since a trial did not occur in this matter, at this juncture the

       Court must take all factual allegations in the Amended Complaint in this matter as

       true, and it plainly pleads that the State Appellee represented to the Appellant in

       Texas that if Appellant paid $104,185.98 in one lump sum, Appellee Gero

       Meyersiek waived interest, and that the $104,185.98 is a pay-off amount that does

       not include interest.

             Therefore, Appellee Gero Meyersiek changed his mind after Texas

       Appellant accepted the offer in Texas, performed and paid the lump sum

       $104,185.98. The “changed his mind” entailed the action of “putting interest back

       on the system” that consists of 12% compound interest (see attached R.I.G.L. sec.

       15-5-16.5.)

             Since the State Plan that charges 12% compound interest, takes interest off

       the system only during certifications to the TEXAS and UNITED STATES

       authorities, and then puts interest back on the system when Appellee Gero
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       Meyersiek “changed his mind” waiving interest after Texas Appellant performed

       on the terms of the agreement, it is abundantly clear that the Appellees,

       government and private persons operate a criminally unlawful State Plan. Since all

       Appellees participate in the “take interest off the system” when certifying to

       TEXAS and when certifying to the UNITED STATES the total support due, and

       since the State Policy provides for the creation of “two reports,” Fed. R.Evidence

       201 evidence is abundantly clear before this Court and before a panel of “some

       judges” that of organized criminal fraud and the lack of jurisdiction of the limited

       jurisdiction state family court to issue orders for 12% compound interest on

       overdue support that 42 U.S.C. 654(21)(A) explicitly prohibits.

             Appellees’ request to strike Fed. R. Evid. 201 evidence of crimes made

       known to “some judges” under 18 U.S.C. sec. 4 from the record in a matter that

       involves Appellees’ organized criminal activity that violates, inter alia, 18 U.S.C.

       sec. 666 and 18 U.S.C. sec. 641, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 - false

       documents or false statements to a federal agency,18 U.S.C. § 1341 - mail fraud,

       18 U.S.C. § 1343 - wire fraud by the Appellees is an obstruction of an official

       proceeding and an obstruction of justice.

             Finally, undisputed Appellees’ operational evidence that includes unlawful

       redactions made sense only after the availability in 2024 of the State Policy that
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       evidences the State Plan operating an unlawful Child Support enforcement

       program by policy of creating “two reports” in interstate cases, one with the

       unlawful 12% compound interest to enforce under color of law, and one report for

       the purposes of making false claims, false certifications, and falsifying official

       government documents to unlawfully apply for Federal Title IV Program funding

       that the Appellees knew Rhode Island is ineligible for. That amounts to billions of

       dollars of theft against the United States.

             Emphatically, Congress intended, by making “some judge(s)”…”of the

       United States” to whom the commission of crimes is mandated to be made known,

       explicitly conferred the duty on Judges of the United States under Federal Criminal

       Law the same duty, obligations and responsibility acting as authorities under the

       United States, as the “other persons in civil or military authority under the United

       States” explicitly named in the federal criminal statute 18 U.S.C. sec. 4. Appellant

       requested Judicial Notice under 18 U.S.C. sec. 4 to the “some judges” as the

       “person in authority under the United States” under 18 U.S.C. sec. 4. Striking

       from the record Congressional legislation history of 42 U.S.C. sec. 654, State

       legislation history, Rhode Island State Plan 42 U.S.C. sec. 654(3) State operating

       and disbursement unit’s Policy that are neither classified information nor

       confidential or privileged information to the United States are further not in the

       interest of the United States.

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             Striking evidence that shows $0.00 interest on a December 6, 2021

       screenshot of the Appellee-operated 42 U.S.C. sec. 654a automated data

       processing and information retrieval system accomplishes nothing other than

       taking as true the factual allegations in the Amended Complaint that details

       Appellant being shown the $0.00 Under Interest generated by the automated data

       processing and information retrieval system. The Fed. R. Evid. visual evidence

       aids the court to visualize the truth of Appellant’s factual allegations.

             Striking evidence of a screenshot of the Appellee-operated 42 U.S.C. sec.

       654a automated data processing and information retrieval system that shows $0.00

       Payment for Appellant’s whopping lump sum $104,185.98 December 7, 2021

       payment accomplishes nothing, when the screenshot is a visual evidence of the

       “two reports” explicitly stated in the Appellee State Policy to create “two reports”

       that consist of falsified records – these are evidence in the aid of the court of

       Appellant’s 18 U.S.C. sec. 4 and Fed. R. Evid. request to take judicial notice of

       activities that harm the United States and steal from Federal Program Funds.

             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts


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       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995].

             Appellate courts take judicial notice of facts that were not available to

       litigants at trial and events that occurred after judgment was entered. For example,

       courts have taken judicial notice of guilty pleas entered in a related criminal case

       after judgment in the civil case was entered. See, e.g., Colonial Penn Ins. Co. v.

       Coil, 887 F.2d 1236, 1239 [4th Cir. 1989]. Similarly, appellate courts have taken

       judicial notice of post-judgment changes in the conditions in a foreign country

       relevant to an immigration appeal, Ivezaj v. INS , 84 F.3d 215, 218-19 [6th Cir.

       1996], as well as post-trial changes in the racial composition of a state’s judiciary

       in a discrimination suit. Southern Christian Leadership Conference of Alabama v.

       Sessions, 56 F.3d 1281, 1288 n.13 [11th Cir. 1995].

             Certain categories of facts have long been the subject of judicial notice on

       appeal. Courts routinely take judicial notice of pleadings and records in other court

       cases [see, e.g., Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 [7th Cir.

       1983]; E.I. du Pont de Nemours & Co. Inc. v. Cullen, 791 F.2d 5, 7 [1st Cir. 1986]]

       and in administrative agency proceedings [see, e.g., Opeka v. INS, 194 F.3d 392,
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       394-95 [7th Cir. 1996]], Courts are generally willing to take judicial notice of data,

       pronouncements and publications issued by the government, such as

       Environmental Protection Agency research [Nebraska v. EPA, 331 F.3d 995, 998

       n.3 [D.C. Cir. 2003]]; State Department travel warnings [Parsons v. United Tech.

       Corp ., 700 A.2d 655, 665 n.18 [Conn. 1997]]; and a federal fisheries management

       plan approved by formal rule [City of Charleston v. A Fisherman’s Best Inc., 310

       F.3d 155, 172 [4th Cir. 2002], cert. denied, 123 S.Ct. 2573 [2003]]. Appellate

       courts are also likely to take judicial notice of relevant newspaper articles [see,

       e.g., The Washington Post v. Robinson, 935 F.2d 282, 291-92 [D.C. Cir. 1991]]

       and historical information contained in authoritative publications, such as a text on

       the history of Lincoln Center [see, e.g., Hotel Employees, 311 F.3d at 540 n.1.].

             Courts take judicial notice of online information. Appellate courts have

       increasingly cited information found on the Internet. As with hard-copy

       publications, courts are most willing to take judicial notice of information found on

       government Web sites, such as the time of sunrise found on the Web site of the

       U.S. Naval Observatory [U.S. v. Bervaldi, 226 F.3d 1256, 1266 n.9 [11th Cir.

       2000]]; the prime interest rate on the Federal Reserve Board Web site [Levan v.

       Capital Cities/ABC Inc., 190 F.3d 1230, 1235 n.12 [11th Cir. 1999]]; and records

       of retired military personnel on a federal Web site [Denius, 330 F.3d at 926].

       Courts have even been willing to take judicial notice of information on arguably

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       less reliable commercial Internet sites, including mileage information on Mapquest

       [In re Extradition of Gonzalez, 52 F. Supp. 2d 725, 731 n.12 [W.D. La. 1999]];

       historical information on Liberia on the “Geocities” Web site [Bridgeway Corp. v.

       Citibank, 45 F. Supp. 2d 276, 278 n.2 [S.D.N.Y. 1999]]; and information regarding

       a bank’s ownership from the bank’s Web site [see Laborers’ Pension Fund v.

       Blackmore Sewer Constr. Inc., 298 F.3d 600, 607 [7th Cir. 2002]].

             The use of judicial notice spans a wide spectrum of cases, from the most

       historically significant-such as Chief Justice Earl Warren’s reliance in Brown v.

       Board of Ed., 347 U.S. 483, 494 n.11 [1954], on scholarly publications

       documenting the effect of segregated schools on minority children-to the most

       mundane, such as the 2d U.S. Circuit Court of Appeals’ judicial notice of the

       “traditional features of a snowman.” Eden Toys Inc. v. Marshall Field & Co., 675

       F.2d 498, 500 n.1 [2d Cir. 1982].

                In general, courts are free to take notice of legislative facts, including

       research data and writings like those cited in the famous “Brandeis briefs.”

       Appellate courts are understandably more willing to take judicial notice of such

       legislative facts, because they help them develop reasonable rules of law that will

       apply in future cases. “Legislative facts,” which are facts of general “relevance to

       legal reasoning and the lawmaking process” [Fed. R. Evid. 201[a] Advisory

       Committee’s note] or are “established truths, facts or pronouncements that do not
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       change from case to case” and “do not relate specifically to the…litigants.” [United

       States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. 42 U.S.C. sec. 654 relates to

       all interested parties and the United States, and are established truths and facts that

       do not change from case to case, and do not specifically only apply just to this

       matter. Likewise R.I. Gen. Laws. Sec, 15-5-16.5 relates to all interested parties

       and the United States, not just to this matter. Likewise the Appellees’ State Policy

       prohibiting the charging of interest in interstate cases and creating “two reports”

       from the policy adjustments to the 42 U.S.C. sec. 654a automated data processing

       and information retrieval system is established truths and facts that do not change

       from case to case, and do not specifically only apply just to this matter. The

       resultant Screenshot evidence of the resulting false records created by the “two

       reports” do not change because Rhode Island creates two reports in intrastate cases

       in order to evade detection of the unlawful 12% compound interest under color of

       state law, one for enforcement under color of law, one for false certification of

       State Plan compliance to the United States Title IV Program. While full suite of

       issues concerning State noncompliance with 42 U.S.C. sec. 654 this Court notices

       under the Turner v. Rogers Amicus Brief submitted by the United States can be

       noticed on the Court’s own initiative, however, the full suite of the issues

       contained therein made sense of the State Policy that was not available to the

       Appellant until 2024 – nevertheless, Appellant makes known this evidence to the


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       judges of the First Circuit Court of Appeals under 18 U.S.C. sec. 4 and Fed. R.

       Evid. 201.

             As such, all public truths and facts and publications “made known” to this

       Court under 18 U.S.C. sec. 4 and Fed. R. Evid. 201 should be judicially noticed.

             Appellant separately filed a Notice requesting judicial notice on March 29,

       2024 Document: 00118126217, specifically invoking Fed. R. Evid. 201 and 18

       U.S.C. sec. 4.

             Whether requesting or opposing judicial notice, litigants have a right to be

       heard on the issue under Rule 201[e].

             WHEREFORE, Under Fed. R. Evid. 201[f], judicial notice of adjudicative

       facts may be taken at any stage of the proceedings, including on appeal. In

       practice, appellate courts frequently take judicial notice of both adjudicative and

       legislative facts presented for the first time on appeal, whether requested by a party

       or on their own initiative. See, e.g., Hotel Employees & Rest. Employees Union,

       Local 100 of New York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of

       Parks & Recreation, 311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms

       Assoc. Ltd ., 61 F.3d 197, 205 [3d Cir. 1995]. Appellant respectfully requests

       Judicial Notice of the herein Made known to “some judges”… “of the United

       States” under Fed. R. Evid. 201 and pursuant to 18 U.S.C. sec. 4. Appellant


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       requests to be heard on the issue pursuant to Rule 201[e]. Appellant requests any

       and all Relief deemed just pursuant to protections accorded to actions taken to

       make known to some judges of the United States in compliance with 18 U.S.C.

       sec. 4. Appellees’ motion to strike the aforesaid 18 U.S.C. sec. 4 and Fed. R. Evid.

       201 offered evidence from an official federal proceeding in which Fed. R. App. P

       8(a)(2) and 8(a)(2)(D) and Fed. R. App. P 27(b) are specifically invoked and

       pending subsequent to a series of adverse effects on Appellant’s right to file an

       amended Notice of Appeal since the Court’s Order issued on March 1, 2024

       revoking the Court’s prior January 22, 2024 Briefing Schedule Order, run afoul of

       the explicit statutory texts of 18 U.S.C. sec. 1-4 et al, the texts of Fed. R. App. P

       8(a)(2) and 8(a)(2)(D) and Fed. R. App. P 27(b), and Fed. R. Evid. 201.

                                        Respectfully submitted,
                                        Mary Seguin
                                        Pro Se
                                        /s/____________________
                                        Email: maryseguin22022@gmail.com
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                                        P.O. Box 22022
                                        Houston, TX 77019

                                        Dated: March 29, 2024




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                               CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 29, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
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                 Amendments
                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                                                    Title 15
                                                Domestic Relations
                                                        Chapter 5
                                                  Divorce and Separation
                                                      R.I. Gen. Laws § 15-5-16.5

     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




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                                             No. 10-10

                     In the Supreme Court of the United States

                               MICHAEL D. TURNER, PETITIONER
                                                  v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                      BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                 SUPPORTING REVERSAL




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                                    QUESTIONS PRESENTED

                         1. Whether the Court has jurisdiction to review the
                     decision of the South Carolina Supreme Court.
                         2. Whether due process requires that the State pro-
                     vide counsel, at its expense, to an indigent parent in a
                     child-support proceeding, when the parent is subject to
                     a civil-contempt order for non-payment that may lead to
                     confinement.




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                     In the Supreme Court of the United States
                                             No. 10-10
                                MICHAEL D. TURNER, PETITIONER
                                                 v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL



                               INTEREST OF THE UNITED STATES
                         This case concerns the due process protections that
                     apply in a state civil contempt proceeding for non-
                     payment of court-ordered child support. The state
                     child-support enforcement program at issue in the case,
                     like that in every other State, is part of one of the larg-
                     est cooperative federal-state programs, established un-
                     der the Social Services Amendments of 1974 (1975 Act),
                     Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                     et seq.) (adding Title IV-D to the Social Security Act).
                     The program, which is administered by the Secretary of
                     Health and Human Services (Secretary), provides that
                     States with approved plans for child and spousal support
                     that meet federal requirements are reimbursed by the
                     federal government for 66% of the costs of operating
                     their child-support enforcement programs. 42 U.S.C.

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                     655(a)(2)(C). The United States has a substantial inter-
                     est in the effective and equitable operation of such child-
                     support programs.
                                           STATEMENT
                         1. This case involves proceedings in South Carolina
                     family court to enforce a child-support order entered
                     against petitioner for the support of his and respondent
                     Rogers’ minor child. South Carolina, like every other
                     State, maintains a child-support enforcement program
                     as a condition of receiving federal funding for its Tempo-
                     rary Assistance for Needy Families program. Since
                     Congress first required States receiving federal funds to
                     undertake child-support enforcement efforts, it has
                     shifted its emphasis from a localized, court-based en-
                     forcement approach to centralized and automated ef-
                     forts. South Carolina, however, maintains a localized,
                     court-based approach to child-support enforcement.
                         a. Congress first required States receiving federal
                     funds to establish child-support enforcement programs
                     in 1950, pursuant to the Aid to Families with Dependent
                     Children (AFDC) program. See Social Security Act
                     Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                     quiring States receiving AFDC funds to “provide for
                     prompt notice to appropriate law-enforcement officials
                     of the furnishing of aid to dependent children in respect
                     of a child who has been deserted or abandoned by a par-
                     ent”). In 1968, Congress required States participating
                     in AFDC to create statewide or local “organizational
                     unit[s]” for establishing paternity and collecting child
                     support. Social Security Amendments of 1967, Pub. L.
                     No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                     quired States to “provide for entering into cooperative
                     arrangements with appropriate courts and law enforce-
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                     ment officials * * * to assist” with administration of
                     the program. Id. § 201(a)(1), 81 Stat. 879.
                         b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                     651 et seq., and established the general statutory frame-
                     work that exists today. See 1975 Act § 101(a), 88 Stat.
                     2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                     (describing program). The 1975 Act required States
                     participating in AFDC to “have in effect a plan ap-
                     proved” by the Secretary under Title IV-D and to “op-
                     erate a child support program in conformity with such
                     plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                     lar, each State was required to provide services to locate
                     noncustodial parents and to establish the paternity of,
                     and secure support for, children receiving AFDC bene-
                     fits. 42 U.S.C. 654(4).
                         Under the 1975 Act, AFDC recipients were required
                     to assign their support rights to the State and cooperate
                     in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                     Amounts recovered generally were retained by the State
                     to reimburse it and the federal government for AFDC
                     assistance provided to the child’s family. 42 U.S.C.
                     657(b) (1976). Once assigned, the support obligation was
                     owed to the State and was collectible under all applica-
                     ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                         The Secretary’s regulations implementing the 1975
                     Act reflected a localized, court-centered approach to
                     enforcement. States’ efforts to collect past-due child
                     support were required to include (“as applicable and
                     necessary”): “[c]ontempt proceedings to enforce an ex-
                     tant court order,” court-ordered wage garnishment, and
                       1
                          Congress required States to provide services to non-AFDC families
                     as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                     red to assign their support rights and any child support the State collec-
                     ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                     attachment of real and personal property. 45 C.F.R.
                     303.6 (1975). States were also required to maintain suf-
                     ficient staff (either statewide or locally) to “enforce col-
                     lection of support” by “executing contempt proceedings,
                     wage assignments, obtaining garnishment orders, at-
                     taching real and personal property, criminal prosecution
                     and executing judgments.” 45 C.F.R. 303.20(c)(7)
                     (1975).
                         c. In 1984, Congress found that there remained “a
                     critical lack of child support enforcement,” which had “a
                     critical impact on the health and welfare of the children
                     of the Nation.” Child Support Enforcement Amend-
                     ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                     § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                     required States to adopt laws and procedures providing
                     for, among other things, (i) mandatory wage withhold-
                     ing; (ii) expedited processes for obtaining and enforcing
                     support orders; (iii) state income tax refund intercepts;
                     and (iv) reporting overdue support to consumer credit
                     agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                         Congress ultimately set the federal share of reim-
                     bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                     expanded the availability of matching funds at the 90%
                     level for (optional) State expenditures for automating
                     data processing systems to improve “the monitoring of
                     support payments, the maintenance of accurate records
                     regarding the payment of support, and the prompt pro-
                     vision of notice to appropriate officials with respect to
                     any arrearages in support payments which may occur.”
                     1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                     655(a)(3)(A).
                         d. Congress amended Title IV-D again in 1988 to
                     improve the rate of child-support collection. Family
                     Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                     102 Stat. 2343. Because effective child-support enforce-
                     ment “had long been thwarted by localized enforcement
                     systems that were unable to quickly and effectively
                     track delinquent parents who crossed county and state
                     lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                     (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                     denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                     emphasized centralized, automated record-keeping and
                     information retrieval in order to improve collection
                     rates. In particular, Congress mandated “automated
                     data processing and information retrieval system[s]”
                     that had previously been optional. 1988 Act § 123(a)(C),
                     102 Stat. 2352; 42 U.S.C. 654(24).
                         The Title IV-D regulations were amended after
                     adoption of the 1988 Act. As amended, the regulations
                     omitted specific references to contempt proceedings as
                     required means for enforcing child-support obligations.
                     See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                     pra.
                         e. Finally, Congress made further changes to the
                     child-support enforcement system in the Personal Re-
                     sponsibility and Work Opportunity Reconciliation Act of
                     1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                     which, among other things, replaced AFDC with the
                     block-grant program called Temporary Assistance for
                     Needy Families (TANF).3 Those changes again empha-
                     sized a centralized, automated approach to child-support

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                          Federal financial support remained available for “[e]nforcement of
                     a support obligation” through a variety of means, including contempt
                     citations. 45 C.F.R. 304.20(b)(3)(iv).
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                          The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                     608(a)(7). As before, a custodial parent is required to assign her rights
                     to child support to the State as part of the application for TANF assis-
                     tance. 42 U.S.C. 608(a)(3)(A).
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                     enforcement. The amended statute established detailed
                     requirements for the “statewide automated data pro-
                     cessing and information retrieval systems” made man-
                     datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                     654a(a). Among other things, the system must include
                     a state case registry that includes every child-support
                     case in the State, including the amount of monthly sup-
                     port owed and collected in all cases administered by the
                     state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                     654a(e)(5) (States must “promptly * * * update” case
                     records when circumstances change). The States are
                     required to use their centralized databases “to the maxi-
                     mum extent feasible, to assist and facilitate the collec-
                     tion and disbursement of support payments,” including
                     by establishing wage-withholding orders and sending
                     wage-withholding notices to employers. 42 U.S.C.
                     654a(g)(1); see 42 U.S.C. 666(c).
                         f. Despite the changes in federal law, South Caro-
                     lina maintains a localized, court-based approach to child-
                     support enforcement. It is the only State that does not
                     have a certified automated system. See Office of Child
                     Support Enforcement, U.S. Dep’t of Health & Human
                     Servs., National Status of Automated Child Support
                     Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                     certmap.htm.4
                       4
                         In the 1996 Act, Congress determined that any State that failed to
                     automate its child-support program should incur substantial penalties.
                     42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                     the Department of Health and Human Services’ (HHS) authority to
                     impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                     and subsequently submitted a corrective-action plan and accepted
                     imposition of a penalty retroactive to 1998. The State paid more than
                     $55 million in penalties through 2007. South Carolina Dep’t of Social
                     Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                     http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                         Acting pursuant to express statutory authority, S.C.
                     Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                     partment of Social Services has contracted with county
                     clerks of court across the State to administer its pro-
                     gram. The South Carolina courts have in turn adopted
                     a special rule governing child-support enforcement. See
                     S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                     quires clerks of court to review on a monthly basis “all
                     child support and periodic alimony accounts paid
                     through the clerk of court,” as are all accounts for chil-
                     dren whose custodial parent receives TANF assistance.
                     S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                     such account is in arrears, the clerk is required to “issue
                     a rule to show cause and an affidavit identifying the or-
                     der of the court which requires such payments to be
                     made and the amount of the arrearage [and] directing
                     the party in arrears to appear in court at a specific time
                     and date” to face contempt proceedings. S.C. Rule
                     24(b).
                         A “wilful[]” violation of a “lawful order” of a South
                     Carolina court constitutes contempt and may subject the
                     contemnor to up to 12 months confinement. S.C. Code
                     Ann. § 63-3-620 (West 2010).
                         2. Respondent Rogers and petitioner are the par-
                     ents of a minor child, B.L.P. In 2003, the family court in
                     Oconee County, South Carolina, entered an Order of
                     Financial Responsibility against petitioner. Although
                     the order noted that petitioner was unemployed, the
                     court imputed a gross monthly income of $1386 to him
                     and ordered him to pay $59.72 a week in child support
                     through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                     083107.doc. We are informed by HHS that the State has now paid a
                     total of more than $72 million in penalties to date and currently owes an
                     additional incurred penalty of more than $10 million for fiscal year 2010.
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                     Because respondent Rogers was receiving public assis-
                     tance, she assigned her right to collect child support to
                     the Department of Social Services. Pet. Br. 8; see id. at
                     9 n.6 (payments were remitted to respondent Rogers
                     starting in 2004 because her benefits had ended but her
                     case continued to be administered as a Title IV-D case).
                     Petitioner fell behind on his payments, received a num-
                     ber of rules to show cause from the court clerk why he
                     should not be held in contempt, and was jailed three
                     times as a result. Id. at 9-10.
                        By 2007, petitioner was $5728.76 behind on his child-
                     support payments, and a judge of the Oconee County
                     Family Court issued a bench warrant for his arrest.
                     Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                     ary 3, 2008. After noting petitioner’s outstanding bal-
                     ance and stating that he had not made a payment
                     since August 2006, the judge asked petitioner, “[i]s there
                     anything you want to say?” Id. at 17a. Petitioner re-
                     sponded:
                        Well, when I first got out, I got back on dope. I done
                        meth, smoked pot and everything else, and I paid a
                        little bit here and there. And, when I finally did get
                        to working, I broke my back, back in September. I
                        filed for disability and SSI. And, I didn’t get
                        straightened out off the dope until I broke my back
                        and laid up for two months. And, now I’m off the
                        dope and everything. I just hope that you give me a
                        chance. I don’t know what else to say. I mean, I
                        know I done wrong, and I should have been paying
                        and helping her, and I’m sorry. I mean, dope had a
                        hold to me.
                     Ibid.
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                        After a brief exchange between petitioner and re-
                     spondent about his SSI application, the court said:
                        If there’s nothing else, this will be the Order of the
                        Court. I find the Defendant in willful contempt. I’m
                        gonna sentence him to twelve months in the Oconee
                        County Detention Center. He may purge himself of
                        the contempt and avoid the sentence by having a zero
                        balance on or before his release.
                     Pet. App. 18a. The court made no finding that petitioner
                     was capable of paying the arrears while incarcerated.
                     See id. at 17a-18a.
                         At this hearing, neither petitioner nor respondent
                     Rogers was represented by counsel. Pet. App. 6a. How-
                     ever, pro bono counsel filed an appeal on petitioner’s
                     behalf, alleging that petitioner had a right under the
                     Sixth Amendment and the Due Process Clause to have
                     appointed counsel in the contempt proceeding. Id. at
                     10a-15a. Before the intermediate state court could rule,
                     the South Carolina Supreme Court granted discretion-
                     ary review and affirmed the family court. Id. at 1a-5a.
                         The court noted that the “purpose of civil contempt
                     is to coerce the defendant to comply with the court’s or-
                     der,” while criminal contempt’s purpose is “to punish a
                     party for disobedience or disrespect.” Pet. App. 2a-3a.
                     “Civil contempt sanctions are conditioned on compliance
                     with the court’s order. * * * A contemnor imprisoned
                     for civil contempt is said to hold the keys to his cell be-
                     cause he may end the imprisonment and purge himself
                     of the sentence at any time.” Id. at 3a. The court recog-
                     nized that the “distinction between civil and criminal
                     contempt is crucial because criminal contempt triggers
                     additional constitutional safeguards not mandated in
                     civil contempt proceedings.” Ibid.
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                        The court noted that in this case the family court had
                     said that petitioner could “purge himself of the con-
                     tempt” by achieving a “zero balance” on his arrearage.
                     Pet. App. 3a. Reasoning that “[t]his conditional sen-
                     tence is a classic civil contempt sanction,” the court con-
                     cluded that petitioner had no right to appointed counsel.
                     Ibid.
                                    SUMMARY OF ARGUMENT
                         1. The Court has jurisdiction to review the decision
                     of the South Carolina Supreme Court. Petitioner has
                     completed his term of confinement for civil contempt
                     and has not identified any collateral consequences flow-
                     ing from the contempt. Those facts would ordinarily
                     render his case moot. Petitioner, however, qualifies for
                     a narrow exception to the mootness doctrine because the
                     controversy is capable of repetition yet evading review.
                     Sentences for civil contempt in South Carolina are lim-
                     ited to 12 months, and it is highly unlikely that peti-
                     tioner would be able to secure plenary review by this
                     Court within any future period of confinement. In addi-
                     tion, the constitutional violation petitioner asserts is
                     capable of repetition because he remains subject to the
                     underlying child-support order and still has substantial
                     arrears. There is thus a reasonable expectation that he
                     will receive automatically-generated rules to show cause
                     for contempt in the future. Indeed, since the contempt
                     at issue in this case, petitioner has been jailed again for
                     civil contempt.
                         2. Petitioner’s confinement for civil contempt vio-
                     lated due process, not because he lacked counsel, but
                     because the procedures employed by the family court
                     were inadequate to ensure the accurate determination of
                     petitioner’s present ability to pay his child-support ar-
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                     rears. That ability to pay was a necessary predicate to
                     the civil contempt sanction.
                         The defining feature of confinement for civil con-
                     tempt is its purpose to coerce compliance with a court
                     order. Such confinement must therefore end upon dis-
                     charge of the contemnor’s obligations; he is said to hold
                     “the keys of [his] prison in [his] own pocket[].” Shilli-
                     tani v. United States, 384 U.S. 364, 368 (1966) (citation
                     omitted). Such confinement may not be imposed, how-
                     ever, where the contemnor demonstrates his inability to
                     comply with the order. In such cases, he does not truly
                     hold the keys to the prison; to confine him nonetheless
                     would render the confinement punitive and thus a sanc-
                     tion that may be imposed only after compliance with
                     criminal case safeguards.
                         The question of petitioner’s ability to pay his child-
                     support arrears therefore should have been a focus of
                     the civil contempt proceeding, but it was not. Pro se
                     petitioner was afforded no meaningful opportunity to
                     establish his indigency, and even after he made a state-
                     ment that could have easily been understood to mean he
                     had no present ability to pay nearly $6000 to avoid jail,
                     the family court judge made no further inquiry on the
                     matter before committing him to a nominally conditional
                     term of confinement.
                         The proceeding did not comply with due process be-
                     cause there was a serious risk of erroneous deprivation
                     of petitioner’s liberty through the procedures employed
                     and because additional procedures would have enhanced
                     the accuracy of the proceeding without materially im-
                     pinging on any governmental interest. See Mathews v.
                     Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                     would have been a sufficient, but not a necessary, means
                     of satisfying due process in this case. There were other
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                     means of providing petitioner with a meaningful oppor-
                     tunity to establish his present inability to pay, such as
                     asking him to complete an understandable form seeking
                     his financial information, or asking him questions on the
                     topic as necessary at a hearing. In the typical case, pro-
                     viding basic information about one’s personal finances is
                     not the kind of undertaking that requires assistance of
                     counsel, and due process protections are based on the
                     requirements of the mine-run case, not the exceptional
                     one.
                         There is no basis for petitioner’s proposed categori-
                     cal due process right to appointed counsel in civil con-
                     tempt proceedings where confinement is imposed. The
                     Court has declined to recognize a categorical constitu-
                     tional right to appointed counsel in the context of other
                     non-criminal proceedings that can result in confinement.
                     Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                     bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                     (1976) (summary court-martial). Civil contempt pro-
                     ceedings in child-support cases are relatively brief; the
                     custodial parent may not be represented by counsel; and
                     the issues in dispute are generally not complex. Given
                     those circumstances, there is no warrant for recognizing
                     a categorical right to defense counsel in such proceed-
                     ings. Finally, recognizing a due process right to counsel
                     in such proceedings would upset the balance struck by
                     Title IV-D and its implementing regulations, both of
                     which stress the importance of due process protections
                     in child-support proceedings but neither of which permit
                     federal funding for provision of counsel.
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                                            ARGUMENT
                     I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                          CISION OF THE SOUTH CAROLINA SUPREME COURT
                         Although petitioner has completed his term of con-
                     finement for the civil contempt at issue here, his claim is
                     not moot because he remains subject to the underlying
                     child-support order and because there is a reasonable
                     expectation that he will face future contempt proceed-
                     ings. His claim thus avoids mootness because it is capa-
                     ble of repetition yet evading review. This Court thus
                     has jurisdiction to review the final judgment of the
                     South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                         1. “In general a case becomes moot when the issues
                     presented are no longer ‘live’ or the parties lack a le-
                     gally cognizable interest in the outcome.” Murphy v.
                     Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                     omitted) (quoting United States Parole Comm’n v.
                     Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                     confined individual’s challenge to his confinement gener-
                     ally presents no question of mootness, an individual who
                     has been released from confinement ordinarily may con-
                     tinue to press his challenge only if he suffers some “col-
                     lateral consequence” that constitutes a “concrete
                     and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                     7 (1998). Because this Court “ha[s] been willing to pre-
                     sume that a wrongful conviction has continuing collat-
                     eral consequences,” the Court ordinarily will not dismiss
                     as moot a criminal defendant’s challenge to his convic-
                     tion once the defendant has completed his term of im-
                     prisonment. Id. at 8. But the Court has not employed
                     that presumption in other contexts, instead requiring a
                     party not in custody to demonstrate that he will actually
                     face collateral consequences if he does not secure relief
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                     on appeal. See id. at 14 (no presumption of collateral
                     consequences for parole revocation); see also id. at 14-16
                     (reviewing party’s claimed collateral consequences).
                         Petitioner has completed his term of confinement for
                     civil contempt. Because he challenges a civil order, not
                     a criminal conviction, no presumption of collateral conse-
                     quences applies. Moreover, petitioner has not identified
                     any collateral consequences flowing from the finding of
                     civil contempt. Ordinarily, petitioner’s challenge to that
                     finding would be considered moot and beyond this
                     Court’s jurisdiction.
                         2. Petitioner’s claim in this case, however, avoids
                     mootness because his is one of the “exceptional situa-
                     tions” in which a claim is capable of repetition, yet evad-
                     ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                     (1983). In non-class actions, this doctrine requires satis-
                     faction of two elements: “(1) the challenged action was
                     in its duration too short to be fully litigated prior to its
                     cessation or expiration, and (2) there [is] a reasonable
                     expectation that the same complaining party would be
                     subjected to the same action again.” Murphy, 455 U.S.
                     at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                     (1975) (per curiam)). Petitioner satisfies both elements.
                         First, confinement for civil contempt in South
                     Carolina is limited to 12 months, S.C. Code Ann.
                     § 63-3-620 (West 2010), and it is exceedingly unlikely
                     that a contemnor could appeal through the South
                     Carolina court system, petition this Court for a writ of
                     certiorari, and receive a decision on his claim within
                     such a limited time period. See, e.g., First Nat’l Bank v.
                     Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                     short a period of time for appellants to obtain complete
                     judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                     319 (1975) (per curiam) (future challenge to law school
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                     admission procedure could likely come to this Court for
                     decision within three-year period of law school matricu-
                     lation). Indeed, in this case, petitioner had completed
                     his term of imprisonment for civil contempt more than
                     a year before the South Carolina Supreme Court ren-
                     dered its decision. Compare Pet. App. 8a with id. at 1a.
                         Second, petitioner “can make a reasonable showing
                     that he will again be subjected to the alleged illegality.”
                     Lyons, 461 U.S. at 109. Petitioner is still subject to the
                     underlying order for child support, and he is nearly
                     $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                     clerks of court in South Carolina automatically issue
                     rules to show cause when a non-custodial parent is late
                     on a required payment, there is a reasonable expectation
                     that petitioner will again be subject to contempt pro-
                     ceedings. Indeed, after he was released from jail for the
                     contempt at issue here, petitioner was again held in con-
                     tempt and reincarcerated. In May 2010 yet another rule
                     to show cause for contempt issued due to failure to pay
                     support to respondent. Pet. Br. 13-15; see id. at 15 (May
                     2010 rule to show cause is still outstanding); see also
                     Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                     plaintiffs seeking community-based services rather than
                     institutionalization not moot even though they were then
                     receiving desired services, because of “the multiple in-
                     stitutional placements [they] ha[d] experienced”). This
                     is thus far from “an abstract dispute about the law” that
                     might be thought “unlikely to affect [petitioner] any
                     more than it affects other [South Carolina] citizens.”
                     Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
                       5
                         That petitioner was represented by pro bono counsel in a subse-
                     quent contempt proceeding involving a different support order, see Pet.
                     Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                     bono counsel bound to represent petitioner in every future contempt
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                     II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                         SARY TO SECURE AN ACCURATE ADJUDICATION OF
                         CIVIL CONTEMPT VIOLATED DUE PROCESS
                         The validity of the civil contempt order against peti-
                     tioner turned on a critical fact: his present ability to
                     purge himself of contempt by paying off his past-due
                     child support. The family court’s procedures in this case
                     violated due process because they were inadequate to
                     ensure an accurate determination of that fact and thus
                     prevent an erroneous deprivation of petitioner’s liberty.
                     Although provision of government-provided counsel
                     would have been a sufficient means of complying with
                     due process requirements in this case, it was not a nec-
                     essary one. Other mechanisms, such as requiring an
                     affidavit for disclosure of financial information and a
                     preliminary assessment of petitioner’s current ability to
                     pay child support, would have satisfied the requirements
                     of due process.
                         A. Confinement For Civil Contempt Is Permitted Only
                            When The Contemnor Is Presently Able To Comply With
                            The Underlying Order
                        Both civil and criminal contempt can lead to confine-
                     ment, but this Court has long distinguished the two
                     based on the “character and purpose” of the sanction
                     imposed. Gompers v. Buck’s Stove & Range Co., 221
                     U.S. 418, 441 (1911). In civil contempt, the “punishment
                     * * * [is] remedial,” in that it is intended to “coerc[e]

                     proceeding, then his claim of entitlement to the assistance of counsel
                     would be moot. There is no indication in the record, however, that pro
                     bono counsel is under any such obligation, and, in fact, counsel did not
                     appear in a 2009 contempt proceeding involving support owed respon-
                     dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                     served six months for civil contempt).
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                     the defendant to do what he had refused to do.” Id. at
                     442. Punishment for criminal contempt, on the other
                     hand, is “punitive” and is imposed “to vindicate the au-
                     thority of the court.” Id. at 441.
                         Because of that fundamental distinction, confinement
                     imposed for civil contempt is conditional. The sentence
                     must include a purge clause under which the contemnor
                     will be immediately released upon compliance with the
                     underlying court order. Hicks v. Feiock, 485 U.S. 624,
                     634 (1988). When confined under such a civil contempt
                     order, the contemnor holds “the keys of [his] prison in
                     [his] own pocket[ ].” Shillitani v. United States, 384
                     U.S. 364, 368 (1966) (citation omitted); see id. at 370
                     (“While any imprisonment, of course, has punitive and
                     deterrent effects, it must be viewed as remedial if the
                     court conditions release upon the contemnor’s willing-
                     ness” to comply with a court order.).
                         A purge clause by itself, however, will not render the
                     contemnor’s confinement remedial rather than punitive
                     because “the justification for coercive imprisonment as
                     applied to civil contempt depends upon the ability of the
                     contemnor to comply with the court’s order.” Shillitani,
                     384 U.S. at 370-371. Accordingly, “punishment may not
                     be imposed in a civil contempt proceeding when it is
                     clearly established that the alleged contemnor is unable
                     to comply with the terms of the order.” Hicks, 485 U.S.
                     at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                     (“[T]o jail one for a contempt for omitting an act he is
                     powerless to perform would * * * make the proceeding
                     purely punitive, to describe it charitably.”); see also
                     Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                     (“When the parent is unable to make the required pay-
                     ments, he is not in contempt.”).6
                         The burdens of production and persuasion may be
                     placed on the defendant to demonstrate his present in-
                     ability to comply with an order. See Hicks, 485 U.S. at
                     637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                     Accordingly, if the defendant “offers no evidence as to
                     his inability to comply,” “stands mute,” or is disbelieved
                     by the court, then he fails to carry his burden and may
                     be held in contempt. Maggio, 333 U.S. at 75. But the
                     trial court “is obliged” to consider “all the evidence
                     properly before it in the contempt proceeding in deter-
                     mining whether or not there is actually a present ability
                     to comply and whether failure so to do constitutes delib-
                     erate defiance which a jail term will break.” Id. at 76.
                         If, upon examination, a contempt penalty is consid-
                     ered punitive rather than remedial, it will be vacated
                     unless all “the protections that the Constitution requires
                     of * * * criminal proceedings” were provided. Inter-
                     national Union, United Mine Workers v. Bagwell, 512
                     U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




                       6
                          A defendant may not avoid a finding of civil contempt for violating
                     an order by collaterally attacking that order in the contempt proceed-
                     ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                     make the distinct assertion that he has a “present inability to comply
                     with the order in question.” United States v. Rylander, 460 U.S. 752,
                     757 (1983); see ibid. (“While the court is bound by the enforcement
                     order, it will not be blind to evidence that compliance is now factually
                     impossible. Where compliance is impossible, neither the moving party
                     nor the court has any reason to proceed with the civil contempt
                     action.”); Maggio, 333 U.S. at 74-75.
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                        B. The Family Court’s Procedures Were Inadequate To
                           Ensure An Accurate Determination Of Present Ability
                           To Pay
                         The procedures employed by the family court vio-
                     lated petitioner’s due process rights because they were
                     inadequate to ensure that petitioner was not erroneously
                     confined as an inducement to perform a task he was
                     powerless to perform, while additional procedures to
                     ensure petitioner’s present ability to pay his child-sup-
                     port arrears would have been minimally burdensome.
                         “Procedural due process imposes constraints on gov-
                     ernmental decisions which deprive individuals of ‘lib-
                     erty’ or ‘property’ interests within the meaning of the
                     Due Process Clause of the Fifth or Fourteenth Amend-
                     ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                     Confinement for civil contempt is a deprivation of lib-
                     erty, and the alleged contemnor is thus entitled to pro-
                     cedural due process protections before its imposition.
                     Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                     nation of parole triggers due process protections); see
                     also Bagwell, 512 U.S. at 827 (civil contempt requires
                     “notice and an opportunity to be heard”).
                         The conclusion that due process applies is the begin-
                     ning of the inquiry, not its end, because “the require-
                     ments of due process are ‘flexible and cal[l] for such
                     procedural protections as the particular situation de-
                     mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                     (brackets in original) (quoting Morrissey, 408 U.S. at
                     481). The Court has “generally * * * declined to es-
                     tablish rigid rules and instead ha[s] embraced a frame-
                     work to evaluate the sufficiency of particular proce-
                     dures.” Ibid. That framework involves “consideration
                     of three distinct factors:
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                        First, the private interest that will be affected by the
                        official action; second, the risk of an erroneous depri-
                        vation of such interest through the procedures used,
                        and the probable value, if any, of additional or substi-
                        tute procedural safeguards; and finally, the Govern-
                        ment’s interest, including the function involved and
                        the fiscal and administrative burdens that the addi-
                        tional or substitute procedural requirements would
                        entail.
                     Mathews, 424 U.S. at 335.
                         Application of the Mathews factors here demon-
                     strates that the family court proceeding did not comply
                     with the requirements of procedural due process. First,
                     petitioner’s private interest in avoiding incarceration
                     was significant. See Foucha v. Louisiana, 504 U.S. 71,
                     80 (1992).
                         Second, there was a serious “risk of an erroneous
                     deprivation” of petitioner’s liberty interest under the
                     procedures employed by the family court, and there
                     would have been value in additional procedures.
                     Mathews, 424 U.S. at 335. Petitioner did not dispute
                     that he had failed to comply with his child-support or-
                     der, so the propriety of his confinement for civil con-
                     tempt thus turned on his present ability to do so. See
                     pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                     “was the precise question before the family court”); id.
                     at 17. But South Carolina automatically referred peti-
                     tioner for contempt proceedings without considering
                     whether petitioner was employed or had assets. At the
                     contempt hearing, the court solicited no financial infor-
                     mation from petitioner, nor was there apparently any
                     mechanism in place for him to provide it on his own. Pe-
                     titioner’s statement at the hearing that he had been un-
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                     able to work because he broke his back, Pet. App. 17a,
                     could reasonably be understood to constitute a claim
                     that he had no present ability to pay nearly $6000. The
                     court did not explore this question, however; it made no
                     inquiry into petitioner’s income or assets. Instead, the
                     court imposed a jail sentence unaccompanied by any
                     finding that petitioner had the ability to pay off his out-
                     standing balance from a jail cell.7 Taking additional
                     modest steps to determine whether petitioner had the
                     present ability to discharge his obligation, see pp. 24-25,
                     infra, would have improved the accuracy of the proceed-
                     ing.
                         Finally, the government’s interests also favor addi-
                     tional procedural safeguards to ensure that only those
                     parents with a present ability to pay are confined for
                     civil contempt. While the State has a strong interest in
                     enforcing child-support orders, it secures no benefit
                     from jailing a non-custodial parent who cannot discharge
                     his obligation. The period of incarceration makes it less,
                     rather than more, likely that such parent will be able to
                     pay child support. See Elizabeth G. Patterson, Civil
                     Contempt & the Indigent Child Support Obligor: The
                     Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                     Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                     State incurs the substantial expense of confinement.
                         Moreover, as a general matter, the routine use of
                     contempt for non-payment of child support is likely to be
                     an ineffective strategy for enforcing support orders.
                     See National Child Support Enforcement, U.S. Dep’t
                     of Health & Human Servs., Strategic Plan: FY 2005-
                     2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
                       7
                         The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                     gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                     gible for work release, Pet. Br. 12 n.8.
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                     programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                     pdf. While child-support recovery efforts once “followed
                     a business model predicated on enforcement” that “in-
                     tervened only after debt, at times substantial, accumu-
                     lated and often too late for collection to be successful, let
                     alone of real value to the child,” experience has shown
                     that alternative methods—such as order modifications,
                     increased contact with non-custodial parents, and use of
                     “automation to detect non-compliance as early as possi-
                     ble”—are more effective. Id. at 2.
                         A substantial portion of child-support obligors have
                     no or low reported income. Elaine Sorensen et al., As-
                     sessing Child Support Arrears in Nine Large States &
                     the Nation 22 (2007) (Assessing Child Support Arrears),
                     http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                     (obligors with $10,000 or less in annual income consti-
                     tuted half of the child-support obligors and owed 70% of
                     the arrears in a nine-state study). Such individuals’
                     child-support obligations are often substantial. See id.
                     at 54 (“For obligors with reported income of $10,000 a
                     year or less, the median percent of reported income that
                     was due as current support was 83[%].”). A low-income
                     individual in arrears on child-support payments is
                     “rarely a candidate for civil incarceration because of the
                     likelihood that he or she is unable to pay the hefty sum
                     represented by the accumulated arrears, or even a por-
                     tion thereof that may be set by the court as the purge
                     amount.” Civil Contempt 116.8

                       8
                         To be sure, coercive enforcement remedies, such as contempt, have
                     a role to play in child-support enforcement efforts, such as with non-
                     custodial parents who are hiding assets or unreported self-employment
                     or under-the-table income. See Strategic Plan 2; Assessing Child
                     Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                         Many States have taken alternative steps to avoid
                     child-support arrears, such as establishing more realis-
                     tic support orders, “increas[ing] parental participation
                     in the order establishment process,” providing employ-
                     ment services to non-custodial parents, or using automa-
                     tion tools to improve wage withholding. Assessing Child
                     Support Arrears 10-11, 80-89; see id. at 85 (study of
                     Florida program that provides employment services and
                     case management to non-custodial parents found that
                     program participants paid nearly five dollars in child
                     support for every dollar spent on the program). Such
                     alternatives, which focus on early intervention rather
                     than after-the-fact efforts to collect substantial accumu-
                     lated arrears, are more likely to be effective means of
                     enforcing the child-support obligations of the substantial
                     number of low-income obligors. See Strategic Plan 2.
                        C. Due Process Can Be Satisfied By A Variety Of Proce-
                           dures Intended To Assure An Accurate Determination Of
                           Present Ability To Pay In A Civil Contempt Proceeding
                         Petitioner argues that, in order to ensure that his
                     civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                     due process required the appointment of counsel to as-
                     sist him in establishing his inability to comply with the
                     court’s order, see id. at 41. Although we agree that peti-
                     tioner’s due process rights were violated, we disagree
                     that the State’s failure to appoint counsel was itself the
                     basis of the violation. Appointment of counsel is cer-
                     tainly one way to help ensure an accurate determination
                     of the obligor’s current ability to pay—the determina-
                     tion on which the “civil” nature of a civil contempt sanc-
                     tion rests—but it is not the only way. It was the State’s

                     dence, however, that routine use of contempt among low-income non-
                     custodial parents is generally effective. See Civil Contempt 126.
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                     failure to provide any meaningful mechanism for making
                     that determination in this case, and not its failure to
                     provide counsel in particular, that violated petitioner’s
                     due process rights.9
                             1. Courts can comply with due process by providing a
                                meaningful opportunity for an alleged contemnor to
                                establish his present ability to pay
                         While there is no basis for a constitutional rule cate-
                     gorically requiring appointment of counsel in all civil
                     contempt that could lead to deprivation of physical lib-
                     erty, see pp. 25-32, infra, due process does require pro-
                     cedures sufficient to ensure fundamental fairness. In
                     the context of a civil contempt proceeding for non-pay-
                     ment of child support that could lead to confinement,
                     this means procedures adequate to allow a pro se con-
                     temnor to attempt to carry his burden of establishing his
                     present inability to pay.
                         Such procedures may include requiring a non-paying
                     parent to complete an understandable form seeking fi-
                     nancial information. South Carolina already requires

                       9
                          Although petitioner’s submissions below and in this Court have
                     focused on the value of appointed counsel in ensuring that indigent
                     child-support obligors are not erroneously jailed as a means of inducing
                     them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                     fairly encompassed in those submissions is the proposition that due
                     process demands an appropriate procedure to evaluate an obligor’s
                     present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                     503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                     to the Court to consider whether there are alternative procedures,
                     other than the specific procedure petitioner has proposed, that would
                     satisfy constitutional requirements. To the extent the Court concludes
                     otherwise, however, the proper course would be to dismiss the writ of
                     certiorari as improvidently granted and await a case that expressly
                     raises a broader due process claim.
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                     noncustodial parents to fill out such a form when a sup-
                     port order is originally sought in a Title IV-D case, see
                     S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                     parently does not do so in subsequent contempt proceed-
                     ings. Requiring that such forms be completed at the
                     outset of a contempt proceeding would impose little ex-
                     pense on the State or burden on the proceeding while
                     materially advancing the accuracy of the court’s deter-
                     mination. Such information could by itself establish the
                     contemnor’s present inability to pay his arrears or, con-
                     versely, demonstrate his ability to pay. To the extent
                     the court had questions about the information on the
                     form or disbelieved it, the court could question the
                     contemnor about his finances at the contempt hearing.
                     Such simple, minimally burdensome procedures would
                     enable the court to evaluate whether the alleged
                     contemnor has the ability to pay his arrears and is thus
                     an appropriate candidate for a civil contempt sanction.
                           2. There is no basis for an inflexible right to counsel
                              rule in civil contempt proceedings
                         Although the constitutional inadequacy of the family
                     court’s procedures could have been cured by appoint-
                     ment of counsel (who presumably would have addressed
                     petitioner’s inability to pay his arrears and urged the
                     court not to jail him for that reason), appointment of
                     counsel was not constitutionally compelled.
                         a. “The very nature of due process negates any con-
                     cept of inflexible procedures universally applicable to
                     every imaginable situation.” Lujan v. G&G Fire Sprin-
                     klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                     Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                     Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                     calls for such procedural protections as the particular
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                     situation demands.”) (brackets in original) (quoting
                     Morrissey, 408 U.S. at 481). The question in a due pro-
                     cess case is how to ensure a fundamentally fair proceed-
                     ing, taking into account the importance of the private
                     interest at issue, the risk of error and value of additional
                     procedures, and the government’s interest. See id. at
                     335. This is not an inquiry that typically lends itself to
                     the kind of categorical approach advocated by petition-
                     er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                     (contrasting categorical Sixth Amendment right to coun-
                     sel in criminal prosecution “with the more limited due
                     process right” in other contexts).10
                         In fact, in areas outside traditional criminal prosecu-
                     tions where an individual’s liberty is nonetheless at
                     stake, the Court has declined to recognize a categorical
                     right to counsel, instead relying on alternative proce-
                     dural safeguards to ensure due process. See Gagnon,
                     411 U.S. at 782-790; see also Middendorf v. Henry, 425
                     U.S. 25, 43 (1976) (no due process right to counsel for
                     summary courts-martial).11 For example, in Gagnon,

                       10
                          The Sixth Amendment right to counsel is inapplicable to a civil
                     contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                     Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                       11
                          In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                     cess right to appointed counsel in a juvenile delinquency proceeding,
                     but, as the Court later explained, that was because the proceeding
                     “while denominated civil, was functionally akin to a criminal trial.”
                     Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                     plurality would have held that there is a due process right to counsel
                     before a State involuntarily transfers a prisoner to a state mental
                     hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                     trolling concurrence, however, disagreed, concluding that “the fairness
                     of an informal hearing designed to determine a medical issue” does not
                     “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                     that a prisoner “required assistance” in such a proceeding to ensure
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                     the Court held that due process required the govern-
                     ment to provide a preliminary and final hearing before
                     it could incarcerate an individual for violating the terms
                     of his probation. See 411 U.S. at 782; see also id. at 785-
                     786 (hearings necessary in order to provide notice of the
                     alleged probation violation and ensure “accurate finding
                     of fact and the informed use of discretion”). At the same
                     time, however, the Court rejected the “contention that
                     the State is under a constitutional duty to provide coun-
                     sel for indigents in all probation or parole revocation
                     cases.” Id. at 787; see id. at 790 (stating that due pro-
                     cess may require appointment of counsel in exceptional
                     cases). The Court recognized that “such a rule has the
                     appeal of simplicity” but concluded that “it would impose
                     direct costs and serious collateral disadvantages without
                     regard to the need or the likelihood in a particular case
                     for a constructive contribution by counsel.” Id. at 787.
                         The Court in Gagnon noted that in many cases a pro-
                     bationer’s mitigating evidence may be “so simple as not
                     to require either investigation or exposition by counsel.”
                     411 U.S. at 787. Here too, with the provision of easy-to-
                     understand forms on assets and income and, if neces-
                     sary, a colloquy with the trial court, it will often be sim-
                     ple for a delinquent child-support obligor to demon-
                     strate his present inability to discharge his obligation
                     without the assistance of appointed counsel. Indeed,
                     even in criminal cases to which the Sixth Amendment
                     right of counsel applies, defendants are not entitled to
                     government-appointed counsel for the purpose of filling
                     out the forms routinely used to establishing their finan-
                     cial eligibility for government-appointed counsel. See


                     fairness, but said that it could be “rendered by competent laymen in
                     some cases.” Ibid.
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                     18 U.S.C. 3006A(b) (counsel will be appointed only after
                     court is “satisfied after appropriate inquiry that the per-
                     son is financially unable to obtain counsel”); United
                     States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                     Criminal Justice Act, the public fisc need not contribute
                     one penny unless the accused first establishes that he
                     cannot afford counsel. Nothing in the statute directs the
                     Treasury to assist the accused in making this determina-
                     tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                     legal expertise is needed to participate effectively in
                     hearings under the Criminal Justice Act,” ibid., no legal
                     expertise is generally required to establish inability to
                     pay child-support arrears.
                         Gagnon also expressed concern that “[t]he introduc-
                     tion of counsel into a revocation proceeding will alter
                     significantly the nature of the proceeding,” since the
                     States typically relied on probation officers to conduct
                     revocation hearings but might turn to attorneys if all
                     probationers were represented. 411 U.S. at 787. “[T]he
                     decisionmaking process will be prolonged, and the finan-
                     cial cost to the State * * * will not be insubstantial.”
                     Id. at 788. In the context of civil contempt for child sup-
                     port as well, automatic appointment of counsel could
                     delay the proceedings, create an asymmetry in repre-
                     sentation between non-custodial parents and custodial
                     parents who may appear pro se, see, e.g., Pet. App. 16a,
                     and impose considerable financial cost on the govern-
                     ment without an automatic increase in accuracy.
                         Lassiter v. Department of Social Services, 452 U.S.
                     18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                     32-33, is not to the contrary. In that decision, the Court
                     held that there was no due process right to counsel in a
                     parental-rights termination proceeding. See Lassiter,
                     452 U.S. at 32-33. In dictum, the Court said its cases
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                     had established a “presumption” that an indigent had a
                     right to appointed counsel “when, if he loses, he may be
                     deprived of his physical liberty.” Id. at 26-27. The
                     Court has not subsequently relied on any such presump-
                     tion derived from the Lassiter dictum, and Lassiter it-
                     self recognized that Gagnon, which involved a depriva-
                     tion of physical liberty, had held that “due process is not
                     so rigid as to require that the significant interests in
                     informality, flexibility and economy must always be sac-
                     rificed” through appointment of counsel. Id. at 31 (quot-
                     ing Gagnon, 411 U.S. at 788).
                         That there may be atypical cases with “complex fac-
                     tual and legal issues” (Pet. Br. 46) in which counsel
                     would provide a significant benefit beyond what could be
                     obtained through other procedural safeguards does not
                     mean there should be a right to counsel. “[P]rocedural
                     due process rules are shaped by the risk of error inher-
                     ent in the truth-finding process as applied to the gener-
                     ality of cases, not the rare exceptions.” Walters v. Na-
                     tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                     (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                     (“existence of complexity in some cases” was not “suffi-
                     cient to warrant a conclusion that the right to retain and
                     compensate an attorney in [Veterans Administration]
                     cases is a necessary element of procedural fairness un-
                     der the Fifth Amendment”).
                         b. A recognition that due process requires fair pro-
                     ceedings before a child-support obligor can be held in
                     civil contempt but that this due process right does not
                     encompass appointment of government-funded counsel
                     is also consistent with the balance struck by Congress
                     and the Secretary in enacting and administering the
                     Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                     (“[W]e must give particular deference to the determina-
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                     tion of Congress, made under its authority to regulate
                     the land and naval forces, U.S. Const., Art. I, § 8, that
                     counsel should not be provided in summary courts-mar-
                     tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                     congressional judgment must be afforded even though
                     the claim is that a statute Congress has enacted effects
                     a denial of the procedural due process guaranteed by the
                     Fifth Amendment.”).
                         Congress and the Secretary have demonstrated their
                     concern that child-support-related proceedings be con-
                     ducted fairly by repeatedly making compliance with
                     procedural due process rules a requirement of State
                     participation in the program.12 At the same time, how-
                     ever, they have declined to reimburse the States for
                     the cost of providing counsel to non-custodial parents.
                     See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                     ute does not provide federal funding for “defense coun-
                     sel for absent parents” or “incarceration of delinquent
                     obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                     ing for “[t]he costs of counsel for indigent defendants in

                       12
                          See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                     state income tax refunds to pay overdue support permitted only “after
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                     delinquency to credit bureaus “only after [the] parent has been afforded
                     all due process required under State law, including notice and a reason-
                     able opportunity to contest the accuracy of such information.”);
                     42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                     “shall be subject to due process safeguards, including (as appropriate)
                     requirements for notice, opportunity to contest the action, and oppor-
                     tunity for an appeal on the record to an independent administrative or
                     judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                     303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                     IV-D actions” or “[a]ny expenditure for jailing of par-
                     ents in child-support enforcement cases”); see also
                     52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                     inception of the [Title IV-D] program has been that
                     costs of incarceration of delinquent obligors and costs of
                     defense counsel are not necessary and reasonable costs
                     associated with the proper and efficient administration
                     of the Title IV-D program.”).
                         Finally, at its broadest, the categorical rule petition-
                     er suggests—that there is a right to government-ap-
                     pointed counsel in all “proceedings denominated as ‘civil’
                     where an individual nonetheless faces the prospect of
                     confinement to state custody,” Pet. Br. 30—conflicts
                     with Congress’s express judgment that provision of
                     government-funded counsel is not warranted in all such
                     areas. See Middendorf, 425 U.S. at 43 (deferring to
                     such a judgment); Walters, 473 U.S. at 319-320 (same);
                     see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                     (“The role of the judiciary is limited to determining
                     whether the procedures meet the essential standard of
                     fairness under the Due Process Clause and does not ex-
                     tend to imposing procedures that merely displace con-
                     gressional choices of policy.”).
                         For example, while aliens are sometimes detained
                     during removal proceedings or pending enforcement of
                     removal orders, Congress has long explicitly provided
                     that there is no obligation to provide government pay-
                     ment for counsel in such proceedings. See 8 U.S.C. 1362
                     (“In any removal proceedings before an immigration
                     judge and in any appeal proceedings before the Attor-
                     ney General from any such removal proceedings,
                     the person concerned shall have the privilege of being
                     represented (at no expense to the Government) by such
                     counsel, authorized to practice in such proceedings,
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                     as he shall choose.”) (emphasis added); 8 U.S.C.
                     1229a(b)(4)(A). Congress’s judgment is consistent with
                     this Court’s repeated holdings that removal proceedings
                     are civil and non-punitive, see, e.g., INS v. Lopez-
                     Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                     proceeding is a purely civil action to determine eligibil-
                     ity to remain in this country, not to punish an unlawful
                     entry, though entering or remaining unlawfully in this
                     country is itself a crime.”), and its conclusion that deten-
                     tion of an alien during the removal process is permissi-
                     ble because it is incidental to the proceedings, and not
                     their purpose or goal, see, e.g., Carlson v. Landon,
                     342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                     of this deportation procedure.”). As the Court has
                     also noted, removal proceedings—whose purpose is re-
                     moval of aliens from the country, not deprivation of their
                     physical liberty—are “streamlined” administrative pro-
                     ceedings held before administrative personnel, immigra-
                     tion judges, under rules offering the aliens more limited
                     procedural rights than are available in court. Lopez-
                     Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                     hearing is intended to provide a streamlined determina-
                     tion of eligibility to remain in this country, nothing
                     more”). The due process guarantee of fundamental fair-
                     ness does not mandate the appointment of counsel in
                     such proceedings, which would be contrary to the judg-
                     ment of Congress.13

                       13
                          For these reasons, the lower courts have held that aliens in removal
                     proceedings have no constitutional right to appointment of counsel at
                     government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                     (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                     that in light of the non-criminal nature of both the proceedings and the
                     order which may be a result, that respondents are not entitled to have
                     counsel appointed at government expense”) (citing cases); see Moham-
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                                               CONCLUSION
                         The judgment of the Supreme Court of South Caro-
                     lina should be reversed.
                         Respectfully submitted.

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                     JANUARY 2011




                     med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                     Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                     F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                     F.2d 506, 509 (5th Cir. 1987).
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                                                PUBLISHED

                    UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                   JIM HODGES, in his official capacity      
                   as Governor of the State of South
                   Carolina; JEAN HOEFER TOAL, in her
                   official capacity as Chief Justice of
                   South Carolina; SOUTH CAROLINA
                   DEPARTMENT OF SOCIAL SERVICES;
                   STATE OF SOUTH CAROLINA; PEOPLE OF
                   SC, on Behalf of the State of South
                   Carolina; JOHN DOE; JANE DOE, and
                   those similarly situated,
                                    Plaintiffs-Appellants,
                                     v.                              No. 00-2512
                   TOMMY G. THOMPSON, SECRETARY,
                   UNITED STATES DEPARTMENT OF
                   HEALTH AND HUMAN SERVICES; WADE
                   F. HORN, Ph.D. in his official
                   capacity as Assistant Secretary of
                   the United States Department of
                   Health and Human Services for
                   Children and Families; U.S.
                   DEPARTMENT OF HEALTH & HUMAN
                   SERVICES,
                                  Defendants-Appellees.
                                                             
                              Appeal from the United States District Court
                             for the District of South Carolina, at Columbia.
                   Julian Abele Cook, Jr., Senior District Judge, sitting by designation.
                                            (CA-00-2048-3-17)

                                           Argued: December 6, 2001

                                          Decided: November 15, 2002
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                   2                       HODGES v. THOMPSON
                       Before WIDENER, NIEMEYER, and MOTZ, Circuit Judges.



                   Affirmed by published per curiam opinion.


                                               COUNSEL

                   ARGUED: Marcus Angelo Manos, NEXSEN, PRUET, JACOBS &
                   POLLARD, L.L.C., Columbia, South Carolina, for Appellants. Greg-
                   ory George Katsas, Appellate Staff, Civil Division, UNITED
                   STATES DEPARTMENT OF JUSTICE, Washington, D.C., for
                   Appellees. ON BRIEF: Wilburn Brewer, Jr., NEXSEN, PRUET,
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                   Schiffer, Acting Assistant Attorney General, Scott N. Schools, United
                   States Attorney, Jacob M. Lewis, Peter J. Smith, Appellate Staff,
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                   Washington, D.C., for Appellees.


                                                OPINION

                   PER CURIAM:

                      The Governor of South Carolina appeals the grant of summary
                   judgment to the Secretary of the United States Department of Health
                   and Human Services in the State’s action seeking injunctive and
                   declaratory relief from conditions imposed for federal funding of the
                   Temporary Assistance to Needy Families (TANF) program.

                      South Carolina challenges the district court finding that Congress
                   acted within its Spending Clause authority when it conditioned States’
                   receipt of federal funds under the child support enforcement program
                   and the TANF program on compliance with the requirement that
                   States develop and maintain automated child support enforcement
                   systems and that such a condition was not so coercive as to violate
                   the Tenth Amendment. The State further alleges the district court
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                                            HODGES v. THOMPSON                           3
                   erred when it found that the Secretary did not have the discretion to
                   amend the statutory penalty structure for a State’s noncompliance
                   with the child support systems requirements. In addition, South Caro-
                   lina contends the court erred in finding that the State could not invoke
                   the protections of the Due Process Clause. After considering the par-
                   ties’ briefs and the record, and following oral argument, we affirm
                   substantially on the reasoning of the district court.

                                                      I.

                      The district court opinion contains a comprehensive history, the
                   details of which need not be repeated here, of the federal govern-
                   ment’s longstanding involvement in child support enforcement pro-
                   grams and related federal efforts to work with the States to solve the
                   serious problem of nonpayment of child support. See Hodges v. Sha-
                   lala, 121 F.Supp.2d 854 (D.S.C. 2000). Currently, as a condition of
                   receipt of any federal funding under Title IV-D of the Social Security
                   Act, 42 U.S.C. §§ 651-669, States must have an approved state plan
                   for child and spousal support that meets all the requirements of 42
                   U.S.C. § 654. Among the prerequisites for approval of a Title IV-D
                   Plan are the requirements that the State establish and operate an auto-
                   mated data processing and information retrieval system, see 42 U.S.C.
                   § 654(24), and a state child support disbursement unit (SDU), see 42
                   U.S.C. § 654(27)(A). South Carolina concedes that it has neither a
                   federally certifiable statewide automated system for child support nor
                   an SDU. See Hodges, 121 F. Supp. 2d at 861.

                      Without an approved state plan, a State may lose federal funding
                   under both Title IV-D (child support enforcement) and Title IV-A
                   (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alter-
                   natively, a State may opt for an alternative penalty in lieu of disap-
                   proval of their state plan and the withholding of federal funds if the
                   State is making a good faith effort to comply with the program’s
                   requirements and the State has submitted a corrective compliance
                   plan. See 42 U.S.C. § 655(a)(4). South Carolina has elected to incur
                   the alternative penalty.

                      We exercise jurisdiction pursuant to 28 U.S.C. § 1291 and review
                   a district court’s grant of summary judgment de novo. See United
                   States v. Kanasco, Ltd., 123 F.3d 209, 210 (4th Cir. 1997).
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                   4                        HODGES v. THOMPSON
                                                     II.

                      We turn first to South Carolina’s contention that the federal gov-
                   ernment’s requirements and penalties associated with the state-wide
                   automated systems, which South Carolina failed to provide, exceed
                   Congressional authority under the Spending Clause and the Tenth
                   Amendment.

                      Consistent with its Spending Power, Congress may attach condi-
                   tions on the receipt of federal funds. See South Dakota v. Dole, 483
                   U.S. 203, 206 (1987). The Spending Power is not unlimited, of
                   course, and the Supreme Court has recognized four general limita-
                   tions: spending must be in pursuit of the general welfare; any attached
                   conditions must be unambiguous; conditions must also be related to
                   a federal interest; and, the obligations imposed by Congress may not
                   violate any independent constitutional provisions. See Dole, 483 U.S.
                   at 207-08.

                      The district court found that "Congress made a considered judg-
                   ment that the American people would benefit significantly from the
                   enhanced enforcement of child-support decrees and the diminution of
                   the number of parents who are able to avoid their obligations simply
                   by moving across local or state lines." Hodges, 121 F. Supp. 2d at
                   873. Thus, like the district court, we are satisfied that Congress acted
                   in the general welfare when it enacted the child support enforcement
                   programs and the associated funding conditions under Title IV-D.

                      South Carolina’s contention that the Title IV-D conditions are
                   ambiguous is without merit. The statute expressly provides that com-
                   pliance with the automated system and SDU requirements is a condi-
                   tion of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A.
                   We agree with the district court that the clear and unequivocal state-
                   ment of the required conditions in the statute enabled South Carolina
                   to "exercise [her] choice knowingly, cognizant of the consequences of
                   [her] participation." See Dole, 483 U.S. at 207 (citations omitted).

                     A third limitation on the Spending Power requires that conditions
                   "bear some relationship to the purpose of the federal spending." New
                   York v. United States, 505 U.S. 144, 167 (1992) (citing Dole, 483
                   U.S. at 207-08, n.3). Here, there is a complementary relationship
Case:
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                                             HODGES v. THOMPSON                             5
                   between efficient child support enforcement and the broader goals of
                   providing assistance to needy families through the TANF program.
                   Establishing paternity and collecting child support may enable fami-
                   lies to reduce their dependence on the welfare system, and both pro-
                   grams are intended to reduce the incidence of poverty among children
                   and families. The Supreme Court has recognized that Congress
                   intended these linkages between child support programs and the
                   TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)
                   (concluding Congress intended the two programs to "operate together
                   closely to provide uniform levels of support for children of equal need").1

                      South Carolina does not contend that the Title IV-D conditions vio-
                   late the fourth limitation on the Spending Power — that the condi-
                   tions violate any independent Constitutional prohibition, rather it
                   raises a Tenth Amendment2 challenge. As we have recently recon-
                   firmed, "the Tenth Amendment itself does not act as a constitutional
                   bar to Congress’s spending power; rather, the fourth restriction on
                   Congress’s spending power stands for the more general proposition
                   that Congress may not induce the states to engage in activities that
                   would themselves be unconstitutional." James Island Pub. Serv. Dist.
                   v. City of Charleston, 249 F.3d 323, 327 (4th Cir. 2001) (citing Kan-
                   sas v. United States, 214 F.3d 1196, 1199 (10th Cir. 2000)) (italics in
                   original). We therefore next consider South Carolina’s Tenth Amend-
                   ment argument, not as a limitation related to the Spending Clause, but
                   as an independent constitutional challenge.

                      South Carolina argues that the coercive effect of the Title IV-D
                   conditions run afoul of the protections of the Tenth Amendment. The
                   Supreme Court has recognized that the Tenth Amendment may be
                   implicated when the financial incentives offered by the federal gov-
                   ernment to the States cross the impermissible line where "pressure
                     1
                        Sullivan considered the relationship between child enforcement pro-
                   grams and Aid to Families with Dependent Children (AFDC). 496 U.S.
                   at 478. TANF is a block grant program established in 1996 as the succes-
                   sor to the AFDC program. See 42 U.S.C. §§ 601-618.
                      2
                        The Tenth Amendment states: "The powers not delegated to the
                   United States by the Constitution, nor prohibited by it to the States, are
                   reserved to the States respectively, or to the people." U.S. Const. amend.
                   X.
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                   6                        HODGES v. THOMPSON
                   turns into compulsion." See Dole, 483 U.S. at 211 (citations omitted).
                   Congress may use its Spending Power to influence a State’s legisla-
                   tive choices by providing incentives for States to adopt certain poli-
                   cies, but may not compel or coerce a State, or go so far as to
                   "commandeer the legislative processes of the States by directly com-
                   pelling them to enact and enforce a federal regulatory program." See
                   New York v. United States, 505 U.S. at 161, but Congress, under the
                   Commerce Clause, may offer the States a choice of regulation under
                   federal control or preemption under federal regulation. See Hodel v.
                   Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264,
                   288 (1981).

                      The district court found that, based on the State’s own admission,
                   the alternative penalty, which South Carolina has now elected, would
                   result in the loss of a small fraction of the State’s TANF funds and
                   that such a proportion was noncoercive. Given the linkages between
                   child support enforcement and aid to needy families and the level of
                   the alternative penalty, we agree with the district court’s conclusion
                   that "the Title IV-D conditions are not so overbearing as to create an
                   unconstitutional compulsion." Hodges, 121 F.2d at 875.

                      South Carolina next contends that the Secretary of the Department
                   of Health and Human Services (HHS) has the discretion to deviate
                   from the alternative penalty structure of Title VI-D in order to
                   respond to the peculiar circumstances that led to South Carolina’s
                   noncompliance. Specifically, South Carolina argues that its inability
                   to comply with the automated system and SDU requirements was
                   caused by the failure of its prime contractor, Unisys, to deliver on its
                   contract with the State. South Carolina maintains that because its non-
                   compliance was no fault of its own and its alternative systems are in
                   substantial compliance with the goals of the statute, the Secretary
                   abused her discretion by refusing to grant South Carolina an evidenti-
                   ary hearing and waive or amend the alternative penalty for noncom-
                   pliance.

                      We have examined the penalty provisions of the statute and, like
                   the district court, cannot find the discretion South Carolina envisions.
                   The wording of the statute is plain. Where the Secretary determines
                   that a state plan would be disapproved, and where the State has made
                   and continues to make a good faith effort to comply and has submit-
Case:
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                                             HODGES v. THOMPSON                            7
                   ted a corrective compliance plan, "the Secretary shall not disapprove
                   the State plan . . . and the Secretary shall reduce the amount other-
                   wise payable to the State [by the designated alternative penalty]." 42
                   U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). Again, we agree with
                   the district court that "[b]y the text of the statute, the legislature has
                   prescribed that the Secretary shall enforce this penalty." Hodges, 121
                   F.2d at 879. Absent any discretion available to the Secretary to
                   impose a lesser penalty than the alternative penalty as outlined in the
                   statute, South Carolina’s assertion that it is entitled to an evidentiary
                   hearing must also fail.3

                                                      III.

                      For the foregoing reasons, we are of opinion that the Title IV-D
                   provisions are constitutionally valid under the Spending Clause and
                   the Tenth Amendment and that the Secretary lacks discretion under
                   Title IV-D to deviate from the penalty provisions.

                     The judgment of the district court is accordingly

                                                                               AFFIRMED.

                     3
                      In the district court, South Carolina asserted a Due Process claim
                   which the district court denied. The court concluded that the "State can-
                   not invoke the protections of the Fifth Amendment with claims that [the
                   State] has been harmed." Hodges, 121 F.2d at 865. South Carolina does
                   not take issue with the district court’s holding, but rather, on appeal it
                   asserts that the State is entitled to assert a Due Process claim on behalf
                   of its citizens. Because this contention was never properly presented to
                   the district court, we do not consider it now. See McGowan v. Gillen-
                   water, 429 F.2d 586, 587 (4th Cir. 1970).
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                                       No. 23-1851

                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                          UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                     MARY SEGUIN
                                             v.
         RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official
         capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY
        FOBERT, KARLA CABALLEROS and TIMOTHY FLYNN in their individual
             and official capacities; GERO MEYERSIEK; BARBARA GRADY
                                  Defendants-Appellees.


                        Appeal from the United States District Court
                              for the District of Rhode Island
                                  ___________________
         APPELLANT’S OBJECTION TO APPELLEES’ MOTION TO STRIKE
       APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
          THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
       INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
        CAUSING TO BE PRESENTED OR CERTIFICATION OF A FALSE OR
        FRAUDULENT CLAIM TO THE UNITED STATES, TO THE STATE OF
          TEXAS, FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING,
        USING OR CAUSING TO BE MADE OR USED, A FALSE RECORD OR
         STATEMENT MATERIAL TO A FALSE OR FRAUDULENT CLAIM;
         CONSPIRING TO COMMIT A VIOLATION OF THE AFORESAID TO
       PROCURE TITLE IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42
                          U.S.C. § 654 WHICH ARE
        PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
       654, COMMITTED BY INDIVIDUAL APPELLEE PERSONS, WHOEVER,

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        AND AGENTS OF TITLE IV SOCIAL SECURITY ACT RHODE ISLAND
                               STATE PLAN
                                  Under Fed. R. Evid. 201
                                             and
                                         Pursuant to
                                          18 U.S.C. § 4
                                       18 U.S.C. § 666
                      18 U.S.C. § 287 - making false, fictitious claims,
                   18 U.S.C. § 371 - conspiracy to defraud the United States,
           18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                 18 U.S.C. § 1341 - mail fraud,
                                 18 U.S.C. § 1343 - wire fraud,
                     18 U.S.C. § 641 - Public money, property or records,
                         31 U.S.C. § 3279 - federal civil false claims act
                                              Et al.
                                              AND
          APPELLANT’S REQUEST FOR A HEARING PURSUANT TO FED. R.
                               EVID. 201(e)
                                   ___________________



             ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
         GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS


             Appellant, MARY SEGUIN, hereby objects to State Appellees’ Motion to

       Strike dated March 29, 2024, Document: 00118126183 and requests a hearing of

       Appellant’s Objection pursuant to Rule 201[e]. Appellant was not aware of the


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       Rhode Island State Policy that prohibits the charging of interest rate in interstate

       cases until 2024, see Appellee Rhode Island Office of Child Support Services

       Policy Exhibit A. Therefore, this evidence was not available at the time final

       judgment was issued on September 28, 2023 in this matter. Judicial Notice, in aid

       of the court, is respectfully requested of it. Whether requesting or opposing judicial

       notice, litigants have a right to be heard on the issue under Rule 201[e], therefore,

       Appellant requests a hearing on the issue under Rule 201(e).

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995].

             Judicial Notice in practice is taken at any time of a proceeding, including for

       the first time on appeal, of legislative history, to wit the legislative history of 42

       U.S.C. sec. 654 regarding Congress’s Amendment in 1996. This similarly applies

       to the State of Rhode Island’s legislative history, to wit, the failure of Rhode Island

       Gen. Law. 15-5-16.5 to comply with the 1996 Amendment of 42 U.S.C. sec. 654.
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       42 U.S.C. sec. 654 makes it explicitly clear that such failures incur penalties. The

       fact that Rhode Island family court is a court of limited jurisdiction, as prescribed

       by R.I. Gen. Law. 8-10-3 where limited relief is authorized by State legislation is a

       matter of legislative fact, that in practice is judicially noted at any time of a

       proceeding, including for the first time on appeal.

             Appellant re-attaches these legislative copies hereto this Objection. These

       legislations and the pre-emptive effect of the explicit language in the statutory

       provisions under Amendment 1996 of 42 U.S.C. sec. 654 make clear that the State

       of Rhode Island is operating an unlawful State Plan that unlawfully charges 12%

       compound interest on overdue support under color of state law, the basis of the

       current “State enforcement” of its “court orders” charging 12% compound interest

       without jurisdiction. Since a trial did not occur in this matter, at this juncture the

       Court must take all factual allegations in the Amended Complaint in this matter as

       true, and it plainly pleads that the State Appellee represented to the Appellant in

       Texas that if Appellant paid $104,185.98 in one lump sum, Appellee Gero

       Meyersiek waived interest, and that the $104,185.98 is a pay-off amount that does

       not include interest.

             Therefore, Appellee Gero Meyersiek changed his mind after Texas

       Appellant accepted the offer in Texas, performed and paid the lump sum

       $104,185.98. The “changed his mind” entailed the action of “putting interest back
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       on the system” that consists of 12% compound interest (see attached R.I.G.L. sec.

       15-5-16.5.)

             Since the State Plan that charges 12% compound interest, takes interest off

       the system only during certifications to the TEXAS and UNITED STATES

       authorities, and then puts interest back on the system when Appellee Gero

       Meyersiek “changed his mind” waiving interest after Texas Appellant performed

       on the terms of the agreement, it is abundantly clear that the Appellees,

       government and private persons operate a criminally unlawful State Plan. Since all

       Appellees participate in the “take interest off the system” when certifying to

       TEXAS and when certifying to the UNITED STATES the total support due, and

       since the State Policy provides for the creation of “two reports,” Fed. R.Evidence

       201 evidence is abundantly clear before this Court and before a panel of “some

       judges” that of organized criminal fraud and the lack of jurisdiction of the limited

       jurisdiction state family court to issue orders for 12% compound interest on

       overdue support that 42 U.S.C. 654(21)(A) explicitly prohibits.

             Appellees’ request to strike Fed. R. Evid. 201 evidence of crimes made

       known to “some judges” under 18 U.S.C. sec. 4 from the record in a matter that

       involves Appellees’ organized criminal activity that violates, inter alia, 18 U.S.C.

       sec. 666 and 18 U.S.C. sec. 641, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 - false
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       documents or false statements to a federal agency,18 U.S.C. § 1341 - mail fraud,

       18 U.S.C. § 1343 - wire fraud by the Appellees is an obstruction of an official

       proceeding and an obstruction of justice.

             Finally, undisputed Appellees’ operational evidence that includes unlawful

       redactions made sense only after the availability in 2024 of the State Policy that

       evidences the State Plan operating an unlawful Child Support enforcement

       program by policy of creating “two reports” in interstate cases, one with the

       unlawful 12% compound interest to enforce under color of law, and one report for

       the purposes of making false claims, false certifications, and falsifying official

       government documents to unlawfully apply for Federal Title IV Program funding

       that the Appellees knew Rhode Island is ineligible for. That amounts to billions of

       dollars of theft against the United States.

             Emphatically, Congress intended, by making “some judge(s)”…”of the

       United States” to whom the commission of crimes is mandated to be made known,

       explicitly conferred the duty on Judges of the United States under Federal Criminal

       Law the same duty, obligations and responsibility acting as authorities under the

       United States, as the “other persons in civil or military authority under the United

       States” explicitly named in the federal criminal statute 18 U.S.C. sec. 4. Appellant

       requested Judicial Notice under 18 U.S.C. sec. 4 to the “some judges” as the

       “person in authority under the United States” under 18 U.S.C. sec. 4. Striking
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       from the record Congressional legislation history of 42 U.S.C. sec. 654, State

       legislation history, Rhode Island State Plan 42 U.S.C. sec. 654(3) State operating

       and disbursement unit’s Policy that are neither classified information nor

       confidential or privileged information to the United States are further not in the

       interest of the United States.

             Striking evidence that shows $0.00 interest on a December 6, 2021

       screenshot of the Appellee-operated 42 U.S.C. sec. 654a automated data

       processing and information retrieval system accomplishes nothing other than

       taking as true the factual allegations in the Amended Complaint that details

       Appellant being shown the $0.00 Under Interest generated by the automated data

       processing and information retrieval system. The Fed. R. Evid. visual evidence

       aids the court to visualize the truth of Appellant’s factual allegations.

             Striking evidence of a screenshot of the Appellee-operated 42 U.S.C. sec.

       654a automated data processing and information retrieval system that shows $0.00

       Payment for Appellant’s whopping lump sum $104,185.98 December 7, 2021

       payment accomplishes nothing, when the screenshot is a visual evidence of the

       “two reports” explicitly stated in the Appellee State Policy to create “two reports”

       that consist of falsified records – these are evidence in the aid of the court of

       Appellant’s 18 U.S.C. sec. 4 and Fed. R. Evid. request to take judicial notice of

       activities that harm the United States and steal from Federal Program Funds.
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             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995].

             Appellate courts take judicial notice of facts that were not available to

       litigants at trial and events that occurred after judgment was entered. For example,

       courts have taken judicial notice of guilty pleas entered in a related criminal case

       after judgment in the civil case was entered. See, e.g., Colonial Penn Ins. Co. v.

       Coil, 887 F.2d 1236, 1239 [4th Cir. 1989]. Similarly, appellate courts have taken

       judicial notice of post-judgment changes in the conditions in a foreign country

       relevant to an immigration appeal, Ivezaj v. INS , 84 F.3d 215, 218-19 [6th Cir.

       1996], as well as post-trial changes in the racial composition of a state’s judiciary

       in a discrimination suit. Southern Christian Leadership Conference of Alabama v.

       Sessions, 56 F.3d 1281, 1288 n.13 [11th Cir. 1995].



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             Certain categories of facts have long been the subject of judicial notice on

       appeal. Courts routinely take judicial notice of pleadings and records in other court

       cases [see, e.g., Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 [7th Cir.

       1983]; E.I. du Pont de Nemours & Co. Inc. v. Cullen, 791 F.2d 5, 7 [1st Cir. 1986]]

       and in administrative agency proceedings [see, e.g., Opeka v. INS, 194 F.3d 392,

       394-95 [7th Cir. 1996]], Courts are generally willing to take judicial notice of data,

       pronouncements and publications issued by the government, such as

       Environmental Protection Agency research [Nebraska v. EPA, 331 F.3d 995, 998

       n.3 [D.C. Cir. 2003]]; State Department travel warnings [Parsons v. United Tech.

       Corp ., 700 A.2d 655, 665 n.18 [Conn. 1997]]; and a federal fisheries management

       plan approved by formal rule [City of Charleston v. A Fisherman’s Best Inc., 310

       F.3d 155, 172 [4th Cir. 2002], cert. denied, 123 S.Ct. 2573 [2003]]. Appellate

       courts are also likely to take judicial notice of relevant newspaper articles [see,

       e.g., The Washington Post v. Robinson, 935 F.2d 282, 291-92 [D.C. Cir. 1991]]

       and historical information contained in authoritative publications, such as a text on

       the history of Lincoln Center [see, e.g., Hotel Employees, 311 F.3d at 540 n.1.].

             Courts take judicial notice of online information. Appellate courts have

       increasingly cited information found on the Internet. As with hard-copy

       publications, courts are most willing to take judicial notice of information found on

       government Web sites, such as the time of sunrise found on the Web site of the

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       U.S. Naval Observatory [U.S. v. Bervaldi, 226 F.3d 1256, 1266 n.9 [11th Cir.

       2000]]; the prime interest rate on the Federal Reserve Board Web site [Levan v.

       Capital Cities/ABC Inc., 190 F.3d 1230, 1235 n.12 [11th Cir. 1999]]; and records

       of retired military personnel on a federal Web site [Denius, 330 F.3d at 926].

       Courts have even been willing to take judicial notice of information on arguably

       less reliable commercial Internet sites, including mileage information on Mapquest

       [In re Extradition of Gonzalez, 52 F. Supp. 2d 725, 731 n.12 [W.D. La. 1999]];

       historical information on Liberia on the “Geocities” Web site [Bridgeway Corp. v.

       Citibank, 45 F. Supp. 2d 276, 278 n.2 [S.D.N.Y. 1999]]; and information regarding

       a bank’s ownership from the bank’s Web site [see Laborers’ Pension Fund v.

       Blackmore Sewer Constr. Inc., 298 F.3d 600, 607 [7th Cir. 2002]].

             The use of judicial notice spans a wide spectrum of cases, from the most

       historically significant-such as Chief Justice Earl Warren’s reliance in Brown v.

       Board of Ed., 347 U.S. 483, 494 n.11 [1954], on scholarly publications

       documenting the effect of segregated schools on minority children-to the most

       mundane, such as the 2d U.S. Circuit Court of Appeals’ judicial notice of the

       “traditional features of a snowman.” Eden Toys Inc. v. Marshall Field & Co., 675

       F.2d 498, 500 n.1 [2d Cir. 1982].

                 In general, courts are free to take notice of legislative facts, including

       research data and writings like those cited in the famous “Brandeis briefs.”
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       Appellate courts are understandably more willing to take judicial notice of such

       legislative facts, because they help them develop reasonable rules of law that will

       apply in future cases. “Legislative facts,” which are facts of general “relevance to

       legal reasoning and the lawmaking process” [Fed. R. Evid. 201[a] Advisory

       Committee’s note] or are “established truths, facts or pronouncements that do not

       change from case to case” and “do not relate specifically to the…litigants.” [United

       States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. 42 U.S.C. sec. 654 relates to

       all interested parties and the United States, and are established truths and facts that

       do not change from case to case, and do not specifically only apply just to this

       matter. Likewise R.I. Gen. Laws. Sec, 15-5-16.5 relates to all interested parties

       and the United States, not just to this matter. Likewise the Appellees’ State Policy

       prohibiting the charging of interest in interstate cases and creating “two reports”

       from the policy adjustments to the 42 U.S.C. sec. 654a automated data processing

       and information retrieval system is established truths and facts that do not change

       from case to case, and do not specifically only apply just to this matter. The

       resultant Screenshot evidence of the resulting false records created by the “two

       reports” do not change because Rhode Island creates two reports in intrastate cases

       in order to evade detection of the unlawful 12% compound interest under color of

       state law, one for enforcement under color of law, one for false certification of

       State Plan compliance to the United States Title IV Program. While full suite of


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       issues concerning State noncompliance with 42 U.S.C. sec. 654 this Court notices

       under the Turner v. Rogers Amicus Brief submitted by the United States can be

       noticed on the Court’s own initiative, however, the full suite of the issues

       contained therein made sense of the State Policy that was not available to the

       Appellant under 2024 – nevertheless, Appellant makes known this evidence to the

       judges of the First Circuit Court of Appeals under 18 U.S.C. sec. 4 and Fed. R.

       Evid. 201.

             As such, all public truths and facts and publications “made known” to this

       Court under 18 U.S.C. sec. 4 and Fed. R. Evid. 201 should be judicially noticed.

             Appellant separately filed a Notice requesting judicial notice on March 29,

       2024 Document: 00118126217, specifically invoking Fed. R. Evid. 201 and 18

       U.S.C. sec. 4.

             Whether requesting or opposing judicial notice, litigants have a right to be

       heard on the issue under Rule 201[e].

             WHEREFORE, Under Fed. R. Evid. 201[f], judicial notice of adjudicative

       facts may be taken at any stage of the proceedings, including on appeal. In

       practice, appellate courts frequently take judicial notice of both adjudicative and

       legislative facts presented for the first time on appeal, whether requested by a party

       or on their own initiative. See, e.g., Hotel Employees & Rest. Employees Union,


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       Local 100 of New York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of

       Parks & Recreation, 311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms

       Assoc. Ltd ., 61 F.3d 197, 205 [3d Cir. 1995]. Appellant respectfully requests

       Judicial Notice of the herein Made known to “some judges”… “of the United

       States” under Fed. R. Evid. 201 and pursuant to 18 U.S.C. sec. 4. Appellant

       requests to be heard on the issue pursuant to Rule 201[e]. Appellant requests any

       and all Relief deemed just pursuant to protections accorded to actions in

       compliance with 18 U.S.C. sec. 4.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: March 29, 2024




                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 29, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

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                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
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                 Amendments
                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                                                    Title 15
                                                Domestic Relations
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     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




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                                              No. 10-10

                      In the Supreme Court of the United States

                                MICHAEL D. TURNER, PETITIONER
                                                   v.
                                    REBECCA L. ROGERS, ET AL.


                                      ON WRIT OF CERTIORARI
                             TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL




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                                     QUESTIONS PRESENTED

                          1. Whether the Court has jurisdiction to review the
                      decision of the South Carolina Supreme Court.
                          2. Whether due process requires that the State pro-
                      vide counsel, at its expense, to an indigent parent in a
                      child-support proceeding, when the parent is subject to
                      a civil-contempt order for non-payment that may lead to
                      confinement.




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                      In the Supreme Court of the United States
                                              No. 10-10
                                 MICHAEL D. TURNER, PETITIONER
                                                  v.
                                    REBECCA L. ROGERS, ET AL.


                                      ON WRIT OF CERTIORARI
                             TO THE SUPREME COURT OF SOUTH CAROLINA



                        BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                   SUPPORTING REVERSAL



                                INTEREST OF THE UNITED STATES
                          This case concerns the due process protections that
                      apply in a state civil contempt proceeding for non-
                      payment of court-ordered child support. The state
                      child-support enforcement program at issue in the case,
                      like that in every other State, is part of one of the larg-
                      est cooperative federal-state programs, established un-
                      der the Social Services Amendments of 1974 (1975 Act),
                      Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                      et seq.) (adding Title IV-D to the Social Security Act).
                      The program, which is administered by the Secretary of
                      Health and Human Services (Secretary), provides that
                      States with approved plans for child and spousal support
                      that meet federal requirements are reimbursed by the
                      federal government for 66% of the costs of operating
                      their child-support enforcement programs. 42 U.S.C.

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                      655(a)(2)(C). The United States has a substantial inter-
                      est in the effective and equitable operation of such child-
                      support programs.
                                            STATEMENT
                          1. This case involves proceedings in South Carolina
                      family court to enforce a child-support order entered
                      against petitioner for the support of his and respondent
                      Rogers’ minor child. South Carolina, like every other
                      State, maintains a child-support enforcement program
                      as a condition of receiving federal funding for its Tempo-
                      rary Assistance for Needy Families program. Since
                      Congress first required States receiving federal funds to
                      undertake child-support enforcement efforts, it has
                      shifted its emphasis from a localized, court-based en-
                      forcement approach to centralized and automated ef-
                      forts. South Carolina, however, maintains a localized,
                      court-based approach to child-support enforcement.
                          a. Congress first required States receiving federal
                      funds to establish child-support enforcement programs
                      in 1950, pursuant to the Aid to Families with Dependent
                      Children (AFDC) program. See Social Security Act
                      Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                      quiring States receiving AFDC funds to “provide for
                      prompt notice to appropriate law-enforcement officials
                      of the furnishing of aid to dependent children in respect
                      of a child who has been deserted or abandoned by a par-
                      ent”). In 1968, Congress required States participating
                      in AFDC to create statewide or local “organizational
                      unit[s]” for establishing paternity and collecting child
                      support. Social Security Amendments of 1967, Pub. L.
                      No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                      quired States to “provide for entering into cooperative
                      arrangements with appropriate courts and law enforce-
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                      ment officials * * * to assist” with administration of
                      the program. Id. § 201(a)(1), 81 Stat. 879.
                          b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                      651 et seq., and established the general statutory frame-
                      work that exists today. See 1975 Act § 101(a), 88 Stat.
                      2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                      (describing program). The 1975 Act required States
                      participating in AFDC to “have in effect a plan ap-
                      proved” by the Secretary under Title IV-D and to “op-
                      erate a child support program in conformity with such
                      plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                      lar, each State was required to provide services to locate
                      noncustodial parents and to establish the paternity of,
                      and secure support for, children receiving AFDC bene-
                      fits. 42 U.S.C. 654(4).
                          Under the 1975 Act, AFDC recipients were required
                      to assign their support rights to the State and cooperate
                      in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                      Amounts recovered generally were retained by the State
                      to reimburse it and the federal government for AFDC
                      assistance provided to the child’s family. 42 U.S.C.
                      657(b) (1976). Once assigned, the support obligation was
                      owed to the State and was collectible under all applica-
                      ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                          The Secretary’s regulations implementing the 1975
                      Act reflected a localized, court-centered approach to
                      enforcement. States’ efforts to collect past-due child
                      support were required to include (“as applicable and
                      necessary”): “[c]ontempt proceedings to enforce an ex-
                      tant court order,” court-ordered wage garnishment, and
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                           Congress required States to provide services to non-AFDC families
                      as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                      red to assign their support rights and any child support the State collec-
                      ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                      attachment of real and personal property. 45 C.F.R.
                      303.6 (1975). States were also required to maintain suf-
                      ficient staff (either statewide or locally) to “enforce col-
                      lection of support” by “executing contempt proceedings,
                      wage assignments, obtaining garnishment orders, at-
                      taching real and personal property, criminal prosecution
                      and executing judgments.” 45 C.F.R. 303.20(c)(7)
                      (1975).
                          c. In 1984, Congress found that there remained “a
                      critical lack of child support enforcement,” which had “a
                      critical impact on the health and welfare of the children
                      of the Nation.” Child Support Enforcement Amend-
                      ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                      § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                      required States to adopt laws and procedures providing
                      for, among other things, (i) mandatory wage withhold-
                      ing; (ii) expedited processes for obtaining and enforcing
                      support orders; (iii) state income tax refund intercepts;
                      and (iv) reporting overdue support to consumer credit
                      agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                          Congress ultimately set the federal share of reim-
                      bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                      expanded the availability of matching funds at the 90%
                      level for (optional) State expenditures for automating
                      data processing systems to improve “the monitoring of
                      support payments, the maintenance of accurate records
                      regarding the payment of support, and the prompt pro-
                      vision of notice to appropriate officials with respect to
                      any arrearages in support payments which may occur.”
                      1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                      655(a)(3)(A).
                          d. Congress amended Title IV-D again in 1988 to
                      improve the rate of child-support collection. Family
                      Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                      102 Stat. 2343. Because effective child-support enforce-
                      ment “had long been thwarted by localized enforcement
                      systems that were unable to quickly and effectively
                      track delinquent parents who crossed county and state
                      lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                      (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                      denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                      emphasized centralized, automated record-keeping and
                      information retrieval in order to improve collection
                      rates. In particular, Congress mandated “automated
                      data processing and information retrieval system[s]”
                      that had previously been optional. 1988 Act § 123(a)(C),
                      102 Stat. 2352; 42 U.S.C. 654(24).
                          The Title IV-D regulations were amended after
                      adoption of the 1988 Act. As amended, the regulations
                      omitted specific references to contempt proceedings as
                      required means for enforcing child-support obligations.
                      See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                      pra.
                          e. Finally, Congress made further changes to the
                      child-support enforcement system in the Personal Re-
                      sponsibility and Work Opportunity Reconciliation Act of
                      1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                      which, among other things, replaced AFDC with the
                      block-grant program called Temporary Assistance for
                      Needy Families (TANF).3 Those changes again empha-
                      sized a centralized, automated approach to child-support

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                           Federal financial support remained available for “[e]nforcement of
                      a support obligation” through a variety of means, including contempt
                      citations. 45 C.F.R. 304.20(b)(3)(iv).
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                           The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                      608(a)(7). As before, a custodial parent is required to assign her rights
                      to child support to the State as part of the application for TANF assis-
                      tance. 42 U.S.C. 608(a)(3)(A).
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                      enforcement. The amended statute established detailed
                      requirements for the “statewide automated data pro-
                      cessing and information retrieval systems” made man-
                      datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                      654a(a). Among other things, the system must include
                      a state case registry that includes every child-support
                      case in the State, including the amount of monthly sup-
                      port owed and collected in all cases administered by the
                      state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                      654a(e)(5) (States must “promptly * * * update” case
                      records when circumstances change). The States are
                      required to use their centralized databases “to the maxi-
                      mum extent feasible, to assist and facilitate the collec-
                      tion and disbursement of support payments,” including
                      by establishing wage-withholding orders and sending
                      wage-withholding notices to employers. 42 U.S.C.
                      654a(g)(1); see 42 U.S.C. 666(c).
                          f. Despite the changes in federal law, South Caro-
                      lina maintains a localized, court-based approach to child-
                      support enforcement. It is the only State that does not
                      have a certified automated system. See Office of Child
                      Support Enforcement, U.S. Dep’t of Health & Human
                      Servs., National Status of Automated Child Support
                      Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                      certmap.htm.4
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                          In the 1996 Act, Congress determined that any State that failed to
                      automate its child-support program should incur substantial penalties.
                      42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                      the Department of Health and Human Services’ (HHS) authority to
                      impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                      and subsequently submitted a corrective-action plan and accepted
                      imposition of a penalty retroactive to 1998. The State paid more than
                      $55 million in penalties through 2007. South Carolina Dep’t of Social
                      Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                      http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                          Acting pursuant to express statutory authority, S.C.
                      Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                      partment of Social Services has contracted with county
                      clerks of court across the State to administer its pro-
                      gram. The South Carolina courts have in turn adopted
                      a special rule governing child-support enforcement. See
                      S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                      quires clerks of court to review on a monthly basis “all
                      child support and periodic alimony accounts paid
                      through the clerk of court,” as are all accounts for chil-
                      dren whose custodial parent receives TANF assistance.
                      S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                      such account is in arrears, the clerk is required to “issue
                      a rule to show cause and an affidavit identifying the or-
                      der of the court which requires such payments to be
                      made and the amount of the arrearage [and] directing
                      the party in arrears to appear in court at a specific time
                      and date” to face contempt proceedings. S.C. Rule
                      24(b).
                          A “wilful[]” violation of a “lawful order” of a South
                      Carolina court constitutes contempt and may subject the
                      contemnor to up to 12 months confinement. S.C. Code
                      Ann. § 63-3-620 (West 2010).
                          2. Respondent Rogers and petitioner are the par-
                      ents of a minor child, B.L.P. In 2003, the family court in
                      Oconee County, South Carolina, entered an Order of
                      Financial Responsibility against petitioner. Although
                      the order noted that petitioner was unemployed, the
                      court imputed a gross monthly income of $1386 to him
                      and ordered him to pay $59.72 a week in child support
                      through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                      083107.doc. We are informed by HHS that the State has now paid a
                      total of more than $72 million in penalties to date and currently owes an
                      additional incurred penalty of more than $10 million for fiscal year 2010.
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                      Because respondent Rogers was receiving public assis-
                      tance, she assigned her right to collect child support to
                      the Department of Social Services. Pet. Br. 8; see id. at
                      9 n.6 (payments were remitted to respondent Rogers
                      starting in 2004 because her benefits had ended but her
                      case continued to be administered as a Title IV-D case).
                      Petitioner fell behind on his payments, received a num-
                      ber of rules to show cause from the court clerk why he
                      should not be held in contempt, and was jailed three
                      times as a result. Id. at 9-10.
                         By 2007, petitioner was $5728.76 behind on his child-
                      support payments, and a judge of the Oconee County
                      Family Court issued a bench warrant for his arrest.
                      Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                      ary 3, 2008. After noting petitioner’s outstanding bal-
                      ance and stating that he had not made a payment
                      since August 2006, the judge asked petitioner, “[i]s there
                      anything you want to say?” Id. at 17a. Petitioner re-
                      sponded:
                         Well, when I first got out, I got back on dope. I done
                         meth, smoked pot and everything else, and I paid a
                         little bit here and there. And, when I finally did get
                         to working, I broke my back, back in September. I
                         filed for disability and SSI. And, I didn’t get
                         straightened out off the dope until I broke my back
                         and laid up for two months. And, now I’m off the
                         dope and everything. I just hope that you give me a
                         chance. I don’t know what else to say. I mean, I
                         know I done wrong, and I should have been paying
                         and helping her, and I’m sorry. I mean, dope had a
                         hold to me.
                      Ibid.
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                         After a brief exchange between petitioner and re-
                      spondent about his SSI application, the court said:
                         If there’s nothing else, this will be the Order of the
                         Court. I find the Defendant in willful contempt. I’m
                         gonna sentence him to twelve months in the Oconee
                         County Detention Center. He may purge himself of
                         the contempt and avoid the sentence by having a zero
                         balance on or before his release.
                      Pet. App. 18a. The court made no finding that petitioner
                      was capable of paying the arrears while incarcerated.
                      See id. at 17a-18a.
                          At this hearing, neither petitioner nor respondent
                      Rogers was represented by counsel. Pet. App. 6a. How-
                      ever, pro bono counsel filed an appeal on petitioner’s
                      behalf, alleging that petitioner had a right under the
                      Sixth Amendment and the Due Process Clause to have
                      appointed counsel in the contempt proceeding. Id. at
                      10a-15a. Before the intermediate state court could rule,
                      the South Carolina Supreme Court granted discretion-
                      ary review and affirmed the family court. Id. at 1a-5a.
                          The court noted that the “purpose of civil contempt
                      is to coerce the defendant to comply with the court’s or-
                      der,” while criminal contempt’s purpose is “to punish a
                      party for disobedience or disrespect.” Pet. App. 2a-3a.
                      “Civil contempt sanctions are conditioned on compliance
                      with the court’s order. * * * A contemnor imprisoned
                      for civil contempt is said to hold the keys to his cell be-
                      cause he may end the imprisonment and purge himself
                      of the sentence at any time.” Id. at 3a. The court recog-
                      nized that the “distinction between civil and criminal
                      contempt is crucial because criminal contempt triggers
                      additional constitutional safeguards not mandated in
                      civil contempt proceedings.” Ibid.
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                         The court noted that in this case the family court had
                      said that petitioner could “purge himself of the con-
                      tempt” by achieving a “zero balance” on his arrearage.
                      Pet. App. 3a. Reasoning that “[t]his conditional sen-
                      tence is a classic civil contempt sanction,” the court con-
                      cluded that petitioner had no right to appointed counsel.
                      Ibid.
                                     SUMMARY OF ARGUMENT
                          1. The Court has jurisdiction to review the decision
                      of the South Carolina Supreme Court. Petitioner has
                      completed his term of confinement for civil contempt
                      and has not identified any collateral consequences flow-
                      ing from the contempt. Those facts would ordinarily
                      render his case moot. Petitioner, however, qualifies for
                      a narrow exception to the mootness doctrine because the
                      controversy is capable of repetition yet evading review.
                      Sentences for civil contempt in South Carolina are lim-
                      ited to 12 months, and it is highly unlikely that peti-
                      tioner would be able to secure plenary review by this
                      Court within any future period of confinement. In addi-
                      tion, the constitutional violation petitioner asserts is
                      capable of repetition because he remains subject to the
                      underlying child-support order and still has substantial
                      arrears. There is thus a reasonable expectation that he
                      will receive automatically-generated rules to show cause
                      for contempt in the future. Indeed, since the contempt
                      at issue in this case, petitioner has been jailed again for
                      civil contempt.
                          2. Petitioner’s confinement for civil contempt vio-
                      lated due process, not because he lacked counsel, but
                      because the procedures employed by the family court
                      were inadequate to ensure the accurate determination of
                      petitioner’s present ability to pay his child-support ar-
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                      rears. That ability to pay was a necessary predicate to
                      the civil contempt sanction.
                          The defining feature of confinement for civil con-
                      tempt is its purpose to coerce compliance with a court
                      order. Such confinement must therefore end upon dis-
                      charge of the contemnor’s obligations; he is said to hold
                      “the keys of [his] prison in [his] own pocket[].” Shilli-
                      tani v. United States, 384 U.S. 364, 368 (1966) (citation
                      omitted). Such confinement may not be imposed, how-
                      ever, where the contemnor demonstrates his inability to
                      comply with the order. In such cases, he does not truly
                      hold the keys to the prison; to confine him nonetheless
                      would render the confinement punitive and thus a sanc-
                      tion that may be imposed only after compliance with
                      criminal case safeguards.
                          The question of petitioner’s ability to pay his child-
                      support arrears therefore should have been a focus of
                      the civil contempt proceeding, but it was not. Pro se
                      petitioner was afforded no meaningful opportunity to
                      establish his indigency, and even after he made a state-
                      ment that could have easily been understood to mean he
                      had no present ability to pay nearly $6000 to avoid jail,
                      the family court judge made no further inquiry on the
                      matter before committing him to a nominally conditional
                      term of confinement.
                          The proceeding did not comply with due process be-
                      cause there was a serious risk of erroneous deprivation
                      of petitioner’s liberty through the procedures employed
                      and because additional procedures would have enhanced
                      the accuracy of the proceeding without materially im-
                      pinging on any governmental interest. See Mathews v.
                      Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                      would have been a sufficient, but not a necessary, means
                      of satisfying due process in this case. There were other
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                      means of providing petitioner with a meaningful oppor-
                      tunity to establish his present inability to pay, such as
                      asking him to complete an understandable form seeking
                      his financial information, or asking him questions on the
                      topic as necessary at a hearing. In the typical case, pro-
                      viding basic information about one’s personal finances is
                      not the kind of undertaking that requires assistance of
                      counsel, and due process protections are based on the
                      requirements of the mine-run case, not the exceptional
                      one.
                          There is no basis for petitioner’s proposed categori-
                      cal due process right to appointed counsel in civil con-
                      tempt proceedings where confinement is imposed. The
                      Court has declined to recognize a categorical constitu-
                      tional right to appointed counsel in the context of other
                      non-criminal proceedings that can result in confinement.
                      Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                      bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                      (1976) (summary court-martial). Civil contempt pro-
                      ceedings in child-support cases are relatively brief; the
                      custodial parent may not be represented by counsel; and
                      the issues in dispute are generally not complex. Given
                      those circumstances, there is no warrant for recognizing
                      a categorical right to defense counsel in such proceed-
                      ings. Finally, recognizing a due process right to counsel
                      in such proceedings would upset the balance struck by
                      Title IV-D and its implementing regulations, both of
                      which stress the importance of due process protections
                      in child-support proceedings but neither of which permit
                      federal funding for provision of counsel.
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                                             ARGUMENT
                      I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                           CISION OF THE SOUTH CAROLINA SUPREME COURT
                          Although petitioner has completed his term of con-
                      finement for the civil contempt at issue here, his claim is
                      not moot because he remains subject to the underlying
                      child-support order and because there is a reasonable
                      expectation that he will face future contempt proceed-
                      ings. His claim thus avoids mootness because it is capa-
                      ble of repetition yet evading review. This Court thus
                      has jurisdiction to review the final judgment of the
                      South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                          1. “In general a case becomes moot when the issues
                      presented are no longer ‘live’ or the parties lack a le-
                      gally cognizable interest in the outcome.” Murphy v.
                      Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                      omitted) (quoting United States Parole Comm’n v.
                      Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                      confined individual’s challenge to his confinement gener-
                      ally presents no question of mootness, an individual who
                      has been released from confinement ordinarily may con-
                      tinue to press his challenge only if he suffers some “col-
                      lateral consequence” that constitutes a “concrete
                      and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                      7 (1998). Because this Court “ha[s] been willing to pre-
                      sume that a wrongful conviction has continuing collat-
                      eral consequences,” the Court ordinarily will not dismiss
                      as moot a criminal defendant’s challenge to his convic-
                      tion once the defendant has completed his term of im-
                      prisonment. Id. at 8. But the Court has not employed
                      that presumption in other contexts, instead requiring a
                      party not in custody to demonstrate that he will actually
                      face collateral consequences if he does not secure relief
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                      on appeal. See id. at 14 (no presumption of collateral
                      consequences for parole revocation); see also id. at 14-16
                      (reviewing party’s claimed collateral consequences).
                          Petitioner has completed his term of confinement for
                      civil contempt. Because he challenges a civil order, not
                      a criminal conviction, no presumption of collateral conse-
                      quences applies. Moreover, petitioner has not identified
                      any collateral consequences flowing from the finding of
                      civil contempt. Ordinarily, petitioner’s challenge to that
                      finding would be considered moot and beyond this
                      Court’s jurisdiction.
                          2. Petitioner’s claim in this case, however, avoids
                      mootness because his is one of the “exceptional situa-
                      tions” in which a claim is capable of repetition, yet evad-
                      ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                      (1983). In non-class actions, this doctrine requires satis-
                      faction of two elements: “(1) the challenged action was
                      in its duration too short to be fully litigated prior to its
                      cessation or expiration, and (2) there [is] a reasonable
                      expectation that the same complaining party would be
                      subjected to the same action again.” Murphy, 455 U.S.
                      at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                      (1975) (per curiam)). Petitioner satisfies both elements.
                          First, confinement for civil contempt in South
                      Carolina is limited to 12 months, S.C. Code Ann.
                      § 63-3-620 (West 2010), and it is exceedingly unlikely
                      that a contemnor could appeal through the South
                      Carolina court system, petition this Court for a writ of
                      certiorari, and receive a decision on his claim within
                      such a limited time period. See, e.g., First Nat’l Bank v.
                      Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                      short a period of time for appellants to obtain complete
                      judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                      319 (1975) (per curiam) (future challenge to law school
Case:
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                      admission procedure could likely come to this Court for
                      decision within three-year period of law school matricu-
                      lation). Indeed, in this case, petitioner had completed
                      his term of imprisonment for civil contempt more than
                      a year before the South Carolina Supreme Court ren-
                      dered its decision. Compare Pet. App. 8a with id. at 1a.
                          Second, petitioner “can make a reasonable showing
                      that he will again be subjected to the alleged illegality.”
                      Lyons, 461 U.S. at 109. Petitioner is still subject to the
                      underlying order for child support, and he is nearly
                      $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                      clerks of court in South Carolina automatically issue
                      rules to show cause when a non-custodial parent is late
                      on a required payment, there is a reasonable expectation
                      that petitioner will again be subject to contempt pro-
                      ceedings. Indeed, after he was released from jail for the
                      contempt at issue here, petitioner was again held in con-
                      tempt and reincarcerated. In May 2010 yet another rule
                      to show cause for contempt issued due to failure to pay
                      support to respondent. Pet. Br. 13-15; see id. at 15 (May
                      2010 rule to show cause is still outstanding); see also
                      Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                      plaintiffs seeking community-based services rather than
                      institutionalization not moot even though they were then
                      receiving desired services, because of “the multiple in-
                      stitutional placements [they] ha[d] experienced”). This
                      is thus far from “an abstract dispute about the law” that
                      might be thought “unlikely to affect [petitioner] any
                      more than it affects other [South Carolina] citizens.”
                      Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
                        5
                          That petitioner was represented by pro bono counsel in a subse-
                      quent contempt proceeding involving a different support order, see Pet.
                      Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                      bono counsel bound to represent petitioner in every future contempt
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                      II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                          SARY TO SECURE AN ACCURATE ADJUDICATION OF
                          CIVIL CONTEMPT VIOLATED DUE PROCESS
                          The validity of the civil contempt order against peti-
                      tioner turned on a critical fact: his present ability to
                      purge himself of contempt by paying off his past-due
                      child support. The family court’s procedures in this case
                      violated due process because they were inadequate to
                      ensure an accurate determination of that fact and thus
                      prevent an erroneous deprivation of petitioner’s liberty.
                      Although provision of government-provided counsel
                      would have been a sufficient means of complying with
                      due process requirements in this case, it was not a nec-
                      essary one. Other mechanisms, such as requiring an
                      affidavit for disclosure of financial information and a
                      preliminary assessment of petitioner’s current ability to
                      pay child support, would have satisfied the requirements
                      of due process.
                          A. Confinement For Civil Contempt Is Permitted Only
                             When The Contemnor Is Presently Able To Comply With
                             The Underlying Order
                         Both civil and criminal contempt can lead to confine-
                      ment, but this Court has long distinguished the two
                      based on the “character and purpose” of the sanction
                      imposed. Gompers v. Buck’s Stove & Range Co., 221
                      U.S. 418, 441 (1911). In civil contempt, the “punishment
                      * * * [is] remedial,” in that it is intended to “coerc[e]

                      proceeding, then his claim of entitlement to the assistance of counsel
                      would be moot. There is no indication in the record, however, that pro
                      bono counsel is under any such obligation, and, in fact, counsel did not
                      appear in a 2009 contempt proceeding involving support owed respon-
                      dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                      served six months for civil contempt).
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                      the defendant to do what he had refused to do.” Id. at
                      442. Punishment for criminal contempt, on the other
                      hand, is “punitive” and is imposed “to vindicate the au-
                      thority of the court.” Id. at 441.
                          Because of that fundamental distinction, confinement
                      imposed for civil contempt is conditional. The sentence
                      must include a purge clause under which the contemnor
                      will be immediately released upon compliance with the
                      underlying court order. Hicks v. Feiock, 485 U.S. 624,
                      634 (1988). When confined under such a civil contempt
                      order, the contemnor holds “the keys of [his] prison in
                      [his] own pocket[ ].” Shillitani v. United States, 384
                      U.S. 364, 368 (1966) (citation omitted); see id. at 370
                      (“While any imprisonment, of course, has punitive and
                      deterrent effects, it must be viewed as remedial if the
                      court conditions release upon the contemnor’s willing-
                      ness” to comply with a court order.).
                          A purge clause by itself, however, will not render the
                      contemnor’s confinement remedial rather than punitive
                      because “the justification for coercive imprisonment as
                      applied to civil contempt depends upon the ability of the
                      contemnor to comply with the court’s order.” Shillitani,
                      384 U.S. at 370-371. Accordingly, “punishment may not
                      be imposed in a civil contempt proceeding when it is
                      clearly established that the alleged contemnor is unable
                      to comply with the terms of the order.” Hicks, 485 U.S.
                      at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                      (“[T]o jail one for a contempt for omitting an act he is
                      powerless to perform would * * * make the proceeding
                      purely punitive, to describe it charitably.”); see also
                      Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                      (“When the parent is unable to make the required pay-
                      ments, he is not in contempt.”).6
                          The burdens of production and persuasion may be
                      placed on the defendant to demonstrate his present in-
                      ability to comply with an order. See Hicks, 485 U.S. at
                      637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                      Accordingly, if the defendant “offers no evidence as to
                      his inability to comply,” “stands mute,” or is disbelieved
                      by the court, then he fails to carry his burden and may
                      be held in contempt. Maggio, 333 U.S. at 75. But the
                      trial court “is obliged” to consider “all the evidence
                      properly before it in the contempt proceeding in deter-
                      mining whether or not there is actually a present ability
                      to comply and whether failure so to do constitutes delib-
                      erate defiance which a jail term will break.” Id. at 76.
                          If, upon examination, a contempt penalty is consid-
                      ered punitive rather than remedial, it will be vacated
                      unless all “the protections that the Constitution requires
                      of * * * criminal proceedings” were provided. Inter-
                      national Union, United Mine Workers v. Bagwell, 512
                      U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




                        6
                           A defendant may not avoid a finding of civil contempt for violating
                      an order by collaterally attacking that order in the contempt proceed-
                      ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                      make the distinct assertion that he has a “present inability to comply
                      with the order in question.” United States v. Rylander, 460 U.S. 752,
                      757 (1983); see ibid. (“While the court is bound by the enforcement
                      order, it will not be blind to evidence that compliance is now factually
                      impossible. Where compliance is impossible, neither the moving party
                      nor the court has any reason to proceed with the civil contempt
                      action.”); Maggio, 333 U.S. at 74-75.
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                         B. The Family Court’s Procedures Were Inadequate To
                            Ensure An Accurate Determination Of Present Ability
                            To Pay
                          The procedures employed by the family court vio-
                      lated petitioner’s due process rights because they were
                      inadequate to ensure that petitioner was not erroneously
                      confined as an inducement to perform a task he was
                      powerless to perform, while additional procedures to
                      ensure petitioner’s present ability to pay his child-sup-
                      port arrears would have been minimally burdensome.
                          “Procedural due process imposes constraints on gov-
                      ernmental decisions which deprive individuals of ‘lib-
                      erty’ or ‘property’ interests within the meaning of the
                      Due Process Clause of the Fifth or Fourteenth Amend-
                      ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                      Confinement for civil contempt is a deprivation of lib-
                      erty, and the alleged contemnor is thus entitled to pro-
                      cedural due process protections before its imposition.
                      Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                      nation of parole triggers due process protections); see
                      also Bagwell, 512 U.S. at 827 (civil contempt requires
                      “notice and an opportunity to be heard”).
                          The conclusion that due process applies is the begin-
                      ning of the inquiry, not its end, because “the require-
                      ments of due process are ‘flexible and cal[l] for such
                      procedural protections as the particular situation de-
                      mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                      (brackets in original) (quoting Morrissey, 408 U.S. at
                      481). The Court has “generally * * * declined to es-
                      tablish rigid rules and instead ha[s] embraced a frame-
                      work to evaluate the sufficiency of particular proce-
                      dures.” Ibid. That framework involves “consideration
                      of three distinct factors:
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                         First, the private interest that will be affected by the
                         official action; second, the risk of an erroneous depri-
                         vation of such interest through the procedures used,
                         and the probable value, if any, of additional or substi-
                         tute procedural safeguards; and finally, the Govern-
                         ment’s interest, including the function involved and
                         the fiscal and administrative burdens that the addi-
                         tional or substitute procedural requirements would
                         entail.
                      Mathews, 424 U.S. at 335.
                          Application of the Mathews factors here demon-
                      strates that the family court proceeding did not comply
                      with the requirements of procedural due process. First,
                      petitioner’s private interest in avoiding incarceration
                      was significant. See Foucha v. Louisiana, 504 U.S. 71,
                      80 (1992).
                          Second, there was a serious “risk of an erroneous
                      deprivation” of petitioner’s liberty interest under the
                      procedures employed by the family court, and there
                      would have been value in additional procedures.
                      Mathews, 424 U.S. at 335. Petitioner did not dispute
                      that he had failed to comply with his child-support or-
                      der, so the propriety of his confinement for civil con-
                      tempt thus turned on his present ability to do so. See
                      pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                      “was the precise question before the family court”); id.
                      at 17. But South Carolina automatically referred peti-
                      tioner for contempt proceedings without considering
                      whether petitioner was employed or had assets. At the
                      contempt hearing, the court solicited no financial infor-
                      mation from petitioner, nor was there apparently any
                      mechanism in place for him to provide it on his own. Pe-
                      titioner’s statement at the hearing that he had been un-
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                      able to work because he broke his back, Pet. App. 17a,
                      could reasonably be understood to constitute a claim
                      that he had no present ability to pay nearly $6000. The
                      court did not explore this question, however; it made no
                      inquiry into petitioner’s income or assets. Instead, the
                      court imposed a jail sentence unaccompanied by any
                      finding that petitioner had the ability to pay off his out-
                      standing balance from a jail cell.7 Taking additional
                      modest steps to determine whether petitioner had the
                      present ability to discharge his obligation, see pp. 24-25,
                      infra, would have improved the accuracy of the proceed-
                      ing.
                          Finally, the government’s interests also favor addi-
                      tional procedural safeguards to ensure that only those
                      parents with a present ability to pay are confined for
                      civil contempt. While the State has a strong interest in
                      enforcing child-support orders, it secures no benefit
                      from jailing a non-custodial parent who cannot discharge
                      his obligation. The period of incarceration makes it less,
                      rather than more, likely that such parent will be able to
                      pay child support. See Elizabeth G. Patterson, Civil
                      Contempt & the Indigent Child Support Obligor: The
                      Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                      Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                      State incurs the substantial expense of confinement.
                          Moreover, as a general matter, the routine use of
                      contempt for non-payment of child support is likely to be
                      an ineffective strategy for enforcing support orders.
                      See National Child Support Enforcement, U.S. Dep’t
                      of Health & Human Servs., Strategic Plan: FY 2005-
                      2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
                        7
                          The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                      gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                      gible for work release, Pet. Br. 12 n.8.
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                      programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                      pdf. While child-support recovery efforts once “followed
                      a business model predicated on enforcement” that “in-
                      tervened only after debt, at times substantial, accumu-
                      lated and often too late for collection to be successful, let
                      alone of real value to the child,” experience has shown
                      that alternative methods—such as order modifications,
                      increased contact with non-custodial parents, and use of
                      “automation to detect non-compliance as early as possi-
                      ble”—are more effective. Id. at 2.
                          A substantial portion of child-support obligors have
                      no or low reported income. Elaine Sorensen et al., As-
                      sessing Child Support Arrears in Nine Large States &
                      the Nation 22 (2007) (Assessing Child Support Arrears),
                      http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                      (obligors with $10,000 or less in annual income consti-
                      tuted half of the child-support obligors and owed 70% of
                      the arrears in a nine-state study). Such individuals’
                      child-support obligations are often substantial. See id.
                      at 54 (“For obligors with reported income of $10,000 a
                      year or less, the median percent of reported income that
                      was due as current support was 83[%].”). A low-income
                      individual in arrears on child-support payments is
                      “rarely a candidate for civil incarceration because of the
                      likelihood that he or she is unable to pay the hefty sum
                      represented by the accumulated arrears, or even a por-
                      tion thereof that may be set by the court as the purge
                      amount.” Civil Contempt 116.8

                        8
                          To be sure, coercive enforcement remedies, such as contempt, have
                      a role to play in child-support enforcement efforts, such as with non-
                      custodial parents who are hiding assets or unreported self-employment
                      or under-the-table income. See Strategic Plan 2; Assessing Child
                      Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                          Many States have taken alternative steps to avoid
                      child-support arrears, such as establishing more realis-
                      tic support orders, “increas[ing] parental participation
                      in the order establishment process,” providing employ-
                      ment services to non-custodial parents, or using automa-
                      tion tools to improve wage withholding. Assessing Child
                      Support Arrears 10-11, 80-89; see id. at 85 (study of
                      Florida program that provides employment services and
                      case management to non-custodial parents found that
                      program participants paid nearly five dollars in child
                      support for every dollar spent on the program). Such
                      alternatives, which focus on early intervention rather
                      than after-the-fact efforts to collect substantial accumu-
                      lated arrears, are more likely to be effective means of
                      enforcing the child-support obligations of the substantial
                      number of low-income obligors. See Strategic Plan 2.
                         C. Due Process Can Be Satisfied By A Variety Of Proce-
                            dures Intended To Assure An Accurate Determination Of
                            Present Ability To Pay In A Civil Contempt Proceeding
                          Petitioner argues that, in order to ensure that his
                      civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                      due process required the appointment of counsel to as-
                      sist him in establishing his inability to comply with the
                      court’s order, see id. at 41. Although we agree that peti-
                      tioner’s due process rights were violated, we disagree
                      that the State’s failure to appoint counsel was itself the
                      basis of the violation. Appointment of counsel is cer-
                      tainly one way to help ensure an accurate determination
                      of the obligor’s current ability to pay—the determina-
                      tion on which the “civil” nature of a civil contempt sanc-
                      tion rests—but it is not the only way. It was the State’s

                      dence, however, that routine use of contempt among low-income non-
                      custodial parents is generally effective. See Civil Contempt 126.
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                      failure to provide any meaningful mechanism for making
                      that determination in this case, and not its failure to
                      provide counsel in particular, that violated petitioner’s
                      due process rights.9
                              1. Courts can comply with due process by providing a
                                 meaningful opportunity for an alleged contemnor to
                                 establish his present ability to pay
                          While there is no basis for a constitutional rule cate-
                      gorically requiring appointment of counsel in all civil
                      contempt that could lead to deprivation of physical lib-
                      erty, see pp. 25-32, infra, due process does require pro-
                      cedures sufficient to ensure fundamental fairness. In
                      the context of a civil contempt proceeding for non-pay-
                      ment of child support that could lead to confinement,
                      this means procedures adequate to allow a pro se con-
                      temnor to attempt to carry his burden of establishing his
                      present inability to pay.
                          Such procedures may include requiring a non-paying
                      parent to complete an understandable form seeking fi-
                      nancial information. South Carolina already requires

                        9
                           Although petitioner’s submissions below and in this Court have
                      focused on the value of appointed counsel in ensuring that indigent
                      child-support obligors are not erroneously jailed as a means of inducing
                      them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                      fairly encompassed in those submissions is the proposition that due
                      process demands an appropriate procedure to evaluate an obligor’s
                      present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                      503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                      to the Court to consider whether there are alternative procedures,
                      other than the specific procedure petitioner has proposed, that would
                      satisfy constitutional requirements. To the extent the Court concludes
                      otherwise, however, the proper course would be to dismiss the writ of
                      certiorari as improvidently granted and await a case that expressly
                      raises a broader due process claim.
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                      noncustodial parents to fill out such a form when a sup-
                      port order is originally sought in a Title IV-D case, see
                      S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                      parently does not do so in subsequent contempt proceed-
                      ings. Requiring that such forms be completed at the
                      outset of a contempt proceeding would impose little ex-
                      pense on the State or burden on the proceeding while
                      materially advancing the accuracy of the court’s deter-
                      mination. Such information could by itself establish the
                      contemnor’s present inability to pay his arrears or, con-
                      versely, demonstrate his ability to pay. To the extent
                      the court had questions about the information on the
                      form or disbelieved it, the court could question the
                      contemnor about his finances at the contempt hearing.
                      Such simple, minimally burdensome procedures would
                      enable the court to evaluate whether the alleged
                      contemnor has the ability to pay his arrears and is thus
                      an appropriate candidate for a civil contempt sanction.
                            2. There is no basis for an inflexible right to counsel
                               rule in civil contempt proceedings
                          Although the constitutional inadequacy of the family
                      court’s procedures could have been cured by appoint-
                      ment of counsel (who presumably would have addressed
                      petitioner’s inability to pay his arrears and urged the
                      court not to jail him for that reason), appointment of
                      counsel was not constitutionally compelled.
                          a. “The very nature of due process negates any con-
                      cept of inflexible procedures universally applicable to
                      every imaginable situation.” Lujan v. G&G Fire Sprin-
                      klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                      Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                      Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                      calls for such procedural protections as the particular
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                      situation demands.”) (brackets in original) (quoting
                      Morrissey, 408 U.S. at 481). The question in a due pro-
                      cess case is how to ensure a fundamentally fair proceed-
                      ing, taking into account the importance of the private
                      interest at issue, the risk of error and value of additional
                      procedures, and the government’s interest. See id. at
                      335. This is not an inquiry that typically lends itself to
                      the kind of categorical approach advocated by petition-
                      er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                      (contrasting categorical Sixth Amendment right to coun-
                      sel in criminal prosecution “with the more limited due
                      process right” in other contexts).10
                          In fact, in areas outside traditional criminal prosecu-
                      tions where an individual’s liberty is nonetheless at
                      stake, the Court has declined to recognize a categorical
                      right to counsel, instead relying on alternative proce-
                      dural safeguards to ensure due process. See Gagnon,
                      411 U.S. at 782-790; see also Middendorf v. Henry, 425
                      U.S. 25, 43 (1976) (no due process right to counsel for
                      summary courts-martial).11 For example, in Gagnon,

                        10
                           The Sixth Amendment right to counsel is inapplicable to a civil
                      contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                      Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                        11
                           In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                      cess right to appointed counsel in a juvenile delinquency proceeding,
                      but, as the Court later explained, that was because the proceeding
                      “while denominated civil, was functionally akin to a criminal trial.”
                      Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                      plurality would have held that there is a due process right to counsel
                      before a State involuntarily transfers a prisoner to a state mental
                      hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                      trolling concurrence, however, disagreed, concluding that “the fairness
                      of an informal hearing designed to determine a medical issue” does not
                      “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                      that a prisoner “required assistance” in such a proceeding to ensure
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                      the Court held that due process required the govern-
                      ment to provide a preliminary and final hearing before
                      it could incarcerate an individual for violating the terms
                      of his probation. See 411 U.S. at 782; see also id. at 785-
                      786 (hearings necessary in order to provide notice of the
                      alleged probation violation and ensure “accurate finding
                      of fact and the informed use of discretion”). At the same
                      time, however, the Court rejected the “contention that
                      the State is under a constitutional duty to provide coun-
                      sel for indigents in all probation or parole revocation
                      cases.” Id. at 787; see id. at 790 (stating that due pro-
                      cess may require appointment of counsel in exceptional
                      cases). The Court recognized that “such a rule has the
                      appeal of simplicity” but concluded that “it would impose
                      direct costs and serious collateral disadvantages without
                      regard to the need or the likelihood in a particular case
                      for a constructive contribution by counsel.” Id. at 787.
                          The Court in Gagnon noted that in many cases a pro-
                      bationer’s mitigating evidence may be “so simple as not
                      to require either investigation or exposition by counsel.”
                      411 U.S. at 787. Here too, with the provision of easy-to-
                      understand forms on assets and income and, if neces-
                      sary, a colloquy with the trial court, it will often be sim-
                      ple for a delinquent child-support obligor to demon-
                      strate his present inability to discharge his obligation
                      without the assistance of appointed counsel. Indeed,
                      even in criminal cases to which the Sixth Amendment
                      right of counsel applies, defendants are not entitled to
                      government-appointed counsel for the purpose of filling
                      out the forms routinely used to establishing their finan-
                      cial eligibility for government-appointed counsel. See


                      fairness, but said that it could be “rendered by competent laymen in
                      some cases.” Ibid.
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                      18 U.S.C. 3006A(b) (counsel will be appointed only after
                      court is “satisfied after appropriate inquiry that the per-
                      son is financially unable to obtain counsel”); United
                      States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                      Criminal Justice Act, the public fisc need not contribute
                      one penny unless the accused first establishes that he
                      cannot afford counsel. Nothing in the statute directs the
                      Treasury to assist the accused in making this determina-
                      tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                      legal expertise is needed to participate effectively in
                      hearings under the Criminal Justice Act,” ibid., no legal
                      expertise is generally required to establish inability to
                      pay child-support arrears.
                          Gagnon also expressed concern that “[t]he introduc-
                      tion of counsel into a revocation proceeding will alter
                      significantly the nature of the proceeding,” since the
                      States typically relied on probation officers to conduct
                      revocation hearings but might turn to attorneys if all
                      probationers were represented. 411 U.S. at 787. “[T]he
                      decisionmaking process will be prolonged, and the finan-
                      cial cost to the State * * * will not be insubstantial.”
                      Id. at 788. In the context of civil contempt for child sup-
                      port as well, automatic appointment of counsel could
                      delay the proceedings, create an asymmetry in repre-
                      sentation between non-custodial parents and custodial
                      parents who may appear pro se, see, e.g., Pet. App. 16a,
                      and impose considerable financial cost on the govern-
                      ment without an automatic increase in accuracy.
                          Lassiter v. Department of Social Services, 452 U.S.
                      18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                      32-33, is not to the contrary. In that decision, the Court
                      held that there was no due process right to counsel in a
                      parental-rights termination proceeding. See Lassiter,
                      452 U.S. at 32-33. In dictum, the Court said its cases
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                      had established a “presumption” that an indigent had a
                      right to appointed counsel “when, if he loses, he may be
                      deprived of his physical liberty.” Id. at 26-27. The
                      Court has not subsequently relied on any such presump-
                      tion derived from the Lassiter dictum, and Lassiter it-
                      self recognized that Gagnon, which involved a depriva-
                      tion of physical liberty, had held that “due process is not
                      so rigid as to require that the significant interests in
                      informality, flexibility and economy must always be sac-
                      rificed” through appointment of counsel. Id. at 31 (quot-
                      ing Gagnon, 411 U.S. at 788).
                          That there may be atypical cases with “complex fac-
                      tual and legal issues” (Pet. Br. 46) in which counsel
                      would provide a significant benefit beyond what could be
                      obtained through other procedural safeguards does not
                      mean there should be a right to counsel. “[P]rocedural
                      due process rules are shaped by the risk of error inher-
                      ent in the truth-finding process as applied to the gener-
                      ality of cases, not the rare exceptions.” Walters v. Na-
                      tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                      (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                      (“existence of complexity in some cases” was not “suffi-
                      cient to warrant a conclusion that the right to retain and
                      compensate an attorney in [Veterans Administration]
                      cases is a necessary element of procedural fairness un-
                      der the Fifth Amendment”).
                          b. A recognition that due process requires fair pro-
                      ceedings before a child-support obligor can be held in
                      civil contempt but that this due process right does not
                      encompass appointment of government-funded counsel
                      is also consistent with the balance struck by Congress
                      and the Secretary in enacting and administering the
                      Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                      (“[W]e must give particular deference to the determina-
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                      tion of Congress, made under its authority to regulate
                      the land and naval forces, U.S. Const., Art. I, § 8, that
                      counsel should not be provided in summary courts-mar-
                      tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                      congressional judgment must be afforded even though
                      the claim is that a statute Congress has enacted effects
                      a denial of the procedural due process guaranteed by the
                      Fifth Amendment.”).
                          Congress and the Secretary have demonstrated their
                      concern that child-support-related proceedings be con-
                      ducted fairly by repeatedly making compliance with
                      procedural due process rules a requirement of State
                      participation in the program.12 At the same time, how-
                      ever, they have declined to reimburse the States for
                      the cost of providing counsel to non-custodial parents.
                      See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                      ute does not provide federal funding for “defense coun-
                      sel for absent parents” or “incarceration of delinquent
                      obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                      ing for “[t]he costs of counsel for indigent defendants in

                        12
                           See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                      state income tax refunds to pay overdue support permitted only “after
                      full compliance with all procedural due process requirements of the
                      State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                      delinquency to credit bureaus “only after [the] parent has been afforded
                      all due process required under State law, including notice and a reason-
                      able opportunity to contest the accuracy of such information.”);
                      42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                      full compliance with all procedural due process requirements of the
                      State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                      “shall be subject to due process safeguards, including (as appropriate)
                      requirements for notice, opportunity to contest the action, and oppor-
                      tunity for an appeal on the record to an independent administrative or
                      judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                      303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                      IV-D actions” or “[a]ny expenditure for jailing of par-
                      ents in child-support enforcement cases”); see also
                      52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                      inception of the [Title IV-D] program has been that
                      costs of incarceration of delinquent obligors and costs of
                      defense counsel are not necessary and reasonable costs
                      associated with the proper and efficient administration
                      of the Title IV-D program.”).
                          Finally, at its broadest, the categorical rule petition-
                      er suggests—that there is a right to government-ap-
                      pointed counsel in all “proceedings denominated as ‘civil’
                      where an individual nonetheless faces the prospect of
                      confinement to state custody,” Pet. Br. 30—conflicts
                      with Congress’s express judgment that provision of
                      government-funded counsel is not warranted in all such
                      areas. See Middendorf, 425 U.S. at 43 (deferring to
                      such a judgment); Walters, 473 U.S. at 319-320 (same);
                      see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                      (“The role of the judiciary is limited to determining
                      whether the procedures meet the essential standard of
                      fairness under the Due Process Clause and does not ex-
                      tend to imposing procedures that merely displace con-
                      gressional choices of policy.”).
                          For example, while aliens are sometimes detained
                      during removal proceedings or pending enforcement of
                      removal orders, Congress has long explicitly provided
                      that there is no obligation to provide government pay-
                      ment for counsel in such proceedings. See 8 U.S.C. 1362
                      (“In any removal proceedings before an immigration
                      judge and in any appeal proceedings before the Attor-
                      ney General from any such removal proceedings,
                      the person concerned shall have the privilege of being
                      represented (at no expense to the Government) by such
                      counsel, authorized to practice in such proceedings,
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                      as he shall choose.”) (emphasis added); 8 U.S.C.
                      1229a(b)(4)(A). Congress’s judgment is consistent with
                      this Court’s repeated holdings that removal proceedings
                      are civil and non-punitive, see, e.g., INS v. Lopez-
                      Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                      proceeding is a purely civil action to determine eligibil-
                      ity to remain in this country, not to punish an unlawful
                      entry, though entering or remaining unlawfully in this
                      country is itself a crime.”), and its conclusion that deten-
                      tion of an alien during the removal process is permissi-
                      ble because it is incidental to the proceedings, and not
                      their purpose or goal, see, e.g., Carlson v. Landon,
                      342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                      of this deportation procedure.”). As the Court has
                      also noted, removal proceedings—whose purpose is re-
                      moval of aliens from the country, not deprivation of their
                      physical liberty—are “streamlined” administrative pro-
                      ceedings held before administrative personnel, immigra-
                      tion judges, under rules offering the aliens more limited
                      procedural rights than are available in court. Lopez-
                      Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                      hearing is intended to provide a streamlined determina-
                      tion of eligibility to remain in this country, nothing
                      more”). The due process guarantee of fundamental fair-
                      ness does not mandate the appointment of counsel in
                      such proceedings, which would be contrary to the judg-
                      ment of Congress.13

                        13
                           For these reasons, the lower courts have held that aliens in removal
                      proceedings have no constitutional right to appointment of counsel at
                      government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                      (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                      that in light of the non-criminal nature of both the proceedings and the
                      order which may be a result, that respondents are not entitled to have
                      counsel appointed at government expense”) (citing cases); see Moham-
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                                                CONCLUSION
                          The judgment of the Supreme Court of South Caro-
                      lina should be reversed.
                          Respectfully submitted.

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                      JANUARY 2011




                      med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                      Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                      F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                      F.2d 506, 509 (5th Cir. 1987).
Case:
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                                          No. 23-1851

                       IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                             UNITED STATES OF AMERICA,

                                      Plaintiff-Appellant,
                                       MARY SEGUIN
                                               v.
          RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official
          capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY
         FOBERT, KARLA CABALLEROS and TIMOTHY FLYNN in their individual
              and official capacities; GERO MEYERSIEK; BARBARA GRADY
                                    Defendants-Appellees.


                          Appeal from the United States District Court
                                for the District of Rhode Island
                                    ___________________
       APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
          THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
       INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
        CAUSING TO BE PRESENTED OR CERTIFICATION OF A FALSE OR
        FRAUDULENT CLAIM TO THE UNITED STATES, TO THE STATE OF
          TEXAS, FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING,
        USING OR CAUSING TO BE MADE OR USED, A FALSE RECORD OR
         STATEMENT MATERIAL TO A FALSE OR FRAUDULENT CLAIM;
         CONSPIRING TO COMMIT A VIOLATION OF THE AFORESAID TO
       PROCURE TITLE IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42
                          U.S.C. § 654 WHICH ARE
         PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
        654, COMMITTED BY INDIVIDUAL APPELLEE PERSONS, WHOEVER,


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        AND AGENTS OF TITLE IV SOCIAL SECURITY ACT RHODE ISLAND
                               STATE PLAN
                                     Under Fed. R. Evid. 201
                                                and
                                            Pursuant to
                                             18 U.S.C. § 4
                                          18 U.S.C. § 666
                        18 U.S.C. § 287 - making false, fictitious claims,
                    18 U.S.C. § 371 - conspiracy to defraud the United States,
           18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                    18 U.S.C. § 1341 - mail fraud,
                                    18 U.S.C. § 1343 - wire fraud,
                       18 U.S.C. § 641 - Public money, property or records,
                          31 U.S.C. § 3279 - federal civil false claims act
                                                 Et al.
                                      ___________________



              ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
          GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS


       Judicial Notice, in aid of the court, is respectfully requested of the following:

             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

       Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be taken at

       any stage of the proceedings, including on appeal. In practice, appellate courts

       frequently take judicial notice of both adjudicative and legislative facts presented

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       for the first time on appeal, whether requested by a party or on their own initiative.

       See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New York, N.Y.

       & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation, 311 F.3d

       534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197, 205 [3d

       Cir. 1995].

             In 2010, Appellee Gero Meyersiek (who is a non-welfare recipient and

       independently wealthy person, was represented by his private counsel, Barbara

       Grady, whose law firm partner, Paul Dugan, was formerly a Deputy Chief Counsel

       of State Appellee) paid Appellee Rhode Island Office of Child Support Services

       $25 under 42 U.S.C. §654(6)(B) for legal services that entailed, inter alia,

       establishing and enforcement of interest on overdue support. In return for

       Appellee Gero Meyersiek’s $25 payment, State Appellee’s Deputy Chief Counsel

       Priscilla Glucksman provided dedicated, individualized and customized services

       beyond those prescribed by 42 U.S.C. §654(6)(B), to wit Glucksman appeared on

       behalf of the State at all non-welfare non-paternity family court hearings in (over

       12) 2010, (over 12) 2011, (over 12) 2012 and 2013 concerning private custody

       matters relating to Appellant’s application to move her young daughters whom she

       had physical custody up until she moved to TEXAS in 2010 when Appellant

       remarried in TEXAS.



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             Rhode Island Executive Office of Health and Human Services’s Budget for

       this Fiscal Year is $3,419,217,779.00 ($3.42 Billion) that consists of Federal

       Funding. Penalties and fines incurred as of and accrued from the year 1996 when

       Congress amended Title IV-D of the Social Security Act providing for penalties

       and fines levied against States’ noncompliance with Title IV-D. The amount of

       penalties and fines incurred by Rhode Island under 42 U.S.C. § 654 and other

       applicable federal laws, and the amount of funding Title IV-A TANF disgorgement

       owed and due from Rhode Island to the United States pursuant to Congress linking

       State eligibility for TANF funding to State compliance with Title IV-D date back

       to 1996 through 2024.

             Pursuant to 18 U.S.C. § 4, APPELLANT, proceeding from TEXAS and as a

       citizen of TEXAS, in aid of the Court, respectfully in good faith makes known to

       the Judges of the United States in the United States Court of Appeals for the First

       Circuit of United States of America, the commission of penalties-incurring and

       fines-incurring, both civil and criminal, (negligent and intentional) violations by

       Appellee persons or whoever acting as agents of the 42 U.S.C. § 654(1) political

       subdivisions of the State Plan of the State of Rhode Island and Appellee

       persons, pursuant to 18 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious

       claims, 18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. §

       1001 - false documents or false statements to a federal agency, 18 U.S.C. §

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       1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 18 U.S.C. § 641 - Public

       money, property or records, 31 U.S.C. § 3279 - federal civil false claims act et

       al. (a non-exhaustive list of Appellee-violated federal codes is invoked in the

       Conclusion Section of this Notice), and respectfully requests review by a panel of

       judges in this United States Court of Appeals for the First Circuit under Fed. R.

       App. P 27(b). Certain aspects of the fraud made known herein were also made

       known to the judges of the United States in the related case Appeal Case No. 23-

       1967 pending before a panel of judges pursuant to Appellant’s motions invoked

       under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P 27(b) pending in that

       matter.

                Please take Judicial Notice that Appellant, in Appeals No. 23-1967,

       respectfully requested a hearing by a panel of Judges on the Federal Question

       matters raised herein under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P

       27(b).

                I.      APPELLANT’S LIMITED SCOPE PROSECUTION OF THE
                        APPELLEES AND STATE OPERATIONS UNDER THE
                        STATE PLAN UNDER 42 U.S.C. § 654 IN THE LIMITED
                        JURISDICTION 42 U.S.C. § 654(1) STATE FAMILY COURT
                        TITLE IV CASE PROCEEDINGS

                The TEXAS Appellant, a victim of the Appellees’ organized commission of

       organized Title IV-D and Title IV-A Program interstate fraud defrauding Appellant

       (and TEXAS because Rhode Island’s official policy and practice to conceal any
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       and all interest by removing it from the automated data processing system when

       certifying to Texas for collections under 42 U.S.C. § 666(14) in a scheme

       calculated to deny Texas’s ability to request in sharing legitimate interest under

       Title IV-D’s enforcement and collection states cooperative program scheme) of 42

       U.S.C. § 654(21)(A) prohibited 12% compound interest on overdue support fraud,

       fraudulent liens in TEXAS on TEXAS properties consisting of 42 U.S.C. §

       654(21)(A) violative 12% COMPOUND INTEREST on overdue support, fraud,

       theft, and accounting fraud, respectfully requests judicial notice, in aid of the

       Court, of the TEXAS Appellant’s concurrent limited scope prosecution of the

       Appellees in the Rhode Island State Plan’s 42 U.S.C. § 654(1) political

       subdivision, Rhode Island Judiciary limited jurisdiction family court, where certain

       symbiotic state judicial actors, such as state judge John McCann III, state judge

       Haiganush Bedrosian and state magistrate Susan Nahabedian, routinely establish

       and enforce under color of Rhode Island state law 12% compound interest on

       overdue support, upon information, since 1980, when the Rhode Island General

       Assembly enacted R.I. Gen. Laws § 15-5-16.5 on “support owing.” Appellant

       respectfully attached hereto this Notice the publication by Congress of 42 U.S.C. §

       654, Appellant’s motion to dismiss for lack of jurisdiction and close the case dated

       March 27, 2024; motions to compel compliance with subpoena filed on March 26,

       2024 and March 21, 2024 to compel enforcement of that family court’s properly


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       issued subpoena for Appellant’s Title IV-D case records including records showing

       the Appellee-Rhode Island Office of Child Support Service’s accounting

       alterations and false support certifications to TEXAS involving any and all records

       as they relate to the removal of 12% compound interest in the amount of tens of

       thousands of dollars from the automated data processing system and putting the

       12% compound interest in the amount of tens of thousands of dollars back on the

       system whether it be for certification of a compliant approved State Plan to the

       UNITED STATES for claims under Title IV-D and Title IV-A programs funding

       under 42 U.S.C. §§ 654(7), 654(10), 654(14), 654(15), 654(16), 654a, 654b; or

       certified to financial institutions or property-holding entities for the purpose of

       placing or perfecting liens on Appellant’s TEXAS properties, or certified to the

       State of TEXAS for enforcement against the Appellant (e.g., to TEXAS for

       cooperation under the State Plan Congressionally prescribed under 42 U.S.C. §666

       (14) certifying the accuracy and legal sufficiency of Rhode Island’s automated data

       processing system accounted amount) that must obviously exactly corroborate with

       the amounts directly represented to and demanded from the Appellant during the

       course of the Appellees’ support collection activities – Appellant prosecuted

       judicial compulsion of Rhode Island Appellees’ compliance with the subpoena and

       compliance with 42 U.S.C. §654b’s requirement to furnish the information upon

       the noncustodial parent’s information request by filing the motion to compel using


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       the State’s electronic court filing system, Odyssey, and attached hereto under

       Exhibit A. This federal appellate Court is requested to scrutinize the attached

       Congressionally published Statutory Text as well as the Statutory Notes and

       Related Subsidiaries of all Congress’s Amendments, especially the 1996

       Amendments to 42 U.S.C. §654.

             As a threshold matter, Appellant respectfully requests Judicial Notice of

       the Explicit Preemptive Effect of 42 U.S.C. sec. 654 that Congress offered to

       Rhode Island under the Commerce Clause and the Spending Clause of the

       United States Constitution as a condition for receiving Federal Funds under the

       Title IV Programs.

             A. The Statutory Text and Statutory Notes and Related Subsidiaries of
             Congress’s 1996 Amendment to 42 U.S.C. §654 Make Clear that Under
             the United States Constitution’s Commerce Clause, Congress
             conditioned State Participation in 42 U.S.C. §654 with State Acceptance
             of 42 U.S.C. §654 Preemption of State Laws and State Constitutions



             Appellant respectfully requests Judicial Notice of the attached 42 U.S.C. §

       654. The Statutory text, Statutory Notes and Related Subsidiaries of Congress’s

       1996 Amendment to 42 U.S.C. § 654 makes clear that Under the United States

       Constitution’s Commerce Clause, Congress conditioned State Participation in Title

       IV-D, as prescribed in 42 U.S.C. § 654, with State Acceptance of 42 U.S.C. § 654



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       Preemption of State Laws and State Constitutions. Appellant requests Judicial

       Notice of the text under “Effective Date of 1996” that states as follows:

             “Effective Date of 1996

             "(a) In General.-Except as otherwise specifically provided (but subject to
       subsections (b) and (c))-
              "(1) the provisions of this title [see Tables for classification] requiring the
       enactment or amendment of State laws under section 466 of the Social Security
       Act [42 U.S.C. 666], or revision of State plans under section 454 of such Act
       [this section], shall be effective with respect to periods beginning on and after
       October 1, 1996; and
              "(2) all other provisions of this title shall become effective upon the date
       of the enactment of this Act [Aug. 22, 1996].
            "(b) Grace Period for State Law Changes.-The provisions of this title shall
       become effective with respect to a State on the later of-
             "(1) the date specified in this title, or
            "(2) the effective date of laws enacted by the legislature of such State
       implementing such provisions,
              but in no event later than the 1st day of the 1st calendar quarter beginning
       after the close of the 1st regular session of the State legislature that begins after the
       date of the enactment of this Act [Aug. 22, 1996]. For purposes of the previous
       sentence, in the case of a State that has a 2-year legislative session, each year of
       such session shall be deemed to be a separate regular session of the State
       legislature.
             "(c) Grace Period for State Constitutional Amendment.-A State shall not
       be found out of compliance with any requirement enacted by this title if the State is
       unable to so comply without amending the State constitution until the earlier of-
            "(1) 1 year after the effective date of the necessary State constitutional
       amendment; or
             "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."



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                 Specific 1996 Amendments to 42 U.S.C. §654b and 42 U.S.C.

       §654(21)(A).

                 Appellant respectfully requests Judicial Notice of Congress’ specific 1996

       Amendments to 42 U.S.C. § 654b and 42 U.S.C. §654(21)(A):

                 “Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998,

       with limited exception for States which, as of Aug. 22, 1996, were processing

       the receipt of child support payments through local courts, see section 312(d)

       of Pub. L. 104–193, set out as an Effective Date note under section 654b of this

       title.”

                 Further the 1996 Amendments made changes to Par. (21)(A). Pub. L.

       104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent parent".

                 Therefore, Congress makes it unequivocally clear that States are required as

       a condition of State participation, to change State Laws, and if necessary, amend

       State Constitutions, to comply with the 1996 Amendments to Title IV-D. See, e.g.,

       “b) Grace Period for State Law Changes. - The provisions of this title shall

       become effective with respect to a State on the later of the effective date of laws

       enacted by the legislature of such State implementing such provisions.”

                 Therefore, in 1996, Congress made clear that States, such as Rhode Island,

       that fail to enact by the legislature of such States implementing provisions of Title

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       IV-D, are no longer eligible to participate in Title IV-D, resulting in ineligibility to

       receive federal funding, as of 1996.

                Under 42 U.S.C. § 655(a)(4)(A) and 42 U.S.C. § 655(a)(5), by the text of the

       Title IV-D statute, the Appellant respectfully requests Judicial Notice that the

       legislature has prescribed penalties and that this penalty shall be enforced.

                Here, in the case of Rhode Island, noncompliance is through deliberate

       and willful fault of Rhode Island – Appellant respectfully requests Judicial

       Notice of One of the Reports entitled “TRAC Record” generated by Appellee

       Rhode Island Office of Child Support Services in Appellant’s case that

       Appellant was denied under 42 U.S.C. § 654b(b)(4), but produced pursuant to

       Appellant’s Rhode Island Access to Public Records Act (APRA) showing an entry

       made on December 6, 2021 by Appellee Kevin Tighe, Deputy Legal Chief Counsel

       of Appellee Rhode Island Office of Child Support Services stating that “interest

       was removed from the system in 2018 when we sent to Texas when case was made

       IU” then blacked out REDACTION. Appellant is prosecuting Rhode Island in the

       state family court to produce the unredacted copy of the said public records that

       were produced pursuant to APRA regarding this entry “interest was removed from

       the system in 2018 when we sent to Texas when case was made IU.” See attached

       TRAC Records Exhibit C. As it turned out, the alleged interest amount is in the

       tens of thousands of dollars, for which the Appellees continue to refuse to furnish
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       the complete accounting books of their offline manual accounting of how much

       was removed in 2018.

                The State Appellees’ removal of the interest from the automated data

       processing and information retrieval system is material to this matter as the

       evidence herein presented goes to show proof towards the willful and deliberate

       noncompliance by Rhode Island of Title IV-D. Congress made clear in its 1996

       Amendment of Title IV to require the implementation of an automated data

       processing and information retrieval system as a condition of eligibility because

       the legacy manual computation, collection and disbursement of child and spousal

       support were fraught with inaccuracies, that essentially ran afoul of safeguards

       against false accounting and falsified records by unscrupulous persons like the

       Appellees. Congress made explicitly clear that accuracy was so central to the

       federal government’s involvement in Title IV-D that It enacted punitive penalties

       and fines under 42 U.S.C. § 655 for States’ noncompliance of 42 U.S.C. §§ 654,

       666.

                Therefore, the Appellees’ knowing removal of tens of thousands of dollars

       representing Rhode Island’s unlawful 12% compound interest prohibited under 42

       U.S.C. § 654(21)(A) “when sent to Texas” makes clear Appellees knew the 12%

       compound interest was fraudulent and unlawful, and sought to cover it up from

       TEXAS authorities through the manual removal of the entire interest amount
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       (consisting of tens of thousands of dollars) from the automated data processing and

       information retrieval system that is prohibited by 42 U.S.C. §§ 651-669. The

       system is intended to certify the integrity and accuracy of the entire support

       amount in any given account.

                Therefore, it is clearly established that Rhode Island covers up its

       noncompliance and it is clearly established that Rhode Island’s noncompliance is

       willful and deliberate because Rhode Island knowingly failed to comply with

       numerous provisions of 42 U.S.C. § 654 as follows:

                (1) Failed to enact State laws in 1996 implementing provisions clearly

                    prescribed in 42 U.S.C. § 654(21)(A) that makes clear that States may

                    opt to impose interest on overdue support, but no less than 3 percent and

                    no more than 6 percent; See attached Exhibit D. R.I. Gen. Law§15-5-

                    16.5 legislating 12% compound interest on overdue child and spousal

                    support that is explicitly prohibited by 42 U.S.C. § 654(21)(A) (and

                    contract to the selective violation of RIGL § 15-5-16.5 that Appellee-

                    Rhode Island Child Support Services official policy states to prohibit

                    charging interest on overdue support in interstate cases only. – See

                    Policy attached in Exhibit B)

                (2) Failed to enact State codes and procedures to comply with 42 U.S.C. §

                    654(21)(A) requirement “at the option of the State, impose a late
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                   payment fee on all overdue support (as defined in section 666(e) of this

                   title) under any obligation being enforced under this part, in an amount

                   equal to a uniform percentage determined by the State (not less than

                   3 percent nor more than 6 percent) of the overdue support” that would

                   prohibit the State’s Title IV-D operational policy saying, “it is

                   desirable” to prohibit the State’s Office of Child Support Services

                   charging interest in interstate cases (implying in intrastate cases 12%

                   compound interest is routinely established and enforced by State policy

                   in violation of the “not less than 3 percent nor more than 6 percent”

                   explicitly prescribed under 42 U.S.C. § 654(21)(A).

                (3) Failed to disclose by deliberate omission (by concealment) to the United

                   States when certifying to the United States Secretary of the Department

                   of Health and Human Services for federal reimbursement payment and

                   incentive payment funding under the Title IV Programs Part D, 42

                   U.S.C. §§ 651-669, and Part A, TANF.

                (4) Falsified accounting and falsified certifications sent to the United States

                   and other support enforcement cooperating States, like TEXAS, under,

                   inter alia, 42 U.S.C. §§ 651-669, through the State’s official Policy and

                   official Practice of creating multiple accounting records and books of

                   accounts for the same support case through the manual removal of the


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                   Section 654(21)(A) noncompliant (and incriminating) 12% compound

                   interest amount from the automated data processing system consisting of

                   tens of thousands of dollars for example, and putting the removed

                   interest back on the system by manually issuing fraudulent (based on

                   illegal 12% compound interest) liens on properties, for example,

                   fraudulent liens on Texas properties in TEXAS that further violated

                   TEXAS PENAL and CIVIL CODES. See Appellee Rhode Island

                   Office of Child Support Services’s Official Policy that states, “It is

                   desirable for RI OCSS to prohibit the charging of interest in

                   Interstate Cases.” The Policy goes on to state regarding operations of

                   the automated data processing system, “Entry of the N not only prohibits

                   the charging of future interest but automatically creates adjustments to

                   zero out any existing interest.” Additionally the Policy states, “Two

                   reports will be created. The first will detail the interstate cases for

                   which a support order….. for which one or more interest adjustment

                   were created.” In Exhibit B.

                (5) Concealment of the State’s noncompliance with 42 U.S.C. § 654(21)(A)

                   by Cover Up and by Fraud, through the routine practice of illegal

                   manual removal by Appellee Rhode Island Office of Child Support

                   Services of Rhode Island’s fraudulent and unlawful 12% compound


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                   interest from the 42 U.S.C. § 654(24) mandated automated data

                   processing and information retrieval system mandated and legislated

                   under inter alia 42 U.S.C. § 654(24) and 42 U.S.C. §654a and 42

                   U.S.C. §654b to be accurate, thereby deliberately and willfully

                   violating, inter alia, 42 U.S.C. § 654b, 42 U.S.C. §654(20), 42 U.S.C.

                   §666(14), 42 U.S.C. §654(24) and Congressional Requirements for

                   accuracy of support calculations be performed by the automated

                   data processing system, from which information is retrieved for all

                   support certifications sent to the United States and to cooperative

                   enforcement States like TEXAS for 42 U.S.C. § 654(21)(A) fund

                   sharing, Title IV-D Program federal fund reimbursements, and

                   Title IV-A TANF federal fund procurement.

                (6) The illegal manual removal of the unlawful 12% compound interest

                   from the automated data processing system is augmented by the illegal

                   manual inputting back on the system the illegal 12% compound interest

                   when Rhode Island generates fraudulent liens under the guise of support

                   collection for the unlawful 12% compound interest.

                (7) Operating a scheme of collecting unlawful 12% compound interest that

                   Rhode Island converts to unlawful State revenue because under 42

                   U.S.C. §§ 651-669 this “ordered” 12% compound interest is assigned by


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                   the welfare recipient to the State, thus the 12% compound interest

                   represents a debt to the State owed by the noncustodial parent.

                (8) Appellee Cover up of the illegal scheme from unsuspecting noncustodial

                   parent victims like Appellant, by refusing or deny furnishing

                   noncustodial parents “information upon request, timely information on

                   the current status of support payments under an order requiring

                   payments to be made by or to the parent – the timely information

                   generated by the Appellee Rhode Island Office of Child Support

                   Services must comply with 42 U.S.C. § 654b(b) Required procedures

                   mandating “The State disbursement unit shall use automated

                   procedures, electronic processes, and computer-driven technology to the

                   maximum extent feasible, efficient, and economical, for the collection

                   and disbursement of support payments, including procedures that

                   furnish noncustodial parents their case files upon request.

                (9) Appellee Rhode Island Office of Child Support Service’s unlawful

                   policy and practice of manually removing support amounts through

                   fraud from the automated data process system resulted in the generation

                   of fraudulent and false accounting and false ledgers published in

                   Appellant’s online child support account maintained by State Appellees

                   fraudulently showing “$0 payment” for Appellant’s large sum of


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                   $104,185.98 payoff payment in full paid in Texas on December 7, 2021

                   – See screenshot taken of online account on December 3, 2022 that says

                   “$0.00” under Payments for December 2021, attached hereto as Exhibit

                   E.

                (10) Similarly, State Appellees concealed from through deceit that the

                   “$0.00” Under Interest Due on the Appellant’s online account shown on

                   December 6, 2021 was in part because State Appellees unlawfully took

                   interest off the automated data processing system and information

                   retrieval system in 2018 when they sent the support to TEXAS – this

                   tampering with federal Title IV records in Appellant’s case file was

                   covered up by State Appellees. See Exhibit F, Screen shot of

                   Appellant’s online support account taken on December 6, 2021, which

                   shows $0.00 under Interest Due.

                (11) Appellee Rhode Island Office of Child Support Services Deputy

                   Chief Counsel Kevin Tighe further violated Appellant’s privacy

                   rights protected under 42 U.S.C. §654(26)(A) by discussing in detail

                   with Barbara Grady, Appellee Gero Meyersiek’s private attorney,

                   information and strategies regarding “taking interest off the

                   system” and “keeping interest off the system” as they relate to

                   support enforcement which is prohibited by the statutory text of 42


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                   U.S.C. sec.,654(26)(A) mandating that the State Plan “have in effect

                   safeguards, applicable to all confidential information handled by the

                   State agency, that are designed to protect the privacy rights of the

                   parties, including-(A) safeguards against unauthorized use or

                   disclosure of information relating to proceedings or actions to

                   enforce support. – See Exhibit C, TRAC records for December 6,

                   2021 showing Kevin Tighe’s unauthorized disclosure to Barbara

                   Grady of enforcement information regarding taking interest off the

                   system in 2018 when sending to Texas in in violation of Appellant’s

                   privacy rights protected by 42 U.S.C. sec. 654(26)(A). This

                   disclosure was calculated to scheme with Barbara Grady on how to

                   defraud the Appellant through “leaving the interest off the system”

                   so as to cover up from the Appellant the unenforceable 12%

                   compound interest rate as well as to deceive the Appellant through

                   inducement, to accept Appellee’s offer and to agree to pay off the

                   large lump sum principle amount by representing to the Appellant

                   that Appellee Gero Meyersiek waived interest if Appellant paid off

                   support in full in one lump sum $104,185.98.

                (12) In addition to Appellee Rhode Island Office of Child Support

                   Services, the State is culpable of a deliberate and willful failure to


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                 comply with 42 U.S.C. §654(1) requiring “A State plan for child and

                 spousal support must-(1) provide that it shall be in effect in all

                 political subdivisions of the State:

                    a. Political subdivision limited jurisdiction Rhode Island state
                       family court judiciary and justices routinely establish and
                       enforce under color of state law and through fraud on the
                       court absent jurisdiction the unlawful 12% compound interest
                       in violation of 42 U.S.C. §654(21)(A)

                    b. Political subdivision Office of the Attorney General knowingly
                       aids and abets in and enforces the unlawful 12% compound
                       interest

                    c. Political subdivision Rhode Island Executive Office of Health
                       and Human Services that has an annual budget of $3.42
                       Billion knowingly falsely certifies the State’s Title IV-D
                       compliance when it knows or should have known that Rhode
                       Island is not in compliance of multiple provisions of Title IV-
                       D, and participates in the consequentially unlawful collection
                       of reimbursement of federal funds and federal grant money
                       from the United States under Title IV-D Program.

                    d. Political subdivision Rhode Island Office of the Treasurer
                       knowingly falsely certifies the State’s Title IV-D compliance
                       when it knows or should have known that Rhode Island is not
                       in compliance of multiple provisions of Title IV-D, and
                       participates in the consequentially unlawful collection of
                       reimbursement of federal funds and federal grant money from
                       the United States under Title IV-D Program.

                    e. Political subdivision Rhode Island Office of the Governor
                       knowingly falsely certifies the State’s Title IV-D compliance
                       when it knows or should have known that Rhode Island is not
                       in compliance of multiple provisions of Title IV-D, and
                       participates in the consequentially unlawful collection of
                       reimbursement of federal funds and federal grant money from
                       the United States under Title IV-D Program.
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                       f. Political subdivision Appropriations Committee knowingly
                          falsely certifies the State’s Title IV-D compliance when it
                          knows or should have known that Rhode Island is not in
                          compliance of multiple provisions of Title IV-D, and causes to
                          appropriate public funds in the consequentially unlawful State
                          financial participation of the noncompliant State Plan,
                          appropriating the State’s public funds to the illegal Title IV-D
                          operation that defrauds unsuspecting noncustodial parents
                          and spousal support obligors for 12% compound interest on
                          overdue support under color of state law.



             B. Hodel v. Virginia Surface Mining & Reclamation Assn., Inc. and
       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th
       Cir. 2002), cert. denied, 540 U.S. 811 (2003) - U.S. Supreme Court Affirms 42
       U.S.C. §654 Preemption over State Laws and State Constitutions under the
       United States Spending Clause and Commerce Clause
                Congress prescribed both civil and criminal penalties for violations of Title IV of

       the Social Security Act. Firstly, consistent with its Spending Power, Congress has the

       authority to attach conditions on the receipt of federal funds. See South Dakota v.

       Dole, 483 U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

       compliance with the 3-6% simple interest on overdue support, operating the automated

       system for accuracy and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. §§ 654(10), (14), (15), (16), (20), (21)(A), (24), (27)A, § 654a, § 654b. The clear

       and unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court has

       recognized that Congress intended the linkages between child support programs and the

       TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (concluding

       Congress intended the two programs to "operate together closely.” The penalty
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       provisions of the statute and the wording of the statute are plain. Where the Secretary

       determines that a state plan would be disapproved, and where the State has made and

       continues to make a good faith effort to comply and has submitted a corrective

       compliance plan, "the Secretary shall not disapprove the State plan . . . and the Secretary

       shall reduce the amount otherwise payable to the State [by the designated alternative

       penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute,

       the legislature has prescribed that the Secretary shall enforce this penalty." Hodges v.

       Shalala, 121 F.2d at 879. Absent any discretion available to the Secretary to impose a

       lesser penalty than the alternative penalty as outlined in the statute, Rhode Island is

       liable for the statutorily prescribed penalties.1

                Congress also enacted several criminal codes punishing actors, such as the

       Plaintiffs, who commit federal crimes, including cover up of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000),

       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th


       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina paid $75 million as of 2009 and was
       set to pay another $10 million for 2010. South Carolina Dep’t of Social Servs., Response
       to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       Cir. 2002), cert. denied, 540 U.S. 811 (2003) As a condition of receipt of any federal

       funding under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must

       have an approved state plan for child and spousal support that meets all the

       requirements of 42 U.S.C. § 654. Among the prerequisites for approval of a Title IV-D

       Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that the State, at the option

       of the State, impose a late payment fee (‘interest”) on all overdue support (as defined

       in section 666(e) of this title) under any obligation being enforced under this part, in an

       amount equal to a uniform percentage determined by the State (not less than 3 percent

       nor more than 6 percent) of the overdue support, which shall be payable by the

       noncustodial parent owing the overdue support; establish and operate an automated

       data processing and information retrieval system, see 42 U.S.C. § 654(24), and a state

       child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, Office of Child Support

       Services produced APRA Public Records consisting of Title IV Public Records showing

       Rhode Island taking off from the automated data processing system tens of thousands of

       dollars allegedly representing the 42 U.S.C. sec. 654(21)(A) prohibited 12% compound

       interest late payment fee “interest” prior to certifying to TEXAS and the United States,

       and showing Rhode Island falsely certified to the amount’s accuracy under 42 U.S.C.

       sec. 666(14) when in fact Rhode Island removed significant tens of thousands of dollars

       (See TRAC records in attached Exhibit).




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                The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

                Again, the clear and unequivocal statement of the required conditions in the

       statute enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”

                Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States under the Commerce Clause, Rhode Island accepted the agreement terms of

       regulation under federal control or preemption under federal regulation. See Hodel v.

       Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

                See United States Congress’s publication of cited applicable federal law:
            https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%
       3AUSC-prelim-title42-

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       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp
       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
                Appellant requests judicial Notice of attached Exhibit G. Hodges v.

       Shalala, 311 F.3d 316 (4th Cir. 2002)




             C. Rhode Island’s Defraud of TEXAS – Under 42 U.S.C. §654, “State
       may allow the jurisdiction which makes the collection involved to retain any
       application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21)” and Rhode Island Removed Tens of Thousands of
       “paragraph (21)”


             The last provision after Provision (34) of 42 U.S.C. sec. 654 states as
       follows:
       “The State may allow the jurisdiction which makes the collection involved to
       retain any application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21). Nothing in paragraph (33) shall void any provision of any
       cooperative agreement entered into before August 22, 1996, nor shall such
       paragraph deprive any State of jurisdiction over Indian country (as so defined) that
       is lawfully exercised under section 1322 of title 25.”
        See link:
             https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=gra
       nuleid%3AUSC-prelim-title42-
       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJl
       Z3VsYXRpb25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
                Appellee Rhode Island Office of Child Support Service’s routine practice of

       removal of tens of thousands of dollars of interest from the automated system

       before sending to other states like Texas in 2018 makes clear that the Appellees

       schemed to defraud TEXAS “who makes the collection to retain any late payment

       fee under paragraph (21)” – except TEXAS, a paragraph (21) compliant State that
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       set 6% simple interest, would have known the 12% compound interest is unlawful

       and unenforceable in Texas.

             D. Rhode Island’s Defraud of the UNITED STATES in Scheme
       Involving Routine Removals of 42 U.S.C. §654(21)
                Appellant in good faith relies on the straightforward and clearly worded

       ruling of the United States Court of Appeals for the 4th Circuit in Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002),

       cert. denied, 540 U.S. 811 (2003), that makes clear Congress’s intent to prescribe

       both civil and criminal penalties and fines for violations. Consistent with its

       Spending Power, Congress has the authority to attach conditions on the receipt of

       federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on

       overdue support, operating the automated system for accuracy and SDU

       requirements are conditions of approval of a state plan. See 42 U.S.C. §§ 654(7),

       (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, § 654b. The clear and

       unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court

       has recognized that Congress intended the linkages between child support

       programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

       (concluding Congress intended the two programs to "operate together closely.”
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       The penalty provisions of the statute and the wording of the statute are plain.

       Where the Secretary determines that a state plan would be disapproved, and where

       the State has made and continues to make a good faith effort to comply and has

       submitted a corrective compliance plan, "the Secretary shall not disapprove the

       State plan . . . and the Secretary shall reduce the amount otherwise payable to the

       State [by the designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

       (emphasis added). "[B]y the text of the statute, the legislature has prescribed that

       the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at 879.

       Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the

       statutorily prescribed penalties. 2 Congress also enacted several criminal codes

       punishing persons, whoever who act as agents, such as the Appellees, who commit

       federal crimes, including cover up of unlawful activities under federal criminal


       2
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to TEXAS and to the United States in order to conceal the
       unlawful 12% compound interest from the noncustodial parent and from TEXAS and
       Federal authorities in the false amounts certified to TEXAS and to the United States for
       incentive claims, cooperation claims and Title IV-D and Title IV-A funding claims.
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       codes, e.g., see 8 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 -

       false documents or false statements to a federal agency, 18 U.S.C. § 1341 -

       mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal civil false

       claims act et al. (a non-exhaustive list of Appellee-violated federal codes is

       invoked in the Conclusion Section of this Notice). Penalties and fines against the

       State for noncompliance (including due process violations provided in 42 U.S.C.

       §654(20) and corresponding §666) is explicit under federal codes Title IV-D, Title

       IV-A, and 18 U.S.C. § 666, and upheld.

                 Appellant attaches the 4th Circuit’s ruling (Hodges v. Shalala, 121 F. Supp.

       2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

       811 (2003) herewith under Exhibit G.

                Appellant moreover in good faith relies on the straightforward and clearly

       worded Brief filed by the United States Department of Justice and Secretary of the

       United States Department of Health and Human Services in the seminal United

       States Supreme Court case Turner v. Rogers, 564 U.S. 431 (2011) that showed

       South Carolina (found by the 4th Circuit Court of Appeals) liable for $75 million in

       penalties for that state’s 42 U.S.C. § 654 violations that did not even involve, inter

       alia, fraud and tampering with the record or unlawful 12% compound interest put

       into, then taken off, then put back on, the automated data processing system as here
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                            00118126457
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       in Rhode Island by the political subdivision Appellees. The TEXAS Appellant, the

       victim of fraud and organized fraud by Rhode Island’s political subdivisions under

       42 U.S.C. § 654(1), in good faith made known the above activities to “some

       judges” of “the United States” such as the judges sitting in the Court of Appeals for

       the First Circuit and other relevant federal authorities under 18 U.S.C. § 4.

                Appellant attaches the aforesaid Brief filed in the U.S. Supreme Court by the

       United States in Turner v. Rogers, 564 U.S. 431 (2011) herewith under Exhibit H.

                Relying on the Turner v. Rogers United States Amicus Brief, it is crystal

       clear from Appellant’s making known, inter alia, to judges of the United

       States the routine false certifications to United States and other States under

       42 U.S.C. sec. 654, 655, 658a, 666 et al to defraud the federal Title IV Program

       funding of ineligible funds under Title IV-D and TANF, the defraud of

       noncustodial parents and grandparents through the 42 U.S.C. sec. 654 legal

       framework under color of state law, the defraud of State public funds of

       Rhode Island and of Texas to enforce fraudulent void and voidable support

       orders targeting noncustodial victims that established unlawful 12%

       compound interest on overdue support, and the defraud of cooperative States

       like Texas from sharing the “late fee” provided by 42 U.S.C. sec. 654 by

       Appellees’ removal of the interest amount from the automated system prior to

       certification to Texas for enforcement, Rhode Island has accrued billions of
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Case: 23-1978
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       dollars in penalties and fines under both civil and criminal statutes, both

       federal and state.

                II.   STATE JUDICIARY’S VIOLATION OF GOVERNMENT
                      EDICTS DOCTRINE, CALCULATED FAILURE TO
                      INTEGRATE TITLE IV-D AGENCY ELECTRONIC FILING
                      SYSTEM WITH ODYSSEY MAKING THEIR FILINGS
                      INVISIBLE TO ALL E-COURT USERS OTHER THAN THE
                      JUDGE AND THEMSELVES AND VIOLATION OF ACCESS
                      TO COURT INFORMATION OF PUBLIC TITLE IV-D
                      PROCEEDINGS IN RHODE ISLAND’S STATEWIDE
                      ELECTRONIC COURTS

            a. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO
       COURT INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42
       USC 654(1) POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode

       Island under 42 USC 654(1). While publicizing during the implementation of the

       $6 million installation of Odyssey (the statewide electronic filing system) in 2014

       that the electronic courts will enable ALL court users to pull up court record

       information with ease from their phones, the Rhode Island Judiciary quietly

       implemented Rule 5 of the Rhode Island Rules and Practice denying the Public,

       pro-se litigants and all parties to a case in Rhode Island remote access to court

       record information including judge-created orders and laws, including their own.

       Through this deceit, the Rhode Island Judiciary lied to the Public, while denying

       access and thereby covering up the routine ordering of unenforceable body of

       judge-created laws ordering 12% compound interest in public cases and public

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       hearings under 42 USC 654 in public Title IV-D cases, such as Appellant’s, by

       symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The

       denial of access to pro-se litigants of their own cases’ court records containing

       support orders violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

       (20), (21), (23), (24), (27), 666, 655, 658a. The denial of public access to public

       court records documenting the routine systemic violations of 42 USC 654(21)(A)

       in electronic courts violates the First Amendment and the public’s right to know

       the law, even if these fraud on the court unenforceable judge-created laws are

       unenforceable in both Rhode Island and elsewhere Title IV Part D reaches. The

       denial of public access to judge-created laws that is also motivated by cover-up

       fundamentally violates the established Government Edicts Doctrine that the United

       States Supreme Court specifically held applies to electronic formats of government

       doctrines, such as judge-created laws in digital courts. See Georgia v. Public

       Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to her court

       records and information regarding the orders in question that must be furnished

       pursuant to 42 USC 654b thus in violation of 42 USC 654. The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to unenforceable

       and impeachable judge-created fraud on the court void laws that routinely establish

       unenforceable 12% compound interest by certain symbiotic pliant judges, like


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       Judge McCann and Magistrate Nahabedian, who work hand-in-hand with the

       Rhode Island Office of Child Support Services in Title IV-D cases, in violation of

       Appellant’s Due Process and Equal Protection rights to know the law to be

       meaningfully heard and right to meaningful access to justice – they are in violation

       of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                The family court held at the hearing in this matter scheduled on March 6,

       2023 that the Rhode Island Office of Child Support Services is ordered to show

       that the alleged arrears is accurate. See attached March 6, 2023 hearing transcript.

       Explicitly stated throughout 42 USC 654, “accuracy” requires no accounting

       alterations generated offline then unsubstantiated hard inputs into the automated

       system, no fraud, no inducements, no interstate extortion under color of state law,

       and for certain no 12% compound interest on overdue support.

           b. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE
       THE TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO
       ODYSSEY RESULTING IN AGENCY FILINGS BEING INVISIBLE TO
       ALL COURT USERS EXCEPT THE JUDGE AND THE AGENCIES
       THEMSELVES – COVER UP



                Because under the State’s Plan the Title IV-D agencies routinely file in the

       Rhode Island court system for the illegal enforcement of illegal 12% compound

       interest disallowed under 42 USC 654(21)(A), the political subdivision Rhode
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       Island Judiciary deliberately failed to integrate the Title IV-D Agencies’ electronic

       filing system with the State’s electronic filing system Odyssey in order to make

       Title IV-D Agency electronic filings invisible to all court users except the judge

       and the agencies themselves, calculated to cover up the 12% compound interest

       from audit by the federal authorities and from the Public. This came to light at the

       WebEx hearing in this Title IV-D matter before family court Judge Merola on June

       8, 2023 scheduled at 2PM, where Judge Merola, showing he was unaware of the

       failure of systems integration, questioned Appellee Paul Gould of Rhode Island

       Office of Child Support Services, why the Appellant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Appellee

       Paul Gould explained that this is due to the electronic court implementation

       process that was supposed to integrate the agency’s legacy system to Odyssey,

       demonstrating conclusively that Gould, the Lead Counsel of the Rhode Island

       Office of Child Support Services responsible and overseeing agency court filings

       in all Title IV-D cases under the State Plan, undisputedly was in the know and part

       of the conspiracy involving the deliberate failure of filing system integration and

       its continuing perpetration in Title IV proceedings that made Title IV agencies’

       filings invisible as part of the cover up.

                 c. CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF
                    THE UNITED STATES AND OTHER LISTED AUTHORITIES
                    UNDER 18 U.S.C. § 4

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                The Appellant, in good faith and reliant on the plain language of 18 USC §

       4, misprision of felony, as well as the Brief filed in the United States Supreme

       Court by the United States of America in the Supreme Court case, Turner v.

       Rogers, 564 U.S. 431 (2011) that showed South Carolina (found by the 4th Circuit

       Court of Appeals) liable for $88 million in penalties for that state’s 42 U.S.C. sec.

       654 violations that did not even involve, inter alia, fraud and tampering with the

       record or unlawful 12% compound interest put into then taken off then put back on

       the automated data processing system as here in Rhode Island, made known the

       above activities to “some judges” of “the United States” and other relevant federal

       authorities – counting among the United States judges Appellant made known

       publicly in the Amended Complaint filed in the United States District Court for the

       District of Rhode Island, Judge William E. Smith. The issue of what Judge Smith

       has done with the information “made known to him” is pending before the United

       States Court of Appeals for the First Circuit before a requested panel of judges

       under the federal appellate law of civil procedure in Appeal Case No. 23-1967.

       Therefore, under 18 U.S.C. Sec. 4, the above reported activities have been “made

       known” to several high ranking Judges of the United States, including the Judge in

       this case.

                       III.   VIOLATIONS OF FEDERAL CRIMINAL CODES


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                Pending before the official Federal Court of Appeals proceeding, Appellant

       made known to the panel of judges of the United States allegations contained in the

       Amended Complaint filed in Federal Court of the commission of acts by the Rhode

       Island political subdivisions and employees thereof, Barbara Grady and Gero

       Meyersiek named herein in this motion, the afore-described acts violating 31

       U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18

       U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a),

       18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18

       U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285,

       18 U.S.C. §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18

       U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18

       U.S.C. §1962, 18 U.S.C. §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C.

       §1968 – such violative acts by the Appellees in this matter, and/or Judge Smith on

       this list are not exhaustive. It is undisputable, among others, that Title IV-D

       penalties were incurred by, Criminal penalties were incurred by, and Title IV-D

       and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                          IV. NO IMMUNITY

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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit United States

       Court of Appeals reminds the Public and all applicable tribunals that Judges are

       similarly liable to the criminal laws for their official acts. A notable example is Ex

       parte Commonwealth of Virginia, in which the Supreme Court affirmed the

       criminal indictment of a judge based on an official act. 100 U.S. 339 (1879). A

       county judge was indicted in federal court for violating a federal statute that

       prohibited discriminating on the basis of race in jury selection. Id. at 340, 344. The

       Supreme Court began by observing the principle that officers are bound to follow

       the law: “We do not perceive how holding an office under a State, and claiming to

       act for the State, can relieve the holder from obligation to obey the Constitution of

       the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in

       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then

       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

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                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting
                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for

       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the



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       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize
                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting

       Gravel, 408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed

       judicial immunity from civil money damages in the context of bribery allegations

       but explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity

       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within his

       statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a

       judge has no criminal immunity for the same “official act.” See also Imbler v.


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       Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980)

       (“[T]he cases in this Court which have recognized an immunity from civil suit for

       state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845

       (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by United States v.

       Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly

       are not immune, and employees of the political subdivisions of Rhode Island under

       42 USC § 654(1) similarly are not immune. Barbara Grady and Gero Meyersiek

       are undisputedly liable.




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                IV.   LACK OF JURISDICTION – APPELLEE 42 U.S.C. § 654(1)
                      STATE PLAN POLITICAL SUBDIVISION RHODE ISLAND
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (CREATED UNDER RIGL 8-6-3) LACKS JURISDICTION

                      A. RI’S 42 USC 654(1) POLITICAL SUBDIVISION
                         JUDICIARY LACKS JURISDICTION TO ESTABLISH OR
                         ENFORCE 42 USC § 654(21)(A) VIOLATIVE 12%
                         COMPOUND INTEREST ON OVERDUE SUPPORT –
                         DOING SO INCURS PENALTY UNDER 42 USC 654(24)
                         AND REINFORCES ITS STATE PLAN’S INELIGIBILITY
                         FOR FEDERAL FUNDING UNDER BOTH TITLE IV-D
                         AND TITLE IV-A, WARRANTING DISGORGEMENT OF
                         TANF AND TITLE IV-D FUNDING – SEE HODGES v.
                         SHALALA

                        The statutory provision of 42 U.S.C. 654(21)(A) makes it

                        explicitly clear that Title IV-D and Title IV-A participating 42

                        USC 654(1) state political subdivisions, such as the political

                        subdivision Rhode Island Judiciary, lack the authority to establish

                        12% compound interest.



                        To do so “routinely” simply incurs more penalties, more fines

                        constituting more false claim consequences, and imprisonment of

                        the culpable persons and agents.



                      B. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                         JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
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                      (See RIGL 8-6-3) LACKS JURISDICTION OVER
                      QUESTIONS AND MATTERS OF FEDERAL CRIMINAL
                      VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE
                      RECORD TAMPERING WITH 42 U.S.C. 654a
                      AUTOMATED DATA PROCESSING SYSTEM
                      COMMITTING ACCOUNTING FRAUD (e.g., REMOVAL
                      OF UNLAWFUL 12% COMPOUND INTEREST IN ORDER
                      TO CONCEAL IT WHEN CERTIFYING TO OTHER
                      STATE AUTHORITIES AND FEDERAL AUTHORITIES)
                      AND THE CRIMINAL CERTIFICATION OF
                      FRAUDULENT ACCOUNTS THAT CONTAIN
                      MANUALLY REMOVED UNLAWFUL FRAUDULENT 12%
                      COMPOUND INTEREST (UNDER COLOR OF RI’S
                      PREEMPTED STATE LAW) FROM THE SYSTEM

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                            U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18

                            U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. §

                            2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

                            U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

                            1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

                            U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C.

                            §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C. § 1512,

                            18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18

                            U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C.

                            §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513,

                            RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                            §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968
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                           also make clear that the State Plan’s 42 USC 654(1) political

                           subdivision limited jurisdiction Rhode Island family court

                           lacks jurisdiction over FEDERAL CRIMINAL

                           VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE

                           RECORD TAMPERING WITH 42 U.S.C. 654a

                           AUTOMATED DATA PROCESSING SYSTEM

                           COMMITTING ACCOUNTING FRAUD (e.g.,

                           REMOVAL OF UNLAWFUL 12% COMPOUND

                           INTEREST IN ORDER TO CONCEAL IT WHEN

                           CERTIFYING TO OTHER STATE AUTHORITIES AND

                           FEDERAL AUTHORITIES) AND THE CRIMINAL

                           CERTIFICATION OF FRAUDULENT ACCOUNTS

                           THAT CONTAIN MANUALLY REMOVED

                           UNLAWFUL FRAUDULENT 12% COMPOUND

                           INTEREST (UNDER COLOR OF RI’S PREEMPTED

                           STATE LAW) FROM THE SYSTEM. Appellant attaches

                           herewith in Exhibit I. Rhode Island Gen. Laws Sec. 8-10-3

                           that makes clear family court is a court of limited

                           jurisdiction that lacks jurisdiction over the Appellees’

                           criminal violations.


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                   C. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER FEDERAL
                      CRIMINAL VIOLATIONS COMMITTED BY ITSELF
                      INVOLVING CERTAIN SYMBIOTIC RHODE ISLAND
                      FAMILY COURT JUSTICES, SUCH AS JUDGE JOHN
                      McCANN AND MAGISTRATE SUSAN NAHABEDIAN,
                      WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY
                      ESTABLISH AND ENFORCE UNLAWFUL 12%
                      COMPOUND INTEREST TARGETING UNSUSPECTING
                      NONCUSTODIAL PARENT VICTIMS

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                      U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C.

                      §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18

                      U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C.

                      § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18

                      U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18

                      U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506,

                      18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

                      §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18

                      U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C.

                      §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                      §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 also

                      make clear that the State Plan’s 42 USC 654(1) political

                      subdivision Rhode Island family court lacks jurisdiction over
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                        FEDERAL CRIMINAL VIOLATIONS COMMITTED BY

                        ITSELF INVOLVING CERTAIN SYMBIOTIC RHODE

                        ISLAND FAMILY COURT JUSTICES, SUCH AS JUDGE

                        JOHN McCANN AND MAGISTRATE SUSAN NAHABEDIAN,

                        WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY

                        ESTABLISH AND ENFORCE UNLAWFUL 12% COMPOUND

                        INTEREST TARGETING UNSUSPECTING NONCUSTODIAL

                        PARENT VICTIMS.




                                            CONCLUSION

                WHEREFORE, Under Fed. R. Evid. 201[f], judicial notice of adjudicative

       facts may be taken at any stage of the proceedings, including on appeal. In

       practice, appellate courts frequently take judicial notice of both adjudicative and

       legislative facts presented for the first time on appeal, whether requested by a party

       or on their own initiative. See, e.g., Hotel Employees & Rest. Employees Union,

       Local 100 of New York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of

       Parks & Recreation, 311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms

       Assoc. Ltd ., 61 F.3d 197, 205 [3d Cir. 1995]. Appellant respectfully requests

       Judicial Notice of the herein Made known to “some judges”… “of the United

       States” under Fed. R. Evid. 201 and pursuant to 18 U.S.C. sec. 1851. Appellant
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       requests any and all Relief deemed just pursuant to protections accorded to persons

       acting in compliance with 18 U.S.C. sec. 4.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: March 29, 2024




                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 29, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                     Mary Seguin
                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019




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                                         No. 23-1851

                     IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                     Plaintiff-Appellant,
                                        MARY SEGUIN
                                              v.
          RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official
          capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY
         FOBERT, KARLA CABALLEROS and TIMOTHY FLYNN in their individual
              and official capacities; GERO MEYERSIEK; BARBARA GRADY
                                   Defendants-Appellees.


                         Appeal from the United States District Court
                               for the District of Rhode Island
                                   ___________________
       APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
          THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
       INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
        CAUSING TO BE PRESENTED OR CERTIFICATION OF A FALSE OR
        FRAUDULENT CLAIM TO THE UNITED STATES, TO THE STATE OF
          TEXAS, FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING,
        USING OR CAUSING TO BE MADE OR USED, A FALSE RECORD OR
         STATEMENT MATERIAL TO A FALSE OR FRAUDULENT CLAIM;
         CONSPIRING TO COMMIT A VIOLATION OF THE AFORESAID TO
       PROCURE TITLE IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42
                          U.S.C. § 654 WHICH ARE
         PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
        654, COMMITTED BY INDIVIDUAL APPELLEE PERSONS, WHOEVER,


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        AND AGENTS OF TITLE IV SOCIAL SECURITY ACT RHODE ISLAND
                               STATE PLAN
                                              Pursuant to
                                               18 U.S.C. § 4
                                            18 U.S.C. § 666
                          18 U.S.C. § 287 - making false, fictitious claims,
                      18 U.S.C. § 371 - conspiracy to defraud the United States,
           18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                      18 U.S.C. § 1341 - mail fraud,
                                      18 U.S.C. § 1343 - wire fraud,
                         18 U.S.C. § 641 - Public money, property or records,
                             31 U.S.C. § 3279 - federal civil false claims act
                                                   Et al.
                                        ___________________

             ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
         GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS


                Judicial Notice, in aid of the court, is respectfully requested of the following:

                This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

                In 2010, Appellee Gero Meyersiek (who is a non-welfare recipient and

       independently wealthy person, was represented by his private counsel, Barbara

       Grady, whose law firm partner, Paul Dugan, was formerly a Deputy Chief Counsel

       of State Appellee) paid Appellee Rhode Island Office of Child Support Services

       $25 under 42 U.S.C. §654(6)(B) for legal services that entailed, inter alia,

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       establishing and enforcement of interest on overdue support. In return for

       Appellee Gero Meyersiek’s $25 payment, State Appellee’s Deputy Chief Counsel

       Priscilla Glucksman provided dedicated, individualized and customized services

       beyond those prescribed by 42 U.S.C. §654(6)(B), to wit Glucksman appeared on

       behalf of the State at all non-welfare non-paternity family court hearings in (over

       12) 2010, (over 12) 2011, (over 12) 2012 and 2013 concerning private custody

       matters relating to Appellant’s application to move her young daughters whom she

       had physical custody up until she moved to TEXAS in 2010 when Appellant

       remarried in TEXAS.

                Rhode Island Executive Office of Health and Human Services’s Budget for

       this Fiscal Year is $3,419,217,779.00 ($3.42 Billion) that consists of Federal

       Funding. Penalties and fines incurred as of and accrued from the year 1996 when

       Congress amended Title IV-D of the Social Security Act providing for penalties

       and fines levied against States’ noncompliance with Title IV-D. The amount of

       penalties and fines incurred by Rhode Island under 42 U.S.C. § 654 and other

       applicable federal laws, and the amount of funding Title IV-A TANF disgorgement

       owed and due from Rhode Island to the United States pursuant to Congress linking

       State eligibility for TANF funding to State compliance with Title IV-D date back

       to 1996 through 2024.



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                Pursuant to 18 U.S.C. § 4, APPELLANT, proceeding from TEXAS and as a

       citizen of TEXAS, in aid of the Court, respectfully in good faith makes known to

       the Judges of the United States in the United States Court of Appeals for the First

       Circuit of United States of America, the commission of penalties-incurring and

       fines-incurring, both civil and criminal, (negligent and intentional) violations by

       Appellee persons or whoever acting as agents of the 42 U.S.C. § 654(1) political

       subdivisions of the State Plan of the State of Rhode Island and Appellee

       persons, pursuant to 18 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious

       claims, 18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. §

       1001 - false documents or false statements to a federal agency, 18 U.S.C. §

       1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 18 U.S.C. § 641 - Public

       money, property or records, 31 U.S.C. § 3279 - federal civil false claims act et

       al. (a non-exhaustive list of Appellee-violated federal codes is invoked in the

       Conclusion Section of this Notice), and respectfully requests review by a panel of

       judges in this United States Court of Appeals for the First Circuit under Fed. R.

       App. P 27(b). Certain aspects of the fraud made known herein were also made

       known to the judges of the United States in the related case Appeal Case No. 23-

       1967 pending before a panel of judges pursuant to Appellant’s motions invoked

       under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P 27(b) pending in that

       matter.


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                Please take Judicial Notice that Appellant, in Appeals No. 23-1967,

       respectfully requested a hearing by a panel of Judges on the Federal Question

       matters raised herein under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P

       27(b).

                I.      APPELLANT’S LIMITED SCOPE PROSECUTION OF THE
                        APPELLEES AND STATE OPERATIONS UNDER THE
                        STATE PLAN UNDER 42 U.S.C. § 654 IN THE LIMITED
                        JURISDICTION 42 U.S.C. § 654(1) STATE FAMILY COURT
                        TITLE IV CASE PROCEEDINGS

                The TEXAS Appellant, a victim of the Appellees’ organized commission of

       organized Title IV-D and Title IV-A Program interstate fraud defrauding Appellant

       (and TEXAS because Rhode Island’s official policy and practice to conceal any

       and all interest by removing it from the automated data processing system when

       certifying to Texas for collections under 42 U.S.C. § 666(14) in a scheme

       calculated to deny Texas’s ability to request in sharing legitimate interest under

       Title IV-D’s enforcement and collection states cooperative program scheme) of 42

       U.S.C. § 654(21)(A) prohibited 12% compound interest on overdue support fraud,

       fraudulent liens in TEXAS on TEXAS properties consisting of 42 U.S.C. §

       654(21)(A) violative 12% COMPOUND INTEREST on overdue support, fraud,

       theft, and accounting fraud, respectfully requests judicial notice, in aid of the

       Court, of the TEXAS Appellant’s concurrent limited scope prosecution of the

       Appellees in the Rhode Island State Plan’s 42 U.S.C. § 654(1) political

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       subdivision, Rhode Island Judiciary limited jurisdiction family court, where certain

       symbiotic state judicial actors, such as state judge John McCann III, state judge

       Haiganush Bedrosian and state magistrate Susan Nahabedian, routinely establish

       and enforce under color of Rhode Island state law 12% compound interest on

       overdue support, upon information, since 1980, when the Rhode Island General

       Assembly enacted R.I. Gen. Laws § 15-5-16.5 on “support owing.” Appellant

       respectfully attached hereto this Notice the publication by Congress of 42 U.S.C. §

       654, Appellant’s motion to dismiss for lack of jurisdiction and close the case dated

       March 27, 2024; motions to compel compliance with subpoena filed on March 26,

       2024 and March 21, 2024 to compel enforcement of that family court’s properly

       issued subpoena for Appellant’s Title IV-D case records including records showing

       the Appellee-Rhode Island Office of Child Support Service’s accounting

       alterations and false support certifications to TEXAS involving any and all records

       as they relate to the removal of 12% compound interest in the amount of tens of

       thousands of dollars from the automated data processing system and putting the

       12% compound interest in the amount of tens of thousands of dollars back on the

       system whether it be for certification of a compliant approved State Plan to the

       UNITED STATES for claims under Title IV-D and Title IV-A programs funding

       under 42 U.S.C. §§ 654(7), 654(10), 654(14), 654(15), 654(16), 654a, 654b; or

       certified to financial institutions or property-holding entities for the purpose of


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       placing or perfecting liens on Appellant’s TEXAS properties, or certified to the

       State of TEXAS for enforcement against the Appellant (e.g., to TEXAS for

       cooperation under the State Plan Congressionally prescribed under 42 U.S.C. §666

       (14) certifying the accuracy and legal sufficiency of Rhode Island’s automated data

       processing system accounted amount) that must obviously exactly corroborate with

       the amounts directly represented to and demanded from the Appellant during the

       course of the Appellees’ support collection activities – Appellant prosecuted

       judicial compulsion of Rhode Island Appellees’ compliance with the subpoena and

       compliance with 42 U.S.C. §654b’s requirement to furnish the information upon

       the noncustodial parent’s information request by filing the motion to compel using

       the State’s electronic court filing system, Odyssey, and attached hereto under

       Exhibit A. This federal appellate Court is requested to scrutinize the attached

       Congressionally published Statutory Text as well as the Statutory Notes and

       Related Subsidiaries of all Congress’s Amendments, especially the 1996

       Amendments to 42 U.S.C. §654.

                As a threshold matter, Appellant respectfully requests Judicial Notice of

       the Explicit Preemptive Effect of 42 U.S.C. sec. 654 that Congress offered to

       Rhode Island under the Commerce Clause and the Spending Clause of the

       United States Constitution as a condition for receiving Federal Funds under the

       Title IV Programs.

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                A. The Statutory Text and Statutory Notes and Related Subsidiaries of
                Congress’s 1996 Amendment to 42 U.S.C. §654 Make Clear that Under
                the United States Constitution’s Commerce Clause, Congress
                conditioned State Participation in 42 U.S.C. §654 with State Acceptance
                of 42 U.S.C. §654 Preemption of State Laws and State Constitutions



                Appellant respectfully requests Judicial Notice of the attached 42 U.S.C. §

       654. The Statutory text, Statutory Notes and Related Subsidiaries of Congress’s

       1996 Amendment to 42 U.S.C. § 654 makes clear that Under the United States

       Constitution’s Commerce Clause, Congress conditioned State Participation in Title

       IV-D, as prescribed in 42 U.S.C. § 654, with State Acceptance of 42 U.S.C. § 654

       Preemption of State Laws and State Constitutions. Appellant requests Judicial

       Notice of the text under “Effective Date of 1996” that states as follows:

                “Effective Date of 1996

             "(a) In General.-Except as otherwise specifically provided (but subject to
       subsections (b) and (c))-
              "(1) the provisions of this title [see Tables for classification] requiring the
       enactment or amendment of State laws under section 466 of the Social Security
       Act [42 U.S.C. 666], or revision of State plans under section 454 of such Act
       [this section], shall be effective with respect to periods beginning on and after
       October 1, 1996; and
              "(2) all other provisions of this title shall become effective upon the date
       of the enactment of this Act [Aug. 22, 1996].
            "(b) Grace Period for State Law Changes.-The provisions of this title shall
       become effective with respect to a State on the later of-
                "(1) the date specified in this title, or


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            "(2) the effective date of laws enacted by the legislature of such State
       implementing such provisions,
              but in no event later than the 1st day of the 1st calendar quarter beginning
       after the close of the 1st regular session of the State legislature that begins after the
       date of the enactment of this Act [Aug. 22, 1996]. For purposes of the previous
       sentence, in the case of a State that has a 2-year legislative session, each year of
       such session shall be deemed to be a separate regular session of the State
       legislature.
             "(c) Grace Period for State Constitutional Amendment.-A State shall not
       be found out of compliance with any requirement enacted by this title if the State is
       unable to so comply without amending the State constitution until the earlier of-
            "(1) 1 year after the effective date of the necessary State constitutional
       amendment; or
                 "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."



                 Specific 1996 Amendments to 42 U.S.C. §654b and 42 U.S.C.

       §654(21)(A).

                 Appellant respectfully requests Judicial Notice of Congress’ specific 1996

       Amendments to 42 U.S.C. § 654b and 42 U.S.C. §654(21)(A):

                 “Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998,

       with limited exception for States which, as of Aug. 22, 1996, were processing

       the receipt of child support payments through local courts, see section 312(d)

       of Pub. L. 104–193, set out as an Effective Date note under section 654b of this

       title.”




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                Further the 1996 Amendments made changes to Par. (21)(A). Pub. L.

       104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent parent".

                Therefore, Congress makes it unequivocally clear that States are required as

       a condition of State participation, to change State Laws, and if necessary, amend

       State Constitutions, to comply with the 1996 Amendments to Title IV-D. See, e.g.,

       “b) Grace Period for State Law Changes. - The provisions of this title shall

       become effective with respect to a State on the later of the effective date of laws

       enacted by the legislature of such State implementing such provisions.”

                Therefore, in 1996, Congress made clear that States, such as Rhode Island,

       that fail to enact by the legislature of such States implementing provisions of Title

       IV-D, are no longer eligible to participate in Title IV-D, resulting in ineligibility to

       receive federal funding, as of 1996.

                Under 42 U.S.C. § 655(a)(4)(A) and 42 U.S.C. § 655(a)(5), by the text of the

       Title IV-D statute, the Appellant respectfully requests Judicial Notice that the

       legislature has prescribed penalties and that this penalty shall be enforced.

                Here, in the case of Rhode Island, noncompliance is through deliberate

       and willful fault of Rhode Island – Appellant respectfully requests Judicial

       Notice of One of the Reports entitled “TRAC Record” generated by Appellee

       Rhode Island Office of Child Support Services in Appellant’s case that


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       Appellant was denied under 42 U.S.C. § 654b(b)(4), but produced pursuant to

       Appellant’s Rhode Island Access to Public Records Act (APRA) showing an entry

       made on December 6, 2021 by Appellee Kevin Tighe, Deputy Legal Chief Counsel

       of Appellee Rhode Island Office of Child Support Services stating that “interest

       was removed from the system in 2018 when we sent to Texas when case was made

       IU” then blacked out REDACTION. Appellant is prosecuting Rhode Island in the

       state family court to produce the unredacted copy of the said public records that

       were produced pursuant to APRA regarding this entry “interest was removed from

       the system in 2018 when we sent to Texas when case was made IU.” See attached

       TRAC Records Exhibit C. As it turned out, the alleged interest amount is in the

       tens of thousands of dollars, for which the Appellees continue to refuse to furnish

       the complete accounting books of their offline manual accounting of how much

       was removed in 2018.

                The State Appellees’ removal of the interest from the automated data

       processing and information retrieval system is material to this matter as the

       evidence herein presented goes to show proof towards the willful and deliberate

       noncompliance by Rhode Island of Title IV-D. Congress made clear in its 1996

       Amendment of Title IV to require the implementation of an automated data

       processing and information retrieval system as a condition of eligibility because

       the legacy manual computation, collection and disbursement of child and spousal

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       support were fraught with inaccuracies, that essentially ran afoul of safeguards

       against false accounting and falsified records by unscrupulous persons like the

       Appellees. Congress made explicitly clear that accuracy was so central to the

       federal government’s involvement in Title IV-D that It enacted punitive penalties

       and fines under 42 U.S.C. § 655 for States’ noncompliance of 42 U.S.C. §§ 654,

       666.

                Therefore, the Appellees’ knowing removal of tens of thousands of dollars

       representing Rhode Island’s unlawful 12% compound interest prohibited under 42

       U.S.C. § 654(21)(A) “when sent to Texas” makes clear Appellees knew the 12%

       compound interest was fraudulent and unlawful, and sought to cover it up from

       TEXAS authorities through the manual removal of the entire interest amount

       (consisting of tens of thousands of dollars) from the automated data processing and

       information retrieval system that is prohibited by 42 U.S.C. §§ 651-669. The

       system is intended to certify the integrity and accuracy of the entire support

       amount in any given account.

                Therefore, it is clearly established that Rhode Island covers up its

       noncompliance and it is clearly established that Rhode Island’s noncompliance is

       willful and deliberate because Rhode Island knowingly failed to comply with

       numerous provisions of 42 U.S.C. § 654 as follows:



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                (1) Failed to enact State laws in 1996 implementing provisions clearly

                   prescribed in 42 U.S.C. § 654(21)(A) that makes clear that States may

                   opt to impose interest on overdue support, but no less than 3 percent and

                   no more than 6 percent; See attached Exhibit D. R.I. Gen. Law§15-5-

                   16.5 legislating 12% compound interest on overdue child and spousal

                   support that is explicitly prohibited by 42 U.S.C. § 654(21)(A) (and

                   contract to the selective violation of RIGL § 15-5-16.5 that Appellee-

                   Rhode Island Child Support Services official policy states to prohibit

                   charging interest on overdue support in interstate cases only. – See

                   Policy attached in Exhibit B)

                (2) Failed to enact State codes and procedures to comply with 42 U.S.C. §

                   654(21)(A) requirement “at the option of the State, impose a late

                   payment fee on all overdue support (as defined in section 666(e) of this

                   title) under any obligation being enforced under this part, in an amount

                   equal to a uniform percentage determined by the State (not less than

                   3 percent nor more than 6 percent) of the overdue support” that would

                   prohibit the State’s Title IV-D operational policy saying, “it is

                   desirable” to prohibit the State’s Office of Child Support Services

                   charging interest in interstate cases (implying in intrastate cases 12%

                   compound interest is routinely established and enforced by State policy


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                   in violation of the “not less than 3 percent nor more than 6 percent”

                   explicitly prescribed under 42 U.S.C. § 654(21)(A).

                (3) Failed to disclose by deliberate omission (by concealment) to the United

                   States when certifying to the United States Secretary of the Department

                   of Health and Human Services for federal reimbursement payment and

                   incentive payment funding under the Title IV Programs Part D, 42

                   U.S.C. §§ 651-669, and Part A, TANF.

                (4) Falsified accounting and falsified certifications sent to the United States

                   and other support enforcement cooperating States, like TEXAS, under,

                   inter alia, 42 U.S.C. §§ 651-669, through the State’s official Policy and

                   official Practice of creating multiple accounting records and books of

                   accounts for the same support case through the manual removal of the

                   Section 654(21)(A) noncompliant (and incriminating) 12% compound

                   interest amount from the automated data processing system consisting of

                   tens of thousands of dollars for example, and putting the removed

                   interest back on the system by manually issuing fraudulent (based on

                   illegal 12% compound interest) liens on properties, for example,

                   fraudulent liens on Texas properties in TEXAS that further violated

                   TEXAS PENAL and CIVIL CODES. See Appellee Rhode Island

                   Office of Child Support Services’s Official Policy that states, “It is


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                   desirable for RI OCSS to prohibit the charging of interest in

                   Interstate Cases.” The Policy goes on to state regarding operations of

                   the automated data processing system, “Entry of the N not only prohibits

                   the charging of future interest but automatically creates adjustments to

                   zero out any existing interest.” Additionally the Policy states, “Two

                   reports will be created. The first will detail the interstate cases for

                   which a support order….. for which one or more interest adjustment

                   were created.” In Exhibit B.

                (5) Concealment of the State’s noncompliance with 42 U.S.C. § 654(21)(A)

                   by Cover Up and by Fraud, through the routine practice of illegal

                   manual removal by Appellee Rhode Island Office of Child Support

                   Services of Rhode Island’s fraudulent and unlawful 12% compound

                   interest from the 42 U.S.C. § 654(24) mandated automated data

                   processing and information retrieval system mandated and legislated

                   under inter alia 42 U.S.C. § 654(24) and 42 U.S.C. §654a and 42

                   U.S.C. §654b to be accurate, thereby deliberately and willfully

                   violating, inter alia, 42 U.S.C. § 654b, 42 U.S.C. §654(20), 42 U.S.C.

                   §666(14), 42 U.S.C. §654(24) and Congressional Requirements for

                   accuracy of support calculations be performed by the automated

                   data processing system, from which information is retrieved for all


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                   support certifications sent to the United States and to cooperative

                   enforcement States like TEXAS for 42 U.S.C. § 654(21)(A) fund

                   sharing, Title IV-D Program federal fund reimbursements, and

                   Title IV-A TANF federal fund procurement.

                (6) The illegal manual removal of the unlawful 12% compound interest

                   from the automated data processing system is augmented by the illegal

                   manual inputting back on the system the illegal 12% compound interest

                   when Rhode Island generates fraudulent liens under the guise of support

                   collection for the unlawful 12% compound interest.

                (7) Operating a scheme of collecting unlawful 12% compound interest that

                   Rhode Island converts to unlawful State revenue because under 42

                   U.S.C. §§ 651-669 this “ordered” 12% compound interest is assigned by

                   the welfare recipient to the State, thus the 12% compound interest

                   represents a debt to the State owed by the noncustodial parent.

                (8) Appellee Cover up of the illegal scheme from unsuspecting noncustodial

                   parent victims like Appellant, by refusing or deny furnishing

                   noncustodial parents “information upon request, timely information on

                   the current status of support payments under an order requiring

                   payments to be made by or to the parent – the timely information

                   generated by the Appellee Rhode Island Office of Child Support


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                   Services must comply with 42 U.S.C. § 654b(b) Required procedures

                   mandating “The State disbursement unit shall use automated

                   procedures, electronic processes, and computer-driven technology to the

                   maximum extent feasible, efficient, and economical, for the collection

                   and disbursement of support payments, including procedures that

                   furnish noncustodial parents their case files upon request.

                (9) Appellee Rhode Island Office of Child Support Service’s unlawful

                   policy and practice of manually removing support amounts through

                   fraud from the automated data process system resulted in the generation

                   of fraudulent and false accounting and false ledgers published in

                   Appellant’s online child support account maintained by State Appellees

                   fraudulently showing “$0 payment” for Appellant’s large sum of

                   $104,185.98 payoff payment in full paid in Texas on December 7, 2021

                   – See screenshot taken of online account on December 3, 2022 that says

                   “$0.00” under Payments for December 2021, attached hereto as Exhibit

                   E.

                (10) Similarly, State Appellees concealed from through deceit that the

                   “$0.00” Under Interest Due on the Appellant’s online account shown on

                   December 6, 2021 was in part because State Appellees unlawfully took

                   interest off the automated data processing system and information


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                   retrieval system in 2018 when they sent the support to TEXAS – this

                   tampering with federal Title IV records in Appellant’s case file was

                   covered up by State Appellees. See Exhibit F, Screen shot of

                   Appellant’s online support account taken on December 6, 2021, which

                   shows $0.00 under Interest Due.

                (11) Appellee Rhode Island Office of Child Support Services Deputy

                   Chief Counsel Kevin Tighe further violated Appellant’s privacy

                   rights protected under 42 U.S.C. §654(26)(A) by discussing in detail

                   with Barbara Grady, Appellee Gero Meyersiek’s private attorney,

                   information and strategies regarding “taking interest off the

                   system” and “keeping interest off the system” as they relate to

                   support enforcement which is prohibited by the statutory text of 42

                   U.S.C. sec.,654(26)(A) mandating that the State Plan “have in effect

                   safeguards, applicable to all confidential information handled by the

                   State agency, that are designed to protect the privacy rights of the

                   parties, including-(A) safeguards against unauthorized use or

                   disclosure of information relating to proceedings or actions to

                   enforce support. – See Exhibit C, TRAC records for December 6,

                   2021 showing Kevin Tighe’s unauthorized disclosure to Barbara

                   Grady of enforcement information regarding taking interest off the


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                   system in 2018 when sending to Texas in in violation of Appellant’s

                   privacy rights protected by 42 U.S.C. sec. 654(26)(A). This

                   disclosure was calculated to scheme with Barbara Grady on how to

                   defraud the Appellant through “leaving the interest off the system”

                   so as to cover up from the Appellant the unenforceable 12%

                   compound interest rate as well as to deceive the Appellant through

                   inducement, to accept Appellee’s offer and to agree to pay off the

                   large lump sum principle amount by representing to the Appellant

                   that Appellee Gero Meyersiek waived interest if Appellant paid off

                   support in full in one lump sum $104,185.98.

                (12) In addition to Appellee Rhode Island Office of Child Support

                   Services, the State is culpable of a deliberate and willful failure to

                   comply with 42 U.S.C. §654(1) requiring “A State plan for child and

                   spousal support must-(1) provide that it shall be in effect in all

                   political subdivisions of the State:

                      a. Political subdivision limited jurisdiction Rhode Island state
                         family court judiciary and justices routinely establish and
                         enforce under color of state law and through fraud on the
                         court absent jurisdiction the unlawful 12% compound interest
                         in violation of 42 U.S.C. §654(21)(A)

                      b. Political subdivision Office of the Attorney General knowingly
                         aids and abets in and enforces the unlawful 12% compound
                         interest


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                    c. Political subdivision Rhode Island Executive Office of Health
                       and Human Services that has an annual budget of $3.42
                       Billion knowingly falsely certifies the State’s Title IV-D
                       compliance when it knows or should have known that Rhode
                       Island is not in compliance of multiple provisions of Title IV-
                       D, and participates in the consequentially unlawful collection
                       of reimbursement of federal funds and federal grant money
                       from the United States under Title IV-D Program.

                    d. Political subdivision Rhode Island Office of the Treasurer
                       knowingly falsely certifies the State’s Title IV-D compliance
                       when it knows or should have known that Rhode Island is not
                       in compliance of multiple provisions of Title IV-D, and
                       participates in the consequentially unlawful collection of
                       reimbursement of federal funds and federal grant money from
                       the United States under Title IV-D Program.

                    e. Political subdivision Rhode Island Office of the Governor
                       knowingly falsely certifies the State’s Title IV-D compliance
                       when it knows or should have known that Rhode Island is not
                       in compliance of multiple provisions of Title IV-D, and
                       participates in the consequentially unlawful collection of
                       reimbursement of federal funds and federal grant money from
                       the United States under Title IV-D Program.

                    f. Political subdivision Appropriations Committee knowingly
                       falsely certifies the State’s Title IV-D compliance when it
                       knows or should have known that Rhode Island is not in
                       compliance of multiple provisions of Title IV-D, and causes to
                       appropriate public funds in the consequentially unlawful State
                       financial participation of the noncompliant State Plan,
                       appropriating the State’s public funds to the illegal Title IV-D
                       operation that defrauds unsuspecting noncustodial parents
                       and spousal support obligors for 12% compound interest on
                       overdue support under color of state law.



            B. Hodel v. Virginia Surface Mining & Reclamation Assn., Inc. and
       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th

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       Cir. 2002), cert. denied, 540 U.S. 811 (2003) - U.S. Supreme Court Affirms 42
       U.S.C. §654 Preemption over State Laws and State Constitutions under the
       United States Spending Clause and Commerce Clause
                Congress prescribed both civil and criminal penalties for violations of Title IV of

       the Social Security Act. Firstly, consistent with its Spending Power, Congress has the

       authority to attach conditions on the receipt of federal funds. See South Dakota v.

       Dole, 483 U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

       compliance with the 3-6% simple interest on overdue support, operating the automated

       system for accuracy and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. §§ 654(10), (14), (15), (16), (20), (21)(A), (24), (27)A, § 654a, § 654b. The clear

       and unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court has

       recognized that Congress intended the linkages between child support programs and the

       TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (concluding

       Congress intended the two programs to "operate together closely.” The penalty

       provisions of the statute and the wording of the statute are plain. Where the Secretary

       determines that a state plan would be disapproved, and where the State has made and

       continues to make a good faith effort to comply and has submitted a corrective

       compliance plan, "the Secretary shall not disapprove the State plan . . . and the Secretary

       shall reduce the amount otherwise payable to the State [by the designated alternative

       penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute,

       the legislature has prescribed that the Secretary shall enforce this penalty." Hodges v.

       Shalala, 121 F.2d at 879. Absent any discretion available to the Secretary to impose a



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       lesser penalty than the alternative penalty as outlined in the statute, Rhode Island is

       liable for the statutorily prescribed penalties.1

                Congress also enacted several criminal codes punishing actors, such as the

       Plaintiffs, who commit federal crimes, including cover up of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000),

       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th

       Cir. 2002), cert. denied, 540 U.S. 811 (2003) As a condition of receipt of any federal

       funding under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must

       have an approved state plan for child and spousal support that meets all the

       requirements of 42 U.S.C. § 654. Among the prerequisites for approval of a Title IV-D

       Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that the State, at the option

       of the State, impose a late payment fee (‘interest”) on all overdue support (as defined

       in section 666(e) of this title) under any obligation being enforced under this part, in an

       amount equal to a uniform percentage determined by the State (not less than 3 percent


       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina paid $75 million as of 2009 and was
       set to pay another $10 million for 2010. South Carolina Dep’t of Social Servs., Response
       to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       nor more than 6 percent) of the overdue support, which shall be payable by the

       noncustodial parent owing the overdue support; establish and operate an automated

       data processing and information retrieval system, see 42 U.S.C. § 654(24), and a state

       child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, Office of Child Support

       Services produced APRA Public Records consisting of Title IV Public Records showing

       Rhode Island taking off from the automated data processing system tens of thousands of

       dollars allegedly representing the 42 U.S.C. sec. 654(21)(A) prohibited 12% compound

       interest late payment fee “interest” prior to certifying to TEXAS and the United States,

       and showing Rhode Island falsely certified to the amount’s accuracy under 42 U.S.C.

       sec. 666(14) when in fact Rhode Island removed significant tens of thousands of dollars

       (See TRAC records in attached Exhibit).

                The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

                Again, the clear and unequivocal statement of the required conditions in the

       statute enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”



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                Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States under the Commerce Clause, Rhode Island accepted the agreement terms of

       regulation under federal control or preemption under federal regulation. See Hodel v.

       Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

                See United States Congress’s publication of cited applicable federal law:
              https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%
       3AUSC-prelim-title42-
       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp
       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
                Appellant requests judicial Notice of attached Exhibit G. Hodges v.

       Shalala, 311 F.3d 316 (4th Cir. 2002)




             C. Rhode Island’s Defraud of TEXAS – Under 42 U.S.C. §654, “State
       may allow the jurisdiction which makes the collection involved to retain any
       application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21)” and Rhode Island Removed Tens of Thousands of
       “paragraph (21)”



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             The last provision after Provision (34) of 42 U.S.C. sec. 654 states as
       follows:
       “The State may allow the jurisdiction which makes the collection involved to
       retain any application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21). Nothing in paragraph (33) shall void any provision of any
       cooperative agreement entered into before August 22, 1996, nor shall such
       paragraph deprive any State of jurisdiction over Indian country (as so defined) that
       is lawfully exercised under section 1322 of title 25.”
        See link:
             https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=gra
       nuleid%3AUSC-prelim-title42-
       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJl
       Z3VsYXRpb25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
                Appellee Rhode Island Office of Child Support Service’s routine practice of

       removal of tens of thousands of dollars of interest from the automated system

       before sending to other states like Texas in 2018 makes clear that the Appellees

       schemed to defraud TEXAS “who makes the collection to retain any late payment

       fee under paragraph (21)” – except TEXAS, a paragraph (21) compliant State that

       set 6% simple interest, would have known the 12% compound interest is unlawful

       and unenforceable in Texas.

             D. Rhode Island’s Defraud of the UNITED STATES in Scheme
       Involving Routine Removals of 42 U.S.C. §654(21)
                Appellant in good faith relies on the straightforward and clearly worded

       ruling of the United States Court of Appeals for the 4th Circuit in Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002),

       cert. denied, 540 U.S. 811 (2003), that makes clear Congress’s intent to prescribe


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       both civil and criminal penalties and fines for violations. Consistent with its

       Spending Power, Congress has the authority to attach conditions on the receipt of

       federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on

       overdue support, operating the automated system for accuracy and SDU

       requirements are conditions of approval of a state plan. See 42 U.S.C. §§ 654(7),

       (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, § 654b. The clear and

       unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court

       has recognized that Congress intended the linkages between child support

       programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

       (concluding Congress intended the two programs to "operate together closely.”

       The penalty provisions of the statute and the wording of the statute are plain.

       Where the Secretary determines that a state plan would be disapproved, and where

       the State has made and continues to make a good faith effort to comply and has

       submitted a corrective compliance plan, "the Secretary shall not disapprove the

       State plan . . . and the Secretary shall reduce the amount otherwise payable to the

       State [by the designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

       (emphasis added). "[B]y the text of the statute, the legislature has prescribed that


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       the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at 879.

       Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the

       statutorily prescribed penalties. 2 Congress also enacted several criminal codes

       punishing persons, whoever who act as agents, such as the Appellees, who commit

       federal crimes, including cover up of unlawful activities under federal criminal

       codes, e.g., see 8 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 -

       false documents or false statements to a federal agency, 18 U.S.C. § 1341 -

       mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal civil false

       claims act et al. (a non-exhaustive list of Appellee-violated federal codes is

       invoked in the Conclusion Section of this Notice). Penalties and fines against the

       State for noncompliance (including due process violations provided in 42 U.S.C.


       2
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to TEXAS and to the United States in order to conceal the
       unlawful 12% compound interest from the noncustodial parent and from TEXAS and
       Federal authorities in the false amounts certified to TEXAS and to the United States for
       incentive claims, cooperation claims and Title IV-D and Title IV-A funding claims.
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       §654(20) and corresponding §666) is explicit under federal codes Title IV-D, Title

       IV-A, and 18 U.S.C. § 666, and upheld.

                 Appellant attaches the 4th Circuit’s ruling (Hodges v. Shalala, 121 F. Supp.

       2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

       811 (2003) herewith under Exhibit G.

                Appellant moreover in good faith relies on the straightforward and clearly

       worded Brief filed by the United States Department of Justice and Secretary of the

       United States Department of Health and Human Services in the seminal United

       States Supreme Court case Turner v. Rogers, 564 U.S. 431 (2011) that showed

       South Carolina (found by the 4th Circuit Court of Appeals) liable for $75 million in

       penalties for that state’s 42 U.S.C. § 654 violations that did not even involve, inter

       alia, fraud and tampering with the record or unlawful 12% compound interest put

       into, then taken off, then put back on, the automated data processing system as here

       in Rhode Island by the political subdivision Appellees. The TEXAS Appellant, the

       victim of fraud and organized fraud by Rhode Island’s political subdivisions under

       42 U.S.C. § 654(1), in good faith made known the above activities to “some

       judges” of “the United States” such as the judges sitting in the Court of Appeals for

       the First Circuit and other relevant federal authorities under 18 U.S.C. § 4.




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                Appellant attaches the aforesaid Brief filed in the U.S. Supreme Court by the

       United States in Turner v. Rogers, 564 U.S. 431 (2011) herewith under Exhibit H.

                Relying on the Turner v. Rogers United States Amicus Brief, it is crystal

       clear from Appellant’s making known, inter alia, to judges of the United

       States the routine false certifications to United States and other States under

       42 U.S.C. sec. 654, 655, 658a, 666 et al to defraud the federal Title IV Program

       funding of ineligible funds under Title IV-D and TANF, the defraud of

       noncustodial parents and grandparents through the 42 U.S.C. sec. 654 legal

       framework under color of state law, the defraud of State public funds of

       Rhode Island and of Texas to enforce fraudulent void and voidable support

       orders targeting noncustodial victims that established unlawful 12%

       compound interest on overdue support, and the defraud of cooperative States

       like Texas from sharing the “late fee” provided by 42 U.S.C. sec. 654 by

       Appellees’ removal of the interest amount from the automated system prior to

       certification to Texas for enforcement, Rhode Island has accrued billions of

       dollars in penalties and fines under both civil and criminal statutes, both

       federal and state.

                II.   STATE JUDICIARY’S VIOLATION OF GOVERNMENT
                      EDICTS DOCTRINE, CALCULATED FAILURE TO
                      INTEGRATE TITLE IV-D AGENCY ELECTRONIC FILING
                      SYSTEM WITH ODYSSEY MAKING THEIR FILINGS
                      INVISIBLE TO ALL E-COURT USERS OTHER THAN THE
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                      JUDGE AND THEMSELVES AND VIOLATION OF ACCESS
                      TO COURT INFORMATION OF PUBLIC TITLE IV-D
                      PROCEEDINGS IN RHODE ISLAND’S STATEWIDE
                      ELECTRONIC COURTS

            a. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO
       COURT INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42
       USC 654(1) POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode

       Island under 42 USC 654(1). While publicizing during the implementation of the

       $6 million installation of Odyssey (the statewide electronic filing system) in 2014

       that the electronic courts will enable ALL court users to pull up court record

       information with ease from their phones, the Rhode Island Judiciary quietly

       implemented Rule 5 of the Rhode Island Rules and Practice denying the Public,

       pro-se litigants and all parties to a case in Rhode Island remote access to court

       record information including judge-created orders and laws, including their own.

       Through this deceit, the Rhode Island Judiciary lied to the Public, while denying

       access and thereby covering up the routine ordering of unenforceable body of

       judge-created laws ordering 12% compound interest in public cases and public

       hearings under 42 USC 654 in public Title IV-D cases, such as Appellant’s, by

       symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The

       denial of access to pro-se litigants of their own cases’ court records containing

       support orders violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

       (20), (21), (23), (24), (27), 666, 655, 658a. The denial of public access to public
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       court records documenting the routine systemic violations of 42 USC 654(21)(A)

       in electronic courts violates the First Amendment and the public’s right to know

       the law, even if these fraud on the court unenforceable judge-created laws are

       unenforceable in both Rhode Island and elsewhere Title IV Part D reaches. The

       denial of public access to judge-created laws that is also motivated by cover-up

       fundamentally violates the established Government Edicts Doctrine that the United

       States Supreme Court specifically held applies to electronic formats of government

       doctrines, such as judge-created laws in digital courts. See Georgia v. Public

       Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to her court

       records and information regarding the orders in question that must be furnished

       pursuant to 42 USC 654b thus in violation of 42 USC 654. The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to unenforceable

       and impeachable judge-created fraud on the court void laws that routinely establish

       unenforceable 12% compound interest by certain symbiotic pliant judges, like

       Judge McCann and Magistrate Nahabedian, who work hand-in-hand with the

       Rhode Island Office of Child Support Services in Title IV-D cases, in violation of

       Appellant’s Due Process and Equal Protection rights to know the law to be

       meaningfully heard and right to meaningful access to justice – they are in violation




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       of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                The family court held at the hearing in this matter scheduled on March 6,

       2023 that the Rhode Island Office of Child Support Services is ordered to show

       that the alleged arrears is accurate. See attached March 6, 2023 hearing transcript.

       Explicitly stated throughout 42 USC 654, “accuracy” requires no accounting

       alterations generated offline then unsubstantiated hard inputs into the automated

       system, no fraud, no inducements, no interstate extortion under color of state law,

       and for certain no 12% compound interest on overdue support.

           b. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE
       THE TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO
       ODYSSEY RESULTING IN AGENCY FILINGS BEING INVISIBLE TO
       ALL COURT USERS EXCEPT THE JUDGE AND THE AGENCIES
       THEMSELVES – COVER UP



                Because under the State’s Plan the Title IV-D agencies routinely file in the

       Rhode Island court system for the illegal enforcement of illegal 12% compound

       interest disallowed under 42 USC 654(21)(A), the political subdivision Rhode

       Island Judiciary deliberately failed to integrate the Title IV-D Agencies’ electronic

       filing system with the State’s electronic filing system Odyssey in order to make

       Title IV-D Agency electronic filings invisible to all court users except the judge

       and the agencies themselves, calculated to cover up the 12% compound interest
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       from audit by the federal authorities and from the Public. This came to light at the

       WebEx hearing in this Title IV-D matter before family court Judge Merola on June

       8, 2023 scheduled at 2PM, where Judge Merola, showing he was unaware of the

       failure of systems integration, questioned Appellee Paul Gould of Rhode Island

       Office of Child Support Services, why the Appellant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Appellee

       Paul Gould explained that this is due to the electronic court implementation

       process that was supposed to integrate the agency’s legacy system to Odyssey,

       demonstrating conclusively that Gould, the Lead Counsel of the Rhode Island

       Office of Child Support Services responsible and overseeing agency court filings

       in all Title IV-D cases under the State Plan, undisputedly was in the know and part

       of the conspiracy involving the deliberate failure of filing system integration and

       its continuing perpetration in Title IV proceedings that made Title IV agencies’

       filings invisible as part of the cover up.

                   c. CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF
                      THE UNITED STATES AND OTHER LISTED AUTHORITIES
                      UNDER 18 U.S.C. § 4

                The Appellant, in good faith and reliant on the plain language of 18 USC §

       4, misprision of felony, as well as the Brief filed in the United States Supreme

       Court by the United States of America in the Supreme Court case, Turner v.

       Rogers, 564 U.S. 431 (2011) that showed South Carolina (found by the 4th Circuit
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       Court of Appeals) liable for $88 million in penalties for that state’s 42 U.S.C. sec.

       654 violations that did not even involve, inter alia, fraud and tampering with the

       record or unlawful 12% compound interest put into then taken off then put back on

       the automated data processing system as here in Rhode Island, made known the

       above activities to “some judges” of “the United States” and other relevant federal

       authorities – counting among the United States judges Appellant made known

       publicly in the Amended Complaint filed in the United States District Court for the

       District of Rhode Island, Judge William E. Smith. The issue of what Judge Smith

       has done with the information “made known to him” is pending before the United

       States Court of Appeals for the First Circuit before a requested panel of judges

       under the federal appellate law of civil procedure in Appeal Case No. 23-1967.

       Therefore, under 18 U.S.C. Sec. 4, the above reported activities have been “made

       known” to several high ranking Judges of the United States, including the Judge in

       this case.

                       III.   VIOLATIONS OF FEDERAL CRIMINAL CODES

                Pending before the official Federal Court of Appeals proceeding, Appellant

       made known to the panel of judges of the United States allegations contained in the

       Amended Complaint filed in Federal Court of the commission of acts by the Rhode

       Island political subdivisions and employees thereof, Barbara Grady and Gero

       Meyersiek named herein in this motion, the afore-described acts violating 31
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       U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18

       U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a),

       18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18

       U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285,

       18 U.S.C. §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18

       U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18

       U.S.C. §1962, 18 U.S.C. §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C.

       §1968 – such violative acts by the Appellees in this matter, and/or Judge Smith on

       this list are not exhaustive. It is undisputable, among others, that Title IV-D

       penalties were incurred by, Criminal penalties were incurred by, and Title IV-D

       and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                          IV. NO IMMUNITY

                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit United States

       Court of Appeals reminds the Public and all applicable tribunals that Judges are

       similarly liable to the criminal laws for their official acts. A notable example is Ex

       parte Commonwealth of Virginia, in which the Supreme Court affirmed the
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       criminal indictment of a judge based on an official act. 100 U.S. 339 (1879). A

       county judge was indicted in federal court for violating a federal statute that

       prohibited discriminating on the basis of race in jury selection. Id. at 340, 344. The

       Supreme Court began by observing the principle that officers are bound to follow

       the law: “We do not perceive how holding an office under a State, and claiming to

       act for the State, can relieve the holder from obligation to obey the Constitution of

       the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in

       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then

       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting

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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for

       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
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                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize
                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting

       Gravel, 408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed

       judicial immunity from civil money damages in the context of bribery allegations

       but explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity

       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within his

       statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a

       judge has no criminal immunity for the same “official act.” See also Imbler v.

       Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980)

       (“[T]he cases in this Court which have recognized an immunity from civil suit for

       state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).
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                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845

       (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by United States v.

       Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly

       are not immune, and employees of the political subdivisions of Rhode Island under

       42 USC § 654(1) similarly are not immune. Barbara Grady and Gero Meyersiek

       are undisputedly liable.




                IV.   LACK OF JURISDICTION – APPELLEE 42 U.S.C. § 654(1)
                      STATE PLAN POLITICAL SUBDIVISION RHODE ISLAND
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (CREATED UNDER RIGL 8-6-3) LACKS JURISDICTION

                      A. RI’S 42 USC 654(1) POLITICAL SUBDIVISION
                         JUDICIARY LACKS JURISDICTION TO ESTABLISH OR
                         ENFORCE 42 USC § 654(21)(A) VIOLATIVE 12%
                         COMPOUND INTEREST ON OVERDUE SUPPORT –
                         DOING SO INCURS PENALTY UNDER 42 USC 654(24)
                         AND REINFORCES ITS STATE PLAN’S INELIGIBILITY
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                      FOR FEDERAL FUNDING UNDER BOTH TITLE IV-D
                      AND TITLE IV-A, WARRANTING DISGORGEMENT OF
                      TANF AND TITLE IV-D FUNDING – SEE HODGES v.
                      SHALALA

                      The statutory provision of 42 U.S.C. 654(21)(A) makes it

                      explicitly clear that Title IV-D and Title IV-A participating 42

                      USC 654(1) state political subdivisions, such as the political

                      subdivision Rhode Island Judiciary, lack the authority to establish

                      12% compound interest.



                      To do so “routinely” simply incurs more penalties, more fines

                      constituting more false claim consequences, and imprisonment of

                      the culpable persons and agents.



                   B. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER
                      QUESTIONS AND MATTERS OF FEDERAL CRIMINAL
                      VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE
                      RECORD TAMPERING WITH 42 U.S.C. 654a
                      AUTOMATED DATA PROCESSING SYSTEM
                      COMMITTING ACCOUNTING FRAUD (e.g., REMOVAL
                      OF UNLAWFUL 12% COMPOUND INTEREST IN ORDER
                      TO CONCEAL IT WHEN CERTIFYING TO OTHER
                      STATE AUTHORITIES AND FEDERAL AUTHORITIES)
                      AND THE CRIMINAL CERTIFICATION OF
                      FRAUDULENT ACCOUNTS THAT CONTAIN
                      MANUALLY REMOVED UNLAWFUL FRAUDULENT 12%


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                      COMPOUND INTEREST (UNDER COLOR OF RI’S
                      PREEMPTED STATE LAW) FROM THE SYSTEM

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                            U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18

                            U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. §

                            2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

                            U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

                            1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

                            U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C.

                            §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C. § 1512,

                            18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18

                            U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C.

                            §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513,

                            RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                            §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968

                            also make clear that the State Plan’s 42 USC 654(1) political

                            subdivision limited jurisdiction Rhode Island family court

                            lacks jurisdiction over FEDERAL CRIMINAL

                            VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE

                            RECORD TAMPERING WITH 42 U.S.C. 654a

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                           COMMITTING ACCOUNTING FRAUD (e.g.,

                           REMOVAL OF UNLAWFUL 12% COMPOUND

                           INTEREST IN ORDER TO CONCEAL IT WHEN

                           CERTIFYING TO OTHER STATE AUTHORITIES AND

                           FEDERAL AUTHORITIES) AND THE CRIMINAL

                           CERTIFICATION OF FRAUDULENT ACCOUNTS

                           THAT CONTAIN MANUALLY REMOVED

                           UNLAWFUL FRAUDULENT 12% COMPOUND

                           INTEREST (UNDER COLOR OF RI’S PREEMPTED

                           STATE LAW) FROM THE SYSTEM. Appellant attaches

                           herewith in Exhibit I. Rhode Island Gen. Laws Sec. 8-10-3

                           that makes clear family court is a court of limited

                           jurisdiction that lacks jurisdiction over the Appellees’

                           criminal violations.


                   C. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER FEDERAL
                      CRIMINAL VIOLATIONS COMMITTED BY ITSELF
                      INVOLVING CERTAIN SYMBIOTIC RHODE ISLAND
                      FAMILY COURT JUSTICES, SUCH AS JUDGE JOHN
                      McCANN AND MAGISTRATE SUSAN NAHABEDIAN,
                      WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY
                      ESTABLISH AND ENFORCE UNLAWFUL 12%
                      COMPOUND INTEREST TARGETING UNSUSPECTING
                      NONCUSTODIAL PARENT VICTIMS
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                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                      U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C.

                      §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18

                      U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C.

                      § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18

                      U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18

                      U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506,

                      18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

                      §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18

                      U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C.

                      §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                      §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 also

                      make clear that the State Plan’s 42 USC 654(1) political

                      subdivision Rhode Island family court lacks jurisdiction over

                      FEDERAL CRIMINAL VIOLATIONS COMMITTED BY

                      ITSELF INVOLVING CERTAIN SYMBIOTIC RHODE

                      ISLAND FAMILY COURT JUSTICES, SUCH AS JUDGE

                      JOHN McCANN AND MAGISTRATE SUSAN NAHABEDIAN,

                      WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY

                      ESTABLISH AND ENFORCE UNLAWFUL 12% COMPOUND
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                        INTEREST TARGETING UNSUSPECTING NONCUSTODIAL

                        PARENT VICTIMS.




                                           CONCLUSION

                WHEREFORE, this Court should hold Oral Arguments regarding the

       Federal Questions and serious criminal matters raised herein. This Court should

       reverse the district court’s judgement and remand for further proceedings.

       Appellant requests Oral Argument on all issues raised herein before the Court.

       Appellant requests any and all Relief deemed just.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
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                                       Houston, TX 77019

                                       Dated: March 29, 2024




                                CERTIFICATE OF SERVICE



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             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 29, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
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                                    Exhibit A
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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
                 Source Credit
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                 References In Text
                 Codification
                 Amendments
                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                 FAMILY COURT


       State of Rhode Island ex rel.               :
       GERO MEYERSIEK                              :
              Plaintiff                            :
                                                   :
       VS.                                         :              DOCKET NO: K20010521M
                                                   :              Title IV Part D Case under
                                                   :              42 U.S.C. §§ 651-669
       MARY SEGUIN                                 :
           Defendant                               :


             DEFENDANT’S EMERGENCY MOTION TO DISMISS FOR LACK OF
                               JURISDICTION
                                                       And
                                           CLOSE THE CASE



                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       respectfully moves the Court to Dismiss for Lack of Jurisdiction over the State’s

       Motion to Set Arrears that is in violation of 42 U.S.C. sec. 654. The Defendant

       respectfully moves to close the case based on the plain fact that the Defendant paid off

       in full all “principle” support. The child in question was emancipated in April 2018.

                This motion to dismiss relies on the plain Federal statutory requirements of Title

       IV of the Social Security Act binding the Rhode Island Plaintiffs, binding the State Plan,

       binding the limited jurisdiction Family Court, and binding the Witness Rhode Island

       Executive Office of Health and Human Services.

                The Defendant reserves the right to raise all other multiple jurisdiction defect and

       nullity issues at the appropriate time in accordance with all applicable the laws of civil


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       procedure governing federal questions of the Title IV Program, the Commerce Clause

       and jurisdiction over the falsification of Title IV records certified to Texas and to the

       United States, among others.

                The Defendant respectfully requests that the Court issues a written opinion

       stating the Court’s reasoning.

                If the Court wishes to hold a hearing on the matter, the Defendant respectfully

       requests the Court give priority to and settles the threshold jurisdiction challenge, in

       accordance with the law.

                I.      Lack of Jurisdiction under 42 U.S.C. sec. 654

                Congress enacted and offered the State of Rhode Island along with all states in

       the Union participation in Title IV of the Social Security Act attaching conditions to

       states’ participation under the Commerce Clause and Spending Clause of the

       United States Constitution. The conditional requirements mandate that participating

       States must amend their respective state constitutions to comply with Congressional

       amendments to 42 U.S.C. sec. 654. See, e.g., STATUTORY NOTES AND RELATED

       SUBSIDIARIES, Effective Date of 1996 Amendment, "(b) GRACE PERIOD FOR

       STATE LAW CHANGES.-The provisions of this title shall become effective with

       respect to a State on the later of- "(1) the date specified in this title, or "(2) the effective

       date of laws enacted by the legislature of such State implementing such provisions, but

       in no event later than the 1st day of the 1st calendar quarter beginning after the close of

       the 1st regular session of the State legislature that begins after the date of the enactment

       of this Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State

       that has a 2- year legislative session, each year of such session shall be deemed to be a

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       separate regular session of the State legislature. "(c) GRACE PERIOD FOR STATE

       CONSTITUTIONAL AMENDMENT.-A State shall not be found out of compliance

       with any requirement enacted by this title if the State is unable to so comply without

       amending the State constitution until the earlier of- "(1) 1 year after the effective date of

       the necessary State constitutional amendment; or "(2) 5 years after the date of the

       enactment of this Act [Aug. 22, 1996]." See also, Amendments for 1996 Par. (21)(A).

       Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent parent."

       Therefore, it is abundantly and explicitly clear that as of the 1996 Amendment to 42

       U.S.C. sec. 654 legislating penalties for state noncompliance, Congress explicitly

       required participating states like Rhode Island to amend its state constitution for

       compliance with 42 U.S.C. sec. 654. Therefore, Congress explicitly mandates that

       Rhode Island general laws that are out of compliance with 42 U.S.C. sec.

       654(21)(A) that was moreover highlighted in the statutory notes for the Amendments

       in 1996, are required to be changed. See Exhibit A. The United States Congress

       publication of 42 U.S.C. sec. 654.

                Therefore, it is firmly and unequivocally established that Rhode Island’s R.I.

       Gen. Laws § 15-5-16.5 that legislates 12% compound interest on overdue

       support is out of compliance. The plain statutory text of 42 U.S.C. sec.

       654(21)(A) states 3 to 6 percent and requires the State to set a uniform rate

       for all, not 12% compound interest in intrastate cases but 0% by policy in

       interstate cases, complicated by setting yet another category of 12%

       compound interest in targeted interstate cases, such as TEXAS Defendant’s

       interstate case. The fact that Rhode Island certifies that its State laws, such as R.I.



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       Gen. Laws § 15-5-16.5, are in compliance with 42 U.S.C. sec. 654(21)(A) shows prima

       facie false certification, and the grace period for the change of law expired in August

       1996, 28 years ago. See Exhibit B. R.I. Gen. Laws § 15-5-16.5.

                Per the Rhode Island State Government publication of the History of Section for

       R.I. Gen. Laws § 15-5-16.5, the Rhode Island General Assembly Public Legislature

       actually amended and reviewed R.I. Gen. Laws § 15-5-16.5in 2001, showing the Public

       the knowing noncompliance by the Rhode Island General Assembly. See, “History of

       Section. P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.”

                Therefore, the limited jurisdiction court lacks jurisdiction to preempt 42 U.S.C.

       sec. 654, when 42 U.S.C. sec. 654 plainly requires unequivocally that “the State is

       required to so comply by amending the State constitution.”




                II.    Family Court is a court of Limited Jurisdiction created under
                       RIGL 8-10-3 and Rhode Island, Having Participated in Title IV,
                       lacks jurisdiction to preempt 42 U.S.C. sec. 654



                Moreover, Rhode Island state family court is a court of limited jurisdiction

       created by the General Assembly under RIGL 8-10-3. See, Exhibit C. Plainly, the

       limited jurisdiction conferred to the state family court lacks the authority to preempt 42

       U.S.C. sec. 654. When the judge violates federal law or aids in the violation of federal

       criminal laws, the judge has no immunity. See section below entitled “No Immunity.”

                For example, RIGL 8-10-3 plainly confers the limited jurisdiction family court the

       authority to hear motions on support establishment and enforcement, but does NOT


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       confer the family court the authority to preempt 42 U.S.C. sec. 654. Indeed the

       statutory terms in the Statutory Notes Section and the language of 42 U.S.C. sec. 654

       plainly conditions Title IV preemption of State constitutions for State acceptance of

       participation. The Defendant reserves all rights to raise the other multiple other

       jurisdictional defects as they apply to this matter, but the basic jurisdictional threshold

       regarding the authority to preempt 42 U.S.C. sec. 654(21)(A) must fundamentally be

       met – and this court lacks jurisdiction.

                The clearly established lack of authority of this court to preempt 42 U.S.C. sec.

       654 leads the court to address the question of the court’s lack of jurisdiction over the

       Rhode Island Office of Child Support’s written policy, “It is desirable for RI OCSS to

       prohibit the charging of interest in Interstate Cases.” See Exhibit D, Rhode

       Island Office of Child Support Services Written Policy stating, “It is desirable for RI

       OCSS to prohibit the charging of interest in Interstate Cases.”

                III.   RI OCSS Policy that States “It is desirable for RI OCSS to
                       prohibit the charging of interest in Interstate Cases” – This
                       Court lacks jurisdiction over the Policy and lacks jurisdiction
                       hear legal actions at law regarding the effect and the motive
                       behind establishing this policy



                A plain reading of RIGL 8-10-3 concludes that the limited jurisdiction family

       court lacks jurisdiction over the RI OCSS Policy attached Exhibit D that states, ““It is

       desirable for RI OCSS to prohibit the charging of interest in Interstate

       Cases.” The Policy goes on to state regarding operations of the automated data

       processing system, “Entry of the N not only prohibits the charging of future interest but

       automatically creates adjustments to zero out any existing interest.” Additionally the


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       Policy states, “Two reports will be created. The first will detail the interstate cases for

       which a support order….. for which one or more interest adjustment were created.” For

       the purposes of this motion, it suffices to raise that it is documented unequivocally the

       Office of Child Support Services creates multiple books of account reports for the

       completely un-uniform interest rates applied to support cases and that routinely “one or

       more interest adjustment were created” – 42 U.S.C. sec. 654 emphatically forbids all the

       policy practices enumerated in the Policy and the egregious issue of certifying a support

       record under 42 U.S.C. sec. 666(14), for example, that involves one or more interest

       adjustments and “two reports will be created” as it relates to compliance with 42 U.S.C.

       sec. 654 et al is a matter over which this court plainly lacks jurisdiction.

                Applying the aforesaid RI OCSS Policy to this court’s order dated September 25,

       2012 that allegedly “established interest” in this interstate Title IV case, that this court

       also judicially noticed on February 2, 2024, the court must scrutinize the September

       25, 2012 Order prepared by RI OCSS and signed and entered by Judge John McCann III

       that is challenged.

                IV.    This Court Lacks Jurisdiction Over any Legal Action in Law
                       Regarding the Violation of 42 U.S.C. sec. 654 By This Court



                Subsequent to the review of the Title IV-D TRAC records selectively only

       produced by RI OCSS for December 2021 to April 2022 (see Exhibit F) (and the

       aforesaid RI OCSS Policy), the TEXAS Defendant filed legal actions in law in Federal

       courts that have jurisdiction over the Federal question and Federal matters in this

       interstate case. Furthermore, subsequent to Defendant raising in court at the WebEx

       hearing in this matter scheduled on October 18, 2023 that Defendant is denied access to

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       her own case records by the Rhode Island Rules and Practice 5 denying the public and

       pro se litigants remote access to court information (except the docket), the Defendant

       was emailed a copy of the September 25, 2012 court order allegedly establishing 12%

       compound interest between December 2023 and January 2024, the delayed access

       (Defendant has been denied access to information regarding the court orders and the

       ordered interest since November 2021 to January 2023) of which is already egregiously

       outrageous and the delay itself constituted countless multiple penalty-incurring

       compliance failure violations.

                For the purpose of this motion, a strict scrutiny of the First Amendment access-

       denied September 25, 2012 order is plainly required.

                On a Rhode Island Office of Child Support presented order by Deputy Chief

       Counsel Priscilla Glucksman, in this interstate non-welfare Title IV-D case, in which

       Plaintiff Gero Plaintiff (who is additionally represented by his own private attorney

       Barbara E. Grady, whose husband and law firm partner Paul Dugan was formerly

       Deputy Chief Legal Counsel for RI OCSS) paid RI OCSS under 42 U.S.C. sec. 654 a

       whopping $25 application fee that acquired for him the entire suite of full and complete

       individualized customized and dedicated child support interest establishment and

       enforcement legal services involving at least seven (7) Deputy Chief Legal Counsels and

       Chief Legal Counsel (e.g., 1. Priscilla Glucksman, 2. Kevin Tighe, 3. Frank DiBiaise, 4.

       Paul Gould, 5. John Langlois, 6. Lisa Pinnsonneault, 7. Carl Beauregard) from 2010 to

       the present from RI OCSS, Item 4 of the September 25, 2024 Order states, “The State’s

       Oral request to clarifying whether or not interest was to run o n the child support and




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       medical arrears as found in the May 24, 2012 court order is addressed. Interest will

       continue to run on the money due.”

                It is plainly explicit that 12% compound interest rate is not expressly provided in

       the text of the order.

                It is plainly explicit that 42 U.S.C. sec. 654(21)(A) preempts RIGL 15-16-15.5.

                It is plainly explicit that the RI OCSS Policy states RI OCSS is prohibit from

       charging interest in interstate cases, meaning in interstate cases, the interest is 0%.

                It is plainly explicit that the plain statutory text of 42 U.S.C. sec. 654(21)(A)

       requires that the State must set uniform interest and if the State opts to set interest, it

       must be “no less than 3 percent and no more than 6 percent.”

                Accordingly, this court has jurisdiction to set the only lawful rate set

       by State Policy as stated in the RI OCSS Policy, which is zero percent (0%),

       uniformly, be it interstate or intrastate, given the plain statutory text of 42

       U.S.C. sec. 654(21)(A).

                The TEXAS Defendant explicitly requests respectfully that this Court take judicial

       notice of the fact that the Rhode Island Office of Child Support claims multiple times

       under Oath that, although the September 25, 2012 Order plainly omits the percent being

       charged for overdue support, Judge McCann ordered 12% compound interest that he

       knew or should have known, be it interstate or intrastate, is unlawful under 42 U.S.C.

       sec. 654 and preempted by the plain statutory language of 42 U.S.C. sec. 654(21)(A).

                Based on the aforesaid obvious effect of ordering 12% compound interest, Judge

       John McCann III knew or should have known that “two reports” will be created in the

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       automated data processing system and the resulting removal of the interest amount

       from the automated system resulting in Rhode Island certifying “no interest” when

       sending to Texas and to Federal authorities for enforcement under 42 U.S.C. sec.

       666(14). Judge McCann’s knowing aiding in the false certification of Title IV records via

       wire and via Mail interstate to Texas and to the United States plainly violates Federal

       criminal law. The judge had a legal duty to obey the criminal laws.

                V.     Any Order Now Re-Establishing 12% Compound Interest Simply
                       Results in the Creation of “zero interest” in Certifications to
                       Texas under 42 U.S.C. sec. 666(14)



                Enforceability of any order now re-establishing 12% compound interest simply

       results in the creation of “zero interest” in enforcement certifications to Texas under 42

       U.S.C. sec. 666(14). With the child emancipated since 2018, the Office of Child Support

       Services claiming in the TRAC Record it certified to TEXAS child support amount due

       with ZERO INTEREST also in 2018, and the fact that principle was paid off by the

       Defendant three years ago in December 2021 per representations by the Office of Child

       Support Services, the Court lacks jurisdiction to establish or modify or re-set or set

       arrears or whatever legal moniker that essentially dresses up organized fraud based on

       this set of circumstances raised herein in this motion alone.

                The fact that the Office of Child Support Services filed a motion before this court

       to set interest “arrears” in January 2023 a year after Defendant paid off the principle in

       December 2021 reeks of fraud. If lawful and legitimate interest is actually due, logic

       dictates the State’s support enforcement political subdivision under 42 U.S.C. sec.

       654(3) simply enforces it without necessitating this court to “set interest arrears.” This


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       court’s addressment of this issue was punting it from Magistrate Monaco to Judge

       Merola to Magistrate Nahabedian who showed her colors by stating on the record

       affirming that the Rhode Island judiciary orders 12% compound interest that it knows is

       preempted by 42 U.S.C. sec. 654, thereby necessitating the aforesaid RI OCSS Policy “it

       is desirable for RI OCSS to prohibit the charging of interest in interstate cases.” Why?

       Because it is plain under 42 U.S.C. 654 that Rhode Island’s “effective enforcement” of

       interest in interstate cases may necessitate certifying to another state, like to TEXAS, an

       “interest-removed-from-the-system” consisting of zero interest, to better keep track of

       their several “reports” that “will be created.” In other words, the no interest in interstate

       cases policy better helps to keep RI OCSS’s lies and fraud straight.

                Although Defendant reserves the right to fully raise the issue of fraud by the

       certain symbiotic judges and by RI OCSS at the right time, Defendant raises the fact that

       the judge has a legal duty to obey the criminal laws. Obviously RI OCSS has

       a legal duty to obey criminal laws.

                VI.    Statutory and Federal Authority

                Certainly, among others, in order to avoid yet another penalty-incurring violation

       of 42 U.S.C. sec. 654, the court must dismiss for lack of jurisdiction and close the case.

                Congress prescribed both civil and criminal penalties for violations of Title IV of

       the Social Security Act. Firstly, consistent with its Spending Power, Congress has the

       authority to attach conditions on the receipt of federal funds. See South Dakota v.

       Dole, 483 U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

       compliance with the 3-6% simple interest on overdue support, operating the automated

       system for accuracy and SDU requirements is a condition of approval of a state plan. See

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       42 U.S.C. §§ 654(10), (14), (15), (16), (20), (21)(A), (24), (27)A, § 654a, § 654b. The clear

       and unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court has

       recognized that Congress intended the linkages between child support programs and the

       TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (concluding

       Congress intended the two programs to "operate together closely.” The penalty

       provisions of the statute and the wording of the statute are plain. Where the Secretary

       determines that a state plan would be disapproved, and where the State has made and

       continues to make a good faith effort to comply and has submitted a corrective

       compliance plan, "the Secretary shall not disapprove the State plan . . . and the Secretary

       shall reduce the amount otherwise payable to the State [by the designated alternative

       penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute,

       the legislature has prescribed that the Secretary shall enforce this penalty." Hodges v.

       Shalala, 121 F.2d at 879. Absent any discretion available to the Secretary to impose a

       lesser penalty than the alternative penalty as outlined in the statute, Rhode Island is

       liable for the statutorily prescribed penalties.1



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina paid $75 million as of 2009 and was
       set to pay another $10 million for 2010. South Carolina Dep’t of Social Servs., Response
       to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
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                Congress also enacted several criminal codes punishing actors, such as the

       Plaintiffs, who commit federal crimes, including cover up of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000). As

       a condition of receipt of any federal funding under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, States must have an approved state plan for child and spousal

       support that meets all the requirements of 42 U.S.C. § 654. Among the prerequisites for

       approval of a Title IV-D Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that

       the State, at the option of the State, impose a late payment fee (‘interest”) on all overdue

       support (as defined in section 666(e) of this title) under any obligation being enforced

       under this part, in an amount equal to a uniform percentage determined by the State

       (not less than 3 percent nor more than 6 percent) of the overdue support, which shall be

       payable by the noncustodial parent owing the overdue support; establish and operate an

       automated data processing and information retrieval system, see 42 U.S.C. § 654(24),

       and a state child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among

       others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, Office of Child Support

       Services produced APRA Public Records consisting of Title IV Public Records showing

       Rhode Island taking off from the automated data processing system tens of thousands of

       dollars allegedly representing the 42 U.S.C. sec. 654(21)(A) prohibited 12% compound


       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       interest late payment fee “interest” prior to certifying to TEXAS and the United States,

       and showing Rhode Island falsely certified to the amount’s accuracy under 42 U.S.C.

       sec. 666(14) when in fact Rhode Island removed significant tens of thousands of dollars

       (See TRAC records in attached Exhibit).

                The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

                Again, the clear and unequivocal statement of the required conditions in the

       statute enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”

                Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States under the Commerce Clause, Rhode Island accepted the agreement terms of

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       regulation under federal control or preemption under federal regulation. See Hodel v.

       Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

                See United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS

       C-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp

       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

                            A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter on this list are not exhaustive. It is undisputable, among others, that

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       Title IV-D penalties were incurred by, Criminal penalties were incurred by, and Title IV-

       D and Title IV-A disgorgement is due from the applicable State of Rhode Island’s Title

       IV political subdivisions.

                                               B. NO IMMUNITY

                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered

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                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting
                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive


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                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize
                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of


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       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493

       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                VII.   CONCLUSION

                       Under 42 USC sec. 654 this court only has jurisdiction to set the

                       only lawful rate set by State, articulated in writing in the State’s

                       Policy as stated in the RI OCSS Policy, which is zero percent

                       (0%), uniformly, be it interstate or intrastate, given the plain

                       statutory text of 42 U.S.C. sec. 654(21)(A). Defendant paid off

                       the principle in full as of December 7, 2021. This Court must

                       dismiss for lack of jurisdiction and close the case.


                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merola of this Honorable Court to:


                1. Grant Defendant’s Motion to Dismiss for Lack of Jurisdiction and Close the

                   Case.

                2. Order the Title IV case closed.

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                3. Order appropriate sanctions against Rhode Island Office of Child Support

                   Services and Plaintiff, for among others fraud on the court, including

                   ordering referral of the matters raised herein to the Office of Inspector

                   General, both state and federal.

                4. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                5. Declare that Defendant’s child support file maintained by the Rhode Island

                   Office of Child Support Services under the supervision of RI EOHHS must be

                   produced to the Defendant Noncustodial Parent upon request.

                6. Issue a written decision on the Court’s decision.

                7. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                8. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 27, 2024


                                                  FOR DEFENDANT

                                                  MARY SEGUIN, Pro Se.



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                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com



                                          NOTICE OF HEARING


              Please take notice that if necessary, the foregoing Emergency Motion to Dismiss
       for Lack of Jurisdiction and Close the Case will be called for hearing on a priority basis
       to determine the threshold jurisdiction challenge before the Rhode Island Family Court,
       One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on March 28, 2024 (case is
       already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F




                                             CERTIFICATION


              I hereby certify that a copy of the within Emergency Motion was filed on March
       27, 2024 electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
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                 Codification
                 Amendments
                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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                                                                   CODIFICATION
             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                                                    Title 15
                                                Domestic Relations
                                                        Chapter 5
                                                  Divorce and Separation
                                                      R.I. Gen. Laws § 15-5-16.5

     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




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                                 Title 8
                  Courts and Civil Procedure — Courts
                                                              Chapter 10
                                                             Family Court
                                                        R.I. Gen. Laws § 8-10-3

     § 8-10-3. Establishment of court — Jurisdiction — Seal — Oaths.

     (a) There is hereby established a family court, consisting of a chief judge and eleven (11) associate
     justices, to hear and determine all petitions for divorce from the bond of marriage and from bed and
     board; all motions for allowance, alimony, support and custody of children, allowance of counsel and
     witness fees, and other matters arising out of petitions and motions relative to real and personal
     property in aid thereof, including, but not limited to, partitions, accountings, receiverships,
     sequestration of assets, resulting and constructive trust, impressions of trust, and such other equitable
     matters arising out of the family relationship, wherein jurisdiction is acquired by the court by the filing
     of petitions for divorce, bed and board and separate maintenance; all motions for allowance for
     support and educational costs of children attending high school at the time of their eighteenth (18th)
     birthday and up to ninety (90) days after high school graduation, but in no case beyond their
     nineteenth (19th) birthday; enforcement of any order or decree granting alimony and/or child support,
     and/or custody and/or visitation of any court of competent jurisdiction of another state; modification
     of any order or decree granting alimony and/or custody and/or visitation of any court of competent
     jurisdiction of another state on the ground that there has been a change of circumstances; modification
     of any order or decree granting child support of any court of competent jurisdiction of another state
     provided: (1) the order has been registered in Rhode Island for the purposes of modification pursuant
     to § 15-23.1-611, or (2) Rhode Island issued the order and has continuing exclusive jurisdiction over
     the parties; antenuptial agreements, property settlement agreements and all other contracts between
     persons, who at the time of execution of the contracts, were husband and wife or planned to enter into
     that relationship; complaints for support of parents and children; those matters relating to delinquent,
     wayward, dependent, neglected, or children with disabilities who by reason of any disability requires
     special education or treatment and other related services; to hear and determine all petitions for
     guardianship of any child who has been placed in the care, custody, and control of the department for
     children, youth, and families pursuant to the provisions of chapter 1 of title 14 and chapter 11 of title
     40; adoption of children under eighteen (18) years of age; change of names of children under the age
     of eighteen (18) years; paternity of children born out of wedlock and provision for the support and
     disposition of such children or their mothers; child marriages; those matters referred to the court in
     accordance with the provisions of § 14-1-28; those matters relating to adults who shall be involved
     with paternity of children born out of wedlock; responsibility for or contributing to the delinquency,
     waywardness, or neglect of children under sixteen (16) years of age; desertion, abandonment, or
     failure to provide subsistence for any children dependent upon such adults for support; neglect to send
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     any child to school as required by law; bastardy proceedings and custody to children in proceedings,
     whether or not supported by petitions for divorce or separate maintenance or for relief without
     commencement of divorce proceedings; and appeals of administrative decisions concerning setoff of
     income tax refunds for past due child support in accordance with §§ 44-30.1-5 and 40-6-21. The
     holding of real estate as tenants by the entirety shall not in and of itself preclude the family court from
     partitioning real estate so held for a period of six (6) months after the entry of final decree of divorce.

     (b) The family court shall be a court of record and shall have a seal which shall contain such words
     and devices as the court shall adopt.

     (c) The judges and clerk of the family court shall have power to administer oaths and affirmations.

     (d) The family court shall have exclusive initial jurisdiction of all appeals from any administrative
     agency or board affecting or concerning children under the age of eighteen (18) years and appeals of
     administrative decisions concerning setoff of income tax refunds, lottery set offs, insurance intercept,
     and lien enforcement provisions for past due child support, in accordance with §§ 44-30.1-5 and 40-6-
     21, and appeals of administrative agency orders of the department of human services to withhold
     income under chapter 16 of title 15.

     (e) The family court shall have jurisdiction over those civil matters relating to the enforcement of laws
     regulating child care providers and child placing agencies.

     (f) The family court shall have exclusive jurisdiction of matters relating to the revocation or
     nonrenewal of a license of an obligor due to noncompliance with a court order of support, in
     accordance with chapter 11.1 of title 15.

         [See § 12-1-15 of the General Laws.]

     (g) Notwithstanding any general or public law to the contrary, the family court shall have jurisdiction
     over all protective orders provided pursuant to the Rhode Island general laws, when either party is a
     juvenile.

     History of Section.
     P.L. 1961, ch. 73, § 1; P.L. 1972, ch. 30, § 1; P.L. 1973, ch. 125, § 1; P.L. 1974, ch. 85, § 1; P.L. 1975,
     ch. 3, § 1; P.L. 1976, ch. 252, § 1; P.L. 1977, ch. 89, § 1; P.L. 1980, ch. 54, § 1; P.L. 1981, ch. 319, § 1;
     P.L. 1984, ch. 167, § 3; P.L. 1984, ch. 281, § 1; P.L. 1987, ch. 163, § 2; P.L. 1988, ch. 84, § 7; P.L.
     1992, ch. 326, § 1; P.L. 1994, ch. 158, § 2, P.L. 1994, ch. 195, § 3; P.L. 1994, ch. 244, § 1; P.L. 1994,
     ch. 263, § 3; P.L. 1995, ch. 370, art. 29, § 10; P.L. 1995, ch. 374, § 10; P.L. 1996, ch. 129, § 1; P.L.
     1996, ch. 131, § 1; P.L. 1996, ch. 132, § 1; P.L. 1996, ch. 133, § 1; P.L. 1997, ch. 170, § 23; P.L. 1999,
     ch. 83, § 6; P.L. 1999, ch. 130, § 6; P.L. 2007, ch. 73, art. 3, § 9; P.L. 2010, ch. 216, § 1; P.L. 2010, ch.
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                      STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                 FAMILY COURT


       State of Rhode Island ex rel.               :
       GERO MEYERSIEK                              :
              Plaintiff                            :
                                                   :
       VS.                                         :              DOCKET NO: K20010521M
                                                   :              Title IV Part D Case under
                                                   :              42 U.S.C. §§ 651-669
       MARY SEGUIN                                 :
           Defendant                               :


        DEFENDANT’S MOTION TO COMPEL RI EXECUTIVE OFFICE OF HEALTH
         AND HUMAN SERVICES (“EOHHS”) COMPLIANCE WITH SUBPOENA



                  The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Executive Office of Health and Human

       Services (“RI EOHHS”). On March 26, 2024, RI EOHHS filed a motion to quash

       subpoena.




             I.      Defendant Does NOT Compel Production of or Testimony on
                     Deliberations of November 29, 2022 Agency Dismissal That Cites
                     Loss of Jurisdiction Which Speaks for Itself



                  The Title IV records for Rhode Island Executive Office of Health and Human

       Services (“RI EOHHS”) show that in the RI EOHHS Appeal case Docket# 22-2116 a

       hearing was scheduled for December 1, 2022. However no hearing or trial took place

       on December 1, 2022. Emphatically, a hearing never took place in that matter.

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                As the RI EOHHS November 29, 2022 decision dismissing the Defendant-

       initiated appeals case for lack of jurisdiction clearly states, upon the Office of Child

       Support Service’s withdrawal of the enforcement instrument Notice of Lien on October

       14, 2022, the RI EOHHS determined it lost jurisdiction over the matter before any

       hearing was conducted and before the December 1, 2022 scheduled hearing that never

       took place as a result of the dismissal based on its determination of loss of jurisdiction.

       The decision regarding loss of jurisdiction speaks for itself. The subpoena clearly does

       not seek production of documents relating to the November 29, 2022 Agency decision

       relating to loss of jurisdiction.

                The subpoena seeks production and testimony relating to the facts evidenced in

       the Rhode Island Office of Child Support produced PUBLIC RECORDS TRAC records

       that RI EOHHS in its supervisory capacity over Department of Human Services and

       Office of Child Support Serviced caused to be produced in response to Defendant’s

       APRA Request for public records filed with RI EOHHS on December 1, 2022.

                I.      Title IV-D Records and Facts relating to Public Records
                        Produced by RI EOHHS’s Response to Defendant’s APRA
                        (Rhode Island Access to Public Records) Record Request are
                        Obviously Open to the Public and Obviously Not Privileged



                Subsequent to the aforesaid RI EOHHS issuance of its November 29, 2022

       decision citing loss of jurisdiction, TEXAS Defendant MARY SEGUIN filed a Rhode

       Island Access to Public Records Act (“APRA”) request for Defendant’s Title IV case

       records on December 1, 2022 emailed to then Acting Secretary Ana Novais of RI

       EOHHS.



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                On December 16, 2022, Ms. Lisa Martinelli, Esq., Chief Legal Counsel for RI

       EOHHS sent an APRA response letter to TEXAS Defendant MARY SEGUIN informing

       the Defendant that public records are being produced. However TEXAS Defendant’s

       Title IV records are maintained, Rhode Island Executive Office of Health and Human

       Services by and through its Chief Legal Counsel Ms. Lisa Martinelli confirmed its own

       oversight over Department of Human Services (and Office of Child Support Services) as

       a Title IV Agency. See Exhibit B. Letter from Ms. Lisa Martinelli.

                On December 22, 2022 Rhode Island Department of Human Services and Rhode

       Island Office of Child Support Services produced under Rhode Island’s Access to Public

       Records (“APRA”) public records of Defendant’s Title IV-D case TRAC records that

       show the taking off from the 42 U.S.C. sec. 654a automated data processing system

       Rhode Island’s 12% compound interest when Rhode Island Office of Child Support

       Services prior to Rhode Island sending to and certifying to TEXAS under 42 U.S.C. sec.

       666(14). APRA Public Records TRAC records attached Exhibit C.

                This APRA-produced TRAC records are not only Public records in Rhode Island,

       they also consist of Public Records in TEXAS and consist of Public Records of the

       United States of America.

                As such, there is nothing privileged about Rhode Island EOHHS’s first-hand

       knowledge of the public records being maintained by the Rhode Island Office of Child

       Support Services under the Rhode Island Department of Human Services all of which

       the Rhode Island EOHHS oversees and exercises supervisory responsibility and control

       under 42 U.S.C. sections 651-669.



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                II.   APRA Public Records Show RI EOHHS and Ms. Lisa Martinelli
                      has First Hand Knowledge or Should Have First Hand
                      Knowledge of Facts Documented in the RI EOHHS Produced
                      APRA Public Records Relating to the Rhode Island Office of
                      Child Support Services Practice of Taking Interest Amounts off
                      from the 42 U.S.C. sec. 654a automated data processing system
                      when certifying to TEXAS under 42 U.S.C. sec. 666(14) in 2018,
                      and Putting An Ever-Changing Interest Amount Back on the 42
                      U.S.C. sec. 654a automated system



                The APRA Public Records produced pursuant to Defendant’s December 1, 2022

       APRA Record Request show that RI EOHHS, Chief Counsel Ms. Debra Barclay, and

       Chief Counsel Ms. Lisa Martinelli (and Chief Counsel Ms. Jennifer Buckley) have First

       Hand Knowledge or Should Have First Hand Knowledge of Facts Documented in the RI

       EOHHS-Produced APRA Public Records Relating to the Rhode Island Office of Child

       Support Services’ Practice of Taking Interest Amounts off from the 42 U.S.C. sec. 654a

       automated data processing system when certifying to other states, and in Defendant’s

       case, when certifying to TEXAS under 42 U.S.C. sec. 666(14) in 2018, and Putting back

       the Ever-Changing Interest Amount Back on the 42 U.S.C. sec. 654a automated system

       in the amount of tens of thousands of dollars. Office of Child Support Service’s taking

       the interest amount off the automated system and putting the interest back on the

       automated system is so public and routine that they not only form part of transcripts of

       public hearings in this Title IV proceeding, they also form the basis of written public

       court orders entered in this Title IV case from February 10, 2023 to the present.

                A RI EOHHS Officer testifying to the RI EOHHS’s First Hand Knowledge

       and testifying to Whether the RI EOHHS Knew Or Should Have Known that the Rhode

       Island Office of Child Support Services routinely certifies and submits child support


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       records that entails the removals or adding back on to the system tens of thousands of

       dollars in interest amounts that are documented in the APRA public records produced

       on December 22, 2022, which corroborate with all the information, materials,

       evidence, filings and facts presented during the course of the RI EOHHS Appeal

       Docket# 22-2116 in which NO FORMAL HEARING ever took place, simply and

       straightforwardly complies with DUE PROCESS requirements prescribed by 42

       U.S.C. sec. 666 that 42 U.S.C. sec. 654(20) requires as a condition of Rhode Island’s

       participating in Title IV-D and as a condition of receiving Title IV-A TANF federal

       funding.

                III.   Statutory and Federal Authority

                In order to avoid yet another penalty-incurring violation of 42 U.S.C. sec. 654, the

       RI EOHHS and Ms. Debra DeStefano must produce subpoenaed information and testify

       to facts and any and all first-hand knowledge of the APRA public records that RI

       EOHHS caused to be produced relating to Rhode Island Office of Child Support

       Service’s Practice of taking tens of thousands of dollars of alleged interest amounts off

       the 42 U.S.C. sec. 654a automated data processing system when certifying and sending

       to TEXAS under 42 U.S.C. sec. 666(14) documented in the TRAC records in Defendant’s

       Title IV-D case.

                Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

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       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (20),

       (21)(A), (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d

       at 879. Absent any discretion available to the Secretary to impose a lesser penalty than

       the alternative penalty as outlined in the statute, Rhode Island is liable for the

       statutorily prescribed penalties.1 Congress also enacted several criminal codes


       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
              Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
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       punishing actors, such as the Plaintiffs, who commit federal crimes, including cover up

       of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000). As

       a condition of receipt of any federal funding under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, States must have an approved state plan for child and spousal

       support that meets all the requirements of 42 U.S.C. § 654. Among the prerequisites for

       approval of a Title IV-D Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that

       the State, at the option of the State, impose a late payment fee (‘interest”) on all overdue

       support (as defined in section 666(e) of this title) under any obligation being enforced

       under this part, in an amount equal to a uniform percentage determined by the State

       (not less than 3 percent nor more than 6 percent) of the overdue support, which shall be

       payable by the noncustodial parent owing the overdue support; establish and operate an

       automated data processing and information retrieval system, see 42 U.S.C. § 654(24),

       and a state child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among

       others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, RI EOHHS caused Office

       of Child Support Services to produce APRA Public Records consisting of Title IV Public

       Records showing Rhode Island taking off from the automated data processing system

       tens of thousands of dollars allegedly representing the 42 U.S.C. sec. 654(21)(A)


       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       prohibited 12% compound interest late payment fee “interest” prior to certifying to

       TEXAS and the United States, and showing Rhode Island falsely certified to the

       amount’s accuracy under 42 U.S.C. sec. 666(14) when in fact Rhode Island removed

       significant tens of thousands of dollars (See TRAC records in Exhibit C).

                RI EOHHS is being called as a witness in this Title IV hearing matter to testify to

       the facts, furthermore in its supervisory capacity, relating to the APRA records RI

       EOHHS caused to be produced, and Ms. Debra DeStefano to testify, among others, her

       first-hand knowledge of said facts relating to Office of Child Support Services taking off

       the 42 U.S.C. sec. 654(21)(A) interest from the automated data processing system and

       then putting it back on the system that is corroborated by the APRA Public Records

       produced as a result of RI EOHHS’s response to TEXAS Defendant’s RI APRA public

       records request.

                Defendant reiterates that failure to furnish information regarding the State Plan’s

       and the SDU’s Title IV-D operations relating to the tens of thousands of dollars removed

       from the automated system prior to certifying to Texas and the United States and then

       put back on the system tens of thousands of dollars shown in Defendant’s case file

       public records is penalty incurring and shows the state plan fails to meet all

       requirements under 42 U.S.C. sec. 654. Without an approved state plan, a State may

       lose federal funding under both Title IV-D (child support enforcement) and Title IV-A

       (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alternatively, a State may

       opt for an alternative penalty in lieu of disapproval of their state plan and the

       withholding of federal funds if the State is making a good faith effort to comply with the




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       program’s requirements and the State has submitted a corrective compliance plan. See

       42 U.S.C. § 655(a)(4).

                The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

                The clear and unequivocal statement of the required conditions in the statute

       enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”

                Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States, Rhode Island accepted the agreement terms of regulation under federal control

       or preemption under federal regulation. See Hodel v. Virginia Surface Mining &

       Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

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                Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the witness RI EOHHS, the entity that further supervises the Rhode

       Island Office of Child Support Services, both acting and designated as the State agency

       under the State Plan pursuant to 42 U.S.C. § 654. See United States Congress’s

       publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS

       C-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp

       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

              V. RI EOHHS Has Access to and Has Supervisory Access to Pursuant
       Its Supervisory Control of Rhode Island Office of Child Support Services,
       Title IV-D records related to Defendant Mary Seguin
                Defendant subpoenaed “(1) All records relating to Administrative Appeal Docket

       # 22-2116 CSE ID: 1689817, including notes taken, messages generated and received

       through Microsoft teams meeting at the pre-hearing conference call with Appellant

       Mary Seguin and John Langlois of Rhode Island Office of Chiild Support Services on

       October 5, 2022; (2) All records relating to Mary Seguin.”

                See attached subpoena, Exhibit A.

                The RI EOHHS has pursuant to its supervisory control access to records of Rhode

       Island Office of Child Support Services’ actions in this Title IV-D case’s proceedings

       since 2010 evidence by the entries of orders in this matter prepared and submitted in

       her official and individual capacities, Priscilla Glucksman – they make clear the Office of


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       Child Support Services is one of the State Plan’s key “organizational unit which meets

       such staffing and organizational requirements as the Secretary may by regulation

       prescribe, within the State to administer the plan” under 42 U.S.C. § 654(3), and the

       RI EOHHS has supervisory responsibility over Office of Child Support

       Services, and is a 42 U.S.C. § 654(3) entity itself and is further a 42 U.S.C. §

       654(1) entity in which all requirements of 42 U.S.C. § 654 must be in effect.

                Rhode Island EOHHS’ refusal to comply with the Subpoena to produce Title

       IV-D records relating to the above to the requesting noncustodial parent is a prima

       facie 42 U.S.C. § 654b violation that incurs penalties in this fiscal year under

       42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4), and represents

       complicit cover-up, which penalty-incurring violations the Defendant had reported,

       is reporting and will continue to report to relevant law enforcement authorities at the

       federal and state levels. (Judicial notice is respectfully requested that the Defendant in

       January 2023 reported Office of Child Support’s violations to the Rhode Island Office of

       Attorney General that is further directed by the December 16, 2022 Letter sent by Ms.

       Lisa Martinelli, Esq., Chief Counsel of RI EOHHS, who instead of enforcing the

       requirements of the State Plan as the Attorney General is similarly a political

       subdivision under 42 USC 654(1), opted to reinforce, aid, shield and protect Rhode

       Island political subdivisions’ unlawful activities – this is reported to United States

       authorities). As a condition of receipt of any federal funding under Title IV-D of the

       Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved state plan for

       child and spousal support that meets all the requirements of 42 U.S.C. § 654. Among

       the prerequisites for approval of a Title IV-D Plan are the requirements that the State



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       may only uniformly charge 3-6% simple interest on overdue support, see 42 U.S.C. §

       654(21)(A), and a State must establish and operate an automated data processing and

       information retrieval system without taking computer calculated amounts off and then

       put other numbers back on the system or hardcoding/inputting new numbers computed

       offline onto the system, see 42 U.S.C. § 654(24), and the State must have a state child

       support disbursement unit (SDU) that complies with all the requirements of 42 U.S.C. §

       654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. § 654(27)(A). Rhode Island

       deliberately fails to meet all the requirements, including continuously inputting 12%

       compound interest on overdue support and the Rhode Island Office of Child Support

       Services covers up their noncompliance with accounting fraud inputting into the system

       and taking off from the automated data processing system amounts that are inflated,

       unlawful, and submitting false books of accounts that removed the unlawful inflated

       amounts to the Federal authorities to make it look like Rhode Island is in compliance so

       as to procure federal funding for which Rhode Island is ineligible.

                The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of

       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

                Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by


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       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.

                           A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter on this list are not exhaustive. It is undisputable, among others, that

       Title IV-D penalties were incurred by, Criminal penalties were incurred by, and Title IV-

       D and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                             B. NO IMMUNITY

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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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Case: 23-1978
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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                I.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Executive
                        Office of Health and Human Services, the SDU under the State’s
                        Plan under 42 USC 654, must furnish all subpoenaed
                        information and RI EOHHS Hearing Officer must testify to first-
                        hand knowledge of information related to factual information
                        furnished by Rhode Island Office of Child Support Services that
                        are corroborated by the Title IV-D public records RI EOHHS
                        caused to be produced in response to Defendant’s RI APRA
                        public records request – refusal of which incurs yet another
                        penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merola of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for any and all records relating to her Title IV

                     record information that includes record information relating to the “TRAC

                     notes of 12/6/2021 and 12/7/2021” that records taking interest off the system

                     when sending to Texas then REDACTION, as well as relating to the substance

                     of John Langlois’s audio recorded October 5, 2022 statements regarding

                     “what happened in this case” that discuss Gero Meyersiek’s lawyer Barbara

                     Grady phoning the Office of the Child Support Services that Gero Meyersiek

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                   said yes, he “agreed to waive the $73k or $75k that are in arrears” as of

                   December 6, 2021 and October 5, 2022 which are part of Defendant’s child

                   support case file.

                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Declare that Defendant’s child support file maintained by the Rhode Island

                   Office of Child Support Services under the supervision of RI EOHHS must be

                   produced to the Defendant Noncustodial Parent upon request.

                5. Order a hearing on the herein issues raised in this matter.

                6. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                7. Order testimony and document production by Ms. Jennifer Lynch Buckley

                   who replaced Ms. Lisa Martinelli as they relate to RI EOHHS Agency’s APRA

                   public records production in response to Defendant’s December 1, 2022

                   APRA request sent to RI EOHHS requesting Defendant’s Title IV records.

                8. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 26, 2024


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                                                FOR DEFENDANT

                                                MARY SEGUIN, Pro Se.


                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com



                                          NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F




                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 26, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov, Jennifer.buckley@ohhs.ri.gov and dhs.courtfile@dhs.ri.gov


                                                        _______________________




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                                    Exhibit A
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                                        Exhibit B
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                                   Rhode Island Executive Office of Health and Human Services
                                    Legal Office, Three West Road, Virks Building, 4th Floor, Cranston, RI 02920
                                     phone: 401.462.2326 fax: 401.462.1678




       December 16, 2022

       VIA EMAIL and US Mail: marylive22022@gmail.com

       Ms. Mary Seguin
       2303 Elmen Street
       Houston, TX 77019

       Re: Response to Correspondence dated December 1, 2022

       Dear Ms. Seguin:

       I am responding on behalf of Secretary Novais to your correspondence of December 1, 2022. It
       is my understanding that you have been seeking records related to a matter pending with the
       Office of Child Support Services (OCSS). I have contacted OCSS Chief Legal Counsel Attorney
       Paul Gould and he assured me that records relating to your file will be forwarded to you in the
       next couple of days. Attorney Gould is copied on this correspondence.

       In reply to your correspondence/petition of December 1, 2022, the Executive Office of Health
       and Human Services (EOHHS) and its Appeals Office do not have any documents responsive to
       your request regarding your file with OCSS. You may not be aware that the OCSS is part of the
       Rhode Island Department of Human Services (DHS) and file documents are not commingled
       between agencies. This response is solely on behalf of EOHHS and not any other agency or
       branch of state government. Further, the Appeals Office never received any documents from
       your file from the OCSS when the appeal was pending. When DHS OCSS withdrew the adverse
       action (the Notice of Lien), which gave rise to your appeal, there was no longer an underlying
       case for the Appeals Office to adjudicate, and the appeal was dismissed for lack of jurisdiction.
       (See attached Final Notice of Dismissal and Order).

       If you are seeking an appeal of an Access to Public Records request, that action is governed by
       R.I. Gen. Laws § 38-2-8 and is answered by the Chief Administrative Officer for the agency that
       has custody of the requested records. The Chief Administrative Officer for the DHS OCSS is
       the Director of the Rhode Island Department of Human Services, Acting Director Kimberly Brito
       or you may elect to directly appeal a decision to the Rhode Island Office of the Attorney
       General, 150 South Main Street, Providence, RI 02903.
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       Very truly yours,




       Lisa M. Martinelli, Esq.
       Executive Legal Counsel

       cc: Deb Barclay, Esq., Paul Gould, Esq.
Case: 23-1978
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      23-1967   Document: 00118189824
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                                        Exhibit C
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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                               FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :              Title IV Part D Case under
                                                 :              42 U.S.C. §§ 651-669
       MARY SEGUIN                               :
           Defendant                             :


         DEFENDANT’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA



                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Office of Child Support Services, which is acting on

       behalf of the State of Rhode Island ex. rel. GERO MEYERSIEK, and acting as the “State

       Agency” under the Rhode Island State Plan under 42 U.S.C. § 654, 42 U.S.C. § 654a,

       42 U.S.C. § 654b, 42 U.S.C. § 666 et al., and all applicable state and Federal Laws,

       both civil and criminal, regulating Plaintiffs’ actions and omissions under the legal

       framework of Title IV-D of the Social Security Act. Defendant respectfully

       requests and moves for a hearing on Defendant’s herein Motion to Compel

       Compliance with Subpoena – the Rhode Island Office of Child Support

       Services refuses to respond to and refuses to comply with the Subpoena,

       and filed a motion to quash the subpoena on March 20, 2024 - the

       requested information is further regulated and mandated to be produced

       under the State Plan in compliance under 42 U.S.C. § 654b, therefore those


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       requested documents must be produced by the State within this proceeding

       as well as without judicial compulsion. The Subpoena further summons Kevin

       Tighe, Paul Gould and John Langlois to appear to Court to testify at the hearing

       scheduled in this matter on March 28, 2024 at 10:00 AM.

                   I.     RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
                                     VIOLATIONS OF TITLE IV-D
                                                      AND

                ORGANIZED CRIMINAL COMMISSION OF INTERSTATE FRAUD

                Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (21)(A),

       (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

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       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at

       879. Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the statutorily

       prescribed penalties. 1 Congress also enacted several criminal codes punishing actors,

       such as the Plaintiffs, who commit federal crimes, including cover up of unlawful

       activities.

                Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the State ex. rel. Plaintiff, Rhode Island Office of Child Support

       Services, the State agency under the State Plan pursuant to 42 U.S.C. § 654. See

       United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       C-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp

       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

                Defendant subpoenaed “(1) All records, files, notes, public records, documents,

       films, materials generated in the course of administration and enforcement of relating to

       Defendant Mary Seguin, from 2010 to the present in this Title IV-D Case under the

       Social Security Act; (2) All records relating to Defendant Mary Seguin from 2010to the

       present, including notes and messages taken and generated on October 5, 2022.”

                See attached subpoena, Exhibit A.

                The Rhode Island Office of Child Support Services’ actions in this Title IV-D

       case’s proceedings since 2010 with the entries of orders prepared and submitted in her

       official and individual capacities, Priscilla Glucksman, make clear the Office of Child

       Support Services is one of the State Plan’s key “organizational unit which meets such

       staffing and organizational requirements as the Secretary may by regulation prescribe,

       within the State to administer the plan” under 42 U.S.C. § 654(3).

                Rhode Island Office of Child Support Services’ refusal to comply with

       the Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in

       this fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4),

       which penalty-incurring violations the Defendant had reported, is reporting and will

       continue to report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Defendant in January 2023 reported

       Office of Child Support’s violations to the Rhode Island Office of Attorney General, who

       instead of enforcing the requirements of the State Plan as the Attorney General is

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       similarly a political subdivision under 42 USC 654(1), opted to reinforce, aid, shield and

       protect Rhode Island political subdivisions’ unlawful activities – this is reported to

       United States authorities). As a condition of receipt of any federal funding under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved

       state plan for child and spousal support that meets all the requirements of 42 U.S.C. §

       654. Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support, see

       42 U.S.C. § 654(21)(A), and a State must establish and operate an automated data

       processing and information retrieval system without taking computer calculated

       amounts off and then put other numbers back on the system or hardcoding/inputting

       new numbers computed offline onto the system, see 42 U.S.C. § 654(24), and the State

       must have a state child support disbursement unit (SDU) that complies with all the

       requirements of 42 U.S.C. § 654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. §

       654(27)(A). Rhode Island deliberately fails to meet all the requirements, including

       continuously inputting 12% compound interest on overdue support and the Rhode

       Island Office of Child Support Services covers up their noncompliance with accounting

       fraud inputting into the system and taking off from the automated data processing

       system amounts that are inflated, unlawful, and submitting false books of accounts that

       removed the unlawful inflated amounts to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure federal funding for which Rhode Island

       is ineligible.

                The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of



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       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

                Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by

       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.




            A. THIS PROCEEDING IS GOVERNED by 42 U.S.C. § 654 et al.
       UNDER TITLE IV-D THAT REGULATE ALL POLITICAL SUBDIVISIONS OF
       THE STATE OF RHODE ISLAND



                The Political Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1),

       namely by and through the Office of Child Support Services’ Lead Legal Counsel

       Paul Gould, Esq., made several claims before this Court under Oath throughout this

       Title IV-D case hearings and proceedings that the laws of Congress do not matter,

       only this court orders matter and they do not need to conform to

       Congressional prescribed federal statutes. E.g., See Exhibit B Transcript of

       February 2, 2024 Hearing in this matter. Rhode Island is wrong and Paul

       Gould is wrong, and both know it. That flagrant lawlessness is at the heart

       of the violations of federal law under color of state law in this interstate

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       Title IV-D case. Rhode Island participates in Title IV-D, and in so participating

       through its State Plan, must comply with Title IV-D. See, Hodges v. Shalala,

       121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003). See New York v. United States, 505 U.S. at 161,

       Congress, under the Commerce Clause, may offer the States a choice of

       regulation under federal control or preemption under federal regulation.

       See Hodel v. Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S.

       264, 288 (1981). The Title IV-D statute expressly provides that compliance

       with 42 U.S.C. sec. 654, and compliance with the automated data processing

       system and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. § 654(16), (24)(27)A. The clear and unequivocal statement of the

       required conditions in the statute enabled Rhode Island to "exercise [her]

       choice knowingly, cognizant of the consequences of [her] participation."

       See Dole, 483 U.S. at 207 (citations omitted); See South Dakota v. Dole, 483

       U.S. 203, 206 (1987). The textual language of 42 U.S.C. § 654(1) states,

                “A State plan for child and spousal support must—
                (1)    provide that it shall be in effect in all political subdivisions of
                       the State”



                The facts and established law thus make it crystal clear all political subdivisions

       of Rhode Island, including the Rhode Island Department of Human Services, the

       Office of Child Support Services AND the Rhode Island Judiciary political

       subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services,


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       the State Plan’s SDU unit, flagrantly and expressly states in this Title IV-D

       case that Title IV-D statute and Congressionally prescribed federal statutes

       do not apply in this case nor in Rhode Island, the State of Rhode Island’s

       political subdivisions have flagrantly flouted 42 USC sec. 654 and then

       adjusted and tampered with the automated data processing system

       accounting to defraud the United States of federal funding, and to defraud

       the Defendant of her Texas properties.

                Therefore the Defendant respectfully reminds all participants involved in this

       Title IV proceeding and gives notice to the applicable State political subdivisions (e.g.,

       Rhode Island Judiciary) and agencies, including the SDU under the State Plan under 42

       U.S.C. § 654(1), e.g., the Rhode Island Office of Child Support Services, that

       this yet again noncompliance by the State of Rhode Island with the Subpoenaed

       information egregiously constitutes yet another of the many numerous failures of Rhode

       Island agencies and its State Plan during this fiscal year to comply with the

       requirements of section 654b, as well as 654, 654a and 666 of Title IV which shall be

       considered yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year, that is

       clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up to 30

       percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether

       a penalty is imposed under this paragraph with respect to the failure). (ii)

       The term “penalty base” means, with respect to a failure of a State to

       comply with a subparagraph of section 654(24) of this title during a fiscal



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       year, the amount otherwise payable to the State under paragraph (1)(A) of

       this subsection for the preceding fiscal year.

                Additionally, the deliberate noncompliance motivated by cover up makes clear

       the State knowingly and intentionally operates an illegal plan, the State knows Rhode

       Island does not have an approved state plan under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, and therefore should lose federal funding under both Title IV-D

       (child support enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42

       U.S.C. § 602(a)(2).

                                                   B. FRAUD

                In this Title IV case, serial noncompliance, motivated by fraud, and their

       resulting incurred penalties, both civil and criminal, accrued since the initiation of this

       Title IV case fourteen years ago in 2010, upon Plaintiff Gero Meyersiek’s

       application for services under Title IV through his own private attorney,

       Barbara Grady, whose former law firm partner and diseased husband Paul

       Dugan, was himself a former Senior Counsel of the Rhode Island Office of

       Child Support Services, one of the key Title IV-D agencies under Rhode

       Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance

       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Barbara Grady

       through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal

       funding reimbursement and federal funding Incentive Payment payouts

       (658a) worth hundreds of millions of dollars under the Title IV Program to

       the Secretary and Department of Health and Human Services, among

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       others. Upon information and belief, the Plaintiff Gero Meyersiek and

       Barbara Grady and the Rhode Island Office of Child Support Services have a

       series of unlawfully obtained “12% compound interest” money receipt

       sharing arrangements involving the fraudulent procurement through the

       Title IV framework of exorbitant 12% compound interest interstate

       targeting Defendant’s Texas properties on overdue support enabled

       through accounting fraud, among others – this arrangement involving

       interstate defraud of the Texas Defendant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode

       Island Office of Child Support Services discussing in great detail at length

       with Barbara Grady the agency’s fraudulent removal from the 42 U.S.C. §

       654(24), 42 U.S.C. § 654(27) and 42 U.S.C. § 654a mandated automated data

       processing system of 12% compound interest when sending to Texas in 2018

       thus creating fraudulent books of accounts under 42 U.S.C. §

       666(14)(A)(ii)(I) and (II) fraudulently certifying to Texas via wire and via

       mail inaccurate support due accounts – discussions of this scheme further

       violated the Defendant’s privacy rights, that are documented in the TRAC

       record of the Defendant’s Title IV case file for December 2021 recording the

       agency’s discussions with Barbara Grady at length regarding taking interest

       off when sending to Texas, and keeping it off the system when

       communicating to Defendant that Gero Meyersiek waived interest, and then

       putting interest back on the system after they defrauded the Defendant

       inducing the Defendant to payoff support that comprised of the principle in

       one lump sum of $104,185.98 in consideration of Gero Meyersiek waiving

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       interest – the agency discussing its illegal and criminal enforcement

       information with Barbara Grady is in itself a violation of 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the parties, such as this Texas

       Defendant, including—

                (A)safeguards against unauthorized use or disclosure of information

       relating to proceedings or actions to establish paternity, or to establish,

       modify, or enforce support.

                See Exhibit B. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as EXHIBIT B.

                Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Defendant has the protected right to be furnished under Subpoena with all

       TRAC records in Defendant’s Title IV-D case file from 2010 to the present to establish

       the accuracy of the alleged Rhode Island computations mandated to be performed by

       the automated data processing system, but has instead been hard-programmed

       numbers created offline that are then manually input into the automated data

       processing system several times, thus fabricating several different Rhode Island-

       certified false books of accounts of amounts due transmitted by mail and by wire to

       Texas and the Texas Defendant and to the United States for the purposes of procuring

       federal funding under Title IV-D and Title IV-A that violate Federal and Texas State civil

       and criminal codes. The Rhode Island Office of Child Support Services refuses to



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       produce any TRAC records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018,

       2019, 2021 January to November, 2023 and 2024.

                This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a violation of 42

       U.S.C. 654(27) that counts as a penalty in the many violations in fiscal year 2021 alone

       which exceeds 30% of the penalty base in 2021 – and that’s just civil penalties under

       Title IV – numerous other federal criminal and civil violations incurring additional

       penalties are applicable, including Texas criminal and civil code violations.

                                            C. 42 U.S.C. § 654b(4)

                Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely

       information on the current status of support payments under an order

       requiring payments to be made by or to the parent.”

                Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from 2010

       to the present must be furnished. Information relating to the removal of any alleged

       computed online or offline related to 12% compound interest from the automated data

       processing system in 2018 and at any and all times from 2010 to the present must be

       furnished. Information relating to the waiver by the Plaintiff by and through his private

       attorney Barbara Grady of the 12% compound interest that was represented to

       Defendant as the $0.00 showing under interest calculated by the automated data

       processing system in Defendant’s case file on December 6, 2021 must be furnished.

       Information relating to the Rhode Island Office of Child Support Services calculated

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       total due showing $92,214,56 calculated by the automated data processing system in

       Defendant’s case file on December 6, 2021 that calculates arrears from 2010 must be

       furnished. See attached hereto December 6, 2021 screen shot of the Defendant’s

       online OCSS account showing the calculated amounts of which is mandated by Title

       IV-D to be populated by the automated data processing system as EXHIBIT C.

       Information relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was taken off

       the system from 2010 to the present. Information relating to the interest put back on

       the automated data processing system in 2021 after Defendant accepted the

       $104,185.98 payoff number given by Office of Child Support Services by wire via email

       must be furnished. Information relating to how $104,185.98 was computed by the

       automatic data processing system on December 7, 2021 must be furnished, when the

       automated data processing system calculated $92k just the day before on December 6,

       2021 must be furnished. Information relating to how $75,658.00 was calculated by the

       automated data processing system on March 3, 2022 that was then issued to Texas to

       lien Texas properties by Mail and by wire must be furnished. And this is not exhaustive

       – see Subpoena attached hereto as Exhibit A.




             D. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
            VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
        PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through POLITICAL
           SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT INCLUDE
        CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE CRIMINAL AND
              CIVIL CODES UNDER FEDERAL LAWS AND TEXAS LAWS)




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                This Court took judicial notice on February 10, 2023of the issuance of two Orders

       issued by Judge McCann in 2012. Magistrate Monaco clarified at the hearing on March

       6, 2023 he did NOT take judicial notice of the contents of the orders, only the issuance

       of the orders. See attached transcript of March 6, 2023 hearing. Exhibit D.

                Those 2012 orders were issued by Judge McCann of the Rhode Island Family

       Court, a political subdivision of the State, in which the State Plan must be in effect under

       42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode Island Family

       Court and its justices under the State Plan MUST comply with all provisions

       of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear interest on

       overdue support must be between 3-6% simple interest. However, Judge

       McCann knowingly ordered 12% compound interest in this interstate Title

       IV-D on overdue support to be illegally put into the State Plan’s automated

       data processing system mandated under U.S.C. § 654a and U.S.C. § 654b in

       knowing violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island

       Office of Child Support Services today claims 12% compound interest was

       what Judge McCann ordered, undisputedly making Judge McCann an

       accomplice. The knowing violation of the political subdivision Rhode Island Family

       Court by and through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud

       on the court and under color of state law violates 42 U.S.C. § 654(24), 42

       U.S.C. § 654a and 42 U.S.C. § 654b and incurs FOUR failures and penalties

       in this case alone for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42

       U.S.C. § 655(a)(5), through just the State family court political subdivision

       alone.



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                In 2024, the Rhode Island political subdivision of the family court by

       and through Magistrate Nahabedian flagrantly declared at the February 2,

       2024 hearing in this matter that the State knowingly orders to be put into

       the automated data processing system 12% compound interest in Rhode

       Island under color of state law and through fraud on the court in knowing

       violation of the Rhode Island certified approved State Plan that mandates 3-

       6% simple interest under 42 U.S.C. § 654(21)(A), with her actions

       representing four failures and penalties in fiscal year 2024. See transcript

       Exhibit F. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law. See Exhibit E,

       Court Reporter Certified Transcripts of February 2, 2024 Title IV case

       hearing in this matter.

             E. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


                In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law Rhode

       Island State revenue through the Social Security Act in welfare cases, Rhode Island

       Office of Child Support Services adopted the Official Policy not to pursue

       interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with

       other states – EXHIBIT F Attached hereto Rhode Island Office of Child


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       Support Services Official Written Policy that was produced by RI OCSS

       during February 10, 2023 court ordered discovery. This policy document

       evidences the official policy of criminal and civil fraud by the State of Rhode

       Island’s political subdivisions applicable under 42 U.S.C. § 654(1).

                This policy evidences the routine extortions of noncustodial parents

       through the enforcement of 12% compound interest in-state under color of

       state law that incur penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the

       State’s illegal extortion of 12% compound interest under color of state law

       by adopting an official policy not to pursue interest in out of state interstate

       cases that incurs penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences accounting fraud concealing 12% compound

       interest applied to certain selected out-of-state cases such as the

       Defendant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and

       Title IV-A reimbursement to the United States.

                The pattern of agency discussions and considerations of its illegal

       and criminal enforcement information with Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false



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       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the Texas Defendant.

                In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not

       be pursued in this interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by

       removing the 12% compound interest from the automated data processing

       system in the anticipated event Rhode Island sends it to Texas authorities

       and Federal authorities for enforcement under 42 U.S.C. 666 (14). Priscilla

       Glucksman schemed with Barbara Grady and Gero Meyersiek to orally move for interest

       in order to minimize a paper trail of paper filings in this interstate Title IV case so that a

       written record of the ordered 12% compound interest is buried within a one line of the

       order, with no documentation of a written paper motion that would otherwise contain or

       omit the State’s legal justification moving for 12% compound interest in this interstate

       Title IV-D case. In 2012, Paul Dugan was alive and participated in the arrangement.

       The symbiotic pliant Judge McCann readily complied under color of state law, knowing

       fully well 12% compound interest is not enforceable in any state and definitely not

       enforceable in Texas under Title IV-D, and knowing that Rhode Island Office of Child

       Support Services intended to remove the interest amount if and when Rhode Island

       sends to Texas for collection while falsely certifying the total amount due and then put


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       the interest back on the system and then file a subsequent motion to set interest arrears

       back in Rhode Island through the symbiotic pliant family court political subdivision of

       the State of Rhode Island before a symbiotic pliant judge like Judge McCann,

       committing interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO,

       wire fraud, mail fraud, tampering with government records and accounting fraud. This

       list of criminal codes violated by the Plaintiffs is not exhaustive. Defendant shall

       present a list of the violated federal criminal codes later in this motion under Section IV

       of this motion.

             F. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023,
       2024 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



                Title IV-A TANF benefits are conditioned upon the State’s compliance with all

       requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based on

       violations in this case alone, Rhode Island has been and continues to be ineligible and

       the State is receiving funds through false representations and alteration of government

       records to procure federal funding. From 2012 to 2024, Defendant has the information

       to aver that the State of Rhode Island’s political subdivisions under 42 U.S.C. § 654(1)

       sent by mail and by wire false accounts of amount due and of liens that contained Title

       IV-D violative illegal and unenforceable 12% compound interest fraudulently

       misrepresented as “child support due” to multiple institutions, including banks, credit

       bureaus to Texas in violation of Texas Penal Codes that carry additional fines and jail


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       time. Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently concealed

       through removal and other false accounting itemizations the 12% compound interest

       when sending to United States Department of Health and Human Services for federal

       incentive payments payouts and federal funding payments under Title IV-D and Title

       IV-A.

                The total Title IV penalties incurred, disgorgement due back to the United States

       for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred by Rhode

       Island in this case alone from 2012 to 2024 run upwards of hundreds of millions of

       dollars. From 2012 to 2024, Rhode Island’s Title IV-D political subdivisions conspired

       to violate, in addition to 42 U.S.C. 654(21)(A), among others, several requirements

       under 42 U.S.C. 654 whose plain textual requirements requires the State Plan MUST:

                (7)provide for entering into cooperative arrangements with appropriate courts

       and law enforcement officials and Indian tribes or tribal organizations (as defined in

       subsections (e) and (l) of section 5304 of title 25) (A) to assist the agency administering

       the plan, including the entering into of financial arrangements with such courts and

       officials in order to assure optimum results under such program, and (B) with respect to

       any other matters of common concern to such courts or officials and the agency

       administering the plan;

                (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

                (14)



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                (A)

                comply with such bonding requirements, for employees who receive, disburse,

       handle, or have access to, cash, as the Secretary shall by regulations prescribe;

                (B)

                maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in accounting or

       operating functions which would permit them to conceal in the accounting

       records the misuse of cash receipts (except that the Secretary shall by regulations

       provide for exceptions to this requirement in the case of sparsely populated areas where

       the hiring of unreasonable additional staff would otherwise be necessary);

                (15)provide for—

                (A)

                a process for annual reviews of and reports to the Secretary on the State program

       operated under the State plan approved under this part, including such information as

       may be necessary to measure State compliance with Federal requirements for expedited

       procedures, using such standards and procedures as are required by the Secretary,

       under which the State agency will determine the extent to which the program is

       operated in compliance with this part; and

                (B)

                a process of extracting from the automated data processing system required by

       paragraph (16) and transmitting to the Secretary data and calculations concerning the


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       levels of accomplishment (and rates of improvement) with respect to applicable

       performance indicators (including paternity establishment percentages) to the extent

       necessary for purposes of sections 652(g) and 658a of this title;

                (16)

                provide for the establishment and operation by the State agency, in accordance

       with an (initial and annually updated) advance automated data processing planning

       document approved under section 652(d) of this title, of a statewide automated data

       processing and information retrieval system meeting the requirements of section 654a

       of this title designed effectively and efficiently to assist management in

       the administration of the State plan, so as to control, account for, and monitor all the

       factors in the support enforcement collection and paternity determination process

       under such plan

                (20)

                provide, to the extent required by section 666 of this title, particularly

       the Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that section,

       and (B) shall implement the procedures which are prescribed in or pursuant to such

       laws.

                (23)

                provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services under the

       plan and otherwise, including information as to any application fees for such services

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       and a telephone number or postal address at which further information may be obtained

       and will publicize the availability and encourage the use of procedures for voluntary

       establishment of paternity and child support by means the State deems appropriate




                                        G. COVER UP AND FRAUD

                In 2012, the child in question was 12 years old. From 2012 to 2018, Defendant

       does not have any records (due to several prior Title IV-D information denials by the

       Rhode Island Office of Child Support Services for purposes of cover-up, that further

       incurred penalties and fines for each and every information denial under 42 USC

       654(24) and 42 USC 654(27) and 42 USC 655) of Rhode Island’s political subdivisions

       under 42 USC 654(1) sending to Texas or to federal authorities the support amount for

       enforcement under 42 USC 654(7) or 42 USC 666(14). Obviously, sending the support

       amount in the automated data processing system without the removal of the interest

       from the system exposes the illegal 12% compound interest disallowed under 42 USC

       654(21)(A), which would incur Title IV-D and Title IV-A penalties, disgorgement of

       ineligible federal funds and incur criminal fines. It is for this very reason that the Rhode

       Island political subdivisions adopted the written official policy not to pursue interest in

       interstate cases, that moreover runs afoul of 42 USC 654(21)(A) plain language that the

       State Plan must apply UNIFORM interest on overdue support, not State-targeted 0% in

       some interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to the

       Defendant in Texas, each transmission would constitute patterns of federal crimes,

       including Mail Fraud, since the 12% compound interest in this Title IV-D case is illegal

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       and fraudulent and unenforceable. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions under 42

       USC 654(1) also transmitted by wire and by mail to the United States Department of

       State a hold on the renewal of Defendant’s passport, again omitting and concealing the

       principle amount as well as the fact that the State attempts to enforce interstate an

       illegal 12% compound interest on overdue support. This scheme is in violation of 42

       USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions made the

       illegal decision between top management employees of the Rhode Island SDU unit,

       dressed up as “administrative decision,” to illegally and criminally remove the illegal

       12% compound interest from the automated accounting data processing system that

       clearly is required to prevent activities “to conceal in the accounting records”

       Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C. § 654(14).

       See TRAC records attached hereto in Exhibit B.

                Upon information, Rhode Island routinely removes the illegal 12% compound

       interest from the automated data processing system when reporting to the Secretary of

       the United States Department of Health and Human Services in violation of 42 USC §§

       654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal criminal

       codes. See TRAC records attached hereto in Exhibit B of the routine practice of illegal

       accounting adjustments of the automated data processing system in the hundreds of

       thousands of dollars in December 2021 alone. In this case alone, the aforesaid

       accounting fraud and record tampering violations motivated by theft of the Title IV-D

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       and Title IV-A programs and defraud of the Texas Defendant targeting Texas properties

       occurred in 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and

       2024.

                                      II.    FACTUAL ALLEGATIONS




                The child in question was emancipated in April 2018 and is now an adult 24 years

       old. Therefore accrued “interest on overdue support” stopped in April 2018.

                Due to the hold placed on Defendant’s passport renewal, Defendant discovered

       on and around November 2021 there is alleged support due. Defendant retained a

       lawyer in Texas to contact the Rhode Island Office of Child Support Services to obtain

       information on the amount due. The Rhode Island Office of Child Support Services

       refused to provide information to Defendant’s Texas attorney, in violation of 42 USC §§

       654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and concealed the fact that the

       agency illegally removed the illegal 12% compound interest amount from the automated

       data processing system from 2018 to December 2021. To this day, the Rhode Island

       Office of Child Support Services covers up and refuses to furnish information to the

       Defendant the amount of interest that was removed from the system. Continuing

       refusal to furnish requested information motivated by cover up is in violation of, inter

       alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of

       Child Support Services and Barbara Grady and Gero Meyersiek schemed to deprive

       Defendant of counsel that would facilitate defrauding the Defendant and to conceal

       from Texas counsel the accounting fraud relating to the illegal 12% compound interest

       that is unenforceable in Texas as well as legally unenforceable in Rhode Island (however

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       routinely enforced through fraud under color of state law) under Title IV-D, and refused

       to deal with Defendant’s Texas attorney, fraudulently claiming it is the State’s policy to

       deal with the noncustodial parent directly. This is obviously a blatant lie because the

       TRAC record shows Kevin Tighe initiating phone calls directly to Barbara Grady, Gero

       Meyersiek’s private attorney (and not contacting Gero Meyersiek directly) to discuss

       enforcement actions in detail involving the Rhode Island Office of Child Support

       Service’s fraudulent accounting that entailed the agency’s removal in 2018 (when it

       planned to send to Texas) of the interest from the automated system in December 2021.

       This is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27). The Defendant avers and declares, under oath, the following facts:

                1. On December 6, 2021, the State/Plaintiff showed the Defendant her OCSS

                   online account that showed $0.00 under interest. Further the online account

                   that is populated by the automated data processing system shows $93,214.56

                   Total Due, and $0.00 under Interest on December 6, 2021, published online

                   in the State’s OCSS online account for Defendant, as of November 30, 2021.

                   See attached Screen Shot attached hereto this motion. (The Office of Child

                   Support Services told the Defendant that the $0.00 under interest shows that

                   Gero Meyersiek waived interest. The Office of Child Support Services

                   deliberately misrepresented by omission that the interest amount was taken

                   off the system illegally in 2018 and that the interest amount was calculated

                   pursuant to an illegal 12% compound interest that is unenforceable under

                   Title IV-D. Therefore in reality there was no consideration given to the

                   Defendant, as falsely represented, calculated to induce the Defendant into



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                   paying a large lump sum amount. The Office of Child Support Services

                   brokered a settlement deal between the Defendant and Gero Meyersiek where

                   Meyersiek waived interest in consideration of the Defendant paying a lump

                   sum payoff amount of $104,185.98 from Texas, which the State, under its

                   authority, agreed to the deal with the Defendant on December 7, 2021, having

                   calculated the $104,185.98 figure by and through its accountant(s) manually

                   offline and not by the mandated automated data processing system, and

                   actively brokered the terms of the deal itself, namely, Deputy Legal Counsel

                   Kevin Tigue who reports to Mr. Paul Gould, the attorney of record who filed

                   the State’s/Plaintiff’s Motion to Set Arrears. The Defendant requests this

                   Court to take notice of the fact that the State also failed to provide this Court

                   as well as to the Defendant an accounting now and upon Defendant’s request

                   at the time in 2021 of how this figure $104,185.98 was calculated nor how the

                   alleged $81k is calculated. This is in violation of, inter alia, 42 USC §§ 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official policy

                   and authority reported to the Office of the U.S. Commissioner Tangular Gray

                   of the Office of Child Support Enforcement of the U.S. Department of Health

                   and Human Services.

                3. The Defendant in Texas good faith accepted and paid the $104,185.98 on

                   December 7, 2021.

                4. From December 6, 2021 to the present, the State/Plaintiff has represented to

                   the Defendant at least seven (7) sets of books of very large arrears and interest

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                calculations, which the State/Plaintiff has either failed or refused to provide

                the Defendant with requested documentation of debt validation and

                verification records supporting the State’s calculation (in violation of, inter

                alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                (27)):

                   a. $93,214.56 Total Due, and $0.00 under Interest on December 6, 2021,

                         published online in the State’s OCSS online account for Defendant, as

                         of November 30, 2021. (Screenshot of this taken on December 6, 2021

                         is attached to this Motion).

                   b. $104,185.98 Total Payoff Amount on December 7, 2021.

                   c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                         OCSS rescinded this figure based on alleged unspecified errors on

                         October 14, 2022.

                   d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s (staff

                         counsel who also reports to Mr. Paul Gould, who was also the attorney

                         of record for the State at the Appeals Hearing) representation at the

                         agency RI EOHHS (Rhode Island Executive Office of Human and

                         Health Services) administrative appeal Pre-hearing held on October 5,

                         2022.

                   e. $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022.




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                      f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                          online account, as of November 30, 2022. A screenshot taken on

                          December 3, 2022 thereof is attached to this Motion.

                      g. $81,652.46 on the Motion as of December 22, 2o22.

                5. Maintaining at least seven books of account in Defendant’s case file, while

                   obstructing the Defendant’s 42 USC 654b and all Title IV-D protected due

                   process right to documents of accounting validation and verification depriving

                   the Defendant’s right to meaningfully refute the State’s claim is unlawful,

                   covers up the illegal 12% compound interest that is also ballooned through

                   several fraudulent manual accounting calculations NOT USING the Title IV-D

                   mandated automated data processing system. There are pending breach of

                   contract, fraud and Civil RICO et al actions in Federal Courts regarding the

                   conduct of the Plaintiffs.

                6. The Defendant respectfully requests the Court to take notice of the fact that

                   the alleged interest published online by the State/Plaintiff as of November 30,

                   2022 that states the very specific number of $75,623.71 ballooned to

                   $81,652.46 as of December 22, 2022, by a whopping $6,028.75 in a matter of

                   22 days as stated in the State’s/Plaintiff’s Motion, is usurious, and clearly

                   shows the falsity of the State’s/Plaintiff’s Motion, paragraph numbered 8 that

                   says, “That, because interest only accrues on principal balances and not on

                   interest balances, the interest balance owed on arrears has not changed since

                   the principal balance was paid in full on December 9, 2021.” This is in



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                   violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                   (21), (23), (24), (27).

                7. The Defendant avers it is nigh on impossible for the Defendant to be able to

                   respond to the State’s/Plaintiff’s Motion and their unverified and unvalidated

                   seven (7) books of accounts represented by the State/Plaintiff since December

                   6, 2021 to as of December 22, 2022, where the State’s/Plaintiff’s calculations

                   of very large amounts have been clearly either refuted and rescinded or have

                   shown to be inaccurate or false. This is in violation of, inter alia, 42 USC §§

                   654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                8. The Defendant respectfully requests the Court to take notice of the fact that

                   after the Defendant accepted the deal in Texas and paid the payoff amount of

                   $104,185.98 from Texas on December 7, 2021, the State/Plaintiff sent to the

                   Defendant in Texas by Mail a Notice of Intent to Lien dated March 3, 2022 for

                   $75,638.00 without any information justifying the fraudulent interest lien on

                   Defendant’s Texas properties – the $75,638.00 amount on the fraudulent lien

                   on Defendant’s Texas properties was deliberately calculated manually then

                   hard input into the automated data processing system in violation of Title IV-

                   D. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                   (16), (20), (21), (23), (24), (27). The Defendant appealed this fraudulent lien

                   to the Appeals Office of Rhode Island Executive Office of Health and Human

                   Services (“RI EOHHS”), a political subdivision of the State of Rhode Island

                   applicable under 42 USC 654(1), on April 1, 2022. Throughout the

                   procedurally defective appeals process where the Defendant was denied by the


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                   State/Plaintiff to access her case file, the State/Plaintiff refused or ignored the

                   Defendant’s over ten(10) record requests for the legal and accounting basis of

                   the $75,638.00 lien. Each record information denial is in violation of, inter

                   alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                   (27). The Defendant also submitted to the Appeals Office records of the

                   written email advisement by the State/Plaintiff that “accounting says” to pay

                   $104,185.98 and records of the Defendant’s bank wire transfer payment. The

                   Appeals Office continued the hearing for the maximum 3 times due to the

                   State/Plaintiff’s refusal to comply with discovery that would render the

                   proceeding procedurally defective. Paul Gould and John Langlois were listed

                   as representing the State. Their collective violations incur penalties and fines

                   under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                   (23), (24), (27), 655, 658a, Title IV-A. To resolve the discovery issues, the

                   Executive Hearing Officer (“EHO”), Debra DeStefano, scheduled a telephonic

                   Prehearing Conference on October 5, 2022, and only when told by the EHO

                   the burden of proof lies on the State/Plaintiff to show arrears are due (as

                   applies here), did John Langlois (who attended the Prehearing Conference)

                   state the following, which the Defendant in Texas recorded as a party of the

                   call:

                “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.




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                Langlois: The reason why I asked earlier whether Mary spoke to Karla after she

       made the payment was because there was a change of circumstances right after that. I

       don’t know if anyone in my agency had ever explained that to Mary.

                Seguin: Wait a minute, wait a minute,

                EHO: Wait Mary, I know what you asked for, let me get to what John just said, so

       John, you said there was a change in circumstances subsequent to her making a

       payment but before the notice of lien went out?

                Langlois: Yeah.

                EHO: OK, so…

                Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

                EHO: OK?

                Seguin: Including what was on the screenshot, was that a misunderstanding??

                Langlois: Can I speak without being shouted over?

                Seguin: I am flabbergasted, really.

                Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released and

       what does she have to do to release her passport, they put her in touch with Karla who

       gave her the $104,185.98 number. Where that number came from, was one of our

       attorneys contacted the custodial parent, Gero Meyersiek, so we contacted his attorney,

       it wasn’t me, it was someone in my office, and said if she’s willing to make a $104K to

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       pay off the principle, would you agree to waive the $73K in interest? He said yes. So

       Karla notified Mary that if she paid the $104K, it would be paid in full because he was

       willing to waive the interest and accept just the principal. What happened was the day

       after Karla spoke to Mary to wire in the $104K the attorney for Mr. Meyersiek contacted

       us again and said he changed his mind, please put the interest back on the system, so we

       did. So the number that was given to her on the day it was given to her was correct, the

       $104K, because he was waiving the interest, but then changed his mind, so we put the

       interest back on the system, because he was waiving the interest, and that interest was

       put back on the system and that’s why the system is now saying she owes $73K. That’s

       why in March when the system saw that she had some sort of personal injury insurance

       in the system, our system was showing she owed $73K so we issued the lien. But that

       was what happened, he changed his mind the next day and that’s what messed up the

       numbers. So that’s how all this happened, it was a pure misunderstanding, I don’t know

       whether anyone has ever explained that to Mary how that happened.

                EHO: OK, Mary, did anyone ever explain that to you before?

                Seguin: No. No one ever explained any of that. This is why I am asking for my

       case file, I think this is more basis to ask for my entire case file from 2020. It’s news to

       me for example and its new information to me that your office’s lawyer would not talk to

       me directly but would be picking up the phone and calling the attorney for the custodial

       parent. And then not saying you were doing this deal. I never offered $104K. You had

       determined this number, and that’s why I am looking for documentation as to whether

       this is something you guys do in every case.




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                EHO: OK, John, are you intending to submit then, the documentation showing

       the full balance, which would include the principle and the interest before she paid the

       $104k, and then what happened after, you’re prepared to submit documentation to

       show everything that you said just happened.

                Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And then

       when we put the interest back on the system.

                EHO: And you’re going to testify as to why it all occurred, I mean basically what

       you just told us.

                Langlois: Yes.

                Seguin: But the screenshot on December 6th showed $93K.”

                A true copy of the recording evidence has been submitted by the Defendant to

       this court, a Rhode Island political subdivision under Title IV-D proceeding in June

       2023 and in February 2024.

                However, instead of going forward with the testimony and providing the alleged

       debt validation and verification accounting records promised by John Langlois to the

       EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the time on December 1,

       2022, the State/Plaintiff opted to rescind the Notice of Lien that states there are

       unspecified errors on October 14, 2022, and emailed the RI EOHHS Appeals Office that

       the State/Plaintiff will litigate the issue in Family Court. This showed the intent of the

       State/Plaintiff to deprive the agency Appeals Office of jurisdiction by withdrawing the

       enforcement instrument that vests the Appeals Office’s jurisdiction by regulation, in the

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       clear hope of a more favorable outcome to the State/Plaintiff, in the hopes of symbiotic

       and pliant judge shopping, in the hopes of getting a judge like McCann who ordered the

       illegal and unenforceable 12% compound in a Title IV-D case to rubber stamp the

       fraudulent 12% compound interest arrears due, and thereby needlessly increasing

       litigation. Mr. Paul Gould is the co-counsel of record for the State/Plaintiff in the RI

       EOHHS agency appeal. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10),

       (14), (15), (16), (20), (21), (23), (24), (27), 655, 658a.

                9. The State’s/Plaintiffs’ actions and the State’s/Plaintiff’s Motion needlessly

                   extending the agency appeal to Family Court litigation and obstructing

                   Defendant’s discovery rights for debt validation and verification as well as

                   documentation of the Plaintiffs’ waiver of interest are violative of Family Ct.

                   R. Dom. Rel. P. 11 and are in violation of, inter alia, 42 USC §§ 654a, 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in

                   criminal violation of 18 USC § 666 and a scheme to commit fraud on the court

                   and interstate fraud through unenforceable Title IV-D orders that appear to

                   be routinely issued by pliant Title IV-D judges like Judge John McCann III

                   and Magistrate Susan Nahabedian.

                10. Due to the State’s/Plaintiff’s conduct of obstructing the Defendant’s right to

                   access debt validation and verification records of publicly noticed liens of

                   alleged arrears issued by the State/Plaintiff throughout the agency appeal, the

                   Defendant filed an Access to Public Records (“APRA”) request to the then

                   Secretary Ana Novais of the RI EOHHS that manages the State/Plaintiff




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                   agency OCSS. These are all political subdivisions of the State of Rhode Island

                   under 42 USC 654(1).

                11. The RI EOHHS Office in its management capacity required the State/Plaintiff

                   OCSS to respond to the APRA request, but even then the State/Plaintiff

                   denied the Defendant’s APRA request for accounting records, again

                   refused to release the requested debt validation accounting records, but

                   released the Case History Tracking records in the Defendant’s case file, which

                   showed entries made by Kevin Tigue and RI OCSS staff between December 6,

                   2021 to April 2022 of activity that corroborated John Langlois’s

                   representations of taking interest off the system, interest waiver at the agency

                   Prehearing Conference on October 5, 2022 that is outlined above in

                   paragraph 10, then putting interest back on the system after Defendant

                   accepted the offer in Texas, and performed on the contract in Texas paying off

                   all due support from Texas, through Defendant’s Texas bank account, namely

                   Texas properties. Plaintiffs’ record denials are violations of inter alia, 42 USC

                   §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655,

                   658a.

                12. Both the RI OCSS counsel who denied the Defendant’s APRA request and the

                   Executive Legal Counsel of the Secretary of RI EOHHS, Lisa Martinelli (to

                   whom Ms. Deb Barclay reports and to whom Mr. Paul Gould reports, per

                   organization charts supplied by the Secretary of State of the State of Rhode

                   Island) informed the Defendant via official written letter correspondence to

                   appeal RI OCSS’s APRA request denial to the Attorney General pursuant to


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                R.I.G.L. sec. 38-2-8. Their collective denials are in violation of inter alia, 42

                USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                655, 658a. Following their collective official written advisement, the

                Defendant appealed the RI OCSS APRA denial under R.I.G.L. sec. 38-2-8 to

                the Office of the Attorney General and the Superior Court as provided by

                R.I.G.L. sec. 38-2-8. The Office of the Attorney General and the Superior

                Court of are political subdivisions of the State of Rhode Island under 42 USC

                654(1). Instead of releasing the Defendant’s Title IV-D alleged debt validation

                and verification records information, the State/Plaintiff continues to resist

                releasing alleged arrears/debt verification accounting records in Superior

                Court, including failing to comply with the Defendant’s Court-issued

                subpoena for said records and resisting subpoena compliance with extended

                litigation in Superior Court in violation of inter alia, 42 USC §§ 654a, 654b,

                654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a.

                   a. The Defendant served the State/Plaintiff by email Defendant’s Request

                       for Production of Documents for the same accounting records and

                       interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34, to

                       which the State/Plaintiff has so far produced one set of book of

                       accounts of the seven different books of accounts. However, the

                       numbers do not corroborate with any of the seven official legal

                       representations of alleged arrears due, e.g., $93,214.56 Total Due, and

                       $0.00 under Interest on December 6, 2021, published online in the

                       State’s OCSS online account for Defendant, as of November 30, 2021;



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                         $104,185.98 Total Payoff Amount on December 7, 2021; $75,638.00 on

                         a Notice of Intent to Lien dated March 3, 2022 that RI OCSS rescinded

                         based on alleged unspecified errors on October 14, 2022; $73,000.00

                         per RI OCSS Deputy Chief Counsel John Langlois’s (staff counsel who

                         also reports to Mr. Paul Gould, who was also the attorney of record for

                         the State at the Appeals Hearing) representation at the agency RI

                         EOHHS (Rhode Island Executive Office of Human and Health

                         Services) administrative appeal Pre-hearing held on October 5, 2022;

                         $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022; $75,623.71 Total Due for “Interest,” online on the aforesaid

                         OCSS online account, as of November 30, 2022. A screenshot taken on

                         December 3, 2022 thereof is attached to this Motion; $81,652.46 on

                         the Motion as of December 22, 2o22; this is in violation of, inter alia,

                         42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                         (27), 666, 655, 658a that is consistent with the State/Plaintiff’s pattern

                         of obstructing the Defendant of due process right access to her case file

                         records of RI OCSS’s debt verification itemized accounting calculations

                         of very large sums of alleged arrearages of at least 7 books of accounts

                         from December 6, 2021 to the present in Title IV-D proceedings.

                III.   JUDICIARY VIOLATION OF GOVERNMENT EDICTS
                       DOCTRINE, CALCULATED FAILURE TO INTEGRATE TITLE IV-
                       D AGENCY ELECTRONIC FILING SYSTEM WITH ODYSSEY
                       MAKING THEIR FILINGS INVISIBLE TO ALL E-COURT USERS
                       OTHER THAN THE JUDGE AND THEMSELVES AND
                       VIOLATION OF ACCESS TO COURT INFORMATION OF PUBLIC
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            A. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO COURT
       INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42 USC 654(1)
       POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode Island

       under 42 USC 654(1). While publicizing during the implementation of the $6 million

       installation of Odyssey (the statewide electronic filing system) in 2014 that the

       electronic courts will enable ALL court users to pull up court record information with

       ease from their phones, the Rhode Island Judiciary quietly implemented Rule 5 of the

       Rhode Island Rules and Practice denying the Public, pro-se litigants and all parties to a

       case in Rhode Island remote access to court record information including judge-created

       orders and laws, including their own. Through this deceit, the Rhode Island Judiciary

       lied to the Public, while denying access and thereby covering up the routine ordering of

       unenforceable body of judge-created laws ordering 12% compound interest in public

       cases and public hearings under 42 USC 654 in public Title IV-D cases, such as this one,

       by symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The denial

       of access to pro-se litigants of their own cases’ court records containing support orders

       violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

       (27), 666, 655, 658a. The denial of public access to public court records documenting

       the routine systemic violations of 42 USC 654(21)(A) in electronic courts violates the

       First Amendment and the public’s right to know the law, even if these fraud on the court

       unenforceable judge-created laws are unenforceable in both Rhode Island and

       elsewhere Title IV Part D reaches. The denial of public access to judge-created laws that

       is also motivated by cover-up fundamentally violates the established Government Edicts

       Doctrine that the United States Supreme Court specifically held applies to electronic


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       formats of government doctrines, such as judge-created laws in digital courts. See

       Georgia v. Public Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The

       Defendant has been denied access by the political subdivision Rhode Island Judiciary to

       her court records and information regarding the orders in question that must be

       furnished pursuant to 42 USC 654b thus in violation of 42 USC 654. The Defendant has

       been denied access by the political subdivision Rhode Island Judiciary to unenforceable

       judge-created laws that routinely establish unenforceable 12% compound interest by

       certain symbiotic pliant judges, like Judge McCann and Magistrate Nahabedian, who

       work hand-in-hand with the Rhode Island Office of Child Support Services in Title IV-D

       cases, in violation of Defendant’s Due Process and Equal Protection rights to know the

       law to be meaningfully heard and right to meaningful access to justice – they are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                This Court held at the hearing in this matter scheduled on March 6, 2023 that the

       Rhode Island Office of Child Support Services is ordered to show that the alleged arrears

       is accurate. See attached March 6, 2023 hearing transcript. Explicitly stated

       throughout 42 USC 654, “accuracy” requires no accounting alterations generated offline

       then hard input into the automated system, no fraud, no inducements, no interstate

       extortion under color of state law, and for certain no 12% compound interest on overdue

       support.

            B. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE THE
       TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO ODYSSEY
       RESULTING IN AGENCY FILINGS BEING INVISIBLE TO ALL COURT
       USERS EXCEPT THE JUDGE AND THE AGENCIES THEMSELVES – COVER
       UP


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                Because under the State’s Plan the Title IV-D agencies routinely file in the Rhode

       Island court system for the illegal enforcement of illegal 12% compound interest

       disallowed under 42 USC 654(21)(A), the political subdivision Rhode Island Judiciary

       deliberately failed to integrate the Title IV-D Agencies’ electronic filing system with the

       State’s electronic filing system Odyssey in order to make Title IV-D Agency electronic

       filings invisible to all court users except the judge and the agencies themselves,

       calculated to cover up the 12% compound interest from audit by the federal authorities

       and from the Public. This came to light at the WebEx hearing in this Title IV-D matter

       before Judge Merolla on June 8, 2023 scheduled at 2PM, where Judge Merolla, showing

       he was unaware of the failure of systems integration, questioned Paul Gould of Rhode

       Island Office of Child Support Services, why Defendant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Paul Gould

       explained that this is due to the electronic court implementation process that was

       supposed to integrate the agency’s legacy system to Odyssey, demonstrating

       conclusively that Gould, the Lead Counsel of the Rhode Island Office of Child Support

       Services responsible and overseeing agency court filings in Title IV-D cases,

       undisputedly was in the know and part of the conspiracy involving the deliberate failure

       of filing system integration and its continuing perpetration in Title IV proceedings that

       made Title IV agencies’ filings invisible as part of the cover up.

            C. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in DEFENDANT’S TITLE IV-D ACCOUNT POWERED BY
       THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO DEFRAUD
       DEFENDANT IN THE FUTURE



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                Defendant attaches hereto EXHIBIT G, that shows the Defendant’s online Title

       IV-D OCSS account which is powered by the Automated Data Processing System, as of

       November 2022 at the time of the RI EOHHS Appeal, which showed $0.00 Payment

       for December 2021. Therefore, the Rhode Island Office of Child Support Services

       through accounting fraud never recorded, as late as November 2022, in the Automated

       Data Processing System Defendant’s large lump sum payoff of $104,185.98 bank wired

       from Texas on December 7, 2021, showing prima facie accounting fraud. This shows a

       scheme to defraud the Texas Defendant in the future. This shows that the Rhode Island

       Office of Child Support Services received Defendant’s wired funds and treated it as a

       cash receipt, without ever recording in the automated data processing system such a

       large lump sum payment. Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois,

       Paul Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Defendant’s lump sum payment

       was distributed allegedly via a check, not through the usual cash card on December 9,

       2021, (see attached hereto TRAC record for December 2021) record information of

       which check that was allegedly issued by the Office of Child Support Services the agency

       refuses to furnish the Defendant, and which are under subpoena now. Further, the

       Office of Child Support Service’s maintaining a separate offline accounting system in

       this case constitutes fraud and accounting fraud, targeting the Defendant in Texas,

       targeting Texas properties and targeting the United States of America. This is why they

       never utilized the 42 USC 654(7), (14), (20) and 42 USC 666(14) cooperative system

       with Texas, so as to enable them to divide the defrauded cash spoils offline among the

       members participating in the scheme. This accounting fraud and scheme to defraud



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       violate mail fraud, wire fraud, honest services fraud, RICO, record tampering, theft of

       the United States, and felonious fraud, among others.

                In reality, under 42 USC 651-669, employees who engage in, aid and abet and

       facilitate the above must be terminated and must not be permitted to continue criminal

       activities of record tampering, accounting fraud, fraud, theft under color of state law and

       cover up.



                IV.   CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF THE
                      UNITED STATES AND OTHER LISTED AUTHORITIES UNDER
                      18 U.S.C. sec. 4

                The Defendant, in good faith and reliant on the plain language of 18 USC § 4,

       misprision of felony, as well as the Brief filed in the United States Supreme Court by the

       United States of America in the Supreme Court case, Turner v. Rogers, 564 U.S. 431

       (2011) that showed South Carolina (found by the 4th Circuit Court of Appeals) liable for

       $75 million in penalties for that state’s 42 USC 654 violations that did not even involve,

       inter alia, fraud and tampering with the record or unlawful 12% compound interest put

       into then taken off then put back on the automated data processing system as here in

       Rhode Island, made known the above activities to “some judges” of “the United States”

       and other relevant federal authorities – counting among the United States judges

       Defendant made known publicly in the Amended Complaint filed in the United States

       District Court for the District of Rhode Island, Judge William E. Smith. The issue of

       what Judge Smith has done with the information “made known to him” is pending

       before the United States Court of Appeals for the First Circuit before a requested panel

       of judges under the federal law of civil procedure. Therefore, under 18 USC 4, the above


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       reported activities have been “made known” to several high ranking judges of the United

       States.

                            A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                 Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter, and/or Judge Smith on this list are not exhaustive. It is undisputable,

       among others, that Title IV-D penalties were incurred by, Criminal penalties were

       incurred by, and Title IV-D and Title IV-A disgorgement is due from the applicable State

       of Rhode Island’s political subdivisions.

                                              B. NO IMMUNITY



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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                V.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Office of
                        Child Support Services, the SDU under the State’s Plan under 42
                        USC 654, must furnish all subpoenaed information – refusal of
                        which incurs another penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merolla of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for her Title IV record information that

                     includes record information relating to the “TRAC notes of 12/6/2021 and

                     12/7/2021” as well as relating to the substance of John Langlois’s audio

                     recorded October 5, 2022 statements regarding “what happened in this case”

                     that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the Office of the

                     Child Support Services that Gero Meyersiek said yes, he “agreed to waive the

                     $73k or $75k that are in arrears” as of December 6, 2021 and October 5, 2022

                     which are part of Defendant’s child support case file.




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                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Order a hearing on the herein issues raised in this matter.

                5. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                6. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 21, 2024


                                                  FOR DEFENDANT

                                                  MARY SEGUIN, Pro Se.


                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com



                                            NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F

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                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 21, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


                                                       _______________________




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                                    Exhibit A
Case: 23-1978
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                                        Exhibit B
Case: 23-1978
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                                        Exhibit C
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                                    Exhibit D
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                State of Rhode Island and Providence Plantations


          PROVIDENCE, Sc.                                 FAMILY COURT




          *******************************
          GERO MEYERSIEK




          Vs.                                 F.C. FILE NO. K2001-0521M




          MARY SEGUIN
          ********************************



                                        Heard Before:

                     The Honorable Magistrate Armando O. Monaco

                                   On March 6, 2023


          APPEARANCES:


          FOR MS. SEGUIN. . . . . Pro se

          FOR THE STATE. . . . .. Paul Gould, Esq.




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Case: 23-1978
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                                        I HEREBY CERTIFY THAT THE

                                        FOLLOWING IS A TRUE AND ACCURATE

                                        TRANSCRIPT IN THE CASE OF

                                        GERO MEYERSIEK VS. MARY SEGUIN

                                        HEARD BEFORE

                                        MAGISTRATE ARMANDO O. MONACO

                                        ON MARCH 6,2023.




                                        STEVEN FAZIO
                                        ELECTRONIC COURT REPORTER




                                            2
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          1                             GERO MEYERSIEK V. MARY SEGUIN

          2                                  F.C. NO. K2001-0521M

          3                                  MARCH 6, 2023

          4

          5                                  MARY SEGUIN: Having been

          6         duly sworn testifies as follows:

          7                                  THE COURT: After the

          8         February 12th hearing two orders were submitted

          9         one by each side, objections were filed through

         10         your order being entered, ma'am.

         11                                  MS. SEGUIN: Thank you Your

         12         Honor. I am sorry. Could you repeat that again?

         13         Sorry.

         14                                  THE COURT: Subsequent to the

         15         hearing of February 10,2023, two separate orders

         16         were submitted for my signature. One you

         17         submitted and one the State submitted. The State

         18         filed an objection to the submission of your

         19         order on the basis that they alleged, I believe,

         20         that it is not what I said.

         21                                  MS. SEGUIN: And I also filed

         22         an objection to their proposed order that also

         23         clearly states a lot of additional items that

         24         were never before the Court. Including the

         25         number now that they have now, they submitted a

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          1         $75,623.71 and then another one for $6028.75.

          2         These two numbers were not even in their

          3         original motion to establish arrears that was up

          4         before the court on February the 10th and those

          5         two numbers were never brought up as well. And

          6         without a clear understanding and audit of what

          7         those numbers represent. Because they

          8         unilaterally of their own volition without any

          9         court approval.

         10                                ATTORNEY GOULD: Judge,

         11         objection.

         12                                MS. SEGUIN: Took off the

         13         interest.

         14                                THE COURT: Let me interrupt

         15         you, ma'am. Where are you getting these two

         16         numbers from? I do not see them anywhere.

         17                                MS. SEGUIN: Exactly. That is

         18         the order proposed order that the State had

         19         filed. You are absolutely right. Your Honor.

         20         Those two numbers--

         21                                THE COURT: I am looking at

         22         the proposed state order that has different

         23         numbers then what you are saying.

         24                                MS. SEGUIN: The proposed

         25         order that they submitted to me, on #4 it says

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          1         $75,623.71 for interest. And then a medical

          2         support interest for $6028.75. Now these two

          3         numbers were never before the Court before on

          4         February the 10th. On February the 10th they

          5         brought up a motion that mentioned $81,000.

          6                                THE COURT: Well, maybe that

          7         is a combination of the two numbers.

          8                                ATTORNEY GOULD: Yeah, Judge.

          9         That is the combination.

         10                                MS. SEGUIN: So sorry, go

         11         ahead.

         12                                ATTORNEY GOULD: There was an

         13         objection, Judge.

         14                                THE COURT: Yeah, what is

         15         your objection, Paul?

         16                                ATTORNEY GOULD: We are off

         17         the subject. The subject is whether this order

         18         should enter or not.

         19                                THE COURT: Right.

         20                                ATTORNEY GOULD: Not about

         21         any agreements, not about anything else other

         22         than the numbers and Judge if I may or I will

         23         let the defendant continue Judge.

         24                                THE COURT: I thought my

         25         order was very simply was to set the arrears as

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Case: 23-1978
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          1         they appear on the State computer but without

          2         prejudice and then there will be a subsequent

          3         hearing to determine whether or not those

          4         numbers are in fact accurate. As I am reading

          5         the order, they put two numbers in and it is

          6         clearly, let me read the paragraph. Yeah,

          7         paragraph six, the Court finds that the total

          8         the arrears of $81,000, which is the combined

          9         number is placed on the Child Support ledger

         10         without prejudice to the June 8, 2023 hearing.

         11         The State agrees it shall respond to the

         12         defendant's first request for production of

         13         documents forthwith.

         14                                MS. SEGUIN: Yes, Your Honor.

         15         So therefore, you had not made any kind of

         16         findings of fact of whatever they might be. You

         17         simply said put the interest back--

         18                                THE COURT: Yeah, I said

         19         whatever the computer says is the balance. Put

         20         it on the computer without prejudice, which

         21         means that we need a starting point. You need to

         22         know what they allege you owe and that is what

         23         they are alleging you owe. You disagree with

         24         that number. You asked them for the

         25         documentation to substantiate that number. That

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Case: 23-1978
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          1         is why I continued it out all the way to June so

          2         that you would have an opportunity to get their

          3         materials, for you to you digest their

          4         materials, provide counter materials back to

          5         them. So that in June, a full hearing can be

          6         held with everyone totally prepared as to argue

          7         either position. Either there is no money due or

          8         there is a balance due. I never made any finding

          9         whatsoever there is in fact a balance due. If I

         10         did, I would not have continued the hearing.

         11                                MS. SEGUIN: Thank you, Your

         12         Honor. That is exactly what my understanding as

         13         well.

         14                                THE COURT: Right. That is

         15         what the order says. It says put the number on

         16         the computer, but without prejudice, which means

         17         both sides have to argue and convince the Judge

         18         that that is in fact the number. Or you are

         19         going to argue it is an incorrect number and you

         20         are going to substantiate it by whatever

         21         arguments you present. They going to

         22         substantiate it by whatever arguments they

         23         present. And then whoever hears it in June will

         24         decide which side is correct.

         25                                MS. SEGUIN: Thank you, Your

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Case: 23-1978
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          1         Honor. I wanted to make sure that, you know,

          2         that all parties understand that because at this

          3         point, the State is saying that you already

          4         found that I had—-

          5                                THE COURT: No, no. The State

          6         is not saying that because the order clearly

          7         says those numbers or that number is without

          8         prejudice, which means I did not establish that

          9         number. We do it in many of these cases to get

         10         the ball rolling, so either side knows what they

         11         need to produce to substantiate their positions.

         12         The same way they can come in now and say, Oh,

         13         no, we made a mistake. She actually owes

         14         $185,000.

         15                                MS. SEGUIN: You are giving

         16         me a heart attack, Your Honor.

         17                                THE COURT: It puts a cap on

         18         what they can argue.

         19                                ATTORNEY GOULD: Judge, can I

         20         respond now?

         21                                MS. SEGUIN: So, Your Honor,

         22         with that in mind, just to clarify, that is what

         23         they are saying in 2018 when they first took

         24         off--

         25                                ATTORNEY GOULD: Objection.

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          1                                THE COURT: Just a minute.

          2         The order speaks for itself. It says the balance

          3         on the computer as of whatever dates in there. I

          4         cannot read it now quickly, whatever dates in

          5         there, that is the balance on the computer. They

          6         have to substantiate it. They are going to send

          7         you documentation supposedly to substantiate it.

          8         If they cannot substantiate, then they are not

          9         going to get that number.

         10                                ATTORNEY GOULD: Judge, I

         11         disagree with that. Judge, we have no obligation

         12         to substantiate this. There is a Child Support

         13         number that was established by Judge McCann. You

         14         took judicial notice of that.

         15                                THE COURT: I took judicial

         16         notice that there was no appeal of his order.

         17         That is what the judicial notice of.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor. Thank you, Your Honor. That is my

         20         understanding as well that you took judicial

         21         notice of the orders themselves. But what is in

         22         dispute is how the child support office has

         23         handled this computation.

         24                                THE COURT: That's the

         25         argument for June, ma'am. That is the argument

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          1         for June.

          2                                MS. SEGUIN: Taking that off

          3         the system without your approval. Now, put it

          4         that way--

          5                                THE COURT: What you are

          6         arguing now is what you need to argue in June. I

          7         am satisfied that the order that has been

          8         presented by the State that breaks down the two

          9         balances that the total is $81,000 is in fact

         10         the appropriate order from the hearing. It is

         11         without prejudice. They are going to provide

         12         documents that you requested so that you can

         13         then decide whether or not you agree or

         14         disagree. And if you disagree with their method

         15         of calculating it, you need to present why you

         16         think that method is incorrect and what should

         17         be the correct number if any.

         18                                MS. SEGUIN: Yes, and

         19         including a waiver of interest –

         20                                THE COURT: You are arguing

         21         whether the number is correct or not. That is

         22         the whole purpose of making it without

         23         prejudice.

         24                                MS. SEGUIN: Yes, and that

         25         would include the waiver of interest that had

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          1         occurred.

          2                                THE COURT: No, that is the

          3         subject of the hearing. That is the subject of

          4         the hearing. I am making no finding about

          5         whether there was or was not a waiver of

          6         interest.

          7                                MS. SEGUIN: Thank you, Your

          8         Honor. So that is part of the discovery that

          9         needs to happen.

         10                                THE COURT: Well, that is

         11         what I assume you are asking for. Is to get the

         12         documentation that would have substantiate your

         13         belief that there was the waiver of the

         14         interest.

         15                                MS. SEGUIN: Thank you, Your

         16         Honor.

         17                                THE COURT: So, if you can

         18         substantiate that there was a waiver of

         19         interest, that balance disappears.

         20                                MS. SEGUIN: So, the State is

         21         objecting to producing those protected

         22         documents—

         23                                THE COURT: No, no. They are

         24         not objecting to producing any documents. The

         25         line paragraph says in paragraph 10, The State

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          1         agrees it shall respond to the defendant's first

          2         request for production of documents forthwith.

          3         So, whatever you asked them for, they are going

          4         to they are going to provide to you. If you do

          5         not think they provided everything you asked

          6         for, you file a supplemental request.

          7                                ATTORNEY GOULD: The State

          8         filed its answer in response to her request for

          9         production, Judge. And I will stand by that. And

         10         I will argue those issues that we refuse to

         11         answer, or we objected on procedural grounds or

         12         we objected on legal grounds for what we did.

         13         And I will respond to that when it is

         14         appropriate.

         15                                THE COURT: That would be

         16         June 8th. That will be done on June 8th. So, you

         17         can be prepared to go forward on whatever your

         18         objections are and whoever hears it will decide

         19         whether the objections were valid or not.

         20                                MS. SEGUIN: Your Honor, Mr.

         21         Gould had said something to me, emailed

         22         something to me to the affect that he said you

         23         will be retiring June the 8th. I just wanted to

         24         know why he emailed me something like that.

         25                                THE COURT: It has been

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          1         projected that I am to retire sometime before

          2         July 1st. They are dealing with my successor and

          3         I sit until my successor is appointed and

          4         qualified. And the projection is by the end of

          5         the by end of June, the latest could be earlier.

          6         I do not think it could be later, but it is

          7         possible.

          8                                ATTORNEY GOULD: And Judge,

          9         because we, I guess, we like making these

         10         artificial records, I will make this record

         11         here. I did not say that snd I resent the

         12         defendant putting words in my mouth.

         13                                MS. SEGUIN: I indicated the

         14         email that you wrote to me.

         15                                THE COURT: Listen, just a

         16         minute, just a minute. Whether I sit or I do not

         17         sit is an immaterial situation, it has nothing

         18         to do with what is before me today. I am ruling

         19         on the order they sent you breaking down the

         20         balances between the child support and medical

         21         arrears is valid as to what I said the last time

         22         we were here. I am going to sign that order and

         23         proceed with their discovery. Whatever

         24         objections you have relative to the discovery

         25         and whoever sits here, whether it is me or

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          1         someone else, they will be prepared to address

          2         the situation. Okay.

          3                                MS. SEGUIN: Thank you, Your

          4         Honor. Thank you. One last question about number

          5         11 and 12. I mean, those elements—

          6                                THE COURT:     11 and 12?

          7                                MS. SEGUIN: Yeah, 11 and 12.

          8                                THE COURT: 11 tells you how

          9         to contact us. 11 is how to contact us and 12 is

         10         a standard paragraph that they put in indicating

         11         that, I don't know why it's here, but they that

         12         the standard paragraph they stick in every case

         13         has no bearing on this one. Other than it says

         14         that until it is paid in full, you know, the

         15         order will continue to run. But there is no

         16         order running in terms of what your obligation

         17         to pay that is.

         18                                MS. SEGUIN: Okay, okay. So

         19         that is something that is boilerplate.

         20                                THE COURT: That is

         21         boilerplate and 11 is how you get in touch with

         22         us.

         23                                MS. SEGUIN: Sure.

         24                                THE COURT: We do not put

         25         that in, we will never have any hearings.

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          1                                MS. SEGUIN: Thank you, Your

          2         Honor.

          3                                ATTORNEY GOULD: If I could

          4         talk this time a little bit. Maybe just for the

          5         record. Those same paragraphs were in the

          6         September 25th, 2012 orders. And that same

          7         boilerplate languages in a July 11, 2012 orders

          8         and any other order that she would receive.

          9         August 15, 2012. That same identical language

         10         was contained in those. It is boilerplate.

         11                                THE COURT: Yeah,

         12         boilerplate. All right, we will see you on June

         13         8th at 2:30. Wait a minute. Daylight savings

         14         time is starting soon.

         15                                MS. SEGUIN: Oh, yeah.

         16                                THE COURT: All right. Do you

         17         go on daylight saving time? Pay attention.

         18                                MS. SEGUIN: Okay.

         19                                THE COURT: This coming

         20         Saturday, our clocks jump forward an hour. So,

         21         your clock does not jump forward. You are going

         22         to have to call in an hour earlier.

         23                                MS. SEGUIN: All right.

         24                                THE COURT: I have friends

         25         that live in Arizona, and they told me that in

                                             15
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          1         Arizona, there were three different time zones

          2         in the summer.

          3                                MS. SEGUIN: Yeah, every

          4         county is allowed to do that out here.

          5                                THE COURT: I know that. That

          6         is why that is why I pay attention to it because

          7         they tell me that people have trouble. They

          8         think, Oh, I am going to be on time, I am going

          9         to Court. They said, No, you are an hour late.

         10         What do you mean? This is the time across the

         11         street. No, that is an hour different than us.

         12                                MS. SEGUIN: It really is

         13         crazy. That they have marked it off, not a

         14         county, but across the street. You are

         15         absolutely right.

         16                                THE COURT:     All right. So,

         17         pay attention. It is 2:30 our time.

         18                                ATTORNEY GOULD: Judge, if I

         19         may. The order I submitted that contains 12

         20         paragraphs.

         21                                THE COURT: Yes.

         22                                ATTORNEY GOULD: February 10,

         23         2023, starting with paragraph one, the matter is

         24         continued.

         25                                THE COURT: Yes.

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          1                                ATTORNEY GOULD: That order

          2         is going to be accepted by the Court. That will

          3         be the order of the Court for that day?

          4                                THE COURT: Right.

          5                                ATTORNEY GOULD: The order

          6         that she submitted will be stricken, correct?

          7                                THE COURT: Right.

          8                                MS. SEGUIN: Yes, that is my

          9         understanding, too. Yes.

         10                                ATTORNEY GOULD: Thank you,

         11         Judge.

         12                                THE COURT:     All right. We

         13         will see you in June.

         14                                ATTORNEY GOULD: One more

         15         thing. I am sorry. Judge, if I may, can the

         16         defendant place her address on the record?

         17         Because we sent some correspondence that was

         18         sent back to us. Now we have used her email as a

         19         courtesy to her and we also need an actual

         20         street address so that we can send her

         21         documents.

         22                                MS. SEGUIN: Your Honor, I

         23         think this is, I do not really understand why -–

         24                                THE COURT: Let me just

         25         interrupt. Let me interrupt. When you enter your

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          1         appearance, you need to provide under the rules

          2         your address, your phone number, and your email

          3         address.

          4                                MS. SEGUIN: Yes.

          5                                THE COURT: And if you were

          6         an attorney, obviously your bar number. Okay so

          7         if you change any of those addresses or emails,

          8         you are under an obligation to keep updating it

          9         because if they send anything to the address or

         10         the email that you provided, it's not a defense

         11         later on, Oh, it's not my address or email, I

         12         changed it. So that is why they are asking to be

         13         sure they get the right method to contact you,

         14         depending on what they have to send. It is a

         15         part of the Court order that you provide your

         16         address and email address.

         17                                MS. SEGUIN: Your Honor, may

         18         I also then ask that the State sent me a or e-

         19         file any notices? Because they have been mailing

         20         things to me in Texas, which takes 10 to 12 days

         21         for me to receive by regular mail. So, could you

         22         also please, I am going to ask you please to

         23         ask, to make them, to order them to notice me by

         24         electronic means as well.

         25                                THE COURT: Well, that's part

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          1         of the rules, too.

          2                                MS. SEGUIN: Okay.

          3                                THE COURT: All right?

          4                                MS. SEGUIN: Okay. Thank you,

          5         Your Honor. I appreciate you telling me.

          6                                THE COURT: All right, June

          7         8th.

          8                                ATTORNEY GOULD: I do not

          9         have an address, Judge.

         10                                THE COURT: Oh, that is

         11         right. What is your updated address?

         12                                MS. SEGUIN: My address is on

         13         the on file is P. O. Box 22022 Houston, Texas,

         14         77019.

         15                                THE COURT: What about email?

         16                                MS. SEGUIN: That's Mary

         17         Seguin 22022 at Gmail.com. They are also in my

         18         pleadings as well.

         19                                THE COURT: Slow down. Slow

         20         down. We do not type that fast.

         21                                THE CLERK: I did not get

         22         that P. O. Box. Can you give it to me again,

         23         please?

         24                                MS. SEGUIN: Yes, it is,

         25         22022.

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          1                                THE COURT: That is the P. O.

          2         Box number?

          3                                MS. SEGUIN: Yes, Your Honor.

          4                                THE COURT: Making sure it

          5         was not the zip or area code.

          6                                MS. SEGUIN: It is one too

          7         many numbers.

          8                                THE COURT: What is the zip

          9         in Houston?

         10                                MS. SEGUIN: It is 77019.

         11                                THE COURT: All right, all

         12         set?

         13                                MS. SEGUIN: Thank you, Your

         14         Honor.

         15                                THE COURT: Okay, June 8.

         16                                ATTORNEY GOULD: Thank you,

         17         Judge.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor.

         20

         21

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                                        I HEREBY CERTIFY THAT THE FOLLOWING

                                        IS A TRUE AND ACCURATE TRANSCRIPT

                                        IN THE CASE OF MEYERSIEK VS. SEGUIN

                                        BEFORE THE HONORABLE MAGISTRATE

                                        SUSAN NAHABEDIAN ON FEBRUARY 2ND,

                                        2024.




                                        AMANDA B. KUSKI
                                        ELECTRONIC COURT REPORTER
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          1                                           THE COURT: Good afternoon.

          2                                           PLAINTIFF: Good afternoon.

          3                                           THE COURT: This is K20010521, Gero

          4     Meyersiek versus Mary Seguin. Both parties are present. Mr. Meyersiek’s

          5     Attorney, um, Achille, she’s here. Um, the Clerk will swear you both in.

          6                                           CLERK: Miss Seguin, Mr. Meyersiek,

          7     raise your right hands, please. You do solemnly swear that the testimony you

          8     shall give to the Court in the matter now in hearing shall be the truth, the whole

          9     truth and nothing but the truth, so help you God?

         10                                           PLAINTIFF: I do.

         11                                           DEFENDANT: I do.

         12                                           CLERK: Miss, Miss Seguin, just state your

         13     name for the record.

         14                                           DEFENDANT: Mary Seguin.

         15                                           CLERK: Mr. Meyersiek, your name,

         16     please, for the record.

         17                                           PLAINTIFF: Gero Meyersiek.

         18                                           CLERK: Thank you.

         19                                           THE COURT: Okay, good afternoon,

         20     folks. This matter was continued from December 15th in order for the, uh, Court

         21     Clerk to, uh, copy Court filings and other documents that were requested by

         22     Miss Seguin. It’s my understanding that those documents were sent to her

         23     electronically, um, in various emails, uh, in December and the remainder of

         24     those were sent at the beginning of January. Um, Miss Seguin, were you able to

         25     review those and are you satisfied that you received everything that you request-

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          1     ed?

          2                                            DEFENDANT: Um, thank you, Your

          3     Honor. I had, uh, received, as you said, in two batches, uh, the Court records

          4     that, um, Mr. Santamarina had, um, had emailed. Uh, the last several batches,

          5     uh, were, sorry, batch was several documents, um, were only emailed about a

          6     couple weeks ago. Uh, there, there were sent in separately about fifteen emails. I

          7     think Your Honor was copied on all of them, as well as Mr. Gould, um, on those

          8     emails, um, and so the records themselves, um, you know, that were sent to me

          9     or emailed to me, um, the, the Court has a copy of those. Um-

         10                                            THE COURT: I, I, so my question is, are,

         11     are you, did, were you able to review them and are you satisfied that everything

         12     that you requested, you received?

         13                                            DEFENDANT: Um, I have not, uh,

         14     received the actual audio recordings of the, that’s part of the record. Um, those

         15     were-

         16                                            THE COURT: Did you request, did you

         17     request the audio recording from Mr. Santamaria?

         18                                            DEFENDANT: Well, I requested all the

         19     records. So, one of the paper documents had said that the, there was, uh,

         20     attached to it, an audio recording of the State saying that Gero waived interest,

         21     and I think that’s very relevant to this case-

         22                                            THE COURT: Okay-

         23                                            DEFENDANT: -especially as it links to-

         24                                            THE COURT: -let me just stop you-

         25                                            DEFENDANT: -(inaudible)-

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          1                                           THE COURT: -let me just stop you, let me

          2     just stop you for a minute, please. I’m new to this case, so I’m not familiar with

          3     the audio recordings request. I’m not aware that you made that type of request.

          4     Can you tell me the date of the audio recording and when you made that

          5     request?

          6                                           DEFENDANT: I made the request for all

          7     Court information in this case. All Court information encompasses all

          8     documents and all forms of records. Uh, that’s, um, that’s the, I believe, legal

          9     understanding of all Court information of records.

         10                                           THE COURT: Alright, Mr.-

         11                                           DEFENDANT: So, that was part, that was-

         12                                           THE COURT: -excuse me, excuse me one

         13     minute. Mr. Gould, I’m trying to unmute you and I’m not able to do it from my

         14     end. So, if you need to be unmuted, you’ll have to do it yourself.

         15                                           DEFENDANT: I had to, so I had

         16     submitted those and this, uh, audio recording ha-, uh, is part of the Court records

         17     as of, um, June 2023. That was emailed to me in a rel-, in a paper document

         18     referring to attached, attached audio recording that is, um, that, that was emailed

         19     by Mr. Santamaria. So, that recording, I want to make sure, uh, and, and that’s

         20     also copied to you by the way, Your Honor-

         21                                           THE COURT: Alright, so-

         22                                           DEFENDANT: -(inaudible).

         23                                           THE COURT: -just, just, just going back

         24     to December, okay, you provided, um, a request for documentation to be copied

         25     by the Court Clerk, Mr. Santamaria, and all of those documents were scanned

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          1     and sent to you in an electronic form. Did you specifically request anything that

          2     referred to an audio recording?

          3                                             DEFENDANT: I specifically record, uh,

          4     requested all Court information, any and all Court information in the records of

          5     my, of this particular case file. Those are the wording that I used, because I, I

          6     don’t know what’s being, what’s on, what’s, what the Court record has. You

          7     know, this is the reason why we went through this process, is, the, the, um,

          8     Rhode Island Judiciary has set up this, uh, uh-

          9                                             THE COURT: So, Miss Seguin-

         10                                             DEFENDANT: -electronic Court system-

         11                                             THE COURT: -we’re not-

         12                                             DEFENDANT: -where the (inaudible)-

         13                                             THE COURT: -so, Miss Seguin, we’re not

         14     gonna get into the Judiciary’s access to the, um, to the portal. We’re not gonna

         15     get into that. We made every effort to make electronic copies of every Court

         16     document pertinent to this case and sent them to you, at no cost, in an electronic

         17     version. You did not, at any point, follow up with Mr. Santamaria to request an

         18     audio recording.

         19                                             DEFENDANT: I’m just in a process of

         20     reviewing this. That was part of your question, uh, Your Honor, is have I had a

         21     chance to review all of these materials. It’s, it’s, it’s, as, as you can see, several

         22     because you’ve been covered, uh, copied on all the emails. There were several

         23     emails, uh, you know, all together, probably thirty-something emails. Uh, I do

         24     appreciate that. I, you know, I thank Your Honor for ordering that, um, and I

         25     also, um, you know, am, am reviewing, have been reviewing. So, I came across,

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          1     to answer your question to the best of my ability, is I came across that doc-,

          2     document where it refers to the audio file, uh, that’s being submitted into the

          3     record. I’ve asked for the Court records. So, um-

          4                                            THE COURT: You received every Court

          5     record, every document going back to-

          6                                            DEFENDANT: Paper. I, I, I think what,

          7     what-

          8                                            THE COURT: Correct.

          9                                            DEFENDANT: -wanted to, you know,

         10     just, just to have a basic understanding of document is, in paper form, but Court

         11     rec-, information as the Court record encompasses various different formats. All

         12     public records encompasses various different formats. Uh, you know, that’s,

         13     that’s written by statute and, you know, as I understand it what public records is.

         14     Court records are a form of public records and, and it forms the basis of, um,

         15     Judge created laws, and therefore, those are critical in my, uh, uh, you know,

         16     access and that’s the basis of this process that we’re going through is accessing

         17     those public records, Court information records, and, uh, accessing the laws that

         18     were created, Judge created laws that were created, in this particular case or

         19     relevant to this particular case. So, I, I’m just trying to, um, respond to your

         20     question, uh, Your Honor, as to if I had a chance to review those, am I satisfied,

         21     and so, these are the, what I’m raising to the Court, to Your Honor, to, in

         22     response to your question is, I received the paper document, uh, I’m, I’m in the

         23     process of reviewing them, um, because they, they form a chronology, they form

         24     a, a, a background chronological, uh, reasoning behind, you know, uh, Judge

         25     created laws, which are the orders, uh, issued. And in so doing, there are refer-

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          1     ences to a, a Court document that was sent to me, actually a couple of them, that

          2     talks about an audio recording of the State saying that Gero waived interest, and,

          3     uh, also the document, uh, there are documents that say Gero did not ask for

          4     interest, but the State on oral motion asked for interest, but then the State’s

          5     policy is not to ask for interest in interstate cases-

          6                                             ATTORNEY GOULD: Judge, Judge, if I

          7     may-

          8                                             DEFENDANT: -that is why. So-

          9                                             ATTORNEY GOULD: -Judge, can I be

         10     heard?

         11                                             DEFENDANT: -that’s why I need to

         12     understand and get a full-

         13                                             ATTORNEY GOULD: If I may, Judge?

         14                                             THE COURT: Hold, just one, one minute,

         15     Mr., Mr. Gould. So, the answer, so, your answer is, you’re not satisfied with

         16     what was sent?

         17                                             DEFENDANT: I’m explaining to you

         18     what’s missing.

         19                                             THE COURT: So, you are, you-

         20                                             DEFENDANT: And I’m trying to identify

         21     to you what is missing-

         22                                             THE COURT: So, this Court-

         23                                             DEFENDANT: -and the Court records,

         24     already are, are showing-

         25                                             THE COURT: -this Court, alright, ex-,

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          1     excuse me, Miss Seguin. Mr. Santamaria spent hours with a coworker manually

          2     scanning and copying those files during a period of time that the Court was very

          3     short handed. All of that documentation, okay, every pertinent document related

          4     to this case, going back decades, two decades, was scanned and sent to you,

          5     okay. We do not have a copy of an audio recording. So, we’re not able to

          6     provide that to you. There is no such audio recording in the Court record that

          7     you, you are referring to. So, now I’m gonna give Mr. Gould an opportunity to

          8     respond. Mr. Gould?

          9                                            ATTORNEY GOULD: Judge, like,

         10     likewise, if she’s requesting a transcript, then she has to go through the normal

         11     process of paying for a transcript, ordering the specific date of the transcript she

         12     wants. This is a Defendant who has failed to come to this Court with clean

         13     hands, Judge. I’ve stayed silent-

         14                                            DEFENDANT: I object! I object, Your

         15     Honor!

         16                                            ATTORNEY GOULD: -the whole time-

         17                                            THE COURT: Your objection is noted and

         18     Miss Seguin, no one interrupted, you’re muted. You’re muted. You’re muted

         19     and you’re going to stay muted. You’re muted. Mr. Gould?

         20                                            ATTORNEY GOULD: Thank you, Judge.

         21     We’ve let this go on for months after months. She brought up an issue relative

         22     to, uh, the Court system. State of Rhode Island Child Support Enforcement, the

         23     Magistrate hearing this case, has no control over that. She’s now filed a Federal

         24     lawsuit in the, uh, District of Texas, Judge. That’s gonna play it’s course ‘cause

         25     she’ll file and follow through on that. This is a simple case of whether or not

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          1     interest is to accrue on this case and what payments were made. It’s simple

          2     math, it’s simple, in, in fact, Judge, there’s maybe five questions I have for the

          3     Defendant, uh, of the Plaintiff relative to this, uh, inquiry. It would be a short

          4     hearing. Uh, whether or not there was any monies paid, what was received, and

          5     the fact that the Court can take Judicial notice of two orders. The fact that

          6     there’s a child support order that continues to run, and two, the fact that interest

          7     has continued to run pursuant to Mag-, pursuant to Judge, uh, John McCann’s

          8     order dated 9/25/2012.

          9                                            THE COURT: Okay, the original support

         10     order was entered May 24th of 2012?

         11                                            ATTORNEY GOULD: That’s when it was

         12     allowed to run on the Child Support system. That was at a period of time when

         13     the arrears were set somewhere in the amount of $30,000.00. I have a copy of

         14     the order. Paragraph four of the May 24th, 2012 order indicates that there was an

         15     arrears of $30,458.00, as of May 24th, 2012. September-

         16                                            THE COURT: And am I, am-

         17                                            ATTORNEY GOULD: Sorry.

         18                                            THE COURT: -there were, there was no

         19     appeal taken from that order.

         20                                            ATTORNEY GOULD: Correct.

         21                                            THE COURT: Just a minute, Miss Seguin.

         22     I’m giving Mr. Gould an opportunity to speak, just like I gave you an

         23     opportunity to speak. In that October 23rd, 2012 order, um, there is language that

         24     indicates that interest would continue to run.

         25                                            ATTORNEY GOULD: Correct.

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          1                                           THE COURT: And nothing has changed

          2     since then?

          3                                           ATTORNEY GOULD: There’s been no

          4     order from the Rhode Island Family Court suspending interest. Correct.

          5                                           THE COURT: Miss Seguin?

          6                                           DEFENDANT: I object to every, uh,

          7     statement that Mr. Gould had, uh, stated because they are, um, uh, perjurious.

          8                                           THE COURT: You (inaudible), excuse

          9     me-

         10                                           DEFENDANT: Mr. Gould and Mr.

         11     Langlois-

         12                                           THE COURT: Excuse me, they’re what?

         13                                           DEFENDANT: They are perjuries. Mr.

         14     Gould and Mr. Langlois and the State of Rhode Island representing the Rhode

         15     Island Child Support Office, had, um, per this Court record, there is a document

         16     that say’s that they, that they had said that Gero had waived interest. (Inaudible)

         17     2021 and they made that statement in 2022.

         18                                           THE COURT: Ma’am, there’s no Court

         19     order that ever suspended-

         20                                           DEFENDANT: (Inaudible).

         21                                           THE COURT: -there’s no Court order that

         22     ever set the interest to zero. There’s no Court order. You’ve received everything,

         23     I’ve reviewed the file. There is nothing in the system where it, it was ever

         24     waived or set to zero. The interest has stayed on the system.

         25                                           DEFENDANT: We’re, we’re talking, uh,

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          1     actually on, on February the 10th, 2023, the first Court order of this, of this

          2     decade that was issued has clearly, um, proven as evidence that interest was

          3     taken off of the system. Mr. Gould had taken the interest off of the system, he

          4     said in Court, in 2018. That is what he had said, and so, in, in Court, and

          5     therefore, he has asked the Judge, or the Magistrate, uh, Monaco to put it back

          6     on the record or, uh, Mr., and then Judge, um, uh, Monaco had only put it on

          7     there with prejudice because he said that there’s, that doesn’t mean, that’s just a

          8     placeholder.

          9                                             ATTORNEY GOULD: Objection.

         10                                             DEFENDANT: So, Mr. Gould had lied,

         11     just now, that’s perjury on-

         12                                             THE COURT: Uh-

         13                                             DEFENDANT: -I’m deeply concerned

         14     about this. These, these are documented in the order. The February 10th order

         15     cannot be refuted. It was, it was prepared by Mr. Gould himself. It said that the

         16     Court-

         17                                             THE COURT: I don’t see it.

         18                                             CLERK: I don’t see anything-

         19                                             DEFENDANT: -(inaudible)-

         20                                             THE COURT: -hold on, hold on. I’d, I’d

         21     like to review that order and I, I don’t see it.

         22                                             CLERK: I don’t see anything filed from

         23     2013-

         24                                             ATTORNEY GOULD: I’d like to be heard

         25     on the objection, Judge.

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          1                                            CLERK: -to ’22. I see nothing.

          2                                            DEFENDANT: Well, that’s a problem.

          3                                            THE COURT: Are you saying that, excuse

          4     me, just let me just clarify this. Again, I’m new to the case-

          5                                            DEFENDANT: That was-

          6                                            THE COURT: -you just made-

          7                                            DEFENDANT: -that was-

          8                                            THE COURT: -you just mentioned

          9     Magistrate Monaco heard this and I’m looking for an order from that hearing

         10     and I don’t see one.

         11                                            ATTORNEY GOULD: Since I was

         12     accused of perjury, Judge, can I clarify something?

         13                                            THE COURT: Yeah, Miss Seguin, I’m

         14     gonna give Mr. opportunity, uh, Mr. Gould an opportunity to reply.

         15                                            ATTORNEY GOULD: See, Miss Seguin

         16     is a little confused about how the process is running. That there is an agency and

         17     the Child Support Office is an agency charged with running the child support on

         18     our system. The Court is in charge of ordering parties to pay child support and in

         19     this case, pursuant to the order of Judge McCann back in 2012, he ordered child

         20     support paid. Again in 2012, he ordered interest paid. Our system in 2018, our

         21     system, the Child Support system, not a Court order, our system removed

         22     interest because of an administrative decision, because this case had become an

         23     interstate case, the Plaintiff was out of, the Defendant mother was out of state.

         24     There was a decision to remove interest from cases running on our system. That

         25     doesn’t mean that the interest doesn’t run. It meant that the interest was removed

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          1     from our system, so that other jurisdictions were not confused, and it had to do

          2     with, a lot of it, the, the fact that jurisdictions had different interest rates running.

          3     So, in order to alleviate any confusion, our Administrator made a determination

          4     to stop interest on all, uh, stop interest running on our system, not stop interest

          5     pursuant to a Court order. So, that’s the distinction. So, when I said earlier today

          6     that there’s no order that, uh, stopped the interest on the case, there is no order,

          7     and then the other statement that, uh, the Plaintiff made, uh, Defendant made

          8     relative to, um, the issue of prejudice of Judge Monaco’s order, that’s an

          9     outright lie, Judge. Judge Monaco never said in Court, there’s no Court order

         10     that is without, or with prejudice, Judge. So, that’s just an outright lie. I’ll leave

         11     it at that because I know I’ll have another twenty minutes of, of rambling on by

         12     the Defendant. So, I’ll (inaudible)-

         13                                              THE COURT: Well, just, just to be clear, I

         14     just want both sides to, to, to know, I don’t see anything in the system reflecting,

         15     um, any, any decision by Magistrate Monaco in May of this year. I don’t see-

         16                                              DEFENDANT: Uh, February, February,

         17     February of this year. So, February the 10th. February the 10th. This I why at the

         18     same time the discovery was ordered, and this is why we are here on discovery

         19     issues, as well, because it was ordered without, sorry, it was placed on the

         20     system and the interest is WITH prejudice.

         21                                              ATTORNEY GOULD: No, Judge, I object

         22     to that, that is not true. That is as far as the truth can be, Judge.

         23                                              DEFENDANT: Perjury, perjury-

         24                                              THE COURT: So, excuse me, hold on,

         25     hold on, folks. I just found the order now that I just see that. It’s February 10th,

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          1     paragraph four, “The Court finds the arrears of $81,652.46 that’ll be placed on

          2     the ledger without prejudice to the June 8th hearing. The arrears reflect interest

          3     on the child support in the amount of $75,623.71 and interest of the medical

          4     support in the amount of $6028.75”.

          5                                             ATTORNEY GOULD: So, Judge, is her

          6     comments about prejudice, is that perjury? So, did she just commit perjury,

          7     Judge, because I wasn’t under oath, but I’ll let that go.

          8                                             DEFENDANT: The order, the order

          9     clearly says that the-

         10                                             THE COURT: That it was placed, that it

         11     was placed on the ledger without prejudice. That’s all, that’s all it says. It was-

         12                                             DEFENDANT: Which means-

         13                                             THE COURT: -placed on the ledger-

         14                                             DEFENDANT: -it means, it means it’s not

         15     owed.

         16                                             THE COURT: No, it means, it doesn’t

         17     mean it’s not owed. It, it, it’s, it’s, let’s see, motion to set arrears and discovery

         18     motions were not concluded on that date. Okay, so it was placed on the ledger

         19     without prejudice because it was still an issue that was left open. Am I correct,

         20     Mr., Mr. Gould?

         21                                             ATTORNEY GOULD: Yes, Your Honor.

         22                                             THE COURT: And with that, you may

         23     inquire of Mr. Meyersiek. Thank you.

         24                                             ATTORNEY GOULD: Thank you. First of

         25     all, Judge-

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          1                                            THE COURT: You’re muted. You’re

          2     muted.

          3                                            ATTORNEY GOULD: I’d ask the Court,

          4     I’d ask the Court to take judicial notice of the May 24th, 2012 order by Judge

          5     McCann, in which he established the child support order, in which he establishes

          6     an arrears of $30,458.00. That order was not appealed. That is the order of this

          7     Court.

          8                                            THE COURT: The Court takes judicial

          9     notice entered on May 24th, 2012, from which no appeal was taken.

         10                                            ATTORNEY GOULD: I’d ask the Court

         11     to take judicial notice for the September 25th, 2012 order of Justice John

         12     McCann in which the paragraph four indicates, “Interest will continue to run on

         13     monies due”.

         14                                            THE COURT: Likewise, the Court takes

         15     judicial notice of the September 25th, 2012 order, again, in which no appeal was

         16     taken.

         17                                            ATTORNEY GOULD: Thank you, Judge.

         18     If I could inquire of the Plaintiff?

         19                                            THE COURT: Yes.

         20                                            ATTORNEY GOULD: Mr. Meyersiek,

         21     you had a child support order that ran to your, uh, ran to your benefit in the

         22     amount of $218.00 per week. Is that correct?

         23                                            THE COURT: Can’t hear you, Sir.

         24                                            PLAINTIFF: (Inaudible).

         25                                            THE COURT: Very, very faint. It’s hard to

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          1     hear you.

          2                                          PLAINTIFF: Is this better?

          3                                          THE COURT: Perfect.

          4                                          PLAINTIFF: Okay, good. Sorry. Yes, to

          5     the best of my recollection, that was the amount.

          6                                          ATTORNEY GOULD: Did you ever

          7     receive child support from the Defendant mother directly, after May 24th, 2012?

          8                                          PLAINTIFF: I only received two

          9     payments. I believe one was in 2019 and one was in 2021.

         10                                          ATTORNEY GOULD: So, from-

         11                                          PLAINTIFF: I never, I never received

         12     anything directly.

         13                                          ATTORNEY GOULD: From 2012 to

         14     2018, you received nothing in child support, correct?

         15                                          PLAINTIFF: Not a single penny.

         16                                          ATTORNEY GOULD: And that was a

         17     time when the child was a minor, correct?

         18                                          PLAINTIFF: Correct.

         19                                          ATTORNEY GOULD: That was during a

         20     period of time when you could’ve used the money for the child, correct?

         21                                          PLAINTIFF: That is absolutely correct.

         22                                          ATTORNEY GOULD: And you received

         23     nothing, correct?

         24                                          PLAINTIFF: That is correct, and I

         25     should’ve had, I had to send my daughter to a school, I had to pay for every

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          1     meal, I had to pay for her clothing, I had to pay for everything.

          2                                           ATTORNEY GOULD: You received a

          3     payment sometime in 2018 in the amount of $6,461.95, correct?

          4                                           PLAINTIFF: That is correct.

          5                                           ATTORNEY GOULD: And then you

          6     received a payment in 2021, on or about 12/9 for 2021, in the amount of

          7     $4,185.98, is that correct?

          8                                           PLAINTIFF: I don’t recall the exact

          9     amount.

         10                                           ATTORNEY GOULD: Does that number

         11     refresh your memory somewhat?

         12                                           PLAINTIFF: Yes, it does.

         13                                           ATTORNEY GOULD: Are you looking to

         14     collect interest that accrued on that money from, from, I’m sorry, from May

         15     202-, May 24th, 2012 up until today’s date?

         16                                           PLAINTIFF: Yes.

         17                                           ATTORNEY GOULD: Did you make any

         18     contracts, agreements with Miss Seguin outside Court that indicated that you

         19     were going to waive interest?

         20                                           PLAINTIFF: Absolutely not.

         21                                           ATTORNEY GOULD: I have no further

         22     questions of the Plaintiff.

         23                                           PLAINTIFF: Thank you.

         24                                           DEFENDANT: Uh, Your Honor, I have

         25     been unable to object to anything because, uh, I was put on mute, but-

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          1                                           THE COURT: Okay, well, we can note

          2     your objection now.

          3                                           DEFENDANT: The, the, uh, at the last

          4     hearing, uh, as well as, uh, the, uh, hearing before you were, uh, appointed, uh,

          5     by the, uh, Judge, uh, in June 2023, we were on a motion to compel. So,

          6     therefore, I do not have, based on discovery, discovery has not been completed.

          7     Therefore, I am not ready to present the, uh, evidence and present the

          8     arguments.

          9                                           THE COURT: What, uh, what specifically,

         10     what are you seeking in discovery that you haven’t received yet?

         11                                           DEFENDANT: I have, uh, as you can see,

         12     I have that motion, uh, that is pending, that has been pending since June of 2023,

         13     to compel production relative to my, uh, request for documents. I, I have a

         14     pending motion-

         15                                           THE COURT: You, you, you received all

         16     of the Court documents.

         17                                           DEFENDANT: No-

         18                                           THE COURT: What out, what outside of

         19     the Court documents are you seeking in discovery?

         20                                           DEFENDANT: I’m seeking based on my,

         21     uh, on the Court record that would show that I’m seeking my case file.

         22                                           THE COURT: You have-

         23                                           DEFENDANT: I’m entitled-

         24                                           THE COURT: -you, no, no.

         25                                           DEFENDANT: I do not have a, my case

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          1     file-

          2                                            THE COURT: You do have your case file.

          3                                            DEFENDANT: -I do not have my-

          4                                            THE COURT: It was scanned-

          5                                            DEFENDANT: I do not!

          6                                            THE COURT: -and sent to you as you

          7     already acknowledged by Mr. Santamaria in numerous emails. The entire Court

          8     file was scanned in and sent to you.

          9                                            DEFENDANT: Oh, you’re talking about

         10     the Court file. I’m talking about my child support case file. I’m entitled under

         11     Federal law to have access to my Federal, my child support case file, and that’s

         12     the discovery that’s being ordered. I have not been able, they have denied, on

         13     paper, which is submitted within this Court record. The Court record shows that

         14     they have, uh, refused, uh, uh, raising all kinds of issues to produce my child

         15     support case record.

         16                                            ATTORNEY GOULD: Objection.

         17                                            DEFENDANT: Under Federal law, under

         18     the Federal law, under Title IV of the Social Security Act, which is what this

         19     process and this legal hearing is under-

         20                                            ATTORNEY GOULD: Objection.

         21                                            DEFENDANT: -(inaudible) under-

         22                                            THE COURT: Alright, what’s-

         23                                            DEFENDANT: I have rights.

         24                                            THE COURT: -what’s the basis of your

         25     objection-

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          1                                            DEFENDANT: -I have a Federal rights-

          2                                            THE COURT: -Mr. Gould?

          3                                            DEFENDANT: -(inaudible), I have a

          4     Federal right to my child support case file.

          5                                            THE COURT: Hold on, Ma’am. He

          6     objected and I wanna know the basis of his objection.

          7                                            ATTORNEY GOULD: Relevance to the

          8     issue before the Court, Judge. The issue before the Court is interest. The motions

          9     that she’s alleging that she’s pursuing, the State file appropriate objections to her

         10     discovery request. So, she needs a hearing on it instead of her other diversions

         11     that she’s had at the last nine months. We could’ve addressed these, Judge, but

         12     we wanna keep pushing this off and pushing this off. So, the State has filed, the

         13     State has responded to the discovery. I’ve had a conference with Miss Seguin, at

         14     one point, to try to go over some of our disputes with regard to, with regard to

         15     discovery. Uh, that did not turn out to be very productive. Uh, I have stated, uh,

         16     on my, on her requests, uh, all the basis for our objections and I’m ready to

         17     argue those objections, when she puts forth specific allegations, specific

         18     documents in the specific request that she’s looking for, but until then, Judge,

         19     this is a real simple case of about whether or not this lady paid child support and

         20     whether or not this gentleman is entitled to interest-

         21                                            DEFENDANT: Objection.

         22                                            ATTORNEY GOULD: -the Court has-

         23                                            DEFENDANT: Objection.

         24                                            ATTORNEY GOULD: -the Court has-

         25                                            THE COURT: (Inaudible).

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          1                                            ATTORNEY GOULD: -filed-

          2                                            DEFENDANT: Fundamentally, in order to

          3     claim that I owe anything, I have a right to my child support case file under

          4     Federal law.

          5                                            THE COURT: Ma’am, what’s this-

          6                                            DEFENDANT: I have-

          7                                            THE COURT: -what’s specific document-

          8                                            DEFENDANT: -(inaudible)-

          9                                            THE COURT: -what specific document-

         10                                            DEFENDANT: -since ’21-

         11                                            THE COURT: Ma’am, Ma’am, Ma’am, if

         12     you keep yelling over me and over the Attorneys, this is not going to be

         13     productive. I’m trying to just narrow this down to the specific piece of

         14     information that you’re seeking.

         15                                            DEFENDANT: I am, Your Honor, I need

         16     to have my entire case file. I, I have, the Court order-

         17                                            THE COURT: Do you, do you-

         18                                            DEFENDANT: -on February the 10th

         19     ordered discovery. There were, by law, my right is to have my entire case file,

         20     and, and by Federal Court, Federal law, I am entitled to have my entire case file.

         21     Child support interstate encompasses, and this is an interstate case, encompasses

         22     Federal law. It encompasses Texas law, because you are reaching your, your

         23     long arm into the State of Texas. Therefore, I am entitled, by Federal law, and

         24     by Texas law, as well as Rhode Island law, to have access to my child support

         25     file.

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          1                                            THE COURT: Thank you Miss, Thank

          2     you, Miss Seguin. Mr. Gould-

          3                                            DEFENDANT: (Inaudible) Mr. Gould-

          4                                            THE COURT: -what, what is the, what is

          5     the State’s objection-

          6                                            ATTORNEY GOULD: Rel-, well for the

          7     most part-

          8                                            THE COURT: -to give-

          9                                            ATTORNEY GOULD: -relevance, Judge.

         10     She’s, she is not gonna use the documents that she’s requesting, in this case,

         11     when she, when the documents you’re requesting is what she is the target for in

         12     her Federal case. So, she’s not gonna use me as a pawn to get, to do her

         13     discovery in her Federal case. This is a simple issue of child support, simple

         14     issue of payments, but what she’s trying to do is she tried to do her discovery,

         15     her Federal discovery in this child support case. So, what I did is I laid out in, in

         16     our responses, our objections, based on relevance. So, again, again, we went

         17     another ten minutes of her for asking for certain, a multitude of documents

         18     without her saying one specific document that she wants, one specific item, one

         19     specific request for production that she’s, we can do this, Judge. We can go for

         20     another twenty minutes and do the same thing, but until she gets her eyes on a

         21     piece of paper and looking at her motions and going word by word, and until we

         22     can do that, Judge, I, we can’t go anywhere. I’ve, I’ve stated our objection-

         23                                            THE COURT: Well, that, I’m, I’m trying,

         24     you know, I’m trying to work with you, Miss Seguin, to see if you can narrow it

         25     down to a specific, a specific issue or a specific document that you believe

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          1     supports you and your contention that at some point, there was an agreement or

          2     there was an order that waived the interest, but to be going on a fishing

          3     expedition and insist that the State, uh, provide you with your case file, um, you

          4     know-

          5                                            DEFENDANT: Your, Your Honor,

          6     discovery is to get my entire case file. I think that is something Federal law

          7     guarantees, and it says so from 42 USC Section 654, all the way to 666. That

          8     law luminous, uh, Federal law, codified by Congress, provides everyone in the

          9     country the right to access all the case file, child support case file, maintained by

         10     every and any State Government, and that is, I’m not the, eh, the, Congress has

         11     never said that’s sufficient expedition (?). Congress has said, you’re allowed to

         12     have your entire case file and from there on, you’re even allowed to ask

         13     questions. Why was this, why was, that’s the due process and that is the equal

         14     protection, and that is the Privileges and Immunities Clause that we’re all

         15     guaranteed and living under. This is an interstate case. I am entitled by the

         16     Constitution and by Federal laws 654 to 666 to have access to my entire file. I

         17     cannot, I am unable, no custodial parent or non-custodial parent is able, that’s

         18     mentioned in the Social Security Act, would be un-,would be able to actually

         19     identify, say this is the document I’m asking for, but they don’t have access to,

         20     to the file.

         21                                            THE COURT: Ma’am, you have access to

         22     all of the Court orders.

         23                                            DEFENDANT: I-

         24                                            THE COURT: The Court-

         25                                            DEFENDANT: But I-

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          1                                            THE COURT: -the Court, the Court is

          2     what establishes the, the child support order, the arrears order, and interest goes

          3     along with that, Ma’am. So-

          4                                            DEFENDANT: You’re talking about this

          5     agreement that we’re deal, talking about. Agreement that you just mentioned

          6     that, Your Honor, deals with my case file and this is the case file I am, by law,

          7     by the (inaudible), by Federal law, by Texas law, and by Rhode Island law,

          8     entitled to have access to, and Mr. Gould and the Child Support, uh, Services

          9     and, uh, of Human Services denies me both, all denying me access to those. So,

         10     I am again, asking for that. I will ask in every possible jurisdiction for those

         11     because I am entitled, by law, at least three jurisdictions. By Texas law, by

         12     Federal law-

         13                                            THE COURT: Thank you.

         14                                            DEFENDANT: -and by Rhode Island law.

         15                                            THE COURT: Thank you-

         16                                            DEFENDANT: Nevermore-

         17                                            THE COURT: -Mr. Gould? Thank you.

         18     Okay, you’ve, you’ve you’ve made your point. I understand what your argument

         19     is. Mr. Gould?

         20                                            ATTORNEY GOULD: Judge, I went

         21     another, I think, ten minutes, maybe nine minutes that time. I still don’t know

         22     what she’s looking for. Uh, it’s a motion to compel. If, if that’s what she wanted,

         23     then let’s have the motion to compel. Let’s hear that. Maybe, maybe she could

         24     put those thoughts into words again and maybe come up with a plan that she

         25     wants for this discovery, Judge, but what we’re doing now is wasting your time,

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          1     and wasting my time, and we’re not getting anywhere. So, we’ve provided her

          2     volumes upon volumes of documents relative to her case. She had specific

          3     questions that I objected to. The, the objections were timely. We had a

          4     conference, we went through them. After the conference, I had not heard

          5     anything from Miss, uh, Seguin. We’ve gone through, I think, since February,

          6     five or six appearances, a couple before you. I, I could, that, that could be an

          7     exaggeration. It could’ve been four, uh, but we’ve been before the Court and,

          8     and we’ve come with other issues every time and we continue this and continue

          9     this. Judge, again, in order to have equity, you have to have clean hands, and this

         10     is a person who has failed to comply with THIS Court’s orders. Not the

         11     Constitution, not the Texas law, not the, not the Congress law. This is someone

         12     who has failed to comply with your orders, with your Court’s orders on a

         13     specific matter-

         14                                            DEFENDANT: Objection.

         15                                            ATTORNEY GOULD: -with child support

         16     with a very-

         17                                            DEFENDANT: Ob, objection.

         18                                            ATTORNEY GOULD: -very basic needs

         19     of a child-

         20                                            DEFENDANT: Objection.

         21                                            ATTORNEY GOULD: -and we’re gonna

         22     give-

         23                                            THE COURT: I’m gonna, I’m gonna, I’m

         24     going to allow him to speak, just like I allowed you to speak. Mr., Mr. Gould,

         25     continue.

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          1                                            ATTORNEY GOULD: I, I’ve said

          2     enough, Judge.

          3                                            DEFENDANT: Objection.

          4                                            THE COURT: Again, the Court, the Court

          5     takes judicial notice of both the May 24th, 2012 Court order, as well as the

          6     subsequent September 25th, 2012 Court order. Um, there was, um, no appeal,

          7     um, taken from either one of those Court orders. With respect to, um-

          8                                            DEFENDANT: Objection. Objection,

          9     Your Honor.

         10                                            THE COURT: Your objection is noted,

         11     thank you very, thank you, your objection is noted.

         12                                            DEFENDANT: He, he-

         13                                            THE COURT: Mr. Gould, what is the

         14     specific, uh, amount of interest that, um, is, uh, should be on the system? Is it

         15     $81,652.49?

         16                                            ATTORNEY GOULD: Yes, Judge.

         17                                            THE COURT: Okay, and was that the

         18     amount that was, um, placed on the system back in February?

         19                                            ATTORNEY GOULD: Correct, Judge.

         20                                            THE COURT: The Court finds-

         21                                            ATTORNEY GOULD: That number

         22     (inaudible)-

         23                                            THE COURT: -the Court finds that that is,

         24     based on no, absolutely no evidence to the contrary, that that is the amount, um,

         25     that should be set on this as of today, today’s date.

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          1                                           ATTORNEY GOULD: Thank you, Your

          2     Honor.

          3                                           DEFENDANT: Objection.

          4                                           THE COURT: Your objection is noted. I

          5     gave my ruling.

          6                                           DEFENDANT: May, Your Honor, Your

          7     Honor-

          8                                           THE COURT: I’ve made my ruling.

          9                                           DEFENDANT: - I would like to place on

         10     the record that I have not been able to complete the discovery that there, that the,

         11     uh, the, uh, Child Support Agency had placed on the record that there is an

         12     agree-, asking about an agreement. I have not been able to cross examine the

         13     Defendant. That is a violative of due process-

         14                                           THE COURT: Sir, you can, Sir-

         15                                           DEFENDANT: -because my, I have-

         16                                           THE COURT: Ma’am, Ma’am, Ma’am-

         17                                           DEFENDANT: -the right to examine-

         18                                           THE COURT: -if you have any questions-

         19                                           DEFENDANT: -(inaudible)-

         20                                           THE COURT: -for Mr. Meyersiek, feel

         21     free to, feel free to ask him.

         22                                           DEFENDANT: So, therefore, we are now

         23     vacating your prior decision-

         24                                           THE COURT: No, we’re not! No, we’re

         25     not!

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          1                                           DEFENDANT: -because we, because we

          2     are, we have not gone through due process in terms of my asking, be able to

          3     cross examine the Defendant. I’m sorry, the Plaintiff, the opposing party. I, I

          4     would like to ask for my witness, Mr. Gould, to be, to the witness stand.

          5                                           THE COURT: Mr. Gould-

          6                                           ATTORNEY GOULD: Objection, Judge.

          7                                           THE COURT: Mr. Gould is not, is not a

          8     witness.

          9                                           DEFENDANT: The State. The State, on

         10     the State of Rhode Island and he represents the State of Rhode Island. He was

         11     instrumen-, he had communicated with me prior to this particular proceeding,

         12     the start of proceeding in 2022, by email, by conversation, and with John

         13     Langlois. So, that’s my witness. I’d like to put on the stand, as my witness-

         14                                           THE COURT: Today, the matter before-

         15                                           DEFENDANT: -regarding-

         16                                           THE COURT: -the matter before the

         17     Court-

         18                                           DEFENDANT: -regarding-

         19                                           THE COURT: -is a motion to set-

         20                                           DEFENDANT: -the waiver of interest-

         21                                           THE COURT: -to set arrears-

         22                                           DEFENDANT: -regarding-

         23                                           THE COURT: Ma’am, Ma’am-

         24                                           DEFENDANT: -the waiver of interest-

         25                                           THE COURT: Ma’am, I’m gonna mute

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          1     you again. The matter before the Court today is simply a motion to set arrears.

          2     We set the arrears, there’s nothing further before the Court. If you wanna file a

          3     different motion, feel free to do so, but this matter is concluded with your arrears

          4     being set at $81,652.49.

          5                                             DEFENDANT: Your, unmute, am I

          6     unmuted?

          7                                             THE COURT: No. Yeah.

          8                                             DEFENDANT: Am I unmuted? Uh, I am

          9     filing, I am asking for, um, uh, reconsideration because there is, I have not, I’ve

         10     been, uh, uh, barred, obstructed from presenting evidence. I’d like to play, uh,

         11     the audio recording of the waiver of interest.

         12                                             THE COURT: Today is the motion to set

         13     the, to set the interest.

         14                                             DEFENDANT: And that’s my defense-

         15                                             THE COURT: The motion to set arrears,

         16                                             DEFENDANT: -my defense is, I would

         17     like to play the recording of the waiver of interest that the State had represented

         18     that Gero had done. If I’m obstructed from, uh, providing evidence and we have

         19     a due process issue in this proceeding. I have not been, I want to present

         20     evidence, I want to cross examine the witness, I want to pro-, I want to call my

         21     witness and I have a right to do so-

         22                                             THE COURT: Ma’am, if you want to do

         23     that, this is not, this is not the forum for that. I can do that in another proceeding.

         24                                             DEFENDANT: Yes, it is! Yes, it is-

         25                                             THE COURT: Uh, well, I respectfully dis-

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          1     agree with you.

          2                                             DEFENDANT: -because we are here-

          3                                             THE COURT: I respectfully disagree-

          4                                             DEFENDANT: -to establish, we are here

          5     to establish, we’re here supposedly to establish interest and I am presenting

          6     evidence that interest was waived.

          7                                             THE COURT: Interest was not waived in

          8     any Court order and that is the basis upon which-

          9                                             DEFENDANT: It was waived-

         10                                             THE COURT: -I made my decision today.

         11                                             DEFENDANT: -(inaudible)-

         12                                             THE COURT: Ma’am, Ma’am-

         13                                             DEFENDANT: -it was waived-

         14                                             THE COURT: -I’m muting you because

         15     you don’t let me speak. There is no Court order by this Court by any Magistrate

         16     or Judge that waived or set the interest to zero. It is still in the system, and that is

         17     why today I am going to establish that the interest owed by you on this account

         18     is set at $81,652.49. There was no Court order to the contrary. This matter is

         19     now concluded.

         20                                             DEFENDANT: I am now, I am now

         21     raising the issue, uh, that interest was waived by contract and agreement-

         22                                             THE COURT: Ma’am, I, Ma’am-

         23                                             DEFENDANT: -with Gero Meyersiek-

         24                                             THE COURT: -I, I just, Ma’am-

         25                                             DEFENDANT: -and this is all part of the-

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          1                                              THE COURT: -I just gave you the

          2     reasoning-

          3                                              DEFENDANT: -(inaudible) process-

          4                                              THE COURT: -for the Court’s decision is

          5     based on the fact that the Court file is void of any order or judgement that

          6     waived the interest of set it to zero.

          7                                              DEFENDANT: Also, the interest rate of

          8     12% compounding interest is illegal under, uh, Social Security Act. They have

          9     put out-

         10                                              THE COURT: Well, that’s the interest rate

         11     that-

         12                                              DEFENDANT: -12% compound interest-

         13                                              THE COURT: -that’s been established-

         14                                              DEFENDANT: -that is illegal under-

         15                                              THE COURT: -by the State of Rhode

         16     Island.

         17                                              DEFENDANT: -Federal law, which

         18     preempts Rhode Island law.

         19                                              THE COURT: Thank you very much, Miss

         20     Seguin-

         21                                              DEFENDANT: I just wanna make sure

         22     that-

         23                                              THE COURT: Your objection is moted.

         24                                              DEFENDANT: -(inaudible)-

         25                                              THE COURT: Thank you very much-

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          1                                           DEFENDANT: -(inaudible)-

          2                                           THE COURT: -Mr. Meyersiek-

          3                                           DEFENDANT: -also entitled-

          4                                           THE COURT: -Attorney Gould-

          5                                           DEFENDANT: -to see Judge created laws

          6     on these, this issue. I have been prevented from accessing those. There’s

          7     (inaudible) public records (inaudible)-

          8                                           THE COURT: Ma’am, we gave you every

          9     Court record you requested.

         10                                           DEFENDANT: -Federal-

         11                                           THE COURT: You requested-

         12                                           DEFENDANT: -that was all Judge

         13     created-

         14                                           THE COURT: -you requested the Court

         15     file-

         16                                           DEFENDANT: -laws. (Inaudible) 12%

         17     compounding interest-

         18                                           THE COURT: -for a number of years. I’m

         19     not going to let you yell at me.

         20                                           DEFENDANT: Why-

         21                                           THE COURT: You’re not going to talk

         22     over me.

         23                                           DEFENDANT: Why-

         24                                           THE COURT: This hearing is concluded.

         25     Thank you very much.

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          1                                            ATTORNEY GOULD: Thank you, Judge.

          2                                            DEFENDANT: I object and raise that the-

          3                                            THE COURT: Thank you-

          4                                            DEFENDANT: -interest, as well-

          5                                            THE COURT: Thank you.

          6                                            DEFENDANT: -and compound interest is

          7     illegal-

          8                                            ATTORNEY GOULD: Thank you, Judge.

          9                                            DEFENDANT: I’m looking to appeal this

         10     to the Judge, Miss, uh, Your Honor, Magistrate-

         11                                            THE COURT: And you’re, and you’re free

         12     to do so.

         13                                            DEFENDANT: And I’m doing that on an

         14     oral basis, so here are-

         15                                            THE COURT: You can file that with the

         16     Clerk-

         17                                            DEFENDANT: -I am doing that orally-

         18                                            THE COURT: You can file that with the

         19     Clerk. I will make a notation.

         20                                            DEFENDANT: -this is an oral motion, an

         21     oral motion, this is an oral motion-

         22                                            THE COURT: Thank you.

         23                                            DEFENDANT: -to-

         24                                            THE COURT: It’s noted.

         25                                            DEFENDANT: -appeal the Magistrate’s

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          1     order-

          2                                             THE COURT: Your appeal from my

          3     decision is noted. It will be put in the order.

          4                                             DEFENDANT: -for a hearing, there was

          5     no hearing on this, there was no trial on this, no trial was provided. I was

          6     prevented from, uh, from, uh, from, uh, from presenting evidence-

          7                                             THE COURT: And you may appeal my

          8     decision-

          9                                             DEFENDANT: -(inaudible) audio

         10     recording-

         11                                             THE COURT: -to a Famiy Court Justice.

         12     Thank you very much.

         13                                             DEFENDANT: I’m appealing it. I, I have

         14     appealed it orally, now.

         15                                             CLERK: Nope, can’t do that.

         16                                             THE COURT: You have to file an appeal

         17     yourself in the Clerk’s office.

         18                                             CLERK: And she has to pay for a

         19     transcript-

         20                                             DEFENDANT: According to Turner

         21     versus Rodgers, another U.S. Supreme Court case, I am entitled to not have to

         22     do a, uh, a written motion. I can do an oral motion for an appeal to a, uh, to, to

         23     the Jus-, Judge, uh, at iss-, that’s, uh, of issue and I’m requesting a hearing date

         24     for that appeal.

         25                                             CLERK: Sorry, that goes before a Judge.

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          1                                            DEFENDANT: Clerk (inaudible)-

          2                                            THE COURT: That has to go before a

          3     Family Court Judge.

          4                                            CLERK: Only the Office can give appeal

          5     dates, and there’s a process and she has to order a transcript, and pay for it,

          6     before that transcript will even be typed out.

          7                                            THE COURT: Miss Seguin, did you hear

          8     the Clerk?

          9                                            DEFENDANT: Who is the, uh, who is the,

         10     uh, the Scribe for this, the, uh, Stenographer? So, today, I wanna make very

         11     clear, you all know you’re establishing this Court, um, establishing interest and

         12     what you’re also saying is that the, the, uh, the interest was supposedly

         13     established but you’re reestablishing interest?

         14                                            THE COURT: I’ve made my ruling-

         15                                            DEFENDANT: There’s no-

         16                                            THE COURT: -I’ve made my ruling-

         17                                            DEFENDANT: -(inaudible)-

         18                                            THE COURT: -Miss Seguin, I’ve made

         19     my ruling. You’ve indicated you’re interest in appealing. That is noted for the

         20     record. We have other cases that are waiting to be heard. Thank you very much

         21     and-

         22                                            DEFENDANT: I’m looking to-

         23                                            THE COURT: -you’re free to follow up-

         24                                            DEFENDANT: -as a pro se litigant-

         25                                            THE COURT: -however you see fit. Thank

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          1     you so much.

          2                                            DEFENDANT: -I’m looking to-

          3                                            THE COURT: I understand that and thank

          4     you.

          5                                            DEFENDANT: -understand what the

          6     Court order will say.

          7                                            THE COURT: Thank-

          8                                            DEFENDANT: What will the Court order

          9     say? What will the Court order say?

         10                                            THE COURT: Mr. Gould will draft the

         11     Court order for my signature, and you’ll receive a copy of it. Thnak you very

         12     much.

         13                                            DEFENDANT: Now, what would it, what

         14     would it, so that we’re all clear, so I can also put on the record any objections.

         15     The objection, so, you’re-

         16                                            THE COURT: Miss Seguin-

         17                                            DEFENDANT: -ordering reestablishment

         18     because that’s the motion. The motion is to reestablish interest.

         19                                            THE COURT: It’s not reestablish.

         20                                            DEFENDANT: And-

         21                                            THE COURT: It’s set arrears. That was the

         22     motion, to set arrears. The arrears are the interest that you owe on the case,

         23     Ma’am, and this hearing is over.

         24                                            DEFENDANT: So, you are-

         25                                            THE COURT: I’m going to end the

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          1     hearing-

          2                                           DEFENDANT: -you are (inaudible)-

          3                                           THE COURT: You are not going to talk

          4     over me. The hearing is over. You can file your appeal. Thank you very much.

          5     Have a good day.

          6                                           DEFENDANT: I would like to put on the

          7     record-

          8                                           THE COURT: The hearing is over,

          9     Ma’am.

         10                                           DEFENDANT: -um, my appeal.

         11                                           THE COURT: The hearing is over. You

         12     can’t cont-

         13                                           DEFENDANT: I would like to put on the

         14     record for the appeal, because the appeal is critically important.

         15                                           THE COURT: I understand that.

         16                                           DEFENDANT: The appeal basically-

         17                                           THE COURT: We’re not, no, we’re not

         18     going to hear your appeal now.

         19                                           DEFENDANT: You don’t have-

         20                                           THE COURT: We’re not going to hear

         21     your appeal now.

         22                                           DEFENDANT: You don’t have, this Court

         23     does not have jurisdiction-

         24                                           THE COURT: You’ve noted you’re

         25     objection, you’ve noted your objection, you’re not going to argue your appeal

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          1     now and you’re not gonna talk over me, okay. I’ve made my ruling. You

          2     disagree with it. You have a right to appeal and the hearing is over, okay. You’re

          3     not going to argue your appeal here. You don’t like my decision, you don’t

          4     agree with my decision, and the hearing is over, because there’s nothing left to

          5     discuss. I’m ending this meeting for everyone. I’m ending-

          6                                           DEFENDANT: You-

          7                                           THE COURT: I’m ending the meeting for

          8     everyone.

          9                                           DEFENDANT: The Family Court does not

         10     have jurisdiction-

         11                                           THE COURT: Thank you.

         12                                           DEFENDANT: -over agreements between

         13     Gero and myself-

         14                                           THE COURT: Thank you. I’m ending, I’m

         15     ending the meeting. Thank you.

         16                                           DEFENDANT: I’m putting that on the

         17     record. The Family Court lacks subject matter-

         18                                           THE COURT: Okay.

         19                                           DEFENDANT: -jurisdiction, nor personal

         20     jurisdiction regarding agreements-

         21                                           THE COURT: I’m ending the meeting-

         22                                           DEFENDANT: -between Gero Meyersiek-

         23                                           THE COURT: -for everyone.

         24                                           DEFENDANT: -and myself-

         25                                           THE COURT: Thank you, Mr. Meyersiek-

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          1                                        DEFENDANT: -and that was a question-

          2                                        THE COURT: -thank you, Mr. Gould-

          3                                        DEFENDANT: -Mr. Gould had posed-

          4                                        THE COURT: Thank you very much. I’m

          5     ending the meeting for everyone.

          6                                        DEFENDANT: In-

          7

          8

          9                                        HEARING CONCLUDED.

         10

         11

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                                        Exhibit B
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                                                    Title 15
                                                Domestic Relations
                                                        Chapter 5
                                                  Divorce and Separation
                                                      R.I. Gen. Laws § 15-5-16.5

     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




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                                                PUBLISHED

                    UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                   JIM HODGES, in his official capacity      
                   as Governor of the State of South
                   Carolina; JEAN HOEFER TOAL, in her
                   official capacity as Chief Justice of
                   South Carolina; SOUTH CAROLINA
                   DEPARTMENT OF SOCIAL SERVICES;
                   STATE OF SOUTH CAROLINA; PEOPLE OF
                   SC, on Behalf of the State of South
                   Carolina; JOHN DOE; JANE DOE, and
                   those similarly situated,
                                    Plaintiffs-Appellants,
                                     v.                              No. 00-2512
                   TOMMY G. THOMPSON, SECRETARY,
                   UNITED STATES DEPARTMENT OF
                   HEALTH AND HUMAN SERVICES; WADE
                   F. HORN, Ph.D. in his official
                   capacity as Assistant Secretary of
                   the United States Department of
                   Health and Human Services for
                   Children and Families; U.S.
                   DEPARTMENT OF HEALTH & HUMAN
                   SERVICES,
                                  Defendants-Appellees.
                                                             
                              Appeal from the United States District Court
                             for the District of South Carolina, at Columbia.
                   Julian Abele Cook, Jr., Senior District Judge, sitting by designation.
                                            (CA-00-2048-3-17)

                                           Argued: December 6, 2001

                                          Decided: November 15, 2002
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                   2                       HODGES v. THOMPSON
                       Before WIDENER, NIEMEYER, and MOTZ, Circuit Judges.



                   Affirmed by published per curiam opinion.


                                               COUNSEL

                   ARGUED: Marcus Angelo Manos, NEXSEN, PRUET, JACOBS &
                   POLLARD, L.L.C., Columbia, South Carolina, for Appellants. Greg-
                   ory George Katsas, Appellate Staff, Civil Division, UNITED
                   STATES DEPARTMENT OF JUSTICE, Washington, D.C., for
                   Appellees. ON BRIEF: Wilburn Brewer, Jr., NEXSEN, PRUET,
                   JACOBS & POLLARD, L.L.C., Columbia, South Carolina; A.E.
                   Dick Howard, Charlottesville, Virginia, for Appellants. Stuart E.
                   Schiffer, Acting Assistant Attorney General, Scott N. Schools, United
                   States Attorney, Jacob M. Lewis, Peter J. Smith, Appellate Staff,
                   Civil Division, UNITED STATES DEPARTMENT OF JUSTICE,
                   Washington, D.C., for Appellees.


                                                OPINION

                   PER CURIAM:

                      The Governor of South Carolina appeals the grant of summary
                   judgment to the Secretary of the United States Department of Health
                   and Human Services in the State’s action seeking injunctive and
                   declaratory relief from conditions imposed for federal funding of the
                   Temporary Assistance to Needy Families (TANF) program.

                      South Carolina challenges the district court finding that Congress
                   acted within its Spending Clause authority when it conditioned States’
                   receipt of federal funds under the child support enforcement program
                   and the TANF program on compliance with the requirement that
                   States develop and maintain automated child support enforcement
                   systems and that such a condition was not so coercive as to violate
                   the Tenth Amendment. The State further alleges the district court
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                                            HODGES v. THOMPSON                           3
                   erred when it found that the Secretary did not have the discretion to
                   amend the statutory penalty structure for a State’s noncompliance
                   with the child support systems requirements. In addition, South Caro-
                   lina contends the court erred in finding that the State could not invoke
                   the protections of the Due Process Clause. After considering the par-
                   ties’ briefs and the record, and following oral argument, we affirm
                   substantially on the reasoning of the district court.

                                                      I.

                      The district court opinion contains a comprehensive history, the
                   details of which need not be repeated here, of the federal govern-
                   ment’s longstanding involvement in child support enforcement pro-
                   grams and related federal efforts to work with the States to solve the
                   serious problem of nonpayment of child support. See Hodges v. Sha-
                   lala, 121 F.Supp.2d 854 (D.S.C. 2000). Currently, as a condition of
                   receipt of any federal funding under Title IV-D of the Social Security
                   Act, 42 U.S.C. §§ 651-669, States must have an approved state plan
                   for child and spousal support that meets all the requirements of 42
                   U.S.C. § 654. Among the prerequisites for approval of a Title IV-D
                   Plan are the requirements that the State establish and operate an auto-
                   mated data processing and information retrieval system, see 42 U.S.C.
                   § 654(24), and a state child support disbursement unit (SDU), see 42
                   U.S.C. § 654(27)(A). South Carolina concedes that it has neither a
                   federally certifiable statewide automated system for child support nor
                   an SDU. See Hodges, 121 F. Supp. 2d at 861.

                      Without an approved state plan, a State may lose federal funding
                   under both Title IV-D (child support enforcement) and Title IV-A
                   (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alter-
                   natively, a State may opt for an alternative penalty in lieu of disap-
                   proval of their state plan and the withholding of federal funds if the
                   State is making a good faith effort to comply with the program’s
                   requirements and the State has submitted a corrective compliance
                   plan. See 42 U.S.C. § 655(a)(4). South Carolina has elected to incur
                   the alternative penalty.

                      We exercise jurisdiction pursuant to 28 U.S.C. § 1291 and review
                   a district court’s grant of summary judgment de novo. See United
                   States v. Kanasco, Ltd., 123 F.3d 209, 210 (4th Cir. 1997).
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                                                     II.

                      We turn first to South Carolina’s contention that the federal gov-
                   ernment’s requirements and penalties associated with the state-wide
                   automated systems, which South Carolina failed to provide, exceed
                   Congressional authority under the Spending Clause and the Tenth
                   Amendment.

                      Consistent with its Spending Power, Congress may attach condi-
                   tions on the receipt of federal funds. See South Dakota v. Dole, 483
                   U.S. 203, 206 (1987). The Spending Power is not unlimited, of
                   course, and the Supreme Court has recognized four general limita-
                   tions: spending must be in pursuit of the general welfare; any attached
                   conditions must be unambiguous; conditions must also be related to
                   a federal interest; and, the obligations imposed by Congress may not
                   violate any independent constitutional provisions. See Dole, 483 U.S.
                   at 207-08.

                      The district court found that "Congress made a considered judg-
                   ment that the American people would benefit significantly from the
                   enhanced enforcement of child-support decrees and the diminution of
                   the number of parents who are able to avoid their obligations simply
                   by moving across local or state lines." Hodges, 121 F. Supp. 2d at
                   873. Thus, like the district court, we are satisfied that Congress acted
                   in the general welfare when it enacted the child support enforcement
                   programs and the associated funding conditions under Title IV-D.

                      South Carolina’s contention that the Title IV-D conditions are
                   ambiguous is without merit. The statute expressly provides that com-
                   pliance with the automated system and SDU requirements is a condi-
                   tion of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A.
                   We agree with the district court that the clear and unequivocal state-
                   ment of the required conditions in the statute enabled South Carolina
                   to "exercise [her] choice knowingly, cognizant of the consequences of
                   [her] participation." See Dole, 483 U.S. at 207 (citations omitted).

                     A third limitation on the Spending Power requires that conditions
                   "bear some relationship to the purpose of the federal spending." New
                   York v. United States, 505 U.S. 144, 167 (1992) (citing Dole, 483
                   U.S. at 207-08, n.3). Here, there is a complementary relationship
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                   between efficient child support enforcement and the broader goals of
                   providing assistance to needy families through the TANF program.
                   Establishing paternity and collecting child support may enable fami-
                   lies to reduce their dependence on the welfare system, and both pro-
                   grams are intended to reduce the incidence of poverty among children
                   and families. The Supreme Court has recognized that Congress
                   intended these linkages between child support programs and the
                   TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)
                   (concluding Congress intended the two programs to "operate together
                   closely to provide uniform levels of support for children of equal need").1

                      South Carolina does not contend that the Title IV-D conditions vio-
                   late the fourth limitation on the Spending Power — that the condi-
                   tions violate any independent Constitutional prohibition, rather it
                   raises a Tenth Amendment2 challenge. As we have recently recon-
                   firmed, "the Tenth Amendment itself does not act as a constitutional
                   bar to Congress’s spending power; rather, the fourth restriction on
                   Congress’s spending power stands for the more general proposition
                   that Congress may not induce the states to engage in activities that
                   would themselves be unconstitutional." James Island Pub. Serv. Dist.
                   v. City of Charleston, 249 F.3d 323, 327 (4th Cir. 2001) (citing Kan-
                   sas v. United States, 214 F.3d 1196, 1199 (10th Cir. 2000)) (italics in
                   original). We therefore next consider South Carolina’s Tenth Amend-
                   ment argument, not as a limitation related to the Spending Clause, but
                   as an independent constitutional challenge.

                      South Carolina argues that the coercive effect of the Title IV-D
                   conditions run afoul of the protections of the Tenth Amendment. The
                   Supreme Court has recognized that the Tenth Amendment may be
                   implicated when the financial incentives offered by the federal gov-
                   ernment to the States cross the impermissible line where "pressure
                     1
                        Sullivan considered the relationship between child enforcement pro-
                   grams and Aid to Families with Dependent Children (AFDC). 496 U.S.
                   at 478. TANF is a block grant program established in 1996 as the succes-
                   sor to the AFDC program. See 42 U.S.C. §§ 601-618.
                      2
                        The Tenth Amendment states: "The powers not delegated to the
                   United States by the Constitution, nor prohibited by it to the States, are
                   reserved to the States respectively, or to the people." U.S. Const. amend.
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                   turns into compulsion." See Dole, 483 U.S. at 211 (citations omitted).
                   Congress may use its Spending Power to influence a State’s legisla-
                   tive choices by providing incentives for States to adopt certain poli-
                   cies, but may not compel or coerce a State, or go so far as to
                   "commandeer the legislative processes of the States by directly com-
                   pelling them to enact and enforce a federal regulatory program." See
                   New York v. United States, 505 U.S. at 161, but Congress, under the
                   Commerce Clause, may offer the States a choice of regulation under
                   federal control or preemption under federal regulation. See Hodel v.
                   Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264,
                   288 (1981).

                      The district court found that, based on the State’s own admission,
                   the alternative penalty, which South Carolina has now elected, would
                   result in the loss of a small fraction of the State’s TANF funds and
                   that such a proportion was noncoercive. Given the linkages between
                   child support enforcement and aid to needy families and the level of
                   the alternative penalty, we agree with the district court’s conclusion
                   that "the Title IV-D conditions are not so overbearing as to create an
                   unconstitutional compulsion." Hodges, 121 F.2d at 875.

                      South Carolina next contends that the Secretary of the Department
                   of Health and Human Services (HHS) has the discretion to deviate
                   from the alternative penalty structure of Title VI-D in order to
                   respond to the peculiar circumstances that led to South Carolina’s
                   noncompliance. Specifically, South Carolina argues that its inability
                   to comply with the automated system and SDU requirements was
                   caused by the failure of its prime contractor, Unisys, to deliver on its
                   contract with the State. South Carolina maintains that because its non-
                   compliance was no fault of its own and its alternative systems are in
                   substantial compliance with the goals of the statute, the Secretary
                   abused her discretion by refusing to grant South Carolina an evidenti-
                   ary hearing and waive or amend the alternative penalty for noncom-
                   pliance.

                      We have examined the penalty provisions of the statute and, like
                   the district court, cannot find the discretion South Carolina envisions.
                   The wording of the statute is plain. Where the Secretary determines
                   that a state plan would be disapproved, and where the State has made
                   and continues to make a good faith effort to comply and has submit-
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                   ted a corrective compliance plan, "the Secretary shall not disapprove
                   the State plan . . . and the Secretary shall reduce the amount other-
                   wise payable to the State [by the designated alternative penalty]." 42
                   U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). Again, we agree with
                   the district court that "[b]y the text of the statute, the legislature has
                   prescribed that the Secretary shall enforce this penalty." Hodges, 121
                   F.2d at 879. Absent any discretion available to the Secretary to
                   impose a lesser penalty than the alternative penalty as outlined in the
                   statute, South Carolina’s assertion that it is entitled to an evidentiary
                   hearing must also fail.3

                                                      III.

                      For the foregoing reasons, we are of opinion that the Title IV-D
                   provisions are constitutionally valid under the Spending Clause and
                   the Tenth Amendment and that the Secretary lacks discretion under
                   Title IV-D to deviate from the penalty provisions.

                     The judgment of the district court is accordingly

                                                                               AFFIRMED.

                     3
                      In the district court, South Carolina asserted a Due Process claim
                   which the district court denied. The court concluded that the "State can-
                   not invoke the protections of the Fifth Amendment with claims that [the
                   State] has been harmed." Hodges, 121 F.2d at 865. South Carolina does
                   not take issue with the district court’s holding, but rather, on appeal it
                   asserts that the State is entitled to assert a Due Process claim on behalf
                   of its citizens. Because this contention was never properly presented to
                   the district court, we do not consider it now. See McGowan v. Gillen-
                   water, 429 F.2d 586, 587 (4th Cir. 1970).
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                                             No. 10-10

                      In the Supreme Court of the United States

                               MICHAEL D. TURNER, PETITIONER
                                                  v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL




                                                       NEAL KUMAR KATYAL
                                                        Acting Solicitor General
                                                          Counsel of Record
                                                       TONY WEST
                                                        Assistant Attorney General
                                                       LEONDRA R. KRUGER
                                                        Acting Deputy Solicitor
                                                          General
                     SALLY A. HOWARD                   JOSEPH R. PALMORE
                      Acting General Counsel            Assistant to the Solicitor
                                                          General
                     ROBERT E. KEITH                   LEONARD SCHAITMAN
                      Associate General Counsel        EDWARD HIMMELFARB
                     LISETTE PEDRE MESTRE               Attorneys
                      Attorney                          Department of Justice
                      Department of Health and          Washington, D.C. 20530-0001
                         Human Services                 SupremeCtBriefs@usdoj.gov
                      Washington, D.C. 20201            (202) 514-2217
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                                    QUESTIONS PRESENTED

                         1. Whether the Court has jurisdiction to review the
                     decision of the South Carolina Supreme Court.
                         2. Whether due process requires that the State pro-
                     vide counsel, at its expense, to an indigent parent in a
                     child-support proceeding, when the parent is subject to
                     a civil-contempt order for non-payment that may lead to
                     confinement.




                                               (I)
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                      In the Supreme Court of the United States
                                             No. 10-10
                                MICHAEL D. TURNER, PETITIONER
                                                 v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL



                               INTEREST OF THE UNITED STATES
                         This case concerns the due process protections that
                     apply in a state civil contempt proceeding for non-
                     payment of court-ordered child support. The state
                     child-support enforcement program at issue in the case,
                     like that in every other State, is part of one of the larg-
                     est cooperative federal-state programs, established un-
                     der the Social Services Amendments of 1974 (1975 Act),
                     Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                     et seq.) (adding Title IV-D to the Social Security Act).
                     The program, which is administered by the Secretary of
                     Health and Human Services (Secretary), provides that
                     States with approved plans for child and spousal support
                     that meet federal requirements are reimbursed by the
                     federal government for 66% of the costs of operating
                     their child-support enforcement programs. 42 U.S.C.

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                     655(a)(2)(C). The United States has a substantial inter-
                     est in the effective and equitable operation of such child-
                     support programs.
                                           STATEMENT
                         1. This case involves proceedings in South Carolina
                     family court to enforce a child-support order entered
                     against petitioner for the support of his and respondent
                     Rogers’ minor child. South Carolina, like every other
                     State, maintains a child-support enforcement program
                     as a condition of receiving federal funding for its Tempo-
                     rary Assistance for Needy Families program. Since
                     Congress first required States receiving federal funds to
                     undertake child-support enforcement efforts, it has
                     shifted its emphasis from a localized, court-based en-
                     forcement approach to centralized and automated ef-
                     forts. South Carolina, however, maintains a localized,
                     court-based approach to child-support enforcement.
                         a. Congress first required States receiving federal
                     funds to establish child-support enforcement programs
                     in 1950, pursuant to the Aid to Families with Dependent
                     Children (AFDC) program. See Social Security Act
                     Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                     quiring States receiving AFDC funds to “provide for
                     prompt notice to appropriate law-enforcement officials
                     of the furnishing of aid to dependent children in respect
                     of a child who has been deserted or abandoned by a par-
                     ent”). In 1968, Congress required States participating
                     in AFDC to create statewide or local “organizational
                     unit[s]” for establishing paternity and collecting child
                     support. Social Security Amendments of 1967, Pub. L.
                     No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                     quired States to “provide for entering into cooperative
                     arrangements with appropriate courts and law enforce-
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                     ment officials * * * to assist” with administration of
                     the program. Id. § 201(a)(1), 81 Stat. 879.
                         b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                     651 et seq., and established the general statutory frame-
                     work that exists today. See 1975 Act § 101(a), 88 Stat.
                     2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                     (describing program). The 1975 Act required States
                     participating in AFDC to “have in effect a plan ap-
                     proved” by the Secretary under Title IV-D and to “op-
                     erate a child support program in conformity with such
                     plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                     lar, each State was required to provide services to locate
                     noncustodial parents and to establish the paternity of,
                     and secure support for, children receiving AFDC bene-
                     fits. 42 U.S.C. 654(4).
                         Under the 1975 Act, AFDC recipients were required
                     to assign their support rights to the State and cooperate
                     in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                     Amounts recovered generally were retained by the State
                     to reimburse it and the federal government for AFDC
                     assistance provided to the child’s family. 42 U.S.C.
                     657(b) (1976). Once assigned, the support obligation was
                     owed to the State and was collectible under all applica-
                     ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                         The Secretary’s regulations implementing the 1975
                     Act reflected a localized, court-centered approach to
                     enforcement. States’ efforts to collect past-due child
                     support were required to include (“as applicable and
                     necessary”): “[c]ontempt proceedings to enforce an ex-
                     tant court order,” court-ordered wage garnishment, and
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                          Congress required States to provide services to non-AFDC families
                     as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                     red to assign their support rights and any child support the State collec-
                     ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                     attachment of real and personal property. 45 C.F.R.
                     303.6 (1975). States were also required to maintain suf-
                     ficient staff (either statewide or locally) to “enforce col-
                     lection of support” by “executing contempt proceedings,
                     wage assignments, obtaining garnishment orders, at-
                     taching real and personal property, criminal prosecution
                     and executing judgments.” 45 C.F.R. 303.20(c)(7)
                     (1975).
                         c. In 1984, Congress found that there remained “a
                     critical lack of child support enforcement,” which had “a
                     critical impact on the health and welfare of the children
                     of the Nation.” Child Support Enforcement Amend-
                     ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                     § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                     required States to adopt laws and procedures providing
                     for, among other things, (i) mandatory wage withhold-
                     ing; (ii) expedited processes for obtaining and enforcing
                     support orders; (iii) state income tax refund intercepts;
                     and (iv) reporting overdue support to consumer credit
                     agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                         Congress ultimately set the federal share of reim-
                     bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                     expanded the availability of matching funds at the 90%
                     level for (optional) State expenditures for automating
                     data processing systems to improve “the monitoring of
                     support payments, the maintenance of accurate records
                     regarding the payment of support, and the prompt pro-
                     vision of notice to appropriate officials with respect to
                     any arrearages in support payments which may occur.”
                     1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                     655(a)(3)(A).
                         d. Congress amended Title IV-D again in 1988 to
                     improve the rate of child-support collection. Family
                     Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                     102 Stat. 2343. Because effective child-support enforce-
                     ment “had long been thwarted by localized enforcement
                     systems that were unable to quickly and effectively
                     track delinquent parents who crossed county and state
                     lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                     (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                     denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                     emphasized centralized, automated record-keeping and
                     information retrieval in order to improve collection
                     rates. In particular, Congress mandated “automated
                     data processing and information retrieval system[s]”
                     that had previously been optional. 1988 Act § 123(a)(C),
                     102 Stat. 2352; 42 U.S.C. 654(24).
                         The Title IV-D regulations were amended after
                     adoption of the 1988 Act. As amended, the regulations
                     omitted specific references to contempt proceedings as
                     required means for enforcing child-support obligations.
                     See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                     pra.
                         e. Finally, Congress made further changes to the
                     child-support enforcement system in the Personal Re-
                     sponsibility and Work Opportunity Reconciliation Act of
                     1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                     which, among other things, replaced AFDC with the
                     block-grant program called Temporary Assistance for
                     Needy Families (TANF).3 Those changes again empha-
                     sized a centralized, automated approach to child-support

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                          Federal financial support remained available for “[e]nforcement of
                     a support obligation” through a variety of means, including contempt
                     citations. 45 C.F.R. 304.20(b)(3)(iv).
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                          The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                     608(a)(7). As before, a custodial parent is required to assign her rights
                     to child support to the State as part of the application for TANF assis-
                     tance. 42 U.S.C. 608(a)(3)(A).
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                     enforcement. The amended statute established detailed
                     requirements for the “statewide automated data pro-
                     cessing and information retrieval systems” made man-
                     datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                     654a(a). Among other things, the system must include
                     a state case registry that includes every child-support
                     case in the State, including the amount of monthly sup-
                     port owed and collected in all cases administered by the
                     state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                     654a(e)(5) (States must “promptly * * * update” case
                     records when circumstances change). The States are
                     required to use their centralized databases “to the maxi-
                     mum extent feasible, to assist and facilitate the collec-
                     tion and disbursement of support payments,” including
                     by establishing wage-withholding orders and sending
                     wage-withholding notices to employers. 42 U.S.C.
                     654a(g)(1); see 42 U.S.C. 666(c).
                         f. Despite the changes in federal law, South Caro-
                     lina maintains a localized, court-based approach to child-
                     support enforcement. It is the only State that does not
                     have a certified automated system. See Office of Child
                     Support Enforcement, U.S. Dep’t of Health & Human
                     Servs., National Status of Automated Child Support
                     Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                     certmap.htm.4
                       4
                         In the 1996 Act, Congress determined that any State that failed to
                     automate its child-support program should incur substantial penalties.
                     42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                     the Department of Health and Human Services’ (HHS) authority to
                     impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                     and subsequently submitted a corrective-action plan and accepted
                     imposition of a penalty retroactive to 1998. The State paid more than
                     $55 million in penalties through 2007. South Carolina Dep’t of Social
                     Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                     http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                         Acting pursuant to express statutory authority, S.C.
                     Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                     partment of Social Services has contracted with county
                     clerks of court across the State to administer its pro-
                     gram. The South Carolina courts have in turn adopted
                     a special rule governing child-support enforcement. See
                     S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                     quires clerks of court to review on a monthly basis “all
                     child support and periodic alimony accounts paid
                     through the clerk of court,” as are all accounts for chil-
                     dren whose custodial parent receives TANF assistance.
                     S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                     such account is in arrears, the clerk is required to “issue
                     a rule to show cause and an affidavit identifying the or-
                     der of the court which requires such payments to be
                     made and the amount of the arrearage [and] directing
                     the party in arrears to appear in court at a specific time
                     and date” to face contempt proceedings. S.C. Rule
                     24(b).
                         A “wilful[]” violation of a “lawful order” of a South
                     Carolina court constitutes contempt and may subject the
                     contemnor to up to 12 months confinement. S.C. Code
                     Ann. § 63-3-620 (West 2010).
                         2. Respondent Rogers and petitioner are the par-
                     ents of a minor child, B.L.P. In 2003, the family court in
                     Oconee County, South Carolina, entered an Order of
                     Financial Responsibility against petitioner. Although
                     the order noted that petitioner was unemployed, the
                     court imputed a gross monthly income of $1386 to him
                     and ordered him to pay $59.72 a week in child support
                     through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                     083107.doc. We are informed by HHS that the State has now paid a
                     total of more than $72 million in penalties to date and currently owes an
                     additional incurred penalty of more than $10 million for fiscal year 2010.
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                     Because respondent Rogers was receiving public assis-
                     tance, she assigned her right to collect child support to
                     the Department of Social Services. Pet. Br. 8; see id. at
                     9 n.6 (payments were remitted to respondent Rogers
                     starting in 2004 because her benefits had ended but her
                     case continued to be administered as a Title IV-D case).
                     Petitioner fell behind on his payments, received a num-
                     ber of rules to show cause from the court clerk why he
                     should not be held in contempt, and was jailed three
                     times as a result. Id. at 9-10.
                        By 2007, petitioner was $5728.76 behind on his child-
                     support payments, and a judge of the Oconee County
                     Family Court issued a bench warrant for his arrest.
                     Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                     ary 3, 2008. After noting petitioner’s outstanding bal-
                     ance and stating that he had not made a payment
                     since August 2006, the judge asked petitioner, “[i]s there
                     anything you want to say?” Id. at 17a. Petitioner re-
                     sponded:
                        Well, when I first got out, I got back on dope. I done
                        meth, smoked pot and everything else, and I paid a
                        little bit here and there. And, when I finally did get
                        to working, I broke my back, back in September. I
                        filed for disability and SSI. And, I didn’t get
                        straightened out off the dope until I broke my back
                        and laid up for two months. And, now I’m off the
                        dope and everything. I just hope that you give me a
                        chance. I don’t know what else to say. I mean, I
                        know I done wrong, and I should have been paying
                        and helping her, and I’m sorry. I mean, dope had a
                        hold to me.
                     Ibid.
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                        After a brief exchange between petitioner and re-
                     spondent about his SSI application, the court said:
                        If there’s nothing else, this will be the Order of the
                        Court. I find the Defendant in willful contempt. I’m
                        gonna sentence him to twelve months in the Oconee
                        County Detention Center. He may purge himself of
                        the contempt and avoid the sentence by having a zero
                        balance on or before his release.
                     Pet. App. 18a. The court made no finding that petitioner
                     was capable of paying the arrears while incarcerated.
                     See id. at 17a-18a.
                         At this hearing, neither petitioner nor respondent
                     Rogers was represented by counsel. Pet. App. 6a. How-
                     ever, pro bono counsel filed an appeal on petitioner’s
                     behalf, alleging that petitioner had a right under the
                     Sixth Amendment and the Due Process Clause to have
                     appointed counsel in the contempt proceeding. Id. at
                     10a-15a. Before the intermediate state court could rule,
                     the South Carolina Supreme Court granted discretion-
                     ary review and affirmed the family court. Id. at 1a-5a.
                         The court noted that the “purpose of civil contempt
                     is to coerce the defendant to comply with the court’s or-
                     der,” while criminal contempt’s purpose is “to punish a
                     party for disobedience or disrespect.” Pet. App. 2a-3a.
                     “Civil contempt sanctions are conditioned on compliance
                     with the court’s order. * * * A contemnor imprisoned
                     for civil contempt is said to hold the keys to his cell be-
                     cause he may end the imprisonment and purge himself
                     of the sentence at any time.” Id. at 3a. The court recog-
                     nized that the “distinction between civil and criminal
                     contempt is crucial because criminal contempt triggers
                     additional constitutional safeguards not mandated in
                     civil contempt proceedings.” Ibid.
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                        The court noted that in this case the family court had
                     said that petitioner could “purge himself of the con-
                     tempt” by achieving a “zero balance” on his arrearage.
                     Pet. App. 3a. Reasoning that “[t]his conditional sen-
                     tence is a classic civil contempt sanction,” the court con-
                     cluded that petitioner had no right to appointed counsel.
                     Ibid.
                                    SUMMARY OF ARGUMENT
                         1. The Court has jurisdiction to review the decision
                     of the South Carolina Supreme Court. Petitioner has
                     completed his term of confinement for civil contempt
                     and has not identified any collateral consequences flow-
                     ing from the contempt. Those facts would ordinarily
                     render his case moot. Petitioner, however, qualifies for
                     a narrow exception to the mootness doctrine because the
                     controversy is capable of repetition yet evading review.
                     Sentences for civil contempt in South Carolina are lim-
                     ited to 12 months, and it is highly unlikely that peti-
                     tioner would be able to secure plenary review by this
                     Court within any future period of confinement. In addi-
                     tion, the constitutional violation petitioner asserts is
                     capable of repetition because he remains subject to the
                     underlying child-support order and still has substantial
                     arrears. There is thus a reasonable expectation that he
                     will receive automatically-generated rules to show cause
                     for contempt in the future. Indeed, since the contempt
                     at issue in this case, petitioner has been jailed again for
                     civil contempt.
                         2. Petitioner’s confinement for civil contempt vio-
                     lated due process, not because he lacked counsel, but
                     because the procedures employed by the family court
                     were inadequate to ensure the accurate determination of
                     petitioner’s present ability to pay his child-support ar-
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                     rears. That ability to pay was a necessary predicate to
                     the civil contempt sanction.
                         The defining feature of confinement for civil con-
                     tempt is its purpose to coerce compliance with a court
                     order. Such confinement must therefore end upon dis-
                     charge of the contemnor’s obligations; he is said to hold
                     “the keys of [his] prison in [his] own pocket[].” Shilli-
                     tani v. United States, 384 U.S. 364, 368 (1966) (citation
                     omitted). Such confinement may not be imposed, how-
                     ever, where the contemnor demonstrates his inability to
                     comply with the order. In such cases, he does not truly
                     hold the keys to the prison; to confine him nonetheless
                     would render the confinement punitive and thus a sanc-
                     tion that may be imposed only after compliance with
                     criminal case safeguards.
                         The question of petitioner’s ability to pay his child-
                     support arrears therefore should have been a focus of
                     the civil contempt proceeding, but it was not. Pro se
                     petitioner was afforded no meaningful opportunity to
                     establish his indigency, and even after he made a state-
                     ment that could have easily been understood to mean he
                     had no present ability to pay nearly $6000 to avoid jail,
                     the family court judge made no further inquiry on the
                     matter before committing him to a nominally conditional
                     term of confinement.
                         The proceeding did not comply with due process be-
                     cause there was a serious risk of erroneous deprivation
                     of petitioner’s liberty through the procedures employed
                     and because additional procedures would have enhanced
                     the accuracy of the proceeding without materially im-
                     pinging on any governmental interest. See Mathews v.
                     Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                     would have been a sufficient, but not a necessary, means
                     of satisfying due process in this case. There were other
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                     means of providing petitioner with a meaningful oppor-
                     tunity to establish his present inability to pay, such as
                     asking him to complete an understandable form seeking
                     his financial information, or asking him questions on the
                     topic as necessary at a hearing. In the typical case, pro-
                     viding basic information about one’s personal finances is
                     not the kind of undertaking that requires assistance of
                     counsel, and due process protections are based on the
                     requirements of the mine-run case, not the exceptional
                     one.
                         There is no basis for petitioner’s proposed categori-
                     cal due process right to appointed counsel in civil con-
                     tempt proceedings where confinement is imposed. The
                     Court has declined to recognize a categorical constitu-
                     tional right to appointed counsel in the context of other
                     non-criminal proceedings that can result in confinement.
                     Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                     bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                     (1976) (summary court-martial). Civil contempt pro-
                     ceedings in child-support cases are relatively brief; the
                     custodial parent may not be represented by counsel; and
                     the issues in dispute are generally not complex. Given
                     those circumstances, there is no warrant for recognizing
                     a categorical right to defense counsel in such proceed-
                     ings. Finally, recognizing a due process right to counsel
                     in such proceedings would upset the balance struck by
                     Title IV-D and its implementing regulations, both of
                     which stress the importance of due process protections
                     in child-support proceedings but neither of which permit
                     federal funding for provision of counsel.
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                                            ARGUMENT
                     I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                          CISION OF THE SOUTH CAROLINA SUPREME COURT
                         Although petitioner has completed his term of con-
                     finement for the civil contempt at issue here, his claim is
                     not moot because he remains subject to the underlying
                     child-support order and because there is a reasonable
                     expectation that he will face future contempt proceed-
                     ings. His claim thus avoids mootness because it is capa-
                     ble of repetition yet evading review. This Court thus
                     has jurisdiction to review the final judgment of the
                     South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                         1. “In general a case becomes moot when the issues
                     presented are no longer ‘live’ or the parties lack a le-
                     gally cognizable interest in the outcome.” Murphy v.
                     Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                     omitted) (quoting United States Parole Comm’n v.
                     Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                     confined individual’s challenge to his confinement gener-
                     ally presents no question of mootness, an individual who
                     has been released from confinement ordinarily may con-
                     tinue to press his challenge only if he suffers some “col-
                     lateral consequence” that constitutes a “concrete
                     and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                     7 (1998). Because this Court “ha[s] been willing to pre-
                     sume that a wrongful conviction has continuing collat-
                     eral consequences,” the Court ordinarily will not dismiss
                     as moot a criminal defendant’s challenge to his convic-
                     tion once the defendant has completed his term of im-
                     prisonment. Id. at 8. But the Court has not employed
                     that presumption in other contexts, instead requiring a
                     party not in custody to demonstrate that he will actually
                     face collateral consequences if he does not secure relief
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                     on appeal. See id. at 14 (no presumption of collateral
                     consequences for parole revocation); see also id. at 14-16
                     (reviewing party’s claimed collateral consequences).
                         Petitioner has completed his term of confinement for
                     civil contempt. Because he challenges a civil order, not
                     a criminal conviction, no presumption of collateral conse-
                     quences applies. Moreover, petitioner has not identified
                     any collateral consequences flowing from the finding of
                     civil contempt. Ordinarily, petitioner’s challenge to that
                     finding would be considered moot and beyond this
                     Court’s jurisdiction.
                         2. Petitioner’s claim in this case, however, avoids
                     mootness because his is one of the “exceptional situa-
                     tions” in which a claim is capable of repetition, yet evad-
                     ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                     (1983). In non-class actions, this doctrine requires satis-
                     faction of two elements: “(1) the challenged action was
                     in its duration too short to be fully litigated prior to its
                     cessation or expiration, and (2) there [is] a reasonable
                     expectation that the same complaining party would be
                     subjected to the same action again.” Murphy, 455 U.S.
                     at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                     (1975) (per curiam)). Petitioner satisfies both elements.
                         First, confinement for civil contempt in South
                     Carolina is limited to 12 months, S.C. Code Ann.
                     § 63-3-620 (West 2010), and it is exceedingly unlikely
                     that a contemnor could appeal through the South
                     Carolina court system, petition this Court for a writ of
                     certiorari, and receive a decision on his claim within
                     such a limited time period. See, e.g., First Nat’l Bank v.
                     Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                     short a period of time for appellants to obtain complete
                     judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                     319 (1975) (per curiam) (future challenge to law school
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                     admission procedure could likely come to this Court for
                     decision within three-year period of law school matricu-
                     lation). Indeed, in this case, petitioner had completed
                     his term of imprisonment for civil contempt more than
                     a year before the South Carolina Supreme Court ren-
                     dered its decision. Compare Pet. App. 8a with id. at 1a.
                         Second, petitioner “can make a reasonable showing
                     that he will again be subjected to the alleged illegality.”
                     Lyons, 461 U.S. at 109. Petitioner is still subject to the
                     underlying order for child support, and he is nearly
                     $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                     clerks of court in South Carolina automatically issue
                     rules to show cause when a non-custodial parent is late
                     on a required payment, there is a reasonable expectation
                     that petitioner will again be subject to contempt pro-
                     ceedings. Indeed, after he was released from jail for the
                     contempt at issue here, petitioner was again held in con-
                     tempt and reincarcerated. In May 2010 yet another rule
                     to show cause for contempt issued due to failure to pay
                     support to respondent. Pet. Br. 13-15; see id. at 15 (May
                     2010 rule to show cause is still outstanding); see also
                     Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                     plaintiffs seeking community-based services rather than
                     institutionalization not moot even though they were then
                     receiving desired services, because of “the multiple in-
                     stitutional placements [they] ha[d] experienced”). This
                     is thus far from “an abstract dispute about the law” that
                     might be thought “unlikely to affect [petitioner] any
                     more than it affects other [South Carolina] citizens.”
                     Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
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                         That petitioner was represented by pro bono counsel in a subse-
                     quent contempt proceeding involving a different support order, see Pet.
                     Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                     bono counsel bound to represent petitioner in every future contempt
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                     II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                         SARY TO SECURE AN ACCURATE ADJUDICATION OF
                         CIVIL CONTEMPT VIOLATED DUE PROCESS
                         The validity of the civil contempt order against peti-
                     tioner turned on a critical fact: his present ability to
                     purge himself of contempt by paying off his past-due
                     child support. The family court’s procedures in this case
                     violated due process because they were inadequate to
                     ensure an accurate determination of that fact and thus
                     prevent an erroneous deprivation of petitioner’s liberty.
                     Although provision of government-provided counsel
                     would have been a sufficient means of complying with
                     due process requirements in this case, it was not a nec-
                     essary one. Other mechanisms, such as requiring an
                     affidavit for disclosure of financial information and a
                     preliminary assessment of petitioner’s current ability to
                     pay child support, would have satisfied the requirements
                     of due process.
                         A. Confinement For Civil Contempt Is Permitted Only
                            When The Contemnor Is Presently Able To Comply With
                            The Underlying Order
                        Both civil and criminal contempt can lead to confine-
                     ment, but this Court has long distinguished the two
                     based on the “character and purpose” of the sanction
                     imposed. Gompers v. Buck’s Stove & Range Co., 221
                     U.S. 418, 441 (1911). In civil contempt, the “punishment
                     * * * [is] remedial,” in that it is intended to “coerc[e]

                     proceeding, then his claim of entitlement to the assistance of counsel
                     would be moot. There is no indication in the record, however, that pro
                     bono counsel is under any such obligation, and, in fact, counsel did not
                     appear in a 2009 contempt proceeding involving support owed respon-
                     dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                     served six months for civil contempt).
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                     the defendant to do what he had refused to do.” Id. at
                     442. Punishment for criminal contempt, on the other
                     hand, is “punitive” and is imposed “to vindicate the au-
                     thority of the court.” Id. at 441.
                         Because of that fundamental distinction, confinement
                     imposed for civil contempt is conditional. The sentence
                     must include a purge clause under which the contemnor
                     will be immediately released upon compliance with the
                     underlying court order. Hicks v. Feiock, 485 U.S. 624,
                     634 (1988). When confined under such a civil contempt
                     order, the contemnor holds “the keys of [his] prison in
                     [his] own pocket[ ].” Shillitani v. United States, 384
                     U.S. 364, 368 (1966) (citation omitted); see id. at 370
                     (“While any imprisonment, of course, has punitive and
                     deterrent effects, it must be viewed as remedial if the
                     court conditions release upon the contemnor’s willing-
                     ness” to comply with a court order.).
                         A purge clause by itself, however, will not render the
                     contemnor’s confinement remedial rather than punitive
                     because “the justification for coercive imprisonment as
                     applied to civil contempt depends upon the ability of the
                     contemnor to comply with the court’s order.” Shillitani,
                     384 U.S. at 370-371. Accordingly, “punishment may not
                     be imposed in a civil contempt proceeding when it is
                     clearly established that the alleged contemnor is unable
                     to comply with the terms of the order.” Hicks, 485 U.S.
                     at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                     (“[T]o jail one for a contempt for omitting an act he is
                     powerless to perform would * * * make the proceeding
                     purely punitive, to describe it charitably.”); see also
                     Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                     (“When the parent is unable to make the required pay-
                     ments, he is not in contempt.”).6
                         The burdens of production and persuasion may be
                     placed on the defendant to demonstrate his present in-
                     ability to comply with an order. See Hicks, 485 U.S. at
                     637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                     Accordingly, if the defendant “offers no evidence as to
                     his inability to comply,” “stands mute,” or is disbelieved
                     by the court, then he fails to carry his burden and may
                     be held in contempt. Maggio, 333 U.S. at 75. But the
                     trial court “is obliged” to consider “all the evidence
                     properly before it in the contempt proceeding in deter-
                     mining whether or not there is actually a present ability
                     to comply and whether failure so to do constitutes delib-
                     erate defiance which a jail term will break.” Id. at 76.
                         If, upon examination, a contempt penalty is consid-
                     ered punitive rather than remedial, it will be vacated
                     unless all “the protections that the Constitution requires
                     of * * * criminal proceedings” were provided. Inter-
                     national Union, United Mine Workers v. Bagwell, 512
                     U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




                       6
                          A defendant may not avoid a finding of civil contempt for violating
                     an order by collaterally attacking that order in the contempt proceed-
                     ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                     make the distinct assertion that he has a “present inability to comply
                     with the order in question.” United States v. Rylander, 460 U.S. 752,
                     757 (1983); see ibid. (“While the court is bound by the enforcement
                     order, it will not be blind to evidence that compliance is now factually
                     impossible. Where compliance is impossible, neither the moving party
                     nor the court has any reason to proceed with the civil contempt
                     action.”); Maggio, 333 U.S. at 74-75.
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                        B. The Family Court’s Procedures Were Inadequate To
                           Ensure An Accurate Determination Of Present Ability
                           To Pay
                         The procedures employed by the family court vio-
                     lated petitioner’s due process rights because they were
                     inadequate to ensure that petitioner was not erroneously
                     confined as an inducement to perform a task he was
                     powerless to perform, while additional procedures to
                     ensure petitioner’s present ability to pay his child-sup-
                     port arrears would have been minimally burdensome.
                         “Procedural due process imposes constraints on gov-
                     ernmental decisions which deprive individuals of ‘lib-
                     erty’ or ‘property’ interests within the meaning of the
                     Due Process Clause of the Fifth or Fourteenth Amend-
                     ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                     Confinement for civil contempt is a deprivation of lib-
                     erty, and the alleged contemnor is thus entitled to pro-
                     cedural due process protections before its imposition.
                     Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                     nation of parole triggers due process protections); see
                     also Bagwell, 512 U.S. at 827 (civil contempt requires
                     “notice and an opportunity to be heard”).
                         The conclusion that due process applies is the begin-
                     ning of the inquiry, not its end, because “the require-
                     ments of due process are ‘flexible and cal[l] for such
                     procedural protections as the particular situation de-
                     mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                     (brackets in original) (quoting Morrissey, 408 U.S. at
                     481). The Court has “generally * * * declined to es-
                     tablish rigid rules and instead ha[s] embraced a frame-
                     work to evaluate the sufficiency of particular proce-
                     dures.” Ibid. That framework involves “consideration
                     of three distinct factors:
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                        First, the private interest that will be affected by the
                        official action; second, the risk of an erroneous depri-
                        vation of such interest through the procedures used,
                        and the probable value, if any, of additional or substi-
                        tute procedural safeguards; and finally, the Govern-
                        ment’s interest, including the function involved and
                        the fiscal and administrative burdens that the addi-
                        tional or substitute procedural requirements would
                        entail.
                     Mathews, 424 U.S. at 335.
                         Application of the Mathews factors here demon-
                     strates that the family court proceeding did not comply
                     with the requirements of procedural due process. First,
                     petitioner’s private interest in avoiding incarceration
                     was significant. See Foucha v. Louisiana, 504 U.S. 71,
                     80 (1992).
                         Second, there was a serious “risk of an erroneous
                     deprivation” of petitioner’s liberty interest under the
                     procedures employed by the family court, and there
                     would have been value in additional procedures.
                     Mathews, 424 U.S. at 335. Petitioner did not dispute
                     that he had failed to comply with his child-support or-
                     der, so the propriety of his confinement for civil con-
                     tempt thus turned on his present ability to do so. See
                     pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                     “was the precise question before the family court”); id.
                     at 17. But South Carolina automatically referred peti-
                     tioner for contempt proceedings without considering
                     whether petitioner was employed or had assets. At the
                     contempt hearing, the court solicited no financial infor-
                     mation from petitioner, nor was there apparently any
                     mechanism in place for him to provide it on his own. Pe-
                     titioner’s statement at the hearing that he had been un-
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                     able to work because he broke his back, Pet. App. 17a,
                     could reasonably be understood to constitute a claim
                     that he had no present ability to pay nearly $6000. The
                     court did not explore this question, however; it made no
                     inquiry into petitioner’s income or assets. Instead, the
                     court imposed a jail sentence unaccompanied by any
                     finding that petitioner had the ability to pay off his out-
                     standing balance from a jail cell.7 Taking additional
                     modest steps to determine whether petitioner had the
                     present ability to discharge his obligation, see pp. 24-25,
                     infra, would have improved the accuracy of the proceed-
                     ing.
                         Finally, the government’s interests also favor addi-
                     tional procedural safeguards to ensure that only those
                     parents with a present ability to pay are confined for
                     civil contempt. While the State has a strong interest in
                     enforcing child-support orders, it secures no benefit
                     from jailing a non-custodial parent who cannot discharge
                     his obligation. The period of incarceration makes it less,
                     rather than more, likely that such parent will be able to
                     pay child support. See Elizabeth G. Patterson, Civil
                     Contempt & the Indigent Child Support Obligor: The
                     Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                     Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                     State incurs the substantial expense of confinement.
                         Moreover, as a general matter, the routine use of
                     contempt for non-payment of child support is likely to be
                     an ineffective strategy for enforcing support orders.
                     See National Child Support Enforcement, U.S. Dep’t
                     of Health & Human Servs., Strategic Plan: FY 2005-
                     2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
                       7
                         The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                     gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                     gible for work release, Pet. Br. 12 n.8.
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                     programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                     pdf. While child-support recovery efforts once “followed
                     a business model predicated on enforcement” that “in-
                     tervened only after debt, at times substantial, accumu-
                     lated and often too late for collection to be successful, let
                     alone of real value to the child,” experience has shown
                     that alternative methods—such as order modifications,
                     increased contact with non-custodial parents, and use of
                     “automation to detect non-compliance as early as possi-
                     ble”—are more effective. Id. at 2.
                         A substantial portion of child-support obligors have
                     no or low reported income. Elaine Sorensen et al., As-
                     sessing Child Support Arrears in Nine Large States &
                     the Nation 22 (2007) (Assessing Child Support Arrears),
                     http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                     (obligors with $10,000 or less in annual income consti-
                     tuted half of the child-support obligors and owed 70% of
                     the arrears in a nine-state study). Such individuals’
                     child-support obligations are often substantial. See id.
                     at 54 (“For obligors with reported income of $10,000 a
                     year or less, the median percent of reported income that
                     was due as current support was 83[%].”). A low-income
                     individual in arrears on child-support payments is
                     “rarely a candidate for civil incarceration because of the
                     likelihood that he or she is unable to pay the hefty sum
                     represented by the accumulated arrears, or even a por-
                     tion thereof that may be set by the court as the purge
                     amount.” Civil Contempt 116.8

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                         To be sure, coercive enforcement remedies, such as contempt, have
                     a role to play in child-support enforcement efforts, such as with non-
                     custodial parents who are hiding assets or unreported self-employment
                     or under-the-table income. See Strategic Plan 2; Assessing Child
                     Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                         Many States have taken alternative steps to avoid
                     child-support arrears, such as establishing more realis-
                     tic support orders, “increas[ing] parental participation
                     in the order establishment process,” providing employ-
                     ment services to non-custodial parents, or using automa-
                     tion tools to improve wage withholding. Assessing Child
                     Support Arrears 10-11, 80-89; see id. at 85 (study of
                     Florida program that provides employment services and
                     case management to non-custodial parents found that
                     program participants paid nearly five dollars in child
                     support for every dollar spent on the program). Such
                     alternatives, which focus on early intervention rather
                     than after-the-fact efforts to collect substantial accumu-
                     lated arrears, are more likely to be effective means of
                     enforcing the child-support obligations of the substantial
                     number of low-income obligors. See Strategic Plan 2.
                        C. Due Process Can Be Satisfied By A Variety Of Proce-
                           dures Intended To Assure An Accurate Determination Of
                           Present Ability To Pay In A Civil Contempt Proceeding
                         Petitioner argues that, in order to ensure that his
                     civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                     due process required the appointment of counsel to as-
                     sist him in establishing his inability to comply with the
                     court’s order, see id. at 41. Although we agree that peti-
                     tioner’s due process rights were violated, we disagree
                     that the State’s failure to appoint counsel was itself the
                     basis of the violation. Appointment of counsel is cer-
                     tainly one way to help ensure an accurate determination
                     of the obligor’s current ability to pay—the determina-
                     tion on which the “civil” nature of a civil contempt sanc-
                     tion rests—but it is not the only way. It was the State’s

                     dence, however, that routine use of contempt among low-income non-
                     custodial parents is generally effective. See Civil Contempt 126.
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                     failure to provide any meaningful mechanism for making
                     that determination in this case, and not its failure to
                     provide counsel in particular, that violated petitioner’s
                     due process rights.9
                             1. Courts can comply with due process by providing a
                                meaningful opportunity for an alleged contemnor to
                                establish his present ability to pay
                         While there is no basis for a constitutional rule cate-
                     gorically requiring appointment of counsel in all civil
                     contempt that could lead to deprivation of physical lib-
                     erty, see pp. 25-32, infra, due process does require pro-
                     cedures sufficient to ensure fundamental fairness. In
                     the context of a civil contempt proceeding for non-pay-
                     ment of child support that could lead to confinement,
                     this means procedures adequate to allow a pro se con-
                     temnor to attempt to carry his burden of establishing his
                     present inability to pay.
                         Such procedures may include requiring a non-paying
                     parent to complete an understandable form seeking fi-
                     nancial information. South Carolina already requires

                       9
                          Although petitioner’s submissions below and in this Court have
                     focused on the value of appointed counsel in ensuring that indigent
                     child-support obligors are not erroneously jailed as a means of inducing
                     them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                     fairly encompassed in those submissions is the proposition that due
                     process demands an appropriate procedure to evaluate an obligor’s
                     present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                     503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                     to the Court to consider whether there are alternative procedures,
                     other than the specific procedure petitioner has proposed, that would
                     satisfy constitutional requirements. To the extent the Court concludes
                     otherwise, however, the proper course would be to dismiss the writ of
                     certiorari as improvidently granted and await a case that expressly
                     raises a broader due process claim.
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                     noncustodial parents to fill out such a form when a sup-
                     port order is originally sought in a Title IV-D case, see
                     S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                     parently does not do so in subsequent contempt proceed-
                     ings. Requiring that such forms be completed at the
                     outset of a contempt proceeding would impose little ex-
                     pense on the State or burden on the proceeding while
                     materially advancing the accuracy of the court’s deter-
                     mination. Such information could by itself establish the
                     contemnor’s present inability to pay his arrears or, con-
                     versely, demonstrate his ability to pay. To the extent
                     the court had questions about the information on the
                     form or disbelieved it, the court could question the
                     contemnor about his finances at the contempt hearing.
                     Such simple, minimally burdensome procedures would
                     enable the court to evaluate whether the alleged
                     contemnor has the ability to pay his arrears and is thus
                     an appropriate candidate for a civil contempt sanction.
                           2. There is no basis for an inflexible right to counsel
                              rule in civil contempt proceedings
                         Although the constitutional inadequacy of the family
                     court’s procedures could have been cured by appoint-
                     ment of counsel (who presumably would have addressed
                     petitioner’s inability to pay his arrears and urged the
                     court not to jail him for that reason), appointment of
                     counsel was not constitutionally compelled.
                         a. “The very nature of due process negates any con-
                     cept of inflexible procedures universally applicable to
                     every imaginable situation.” Lujan v. G&G Fire Sprin-
                     klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                     Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                     Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                     calls for such procedural protections as the particular
Case:
Case:23-1978
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      23-1967
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                     situation demands.”) (brackets in original) (quoting
                     Morrissey, 408 U.S. at 481). The question in a due pro-
                     cess case is how to ensure a fundamentally fair proceed-
                     ing, taking into account the importance of the private
                     interest at issue, the risk of error and value of additional
                     procedures, and the government’s interest. See id. at
                     335. This is not an inquiry that typically lends itself to
                     the kind of categorical approach advocated by petition-
                     er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                     (contrasting categorical Sixth Amendment right to coun-
                     sel in criminal prosecution “with the more limited due
                     process right” in other contexts).10
                         In fact, in areas outside traditional criminal prosecu-
                     tions where an individual’s liberty is nonetheless at
                     stake, the Court has declined to recognize a categorical
                     right to counsel, instead relying on alternative proce-
                     dural safeguards to ensure due process. See Gagnon,
                     411 U.S. at 782-790; see also Middendorf v. Henry, 425
                     U.S. 25, 43 (1976) (no due process right to counsel for
                     summary courts-martial).11 For example, in Gagnon,

                       10
                          The Sixth Amendment right to counsel is inapplicable to a civil
                     contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                     Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                       11
                          In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                     cess right to appointed counsel in a juvenile delinquency proceeding,
                     but, as the Court later explained, that was because the proceeding
                     “while denominated civil, was functionally akin to a criminal trial.”
                     Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                     plurality would have held that there is a due process right to counsel
                     before a State involuntarily transfers a prisoner to a state mental
                     hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                     trolling concurrence, however, disagreed, concluding that “the fairness
                     of an informal hearing designed to determine a medical issue” does not
                     “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                     that a prisoner “required assistance” in such a proceeding to ensure
Case:
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                     the Court held that due process required the govern-
                     ment to provide a preliminary and final hearing before
                     it could incarcerate an individual for violating the terms
                     of his probation. See 411 U.S. at 782; see also id. at 785-
                     786 (hearings necessary in order to provide notice of the
                     alleged probation violation and ensure “accurate finding
                     of fact and the informed use of discretion”). At the same
                     time, however, the Court rejected the “contention that
                     the State is under a constitutional duty to provide coun-
                     sel for indigents in all probation or parole revocation
                     cases.” Id. at 787; see id. at 790 (stating that due pro-
                     cess may require appointment of counsel in exceptional
                     cases). The Court recognized that “such a rule has the
                     appeal of simplicity” but concluded that “it would impose
                     direct costs and serious collateral disadvantages without
                     regard to the need or the likelihood in a particular case
                     for a constructive contribution by counsel.” Id. at 787.
                         The Court in Gagnon noted that in many cases a pro-
                     bationer’s mitigating evidence may be “so simple as not
                     to require either investigation or exposition by counsel.”
                     411 U.S. at 787. Here too, with the provision of easy-to-
                     understand forms on assets and income and, if neces-
                     sary, a colloquy with the trial court, it will often be sim-
                     ple for a delinquent child-support obligor to demon-
                     strate his present inability to discharge his obligation
                     without the assistance of appointed counsel. Indeed,
                     even in criminal cases to which the Sixth Amendment
                     right of counsel applies, defendants are not entitled to
                     government-appointed counsel for the purpose of filling
                     out the forms routinely used to establishing their finan-
                     cial eligibility for government-appointed counsel. See


                     fairness, but said that it could be “rendered by competent laymen in
                     some cases.” Ibid.
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                     18 U.S.C. 3006A(b) (counsel will be appointed only after
                     court is “satisfied after appropriate inquiry that the per-
                     son is financially unable to obtain counsel”); United
                     States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                     Criminal Justice Act, the public fisc need not contribute
                     one penny unless the accused first establishes that he
                     cannot afford counsel. Nothing in the statute directs the
                     Treasury to assist the accused in making this determina-
                     tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                     legal expertise is needed to participate effectively in
                     hearings under the Criminal Justice Act,” ibid., no legal
                     expertise is generally required to establish inability to
                     pay child-support arrears.
                         Gagnon also expressed concern that “[t]he introduc-
                     tion of counsel into a revocation proceeding will alter
                     significantly the nature of the proceeding,” since the
                     States typically relied on probation officers to conduct
                     revocation hearings but might turn to attorneys if all
                     probationers were represented. 411 U.S. at 787. “[T]he
                     decisionmaking process will be prolonged, and the finan-
                     cial cost to the State * * * will not be insubstantial.”
                     Id. at 788. In the context of civil contempt for child sup-
                     port as well, automatic appointment of counsel could
                     delay the proceedings, create an asymmetry in repre-
                     sentation between non-custodial parents and custodial
                     parents who may appear pro se, see, e.g., Pet. App. 16a,
                     and impose considerable financial cost on the govern-
                     ment without an automatic increase in accuracy.
                         Lassiter v. Department of Social Services, 452 U.S.
                     18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                     32-33, is not to the contrary. In that decision, the Court
                     held that there was no due process right to counsel in a
                     parental-rights termination proceeding. See Lassiter,
                     452 U.S. at 32-33. In dictum, the Court said its cases
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                     had established a “presumption” that an indigent had a
                     right to appointed counsel “when, if he loses, he may be
                     deprived of his physical liberty.” Id. at 26-27. The
                     Court has not subsequently relied on any such presump-
                     tion derived from the Lassiter dictum, and Lassiter it-
                     self recognized that Gagnon, which involved a depriva-
                     tion of physical liberty, had held that “due process is not
                     so rigid as to require that the significant interests in
                     informality, flexibility and economy must always be sac-
                     rificed” through appointment of counsel. Id. at 31 (quot-
                     ing Gagnon, 411 U.S. at 788).
                         That there may be atypical cases with “complex fac-
                     tual and legal issues” (Pet. Br. 46) in which counsel
                     would provide a significant benefit beyond what could be
                     obtained through other procedural safeguards does not
                     mean there should be a right to counsel. “[P]rocedural
                     due process rules are shaped by the risk of error inher-
                     ent in the truth-finding process as applied to the gener-
                     ality of cases, not the rare exceptions.” Walters v. Na-
                     tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                     (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                     (“existence of complexity in some cases” was not “suffi-
                     cient to warrant a conclusion that the right to retain and
                     compensate an attorney in [Veterans Administration]
                     cases is a necessary element of procedural fairness un-
                     der the Fifth Amendment”).
                         b. A recognition that due process requires fair pro-
                     ceedings before a child-support obligor can be held in
                     civil contempt but that this due process right does not
                     encompass appointment of government-funded counsel
                     is also consistent with the balance struck by Congress
                     and the Secretary in enacting and administering the
                     Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                     (“[W]e must give particular deference to the determina-
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                     tion of Congress, made under its authority to regulate
                     the land and naval forces, U.S. Const., Art. I, § 8, that
                     counsel should not be provided in summary courts-mar-
                     tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                     congressional judgment must be afforded even though
                     the claim is that a statute Congress has enacted effects
                     a denial of the procedural due process guaranteed by the
                     Fifth Amendment.”).
                         Congress and the Secretary have demonstrated their
                     concern that child-support-related proceedings be con-
                     ducted fairly by repeatedly making compliance with
                     procedural due process rules a requirement of State
                     participation in the program.12 At the same time, how-
                     ever, they have declined to reimburse the States for
                     the cost of providing counsel to non-custodial parents.
                     See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                     ute does not provide federal funding for “defense coun-
                     sel for absent parents” or “incarceration of delinquent
                     obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                     ing for “[t]he costs of counsel for indigent defendants in

                       12
                          See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                     state income tax refunds to pay overdue support permitted only “after
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                     delinquency to credit bureaus “only after [the] parent has been afforded
                     all due process required under State law, including notice and a reason-
                     able opportunity to contest the accuracy of such information.”);
                     42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                     “shall be subject to due process safeguards, including (as appropriate)
                     requirements for notice, opportunity to contest the action, and oppor-
                     tunity for an appeal on the record to an independent administrative or
                     judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                     303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                     IV-D actions” or “[a]ny expenditure for jailing of par-
                     ents in child-support enforcement cases”); see also
                     52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                     inception of the [Title IV-D] program has been that
                     costs of incarceration of delinquent obligors and costs of
                     defense counsel are not necessary and reasonable costs
                     associated with the proper and efficient administration
                     of the Title IV-D program.”).
                         Finally, at its broadest, the categorical rule petition-
                     er suggests—that there is a right to government-ap-
                     pointed counsel in all “proceedings denominated as ‘civil’
                     where an individual nonetheless faces the prospect of
                     confinement to state custody,” Pet. Br. 30—conflicts
                     with Congress’s express judgment that provision of
                     government-funded counsel is not warranted in all such
                     areas. See Middendorf, 425 U.S. at 43 (deferring to
                     such a judgment); Walters, 473 U.S. at 319-320 (same);
                     see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                     (“The role of the judiciary is limited to determining
                     whether the procedures meet the essential standard of
                     fairness under the Due Process Clause and does not ex-
                     tend to imposing procedures that merely displace con-
                     gressional choices of policy.”).
                         For example, while aliens are sometimes detained
                     during removal proceedings or pending enforcement of
                     removal orders, Congress has long explicitly provided
                     that there is no obligation to provide government pay-
                     ment for counsel in such proceedings. See 8 U.S.C. 1362
                     (“In any removal proceedings before an immigration
                     judge and in any appeal proceedings before the Attor-
                     ney General from any such removal proceedings,
                     the person concerned shall have the privilege of being
                     represented (at no expense to the Government) by such
                     counsel, authorized to practice in such proceedings,
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                     as he shall choose.”) (emphasis added); 8 U.S.C.
                     1229a(b)(4)(A). Congress’s judgment is consistent with
                     this Court’s repeated holdings that removal proceedings
                     are civil and non-punitive, see, e.g., INS v. Lopez-
                     Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                     proceeding is a purely civil action to determine eligibil-
                     ity to remain in this country, not to punish an unlawful
                     entry, though entering or remaining unlawfully in this
                     country is itself a crime.”), and its conclusion that deten-
                     tion of an alien during the removal process is permissi-
                     ble because it is incidental to the proceedings, and not
                     their purpose or goal, see, e.g., Carlson v. Landon,
                     342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                     of this deportation procedure.”). As the Court has
                     also noted, removal proceedings—whose purpose is re-
                     moval of aliens from the country, not deprivation of their
                     physical liberty—are “streamlined” administrative pro-
                     ceedings held before administrative personnel, immigra-
                     tion judges, under rules offering the aliens more limited
                     procedural rights than are available in court. Lopez-
                     Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                     hearing is intended to provide a streamlined determina-
                     tion of eligibility to remain in this country, nothing
                     more”). The due process guarantee of fundamental fair-
                     ness does not mandate the appointment of counsel in
                     such proceedings, which would be contrary to the judg-
                     ment of Congress.13

                       13
                          For these reasons, the lower courts have held that aliens in removal
                     proceedings have no constitutional right to appointment of counsel at
                     government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                     (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                     that in light of the non-criminal nature of both the proceedings and the
                     order which may be a result, that respondents are not entitled to have
                     counsel appointed at government expense”) (citing cases); see Moham-
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                                               CONCLUSION
                         The judgment of the Supreme Court of South Caro-
                     lina should be reversed.
                         Respectfully submitted.

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                     JANUARY 2011




                     med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                     Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                     F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                     F.2d 506, 509 (5th Cir. 1987).
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                                  EXHIBIT I.
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                                  Title 8
                   Courts and Civil Procedure — Courts
                                                               Chapter 10
                                                              Family Court
                                                         R.I. Gen. Laws § 8-10-3

      § 8-10-3. Establishment of court — Jurisdiction — Seal — Oaths.

      (a) There is hereby established a family court, consisting of a chief judge and eleven (11) associate
      justices, to hear and determine all petitions for divorce from the bond of marriage and from bed and
      board; all motions for allowance, alimony, support and custody of children, allowance of counsel and
      witness fees, and other matters arising out of petitions and motions relative to real and personal
      property in aid thereof, including, but not limited to, partitions, accountings, receiverships,
      sequestration of assets, resulting and constructive trust, impressions of trust, and such other equitable
      matters arising out of the family relationship, wherein jurisdiction is acquired by the court by the filing
      of petitions for divorce, bed and board and separate maintenance; all motions for allowance for
      support and educational costs of children attending high school at the time of their eighteenth (18th)
      birthday and up to ninety (90) days after high school graduation, but in no case beyond their
      nineteenth (19th) birthday; enforcement of any order or decree granting alimony and/or child support,
      and/or custody and/or visitation of any court of competent jurisdiction of another state; modification
      of any order or decree granting alimony and/or custody and/or visitation of any court of competent
      jurisdiction of another state on the ground that there has been a change of circumstances; modification
      of any order or decree granting child support of any court of competent jurisdiction of another state
      provided: (1) the order has been registered in Rhode Island for the purposes of modification pursuant
      to § 15-23.1-611, or (2) Rhode Island issued the order and has continuing exclusive jurisdiction over
      the parties; antenuptial agreements, property settlement agreements and all other contracts between
      persons, who at the time of execution of the contracts, were husband and wife or planned to enter into
      that relationship; complaints for support of parents and children; those matters relating to delinquent,
      wayward, dependent, neglected, or children with disabilities who by reason of any disability requires
      special education or treatment and other related services; to hear and determine all petitions for
      guardianship of any child who has been placed in the care, custody, and control of the department for
      children, youth, and families pursuant to the provisions of chapter 1 of title 14 and chapter 11 of title
      40; adoption of children under eighteen (18) years of age; change of names of children under the age
      of eighteen (18) years; paternity of children born out of wedlock and provision for the support and
      disposition of such children or their mothers; child marriages; those matters referred to the court in
      accordance with the provisions of § 14-1-28; those matters relating to adults who shall be involved
      with paternity of children born out of wedlock; responsibility for or contributing to the delinquency,
      waywardness, or neglect of children under sixteen (16) years of age; desertion, abandonment, or
      failure to provide subsistence for any children dependent upon such adults for support; neglect to send
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      any child to school as required by law; bastardy proceedings and custody to children in proceedings,
      whether or not supported by petitions for divorce or separate maintenance or for relief without
      commencement of divorce proceedings; and appeals of administrative decisions concerning setoff of
      income tax refunds for past due child support in accordance with §§ 44-30.1-5 and 40-6-21. The
      holding of real estate as tenants by the entirety shall not in and of itself preclude the family court from
      partitioning real estate so held for a period of six (6) months after the entry of final decree of divorce.

      (b) The family court shall be a court of record and shall have a seal which shall contain such words
      and devices as the court shall adopt.

      (c) The judges and clerk of the family court shall have power to administer oaths and affirmations.

      (d) The family court shall have exclusive initial jurisdiction of all appeals from any administrative
      agency or board affecting or concerning children under the age of eighteen (18) years and appeals of
      administrative decisions concerning setoff of income tax refunds, lottery set offs, insurance intercept,
      and lien enforcement provisions for past due child support, in accordance with §§ 44-30.1-5 and 40-6-
      21, and appeals of administrative agency orders of the department of human services to withhold
      income under chapter 16 of title 15.

      (e) The family court shall have jurisdiction over those civil matters relating to the enforcement of laws
      regulating child care providers and child placing agencies.

      (f) The family court shall have exclusive jurisdiction of matters relating to the revocation or
      nonrenewal of a license of an obligor due to noncompliance with a court order of support, in
      accordance with chapter 11.1 of title 15.

          [See § 12-1-15 of the General Laws.]

      (g) Notwithstanding any general or public law to the contrary, the family court shall have jurisdiction
      over all protective orders provided pursuant to the Rhode Island general laws, when either party is a
      juvenile.

      History of Section.
      P.L. 1961, ch. 73, § 1; P.L. 1972, ch. 30, § 1; P.L. 1973, ch. 125, § 1; P.L. 1974, ch. 85, § 1; P.L. 1975,
      ch. 3, § 1; P.L. 1976, ch. 252, § 1; P.L. 1977, ch. 89, § 1; P.L. 1980, ch. 54, § 1; P.L. 1981, ch. 319, § 1;
      P.L. 1984, ch. 167, § 3; P.L. 1984, ch. 281, § 1; P.L. 1987, ch. 163, § 2; P.L. 1988, ch. 84, § 7; P.L.
      1992, ch. 326, § 1; P.L. 1994, ch. 158, § 2, P.L. 1994, ch. 195, § 3; P.L. 1994, ch. 244, § 1; P.L. 1994,
      ch. 263, § 3; P.L. 1995, ch. 370, art. 29, § 10; P.L. 1995, ch. 374, § 10; P.L. 1996, ch. 129, § 1; P.L.
      1996, ch. 131, § 1; P.L. 1996, ch. 132, § 1; P.L. 1996, ch. 133, § 1; P.L. 1997, ch. 170, § 23; P.L. 1999,
      ch. 83, § 6; P.L. 1999, ch. 130, § 6; P.L. 2007, ch. 73, art. 3, § 9; P.L. 2010, ch. 216, § 1; P.L. 2010, ch.
      236, § 1.




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                                    Appeal No. 23-1967
                            In The United States Court of Appeals
                                         First Circuit


                                        MARY SEGUIN
                                     Plaintiff-Appellant




            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                    Defendant-Appellees.
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                         Appeal from the United States District Court
                                 for the District of Rhode Island


                           DECLARATION OF MARY SEGUIN


       Pursuant Fed. R. App. P 8, and pursuant to o 28 U.S.C. sec. 1746(2), I, MARY
       SEGUIN, declare that all the facts “made known” to the United States Panel of
       Judges invoking Fed. R. App. 8(a)(2)(D) in Document: 0011812363 Appellant’s
       Notice of the Commission of Facts are true to the best of my knowledge.


       Respectfully submitted,
       Date: March 29, 2024
       MARY SEGUIN


       _____________________________
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                                         No. 23-1967


                                       IN THE
                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                             UNITED STATES OF AMERICA,

                                      Plaintiff-Appellant,
                                       MARY SEGUIN
                                               v.
             RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
               capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
              individual and official capacities; Rhode Island OFFICE OF Child Support
          Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
          DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
         LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
           JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
          RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
            SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                   RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
            ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
        RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
             its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
         capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
        ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
          JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
          MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
                individual and official capacities; RHODE ISLAND OFFICE OF THE
          ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
            THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
         capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                  capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                     Appellants-Appellees.


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                          Appeal from the United States District Court
                                 for the District of Rhode Island
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        APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
           THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
        INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
          CAUSING TO BE PRESENTED, A FALSE OR FRAUDULENT CLAIM
         FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING, USING OR
        CAUSING TO BE MADE OR USED, A FALSE RECORD OR STATEMENT
        MATERIAL TO A FALSE OR FRAUDULENT CLAIM; CONSPIRING TO
         COMMIT A VIOLATION OF THE AFORESAID TO PROCURE TITLE
           IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42 U.S.C. § 654
                                 WHICH ARE
          PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
           654, COMMITTED BY APPELLEE AGENTS OF TITLE IV SOCIAL
          SECURITY ACT STATE PLAN POLITICAL SUBDIVISIONS OF THE
                 STATE OF RHODE ISLAND AND APPELLEE PERSONS
                                          Pursuant to
                                           18 U.S.C. § 4
                                        18 U.S.C. § 666
                       18 U.S.C. § 287 - making false, fictitious claims,
                    18 U.S.C. § 371 - conspiracy to defraud the United States,
            18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                  18 U.S.C. § 1341 - mail fraud,
                                  18 U.S.C. § 1343 - wire fraud,
                          31 U.S.C. § 3279 - federal civil false claims act
                                               Et al.



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              Pursuant to 18 U.S.C. § 4, Appellant, proceeding from Texas and as a

        citizen of Texas, in aid of the Court, respectfully in good faith makes known to the

        Judges of the United States in the United States Court of Appeals for the First

        Circuit of United States of America, the commission of penalties-incurring and

        fines-incurring, both civil and criminal, (negligent and intentional) violations by

        Appellee persons or whoever acting as agents of the 42 U.S.C. § 654(1) political

        subdivisions of the State Plan of the State of Rhode Island and Appellee

        persons, pursuant to 18 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious

        claims, 18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. §

        1001 - false documents or false statements to a federal agency, 18 U.S.C. §

        1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal

        civil false claims act et al. (a non-exhaustive list of Appellee-violated federal

        codes is invoked in the Conclusion Section of this Notice), and respectfully

        requests review by a panel of judges in this United States Court of Appeals for the

        First Circuit under Fed. R. App. P 27(b) and Fed. R. App. P 8(a)(2)(D) invoked

        in the pending Fed. R. App. P 27(b) motion and Fed. R. App. P 8(a)(2)(D)

        motion pending in this matter.

              Appellant respectfully requests a hearing on the matters raised herein.


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              I.     APPELLANT’S LIMITED SCOPE PROSECUTION OF THE
                     APPELLEES IN LIMITED JURISDICTION 42 U.S.C. § 654(1)
                     STATE FAMILY COURT TITLE IV CASE PROCEEDING
              The Texas Appellant, a victim of the Appellees’ organized commission of

        Title IV-D and Title IV-A violative interstate 12% compound interest on overdue

        support fraud, fraudulent liens consisting of 42 U.S.C. § 654(21)(A) violative 12%

        COMPOUND INTEREST on overdue support on Texas properties, fraud, theft,

        and accounting fraud, respectfully requests judicial notice, in aid of the Court, of

        the Texas Appellant’s concurrent limited scope prosecution of the Appellees in the

        Rhode Island State Plan’s 42 U.S.C. § 654(1) political subdivision, Rhode Island

        Judiciary limited jurisdiction family court, where certain symbiotic state judicial

        actors, such as state judge John McCann III, state judge Haiganush Bedrosian and

        state magistrate Susan Nahabedian, routinely establish and enforce under color of

        Rhode Island state law 12% compound interest on overdue support, upon

        information, since 1988, with the possibility of since 1974. Appellant respectfully

        attached hereto this Notice Appellant’s February 4, 2024 and March 21, 2024

        electronic filings moving to compel enforcement of that court’s properly issued

        subpoena for Appellant’s Title IV-D case records including records showing the

        Appellee-Rhode Island Office of Child Support Service’s accounting alterations

        involving any and all records as they relate to the removal of 12% compound

        interest from the automated data processing system and putting the 12% compound


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        interest back on the system whether it be for certification of a compliant approved

        State Plan to the United States for claims under Title IV-D and Title IV-A

        programs funding under 42 U.S.C. §§ 654(7), 654(10), 654(14), 654(15), 654(16),

        654a, 654b; or certified to financial institutions or property-holding entities for the

        purpose of placing or perfecting liens on Appellant’s Texas properties, or certified

        to Texas for enforcement against the Appellant (e.g., to Texas for cooperation

        under 42 U.S.C. §666 (14) certifying the accuracy and legal sufficiency of Rhode

        Island’s automated data processing system accounted amount) that must obviously

        exactly corroborate with the amounts directly represented to and demanded from

        the Appellant during the course of the Appellees’ support collection activities –

        Appellant prosecuted judicial compulsion of Rhode Island Appellees’ compliance

        with the subpoena and compliance with 42 U.S.C. §654b’s requirement to furnish

        the information upon the noncustodial parent’s information request by filing the

        motion to compel using the State’s electronic court filing system, Odyssey,

        attached hereto under Exhibit A.

              Appellant in good faith relies on the straightforward and clearly worded

        ruling of the United States Court of Appeals for the 4th Circuit in Hodges v.

        Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002),

        cert. denied, 540 U.S. 811 (2003), that makes clear Congress’s intent to prescribe

        both civil and criminal penalties and fines for violations. Consistent with its

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        Spending Power, Congress has the authority to attach conditions on the receipt of

        federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

        statute expressly provides that compliance with the 3-6% simple interest on

        overdue support, operating the automated system for accuracy and SDU

        requirements are conditions of approval of a state plan. See 42 U.S.C. §§ 654(7),

        (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, § 654b. The clear and

        unequivocal statement of the required conditions in the statute enabled Rhode

        Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

        participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court

        has recognized that Congress intended the linkages between child support

        programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

        (concluding Congress intended the two programs to "operate together closely.”

        The penalty provisions of the statute and the wording of the statute are plain.

        Where the Secretary determines that a state plan would be disapproved, and where

        the State has made and continues to make a good faith effort to comply and has

        submitted a corrective compliance plan, "the Secretary shall not disapprove the

        State plan . . . and the Secretary shall reduce the amount otherwise payable to the

        State [by the designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

        (emphasis added). "[B]y the text of the statute, the legislature has prescribed that

        the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at 879.


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        Absent any discretion available to the Secretary to impose a lesser penalty than the

        alternative penalty as outlined in the statute, Rhode Island is liable for the

        statutorily prescribed penalties. 1 Congress also enacted several criminal codes

        punishing persons, whoever who act as agents, such as the Appellees, who commit

        federal crimes, including cover up of unlawful activities under federal criminal

        codes, e.g., see 8 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious claims,

        18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 -

        false documents or false statements to a federal agency, 18 U.S.C. § 1341 -

        mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal civil false

        claims act et al. (a non-exhaustive list of Appellee-violated federal codes is

        invoked in the Conclusion Section of this Notice). Penalties and fines against the

        State for noncompliance (including due process violations provided in 42 U.S.C.




        1
         In 2000, South Carolina unsuccessfully challenged the Department of Health and
        Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
        Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
        accepted imposition of a penalty retroactive to 1998. The State paid more than $55
        million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
        Budget Proviso 13.27 at 4 (Aug. 31, 2007),
        http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
                Emphatically, note that South Carolina’s violations and penalties do not involve
        deliberate alterations of and tampering with government records involved in accounting
        fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
        automated system, then manually removing or adjusting them for purposes of
        certification purposes to Texas and to the United States in order to conceal the unlawful
        12% compound interest from the noncustodial parent and from Texas and Federal
        authorities in the false amounts certified to Texas and to the United States for incentive
        claims, cooperation claims and Title IV-D and Title IV-A funding claims.
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        §654(20) and corresponding §666) is explicit under federal codes Title IV-D, Title

        IV-A, and 18 U.S.C. § 666, and upheld.

                Appellant attaches the 4th Circuit’s ruling (Hodges v. Shalala, 121 F. Supp.

        2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

        811 (2003) herewith under Exhibit B.

              Appellant moreover in good faith relies on the straightforward and clearly

        worded Brief filed by the United States Department of Justice and Secretary of the

        United States Department of Health and Human Services in the seminal United

        States Supreme Court case Turner v. Rogers, 564 U.S. 431 (2011) that showed

        South Carolina (found by the 4th Circuit Court of Appeals) liable for $75 million in

        penalties for that state’s 42 U.S.C. § 654 violations that did not even involve, inter

        alia, fraud and tampering with the record or unlawful 12% compound interest put

        into, then taken off, then put back on, the automated data processing system as here

        in Rhode Island by the political subdivision Appellees. The Texas Appellant, the

        victim of fraud and organized fraud by Rhode Island’s political subdivisions under

        42 U.S.C. § 654(1), in good faith made known the above activities to “some

        judges” of “the United States” such as the judges sitting in the Court of Appeals for

        the First Circuit and other relevant federal authorities under 18 U.S.C. § 4.




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              Appellant attaches the aforesaid Brief filed in the U.S. Supreme Court by the

        United States in Turner v. Rogers, 564 U.S. 431 (2011) herewith under Exhibit C.

              I.     SUA SPONTE RECUSAL OF RHODE ISLAND’S TITLE IV
                     POLITICAL SUBDIVISION STATE MAGISTRATE SUSAN
                     NAHABEDIAN WHO OPENLY DECLARED ON THE
                     RECORD RHODE ISLAND LAW SAYS 12% COMPOUND
                     INTEREST ON FEBRUARY 2, 2024 – THE 12% COMPOUND
                     INTEREST RATE WAS DELIBERATELY OMITTED AND
                     CONCEALED BY APPELLEES (BOTH JUDICIAL AND SDU)
                     SINCE 2010 IN APPELLANT’S TITLE IV CASE ALONE



              Appellant, similar to Michael Turner in Turner v. Rogers, 564 U.S. 431

        (2011), is a victim of unconstitutional unlawful seizures, here of Appellant’s Texas

        properties for fraudulent and unlawful 12% compound interest on overdue support

        liens (and their refusal to release fraudulent liens in violation of Texas Penal

        Codes) under Rhode Island fraud on the court under color of Rhode Island state

        law within the Title IV legal framework. The United State’s Brief elaborating the

        incentive structure of the Title IV legal framework against the implemented due

        process violative enforcement structure in South Carolina in Turner makes clear

        that South Carolina’s unlawful and unconstitutional deprivation of Turner’s liberty

        is calculated to show improved “enforcement” rates (unconstitutionally and

        unlawfully induced) in order to make claims for, inter alia, enforcement incentive

        payments under 42 U.S.C. § 658a.


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              Here, Rhode Island’s Title IV political subdivisions operate a sophisticated

       accounting fraud 42 U.S.C. § 654 non-compliant data processing system that is

       clearly not “automated” that involves, inter alia, routine removals of the 12%

       compound interest from the automated data processing system whenever Rhode

       Island risks detection when making certifications to other states such as Texas

       (under 42 U.S.C§666(14)) and emphatically when submitting certifications to the

       United States when making claims for Title IV-D and Title IV-A funding under,

       inter alia, 42 U.S.C. §§654(7), (10), (14), (15), (16), 42 U.S.C. §654a, 42 U.S.C. §

       654b, 42 U.S.C. § 658a, 42 U.S.C. § 658b. among others. Aiding these agents of

       the state subdivisions are certain symbiotic judicial persons that operate a

       minimized paper trail system that involves omitting stating 12% compound interest

       rate on overdue support orders for the purpose of covering up the State Plan’s

       violation of 42 U.S.C. § 654(21)(A) that explicitly permits UNFORMLY either

       0% or if interest is set, a 3-6% simple interest on overdue support. Symbiotic to

       the collective aim to conceal the State Plan’s noncompliance, the Appellee-Rhode

        Island Office of Child Support’s adopted official policy that explicitly states in

        writing NOT to pursue interest in interstate cases ONLY. For three long years,

        since November 2021, Appellant has been diligently and exhaustingly, and with

        outrageously exorbitant undue burden, seeking through three Rhode Island state

        Title IV-D proceedings and two federal actions at law in the district of Rhode


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       Island presided by a judge (Smith) who built his entire law practice representing

       Rhode Island 42 U.S.C. § 654(1) political subdivisions and their employees, for

       information regarding that rate of interest input into the 42 U.S.C. §§ 654 (7),

       (10), (14), (15), (16) (24), (27), §654a, § 654b mandated automated system, with

       every legal maneuvering thrown at Appellant at every turn to thwart and obstruct

       furnishing the accounting information that is mandated to be produced by statute

       under 42 U.S.C. §654b to the noncustodial parent Appellant anyway, without

       judicial compulsion. The language of Title IV-D makes clear that the permitted 42

       U.S.C. 654(21) 3-6% interest represents an “incentive” fee to the States, and

       stipulates that in welfare (Title IV-A) cases the established support order is

       assigned to the State, making clear that the interest on overdue support represents a

       form of revenue for the State in the form of debt owed to the State by the

       noncustodial parent.

             Through court ordered discovery in the state family court, yet through

       continuing refusals by Appellees to produce requested information relating to the

       accounting and removals from the automated data process system, Appellant

       nevertheless diligently obtained evidence of the Appellee-Rhode Island Office of

       Child Support Service’s policy of not pursuing interest in interstate support cases

       only, in violation of 42 U.S.C. § 654(21)(A) explicit requirement to set UNIFORM

       rates, attached hereto as Exhibit D.

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             Among others, because Appellees Barbara Grady, Gero Meyersiek and

       Priscilla Glucksman and certain employees of political subdivision state family

       court believe that the Appellant “married a rich oil man” in Texas, they schemed to

       defraud the Appellant in this interstate Title IV-D case since 2010, to wit the

       guardian ad litem’s demand to pay the outrageous $55,000.00 per visitation, even

       though the State has been receiving through filing claims for grants at a minimum

       $10,000,000.00 in grants under 42 U.S.C. §669b to facilitate visitation etc. In

       retaliation for Appellant’s federal lawsuits in 2012 against the Appellees for their

       racketeering Appellee Priscilla Glucksman on “oral” motion secured from Judge

       McCann an unspecified “interest” on overdue support in Appellant’s interstate

       case, against written policy (see policy Exhibit D) with the intent to remove from

       the automated data process system the 12% compound interest when certifying to

       Texas under 42 U.S.C. § 666(14) to conceal from Texas and federal authorities the

       disallowed therefore fraudulent 12% compound interest. Similarly, Appellees

       routinely remove the 12% compound interest amount from the automated system

       in instate cases whenever it certifies to the United States for federal claims under

       Title IV-D and Title IV-A to conceal the State Plan’s noncompliance with 42

       U.S.C. §654(21)(A), and then put the interest back on the system again after

       obtaining federal funding or after a federal audit, similarly to how Appellee Rhode

       Island Office of Child Support Services put interest back on the system in


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       December 2021 after inducing the Appellant by agreement in Texas to pay off the

       principle in one lump sum in consideration of Appellee Gero Meyersiek waiving

       interest (interest that was in reality unenforceable, null and void under 42 U.S.C.

       §654(21)(A)).

             Since November 2021, for thirty (30) months, several times each month,

       Appellant in good faith diligently and unwaveringly requested for her own case

       accounting and all information relating to the alleged interest and support due, and

       was denied each time, each denial constituted a failure and incurred penalties

       explicitly provided by Congress under, inter alia, 42 U.S.C. §§654(24), (27), §

       654a, § 654b, § 658a, § 658b, and because the denials were motivated by cover up

       of criminal fraud, accounting fraud and false certifications to Texas and the United

       States to claim funds from federal funding programs involving the taking off and

       putting back onto the automated data processing system noncompliant and

       fraudulent 12% compound interest, the explicit penalties under 42 U.S.C. § 654,

       658 and as they relate to Rhode Island’s ineligibility for Title IV-A funding are

       penalty and fine incurring also under 18 U.S.C. §666, 18 U.S.C. § 287 - making

       false, fictitious claims, 18 U.S.C. § 371 - conspiracy to defraud the United

       States, 18 U.S.C. § 1001 - false documents or false statements to a federal

       agency, 18 U.S.C. § 1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C.

       § 3279 - federal civil false claims act et al., among others. Congress is adamantly

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       explicit on the conditioning of federal funding claimed under Title IV-D and Title

       IV-A and explicit on the punitive penalties and fines specifically liable by the

       States, agents of the States, including employees and persons in conspiracy with

       whomever, explicit and reinforced under 18 U.S.C. § 666, 18 U.S.C. § 287 -

       making false, fictitious claims, 18 U.S.C. § 371 - conspiracy to defraud the

       United States, 18 U.S.C. § 1001 - false documents or false statements to a

       federal agency, 18 U.S.C. § 1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31

       U.S.C. § 3279 - federal civil false claims act et al.

             Appellant finally obtained evidence of the illegal 12% compound interest on

       overdue support Appellee-Rhode Island Office of Child Support Services routinely

       input into the automated data processing system through propounding

       interrogatories. Appellant attaches hereto the Appellees’ Answers to

       Interrogatories as Exhibit E - see Interrogatory Answer 11(c) on page 5

       “Plaintiff’s Answers to Appellants’ Interrogatories” that states, “ANSWER 11(c)

       Rhode Island General Laws 15-5-16.5; 12% per annum on any support debt due

       and owning for child support and/or spousal support.”

             Rhode Island evades detection and falsely certifies to the Secretary under

       Title IV through accounting fraud. Appellant’s case file for December 2021 to

       April 2022 shows over a dozen instances of unsubstantiated by any accepted

       accounting standards inflationary manual upward “adjustments” to the automated
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       data process system that balloons the interest arrears due by tens of thousands of

       dollars within weeks each time, which is clearly unclearly unlawful when Title IV

       mandates by 42 U.S.C. 654(24), 42 U.S.C. 654(27) and 42 USC 654a and 42 USC

       654b that the automated data process system must be used for calculating support

       to ensure accuracy and to prevent accounting fraud or theft. E.g., see 42 U.S.C.

       sec. 654(7),(10), (14), (15), (16), (20) clearly requiring accounting and reporting

       controls involving the automated accounting data processing system and

       compliance with 42 U.S.C. sec. 654a and 654b. It is crystal clear that, just like

       how the Appellees routinely manually altered the amounts due Appellant’s account

       that is mandated to be calculated by the automated data processing system in

       Appellant’s case file, in order to cover up detection by Federal authorities of the

       unlawful and fraudulent 12% compound interest, Rhode Island flagrantly and

       routinely and criminally removes the unlawful 12% compound interest amounts

       from the 42 U.S.C. 654a required automated data processing system when

       reporting to the Secretary under 42 U.S.C. secs. 654(10), (14), (15), (16) for

       example, then put the interest back on the system after reportings to the Secretary

       and subsequent to the Title IV three-year audit cycle. This way, Rhode Island

       fraudulently falsifies accounting in order to make it appear that the State Plan is in

       compliance with 42 U.S.C. sec. 654(21)(A). As the payouts involve hundreds of

       millions of dollars, and due to the possibility of kick back arrangement to look the


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       other way by federal delegated authorities, Appellant in good faith “made known”

       the possibility to Congressional Oversight officials.

             For the purpose of this matter at hand, the Appellant respectfully requests

       the Judges of this United States Court of Appeals to take proper steps to ensure that

       official federal judicial proceeding review on the merits of the accuracy of the

       accounting reporting of Appellant’s account that is central to this matter is

       conducted in accordance with all applicable Federal Law where theft of the United

       States has occurred and is occurring and is clearly implicated, and where theft of

       the Appellant has occurred and is occurring and concretely established by

       evidence.

             A. MAGISTRATE SUSAN NAHABEDIAN FALSIFYING AND
                TAMPERING WITH TITLE IV RECORDS BY MUTING THE
                APPELLANT THROUGHOUT WEBEX TITLE IV-D
                PROCEEDING SO AS TO OBSTRUCT APPELLANT FROM
                BEING HEARD, SPECIFICALLY OBSTRUCTING APPELLANT
                FROM SUBMITTING INTO EVIDENCE TRAC RECORDS AND
                AUDIO RECORDING SHOWING THE REMOVAL OF
                FRAUDUELNT 12% COMPOUND INTEREST AND PUTTING
                INTEREST BACK ON THE SYSTEM ACCOUNTING FRAUD
                AND OBSTRUCT APPELLANT FROM CROSS-EXAMINING
                PERJUROUS TESTIMONY BY WITNESS APPELLEE GERO
                MEYERSIEK AND ATTEMPTS TO SET 12% COMPOUND
                INTEREST IN VIOLATION OF 42 U.S.C. sec. 654(21)(A) –
                Multiple Failures that are Penalty Incurring Fraud on the Court

                   On February 2, 2024, in the Title IV-D State Plan hearing conducted by

                   political subdivision limited jurisdiction family court, Appellee Rhode


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                Island Office of Child Support Services Chief Legal Counsel Paul Gould

                attempted to set 12% compound interest arrears of over $81k in

                Appellant’s interstate case but not in certain other interstate cases,

                constituting multiple violations of 42 U.S.C. sec. 654(21)(A). Appellee

                Paul Gould also stated that in the Title IV-D proceeding, what Congress

                says does not matter, what the U.S. Supreme Court says does not matter,

                what the Constitution says does not matter, only what the limited

                jurisdiction family court’s orders matter. Appellee Paul Gould is wrong.

                Appellee Rhode Island Office of Child Support Services is wrong.

                Attempting and conspiring to seek 12% compound interest violates 42

                U.S.C. sec. 654(21)(A), and counts as one failure in the fiscal year, and

                incurs the penalty for one failure for Appellee Paul Gould’s actions under

                42 U.S.C. sec. 655, 658a, 658b.



                Attempting and conspiring to not seek uniform interest, targeting Texas

                Appellant in an interstate case for illegal 12% compound interest while

                not pursing interest in other interstate cases also violates 42 U.S.C. sec.

                654(21)(A) and counts as two failures in the fiscal year, and incurs the

                penalty for two failures.




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                Attempting and conspiring to openly flout Title IV-D regulations in a

                Title IV-D proceeding by the Chief Legal Counsel of the Title IV-D SDU

                counts as at least three failures and incur penalties for at least five

                failures.



                Attempting and conspiring to openly flout Congress and the United

                States Supreme Court in a Title IV-D proceeding count as at least three

                failures and incur penalties for at least eight failures, as well as

                disbarment and other fines and penalties.



                Attempting and conspiring to openly flout the Constitution in a Title IV-

                D proceeding by the Chief Legal Counsel of the State Plan’s SDU should

                count as treason to the Constitution.



                Attempting by any 42 U.S.C. sec. 654(1) political subdivision to establish

                12% compound interest, be it judicial political subdivisions or

                administrative political subdivisions, Consistent with its Spending Power,

                Congress has the authority to attach conditions on the receipt of federal

                funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-

                D statute expressly provides that compliance with the 3-6% simple


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                interest on overdue support, operating the automated system for accuracy

                and SDU requirements are conditions of approval of a state plan. See 42

                U.S.C. §§ 654(7), (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, §

                654b. The clear and unequivocal statement of the required conditions in

                the statute enabled Rhode Island to "exercise [her] choice knowingly,

                cognizant of the consequences of [her] participation." See Dole, 483 U.S.

                at 207 (citations omitted). The Supreme Court has recognized that

                Congress intended the linkages between child support programs and the

                TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

                (concluding Congress intended the two programs to "operate together

                closely.” The penalty provisions of the statute and the wording of the

                statute are plain. Where the Secretary determines that a state plan would

                be disapproved, and where the State has made and continues to make a

                good faith effort to comply and has submitted a corrective compliance

                plan, "the Secretary shall not disapprove the State plan . . . and the

                Secretary shall reduce the amount otherwise payable to the State [by the

                designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

                (emphasis added). "[B]y the text of the statute, the legislature has

                prescribed that the Secretary shall enforce this penalty." Hodges v.

                Shalala, 121 F.2d at 879. Absent any discretion available to the


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                Secretary to impose a lesser penalty than the alternative penalty as

                outlined in the statute, Rhode Island is liable for the statutorily prescribed

                penalties.



                Magistrate Nahabedian proceeded to mute the Appellant from the point

                of Paul Gould calling Appellee Gero Meyersiek as his only witness ALL

                THE WAY TO THE reading of the ruling into the record constituted

                deprivation of due process, obstruction of an official Title IV-D

                proceeding and record tampering; it made the record falsely look as if

                Appellant did not mount any arguments, defense or objections nor sought

                to be heard. Magistrate Nahabedian’s falsification using Webex muting

                of the 42 U.S.C. sec. 666-protected Appellant in a remote hearing for the

                entire phase of the “trial towards the merits” of the Title IV-D hearing,

                thus falsifying the record, falsifying the record for appeal is criminal in

                nature, obstructs the official proceeding, obstructs justice, and are

                impeachable offenses, especially when it is clearly established her

                impeachable actions are motivated by the scheme to set 12% compound

                interest arrears that she knew are unlawful, unenforceable, fraudulent,

                and are preempted by 42 U.S.C. sec. 654(21)(A) – the political

                subdivision lacks jurisdiction to set 12% compound interest having


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                willingly entered into contract with the United States to participate in

                Title IV-D. The clear and unequivocal statement of the required

                conditions in the Title IV-D statute enabled Rhode Island to "exercise

                [her] choice knowingly, cognizant of the consequences of [her]

                participation." See Dole, 483 U.S. at 207 (citations omitted).

                As far as 42 USC 655 penalties are concerned, at least twenty failures

                occurred under 42 USC 654 alone, along with other federal and Texas

                criminal codes.

                Appellee Gero Meyersiek committed perjury and falsification of Title

                IV-D records. Appellee Paul Gould and counsel Achille for Appellee

                Gero Meyersiek are persons whomever committing subornation of

                perjury and aiding in certifying false claims to the United States and

                falsifying Title IV-D records.


             B. APPELLANT FILED MOTIONS TO DISQUALIFY, MOTION
                FOR VIDEO RECORDING OF WEBEX HEARING AND
                MOTION TO DISMISS INTEREST ARREARS; APPELLANT
                EMAILED CLERKS OF TITLE IV-D PROCEEDING AUDIO
                RECORDING AS EVIDENCE SUBMISSIONS

                Appellant diligently prosecuted the Rhode Island State Plan’s legitimacy,

                prosecuted the impeachable magistrate and Title IV-D proceeding which

                was conducted under criminal racketeering motivated fraud on the court.



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                Appellant filed a motion to disqualify Magistrate Nahabedian. See

                Attached Exhibit F.



                Appellant filed a motion for Video Audio Recording of Webex Hearing.

                See Attached Exhibit G.



                Appellant filed a motion to Dismiss Interest Arrears. See Attached

                Exhibit H.




             C. APPELLANT FILED IN THIS COURT FED. R. App. P. 8(a)(2)(D)
                MOTION ON MARCH 11, 2024
                On March 11, 2024, Appellant filed in this Court Appellant’s Fed. R.

                App. P. 8(a)(2) Motion; See, (Case:23-1967 Document:00118118391

                Date Filed 03/11/2024 Entry ID: 6628012) Appellant attaches it hereto

                as Exhibit I.




                On March 11, 2024 Appellant further caused to issue a family court

                subpoena for Appellant’s Title IV-D case file information onto 42 U.S.C.

                sec. 654(1) political subdivisions of the State Plan and properly served on

                to their agents and persons, e.g., Appellees Rhode Island Office of Child

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                Support Services, Paul Gould, John Langlois, Kevin Tighe, Frank

                DiBiase and others.



             D. MAGISTRATE SUSAN NAHABEDIAN SUA SPONTE RECUSAL
                NEVER SIGNING NOR ENTERING THE 12% COMPOUND
                INTEREST ORDER, WHICH IS VOID AND IMPEACHABLE

                   Sometime between March 11, 2024 and March 21, 2024, Magistrate

                Susan Nahabedian sua sponte recused herself, never signing nor entering

                any orders for the illegal and fraudulent 12% compound interest.

                Nobody notified the Appellant. Appellant only discovered the fact when

                Appellant sought to obtain information from the state family court

                supervisor clerk, Rhonda, as to procedures submitting audio recording

                evidence during trial for Appellant’s filed Motion to Dismiss.



                   Bewilderingly, the state family court clerk for a Title IV-D proceeding

                stated that their office of the clerk does not have a procedure for

                submitting audio recording evidence for Webex hearings in Title IV-D

                proceedings, which are administratively ordered by the Chief Judge of

                Rhode Island Family Court for remote hearings only, further claiming in

                the state’s $6 million digital court, digital formats of audio files, such as

                saved on a flash drive, or google drive, or attached to email are


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                disallowed. Further, there is judiciary-operated cloud drive for parties to

                upload digital audio recording evidence either.



                   In this digital day and age, old fashioned audio cassettes are

                technologically obsolete and no longer available for sale; nor are cassette

                recorders.



                   Appellant avers this is yet another failure, or deliberate ruse,

                calculated to obstruct Appellant’s submission of damning evidence

                incriminating to the Appellees. This constitutes more penalty-incurring

                failures under Title IV-D and Title IV-A alone.


             E. RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
                VIOLATIONS OF TITLE IV-D AND ORGANIZED CRIMINAL
                COMMISSION OF INTERSTATE FRAUD
                  Congress prescribed both civil and criminal penalties for violations.

                Consistent with its Spending Power, Congress has the authority to attach

                conditions on the receipt of federal funds. See South Dakota v. Dole, 483

                U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

                compliance with the 3-6% simple interest on overdue support, operating

                the automated system for accuracy and SDU requirements is a condition

                of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16),


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                (21)(A), (24), (27)A, § 654a, § 654b. The clear and unequivocal

                statement of the required conditions in the statute enabled Rhode Island

                to "exercise [her] choice knowingly, cognizant of the consequences of

                [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

                Supreme Court has recognized that Congress intended the linkages

                between child support programs and the TANF program. See Sullivan v.

                Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two

                programs to "operate together closely.” The penalty provisions of the

                statute and the wording of the statute are plain. Where the Secretary

                determines that a state plan would be disapproved, and where the State

                has made and continues to make a good faith effort to comply and has

                submitted a corrective compliance plan, "the Secretary shall not

                disapprove the State plan . . . and the Secretary shall reduce the amount

                otherwise payable to the State [by the designated alternative penalty]." 42

                U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the

                statute, the legislature has prescribed that the Secretary shall enforce this

                penalty." Hodges v. Shalala, 121 F.2d at 879. Absent any discretion

                available to the Secretary to impose a lesser penalty than the alternative

                penalty as outlined in the statute, Rhode Island is liable for the statutorily




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                 prescribed penalties.2 Congress also enacted several criminal codes

                 punishing actors, such as the Appellees who commit federal crimes,

                 including cover up of unlawful activities.

             See Title IV-D 42 U.S.C. § 651-669. See United States Congress’s

       publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3

       AUSC-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3V

       sYXRpb25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

             Appellant subpoenaed “(1) All records, files, notes, public records,

       documents, films, materials generated in the course of administration and

       enforcement of relating to Appellant Mary Seguin, from 2010 to the present in this

       Title IV-D Case under the Social Security Act; (2) All records relating to Appellant



       2
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       Mary Seguin from 2010 to the present, including notes and messages taken and

       generated on October 5, 2022.”

             See attached subpoena, Exhibit J.

             The Appellee Rhode Island Office of Child Support Services’ actions in the

       Title IV-D case’s proceedings in question since 2010 with the entries of orders

       prepared and submitted in her official and individual capacities, Appellee Priscilla

       Glucksman, make clear the Office of Child Support Services is one of the State

       Plan’s key “organizational unit which meets such staffing and organizational

       requirements as the Secretary may by regulation prescribe, within the State to

       administer the plan” under 42 U.S.C. § 654(3).

             Rhode Island Office of Child Support Services’ refusal to comply with the

       Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in this

       fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4), which

       penalty-incurring violations resulting in making false federal claims under federal

       funding programs the Appellant had reported, is reporting and will continue to

       report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Appellant in January 2023

       reported Appellee Office of Child Support’s violations to the Rhode Island Office

       of Attorney General, who instead of enforcing the requirements of the State Plan as


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       the Appellee Attorney General is similarly a political subdivision under 42 USC

       654(1), opted to reinforce, aid, shield and protect Appellee Rhode Island political

       subdivisions’ unlawful activities – this is reported to United States authorities). As

       a condition of receipt of any federal funding under Title IV-D of the Social

       Security Act, 42 U.S.C. §§ 651-669, States must have an approved state plan for

       child and spousal support that meets all the requirements of 42 U.S.C. § 654.

       Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support,

       see 42 U.S.C. § 654(21)(A), and a State must establish and operate an automated

       data processing and information retrieval system without taking computer

       calculated amounts off and then put other numbers back on the system or

       hardcoding/inputting new numbers computed offline onto the system, see 42

       U.S.C. § 654(24), and the State must have a state child support disbursement unit

       (SDU) that complies with all the requirements of 42 U.S.C. § 654, 42 U.S.C. §

       654a, 42 U.S.C. § 654b, see 42 U.S.C. § 654(27)(A). Rhode Island deliberately

       fails to meet all the requirements, including continuously inputting 12% compound

       interest on overdue support and the Rhode Island Office of Child Support Services

       covers up their noncompliance with accounting fraud inputting into the system and

       taking off from the automated data processing system amounts that are inflated,

       unlawful, and submitting false books of accounts that removed the unlawful


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       inflated amounts falsely certified to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure false claims for federal funding for

       which Rhode Island is ineligible.

             The deliberate fraud makes clear the State operates an unlawful plan, in fact

       a criminally unlawful plan, and does not have an approved state plan under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and

       disgorge unlawfully procured federal funding under both Title IV-D (child support

       enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. §

       602(a)(2). See, Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311

       F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S. 811 (2003).

             Appellant respectfully reminded the Appellees that any attempt interfering

       with, chilling, thwarting and dismissive of the Appellant’s prosecuting, reporting,

       pursuant to 18 U.S.C. § 4 and other federal statutes, to law enforcement authorities

       the commission of crimes by political subdivisions of the State involved in the

       Title IV-D proceeding is unenforceable. Any and all failures to comply with 18

       U.S.C. § 4 constitutes misprision of a felony.




             F. ALL PROCEEDINGS CONCERNING RHODE ISLAND’S 42 USC
       654(21)(A) DISALLOWED 12% COMPOUND INTEREST ARE
       GOVERNED by 42 U.S.C. § 654 et al. UNDER TITLE IV-D THAT


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       REGULATE ALL POLITICAL SUBDIVISIONS OF THE STATE OF
       RHODE ISLAND



             The Appellant respectfully reminded the state family court that the Political

       Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1), namely by and

       through the Office of Child Support Services’ Lead Legal Counsel Paul Gould,

       Esq., made several claims before the limited jurisdiction family court under Oath

       throughout the Title IV-D case hearings and proceedings in question that the laws

       of Congress, the Constitution and Title IV-D do not matter, only that court’s orders

       matter and they do not need to conform to Congressional prescribed federal

       statutes. Appellant submitted as an Exhibit B to the state family court the

       Transcript of February 2, 2024 Hearing in that matter. Rhode Island is wrong and

       Paul Gould is wrong, and both know it. That flagrant lawlessness is at the heart of

       the violations of federal law under color of state law in this interstate Title IV-D

       case. Rhode Island participates in Title IV-D, and in so participating through its

       State Plan, must comply with Title IV-D. See, Hodges v. Shalala, 121 F. Supp. 2d

       854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S. 811

       (2003). See New York v. United States, 505 U.S. at 161, Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia Surface

       Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). The Title IV-D
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       statute expressly provides that compliance with 42 U.S.C. sec. 654, and

       compliance with the automated data processing system and SDU requirements are

       conditions of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A. The

       clear and unequivocal statement of the required conditions in the statute enabled

       Rhode Island to "exercise [her] choice knowingly, cognizant of the consequences

       of [her] participation." See Dole, 483 U.S. at 207 (citations omitted); See South

       Dakota v. Dole, 483 U.S. 203, 206 (1987). The textual language of 42 U.S.C. §

       654(1) states,

             “A State plan for child and spousal support must—
             (1)    provide that it shall be in effect in all political subdivisions of the
                    State”



             The facts and established law thus make it crystal clear all political

       subdivisions of Rhode Island, including the Rhode Island Department of Human

       Services, the Office of Child Support Services AND the Rhode Island Judiciary

       political subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services, the

       State Plan’s SDU unit, flagrantly and expressly states in a Title IV-D case that

       Title IV-D statute and Congressionally prescribed federal statutes do not apply in

       Title IV-D cases nor in Rhode Island, the State of Rhode Island’s political

       subdivisions have flagrantly flouted 42 USC sec. 654 and then adjusted and

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       tampered with the automated data processing system accounting to defraud the

       United States of federal funding, and to defraud the Appellant of her Texas

       properties.

             Therefore the Appellant respectfully reminds all participants involved in this

       official federal proceeding concerning the federal question of federal law involving

       state non-compliance, fraud against the Appellant using the Title IV legal

       framework that further involves false claims for Title IV funding and gives notice

       to the applicable State political subdivisions (e.g., Rhode Island Judiciary) and

       agencies, including the SDU under the State Plan under 42 U.S.C. § 654(1), e.g.,

       the Rhode Island Office of Child Support Services, that this yet again

       noncompliance by the State of Rhode Island with the Subpoenaed information

       egregiously constitutes yet another of the many numerous failures of Rhode Island

       agencies and its State Plan during this fiscal year to comply with the requirements

       of section 654b, as well as 654, 654a and 666 of Title IV which shall be considered

       yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year,

       that is clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up

       to 30 percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether a

       penalty is imposed under this paragraph with respect to the failure). (ii) The term

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       “penalty base” means, with respect to a failure of a State to comply with a

       subparagraph of section 654(24) of this title during a fiscal year, the amount

       otherwise payable to the State under paragraph (1)(A) of this subsection for the

       preceding fiscal year.

             Additionally, the deliberate noncompliance motivated by cover up makes

       clear the State knowingly and intentionally operates an illegal plan, the State

       knows Rhode Island does not have an approved state plan under Title IV-D of the

       Social Security Act, 42 U.S.C. §§ 651-669, and therefore should lose federal

       funding under both Title IV-D (child support enforcement) and Title IV-A

       (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2).

             G. FRAUD

             In this Title IV case at issue, serial noncompliance, motivated by fraud, and

       their resulting incurred penalties, both civil and criminal, accrued since the

       initiation of the Title IV case fourteen years ago in 2010, upon Appellee Gero

       Meyersiek’s application for services under Title IV through his own private

       attorney, Appellee Barbara Grady, whose former law firm partner and diseased

       husband Paul Dugan, was himself a former Senior Counsel of the Appellee Rhode

       Island Office of Child Support Services, one of the key Title IV-D agencies under

       Rhode Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance


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       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Appellee Barbara

       Grady through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal funding

       reimbursement and federal funding Incentive Payment payouts (658a) worth

       hundreds of millions of dollars under the Title IV Program to the Secretary and

       Department of Health and Human Services, among others. Upon information and

       belief, the Appellee Gero Meyersiek and Barbara Grady and the Rhode Island

       Office of Child Support Services have a series of unlawfully obtained “12%

       compound interest” money receipt sharing arrangements involving the fraudulent

       procurement through the Title IV framework of exorbitant and unenforceable 12%

       compound interest interstate targeting Appellant’s Texas properties on overdue

       support enabled through accounting fraud, among others – this arrangement

       involving interstate defraud of the Texas Appellant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode Island

       Office of Child Support Services discussing in great detail at length with Barbara

       Grady the agency’s fraudulent removal from the 42 U.S.C. § 654(24), 42 U.S.C. §

       654(27) and 42 U.S.C. § 654a mandated automated data processing system of 12%

       compound interest when sending to Texas in 2018 thus creating fraudulent books

       of accounts under 42 U.S.C. § 666(14)(A)(ii)(I) and (II) fraudulently certifying to

       Texas via wire and via mail inaccurate support due accounts – discussions of this


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       scheme further violated the Appellant’s privacy rights, that are documented in the

       TRAC record of the Appellant’s Title IV case file for December 2021 recording

       the agency’s discussions with Barbara Grady at length regarding taking interest off

       when sending to Texas, and keeping it off the system when communicating to

       Appellant that Gero Meyersiek waived interest, and then putting interest back on

       the system after they defrauded the Appellant inducing the Appellant to payoff

       support that comprised of the principle in one lump sum of $104,185.98 in

       consideration of Gero Meyersiek waiving interest – the agency discussing its

       illegal and criminal enforcement information with Barbara Grady is in itself a

       violation of 42 U.S.C. 654 (26)(A) that mandates the State Plan to have in effect

       safeguards, applicable to all confidential information handled by the State agency,

       that are designed to protect the privacy rights of the parties, such as this Texas

       Appellant, including—

             (A)safeguards against unauthorized use or disclosure of information relating

       to proceedings or actions to establish paternity, or to establish, modify, or enforce

       support.

             See Exhibit K. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as Exhibit K.




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             Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Appellant has the protected right to be furnished under Subpoena with all

       TRAC records in Appellant’s Title IV-D case file from 2010 to the present to

       establish the accuracy of the alleged Rhode Island computations mandated to be

       performed by the automated data processing system, but has instead been hard-

       programmed numbers created offline that are covered up, which are then manually

       input into the automated data processing system several times, thus fabricating

       several different Rhode Island-certified false books of accounts of amounts due

       transmitted by mail and by wire to Texas and the Texas Appellant and to the

       United States for the purposes of procuring federal funding under Title IV-D and

       Title IV-A that violate Federal and Texas State civil and criminal codes. The

       Rhode Island Office of Child Support Services refuses to produce any TRAC

       records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021

       January to November, 2023 and 2024.

             This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a

       violation of 42 U.S.C. 654(27) that counts as a penalty in the many violations in

       fiscal year 2021 alone which exceeds 30% of the penalty base in 2021 – and that’s

       just civil penalties under Title IV – numerous other federal criminal and civil

       violations incurring additional penalties are applicable, including Texas criminal

       and civil code violations.

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             H. 42 U.S.C. § 654b(4)

             Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely information on

       the current status of support payments under an order requiring payments to be

       made by or to the parent.”

             Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from

       2010 to the present must be furnished. Information relating to the removal of any

       alleged computed online or offline related to 12% compound interest from the

       automated data processing system in 2018 and at any and all times from 2010 to

       the present must be furnished. Information relating to the waiver by the Appellee

       Gero Meyersiek by and through his private attorney Appellee Barbara Grady of the

       12% compound interest that was represented to Appellant as the “$0.00” showing

       under interest calculated by the automated data processing system in Appellant’s

       case file on December 6, 2021 must be furnished. Information relating to the

       Rhode Island Office of Child Support Services calculated total due showing

       $92,214,56 calculated by the automated data processing system in Appellant’s case

       file on December 6, 2021 that calculates arrears from 2010 must be furnished. See

       attached hereto December 6, 2021 screen shot of the Appellant’s online OCSS
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       account showing the calculated amounts of which is mandated by Title IV-D to be

       populated by the automated data processing system as EXHIBIT L. Information

       relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was

       taken off the system from 2010 to the present. Information relating to the interest

       put back on the automated data processing system in 2021 after Appellant accepted

       the $104,185.98 payoff number given by Office of Child Support Services by wire

       via email must be furnished. Information relating to how $104,185.98 was

       computed by the automatic data processing system on December 7, 2021 must be

       furnished, when the automated data processing system calculated $92k just the day

       before on December 6, 2021 must be furnished. Information relating to how

       $75,658.00 was calculated by the automated data processing system on March 3,

       2022 that was then issued to Texas to lien Texas properties by Mail and by wire

       must be furnished. And this is not exhaustive.




           I. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
       VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
       PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through
       POLITICAL SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT
       INCLUDE CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE
       CRIMINAL AND CIVIL CODES UNDER FEDERAL LAWS AND TEXAS
       LAWS)



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             This state family court took judicial notice on February 10, 2023 of the

       issuance of two Orders issued by Judge McCann in 2012. Magistrate Monaco

       clarified at the hearing on March 6, 2023 he did NOT take judicial notice of the

       contents of the orders, only the issuance of the orders and that there was no appeal

       of those orders. See attached transcript of March 6, 2023 hearing. Exhibit M.

             Those 2012 orders were issued by Judge McCann of the Rhode Island

       Family Court, a political subdivision of the State, in which the State Plan must be

       in effect under 42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode

       Island Family Court and its justices under the State Plan MUST comply with all

       provisions of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear

       interest on overdue support must be between 3-6% simple interest. However,

       Judge McCann knowingly ordered 12% compound interest in interstate Title IV-D

       on overdue support to be illegally put into the State Plan’s automated data

       processing system mandated under U.S.C. § 654a and U.S.C. § 654b in knowing

       violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island Office of Child

       Support Services today claims 12% compound interest was what Judge McCann

       ordered, undisputedly making Judge McCann an accomplice and complicit. The

       knowing violation of the political subdivision Rhode Island Family Court by and

       through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud on the court and

       under color of state law violates 42 U.S.C. § 654(24), 42 U.S.C. § 654a and 42

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       U.S.C. § 654b and incurs FOUR failures and penalties in Appellant’s case alone

       for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42 U.S.C. § 655(a)(5),

       through just the State family court political subdivision alone.

             In 2024, the Rhode Island political subdivision of the family court by and

       through Magistrate Nahabedian flagrantly declared at the February 2, 2024 webex

       hearing that the State knowingly orders to be put into the automated data

       processing system 12% compound interest in Rhode Island under color of state law

       and through fraud on the court in knowing violation of the Rhode Island certified

       approved State Plan that mandates 3-6% simple interest under 42 U.S.C. §

       654(21)(A), with her actions representing four failures and penalties in fiscal year

       2024. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law.

             J. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


             In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law

       Rhode Island State revenue through the Social Security Act in welfare cases,

       Rhode Island Office of Child Support Services adopted the Official Policy not to
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       pursue interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with other states

       – Attached hereto Rhode Island Office of Child Support Services Official Written

       Policy that was produced by RI OCSS during February 10, 2023 court ordered

       discovery. This policy document evidences the official policy of criminal and civil

       fraud by the State of Rhode Island’s political subdivisions applicable under 42

       U.S.C. § 654(1).

             This policy evidences the routine extortions of noncustodial parents through

       the enforcement of 12% compound interest in-state under color of state law that

       incur penalties under Title IV-D and Title IV-A, and all applicable criminal codes.

             This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the State’s

       illegal extortion of 12% compound interest under color of state law by adopting an

       official policy not to pursue interest in out of state interstate cases that incurs

       penalties under Title IV-D and Title IV-A, and all applicable criminal codes.

             This policy evidences accounting fraud adjustments concealing 12%

       compound interest applied to certain selected out-of-state cases such as the

       Appellant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and Title IV-A


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       reimbursement to the United States. It also evidences that interest is not set

       uniformly, further violating 42 USC 654(21)(A) requirement that interest must be

       uniform.

              The pattern of Appellee agency discussions and considerations of its illegal

       and criminal enforcement information with Appellee Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false

       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable to all

       confidential information handled by the State agency, that are designed to protect

       the privacy rights of the Texas Appellant.

             In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not be

       pursued in Appellant’s interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by removing

       the 12% compound interest from the automated data processing system in the

       anticipated event Rhode Island sends it to Texas authorities and Federal authorities

       for enforcement under 42 U.S.C. 666 (14) and for certifying for false claims for

       federal funding under Title IV-D and Title IV-A neither for which is Rhode

       Island’s noncompliant State Plan eligible. Appellee Priscilla Glucksman schemed
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       with Appellee Barbara Grady and Appellee Gero Meyersiek to orally move for

       interest in order to minimize a paper trail of paper filings so that a written record of

       the ordered 12% compound interest is buried within a one line of the order,

       deliberately omitting the interest rate in order to cover up that it is the

       unenforceable 12% compound rate, and with no documentation of a written paper

       motion that would otherwise contain or omit the State’s legal justification moving

       for 12% compound interest. In 2012, Paul Dugan was alive and participated in the

       arrangement. The symbiotic pliant Judge McCann readily complied under color of

       state law, knowing fully well Rhode Island’s illegal 12% compound interest is not

       enforceable in any state and definitely not enforceable in Texas under Title IV-D,

       and knowing that Rhode Island Office of Child Support Services intended to

       remove the interest amount if and when Rhode Island sends to Texas for collection

       while falsely certifying the total amount due and then put the interest back on the

       system and then file a subsequent motion to set interest arrears back in Rhode

       Island through the symbiotic pliant family court political subdivision of the State

       of Rhode Island before a symbiotic pliant judge like Judge McCann, committing

       interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO, wire

       fraud, mail fraud, tampering with government records, accounting fraud and false

       claims. This list of criminal codes violated by the Appellees is not exhaustive.




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       Appellant shall present a list of the violated federal criminal codes later in this

       Notice.

             K. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023, 2024
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



             Title IV-A TANF benefits are conditioned upon the State’s compliance with

       all requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based

       on violations in this case alone, Rhode Island has been and continues to be

       ineligible and the State is receiving funds through false representations and

       alteration of government records to procure false claims for federal funding. From

       2012 to 2024, Appellant has the information to aver that the State of Rhode

       Island’s political subdivisions under 42 U.S.C. § 654(1) sent by mail and by wire

       false accounts of amount due and of liens that contained Title IV-D violative

       illegal and unenforceable 12% compound interest fraudulently misrepresented as

       “child support due” to multiple institutions, including banks, credit bureaus to

       Texas in violation of Texas Penal Codes that carry additional fines and jail time.

       Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently

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       concealed through removal and other false accounting itemizations the 12%

       compound interest when certifying to United States Department of Health and

       Human Services for federal incentive payments claims and federal funding claims

       under Title IV-D and Title IV-A.

             The total Title IV penalties incurred, disgorgement due back to the United

       States for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred

       by Rhode Island in Appellant’s case alone from 2012 to 2024 run upwards of

       hundreds of millions of dollars. From 2012 to 2024, Rhode Island’s Title IV-D

       political subdivisions conspired to violate, in addition to 42 U.S.C. 654(21)(A),

       among others, several requirements under 42 U.S.C. 654 whose plain textual

       requirements requires the State Plan MUST:

             (7)provide for entering into cooperative arrangements with appropriate

       courts and law enforcement officials and Indian tribes or tribal organizations (as

       defined in subsections (e) and (l) of section 5304 of title 25) (A) to assist the

       agency administering the plan, including the entering into of financial

       arrangements with such courts and officials in order to assure optimum results

       under such program, and (B) with respect to any other matters of common concern

       to such courts or officials and the agency administering the plan;




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             (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

             (14)

             (A)

             comply with such bonding requirements, for employees who receive,

       disburse, handle, or have access to, cash, as the Secretary shall by regulations

       prescribe;

             (B)

             maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in

       accounting or operating functions which would permit them to conceal in the

       accounting records the misuse of cash receipts (except that the Secretary shall by

       regulations provide for exceptions to this requirement in the case of sparsely

       populated areas where the hiring of unreasonable additional staff would otherwise

       be necessary);

             (15)provide for—

             (A)




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               a process for annual reviews of and reports to the Secretary on the State

       program operated under the State plan approved under this part, including such

       information as may be necessary to measure State compliance with Federal

       requirements for expedited procedures, using such standards and procedures as are

       required by the Secretary, under which the State agency will determine the extent

       to which the program is operated in compliance with this part; and

               (B)

               a process of extracting from the automated data processing system required

       by paragraph (16) and transmitting to the Secretary data and calculations

       concerning the levels of accomplishment (and rates of improvement) with respect

       to applicable performance indicators (including paternity establishment

       percentages) to the extent necessary for purposes of sections 652(g) and 658a of

       this title;

               (16)

               provide for the establishment and operation by the State agency, in

       accordance with an (initial and annually updated) advance automated data

       processing planning document approved under section 652(d) of this title, of a

       statewide automated data processing and information retrieval system meeting the

       requirements of section 654a of this title designed effectively and efficiently to


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       assist management in the administration of the State plan, so as to control, account

       for, and monitor all the factors in the support enforcement collection and paternity

       determination process under such plan

             (20)

             provide, to the extent required by section 666 of this title, particularly the

       Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that

       section, and (B) shall implement the procedures which are prescribed in or

       pursuant to such laws.

             (23)

             provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services

       under the plan and otherwise, including information as to any application fees for

       such services and a telephone number or postal address at which further

       information may be obtained and will publicize the availability and encourage the

       use of procedures for voluntary establishment of paternity and child support by

       means the State deems appropriate




             L. COVER UP AND FRAUD
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             In 2012, the child in question was 12 years old. From 2012 to 2018,

       Appellant does not have any records (due to several prior Title IV-D information

       denials by the Rhode Island Office of Child Support Services for purposes of

       cover-up, that further incurred penalties and fines for each and every information

       denial under 42 USC 654(24) and 42 USC 654(27) and 42 USC 655) of Rhode

       Island’s political subdivisions under 42 USC 654(1) sending to Texas or to federal

       authorities the support amount for enforcement under 42 USC 654(7) or 42 USC

       666(14). Obviously, sending the support amount in the automated data processing

       system without the removal of the interest from the system exposes the illegal 12%

       compound interest disallowed under 42 USC 654(21)(A), which would incur Title

       IV-D and Title IV-A penalties, disgorgement of ineligible federal funds and incur

       criminal fines. It is for this very reason that the Rhode Island political subdivisions

       adopted the written official policy not to pursue interest in interstate cases, that

       moreover runs afoul of 42 USC 654(21)(A) plain language that the State Plan must

       apply UNIFORM interest on overdue support, not State-targeted 0% in some

       interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to

       the Appellant in Texas, each transmission would constitute patterns of federal

       crimes, including Mail and Wire Fraud, since the 12% compound interest in this




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       Title IV-D case is illegal and fraudulent and unenforceable. This scheme is in

       violation of 42 USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

              Upon information, the State of Rhode Island’s political subdivisions under

       42 USC 654(1) also transmitted by wire and by mail to the United States

       Department of State a hold on the renewal of Appellant’s passport, again omitting

       and concealing the principle amount as well as the fact that the State attempts to

       enforce interstate an illegal 12% compound interest on overdue support within the

       Title IV-D legal framework. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

              Upon information, the State of Rhode Island’s political subdivisions made

       the illegal decision between top management employees of the Rhode Island SDU

       unit, dressed up as “administrative decision,” to illegally and criminally remove the

       illegal 12% compound interest from the automated accounting data processing

       system that clearly is required to prevent activities “to conceal in the accounting

       records” Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C.

       § 654(14). See TRAC records attached hereto in Exhibit K.

              Upon information, Rhode Island routinely removes the illegal 12%

       compound interest from the automated data processing system when certifying to

       and reporting to and making false claims for federal funding to the Secretary of the


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       United States Department of Health and Human Services in violation of 42 USC

       §§ 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal

       criminal codes. See TRAC records attached hereto in Exhibit K of the routine

       practice of illegal accounting adjustments of the automated data processing system

       in the hundreds of thousands of dollars in December 2021 alone. In this case

       alone, the aforesaid accounting fraud and record tampering violations motivated by

       theft of and false claims for funding of the Title IV-D and Title IV-A programs and

       defraud of the Texas Appellant targeting Texas properties occurred in 2012, 2013,

       2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and 2024.




             M. FACTUAL ALLEGATIONS



             The child in question was emancipated in April 2018 and is now an adult 24

       years old. Therefore accrued “interest on overdue support” stopped in April 2018.

             Due to the hold placed on Appellant’s passport renewal, Appellant

       discovered on and around November 2021 there is alleged support due. Appellant

       retained a lawyer in Texas to contact the Rhode Island Office of Child Support

       Services to obtain information on the amount due. The Rhode Island Office of

       Child Support Services refused to provide information to Appellant’s Texas

       attorney, in violation of 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23),
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       (24), (27), and concealed the fact that the agency illegally removed the illegal 12%

       compound interest amount from the automated data processing system from 2018

       to December 2021. To this day, the Rhode Island Office of Child Support Services

       covers up and refuses to furnish information to the Appellant the amount of interest

       that was removed from the system. Continuing refusal to furnish requested

       information motivated by cover up is in violation of, inter alia, 42 USC §§ 654b,

       654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of Child Support

       Services and Barbara Grady and Gero Meyersiek schemed to deprive Appellant of

       counsel that would facilitate defrauding the Appellant and to conceal from Texas

       counsel the accounting fraud relating to the illegal 12% compound interest that is

       unenforceable in Texas as well as legally unenforceable in Rhode Island (however

       routinely enforced through fraud under color of state law) under Title IV-D, and

       refused to deal with Appellant’s Texas attorney, fraudulently claiming it is the

       State’s policy to deal with the noncustodial parent directly. This is obviously a

       blatant lie because the TRAC record shows Kevin Tighe initiating phone calls

       directly to Barbara Grady, Gero Meyersiek’s private attorney (and not contacting

       Gero Meyersiek directly) to discuss enforcement actions in detail involving the

       Rhode Island Office of Child Support Service’s fraudulent accounting that entailed

       the agency’s removal in 2018 (when it planned to send to Texas) of the interest

       from the automated system in December 2021. This is in violation of, inter alia, 42


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       USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Appellant

       avers and declares, under oath, the following facts:

             1. On December 6, 2021, the State/Plaintiff showed the Appellant her

                OCSS online account that showed $0.00 under interest. Further the

                online account that is populated by the automated data processing system

                shows $93,214.56 Total Due, and $0.00 under Interest on December 6,

                2021, published online in the State’s OCSS online account for Appellant,

                as of November 30, 2021. See attached Screen Shot attached hereto this

                motion. (The Office of Child Support Services told the Appellant that

                the $0.00 under interest shows that Gero Meyersiek waived interest. The

                Office of Child Support Services deliberately misrepresented by omission

                that the interest amount was taken off the system illegally in 2018 and

                that the interest amount was calculated pursuant to an illegal 12%

                compound interest that is unenforceable under Title IV-D. Therefore in

                reality there was no consideration given to the Appellant, as falsely

                represented, calculated to induce the Appellant into paying a large lump

                sum amount. The Office of Child Support Services brokered a settlement

                deal between the Appellant and Gero Meyersiek where Meyersiek

                waived interest in consideration of the Appellant paying a lump sum

                payoff amount of $104,185.98 from Texas, which the State, under its

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                authority, agreed to the deal with the Appellant on December 7, 2021,

                having calculated the $104,185.98 figure by and through its accountant(s)

                manually offline and not by the mandated automated data processing

                system, and actively brokered the terms of the deal itself, namely, Deputy

                Legal Counsel Kevin Tigue who reports to Mr. Paul Gould, the attorney

                of record who filed the State’s/Plaintiff’s Motion to Set Arrears.          The

                Appellant requests this Court to take notice of the fact that the State also

                failed to provide this Court as well as to the Appellant an accounting now

                and upon Appellant’s request at the time in 2021 of how this figure

                $104,185.98 was calculated nor how the alleged $81k is calculated. This

                is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16),

                (20), (21), (23), (24), (27).

             2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official

                policy and authority reported to the Office of the U.S. Commissioner

                Tangular Gray of the Office of Child Support Enforcement of the U.S.

                Department of Health and Human Services.

             3. The Appellant in Texas good faith accepted and paid the $104,185.98 on

                December 7, 2021.




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             4. From December 6, 2021 to the present, the State/Plaintiff has represented

                to the Appellant at least seven (7) sets of books of very large arrears and

                interest calculations, which the State/Plaintiff has either failed or refused

                to provide the Appellant with requested documentation of debt validation

                and verification records supporting the State’s calculation (in violation

                of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                (23), (24), (27)):

                   a. $93,214.56 Total Due, and $0.00 under Interest on December 6,

                       2021, published online in the State’s OCSS online account for

                       Appellant, as of November 30, 2021. (Screenshot of this taken on

                       December 6, 2021 is attached to this Notice).

                   b. $104,185.98 Total Payoff Amount on December 7, 2021.

                   c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                       OCSS rescinded this figure based on alleged unspecified errors on

                       October 14, 2022.

                   d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s

                       (staff counsel who also reports to Mr. Paul Gould, who was also

                       the attorney of record for the State at the Appeals Hearing)

                       representation at the agency RI EOHHS (Rhode Island Executive


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                      Office of Human and Health Services) administrative appeal Pre-

                      hearing held on October 5, 2022.

                   e. $55,000.00 on RI OCSS correspondence with Meyersiek on

                      October 13, 2022.

                   f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                      online account, as of November 30, 2022. A screenshot taken on

                      December 3, 2022 thereof is attached to this Notice.

                   g. $81,652.46 on the Motion as of December 22, 2o22.

             5. Maintaining at least seven books of account in Appellant’s case file,

                while obstructing the Appellant’s 42 USC 654b and all Title IV-D

                protected due process right to documents of accounting validation and

                verification depriving the Appellant’s right to meaningfully refute the

                State’s claim is unlawful, covers up the illegal 12% compound interest

                that is also ballooned through several fraudulent manual accounting

                calculations NOT USING the Title IV-D mandated automated data

                processing system. There are pending breach of contract, fraud and Civil

                RICO et al actions in Federal Courts regarding the conduct of the

                Appellees.




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             6. The Appellant respectfully requests the Court to take notice of the fact

                that the alleged interest published online by the State/Plaintiff as of

                November 30, 2022 that states the very specific number of $75,623.71

                ballooned to $81,652.46 as of December 22, 2022, by a whopping

                $6,028.75 in a matter of 22 days as stated in the State’s/Plaintiff’s

                Motion, is usurious, and clearly shows the falsity of the State’s/Plaintiff’s

                Motion, paragraph numbered 8 that says, “That, because interest only

                accrues on principal balances and not on interest balances, the interest

                balance owed on arrears has not changed since the principal balance was

                paid in full on December 9, 2021.” This is in violation of, inter alia, 42

                USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

             7. The Appellant respectfully requests the Court to take notice of the fact

                that after the Appellant accepted the deal in Texas and paid the payoff

                amount of $104,185.98 from Texas on December 7, 2021, the State sent

                to the Appellant in Texas by Mail a Notice of Intent to Lien dated March

                3, 2022 for $75,638.00 without any information justifying the fraudulent

                interest lien on Appellant’s Texas properties – the $75,638.00 amount on

                the fraudulent lien on Appellant’s Texas properties was deliberately

                calculated manually without any substantiated records then hard input

                into the automated data processing system in violation of Title IV-D.

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                This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14),

                (15), (16), (20), (21), (23), (24), (27). The Appellant appealed this

                fraudulent lien to the Appeals Office of Rhode Island Executive Office of

                Health and Human Services (“RI EOHHS”), a political subdivision of the

                State of Rhode Island applicable under 42 USC 654(1), on April 1, 2022.

                Throughout the procedurally defective appeals process where the

                Appellant was denied by the State/Plaintiff to access her case file, the

                State/Plaintiff refused or ignored the Appellant’s over ten(10) record

                requests for the legal and accounting basis of the $75,638.00 lien. Each

                record information denial is in violation of, inter alia, 42 USC §§ 654a,

                654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Appellant

                also submitted to the Appeals Office records of the written email

                advisement by the State that “accounting says” to pay $104,185.98 and

                records of the Appellant’s bank wire transfer payment. The Appeals

                Office continued the hearing for the maximum 3 times due to the

                State/Plaintiff’s refusal to comply with discovery that would render the

                proceeding procedurally defective. Paul Gould and John Langlois were

                listed as representing the State. Their collective violations incur penalties

                and fines under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                (16), (20), (21), (23), (24), (27), 655, 658a, disgorgement of all ineligible


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                 funding under Title IV-A that were received through false claims. To

                 resolve the discovery issues, the Executive Hearing Officer (“EHO”),

                 Debra DeStefano, scheduled a telephonic Prehearing Conference on

                 October 5, 2022, and only when told by the EHO the burden of proof lies

                 on the State/Plaintiff to show arrears are due (as applies here), did John

                 Langlois (who attended the Prehearing Conference) state the following,

                 which the Appellant in Texas recorded as a party of the call:

             “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.

             Langlois: The reason why I asked earlier whether Mary spoke to Karla after

       she made the payment was because there was a change of circumstances right after

       that. I don’t know if anyone in my agency had ever explained that to Mary.

             Seguin: Wait a minute, wait a minute,

             EHO: Wait Mary, I know what you asked for, let me get to what John just

       said, so John, you said there was a change in circumstances subsequent to her

       making a payment but before the notice of lien went out?

             Langlois: Yeah.

             EHO: OK, so…



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             Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

             EHO: OK?

             Seguin: Including what was on the screenshot, was that a

       misunderstanding??

             Langlois: Can I speak without being shouted over?

             Seguin: I am flabbergasted, really.

             Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released

       and what does she have to do to release her passport, they put her in touch with

       Karla who gave her the $104,185.98 number. Where that number came from, was

       one of our attorneys contacted the custodial parent, Gero Meyersiek, so we

       contacted his attorney, it wasn’t me, it was someone in my office, and said if she’s

       willing to make a $104K to pay off the principle, would you agree to waive the

       $73K in interest? He said yes. So Karla notified Mary that if she paid the $104K,

       it would be paid in full because he was willing to waive the interest and accept just

       the principal. What happened was the day after Karla spoke to Mary to wire in the

       $104K the attorney for Mr. Meyersiek contacted us again and said he changed his

       mind, please put the interest back on the system, so we did. So the number that

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       was given to her on the day it was given to her was correct, the $104K, because he

       was waiving the interest, but then changed his mind, so we put the interest back on

       the system, because he was waiving the interest, and that interest was put back on

       the system and that’s why the system is now saying she owes $73K. That’s why in

       March when the system saw that she had some sort of personal injury insurance in

       the system, our system was showing she owed $73K so we issued the lien. But

       that was what happened, he changed his mind the next day and that’s what messed

       up the numbers. So that’s how all this happened, it was a pure misunderstanding, I

       don’t know whether anyone has ever explained that to Mary how that happened.

               EHO: OK, Mary, did anyone ever explain that to you before?

               Seguin: No. No one ever explained any of that. This is why I am asking for

       my case file, I think this is more basis to ask for my entire case file from 2020. It’s

       news to me for example and its new information to me that your office’s lawyer

       would not talk to me directly but would be picking up the phone and calling the

       attorney for the custodial parent. And then not saying you were doing this deal. I

       never offered $104K. You had determined this number, and that’s why I am

       looking for documentation as to whether this is something you guys do in every

       case.




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             EHO: OK, John, are you intending to submit then, the documentation

       showing the full balance, which would include the principle and the interest before

       she paid the $104k, and then what happened after, you’re prepared to submit

       documentation to show everything that you said just happened.

             Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And

       then when we put the interest back on the system.

             EHO: And you’re going to testify as to why it all occurred, I mean basically

       what you just told us.

             Langlois: Yes.

             Seguin: But the screenshot on December 6th showed $93K.”

             A true copy of the recording evidence has been submitted by the Appellant

       to this court, a Rhode Island political subdivision under Title IV-D proceeding in

       June 2023 and in February 2024.

             However, instead of going forward with the testimony and providing the

       alleged debt validation and verification accounting records promised by John

       Langlois to the EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the

       time on December 1, 2022, the State opted to rescind the Notice of Lien that states

       there are unspecified errors on October 14, 2022, and emailed the RI EOHHS
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       Appeals Office that the State will litigate the issue in Family Court. This showed

       the intent of the State to deprive the agency Appeals Office of jurisdiction by

       withdrawing the enforcement instrument that vests the Appeals Office’s

       jurisdiction by regulation, in the clear hope of a more favorable outcome to the

       State, in the hopes of symbiotic and pliant judge shopping, in the hopes of getting a

       judge like McCann who ordered the illegal and unenforceable 12% compound in a

       Title IV-D case to rubber stamp the fraudulent 12% compound interest arrears due,

       and thereby needlessly increasing litigation. Mr. Paul Gould is the co-counsel of

       record for the State in the RI EOHHS agency appeal. These activities are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27), 655, 658a.

             8. The State’s actions obstructing Appellant’s discovery rights for debt

                 validation and verification as well as documentation of the Plaintiffs’

                 waiver of interest are violative of Family Ct. R. Dom. Rel. P. 11 and are

                 in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                 (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in criminal

                 violation of 18 USC § 666 and a scheme to commit fraud on the court

                 and interstate fraud through unenforceable Title IV-D orders that appear

                 to be routinely issued by pliant Title IV-D judges like Judge John

                 McCann III and Magistrate Susan Nahabedian.

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             9. Due to the State’s conduct of obstructing the Appellant’s right to access

                debt validation and verification records of publicly noticed liens of

                alleged arrears issued by the State throughout the agency appeal, the

                Appellant filed an Access to Public Records (“APRA”) request to the

                then Secretary Ana Novais of the RI EOHHS that manages the

                State/Plaintiff agency OCSS. These are all political subdivisions of the

                State of Rhode Island under 42 USC 654(1).

             10. The RI EOHHS Office in its management capacity required the State

                OCSS to respond to the APRA request, but even then the State denied the

                Appellant’s APRA request for accounting records, again refused to

                release the requested debt validation accounting records, but released the

                Case History Tracking records in the Appellant’s case file, which showed

                entries made by Kevin Tigue and RI OCSS staff between December 6,

                2021 to April 2022 of activity that corroborated John Langlois’s

                representations of taking interest off the system, interest waiver at the

                agency Prehearing Conference on October 5, 2022 that is outlined above

                in paragraph 10, then putting interest back on the system after Appellant

                accepted the offer in Texas, and performed on the contract in Texas

                paying off all due support from Texas, through Appellant’s Texas bank

                account, namely Texas properties. Appellees’ record denials are

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                violations of inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

                (20), (21), (23), (24), (27), 666, 655, 658a.

             11. Both the RI OCSS counsel who denied the Appellant’s APRA request

                and the Executive Legal Counsel of the Secretary of RI EOHHS, Lisa

                Martinelli (to whom Ms. Deb Barclay reports and to whom Mr. Paul

                Gould reports, per organization charts supplied by the Secretary of State

                of the State of Rhode Island) informed the Appellant via official written

                letter correspondence to appeal RI OCSS’s APRA request denial to the

                Attorney General pursuant to R.I.G.L. sec. 38-2-8. Their collective

                denials are in violation of inter alia, 42 USC §§ 654a, 654b, 654(10),

                (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. Following

                their collective official written advisement, the Appellant appealed the RI

                OCSS APRA denial under R.I.G.L. sec. 38-2-8 to the Office of the

                Attorney General and the Superior Court as provided by R.I.G.L. sec. 38-

                2-8. The Office of the Attorney General and the Superior Court of Rhode

                Island are political subdivisions of the State of Rhode Island under 42

                USC 654(1). Instead of releasing the Appellant’s Title IV-D alleged debt

                validation and verification records information, the State continues to

                resist releasing alleged arrears/debt verification accounting records in

                Superior Court, including failing to comply with the Appellant’s Court-

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                issued subpoena for said records and resisting subpoena compliance with

                extended litigation in Superior Court in violation of inter alia, 42 USC §§

                654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                655, 658a.

                   a. The Appellant served the State by email Appellant’s Request for

                      Production of Documents for the same accounting records and

                      interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34,

                      to which the State/Plaintiff has so far produced one set of book of

                      accounts out of the seven different books of accounts. However,

                      the numbers do not corroborate with any of the seven official legal

                      representations of alleged arrears due, e.g., $93,214.56 Total Due,

                      and $0.00 under Interest on December 6, 2021, published online in

                      the State’s OCSS online account for Appellant, as of November

                      30, 2021; $104,185.98 Total Payoff Amount on December 7, 2021;

                      $75,638.00 on a Notice of Intent to Lien dated March 3, 2022 that

                      RI OCSS rescinded based on alleged unspecified errors on October

                      14, 2022; $73,000.00 per RI OCSS Deputy Chief Counsel John

                      Langlois’s (staff counsel who also reports to Mr. Paul Gould, who

                      was also the attorney of record for the State at the Appeals

                      Hearing) representation at the agency RI EOHHS (Rhode Island

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                      Executive Office of Human and Health Services) administrative

                      appeal Pre-hearing held on October 5, 2022; $55,000.00 on RI

                      OCSS correspondence with Meyersiek on October 13, 2022;

                      $75,623.71 Total Due for “Interest,” online on the aforesaid OCSS

                      online account, as of November 30, 2022. A screenshot taken on

                      December 3, 2022 thereof is attached to this Motion; $81,652.46

                      on the Motion as of December 22, 2022; this is in violation of,

                      inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                      (21), (23), (24), (27), 666, 655, 658a that is consistent with the

                      State/Plaintiff’s pattern of obstructing the Appellant of due process

                      right access to her case file records of RI OCSS’s debt verification

                      itemized accounting calculations of very large sums of alleged

                      arrearages of at least 7 books of accounts from December 6, 2021

                      to the present in Title IV-D proceedings.

       N. JUDICIARY VIOLATION OF GOVERNMENT EDICTS DOCTRINE,
       CALCULATED FAILURE TO INTEGRATE TITLE IV-D AGENCY
       ELECTRONIC FILING SYSTEM WITH ODYSSEY MAKING THEIR
       FILINGS INVISIBLE TO ALL E-COURT USERS OTHER THAN THE
       JUDGE AND THEMSELVES AND VIOLATION OF ACCESS TO COURT
       INFORMATION OF PUBLIC TITLE IV-D PROCEEDINGS IN RHODE
       ISLAND’S STATEWIDE ELECTRONIC COURTS

            a. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO
       COURT INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42
       USC 654(1) POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
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             The Rhode Island Judiciary is a political subdivision of the State of Rhode

       Island under 42 USC 654(1). While publicizing during the implementation of the

       $6 million installation of Odyssey (the statewide electronic filing system) in 2014

       that the electronic courts will enable ALL court users to pull up court record

       information with ease from their phones, the Rhode Island Judiciary quietly

       implemented Rule 5 of the Rhode Island Rules and Practice denying the Public,

       pro-se litigants and all parties to a case in Rhode Island remote access to court

       record information including judge-created orders and laws, including their own.

       Through this deceit, the Rhode Island Judiciary lied to the Public, while denying

       access and thereby covering up the routine ordering of unenforceable body of

       judge-created laws ordering 12% compound interest in public cases and public

       hearings under 42 USC 654 in public Title IV-D cases, such as Appellant’s, by

       symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The

       denial of access to pro-se litigants of their own cases’ court records containing

       support orders violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

       (20), (21), (23), (24), (27), 666, 655, 658a. The denial of public access to public

       court records documenting the routine systemic violations of 42 USC 654(21)(A)

       in electronic courts violates the First Amendment and the public’s right to know

       the law, even if these fraud on the court unenforceable judge-created laws are

       unenforceable in both Rhode Island and elsewhere Title IV Part D reaches. The


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       denial of public access to judge-created laws that is also motivated by cover-up

       fundamentally violates the established Government Edicts Doctrine that the United

       States Supreme Court specifically held applies to electronic formats of government

       doctrines, such as judge-created laws in digital courts. See Georgia v. Public

       Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to her court

       records and information regarding the orders in question that must be furnished

       pursuant to 42 USC 654b thus in violation of 42 USC 654. The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to unenforceable

       and impeachable judge-created fraud on the court void laws that routinely establish

       unenforceable 12% compound interest by certain symbiotic pliant judges, like

       Judge McCann and Magistrate Nahabedian, who work hand-in-hand with the

       Rhode Island Office of Child Support Services in Title IV-D cases, in violation of

       Appellant’s Due Process and Equal Protection rights to know the law to be

       meaningfully heard and right to meaningful access to justice – they are in violation

       of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

             The family court held at the hearing in this matter scheduled on March 6,

       2023 that the Rhode Island Office of Child Support Services is ordered to show

       that the alleged arrears is accurate. See attached March 6, 2023 hearing transcript.

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       Explicitly stated throughout 42 USC 654, “accuracy” requires no accounting

       alterations generated offline then unsubstantiated hard inputs into the automated

       system, no fraud, no inducements, no interstate extortion under color of state law,

       and for certain no 12% compound interest on overdue support.

           b. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE
       THE TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO
       ODYSSEY RESULTING IN AGENCY FILINGS BEING INVISIBLE TO
       ALL COURT USERS EXCEPT THE JUDGE AND THE AGENCIES
       THEMSELVES – COVER UP



             Because under the State’s Plan the Title IV-D agencies routinely file in the

       Rhode Island court system for the illegal enforcement of illegal 12% compound

       interest disallowed under 42 USC 654(21)(A), the political subdivision Rhode

       Island Judiciary deliberately failed to integrate the Title IV-D Agencies’ electronic

       filing system with the State’s electronic filing system Odyssey in order to make

       Title IV-D Agency electronic filings invisible to all court users except the judge

       and the agencies themselves, calculated to cover up the 12% compound interest

       from audit by the federal authorities and from the Public. This came to light at the

       WebEx hearing in this Title IV-D matter before family court Judge Merola on June

       8, 2023 scheduled at 2PM, where Judge Merola, showing he was unaware of the

       failure of systems integration, questioned Appellee Paul Gould of Rhode Island

       Office of Child Support Services, why the Appellant is unable to see the agency’s

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       electronic filings that the judge can see in the system. Without hesitation, Appellee

       Paul Gould explained that this is due to the electronic court implementation

       process that was supposed to integrate the agency’s legacy system to Odyssey,

       demonstrating conclusively that Gould, the Lead Counsel of the Rhode Island

       Office of Child Support Services responsible and overseeing agency court filings

       in all Title IV-D cases under the State Plan, undisputedly was in the know and part

       of the conspiracy involving the deliberate failure of filing system integration and

       its continuing perpetration in Title IV proceedings that made Title IV agencies’

       filings invisible as part of the cover up.

           c. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in APPELLANT’S TITLE IV-D ACCOUNT POWERED
       BY THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO
       DEFRAUD APPELLANT IN THE FUTURE
             Appellant attaches hereto EXHIBIT N, that shows the Appellant’s online

       Title IV-D OCSS account which is powered by the Automated Data Processing

       System, as of November 2022 at the time of the RI EOHHS Appeal, which showed

       $0.00 Payment for December 2021. Therefore, the Rhode Island Office of Child

       Support Services through accounting fraud never recorded, as late as November

       2022, in the Automated Data Processing System Appellant’s large lump sum

       payoff of $104,185.98 bank wired from Texas on December 7, 2021, showing

       prima facie accounting fraud. This shows a scheme to defraud the Texas Appellant

       in the future. This shows that the Rhode Island Office of Child Support Services
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       received Appellant’s wired funds and treated it as a cash receipt, without ever

       recording in the automated data processing system such a large lump sum payment.

       Appellees Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois, Paul

       Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Appellant’s lump sum

       payment was distributed allegedly via a check, not through the usual cash card on

       December 9, 2021, (see attached hereto TRAC record for December 2021) record

       information of which check that was allegedly issued by the Office of Child

       Support Services the agency refuses to furnish the Appellant, and which are under

       subpoena now. Further, the Office of Child Support Service’s maintaining a

       separate offline accounting system in this case constitutes fraud and accounting

       fraud, targeting the Appellant in Texas, targeting Texas properties and targeting the

       United States of America. This is why they never utilized the 42 USC 654(7),

       (14), (20) and 42 USC 666(14) cooperative system with Texas, so as to enable

       them to divide the defrauded cash spoils offline among the members participating

       in the scheme. This accounting fraud and scheme to defraud violate mail fraud,

       wire fraud, honest services fraud, RICO, record tampering, theft of the United

       States, false claims and felonious fraud, among others.

             In reality, under 42 USC 651-669, employees who engage in, aid and abet

       and facilitate the above must be terminated and must not be permitted to continue

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       criminal activities of record tampering, accounting fraud, fraud, theft under color

       of state law and cover up.



             f. CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF
                THE UNITED STATES AND OTHER LISTED AUTHORITIES
                UNDER 18 U.S.C. sec. 4

             The Appellant, in good faith and reliant on the plain language of 18 USC §

       4, misprision of felony, as well as the Brief filed in the United States Supreme

       Court by the United States of America in the Supreme Court case, Turner v.

       Rogers, 564 U.S. 431 (2011) that showed South Carolina (found by the 4th Circuit

       Court of Appeals) liable for $75 million in penalties for that state’s 42 USC 654

       violations that did not even involve, inter alia, fraud and tampering with the record

       or unlawful 12% compound interest put into then taken off then put back on the

       automated data processing system as here in Rhode Island, made known the above

       activities to “some judges” of “the United States” and other relevant federal

       authorities – counting among the United States judges Appellant made known

       publicly in the Amended Complaint filed in the United States District Court for the

       District of Rhode Island, Judge William E. Smith. The issue of what Judge Smith

       has done with the information “made known to him” is pending before the United

       States Court of Appeals for the First Circuit before a requested panel of judges

       under the federal law of civil procedure. Therefore, under 18 USC 4, the above

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       reported activities have been “made known” to several high ranking judges of the

       United States.

                        A. VIOLATIONS OF FEDERAL CRIMINAL CODES

             Pending before the official Federal Court of Appeals proceeding, Appellant

       made known to the panel of judges of the United States allegations contained in the

       Amended Complaint filed in Federal Court of the commission of acts by the Rhode

       Island political subdivisions and employees thereof, Barbara Grady and Gero

       Meyersiek named herein in this motion, the afore-described acts violating 31

       U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18

       U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a),

       18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18

       U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285,

       18 U.S.C. §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18

       U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18

       U.S.C. §1962, 18 U.S.C. §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C.

       §1968 – such violative acts by the Appellees in this matter, and/or Judge Smith on

       this list are not exhaustive. It is undisputable, among others, that Title IV-D

       penalties were incurred by, Criminal penalties were incurred by, and Title IV-D
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       and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                           O. NO IMMUNITY

             On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit United States

       Court of Appeals reminds the Public and all applicable tribunals that Judges are

       similarly liable to the criminal laws for their official acts. A notable example is Ex

       parte Commonwealth of Virginia, in which the Supreme Court affirmed the

       criminal indictment of a judge based on an official act. 100 U.S. 339 (1879). A

       county judge was indicted in federal court for violating a federal statute that

       prohibited discriminating on the basis of race in jury selection. Id. at 340, 344. The

       Supreme Court began by observing the principle that officers are bound to follow

       the law: “We do not perceive how holding an office under a State, and claiming to

       act for the State, can relieve the holder from obligation to obey the Constitution of

       the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in


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       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then

       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

             “But if the selection of jurors could be considered
             in any case a judicial act, can the act charged
             against the petitioner be considered such when
             he acted outside of his authority and in direct
             violation of the spirit of the State statute? That
             statute gave him no authority, when selecting
             jurors, from whom a panel might be drawn for
             a circuit court, to exclude all colored men
             merely because they were colored. Such an
             exclusion was not left within the limits of his
             discretion. It is idle, therefore, to say that the
             act of Congress is unconstitutional because it
             inflicts penalties upon State judges for their
             judicial action. It does no such thing.


             Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.




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             More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for

       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

             [W]e have never held that the performance of
             the duties of judicial, legislative, or executive
             officers, requires or contemplates the
             immunization of otherwise criminal deprivation
             of constitutional rights. On the contrary, the
             judicially fashioned doctrine of official
             immunity does not reach ‘so far as to immunize
             criminal conduct proscribed by an Act of
             Congress . . . .’


             Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting

       Gravel, 408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed

       judicial immunity from civil money damages in the context of bribery allegations

       but explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity


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       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within his

       statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a

       judge has no criminal immunity for the same “official act.” See also Imbler v.

       Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980)

       (“[T]he cases in this Court which have recognized an immunity from civil suit for

       state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).

             When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845

       (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by United States v.

       Gimbel, 830 F.2d 621 (7th Cir. 1987).



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             The political subdivisions of Rhode Island under 42 USC 654(1) similarly

       are not immune, and employees of the political subdivisions of Rhode Island under

       42 USC § 654(1) similarly are not immune. Barbara Grady and Gero Meyersiek

       are undisputedly liable.




             II.    LACK OF JURISDICTION – APPELLEE 42 U.S.C. sec. 654(1)
                    STATE PLAN POLITICAL SUBDIVISION RHODE ISLAND
                    JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                    (CREATED UNDER RIGL 8-6-3) LACKS JURISDICTION

                    A. RI’S 42 USC 654(1) POLITICAL SUBDIVISION
                       JUDICIARY LACKS JURISDICTION TO ESTABLISH OR
                       ENFORCE 42 USC sec. 654(21)(A) VIOLATIVE 12%
                       COMPOUND INTEREST ON OVERDUE SUPPORT –
                       DOING SO INCURS PENALTY UNDER 42 USC 654(24)
                       AND REINFORCES ITS STATE PLAN’S INELIGIBILITY
                       FOR FEDERAL FUNDING UNDER BOTH TITLE IV-D
                       AND TITLE IV-A, WARRANTING DISGORGEMENT OF
                       TANF AND TITLE IV-D FUNDING – SEE HODGES v.
                       SHALALA

                       The statutory provision of 42 U.S.C. 654(21)(A) makes it

                       explicitly clear that Title IV-D and Title IV-A participating 42

                       USC 654(1) state political subdivisions, such as the political

                       subdivision Rhode Island Judiciary, lack the authority to establish

                       12% compound interest.




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                      To do so “routinely” simply incurs more penalties, more fines

                      constituting more false claim consequences, and imprisonment of

                      the culpable persons and agents.



                   B. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER
                      QUESTIONS AND MATTERS OF FEDERAL CRIMINAL
                      VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE
                      RECORD TAMPERING WITH 42 U.S.C. 654a
                      AUTOMATED DATA PROCESSING SYSTEM
                      COMMITTING ACCOUNTING FRAUD (e.g., REMOVAL
                      OF UNLAWFUL 12% COMPOUND INTEREST IN ORDER
                      TO CONCEAL IT WHEN CERTIFYING TO OTHER
                      STATE AUTHORITIES AND FEDERAL AUTHORITIES)
                      AND THE CRIMINAL CERTIFICATION OF
                      FRAUDULENT ACCOUNTS THAT CONTAIN
                      MANUALLY REMOVED UNLAWFUL FRAUDULENT 12%
                      COMPOUND INTEREST (UNDER COLOR OF RI’S
                      PREEMPTED STATE LAW) FROM THE SYSTEM

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                            U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18

                            U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. §

                            2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

                            U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

                            1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

                            U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C.

                            §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C. § 1512,
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                            18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18

                            U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C.

                            §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513,

                            RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                            §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968

                            also make clear that the State Plan’s 42 USC 654(1) political

                            subdivision limited jurisdiction Rhode Island family court

                            lacks jurisdiction over FEDERAL CRIMINAL

                            VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE

                            RECORD TAMPERING WITH 42 U.S.C. 654a

                            AUTOMATED DATA PROCESSING SYSTEM

                            COMMITTING ACCOUNTING FRAUD (e.g.,

                            REMOVAL OF UNLAWFUL 12% COMPOUND

                            INTEREST IN ORDER TO CONCEAL IT WHEN

                            CERTIFYING TO OTHER STATE AUTHORITIES AND

                            FEDERAL AUTHORITIES) AND THE CRIMINAL

                            CERTIFICATION OF FRAUDULENT ACCOUNTS

                            THAT CONTAIN MANUALLY REMOVED

                            UNLAWFUL FRAUDULENT 12% COMPOUND




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                            INTEREST (UNDER COLOR OF RI’S PREEMPTED

                            STATE LAW) FROM THE SYSTEM.


                   C. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER FEDERAL
                      CRIMINAL VIOLATIONS COMMITTED BY ITSELF
                      INVOLVING CERTAIN SYMBIOTIC RHODE ISLAND
                      FAMILY COURT JUSTICES, SUCH AS JUDGE JOHN
                      McCANN AND MAGISTRATE SUSAN NAHABEDIAN,
                      WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY
                      ESTABLISH AND ENFORCE UNLAWFUL 12%
                      COMPOUND INTEREST TARGETING UNSUSPECTING
                      NONCUSTODIAL PARENT VICTIMS

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                      U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C.

                      §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18

                      U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C.

                      § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18

                      U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18

                      U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506,

                      18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

                      §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18

                      U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C.

                      §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

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                       make clear that the State Plan’s 42 USC 654(1) political

                       subdivision Rhode Island family court lacks jurisdiction over

                       FEDERAL CRIMINAL VIOLATIONS COMMITTED BY

                       ITSELF INVOLVING CERTAIN SYMBIOTIC RHODE

                       ISLAND FAMILY COURT JUSTICES, SUCH AS JUDGE

                       JOHN McCANN AND MAGISTRATE SUSAN NAHABEDIAN,

                       WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY

                       ESTABLISH AND ENFORCE UNLAWFUL 12% COMPOUND

                       INTEREST TARGETING UNSUSPECTING NONCUSTODIAL

                       PARENT VICTIMS.




                                             CONCLUSION

             WHEREFORE, this Court should GRANT Appellant’s herein motion to

       stay the district court’s Fed. R. App. P 4(a)(5) denials and to stay the tolling of

       time to file a Notice of Appeal pending the Court’s resolution of the pending

       Appellant’s March 8, 2024 Fed. R. App. P 27(b) Motion to Reconsider and extend

       the time to file Appellant’s Notice of Appeal or amended Notice of Appeal to April

       2, 2024. This Court should GRANT Appellant’s March 8, 2024 Fed. R. App. P

       27(b) Motion to Reconsider and extend the time to file Appellant’s Notice of


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       Appeal or amended Notice of Appeal to April 2, 2024. This Court should instruct

       the clerks of the courts to correct the falsely altered record. This Court should

       order divestiture of jurisdiction of the district court throughout the pendency of the

       appeal and the trial court is functus officio. This Court should appropriately and

       fittingly sanction the district court actors involved in falsifying the record for

       misconduct. Appellant requests Oral Argument on all issues raised herein before

       the Court. Appellant requests any and all Relief deemed just.

                                         Respectfully submitted,
                                         Mary Seguin
                                         Pro Se
                                         /s/____________________
                                         Email: maryseguin22022@gmail.com
                                         Phone: (281)744-2016
                                         P.O. Box 22022
                                         Houston, TX 77019

                                         Dated: March 24, 2024




                                 CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 24, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                       Mary Seguin

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                                                   Pro Se
                                                   /s/____________________
                                                   Email: maryseguin22022@gmail.com
                                                   Phone: (281)744-2016
                                                   P.O. Box 22022
                                                   Houston, TX 77019




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                                                                                   Mary Seguin <maryseguin22022@gmail.com>



 Filing Submitted for Case: K20010521M; GERO MEYERSIEK vs. MARY SEGUIN;
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 To: maryseguin22022@gmail.com



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   The filing below has been submitted to the clerk’s office for review. Please allow twenty-four (24) to forty-eight (48) hours
   for the clerk’s office to process your filing.

                                                           Filing Details
   Court                                 Family Court
   Date/Time Submitted                   3/21/2024 7:47 PM EST
   Filing Type                           Motion to Compel
   Filing Description                    Defendant's Motion to Compel Compliance with Subpoena
   Type of Filing                        EFileAndServe
   Filed By                              Mary Seguin
   Filing Attorney


                                                            Fee Details

   Your account is never charged until your filing is accepted. If you see any pending charges on your account prior to
   acceptance, the pending charges are an authorization hold to ensure that the funds are available so your filing can be
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   Total:$0.00 (The envelope still has pending filings and the fees are subject to change)


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                                         42 USC 654 and 654b and 655 FINAL 032124.pdf
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                  STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :              Title IV Part D Case under
                                                 :              42 U.S.C. §§ 651-669
       MARY SEGUIN                               :
           Defendant                             :


          DEFENDANT’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA



              The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Office of Child Support Services, which is acting on

       behalf of the State of Rhode Island ex. rel. GERO MEYERSIEK, and acting as the “State

       Agency” under the Rhode Island State Plan under 42 U.S.C. § 654, 42 U.S.C. § 654a,

       42 U.S.C. § 654b, 42 U.S.C. § 666 et al., and all applicable state and Federal Laws,

       both civil and criminal, regulating Plaintiffs’ actions and omissions under the legal

       framework of Title IV-D of the Social Security Act. Defendant respectfully

       requests and moves for a hearing on Defendant’s herein Motion to Compel

       Compliance with Subpoena – the Rhode Island Office of Child Support

       Services refuses to respond to and refuses to comply with the Subpoena,

       and filed a motion to quash the subpoena on March 20, 2024 - the

       requested information is further regulated and mandated to be produced

       under the State Plan in compliance under 42 U.S.C. § 654b, therefore those


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       requested documents must be produced by the State within this proceeding

       as well as without judicial compulsion. The Subpoena further summons Kevin

       Tighe, Paul Gould and John Langlois to appear to Court to testify at the hearing

       scheduled in this matter on March 28, 2024 at 10:00 AM.

                  I.     RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
                                    VIOLATIONS OF TITLE IV-D
                                                      AND

              ORGANIZED CRIMINAL COMMISSION OF INTERSTATE FRAUD

              Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (21)(A),

       (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

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       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at

       879. Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the statutorily

       prescribed penalties. 1 Congress also enacted several criminal codes punishing actors,

       such as the Plaintiffs, who commit federal crimes, including cover up of unlawful

       activities.

              Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the State ex. rel. Plaintiff, Rhode Island Office of Child Support

       Services, the State agency under the State Plan pursuant to 42 U.S.C. § 654. See

       United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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              Defendant subpoenaed “(1) All records, files, notes, public records, documents,

       films, materials generated in the course of administration and enforcement of relating to

       Defendant Mary Seguin, from 2010 to the present in this Title IV-D Case under the

       Social Security Act; (2) All records relating to Defendant Mary Seguin from 2010to the

       present, including notes and messages taken and generated on October 5, 2022.”

              See attached subpoena, Exhibit A.

              The Rhode Island Office of Child Support Services’ actions in this Title IV-D

       case’s proceedings since 2010 with the entries of orders prepared and submitted in her

       official and individual capacities, Priscilla Glucksman, make clear the Office of Child

       Support Services is one of the State Plan’s key “organizational unit which meets such

       staffing and organizational requirements as the Secretary may by regulation prescribe,

       within the State to administer the plan” under 42 U.S.C. § 654(3).

              Rhode Island Office of Child Support Services’ refusal to comply with

       the Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in

       this fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4),

       which penalty-incurring violations the Defendant had reported, is reporting and will

       continue to report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Defendant in January 2023 reported

       Office of Child Support’s violations to the Rhode Island Office of Attorney General, who

       instead of enforcing the requirements of the State Plan as the Attorney General is

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       similarly a political subdivision under 42 USC 654(1), opted to reinforce, aid, shield and

       protect Rhode Island political subdivisions’ unlawful activities – this is reported to

       United States authorities). As a condition of receipt of any federal funding under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved

       state plan for child and spousal support that meets all the requirements of 42 U.S.C. §

       654. Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support, see

       42 U.S.C. § 654(21)(A), and a State must establish and operate an automated data

       processing and information retrieval system without taking computer calculated

       amounts off and then put other numbers back on the system or hardcoding/inputting

       new numbers computed offline onto the system, see 42 U.S.C. § 654(24), and the State

       must have a state child support disbursement unit (SDU) that complies with all the

       requirements of 42 U.S.C. § 654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. §

       654(27)(A). Rhode Island deliberately fails to meet all the requirements, including

       continuously inputting 12% compound interest on overdue support and the Rhode

       Island Office of Child Support Services covers up their noncompliance with accounting

       fraud inputting into the system and taking off from the automated data processing

       system amounts that are inflated, unlawful, and submitting false books of accounts that

       removed the unlawful inflated amounts to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure federal funding for which Rhode Island

       is ineligible.

              The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of



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       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

              Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by

       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.




            A. THIS PROCEEDING IS GOVERNED by 42 U.S.C. § 654 et al.
       UNDER TITLE IV-D THAT REGULATE ALL POLITICAL SUBDIVISIONS OF
       THE STATE OF RHODE ISLAND



              The Political Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1),

       namely by and through the Office of Child Support Services’ Lead Legal Counsel

       Paul Gould, Esq., made several claims before this Court under Oath throughout this

       Title IV-D case hearings and proceedings that the laws of Congress do not matter,

       only this court orders matter and they do not need to conform to

       Congressional prescribed federal statutes. E.g., See Exhibit B Transcript of

       February 2, 2024 Hearing in this matter. Rhode Island is wrong and Paul

       Gould is wrong, and both know it. That flagrant lawlessness is at the heart

       of the violations of federal law under color of state law in this interstate

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       Title IV-D case. Rhode Island participates in Title IV-D, and in so participating

       through its State Plan, must comply with Title IV-D. See, Hodges v. Shalala,

       121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003). See New York v. United States, 505 U.S. at 161,

       Congress, under the Commerce Clause, may offer the States a choice of

       regulation under federal control or preemption under federal regulation.

       See Hodel v. Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S.

       264, 288 (1981). The Title IV-D statute expressly provides that compliance

       with 42 U.S.C. sec. 654, and compliance with the automated data processing

       system and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. § 654(16), (24)(27)A. The clear and unequivocal statement of the

       required conditions in the statute enabled Rhode Island to "exercise [her]

       choice knowingly, cognizant of the consequences of [her] participation."

       See Dole, 483 U.S. at 207 (citations omitted); See South Dakota v. Dole, 483

       U.S. 203, 206 (1987). The textual language of 42 U.S.C. § 654(1) states,

             “A State plan for child and spousal support must—
             (1)    provide that it shall be in effect in all political subdivisions of
                    the State”



             The facts and established law thus make it crystal clear all political subdivisions

       of Rhode Island, including the Rhode Island Department of Human Services, the

       Office of Child Support Services AND the Rhode Island Judiciary political

       subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services,


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       the State Plan’s SDU unit, flagrantly and expressly states in this Title IV-D

       case that Title IV-D statute and Congressionally prescribed federal statutes

       do not apply in this case nor in Rhode Island, the State of Rhode Island’s

       political subdivisions have flagrantly flouted 42 USC sec. 654 and then

       adjusted and tampered with the automated data processing system

       accounting to defraud the United States of federal funding, and to defraud

       the Defendant of her Texas properties.

              Therefore the Defendant respectfully reminds all participants involved in this

       Title IV proceeding and gives notice to the applicable State political subdivisions (e.g.,

       Rhode Island Judiciary) and agencies, including the SDU under the State Plan under 42

       U.S.C. § 654(1), e.g., the Rhode Island Office of Child Support Services, that

       this yet again noncompliance by the State of Rhode Island with the Subpoenaed

       information egregiously constitutes yet another of the many numerous failures of Rhode

       Island agencies and its State Plan during this fiscal year to comply with the

       requirements of section 654b, as well as 654, 654a and 666 of Title IV which shall be

       considered yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year, that is

       clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up to 30

       percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether

       a penalty is imposed under this paragraph with respect to the failure). (ii)

       The term “penalty base” means, with respect to a failure of a State to

       comply with a subparagraph of section 654(24) of this title during a fiscal



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       year, the amount otherwise payable to the State under paragraph (1)(A) of

       this subsection for the preceding fiscal year.

              Additionally, the deliberate noncompliance motivated by cover up makes clear

       the State knowingly and intentionally operates an illegal plan, the State knows Rhode

       Island does not have an approved state plan under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, and therefore should lose federal funding under both Title IV-D

       (child support enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42

       U.S.C. § 602(a)(2).

                                                  B. FRAUD

              In this Title IV case, serial noncompliance, motivated by fraud, and their

       resulting incurred penalties, both civil and criminal, accrued since the initiation of this

       Title IV case fourteen years ago in 2010, upon Plaintiff Gero Meyersiek’s

       application for services under Title IV through his own private attorney,

       Barbara Grady, whose former law firm partner and diseased husband Paul

       Dugan, was himself a former Senior Counsel of the Rhode Island Office of

       Child Support Services, one of the key Title IV-D agencies under Rhode

       Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance

       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Barbara Grady

       through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal

       funding reimbursement and federal funding Incentive Payment payouts

       (658a) worth hundreds of millions of dollars under the Title IV Program to

       the Secretary and Department of Health and Human Services, among

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       others. Upon information and belief, the Plaintiff Gero Meyersiek and

       Barbara Grady and the Rhode Island Office of Child Support Services have a

       series of unlawfully obtained “12% compound interest” money receipt

       sharing arrangements involving the fraudulent procurement through the

       Title IV framework of exorbitant 12% compound interest interstate

       targeting Defendant’s Texas properties on overdue support enabled

       through accounting fraud, among others – this arrangement involving

       interstate defraud of the Texas Defendant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode

       Island Office of Child Support Services discussing in great detail at length

       with Barbara Grady the agency’s fraudulent removal from the 42 U.S.C. §

       654(24), 42 U.S.C. § 654(27) and 42 U.S.C. § 654a mandated automated data

       processing system of 12% compound interest when sending to Texas in 2018

       thus creating fraudulent books of accounts under 42 U.S.C. §

       666(14)(A)(ii)(I) and (II) fraudulently certifying to Texas via wire and via

       mail inaccurate support due accounts – discussions of this scheme further

       violated the Defendant’s privacy rights, that are documented in the TRAC

       record of the Defendant’s Title IV case file for December 2021 recording the

       agency’s discussions with Barbara Grady at length regarding taking interest

       off when sending to Texas, and keeping it off the system when

       communicating to Defendant that Gero Meyersiek waived interest, and then

       putting interest back on the system after they defrauded the Defendant

       inducing the Defendant to payoff support that comprised of the principle in

       one lump sum of $104,185.98 in consideration of Gero Meyersiek waiving

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       interest – the agency discussing its illegal and criminal enforcement

       information with Barbara Grady is in itself a violation of 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the parties, such as this Texas

       Defendant, including—

             (A)safeguards against unauthorized use or disclosure of information

       relating to proceedings or actions to establish paternity, or to establish,

       modify, or enforce support.

             See Exhibit B. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as EXHIBIT B.

             Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Defendant has the protected right to be furnished under Subpoena with all

       TRAC records in Defendant’s Title IV-D case file from 2010 to the present to establish

       the accuracy of the alleged Rhode Island computations mandated to be performed by

       the automated data processing system, but has instead been hard-programmed

       numbers created offline that are then manually input into the automated data

       processing system several times, thus fabricating several different Rhode Island-

       certified false books of accounts of amounts due transmitted by mail and by wire to

       Texas and the Texas Defendant and to the United States for the purposes of procuring

       federal funding under Title IV-D and Title IV-A that violate Federal and Texas State civil

       and criminal codes. The Rhode Island Office of Child Support Services refuses to



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       produce any TRAC records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018,

       2019, 2021 January to November, 2023 and 2024.

                This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a violation of 42

       U.S.C. 654(27) that counts as a penalty in the many violations in fiscal year 2021 alone

       which exceeds 30% of the penalty base in 2021 – and that’s just civil penalties under

       Title IV – numerous other federal criminal and civil violations incurring additional

       penalties are applicable, including Texas criminal and civil code violations.

                                            C. 42 U.S.C. § 654b(4)

                Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely

       information on the current status of support payments under an order

       requiring payments to be made by or to the parent.”

                Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from 2010

       to the present must be furnished. Information relating to the removal of any alleged

       computed online or offline related to 12% compound interest from the automated data

       processing system in 2018 and at any and all times from 2010 to the present must be

       furnished. Information relating to the waiver by the Plaintiff by and through his private

       attorney Barbara Grady of the 12% compound interest that was represented to

       Defendant as the $0.00 showing under interest calculated by the automated data

       processing system in Defendant’s case file on December 6, 2021 must be furnished.

       Information relating to the Rhode Island Office of Child Support Services calculated

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       total due showing $92,214,56 calculated by the automated data processing system in

       Defendant’s case file on December 6, 2021 that calculates arrears from 2010 must be

       furnished. See attached hereto December 6, 2021 screen shot of the Defendant’s

       online OCSS account showing the calculated amounts of which is mandated by Title

       IV-D to be populated by the automated data processing system as EXHIBIT C.

       Information relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was taken off

       the system from 2010 to the present. Information relating to the interest put back on

       the automated data processing system in 2021 after Defendant accepted the

       $104,185.98 payoff number given by Office of Child Support Services by wire via email

       must be furnished. Information relating to how $104,185.98 was computed by the

       automatic data processing system on December 7, 2021 must be furnished, when the

       automated data processing system calculated $92k just the day before on December 6,

       2021 must be furnished. Information relating to how $75,658.00 was calculated by the

       automated data processing system on March 3, 2022 that was then issued to Texas to

       lien Texas properties by Mail and by wire must be furnished. And this is not exhaustive

       – see Subpoena attached hereto as Exhibit A.




             D. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
            VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
        PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through POLITICAL
           SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT INCLUDE
        CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE CRIMINAL AND
              CIVIL CODES UNDER FEDERAL LAWS AND TEXAS LAWS)




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                This Court took judicial notice on February 10, 2023of the issuance of two Orders

       issued by Judge McCann in 2012. Magistrate Monaco clarified at the hearing on March

       6, 2023 he did NOT take judicial notice of the contents of the orders, only the issuance

       of the orders. See attached transcript of March 6, 2023 hearing. Exhibit D.

                Those 2012 orders were issued by Judge McCann of the Rhode Island Family

       Court, a political subdivision of the State, in which the State Plan must be in effect under

       42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode Island Family

       Court and its justices under the State Plan MUST comply with all provisions

       of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear interest on

       overdue support must be between 3-6% simple interest. However, Judge

       McCann knowingly ordered 12% compound interest in this interstate Title

       IV-D on overdue support to be illegally put into the State Plan’s automated

       data processing system mandated under U.S.C. § 654a and U.S.C. § 654b in

       knowing violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island

       Office of Child Support Services today claims 12% compound interest was

       what Judge McCann ordered, undisputedly making Judge McCann an

       accomplice. The knowing violation of the political subdivision Rhode Island Family

       Court by and through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud

       on the court and under color of state law violates 42 U.S.C. § 654(24), 42

       U.S.C. § 654a and 42 U.S.C. § 654b and incurs FOUR failures and penalties

       in this case alone for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42

       U.S.C. § 655(a)(5), through just the State family court political subdivision

       alone.



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                In 2024, the Rhode Island political subdivision of the family court by

       and through Magistrate Nahabedian flagrantly declared at the February 2,

       2024 hearing in this matter that the State knowingly orders to be put into

       the automated data processing system 12% compound interest in Rhode

       Island under color of state law and through fraud on the court in knowing

       violation of the Rhode Island certified approved State Plan that mandates 3-

       6% simple interest under 42 U.S.C. § 654(21)(A), with her actions

       representing four failures and penalties in fiscal year 2024. See transcript

       Exhibit F. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law. See Exhibit E,

       Court Reporter Certified Transcripts of February 2, 2024 Title IV case

       hearing in this matter.

             E. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


                In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law Rhode

       Island State revenue through the Social Security Act in welfare cases, Rhode Island

       Office of Child Support Services adopted the Official Policy not to pursue

       interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with

       other states – EXHIBIT F Attached hereto Rhode Island Office of Child


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       Support Services Official Written Policy that was produced by RI OCSS

       during February 10, 2023 court ordered discovery. This policy document

       evidences the official policy of criminal and civil fraud by the State of Rhode

       Island’s political subdivisions applicable under 42 U.S.C. § 654(1).

                This policy evidences the routine extortions of noncustodial parents

       through the enforcement of 12% compound interest in-state under color of

       state law that incur penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the

       State’s illegal extortion of 12% compound interest under color of state law

       by adopting an official policy not to pursue interest in out of state interstate

       cases that incurs penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences accounting fraud concealing 12% compound

       interest applied to certain selected out-of-state cases such as the

       Defendant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and

       Title IV-A reimbursement to the United States.

                The pattern of agency discussions and considerations of its illegal

       and criminal enforcement information with Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false



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       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the Texas Defendant.

                In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not

       be pursued in this interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by

       removing the 12% compound interest from the automated data processing

       system in the anticipated event Rhode Island sends it to Texas authorities

       and Federal authorities for enforcement under 42 U.S.C. 666 (14). Priscilla

       Glucksman schemed with Barbara Grady and Gero Meyersiek to orally move for interest

       in order to minimize a paper trail of paper filings in this interstate Title IV case so that a

       written record of the ordered 12% compound interest is buried within a one line of the

       order, with no documentation of a written paper motion that would otherwise contain or

       omit the State’s legal justification moving for 12% compound interest in this interstate

       Title IV-D case. In 2012, Paul Dugan was alive and participated in the arrangement.

       The symbiotic pliant Judge McCann readily complied under color of state law, knowing

       fully well 12% compound interest is not enforceable in any state and definitely not

       enforceable in Texas under Title IV-D, and knowing that Rhode Island Office of Child

       Support Services intended to remove the interest amount if and when Rhode Island

       sends to Texas for collection while falsely certifying the total amount due and then put


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       the interest back on the system and then file a subsequent motion to set interest arrears

       back in Rhode Island through the symbiotic pliant family court political subdivision of

       the State of Rhode Island before a symbiotic pliant judge like Judge McCann,

       committing interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO,

       wire fraud, mail fraud, tampering with government records and accounting fraud. This

       list of criminal codes violated by the Plaintiffs is not exhaustive. Defendant shall

       present a list of the violated federal criminal codes later in this motion under Section IV

       of this motion.

             F. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023,
       2024 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



                Title IV-A TANF benefits are conditioned upon the State’s compliance with all

       requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based on

       violations in this case alone, Rhode Island has been and continues to be ineligible and

       the State is receiving funds through false representations and alteration of government

       records to procure federal funding. From 2012 to 2024, Defendant has the information

       to aver that the State of Rhode Island’s political subdivisions under 42 U.S.C. § 654(1)

       sent by mail and by wire false accounts of amount due and of liens that contained Title

       IV-D violative illegal and unenforceable 12% compound interest fraudulently

       misrepresented as “child support due” to multiple institutions, including banks, credit

       bureaus to Texas in violation of Texas Penal Codes that carry additional fines and jail


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       time. Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently concealed

       through removal and other false accounting itemizations the 12% compound interest

       when sending to United States Department of Health and Human Services for federal

       incentive payments payouts and federal funding payments under Title IV-D and Title

       IV-A.

                The total Title IV penalties incurred, disgorgement due back to the United States

       for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred by Rhode

       Island in this case alone from 2012 to 2024 run upwards of hundreds of millions of

       dollars. From 2012 to 2024, Rhode Island’s Title IV-D political subdivisions conspired

       to violate, in addition to 42 U.S.C. 654(21)(A), among others, several requirements

       under 42 U.S.C. 654 whose plain textual requirements requires the State Plan MUST:

                (7)provide for entering into cooperative arrangements with appropriate courts

       and law enforcement officials and Indian tribes or tribal organizations (as defined in

       subsections (e) and (l) of section 5304 of title 25) (A) to assist the agency administering

       the plan, including the entering into of financial arrangements with such courts and

       officials in order to assure optimum results under such program, and (B) with respect to

       any other matters of common concern to such courts or officials and the agency

       administering the plan;

                (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

                (14)



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                (A)

                comply with such bonding requirements, for employees who receive, disburse,

       handle, or have access to, cash, as the Secretary shall by regulations prescribe;

                (B)

                maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in accounting or

       operating functions which would permit them to conceal in the accounting

       records the misuse of cash receipts (except that the Secretary shall by regulations

       provide for exceptions to this requirement in the case of sparsely populated areas where

       the hiring of unreasonable additional staff would otherwise be necessary);

                (15)provide for—

                (A)

                a process for annual reviews of and reports to the Secretary on the State program

       operated under the State plan approved under this part, including such information as

       may be necessary to measure State compliance with Federal requirements for expedited

       procedures, using such standards and procedures as are required by the Secretary,

       under which the State agency will determine the extent to which the program is

       operated in compliance with this part; and

                (B)

                a process of extracting from the automated data processing system required by

       paragraph (16) and transmitting to the Secretary data and calculations concerning the


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       levels of accomplishment (and rates of improvement) with respect to applicable

       performance indicators (including paternity establishment percentages) to the extent

       necessary for purposes of sections 652(g) and 658a of this title;

                (16)

                provide for the establishment and operation by the State agency, in accordance

       with an (initial and annually updated) advance automated data processing planning

       document approved under section 652(d) of this title, of a statewide automated data

       processing and information retrieval system meeting the requirements of section 654a

       of this title designed effectively and efficiently to assist management in

       the administration of the State plan, so as to control, account for, and monitor all the

       factors in the support enforcement collection and paternity determination process

       under such plan

                (20)

                provide, to the extent required by section 666 of this title, particularly

       the Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that section,

       and (B) shall implement the procedures which are prescribed in or pursuant to such

       laws.

                (23)

                provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services under the

       plan and otherwise, including information as to any application fees for such services

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       and a telephone number or postal address at which further information may be obtained

       and will publicize the availability and encourage the use of procedures for voluntary

       establishment of paternity and child support by means the State deems appropriate




                                        G. COVER UP AND FRAUD

                In 2012, the child in question was 12 years old. From 2012 to 2018, Defendant

       does not have any records (due to several prior Title IV-D information denials by the

       Rhode Island Office of Child Support Services for purposes of cover-up, that further

       incurred penalties and fines for each and every information denial under 42 USC

       654(24) and 42 USC 654(27) and 42 USC 655) of Rhode Island’s political subdivisions

       under 42 USC 654(1) sending to Texas or to federal authorities the support amount for

       enforcement under 42 USC 654(7) or 42 USC 666(14). Obviously, sending the support

       amount in the automated data processing system without the removal of the interest

       from the system exposes the illegal 12% compound interest disallowed under 42 USC

       654(21)(A), which would incur Title IV-D and Title IV-A penalties, disgorgement of

       ineligible federal funds and incur criminal fines. It is for this very reason that the Rhode

       Island political subdivisions adopted the written official policy not to pursue interest in

       interstate cases, that moreover runs afoul of 42 USC 654(21)(A) plain language that the

       State Plan must apply UNIFORM interest on overdue support, not State-targeted 0% in

       some interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to the

       Defendant in Texas, each transmission would constitute patterns of federal crimes,

       including Mail Fraud, since the 12% compound interest in this Title IV-D case is illegal

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       and fraudulent and unenforceable. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions under 42

       USC 654(1) also transmitted by wire and by mail to the United States Department of

       State a hold on the renewal of Defendant’s passport, again omitting and concealing the

       principle amount as well as the fact that the State attempts to enforce interstate an

       illegal 12% compound interest on overdue support. This scheme is in violation of 42

       USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions made the

       illegal decision between top management employees of the Rhode Island SDU unit,

       dressed up as “administrative decision,” to illegally and criminally remove the illegal

       12% compound interest from the automated accounting data processing system that

       clearly is required to prevent activities “to conceal in the accounting records”

       Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C. § 654(14).

       See TRAC records attached hereto in Exhibit B.

                Upon information, Rhode Island routinely removes the illegal 12% compound

       interest from the automated data processing system when reporting to the Secretary of

       the United States Department of Health and Human Services in violation of 42 USC §§

       654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal criminal

       codes. See TRAC records attached hereto in Exhibit B of the routine practice of illegal

       accounting adjustments of the automated data processing system in the hundreds of

       thousands of dollars in December 2021 alone. In this case alone, the aforesaid

       accounting fraud and record tampering violations motivated by theft of the Title IV-D

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       and Title IV-A programs and defraud of the Texas Defendant targeting Texas properties

       occurred in 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and

       2024.

                                      II.    FACTUAL ALLEGATIONS




                The child in question was emancipated in April 2018 and is now an adult 24 years

       old. Therefore accrued “interest on overdue support” stopped in April 2018.

                Due to the hold placed on Defendant’s passport renewal, Defendant discovered

       on and around November 2021 there is alleged support due. Defendant retained a

       lawyer in Texas to contact the Rhode Island Office of Child Support Services to obtain

       information on the amount due. The Rhode Island Office of Child Support Services

       refused to provide information to Defendant’s Texas attorney, in violation of 42 USC §§

       654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and concealed the fact that the

       agency illegally removed the illegal 12% compound interest amount from the automated

       data processing system from 2018 to December 2021. To this day, the Rhode Island

       Office of Child Support Services covers up and refuses to furnish information to the

       Defendant the amount of interest that was removed from the system. Continuing

       refusal to furnish requested information motivated by cover up is in violation of, inter

       alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of

       Child Support Services and Barbara Grady and Gero Meyersiek schemed to deprive

       Defendant of counsel that would facilitate defrauding the Defendant and to conceal

       from Texas counsel the accounting fraud relating to the illegal 12% compound interest

       that is unenforceable in Texas as well as legally unenforceable in Rhode Island (however

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       routinely enforced through fraud under color of state law) under Title IV-D, and refused

       to deal with Defendant’s Texas attorney, fraudulently claiming it is the State’s policy to

       deal with the noncustodial parent directly. This is obviously a blatant lie because the

       TRAC record shows Kevin Tighe initiating phone calls directly to Barbara Grady, Gero

       Meyersiek’s private attorney (and not contacting Gero Meyersiek directly) to discuss

       enforcement actions in detail involving the Rhode Island Office of Child Support

       Service’s fraudulent accounting that entailed the agency’s removal in 2018 (when it

       planned to send to Texas) of the interest from the automated system in December 2021.

       This is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27). The Defendant avers and declares, under oath, the following facts:

                1. On December 6, 2021, the State/Plaintiff showed the Defendant her OCSS

                   online account that showed $0.00 under interest. Further the online account

                   that is populated by the automated data processing system shows $93,214.56

                   Total Due, and $0.00 under Interest on December 6, 2021, published online

                   in the State’s OCSS online account for Defendant, as of November 30, 2021.

                   See attached Screen Shot attached hereto this motion. (The Office of Child

                   Support Services told the Defendant that the $0.00 under interest shows that

                   Gero Meyersiek waived interest. The Office of Child Support Services

                   deliberately misrepresented by omission that the interest amount was taken

                   off the system illegally in 2018 and that the interest amount was calculated

                   pursuant to an illegal 12% compound interest that is unenforceable under

                   Title IV-D. Therefore in reality there was no consideration given to the

                   Defendant, as falsely represented, calculated to induce the Defendant into



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                   paying a large lump sum amount. The Office of Child Support Services

                   brokered a settlement deal between the Defendant and Gero Meyersiek where

                   Meyersiek waived interest in consideration of the Defendant paying a lump

                   sum payoff amount of $104,185.98 from Texas, which the State, under its

                   authority, agreed to the deal with the Defendant on December 7, 2021, having

                   calculated the $104,185.98 figure by and through its accountant(s) manually

                   offline and not by the mandated automated data processing system, and

                   actively brokered the terms of the deal itself, namely, Deputy Legal Counsel

                   Kevin Tigue who reports to Mr. Paul Gould, the attorney of record who filed

                   the State’s/Plaintiff’s Motion to Set Arrears. The Defendant requests this

                   Court to take notice of the fact that the State also failed to provide this Court

                   as well as to the Defendant an accounting now and upon Defendant’s request

                   at the time in 2021 of how this figure $104,185.98 was calculated nor how the

                   alleged $81k is calculated. This is in violation of, inter alia, 42 USC §§ 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official policy

                   and authority reported to the Office of the U.S. Commissioner Tangular Gray

                   of the Office of Child Support Enforcement of the U.S. Department of Health

                   and Human Services.

                3. The Defendant in Texas good faith accepted and paid the $104,185.98 on

                   December 7, 2021.

                4. From December 6, 2021 to the present, the State/Plaintiff has represented to

                   the Defendant at least seven (7) sets of books of very large arrears and interest

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                 calculations, which the State/Plaintiff has either failed or refused to provide

                 the Defendant with requested documentation of debt validation and

                 verification records supporting the State’s calculation (in violation of, inter

                 alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                 (27)):

                    a. $93,214.56 Total Due, and $0.00 under Interest on December 6, 2021,

                          published online in the State’s OCSS online account for Defendant, as

                          of November 30, 2021. (Screenshot of this taken on December 6, 2021

                          is attached to this Motion).

                    b. $104,185.98 Total Payoff Amount on December 7, 2021.

                    c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                          OCSS rescinded this figure based on alleged unspecified errors on

                          October 14, 2022.

                    d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s (staff

                          counsel who also reports to Mr. Paul Gould, who was also the attorney

                          of record for the State at the Appeals Hearing) representation at the

                          agency RI EOHHS (Rhode Island Executive Office of Human and

                          Health Services) administrative appeal Pre-hearing held on October 5,

                          2022.

                    e. $55,000.00 on RI OCSS correspondence with Meyersiek on October

                          13, 2022.




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                      f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                          online account, as of November 30, 2022. A screenshot taken on

                          December 3, 2022 thereof is attached to this Motion.

                      g. $81,652.46 on the Motion as of December 22, 2o22.

                5. Maintaining at least seven books of account in Defendant’s case file, while

                   obstructing the Defendant’s 42 USC 654b and all Title IV-D protected due

                   process right to documents of accounting validation and verification depriving

                   the Defendant’s right to meaningfully refute the State’s claim is unlawful,

                   covers up the illegal 12% compound interest that is also ballooned through

                   several fraudulent manual accounting calculations NOT USING the Title IV-D

                   mandated automated data processing system. There are pending breach of

                   contract, fraud and Civil RICO et al actions in Federal Courts regarding the

                   conduct of the Plaintiffs.

                6. The Defendant respectfully requests the Court to take notice of the fact that

                   the alleged interest published online by the State/Plaintiff as of November 30,

                   2022 that states the very specific number of $75,623.71 ballooned to

                   $81,652.46 as of December 22, 2022, by a whopping $6,028.75 in a matter of

                   22 days as stated in the State’s/Plaintiff’s Motion, is usurious, and clearly

                   shows the falsity of the State’s/Plaintiff’s Motion, paragraph numbered 8 that

                   says, “That, because interest only accrues on principal balances and not on

                   interest balances, the interest balance owed on arrears has not changed since

                   the principal balance was paid in full on December 9, 2021.” This is in



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                   violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                   (21), (23), (24), (27).

                7. The Defendant avers it is nigh on impossible for the Defendant to be able to

                   respond to the State’s/Plaintiff’s Motion and their unverified and unvalidated

                   seven (7) books of accounts represented by the State/Plaintiff since December

                   6, 2021 to as of December 22, 2022, where the State’s/Plaintiff’s calculations

                   of very large amounts have been clearly either refuted and rescinded or have

                   shown to be inaccurate or false. This is in violation of, inter alia, 42 USC §§

                   654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                8. The Defendant respectfully requests the Court to take notice of the fact that

                   after the Defendant accepted the deal in Texas and paid the payoff amount of

                   $104,185.98 from Texas on December 7, 2021, the State/Plaintiff sent to the

                   Defendant in Texas by Mail a Notice of Intent to Lien dated March 3, 2022 for

                   $75,638.00 without any information justifying the fraudulent interest lien on

                   Defendant’s Texas properties – the $75,638.00 amount on the fraudulent lien

                   on Defendant’s Texas properties was deliberately calculated manually then

                   hard input into the automated data processing system in violation of Title IV-

                   D. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                   (16), (20), (21), (23), (24), (27). The Defendant appealed this fraudulent lien

                   to the Appeals Office of Rhode Island Executive Office of Health and Human

                   Services (“RI EOHHS”), a political subdivision of the State of Rhode Island

                   applicable under 42 USC 654(1), on April 1, 2022. Throughout the

                   procedurally defective appeals process where the Defendant was denied by the


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                   State/Plaintiff to access her case file, the State/Plaintiff refused or ignored the

                   Defendant’s over ten(10) record requests for the legal and accounting basis of

                   the $75,638.00 lien. Each record information denial is in violation of, inter

                   alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                   (27). The Defendant also submitted to the Appeals Office records of the

                   written email advisement by the State/Plaintiff that “accounting says” to pay

                   $104,185.98 and records of the Defendant’s bank wire transfer payment. The

                   Appeals Office continued the hearing for the maximum 3 times due to the

                   State/Plaintiff’s refusal to comply with discovery that would render the

                   proceeding procedurally defective. Paul Gould and John Langlois were listed

                   as representing the State. Their collective violations incur penalties and fines

                   under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                   (23), (24), (27), 655, 658a, Title IV-A. To resolve the discovery issues, the

                   Executive Hearing Officer (“EHO”), Debra DeStefano, scheduled a telephonic

                   Prehearing Conference on October 5, 2022, and only when told by the EHO

                   the burden of proof lies on the State/Plaintiff to show arrears are due (as

                   applies here), did John Langlois (who attended the Prehearing Conference)

                   state the following, which the Defendant in Texas recorded as a party of the

                   call:

                “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.




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                Langlois: The reason why I asked earlier whether Mary spoke to Karla after she

       made the payment was because there was a change of circumstances right after that. I

       don’t know if anyone in my agency had ever explained that to Mary.

                Seguin: Wait a minute, wait a minute,

                EHO: Wait Mary, I know what you asked for, let me get to what John just said, so

       John, you said there was a change in circumstances subsequent to her making a

       payment but before the notice of lien went out?

                Langlois: Yeah.

                EHO: OK, so…

                Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

                EHO: OK?

                Seguin: Including what was on the screenshot, was that a misunderstanding??

                Langlois: Can I speak without being shouted over?

                Seguin: I am flabbergasted, really.

                Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released and

       what does she have to do to release her passport, they put her in touch with Karla who

       gave her the $104,185.98 number. Where that number came from, was one of our

       attorneys contacted the custodial parent, Gero Meyersiek, so we contacted his attorney,

       it wasn’t me, it was someone in my office, and said if she’s willing to make a $104K to

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       pay off the principle, would you agree to waive the $73K in interest? He said yes. So

       Karla notified Mary that if she paid the $104K, it would be paid in full because he was

       willing to waive the interest and accept just the principal. What happened was the day

       after Karla spoke to Mary to wire in the $104K the attorney for Mr. Meyersiek contacted

       us again and said he changed his mind, please put the interest back on the system, so we

       did. So the number that was given to her on the day it was given to her was correct, the

       $104K, because he was waiving the interest, but then changed his mind, so we put the

       interest back on the system, because he was waiving the interest, and that interest was

       put back on the system and that’s why the system is now saying she owes $73K. That’s

       why in March when the system saw that she had some sort of personal injury insurance

       in the system, our system was showing she owed $73K so we issued the lien. But that

       was what happened, he changed his mind the next day and that’s what messed up the

       numbers. So that’s how all this happened, it was a pure misunderstanding, I don’t know

       whether anyone has ever explained that to Mary how that happened.

                EHO: OK, Mary, did anyone ever explain that to you before?

                Seguin: No. No one ever explained any of that. This is why I am asking for my

       case file, I think this is more basis to ask for my entire case file from 2020. It’s news to

       me for example and its new information to me that your office’s lawyer would not talk to

       me directly but would be picking up the phone and calling the attorney for the custodial

       parent. And then not saying you were doing this deal. I never offered $104K. You had

       determined this number, and that’s why I am looking for documentation as to whether

       this is something you guys do in every case.




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                EHO: OK, John, are you intending to submit then, the documentation showing

       the full balance, which would include the principle and the interest before she paid the

       $104k, and then what happened after, you’re prepared to submit documentation to

       show everything that you said just happened.

                Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And then

       when we put the interest back on the system.

                EHO: And you’re going to testify as to why it all occurred, I mean basically what

       you just told us.

                Langlois: Yes.

                Seguin: But the screenshot on December 6th showed $93K.”

                A true copy of the recording evidence has been submitted by the Defendant to

       this court, a Rhode Island political subdivision under Title IV-D proceeding in June

       2023 and in February 2024.

                However, instead of going forward with the testimony and providing the alleged

       debt validation and verification accounting records promised by John Langlois to the

       EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the time on December 1,

       2022, the State/Plaintiff opted to rescind the Notice of Lien that states there are

       unspecified errors on October 14, 2022, and emailed the RI EOHHS Appeals Office that

       the State/Plaintiff will litigate the issue in Family Court. This showed the intent of the

       State/Plaintiff to deprive the agency Appeals Office of jurisdiction by withdrawing the

       enforcement instrument that vests the Appeals Office’s jurisdiction by regulation, in the

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       clear hope of a more favorable outcome to the State/Plaintiff, in the hopes of symbiotic

       and pliant judge shopping, in the hopes of getting a judge like McCann who ordered the

       illegal and unenforceable 12% compound in a Title IV-D case to rubber stamp the

       fraudulent 12% compound interest arrears due, and thereby needlessly increasing

       litigation. Mr. Paul Gould is the co-counsel of record for the State/Plaintiff in the RI

       EOHHS agency appeal. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10),

       (14), (15), (16), (20), (21), (23), (24), (27), 655, 658a.

                9. The State’s/Plaintiffs’ actions and the State’s/Plaintiff’s Motion needlessly

                   extending the agency appeal to Family Court litigation and obstructing

                   Defendant’s discovery rights for debt validation and verification as well as

                   documentation of the Plaintiffs’ waiver of interest are violative of Family Ct.

                   R. Dom. Rel. P. 11 and are in violation of, inter alia, 42 USC §§ 654a, 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in

                   criminal violation of 18 USC § 666 and a scheme to commit fraud on the court

                   and interstate fraud through unenforceable Title IV-D orders that appear to

                   be routinely issued by pliant Title IV-D judges like Judge John McCann III

                   and Magistrate Susan Nahabedian.

                10. Due to the State’s/Plaintiff’s conduct of obstructing the Defendant’s right to

                   access debt validation and verification records of publicly noticed liens of

                   alleged arrears issued by the State/Plaintiff throughout the agency appeal, the

                   Defendant filed an Access to Public Records (“APRA”) request to the then

                   Secretary Ana Novais of the RI EOHHS that manages the State/Plaintiff




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                   agency OCSS. These are all political subdivisions of the State of Rhode Island

                   under 42 USC 654(1).

                11. The RI EOHHS Office in its management capacity required the State/Plaintiff

                   OCSS to respond to the APRA request, but even then the State/Plaintiff

                   denied the Defendant’s APRA request for accounting records, again

                   refused to release the requested debt validation accounting records, but

                   released the Case History Tracking records in the Defendant’s case file, which

                   showed entries made by Kevin Tigue and RI OCSS staff between December 6,

                   2021 to April 2022 of activity that corroborated John Langlois’s

                   representations of taking interest off the system, interest waiver at the agency

                   Prehearing Conference on October 5, 2022 that is outlined above in

                   paragraph 10, then putting interest back on the system after Defendant

                   accepted the offer in Texas, and performed on the contract in Texas paying off

                   all due support from Texas, through Defendant’s Texas bank account, namely

                   Texas properties. Plaintiffs’ record denials are violations of inter alia, 42 USC

                   §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655,

                   658a.

                12. Both the RI OCSS counsel who denied the Defendant’s APRA request and the

                   Executive Legal Counsel of the Secretary of RI EOHHS, Lisa Martinelli (to

                   whom Ms. Deb Barclay reports and to whom Mr. Paul Gould reports, per

                   organization charts supplied by the Secretary of State of the State of Rhode

                   Island) informed the Defendant via official written letter correspondence to

                   appeal RI OCSS’s APRA request denial to the Attorney General pursuant to


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                 R.I.G.L. sec. 38-2-8. Their collective denials are in violation of inter alia, 42

                 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                 655, 658a. Following their collective official written advisement, the

                 Defendant appealed the RI OCSS APRA denial under R.I.G.L. sec. 38-2-8 to

                 the Office of the Attorney General and the Superior Court as provided by

                 R.I.G.L. sec. 38-2-8. The Office of the Attorney General and the Superior

                 Court of are political subdivisions of the State of Rhode Island under 42 USC

                 654(1). Instead of releasing the Defendant’s Title IV-D alleged debt validation

                 and verification records information, the State/Plaintiff continues to resist

                 releasing alleged arrears/debt verification accounting records in Superior

                 Court, including failing to comply with the Defendant’s Court-issued

                 subpoena for said records and resisting subpoena compliance with extended

                 litigation in Superior Court in violation of inter alia, 42 USC §§ 654a, 654b,

                 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a.

                    a. The Defendant served the State/Plaintiff by email Defendant’s Request

                        for Production of Documents for the same accounting records and

                        interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34, to

                        which the State/Plaintiff has so far produced one set of book of

                        accounts of the seven different books of accounts. However, the

                        numbers do not corroborate with any of the seven official legal

                        representations of alleged arrears due, e.g., $93,214.56 Total Due, and

                        $0.00 under Interest on December 6, 2021, published online in the

                        State’s OCSS online account for Defendant, as of November 30, 2021;



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                         $104,185.98 Total Payoff Amount on December 7, 2021; $75,638.00 on

                         a Notice of Intent to Lien dated March 3, 2022 that RI OCSS rescinded

                         based on alleged unspecified errors on October 14, 2022; $73,000.00

                         per RI OCSS Deputy Chief Counsel John Langlois’s (staff counsel who

                         also reports to Mr. Paul Gould, who was also the attorney of record for

                         the State at the Appeals Hearing) representation at the agency RI

                         EOHHS (Rhode Island Executive Office of Human and Health

                         Services) administrative appeal Pre-hearing held on October 5, 2022;

                         $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022; $75,623.71 Total Due for “Interest,” online on the aforesaid

                         OCSS online account, as of November 30, 2022. A screenshot taken on

                         December 3, 2022 thereof is attached to this Motion; $81,652.46 on

                         the Motion as of December 22, 2o22; this is in violation of, inter alia,

                         42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                         (27), 666, 655, 658a that is consistent with the State/Plaintiff’s pattern

                         of obstructing the Defendant of due process right access to her case file

                         records of RI OCSS’s debt verification itemized accounting calculations

                         of very large sums of alleged arrearages of at least 7 books of accounts

                         from December 6, 2021 to the present in Title IV-D proceedings.

                III.   JUDICIARY VIOLATION OF GOVERNMENT EDICTS
                       DOCTRINE, CALCULATED FAILURE TO INTEGRATE TITLE IV-
                       D AGENCY ELECTRONIC FILING SYSTEM WITH ODYSSEY
                       MAKING THEIR FILINGS INVISIBLE TO ALL E-COURT USERS
                       OTHER THAN THE JUDGE AND THEMSELVES AND
                       VIOLATION OF ACCESS TO COURT INFORMATION OF PUBLIC
                       TITLE IV-D PROCEEDINGS IN RHODE ISLAND’S STATEWIDE
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            A. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO COURT
       INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42 USC 654(1)
       POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode Island

       under 42 USC 654(1). While publicizing during the implementation of the $6 million

       installation of Odyssey (the statewide electronic filing system) in 2014 that the

       electronic courts will enable ALL court users to pull up court record information with

       ease from their phones, the Rhode Island Judiciary quietly implemented Rule 5 of the

       Rhode Island Rules and Practice denying the Public, pro-se litigants and all parties to a

       case in Rhode Island remote access to court record information including judge-created

       orders and laws, including their own. Through this deceit, the Rhode Island Judiciary

       lied to the Public, while denying access and thereby covering up the routine ordering of

       unenforceable body of judge-created laws ordering 12% compound interest in public

       cases and public hearings under 42 USC 654 in public Title IV-D cases, such as this one,

       by symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The denial

       of access to pro-se litigants of their own cases’ court records containing support orders

       violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

       (27), 666, 655, 658a. The denial of public access to public court records documenting

       the routine systemic violations of 42 USC 654(21)(A) in electronic courts violates the

       First Amendment and the public’s right to know the law, even if these fraud on the court

       unenforceable judge-created laws are unenforceable in both Rhode Island and

       elsewhere Title IV Part D reaches. The denial of public access to judge-created laws that

       is also motivated by cover-up fundamentally violates the established Government Edicts

       Doctrine that the United States Supreme Court specifically held applies to electronic


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       formats of government doctrines, such as judge-created laws in digital courts. See

       Georgia v. Public Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The

       Defendant has been denied access by the political subdivision Rhode Island Judiciary to

       her court records and information regarding the orders in question that must be

       furnished pursuant to 42 USC 654b thus in violation of 42 USC 654. The Defendant has

       been denied access by the political subdivision Rhode Island Judiciary to unenforceable

       judge-created laws that routinely establish unenforceable 12% compound interest by

       certain symbiotic pliant judges, like Judge McCann and Magistrate Nahabedian, who

       work hand-in-hand with the Rhode Island Office of Child Support Services in Title IV-D

       cases, in violation of Defendant’s Due Process and Equal Protection rights to know the

       law to be meaningfully heard and right to meaningful access to justice – they are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                This Court held at the hearing in this matter scheduled on March 6, 2023 that the

       Rhode Island Office of Child Support Services is ordered to show that the alleged arrears

       is accurate. See attached March 6, 2023 hearing transcript. Explicitly stated

       throughout 42 USC 654, “accuracy” requires no accounting alterations generated offline

       then hard input into the automated system, no fraud, no inducements, no interstate

       extortion under color of state law, and for certain no 12% compound interest on overdue

       support.

            B. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE THE
       TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO ODYSSEY
       RESULTING IN AGENCY FILINGS BEING INVISIBLE TO ALL COURT
       USERS EXCEPT THE JUDGE AND THE AGENCIES THEMSELVES – COVER
       UP


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                Because under the State’s Plan the Title IV-D agencies routinely file in the Rhode

       Island court system for the illegal enforcement of illegal 12% compound interest

       disallowed under 42 USC 654(21)(A), the political subdivision Rhode Island Judiciary

       deliberately failed to integrate the Title IV-D Agencies’ electronic filing system with the

       State’s electronic filing system Odyssey in order to make Title IV-D Agency electronic

       filings invisible to all court users except the judge and the agencies themselves,

       calculated to cover up the 12% compound interest from audit by the federal authorities

       and from the Public. This came to light at the WebEx hearing in this Title IV-D matter

       before Judge Merolla on June 8, 2023 scheduled at 2PM, where Judge Merolla, showing

       he was unaware of the failure of systems integration, questioned Paul Gould of Rhode

       Island Office of Child Support Services, why Defendant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Paul Gould

       explained that this is due to the electronic court implementation process that was

       supposed to integrate the agency’s legacy system to Odyssey, demonstrating

       conclusively that Gould, the Lead Counsel of the Rhode Island Office of Child Support

       Services responsible and overseeing agency court filings in Title IV-D cases,

       undisputedly was in the know and part of the conspiracy involving the deliberate failure

       of filing system integration and its continuing perpetration in Title IV proceedings that

       made Title IV agencies’ filings invisible as part of the cover up.

            C. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in DEFENDANT’S TITLE IV-D ACCOUNT POWERED BY
       THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO DEFRAUD
       DEFENDANT IN THE FUTURE



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                Defendant attaches hereto EXHIBIT G, that shows the Defendant’s online Title

       IV-D OCSS account which is powered by the Automated Data Processing System, as of

       November 2022 at the time of the RI EOHHS Appeal, which showed $0.00 Payment

       for December 2021. Therefore, the Rhode Island Office of Child Support Services

       through accounting fraud never recorded, as late as November 2022, in the Automated

       Data Processing System Defendant’s large lump sum payoff of $104,185.98 bank wired

       from Texas on December 7, 2021, showing prima facie accounting fraud. This shows a

       scheme to defraud the Texas Defendant in the future. This shows that the Rhode Island

       Office of Child Support Services received Defendant’s wired funds and treated it as a

       cash receipt, without ever recording in the automated data processing system such a

       large lump sum payment. Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois,

       Paul Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Defendant’s lump sum payment

       was distributed allegedly via a check, not through the usual cash card on December 9,

       2021, (see attached hereto TRAC record for December 2021) record information of

       which check that was allegedly issued by the Office of Child Support Services the agency

       refuses to furnish the Defendant, and which are under subpoena now. Further, the

       Office of Child Support Service’s maintaining a separate offline accounting system in

       this case constitutes fraud and accounting fraud, targeting the Defendant in Texas,

       targeting Texas properties and targeting the United States of America. This is why they

       never utilized the 42 USC 654(7), (14), (20) and 42 USC 666(14) cooperative system

       with Texas, so as to enable them to divide the defrauded cash spoils offline among the

       members participating in the scheme. This accounting fraud and scheme to defraud



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       violate mail fraud, wire fraud, honest services fraud, RICO, record tampering, theft of

       the United States, and felonious fraud, among others.

                In reality, under 42 USC 651-669, employees who engage in, aid and abet and

       facilitate the above must be terminated and must not be permitted to continue criminal

       activities of record tampering, accounting fraud, fraud, theft under color of state law and

       cover up.



                IV.   CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF THE
                      UNITED STATES AND OTHER LISTED AUTHORITIES UNDER
                      18 U.S.C. sec. 4

                The Defendant, in good faith and reliant on the plain language of 18 USC § 4,

       misprision of felony, as well as the Brief filed in the United States Supreme Court by the

       United States of America in the Supreme Court case, Turner v. Rogers, 564 U.S. 431

       (2011) that showed South Carolina (found by the 4th Circuit Court of Appeals) liable for

       $75 million in penalties for that state’s 42 USC 654 violations that did not even involve,

       inter alia, fraud and tampering with the record or unlawful 12% compound interest put

       into then taken off then put back on the automated data processing system as here in

       Rhode Island, made known the above activities to “some judges” of “the United States”

       and other relevant federal authorities – counting among the United States judges

       Defendant made known publicly in the Amended Complaint filed in the United States

       District Court for the District of Rhode Island, Judge William E. Smith. The issue of

       what Judge Smith has done with the information “made known to him” is pending

       before the United States Court of Appeals for the First Circuit before a requested panel

       of judges under the federal law of civil procedure. Therefore, under 18 USC 4, the above


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       reported activities have been “made known” to several high ranking judges of the United

       States.

                            A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                 Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter, and/or Judge Smith on this list are not exhaustive. It is undisputable,

       among others, that Title IV-D penalties were incurred by, Criminal penalties were

       incurred by, and Title IV-D and Title IV-A disgorgement is due from the applicable State

       of Rhode Island’s political subdivisions.

                                              B. NO IMMUNITY



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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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Case:
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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                V.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Office of
                        Child Support Services, the SDU under the State’s Plan under 42
                        USC 654, must furnish all subpoenaed information – refusal of
                        which incurs another penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merolla of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for her Title IV record information that

                     includes record information relating to the “TRAC notes of 12/6/2021 and

                     12/7/2021” as well as relating to the substance of John Langlois’s audio

                     recorded October 5, 2022 statements regarding “what happened in this case”

                     that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the Office of the

                     Child Support Services that Gero Meyersiek said yes, he “agreed to waive the

                     $73k or $75k that are in arrears” as of December 6, 2021 and October 5, 2022

                     which are part of Defendant’s child support case file.




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                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Order a hearing on the herein issues raised in this matter.

                5. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                6. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 21, 2024


                                                  FOR DEFENDANT

                                                  MARY SEGUIN, Pro Se.


                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com



                                            NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F

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Case:
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                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 21, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


                                                       _______________________




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Case:
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                Document:00118189824
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                                    Exhibit A
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                                        Exhibit B
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                                        Exhibit C
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                                    Exhibit D
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      23-1967
      23-1978   Document:
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                 State of Rhode Island and Providence Plantations


          PROVIDENCE, Sc.                                 FAMILY COURT




          *******************************
          GERO MEYERSIEK




          Vs.                                 F.C. FILE NO. K2001-0521M




          MARY SEGUIN
          ********************************



                                        Heard Before:

                     The Honorable Magistrate Armando O. Monaco

                                   On March 6, 2023


          APPEARANCES:


          FOR MS. SEGUIN. . . . . Pro se

          FOR THE STATE. . . . .. Paul Gould, Esq.




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Case:
Case:23-1978
      23-1967
      23-1978   Document:
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                                        I HEREBY CERTIFY THAT THE

                                        FOLLOWING IS A TRUE AND ACCURATE

                                        TRANSCRIPT IN THE CASE OF

                                        GERO MEYERSIEK VS. MARY SEGUIN

                                        HEARD BEFORE

                                        MAGISTRATE ARMANDO O. MONACO

                                        ON MARCH 6,2023.




                                        STEVEN FAZIO
                                        ELECTRONIC COURT REPORTER




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Case:
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      23-1967
      23-1978   Document:
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          1                             GERO MEYERSIEK V. MARY SEGUIN

          2                                  F.C. NO. K2001-0521M

          3                                  MARCH 6, 2023

          4

          5                                  MARY SEGUIN: Having been

          6          duly sworn testifies as follows:

          7                                  THE COURT: After the

          8          February 12th hearing two orders were submitted

          9          one by each side, objections were filed through

         10          your order being entered, ma'am.

         11                                  MS. SEGUIN: Thank you Your

         12          Honor. I am sorry. Could you repeat that again?

         13          Sorry.

         14                                  THE COURT: Subsequent to the

         15          hearing of February 10,2023, two separate orders

         16          were submitted for my signature. One you

         17          submitted and one the State submitted. The State

         18          filed an objection to the submission of your

         19          order on the basis that they alleged, I believe,

         20          that it is not what I said.

         21                                  MS. SEGUIN: And I also filed

         22          an objection to their proposed order that also

         23          clearly states a lot of additional items that

         24          were never before the Court. Including the

         25          number now that they have now, they submitted a

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          1          $75,623.71 and then another one for $6028.75.

          2          These two numbers were not even in their

          3          original motion to establish arrears that was up

          4          before the court on February the 10th and those

          5          two numbers were never brought up as well. And

          6          without a clear understanding and audit of what

          7          those numbers represent. Because they

          8          unilaterally of their own volition without any

          9          court approval.

         10                                ATTORNEY GOULD: Judge,

         11          objection.

         12                                MS. SEGUIN: Took off the

         13          interest.

         14                                THE COURT: Let me interrupt

         15          you, ma'am. Where are you getting these two

         16          numbers from? I do not see them anywhere.

         17                                MS. SEGUIN: Exactly. That is

         18          the order proposed order that the State had

         19          filed. You are absolutely right. Your Honor.

         20          Those two numbers--

         21                                THE COURT: I am looking at

         22          the proposed state order that has different

         23          numbers then what you are saying.

         24                                MS. SEGUIN: The proposed

         25          order that they submitted to me, on #4 it says

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Case:23-1978
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          1          $75,623.71 for interest. And then a medical

          2          support interest for $6028.75. Now these two

          3          numbers were never before the Court before on

          4          February the 10th. On February the 10th they

          5          brought up a motion that mentioned $81,000.

          6                                 THE COURT: Well, maybe that

          7          is a combination of the two numbers.

          8                                 ATTORNEY GOULD: Yeah, Judge.

          9          That is the combination.

         10                                 MS. SEGUIN: So sorry, go

         11          ahead.

         12                                 ATTORNEY GOULD: There was an

         13          objection, Judge.

         14                                 THE COURT: Yeah, what is

         15          your objection, Paul?

         16                                 ATTORNEY GOULD: We are off

         17          the subject. The subject is whether this order

         18          should enter or not.

         19                                 THE COURT: Right.

         20                                 ATTORNEY GOULD: Not about

         21          any agreements, not about anything else other

         22          than the numbers and Judge if I may or I will

         23          let the defendant continue Judge.

         24                                 THE COURT: I thought my

         25          order was very simply was to set the arrears as

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          1          they appear on the State computer but without

          2          prejudice and then there will be a subsequent

          3          hearing to determine whether or not those

          4          numbers are in fact accurate. As I am reading

          5          the order, they put two numbers in and it is

          6          clearly, let me read the paragraph. Yeah,

          7          paragraph six, the Court finds that the total

          8          the arrears of $81,000, which is the combined

          9          number is placed on the Child Support ledger

         10          without prejudice to the June 8, 2023 hearing.

         11          The State agrees it shall respond to the

         12          defendant's first request for production of

         13          documents forthwith.

         14                                 MS. SEGUIN: Yes, Your Honor.

         15          So therefore, you had not made any kind of

         16          findings of fact of whatever they might be. You

         17          simply said put the interest back--

         18                                 THE COURT: Yeah, I said

         19          whatever the computer says is the balance. Put

         20          it on the computer without prejudice, which

         21          means that we need a starting point. You need to

         22          know what they allege you owe and that is what

         23          they are alleging you owe. You disagree with

         24          that number. You asked them for the

         25          documentation to substantiate that number. That

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Case:
Case:23-1978
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          1          is why I continued it out all the way to June so

          2          that you would have an opportunity to get their

          3          materials, for you to you digest their

          4          materials, provide counter materials back to

          5          them. So that in June, a full hearing can be

          6          held with everyone totally prepared as to argue

          7          either position. Either there is no money due or

          8          there is a balance due. I never made any finding

          9          whatsoever there is in fact a balance due. If I

         10          did, I would not have continued the hearing.

         11                                MS. SEGUIN: Thank you, Your

         12          Honor. That is exactly what my understanding as

         13          well.

         14                                THE COURT: Right. That is

         15          what the order says. It says put the number on

         16          the computer, but without prejudice, which means

         17          both sides have to argue and convince the Judge

         18          that that is in fact the number. Or you are

         19          going to argue it is an incorrect number and you

         20          are going to substantiate it by whatever

         21          arguments you present. They going to

         22          substantiate it by whatever arguments they

         23          present. And then whoever hears it in June will

         24          decide which side is correct.

         25                                MS. SEGUIN: Thank you, Your

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
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                          00118126723   Page:
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          1          Honor. I wanted to make sure that, you know,

          2          that all parties understand that because at this

          3          point, the State is saying that you already

          4          found that I had—-

          5                                 THE COURT: No, no. The State

          6          is not saying that because the order clearly

          7          says those numbers or that number is without

          8          prejudice, which means I did not establish that

          9          number. We do it in many of these cases to get

         10          the ball rolling, so either side knows what they

         11          need to produce to substantiate their positions.

         12          The same way they can come in now and say, Oh,

         13          no, we made a mistake. She actually owes

         14          $185,000.

         15                                 MS. SEGUIN: You are giving

         16          me a heart attack, Your Honor.

         17                                 THE COURT: It puts a cap on

         18          what they can argue.

         19                                 ATTORNEY GOULD: Judge, can I

         20          respond now?

         21                                 MS. SEGUIN: So, Your Honor,

         22          with that in mind, just to clarify, that is what

         23          they are saying in 2018 when they first took

         24          off--

         25                                 ATTORNEY GOULD: Objection.

                                             8
Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
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                                              754
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          1                                THE COURT: Just a minute.

          2          The order speaks for itself. It says the balance

          3          on the computer as of whatever dates in there. I

          4          cannot read it now quickly, whatever dates in

          5          there, that is the balance on the computer. They

          6          have to substantiate it. They are going to send

          7          you documentation supposedly to substantiate it.

          8          If they cannot substantiate, then they are not

          9          going to get that number.

         10                                ATTORNEY GOULD: Judge, I

         11          disagree with that. Judge, we have no obligation

         12          to substantiate this. There is a Child Support

         13          number that was established by Judge McCann. You

         14          took judicial notice of that.

         15                                THE COURT: I took judicial

         16          notice that there was no appeal of his order.

         17          That is what the judicial notice of.

         18                                MS. SEGUIN: Thank you, Your

         19          Honor. Thank you, Your Honor. That is my

         20          understanding as well that you took judicial

         21          notice of the orders themselves. But what is in

         22          dispute is how the child support office has

         23          handled this computation.

         24                                THE COURT: That's the

         25          argument for June, ma'am. That is the argument

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
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                          00118126723   Page:
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          1          for June.

          2                                MS. SEGUIN: Taking that off

          3          the system without your approval. Now, put it

          4          that way--

          5                                THE COURT: What you are

          6          arguing now is what you need to argue in June. I

          7          am satisfied that the order that has been

          8          presented by the State that breaks down the two

          9          balances that the total is $81,000 is in fact

         10          the appropriate order from the hearing. It is

         11          without prejudice. They are going to provide

         12          documents that you requested so that you can

         13          then decide whether or not you agree or

         14          disagree. And if you disagree with their method

         15          of calculating it, you need to present why you

         16          think that method is incorrect and what should

         17          be the correct number if any.

         18                                MS. SEGUIN: Yes, and

         19          including a waiver of interest –

         20                                THE COURT: You are arguing

         21          whether the number is correct or not. That is

         22          the whole purpose of making it without

         23          prejudice.

         24                                MS. SEGUIN: Yes, and that

         25          would include the waiver of interest that had

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Case:
Case:23-1978
      23-1967
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                Document:00118189824
                          00118123623
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                          00118126723   Page:
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                                              977   Date
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          1          occurred.

          2                                THE COURT: No, that is the

          3          subject of the hearing. That is the subject of

          4          the hearing. I am making no finding about

          5          whether there was or was not a waiver of

          6          interest.

          7                                MS. SEGUIN: Thank you, Your

          8          Honor. So that is part of the discovery that

          9          needs to happen.

         10                                THE COURT: Well, that is

         11          what I assume you are asking for. Is to get the

         12          documentation that would have substantiate your

         13          belief that there was the waiver of the

         14          interest.

         15                                MS. SEGUIN: Thank you, Your

         16          Honor.

         17                                THE COURT: So, if you can

         18          substantiate that there was a waiver of

         19          interest, that balance disappears.

         20                                MS. SEGUIN: So, the State is

         21          objecting to producing those protected

         22          documents—

         23                                THE COURT: No, no. They are

         24          not objecting to producing any documents. The

         25          line paragraph says in paragraph 10, The State

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Case:
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      23-1967
      23-1978   Document:
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                          00118123623
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                          00118126723   Page:
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          1          agrees it shall respond to the defendant's first

          2          request for production of documents forthwith.

          3          So, whatever you asked them for, they are going

          4          to they are going to provide to you. If you do

          5          not think they provided everything you asked

          6          for, you file a supplemental request.

          7                                ATTORNEY GOULD: The State

          8          filed its answer in response to her request for

          9          production, Judge. And I will stand by that. And

         10          I will argue those issues that we refuse to

         11          answer, or we objected on procedural grounds or

         12          we objected on legal grounds for what we did.

         13          And I will respond to that when it is

         14          appropriate.

         15                                THE COURT: That would be

         16          June 8th. That will be done on June 8th. So, you

         17          can be prepared to go forward on whatever your

         18          objections are and whoever hears it will decide

         19          whether the objections were valid or not.

         20                                MS. SEGUIN: Your Honor, Mr.

         21          Gould had said something to me, emailed

         22          something to me to the affect that he said you

         23          will be retiring June the 8th. I just wanted to

         24          know why he emailed me something like that.

         25                                THE COURT: It has been

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
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                                              164
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                                              979   Date
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          1          projected that I am to retire sometime before

          2          July 1st. They are dealing with my successor and

          3          I sit until my successor is appointed and

          4          qualified. And the projection is by the end of

          5          the by end of June, the latest could be earlier.

          6          I do not think it could be later, but it is

          7          possible.

          8                                ATTORNEY GOULD: And Judge,

          9          because we, I guess, we like making these

         10          artificial records, I will make this record

         11          here. I did not say that snd I resent the

         12          defendant putting words in my mouth.

         13                                MS. SEGUIN: I indicated the

         14          email that you wrote to me.

         15                                THE COURT: Listen, just a

         16          minute, just a minute. Whether I sit or I do not

         17          sit is an immaterial situation, it has nothing

         18          to do with what is before me today. I am ruling

         19          on the order they sent you breaking down the

         20          balances between the child support and medical

         21          arrears is valid as to what I said the last time

         22          we were here. I am going to sign that order and

         23          proceed with their discovery. Whatever

         24          objections you have relative to the discovery

         25          and whoever sits here, whether it is me or

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
                                        Page:1218
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          1          someone else, they will be prepared to address

          2          the situation. Okay.

          3                                 MS. SEGUIN: Thank you, Your

          4          Honor. Thank you. One last question about number

          5          11 and 12. I mean, those elements—

          6                                 THE COURT:   11 and 12?

          7                                 MS. SEGUIN: Yeah, 11 and 12.

          8                                 THE COURT: 11 tells you how

          9          to contact us. 11 is how to contact us and 12 is

         10          a standard paragraph that they put in indicating

         11          that, I don't know why it's here, but they that

         12          the standard paragraph they stick in every case

         13          has no bearing on this one. Other than it says

         14          that until it is paid in full, you know, the

         15          order will continue to run. But there is no

         16          order running in terms of what your obligation

         17          to pay that is.

         18                                 MS. SEGUIN: Okay, okay. So

         19          that is something that is boilerplate.

         20                                 THE COURT: That is

         21          boilerplate and 11 is how you get in touch with

         22          us.

         23                                 MS. SEGUIN: Sure.

         24                                 THE COURT: We do not put

         25          that in, we will never have any hearings.

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
                                        Page:1219
                                              166
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                                              981   Date
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          1                                MS. SEGUIN: Thank you, Your

          2          Honor.

          3                                ATTORNEY GOULD: If I could

          4          talk this time a little bit. Maybe just for the

          5          record. Those same paragraphs were in the

          6          September 25th, 2012 orders. And that same

          7          boilerplate languages in a July 11, 2012 orders

          8          and any other order that she would receive.

          9          August 15, 2012. That same identical language

         10          was contained in those. It is boilerplate.

         11                                THE COURT: Yeah,

         12          boilerplate. All right, we will see you on June

         13          8th at 2:30. Wait a minute. Daylight savings

         14          time is starting soon.

         15                                MS. SEGUIN: Oh, yeah.

         16                                THE COURT: All right. Do you

         17          go on daylight saving time? Pay attention.

         18                                MS. SEGUIN: Okay.

         19                                THE COURT: This coming

         20          Saturday, our clocks jump forward an hour. So,

         21          your clock does not jump forward. You are going

         22          to have to call in an hour earlier.

         23                                MS. SEGUIN: All right.

         24                                THE COURT: I have friends

         25          that live in Arizona, and they told me that in

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
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                                              761
                                              982   Date
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          1          Arizona, there were three different time zones

          2          in the summer.

          3                                MS. SEGUIN: Yeah, every

          4          county is allowed to do that out here.

          5                                THE COURT: I know that. That

          6          is why that is why I pay attention to it because

          7          they tell me that people have trouble. They

          8          think, Oh, I am going to be on time, I am going

          9          to Court. They said, No, you are an hour late.

         10          What do you mean? This is the time across the

         11          street. No, that is an hour different than us.

         12                                MS. SEGUIN: It really is

         13          crazy. That they have marked it off, not a

         14          county, but across the street. You are

         15          absolutely right.

         16                                THE COURT:    All right. So,

         17          pay attention. It is 2:30 our time.

         18                                ATTORNEY GOULD: Judge, if I

         19          may. The order I submitted that contains 12

         20          paragraphs.

         21                                THE COURT: Yes.

         22                                ATTORNEY GOULD: February 10,

         23          2023, starting with paragraph one, the matter is

         24          continued.

         25                                THE COURT: Yes.

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
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                                              168
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          1                                ATTORNEY GOULD: That order

          2          is going to be accepted by the Court. That will

          3          be the order of the Court for that day?

          4                                THE COURT: Right.

          5                                ATTORNEY GOULD: The order

          6          that she submitted will be stricken, correct?

          7                                THE COURT: Right.

          8                                MS. SEGUIN: Yes, that is my

          9          understanding, too. Yes.

         10                                ATTORNEY GOULD: Thank you,

         11          Judge.

         12                                THE COURT:    All right. We

         13          will see you in June.

         14                                ATTORNEY GOULD: One more

         15          thing. I am sorry. Judge, if I may, can the

         16          defendant place her address on the record?

         17          Because we sent some correspondence that was

         18          sent back to us. Now we have used her email as a

         19          courtesy to her and we also need an actual

         20          street address so that we can send her

         21          documents.

         22                                MS. SEGUIN: Your Honor, I

         23          think this is, I do not really understand why -–

         24                                THE COURT: Let me just

         25          interrupt. Let me interrupt. When you enter your

                                             17
Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
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                          00118126723   Page:
                                        Page:1222
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          1          appearance, you need to provide under the rules

          2          your address, your phone number, and your email

          3          address.

          4                                MS. SEGUIN: Yes.

          5                                THE COURT: And if you were

          6          an attorney, obviously your bar number. Okay so

          7          if you change any of those addresses or emails,

          8          you are under an obligation to keep updating it

          9          because if they send anything to the address or

         10          the email that you provided, it's not a defense

         11          later on, Oh, it's not my address or email, I

         12          changed it. So that is why they are asking to be

         13          sure they get the right method to contact you,

         14          depending on what they have to send. It is a

         15          part of the Court order that you provide your

         16          address and email address.

         17                                MS. SEGUIN: Your Honor, may

         18          I also then ask that the State sent me a or e-

         19          file any notices? Because they have been mailing

         20          things to me in Texas, which takes 10 to 12 days

         21          for me to receive by regular mail. So, could you

         22          also please, I am going to ask you please to

         23          ask, to make them, to order them to notice me by

         24          electronic means as well.

         25                                THE COURT: Well, that's part

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
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                          00118126723   Page:
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          1          of the rules, too.

          2                                MS. SEGUIN: Okay.

          3                                THE COURT: All right?

          4                                MS. SEGUIN: Okay. Thank you,

          5          Your Honor. I appreciate you telling me.

          6                                THE COURT: All right, June

          7          8th.

          8                                ATTORNEY GOULD: I do not

          9          have an address, Judge.

         10                                THE COURT: Oh, that is

         11          right. What is your updated address?

         12                                MS. SEGUIN: My address is on

         13          the on file is P. O. Box 22022 Houston, Texas,

         14          77019.

         15                                THE COURT: What about email?

         16                                MS. SEGUIN: That's Mary

         17          Seguin 22022 at Gmail.com. They are also in my

         18          pleadings as well.

         19                                THE COURT: Slow down. Slow

         20          down. We do not type that fast.

         21                                THE CLERK: I did not get

         22          that P. O. Box. Can you give it to me again,

         23          please?

         24                                MS. SEGUIN: Yes, it is,

         25          22022.

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
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          1                                THE COURT: That is the P. O.

          2          Box number?

          3                                MS. SEGUIN: Yes, Your Honor.

          4                                THE COURT: Making sure it

          5          was not the zip or area code.

          6                                MS. SEGUIN: It is one too

          7          many numbers.

          8                                THE COURT: What is the zip

          9          in Houston?

         10                                MS. SEGUIN: It is 77019.

         11                                THE COURT: All right, all

         12          set?

         13                                MS. SEGUIN: Thank you, Your

         14          Honor.

         15                                THE COURT: Okay, June 8.

         16                                ATTORNEY GOULD: Thank you,

         17          Judge.

         18                                MS. SEGUIN: Thank you, Your

         19          Honor.

         20

         21

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Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
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                                              987   Date
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Case:
Case:23-1978
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      23-1978   Document:
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                          00118126723   Page:
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                                              173
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                                                               09/15/2024   Entry
                                                                            EntryID:
                                                                                  ID:6632590
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                                        I HEREBY CERTIFY THAT THE FOLLOWING

                                        IS A TRUE AND ACCURATE TRANSCRIPT

                                        IN THE CASE OF MEYERSIEK VS. SEGUIN

                                        BEFORE THE HONORABLE MAGISTRATE

                                        SUSAN NAHABEDIAN ON FEBRUARY 2ND,

                                        2024.




                                        AMANDA B. KUSKI
                                        ELECTRONIC COURT REPORTER
Case:
Case:23-1978
      23-1967
      23-1978   Document:
                Document:00118189824
                          00118123623
                          00118126457
                          00118126723   Page:
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                                              174
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          1                                           THE COURT: Good afternoon.

          2                                           PLAINTIFF: Good afternoon.

          3                                           THE COURT: This is K20010521, Gero

          4     Meyersiek versus Mary Seguin. Both parties are present. Mr. Meyersiek’s

          5     Attorney, um, Achille, she’s here. Um, the Clerk will swear you both in.

          6                                           CLERK: Miss Seguin, Mr. Meyersiek,

          7     raise your right hands, please. You do solemnly swear that the testimony you

          8     shall give to the Court in the matter now in hearing shall be the truth, the whole

          9     truth and nothing but the truth, so help you God?

         10                                           PLAINTIFF: I do.

         11                                           DEFENDANT: I do.

         12                                           CLERK: Miss, Miss Seguin, just state your

         13     name for the record.

         14                                           DEFENDANT: Mary Seguin.

         15                                           CLERK: Mr. Meyersiek, your name,

         16     please, for the record.

         17                                           PLAINTIFF: Gero Meyersiek.

         18                                           CLERK: Thank you.

         19                                           THE COURT: Okay, good afternoon,

         20     folks. This matter was continued from December 15th in order for the, uh, Court

         21     Clerk to, uh, copy Court filings and other documents that were requested by

         22     Miss Seguin. It’s my understanding that those documents were sent to her

         23     electronically, um, in various emails, uh, in December and the remainder of

         24     those were sent at the beginning of January. Um, Miss Seguin, were you able to

         25     review those and are you satisfied that you received everything that you request-

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          1     ed?

          2                                            DEFENDANT: Um, thank you, Your

          3     Honor. I had, uh, received, as you said, in two batches, uh, the Court records

          4     that, um, Mr. Santamarina had, um, had emailed. Uh, the last several batches,

          5     uh, were, sorry, batch was several documents, um, were only emailed about a

          6     couple weeks ago. Uh, there, there were sent in separately about fifteen emails. I

          7     think Your Honor was copied on all of them, as well as Mr. Gould, um, on those

          8     emails, um, and so the records themselves, um, you know, that were sent to me

          9     or emailed to me, um, the, the Court has a copy of those. Um-

         10                                            THE COURT: I, I, so my question is, are,

         11     are you, did, were you able to review them and are you satisfied that everything

         12     that you requested, you received?

         13                                            DEFENDANT: Um, I have not, uh,

         14     received the actual audio recordings of the, that’s part of the record. Um, those

         15     were-

         16                                            THE COURT: Did you request, did you

         17     request the audio recording from Mr. Santamaria?

         18                                            DEFENDANT: Well, I requested all the

         19     records. So, one of the paper documents had said that the, there was, uh,

         20     attached to it, an audio recording of the State saying that Gero waived interest,

         21     and I think that’s very relevant to this case-

         22                                            THE COURT: Okay-

         23                                            DEFENDANT: -especially as it links to-

         24                                            THE COURT: -let me just stop you-

         25                                            DEFENDANT: -(inaudible)-

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          1                                           THE COURT: -let me just stop you, let me

          2     just stop you for a minute, please. I’m new to this case, so I’m not familiar with

          3     the audio recordings request. I’m not aware that you made that type of request.

          4     Can you tell me the date of the audio recording and when you made that

          5     request?

          6                                           DEFENDANT: I made the request for all

          7     Court information in this case. All Court information encompasses all

          8     documents and all forms of records. Uh, that’s, um, that’s the, I believe, legal

          9     understanding of all Court information of records.

         10                                           THE COURT: Alright, Mr.-

         11                                           DEFENDANT: So, that was part, that was-

         12                                           THE COURT: -excuse me, excuse me one

         13     minute. Mr. Gould, I’m trying to unmute you and I’m not able to do it from my

         14     end. So, if you need to be unmuted, you’ll have to do it yourself.

         15                                           DEFENDANT: I had to, so I had

         16     submitted those and this, uh, audio recording ha-, uh, is part of the Court records

         17     as of, um, June 2023. That was emailed to me in a rel-, in a paper document

         18     referring to attached, attached audio recording that is, um, that, that was emailed

         19     by Mr. Santamaria. So, that recording, I want to make sure, uh, and, and that’s

         20     also copied to you by the way, Your Honor-

         21                                           THE COURT: Alright, so-

         22                                           DEFENDANT: -(inaudible).

         23                                           THE COURT: -just, just, just going back

         24     to December, okay, you provided, um, a request for documentation to be copied

         25     by the Court Clerk, Mr. Santamaria, and all of those documents were scanned

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          1     and sent to you in an electronic form. Did you specifically request anything that

          2     referred to an audio recording?

          3                                             DEFENDANT: I specifically record, uh,

          4     requested all Court information, any and all Court information in the records of

          5     my, of this particular case file. Those are the wording that I used, because I, I

          6     don’t know what’s being, what’s on, what’s, what the Court record has. You

          7     know, this is the reason why we went through this process, is, the, the, um,

          8     Rhode Island Judiciary has set up this, uh, uh-

          9                                             THE COURT: So, Miss Seguin-

         10                                             DEFENDANT: -electronic Court system-

         11                                             THE COURT: -we’re not-

         12                                             DEFENDANT: -where the (inaudible)-

         13                                             THE COURT: -so, Miss Seguin, we’re not

         14     gonna get into the Judiciary’s access to the, um, to the portal. We’re not gonna

         15     get into that. We made every effort to make electronic copies of every Court

         16     document pertinent to this case and sent them to you, at no cost, in an electronic

         17     version. You did not, at any point, follow up with Mr. Santamaria to request an

         18     audio recording.

         19                                             DEFENDANT: I’m just in a process of

         20     reviewing this. That was part of your question, uh, Your Honor, is have I had a

         21     chance to review all of these materials. It’s, it’s, it’s, as, as you can see, several

         22     because you’ve been covered, uh, copied on all the emails. There were several

         23     emails, uh, you know, all together, probably thirty-something emails. Uh, I do

         24     appreciate that. I, you know, I thank Your Honor for ordering that, um, and I

         25     also, um, you know, am, am reviewing, have been reviewing. So, I came across,

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          1     to answer your question to the best of my ability, is I came across that doc-,

          2     document where it refers to the audio file, uh, that’s being submitted into the

          3     record. I’ve asked for the Court records. So, um-

          4                                            THE COURT: You received every Court

          5     record, every document going back to-

          6                                            DEFENDANT: Paper. I, I, I think what,

          7     what-

          8                                            THE COURT: Correct.

          9                                            DEFENDANT: -wanted to, you know,

         10     just, just to have a basic understanding of document is, in paper form, but Court

         11     rec-, information as the Court record encompasses various different formats. All

         12     public records encompasses various different formats. Uh, you know, that’s,

         13     that’s written by statute and, you know, as I understand it what public records is.

         14     Court records are a form of public records and, and it forms the basis of, um,

         15     Judge created laws, and therefore, those are critical in my, uh, uh, you know,

         16     access and that’s the basis of this process that we’re going through is accessing

         17     those public records, Court information records, and, uh, accessing the laws that

         18     were created, Judge created laws that were created, in this particular case or

         19     relevant to this particular case. So, I, I’m just trying to, um, respond to your

         20     question, uh, Your Honor, as to if I had a chance to review those, am I satisfied,

         21     and so, these are the, what I’m raising to the Court, to Your Honor, to, in

         22     response to your question is, I received the paper document, uh, I’m, I’m in the

         23     process of reviewing them, um, because they, they form a chronology, they form

         24     a, a, a background chronological, uh, reasoning behind, you know, uh, Judge

         25     created laws, which are the orders, uh, issued. And in so doing, there are refer-

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          1     ences to a, a Court document that was sent to me, actually a couple of them, that

          2     talks about an audio recording of the State saying that Gero waived interest, and,

          3     uh, also the document, uh, there are documents that say Gero did not ask for

          4     interest, but the State on oral motion asked for interest, but then the State’s

          5     policy is not to ask for interest in interstate cases-

          6                                             ATTORNEY GOULD: Judge, Judge, if I

          7     may-

          8                                             DEFENDANT: -that is why. So-

          9                                             ATTORNEY GOULD: -Judge, can I be

         10     heard?

         11                                             DEFENDANT: -that’s why I need to

         12     understand and get a full-

         13                                             ATTORNEY GOULD: If I may, Judge?

         14                                             THE COURT: Hold, just one, one minute,

         15     Mr., Mr. Gould. So, the answer, so, your answer is, you’re not satisfied with

         16     what was sent?

         17                                             DEFENDANT: I’m explaining to you

         18     what’s missing.

         19                                             THE COURT: So, you are, you-

         20                                             DEFENDANT: And I’m trying to identify

         21     to you what is missing-

         22                                             THE COURT: So, this Court-

         23                                             DEFENDANT: -and the Court records,

         24     already are, are showing-

         25                                             THE COURT: -this Court, alright, ex-,

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          1     excuse me, Miss Seguin. Mr. Santamaria spent hours with a coworker manually

          2     scanning and copying those files during a period of time that the Court was very

          3     short handed. All of that documentation, okay, every pertinent document related

          4     to this case, going back decades, two decades, was scanned and sent to you,

          5     okay. We do not have a copy of an audio recording. So, we’re not able to

          6     provide that to you. There is no such audio recording in the Court record that

          7     you, you are referring to. So, now I’m gonna give Mr. Gould an opportunity to

          8     respond. Mr. Gould?

          9                                            ATTORNEY GOULD: Judge, like,

         10     likewise, if she’s requesting a transcript, then she has to go through the normal

         11     process of paying for a transcript, ordering the specific date of the transcript she

         12     wants. This is a Defendant who has failed to come to this Court with clean

         13     hands, Judge. I’ve stayed silent-

         14                                            DEFENDANT: I object! I object, Your

         15     Honor!

         16                                            ATTORNEY GOULD: -the whole time-

         17                                            THE COURT: Your objection is noted and

         18     Miss Seguin, no one interrupted, you’re muted. You’re muted. You’re muted

         19     and you’re going to stay muted. You’re muted. Mr. Gould?

         20                                            ATTORNEY GOULD: Thank you, Judge.

         21     We’ve let this go on for months after months. She brought up an issue relative

         22     to, uh, the Court system. State of Rhode Island Child Support Enforcement, the

         23     Magistrate hearing this case, has no control over that. She’s now filed a Federal

         24     lawsuit in the, uh, District of Texas, Judge. That’s gonna play it’s course ‘cause

         25     she’ll file and follow through on that. This is a simple case of whether or not

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          1     interest is to accrue on this case and what payments were made. It’s simple

          2     math, it’s simple, in, in fact, Judge, there’s maybe five questions I have for the

          3     Defendant, uh, of the Plaintiff relative to this, uh, inquiry. It would be a short

          4     hearing. Uh, whether or not there was any monies paid, what was received, and

          5     the fact that the Court can take Judicial notice of two orders. The fact that

          6     there’s a child support order that continues to run, and two, the fact that interest

          7     has continued to run pursuant to Mag-, pursuant to Judge, uh, John McCann’s

          8     order dated 9/25/2012.

          9                                            THE COURT: Okay, the original support

         10     order was entered May 24th of 2012?

         11                                            ATTORNEY GOULD: That’s when it was

         12     allowed to run on the Child Support system. That was at a period of time when

         13     the arrears were set somewhere in the amount of $30,000.00. I have a copy of

         14     the order. Paragraph four of the May 24th, 2012 order indicates that there was an

         15     arrears of $30,458.00, as of May 24th, 2012. September-

         16                                            THE COURT: And am I, am-

         17                                            ATTORNEY GOULD: Sorry.

         18                                            THE COURT: -there were, there was no

         19     appeal taken from that order.

         20                                            ATTORNEY GOULD: Correct.

         21                                            THE COURT: Just a minute, Miss Seguin.

         22     I’m giving Mr. Gould an opportunity to speak, just like I gave you an

         23     opportunity to speak. In that October 23rd, 2012 order, um, there is language that

         24     indicates that interest would continue to run.

         25                                            ATTORNEY GOULD: Correct.

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          1                                           THE COURT: And nothing has changed

          2     since then?

          3                                           ATTORNEY GOULD: There’s been no

          4     order from the Rhode Island Family Court suspending interest. Correct.

          5                                           THE COURT: Miss Seguin?

          6                                           DEFENDANT: I object to every, uh,

          7     statement that Mr. Gould had, uh, stated because they are, um, uh, perjurious.

          8                                           THE COURT: You (inaudible), excuse

          9     me-

         10                                           DEFENDANT: Mr. Gould and Mr.

         11     Langlois-

         12                                           THE COURT: Excuse me, they’re what?

         13                                           DEFENDANT: They are perjuries. Mr.

         14     Gould and Mr. Langlois and the State of Rhode Island representing the Rhode

         15     Island Child Support Office, had, um, per this Court record, there is a document

         16     that say’s that they, that they had said that Gero had waived interest. (Inaudible)

         17     2021 and they made that statement in 2022.

         18                                           THE COURT: Ma’am, there’s no Court

         19     order that ever suspended-

         20                                           DEFENDANT: (Inaudible).

         21                                           THE COURT: -there’s no Court order that

         22     ever set the interest to zero. There’s no Court order. You’ve received everything,

         23     I’ve reviewed the file. There is nothing in the system where it, it was ever

         24     waived or set to zero. The interest has stayed on the system.

         25                                           DEFENDANT: We’re, we’re talking, uh,

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          1     actually on, on February the 10th, 2023, the first Court order of this, of this

          2     decade that was issued has clearly, um, proven as evidence that interest was

          3     taken off of the system. Mr. Gould had taken the interest off of the system, he

          4     said in Court, in 2018. That is what he had said, and so, in, in Court, and

          5     therefore, he has asked the Judge, or the Magistrate, uh, Monaco to put it back

          6     on the record or, uh, Mr., and then Judge, um, uh, Monaco had only put it on

          7     there with prejudice because he said that there’s, that doesn’t mean, that’s just a

          8     placeholder.

          9                                             ATTORNEY GOULD: Objection.

         10                                             DEFENDANT: So, Mr. Gould had lied,

         11     just now, that’s perjury on-

         12                                             THE COURT: Uh-

         13                                             DEFENDANT: -I’m deeply concerned

         14     about this. These, these are documented in the order. The February 10th order

         15     cannot be refuted. It was, it was prepared by Mr. Gould himself. It said that the

         16     Court-

         17                                             THE COURT: I don’t see it.

         18                                             CLERK: I don’t see anything-

         19                                             DEFENDANT: -(inaudible)-

         20                                             THE COURT: -hold on, hold on. I’d, I’d

         21     like to review that order and I, I don’t see it.

         22                                             CLERK: I don’t see anything filed from

         23     2013-

         24                                             ATTORNEY GOULD: I’d like to be heard

         25     on the objection, Judge.

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          1                                            CLERK: -to ’22. I see nothing.

          2                                            DEFENDANT: Well, that’s a problem.

          3                                            THE COURT: Are you saying that, excuse

          4     me, just let me just clarify this. Again, I’m new to the case-

          5                                            DEFENDANT: That was-

          6                                            THE COURT: -you just made-

          7                                            DEFENDANT: -that was-

          8                                            THE COURT: -you just mentioned

          9     Magistrate Monaco heard this and I’m looking for an order from that hearing

         10     and I don’t see one.

         11                                            ATTORNEY GOULD: Since I was

         12     accused of perjury, Judge, can I clarify something?

         13                                            THE COURT: Yeah, Miss Seguin, I’m

         14     gonna give Mr. opportunity, uh, Mr. Gould an opportunity to reply.

         15                                            ATTORNEY GOULD: See, Miss Seguin

         16     is a little confused about how the process is running. That there is an agency and

         17     the Child Support Office is an agency charged with running the child support on

         18     our system. The Court is in charge of ordering parties to pay child support and in

         19     this case, pursuant to the order of Judge McCann back in 2012, he ordered child

         20     support paid. Again in 2012, he ordered interest paid. Our system in 2018, our

         21     system, the Child Support system, not a Court order, our system removed

         22     interest because of an administrative decision, because this case had become an

         23     interstate case, the Plaintiff was out of, the Defendant mother was out of state.

         24     There was a decision to remove interest from cases running on our system. That

         25     doesn’t mean that the interest doesn’t run. It meant that the interest was removed

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          1     from our system, so that other jurisdictions were not confused, and it had to do

          2     with, a lot of it, the, the fact that jurisdictions had different interest rates running.

          3     So, in order to alleviate any confusion, our Administrator made a determination

          4     to stop interest on all, uh, stop interest running on our system, not stop interest

          5     pursuant to a Court order. So, that’s the distinction. So, when I said earlier today

          6     that there’s no order that, uh, stopped the interest on the case, there is no order,

          7     and then the other statement that, uh, the Plaintiff made, uh, Defendant made

          8     relative to, um, the issue of prejudice of Judge Monaco’s order, that’s an

          9     outright lie, Judge. Judge Monaco never said in Court, there’s no Court order

         10     that is without, or with prejudice, Judge. So, that’s just an outright lie. I’ll leave

         11     it at that because I know I’ll have another twenty minutes of, of rambling on by

         12     the Defendant. So, I’ll (inaudible)-

         13                                              THE COURT: Well, just, just to be clear, I

         14     just want both sides to, to, to know, I don’t see anything in the system reflecting,

         15     um, any, any decision by Magistrate Monaco in May of this year. I don’t see-

         16                                              DEFENDANT: Uh, February, February,

         17     February of this year. So, February the 10th. February the 10th. This I why at the

         18     same time the discovery was ordered, and this is why we are here on discovery

         19     issues, as well, because it was ordered without, sorry, it was placed on the

         20     system and the interest is WITH prejudice.

         21                                              ATTORNEY GOULD: No, Judge, I object

         22     to that, that is not true. That is as far as the truth can be, Judge.

         23                                              DEFENDANT: Perjury, perjury-

         24                                              THE COURT: So, excuse me, hold on,

         25     hold on, folks. I just found the order now that I just see that. It’s February 10th,

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          1     paragraph four, “The Court finds the arrears of $81,652.46 that’ll be placed on

          2     the ledger without prejudice to the June 8th hearing. The arrears reflect interest

          3     on the child support in the amount of $75,623.71 and interest of the medical

          4     support in the amount of $6028.75”.

          5                                             ATTORNEY GOULD: So, Judge, is her

          6     comments about prejudice, is that perjury? So, did she just commit perjury,

          7     Judge, because I wasn’t under oath, but I’ll let that go.

          8                                             DEFENDANT: The order, the order

          9     clearly says that the-

         10                                             THE COURT: That it was placed, that it

         11     was placed on the ledger without prejudice. That’s all, that’s all it says. It was-

         12                                             DEFENDANT: Which means-

         13                                             THE COURT: -placed on the ledger-

         14                                             DEFENDANT: -it means, it means it’s not

         15     owed.

         16                                             THE COURT: No, it means, it doesn’t

         17     mean it’s not owed. It, it, it’s, it’s, let’s see, motion to set arrears and discovery

         18     motions were not concluded on that date. Okay, so it was placed on the ledger

         19     without prejudice because it was still an issue that was left open. Am I correct,

         20     Mr., Mr. Gould?

         21                                             ATTORNEY GOULD: Yes, Your Honor.

         22                                             THE COURT: And with that, you may

         23     inquire of Mr. Meyersiek. Thank you.

         24                                             ATTORNEY GOULD: Thank you. First of

         25     all, Judge-

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          1                                            THE COURT: You’re muted. You’re

          2     muted.

          3                                            ATTORNEY GOULD: I’d ask the Court,

          4     I’d ask the Court to take judicial notice of the May 24th, 2012 order by Judge

          5     McCann, in which he established the child support order, in which he establishes

          6     an arrears of $30,458.00. That order was not appealed. That is the order of this

          7     Court.

          8                                            THE COURT: The Court takes judicial

          9     notice entered on May 24th, 2012, from which no appeal was taken.

         10                                            ATTORNEY GOULD: I’d ask the Court

         11     to take judicial notice for the September 25th, 2012 order of Justice John

         12     McCann in which the paragraph four indicates, “Interest will continue to run on

         13     monies due”.

         14                                            THE COURT: Likewise, the Court takes

         15     judicial notice of the September 25th, 2012 order, again, in which no appeal was

         16     taken.

         17                                            ATTORNEY GOULD: Thank you, Judge.

         18     If I could inquire of the Plaintiff?

         19                                            THE COURT: Yes.

         20                                            ATTORNEY GOULD: Mr. Meyersiek,

         21     you had a child support order that ran to your, uh, ran to your benefit in the

         22     amount of $218.00 per week. Is that correct?

         23                                            THE COURT: Can’t hear you, Sir.

         24                                            PLAINTIFF: (Inaudible).

         25                                            THE COURT: Very, very faint. It’s hard to

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          1     hear you.

          2                                          PLAINTIFF: Is this better?

          3                                          THE COURT: Perfect.

          4                                          PLAINTIFF: Okay, good. Sorry. Yes, to

          5     the best of my recollection, that was the amount.

          6                                          ATTORNEY GOULD: Did you ever

          7     receive child support from the Defendant mother directly, after May 24th, 2012?

          8                                          PLAINTIFF: I only received two

          9     payments. I believe one was in 2019 and one was in 2021.

         10                                          ATTORNEY GOULD: So, from-

         11                                          PLAINTIFF: I never, I never received

         12     anything directly.

         13                                          ATTORNEY GOULD: From 2012 to

         14     2018, you received nothing in child support, correct?

         15                                          PLAINTIFF: Not a single penny.

         16                                          ATTORNEY GOULD: And that was a

         17     time when the child was a minor, correct?

         18                                          PLAINTIFF: Correct.

         19                                          ATTORNEY GOULD: That was during a

         20     period of time when you could’ve used the money for the child, correct?

         21                                          PLAINTIFF: That is absolutely correct.

         22                                          ATTORNEY GOULD: And you received

         23     nothing, correct?

         24                                          PLAINTIFF: That is correct, and I

         25     should’ve had, I had to send my daughter to a school, I had to pay for every

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          1     meal, I had to pay for her clothing, I had to pay for everything.

          2                                           ATTORNEY GOULD: You received a

          3     payment sometime in 2018 in the amount of $6,461.95, correct?

          4                                           PLAINTIFF: That is correct.

          5                                           ATTORNEY GOULD: And then you

          6     received a payment in 2021, on or about 12/9 for 2021, in the amount of

          7     $4,185.98, is that correct?

          8                                           PLAINTIFF: I don’t recall the exact

          9     amount.

         10                                           ATTORNEY GOULD: Does that number

         11     refresh your memory somewhat?

         12                                           PLAINTIFF: Yes, it does.

         13                                           ATTORNEY GOULD: Are you looking to

         14     collect interest that accrued on that money from, from, I’m sorry, from May

         15     202-, May 24th, 2012 up until today’s date?

         16                                           PLAINTIFF: Yes.

         17                                           ATTORNEY GOULD: Did you make any

         18     contracts, agreements with Miss Seguin outside Court that indicated that you

         19     were going to waive interest?

         20                                           PLAINTIFF: Absolutely not.

         21                                           ATTORNEY GOULD: I have no further

         22     questions of the Plaintiff.

         23                                           PLAINTIFF: Thank you.

         24                                           DEFENDANT: Uh, Your Honor, I have

         25     been unable to object to anything because, uh, I was put on mute, but-

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          1                                           THE COURT: Okay, well, we can note

          2     your objection now.

          3                                           DEFENDANT: The, the, uh, at the last

          4     hearing, uh, as well as, uh, the, uh, hearing before you were, uh, appointed, uh,

          5     by the, uh, Judge, uh, in June 2023, we were on a motion to compel. So,

          6     therefore, I do not have, based on discovery, discovery has not been completed.

          7     Therefore, I am not ready to present the, uh, evidence and present the

          8     arguments.

          9                                           THE COURT: What, uh, what specifically,

         10     what are you seeking in discovery that you haven’t received yet?

         11                                           DEFENDANT: I have, uh, as you can see,

         12     I have that motion, uh, that is pending, that has been pending since June of 2023,

         13     to compel production relative to my, uh, request for documents. I, I have a

         14     pending motion-

         15                                           THE COURT: You, you, you received all

         16     of the Court documents.

         17                                           DEFENDANT: No-

         18                                           THE COURT: What out, what outside of

         19     the Court documents are you seeking in discovery?

         20                                           DEFENDANT: I’m seeking based on my,

         21     uh, on the Court record that would show that I’m seeking my case file.

         22                                           THE COURT: You have-

         23                                           DEFENDANT: I’m entitled-

         24                                           THE COURT: -you, no, no.

         25                                           DEFENDANT: I do not have a, my case

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          1     file-

          2                                            THE COURT: You do have your case file.

          3                                            DEFENDANT: -I do not have my-

          4                                            THE COURT: It was scanned-

          5                                            DEFENDANT: I do not!

          6                                            THE COURT: -and sent to you as you

          7     already acknowledged by Mr. Santamaria in numerous emails. The entire Court

          8     file was scanned in and sent to you.

          9                                            DEFENDANT: Oh, you’re talking about

         10     the Court file. I’m talking about my child support case file. I’m entitled under

         11     Federal law to have access to my Federal, my child support case file, and that’s

         12     the discovery that’s being ordered. I have not been able, they have denied, on

         13     paper, which is submitted within this Court record. The Court record shows that

         14     they have, uh, refused, uh, uh, raising all kinds of issues to produce my child

         15     support case record.

         16                                            ATTORNEY GOULD: Objection.

         17                                            DEFENDANT: Under Federal law, under

         18     the Federal law, under Title IV of the Social Security Act, which is what this

         19     process and this legal hearing is under-

         20                                            ATTORNEY GOULD: Objection.

         21                                            DEFENDANT: -(inaudible) under-

         22                                            THE COURT: Alright, what’s-

         23                                            DEFENDANT: I have rights.

         24                                            THE COURT: -what’s the basis of your

         25     objection-

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          1                                            DEFENDANT: -I have a Federal rights-

          2                                            THE COURT: -Mr. Gould?

          3                                            DEFENDANT: -(inaudible), I have a

          4     Federal right to my child support case file.

          5                                            THE COURT: Hold on, Ma’am. He

          6     objected and I wanna know the basis of his objection.

          7                                            ATTORNEY GOULD: Relevance to the

          8     issue before the Court, Judge. The issue before the Court is interest. The motions

          9     that she’s alleging that she’s pursuing, the State file appropriate objections to her

         10     discovery request. So, she needs a hearing on it instead of her other diversions

         11     that she’s had at the last nine months. We could’ve addressed these, Judge, but

         12     we wanna keep pushing this off and pushing this off. So, the State has filed, the

         13     State has responded to the discovery. I’ve had a conference with Miss Seguin, at

         14     one point, to try to go over some of our disputes with regard to, with regard to

         15     discovery. Uh, that did not turn out to be very productive. Uh, I have stated, uh,

         16     on my, on her requests, uh, all the basis for our objections and I’m ready to

         17     argue those objections, when she puts forth specific allegations, specific

         18     documents in the specific request that she’s looking for, but until then, Judge,

         19     this is a real simple case of about whether or not this lady paid child support and

         20     whether or not this gentleman is entitled to interest-

         21                                            DEFENDANT: Objection.

         22                                            ATTORNEY GOULD: -the Court has-

         23                                            DEFENDANT: Objection.

         24                                            ATTORNEY GOULD: -the Court has-

         25                                            THE COURT: (Inaudible).

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          1                                            ATTORNEY GOULD: -filed-

          2                                            DEFENDANT: Fundamentally, in order to

          3     claim that I owe anything, I have a right to my child support case file under

          4     Federal law.

          5                                            THE COURT: Ma’am, what’s this-

          6                                            DEFENDANT: I have-

          7                                            THE COURT: -what’s specific document-

          8                                            DEFENDANT: -(inaudible)-

          9                                            THE COURT: -what specific document-

         10                                            DEFENDANT: -since ’21-

         11                                            THE COURT: Ma’am, Ma’am, Ma’am, if

         12     you keep yelling over me and over the Attorneys, this is not going to be

         13     productive. I’m trying to just narrow this down to the specific piece of

         14     information that you’re seeking.

         15                                            DEFENDANT: I am, Your Honor, I need

         16     to have my entire case file. I, I have, the Court order-

         17                                            THE COURT: Do you, do you-

         18                                            DEFENDANT: -on February the 10th

         19     ordered discovery. There were, by law, my right is to have my entire case file,

         20     and, and by Federal Court, Federal law, I am entitled to have my entire case file.

         21     Child support interstate encompasses, and this is an interstate case, encompasses

         22     Federal law. It encompasses Texas law, because you are reaching your, your

         23     long arm into the State of Texas. Therefore, I am entitled, by Federal law, and

         24     by Texas law, as well as Rhode Island law, to have access to my child support

         25     file.

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          1                                            THE COURT: Thank you Miss, Thank

          2     you, Miss Seguin. Mr. Gould-

          3                                            DEFENDANT: (Inaudible) Mr. Gould-

          4                                            THE COURT: -what, what is the, what is

          5     the State’s objection-

          6                                            ATTORNEY GOULD: Rel-, well for the

          7     most part-

          8                                            THE COURT: -to give-

          9                                            ATTORNEY GOULD: -relevance, Judge.

         10     She’s, she is not gonna use the documents that she’s requesting, in this case,

         11     when she, when the documents you’re requesting is what she is the target for in

         12     her Federal case. So, she’s not gonna use me as a pawn to get, to do her

         13     discovery in her Federal case. This is a simple issue of child support, simple

         14     issue of payments, but what she’s trying to do is she tried to do her discovery,

         15     her Federal discovery in this child support case. So, what I did is I laid out in, in

         16     our responses, our objections, based on relevance. So, again, again, we went

         17     another ten minutes of her for asking for certain, a multitude of documents

         18     without her saying one specific document that she wants, one specific item, one

         19     specific request for production that she’s, we can do this, Judge. We can go for

         20     another twenty minutes and do the same thing, but until she gets her eyes on a

         21     piece of paper and looking at her motions and going word by word, and until we

         22     can do that, Judge, I, we can’t go anywhere. I’ve, I’ve stated our objection-

         23                                            THE COURT: Well, that, I’m, I’m trying,

         24     you know, I’m trying to work with you, Miss Seguin, to see if you can narrow it

         25     down to a specific, a specific issue or a specific document that you believe

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          1     supports you and your contention that at some point, there was an agreement or

          2     there was an order that waived the interest, but to be going on a fishing

          3     expedition and insist that the State, uh, provide you with your case file, um, you

          4     know-

          5                                            DEFENDANT: Your, Your Honor,

          6     discovery is to get my entire case file. I think that is something Federal law

          7     guarantees, and it says so from 42 USC Section 654, all the way to 666. That

          8     law luminous, uh, Federal law, codified by Congress, provides everyone in the

          9     country the right to access all the case file, child support case file, maintained by

         10     every and any State Government, and that is, I’m not the, eh, the, Congress has

         11     never said that’s sufficient expedition (?). Congress has said, you’re allowed to

         12     have your entire case file and from there on, you’re even allowed to ask

         13     questions. Why was this, why was, that’s the due process and that is the equal

         14     protection, and that is the Privileges and Immunities Clause that we’re all

         15     guaranteed and living under. This is an interstate case. I am entitled by the

         16     Constitution and by Federal laws 654 to 666 to have access to my entire file. I

         17     cannot, I am unable, no custodial parent or non-custodial parent is able, that’s

         18     mentioned in the Social Security Act, would be un-,would be able to actually

         19     identify, say this is the document I’m asking for, but they don’t have access to,

         20     to the file.

         21                                            THE COURT: Ma’am, you have access to

         22     all of the Court orders.

         23                                            DEFENDANT: I-

         24                                            THE COURT: The Court-

         25                                            DEFENDANT: But I-

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          1                                            THE COURT: -the Court, the Court is

          2     what establishes the, the child support order, the arrears order, and interest goes

          3     along with that, Ma’am. So-

          4                                            DEFENDANT: You’re talking about this

          5     agreement that we’re deal, talking about. Agreement that you just mentioned

          6     that, Your Honor, deals with my case file and this is the case file I am, by law,

          7     by the (inaudible), by Federal law, by Texas law, and by Rhode Island law,

          8     entitled to have access to, and Mr. Gould and the Child Support, uh, Services

          9     and, uh, of Human Services denies me both, all denying me access to those. So,

         10     I am again, asking for that. I will ask in every possible jurisdiction for those

         11     because I am entitled, by law, at least three jurisdictions. By Texas law, by

         12     Federal law-

         13                                            THE COURT: Thank you.

         14                                            DEFENDANT: -and by Rhode Island law.

         15                                            THE COURT: Thank you-

         16                                            DEFENDANT: Nevermore-

         17                                            THE COURT: -Mr. Gould? Thank you.

         18     Okay, you’ve, you’ve you’ve made your point. I understand what your argument

         19     is. Mr. Gould?

         20                                            ATTORNEY GOULD: Judge, I went

         21     another, I think, ten minutes, maybe nine minutes that time. I still don’t know

         22     what she’s looking for. Uh, it’s a motion to compel. If, if that’s what she wanted,

         23     then let’s have the motion to compel. Let’s hear that. Maybe, maybe she could

         24     put those thoughts into words again and maybe come up with a plan that she

         25     wants for this discovery, Judge, but what we’re doing now is wasting your time,

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          1     and wasting my time, and we’re not getting anywhere. So, we’ve provided her

          2     volumes upon volumes of documents relative to her case. She had specific

          3     questions that I objected to. The, the objections were timely. We had a

          4     conference, we went through them. After the conference, I had not heard

          5     anything from Miss, uh, Seguin. We’ve gone through, I think, since February,

          6     five or six appearances, a couple before you. I, I could, that, that could be an

          7     exaggeration. It could’ve been four, uh, but we’ve been before the Court and,

          8     and we’ve come with other issues every time and we continue this and continue

          9     this. Judge, again, in order to have equity, you have to have clean hands, and this

         10     is a person who has failed to comply with THIS Court’s orders. Not the

         11     Constitution, not the Texas law, not the, not the Congress law. This is someone

         12     who has failed to comply with your orders, with your Court’s orders on a

         13     specific matter-

         14                                            DEFENDANT: Objection.

         15                                            ATTORNEY GOULD: -with child support

         16     with a very-

         17                                            DEFENDANT: Ob, objection.

         18                                            ATTORNEY GOULD: -very basic needs

         19     of a child-

         20                                            DEFENDANT: Objection.

         21                                            ATTORNEY GOULD: -and we’re gonna

         22     give-

         23                                            THE COURT: I’m gonna, I’m gonna, I’m

         24     going to allow him to speak, just like I allowed you to speak. Mr., Mr. Gould,

         25     continue.

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          1                                            ATTORNEY GOULD: I, I’ve said

          2     enough, Judge.

          3                                            DEFENDANT: Objection.

          4                                            THE COURT: Again, the Court, the Court

          5     takes judicial notice of both the May 24th, 2012 Court order, as well as the

          6     subsequent September 25th, 2012 Court order. Um, there was, um, no appeal,

          7     um, taken from either one of those Court orders. With respect to, um-

          8                                            DEFENDANT: Objection. Objection,

          9     Your Honor.

         10                                            THE COURT: Your objection is noted,

         11     thank you very, thank you, your objection is noted.

         12                                            DEFENDANT: He, he-

         13                                            THE COURT: Mr. Gould, what is the

         14     specific, uh, amount of interest that, um, is, uh, should be on the system? Is it

         15     $81,652.49?

         16                                            ATTORNEY GOULD: Yes, Judge.

         17                                            THE COURT: Okay, and was that the

         18     amount that was, um, placed on the system back in February?

         19                                            ATTORNEY GOULD: Correct, Judge.

         20                                            THE COURT: The Court finds-

         21                                            ATTORNEY GOULD: That number

         22     (inaudible)-

         23                                            THE COURT: -the Court finds that that is,

         24     based on no, absolutely no evidence to the contrary, that that is the amount, um,

         25     that should be set on this as of today, today’s date.

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          1                                           ATTORNEY GOULD: Thank you, Your

          2     Honor.

          3                                           DEFENDANT: Objection.

          4                                           THE COURT: Your objection is noted. I

          5     gave my ruling.

          6                                           DEFENDANT: May, Your Honor, Your

          7     Honor-

          8                                           THE COURT: I’ve made my ruling.

          9                                           DEFENDANT: - I would like to place on

         10     the record that I have not been able to complete the discovery that there, that the,

         11     uh, the, uh, Child Support Agency had placed on the record that there is an

         12     agree-, asking about an agreement. I have not been able to cross examine the

         13     Defendant. That is a violative of due process-

         14                                           THE COURT: Sir, you can, Sir-

         15                                           DEFENDANT: -because my, I have-

         16                                           THE COURT: Ma’am, Ma’am, Ma’am-

         17                                           DEFENDANT: -the right to examine-

         18                                           THE COURT: -if you have any questions-

         19                                           DEFENDANT: -(inaudible)-

         20                                           THE COURT: -for Mr. Meyersiek, feel

         21     free to, feel free to ask him.

         22                                           DEFENDANT: So, therefore, we are now

         23     vacating your prior decision-

         24                                           THE COURT: No, we’re not! No, we’re

         25     not!

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          1                                           DEFENDANT: -because we, because we

          2     are, we have not gone through due process in terms of my asking, be able to

          3     cross examine the Defendant. I’m sorry, the Plaintiff, the opposing party. I, I

          4     would like to ask for my witness, Mr. Gould, to be, to the witness stand.

          5                                           THE COURT: Mr. Gould-

          6                                           ATTORNEY GOULD: Objection, Judge.

          7                                           THE COURT: Mr. Gould is not, is not a

          8     witness.

          9                                           DEFENDANT: The State. The State, on

         10     the State of Rhode Island and he represents the State of Rhode Island. He was

         11     instrumen-, he had communicated with me prior to this particular proceeding,

         12     the start of proceeding in 2022, by email, by conversation, and with John

         13     Langlois. So, that’s my witness. I’d like to put on the stand, as my witness-

         14                                           THE COURT: Today, the matter before-

         15                                           DEFENDANT: -regarding-

         16                                           THE COURT: -the matter before the

         17     Court-

         18                                           DEFENDANT: -regarding-

         19                                           THE COURT: -is a motion to set-

         20                                           DEFENDANT: -the waiver of interest-

         21                                           THE COURT: -to set arrears-

         22                                           DEFENDANT: -regarding-

         23                                           THE COURT: Ma’am, Ma’am-

         24                                           DEFENDANT: -the waiver of interest-

         25                                           THE COURT: Ma’am, I’m gonna mute

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          1     you again. The matter before the Court today is simply a motion to set arrears.

          2     We set the arrears, there’s nothing further before the Court. If you wanna file a

          3     different motion, feel free to do so, but this matter is concluded with your arrears

          4     being set at $81,652.49.

          5                                             DEFENDANT: Your, unmute, am I

          6     unmuted?

          7                                             THE COURT: No. Yeah.

          8                                             DEFENDANT: Am I unmuted? Uh, I am

          9     filing, I am asking for, um, uh, reconsideration because there is, I have not, I’ve

         10     been, uh, uh, barred, obstructed from presenting evidence. I’d like to play, uh,

         11     the audio recording of the waiver of interest.

         12                                             THE COURT: Today is the motion to set

         13     the, to set the interest.

         14                                             DEFENDANT: And that’s my defense-

         15                                             THE COURT: The motion to set arrears,

         16                                             DEFENDANT: -my defense is, I would

         17     like to play the recording of the waiver of interest that the State had represented

         18     that Gero had done. If I’m obstructed from, uh, providing evidence and we have

         19     a due process issue in this proceeding. I have not been, I want to present

         20     evidence, I want to cross examine the witness, I want to pro-, I want to call my

         21     witness and I have a right to do so-

         22                                             THE COURT: Ma’am, if you want to do

         23     that, this is not, this is not the forum for that. I can do that in another proceeding.

         24                                             DEFENDANT: Yes, it is! Yes, it is-

         25                                             THE COURT: Uh, well, I respectfully dis-

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          1     agree with you.

          2                                             DEFENDANT: -because we are here-

          3                                             THE COURT: I respectfully disagree-

          4                                             DEFENDANT: -to establish, we are here

          5     to establish, we’re here supposedly to establish interest and I am presenting

          6     evidence that interest was waived.

          7                                             THE COURT: Interest was not waived in

          8     any Court order and that is the basis upon which-

          9                                             DEFENDANT: It was waived-

         10                                             THE COURT: -I made my decision today.

         11                                             DEFENDANT: -(inaudible)-

         12                                             THE COURT: Ma’am, Ma’am-

         13                                             DEFENDANT: -it was waived-

         14                                             THE COURT: -I’m muting you because

         15     you don’t let me speak. There is no Court order by this Court by any Magistrate

         16     or Judge that waived or set the interest to zero. It is still in the system, and that is

         17     why today I am going to establish that the interest owed by you on this account

         18     is set at $81,652.49. There was no Court order to the contrary. This matter is

         19     now concluded.

         20                                             DEFENDANT: I am now, I am now

         21     raising the issue, uh, that interest was waived by contract and agreement-

         22                                             THE COURT: Ma’am, I, Ma’am-

         23                                             DEFENDANT: -with Gero Meyersiek-

         24                                             THE COURT: -I, I just, Ma’am-

         25                                             DEFENDANT: -and this is all part of the-

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          1                                              THE COURT: -I just gave you the

          2     reasoning-

          3                                              DEFENDANT: -(inaudible) process-

          4                                              THE COURT: -for the Court’s decision is

          5     based on the fact that the Court file is void of any order or judgement that

          6     waived the interest of set it to zero.

          7                                              DEFENDANT: Also, the interest rate of

          8     12% compounding interest is illegal under, uh, Social Security Act. They have

          9     put out-

         10                                              THE COURT: Well, that’s the interest rate

         11     that-

         12                                              DEFENDANT: -12% compound interest-

         13                                              THE COURT: -that’s been established-

         14                                              DEFENDANT: -that is illegal under-

         15                                              THE COURT: -by the State of Rhode

         16     Island.

         17                                              DEFENDANT: -Federal law, which

         18     preempts Rhode Island law.

         19                                              THE COURT: Thank you very much, Miss

         20     Seguin-

         21                                              DEFENDANT: I just wanna make sure

         22     that-

         23                                              THE COURT: Your objection is moted.

         24                                              DEFENDANT: -(inaudible)-

         25                                              THE COURT: Thank you very much-

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          1                                            DEFENDANT: -(inaudible)-

          2                                            THE COURT: -Mr. Meyersiek-

          3                                            DEFENDANT: -also entitled-

          4                                            THE COURT: -Attorney Gould-

          5                                            DEFENDANT: -to see Judge created laws

          6     on these, this issue. I have been prevented from accessing those. There’s

          7     (inaudible) public records (inaudible)-

          8                                            THE COURT: Ma’am, we gave you every

          9     Court record you requested.

         10                                            DEFENDANT: -Federal-

         11                                            THE COURT: You requested-

         12                                            DEFENDANT: -that was all Judge

         13     created-

         14                                            THE COURT: -you requested the Court

         15     file-

         16                                            DEFENDANT: -laws. (Inaudible) 12%

         17     compounding interest-

         18                                            THE COURT: -for a number of years. I’m

         19     not going to let you yell at me.

         20                                            DEFENDANT: Why-

         21                                            THE COURT: You’re not going to talk

         22     over me.

         23                                            DEFENDANT: Why-

         24                                            THE COURT: This hearing is concluded.

         25     Thank you very much.

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          1                                            ATTORNEY GOULD: Thank you, Judge.

          2                                            DEFENDANT: I object and raise that the-

          3                                            THE COURT: Thank you-

          4                                            DEFENDANT: -interest, as well-

          5                                            THE COURT: Thank you.

          6                                            DEFENDANT: -and compound interest is

          7     illegal-

          8                                            ATTORNEY GOULD: Thank you, Judge.

          9                                            DEFENDANT: I’m looking to appeal this

         10     to the Judge, Miss, uh, Your Honor, Magistrate-

         11                                            THE COURT: And you’re, and you’re free

         12     to do so.

         13                                            DEFENDANT: And I’m doing that on an

         14     oral basis, so here are-

         15                                            THE COURT: You can file that with the

         16     Clerk-

         17                                            DEFENDANT: -I am doing that orally-

         18                                            THE COURT: You can file that with the

         19     Clerk. I will make a notation.

         20                                            DEFENDANT: -this is an oral motion, an

         21     oral motion, this is an oral motion-

         22                                            THE COURT: Thank you.

         23                                            DEFENDANT: -to-

         24                                            THE COURT: It’s noted.

         25                                            DEFENDANT: -appeal the Magistrate’s

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          1     order-

          2                                             THE COURT: Your appeal from my

          3     decision is noted. It will be put in the order.

          4                                             DEFENDANT: -for a hearing, there was

          5     no hearing on this, there was no trial on this, no trial was provided. I was

          6     prevented from, uh, from, uh, from, uh, from presenting evidence-

          7                                             THE COURT: And you may appeal my

          8     decision-

          9                                             DEFENDANT: -(inaudible) audio

         10     recording-

         11                                             THE COURT: -to a Famiy Court Justice.

         12     Thank you very much.

         13                                             DEFENDANT: I’m appealing it. I, I have

         14     appealed it orally, now.

         15                                             CLERK: Nope, can’t do that.

         16                                             THE COURT: You have to file an appeal

         17     yourself in the Clerk’s office.

         18                                             CLERK: And she has to pay for a

         19     transcript-

         20                                             DEFENDANT: According to Turner

         21     versus Rodgers, another U.S. Supreme Court case, I am entitled to not have to

         22     do a, uh, a written motion. I can do an oral motion for an appeal to a, uh, to, to

         23     the Jus-, Judge, uh, at iss-, that’s, uh, of issue and I’m requesting a hearing date

         24     for that appeal.

         25                                             CLERK: Sorry, that goes before a Judge.

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          1                                            DEFENDANT: Clerk (inaudible)-

          2                                            THE COURT: That has to go before a

          3     Family Court Judge.

          4                                            CLERK: Only the Office can give appeal

          5     dates, and there’s a process and she has to order a transcript, and pay for it,

          6     before that transcript will even be typed out.

          7                                            THE COURT: Miss Seguin, did you hear

          8     the Clerk?

          9                                            DEFENDANT: Who is the, uh, who is the,

         10     uh, the Scribe for this, the, uh, Stenographer? So, today, I wanna make very

         11     clear, you all know you’re establishing this Court, um, establishing interest and

         12     what you’re also saying is that the, the, uh, the interest was supposedly

         13     established but you’re reestablishing interest?

         14                                            THE COURT: I’ve made my ruling-

         15                                            DEFENDANT: There’s no-

         16                                            THE COURT: -I’ve made my ruling-

         17                                            DEFENDANT: -(inaudible)-

         18                                            THE COURT: -Miss Seguin, I’ve made

         19     my ruling. You’ve indicated you’re interest in appealing. That is noted for the

         20     record. We have other cases that are waiting to be heard. Thank you very much

         21     and-

         22                                            DEFENDANT: I’m looking to-

         23                                            THE COURT: -you’re free to follow up-

         24                                            DEFENDANT: -as a pro se litigant-

         25                                            THE COURT: -however you see fit. Thank

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          1     you so much.

          2                                            DEFENDANT: -I’m looking to-

          3                                            THE COURT: I understand that and thank

          4     you.

          5                                            DEFENDANT: -understand what the

          6     Court order will say.

          7                                            THE COURT: Thank-

          8                                            DEFENDANT: What will the Court order

          9     say? What will the Court order say?

         10                                            THE COURT: Mr. Gould will draft the

         11     Court order for my signature, and you’ll receive a copy of it. Thnak you very

         12     much.

         13                                            DEFENDANT: Now, what would it, what

         14     would it, so that we’re all clear, so I can also put on the record any objections.

         15     The objection, so, you’re-

         16                                            THE COURT: Miss Seguin-

         17                                            DEFENDANT: -ordering reestablishment

         18     because that’s the motion. The motion is to reestablish interest.

         19                                            THE COURT: It’s not reestablish.

         20                                            DEFENDANT: And-

         21                                            THE COURT: It’s set arrears. That was the

         22     motion, to set arrears. The arrears are the interest that you owe on the case,

         23     Ma’am, and this hearing is over.

         24                                            DEFENDANT: So, you are-

         25                                            THE COURT: I’m going to end the

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          1     hearing-

          2                                           DEFENDANT: -you are (inaudible)-

          3                                           THE COURT: You are not going to talk

          4     over me. The hearing is over. You can file your appeal. Thank you very much.

          5     Have a good day.

          6                                           DEFENDANT: I would like to put on the

          7     record-

          8                                           THE COURT: The hearing is over,

          9     Ma’am.

         10                                           DEFENDANT: -um, my appeal.

         11                                           THE COURT: The hearing is over. You

         12     can’t cont-

         13                                           DEFENDANT: I would like to put on the

         14     record for the appeal, because the appeal is critically important.

         15                                           THE COURT: I understand that.

         16                                           DEFENDANT: The appeal basically-

         17                                           THE COURT: We’re not, no, we’re not

         18     going to hear your appeal now.

         19                                           DEFENDANT: You don’t have-

         20                                           THE COURT: We’re not going to hear

         21     your appeal now.

         22                                           DEFENDANT: You don’t have, this Court

         23     does not have jurisdiction-

         24                                           THE COURT: You’ve noted you’re

         25     objection, you’ve noted your objection, you’re not going to argue your appeal

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          1     now and you’re not gonna talk over me, okay. I’ve made my ruling. You

          2     disagree with it. You have a right to appeal and the hearing is over, okay. You’re

          3     not going to argue your appeal here. You don’t like my decision, you don’t

          4     agree with my decision, and the hearing is over, because there’s nothing left to

          5     discuss. I’m ending this meeting for everyone. I’m ending-

          6                                           DEFENDANT: You-

          7                                           THE COURT: I’m ending the meeting for

          8     everyone.

          9                                           DEFENDANT: The Family Court does not

         10     have jurisdiction-

         11                                           THE COURT: Thank you.

         12                                           DEFENDANT: -over agreements between

         13     Gero and myself-

         14                                           THE COURT: Thank you. I’m ending, I’m

         15     ending the meeting. Thank you.

         16                                           DEFENDANT: I’m putting that on the

         17     record. The Family Court lacks subject matter-

         18                                           THE COURT: Okay.

         19                                           DEFENDANT: -jurisdiction, nor personal

         20     jurisdiction regarding agreements-

         21                                           THE COURT: I’m ending the meeting-

         22                                           DEFENDANT: -between Gero Meyersiek-

         23                                           THE COURT: -for everyone.

         24                                           DEFENDANT: -and myself-

         25                                           THE COURT: Thank you, Mr. Meyersiek-

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          1                                        DEFENDANT: -and that was a question-

          2                                        THE COURT: -thank you, Mr. Gould-

          3                                        DEFENDANT: -Mr. Gould had posed-

          4                                        THE COURT: Thank you very much. I’m

          5     ending the meeting for everyone.

          6                                        DEFENDANT: In-

          7

          8

          9                                        HEARING CONCLUDED.

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                                                 PUBLISHED

                    UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT


                    JIM HODGES, in his official capacity      
                    as Governor of the State of South
                    Carolina; JEAN HOEFER TOAL, in her
                    official capacity as Chief Justice of
                    South Carolina; SOUTH CAROLINA
                    DEPARTMENT OF SOCIAL SERVICES;
                    STATE OF SOUTH CAROLINA; PEOPLE OF
                    SC, on Behalf of the State of South
                    Carolina; JOHN DOE; JANE DOE, and
                    those similarly situated,
                                     Plaintiffs-Appellants,
                                      v.                              No. 00-2512
                    TOMMY G. THOMPSON, SECRETARY,
                    UNITED STATES DEPARTMENT OF
                    HEALTH AND HUMAN SERVICES; WADE
                    F. HORN, Ph.D. in his official
                    capacity as Assistant Secretary of
                    the United States Department of
                    Health and Human Services for
                    Children and Families; U.S.
                    DEPARTMENT OF HEALTH & HUMAN
                    SERVICES,
                                   Defendants-Appellees.
                                                              
                               Appeal from the United States District Court
                              for the District of South Carolina, at Columbia.
                    Julian Abele Cook, Jr., Senior District Judge, sitting by designation.
                                             (CA-00-2048-3-17)

                                            Argued: December 6, 2001

                                           Decided: November 15, 2002
Case:
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                    2                       HODGES v. THOMPSON
                        Before WIDENER, NIEMEYER, and MOTZ, Circuit Judges.



                    Affirmed by published per curiam opinion.


                                                COUNSEL

                    ARGUED: Marcus Angelo Manos, NEXSEN, PRUET, JACOBS &
                    POLLARD, L.L.C., Columbia, South Carolina, for Appellants. Greg-
                    ory George Katsas, Appellate Staff, Civil Division, UNITED
                    STATES DEPARTMENT OF JUSTICE, Washington, D.C., for
                    Appellees. ON BRIEF: Wilburn Brewer, Jr., NEXSEN, PRUET,
                    JACOBS & POLLARD, L.L.C., Columbia, South Carolina; A.E.
                    Dick Howard, Charlottesville, Virginia, for Appellants. Stuart E.
                    Schiffer, Acting Assistant Attorney General, Scott N. Schools, United
                    States Attorney, Jacob M. Lewis, Peter J. Smith, Appellate Staff,
                    Civil Division, UNITED STATES DEPARTMENT OF JUSTICE,
                    Washington, D.C., for Appellees.


                                                 OPINION

                    PER CURIAM:

                       The Governor of South Carolina appeals the grant of summary
                    judgment to the Secretary of the United States Department of Health
                    and Human Services in the State’s action seeking injunctive and
                    declaratory relief from conditions imposed for federal funding of the
                    Temporary Assistance to Needy Families (TANF) program.

                       South Carolina challenges the district court finding that Congress
                    acted within its Spending Clause authority when it conditioned States’
                    receipt of federal funds under the child support enforcement program
                    and the TANF program on compliance with the requirement that
                    States develop and maintain automated child support enforcement
                    systems and that such a condition was not so coercive as to violate
                    the Tenth Amendment. The State further alleges the district court
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                                             HODGES v. THOMPSON                           3
                    erred when it found that the Secretary did not have the discretion to
                    amend the statutory penalty structure for a State’s noncompliance
                    with the child support systems requirements. In addition, South Caro-
                    lina contends the court erred in finding that the State could not invoke
                    the protections of the Due Process Clause. After considering the par-
                    ties’ briefs and the record, and following oral argument, we affirm
                    substantially on the reasoning of the district court.

                                                       I.

                       The district court opinion contains a comprehensive history, the
                    details of which need not be repeated here, of the federal govern-
                    ment’s longstanding involvement in child support enforcement pro-
                    grams and related federal efforts to work with the States to solve the
                    serious problem of nonpayment of child support. See Hodges v. Sha-
                    lala, 121 F.Supp.2d 854 (D.S.C. 2000). Currently, as a condition of
                    receipt of any federal funding under Title IV-D of the Social Security
                    Act, 42 U.S.C. §§ 651-669, States must have an approved state plan
                    for child and spousal support that meets all the requirements of 42
                    U.S.C. § 654. Among the prerequisites for approval of a Title IV-D
                    Plan are the requirements that the State establish and operate an auto-
                    mated data processing and information retrieval system, see 42 U.S.C.
                    § 654(24), and a state child support disbursement unit (SDU), see 42
                    U.S.C. § 654(27)(A). South Carolina concedes that it has neither a
                    federally certifiable statewide automated system for child support nor
                    an SDU. See Hodges, 121 F. Supp. 2d at 861.

                       Without an approved state plan, a State may lose federal funding
                    under both Title IV-D (child support enforcement) and Title IV-A
                    (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alter-
                    natively, a State may opt for an alternative penalty in lieu of disap-
                    proval of their state plan and the withholding of federal funds if the
                    State is making a good faith effort to comply with the program’s
                    requirements and the State has submitted a corrective compliance
                    plan. See 42 U.S.C. § 655(a)(4). South Carolina has elected to incur
                    the alternative penalty.

                       We exercise jurisdiction pursuant to 28 U.S.C. § 1291 and review
                    a district court’s grant of summary judgment de novo. See United
                    States v. Kanasco, Ltd., 123 F.3d 209, 210 (4th Cir. 1997).
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                    4                        HODGES v. THOMPSON
                                                      II.

                       We turn first to South Carolina’s contention that the federal gov-
                    ernment’s requirements and penalties associated with the state-wide
                    automated systems, which South Carolina failed to provide, exceed
                    Congressional authority under the Spending Clause and the Tenth
                    Amendment.

                       Consistent with its Spending Power, Congress may attach condi-
                    tions on the receipt of federal funds. See South Dakota v. Dole, 483
                    U.S. 203, 206 (1987). The Spending Power is not unlimited, of
                    course, and the Supreme Court has recognized four general limita-
                    tions: spending must be in pursuit of the general welfare; any attached
                    conditions must be unambiguous; conditions must also be related to
                    a federal interest; and, the obligations imposed by Congress may not
                    violate any independent constitutional provisions. See Dole, 483 U.S.
                    at 207-08.

                       The district court found that "Congress made a considered judg-
                    ment that the American people would benefit significantly from the
                    enhanced enforcement of child-support decrees and the diminution of
                    the number of parents who are able to avoid their obligations simply
                    by moving across local or state lines." Hodges, 121 F. Supp. 2d at
                    873. Thus, like the district court, we are satisfied that Congress acted
                    in the general welfare when it enacted the child support enforcement
                    programs and the associated funding conditions under Title IV-D.

                       South Carolina’s contention that the Title IV-D conditions are
                    ambiguous is without merit. The statute expressly provides that com-
                    pliance with the automated system and SDU requirements is a condi-
                    tion of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A.
                    We agree with the district court that the clear and unequivocal state-
                    ment of the required conditions in the statute enabled South Carolina
                    to "exercise [her] choice knowingly, cognizant of the consequences of
                    [her] participation." See Dole, 483 U.S. at 207 (citations omitted).

                      A third limitation on the Spending Power requires that conditions
                    "bear some relationship to the purpose of the federal spending." New
                    York v. United States, 505 U.S. 144, 167 (1992) (citing Dole, 483
                    U.S. at 207-08, n.3). Here, there is a complementary relationship
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                                              HODGES v. THOMPSON                             5
                    between efficient child support enforcement and the broader goals of
                    providing assistance to needy families through the TANF program.
                    Establishing paternity and collecting child support may enable fami-
                    lies to reduce their dependence on the welfare system, and both pro-
                    grams are intended to reduce the incidence of poverty among children
                    and families. The Supreme Court has recognized that Congress
                    intended these linkages between child support programs and the
                    TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)
                    (concluding Congress intended the two programs to "operate together
                    closely to provide uniform levels of support for children of equal need").1

                       South Carolina does not contend that the Title IV-D conditions vio-
                    late the fourth limitation on the Spending Power — that the condi-
                    tions violate any independent Constitutional prohibition, rather it
                    raises a Tenth Amendment2 challenge. As we have recently recon-
                    firmed, "the Tenth Amendment itself does not act as a constitutional
                    bar to Congress’s spending power; rather, the fourth restriction on
                    Congress’s spending power stands for the more general proposition
                    that Congress may not induce the states to engage in activities that
                    would themselves be unconstitutional." James Island Pub. Serv. Dist.
                    v. City of Charleston, 249 F.3d 323, 327 (4th Cir. 2001) (citing Kan-
                    sas v. United States, 214 F.3d 1196, 1199 (10th Cir. 2000)) (italics in
                    original). We therefore next consider South Carolina’s Tenth Amend-
                    ment argument, not as a limitation related to the Spending Clause, but
                    as an independent constitutional challenge.

                       South Carolina argues that the coercive effect of the Title IV-D
                    conditions run afoul of the protections of the Tenth Amendment. The
                    Supreme Court has recognized that the Tenth Amendment may be
                    implicated when the financial incentives offered by the federal gov-
                    ernment to the States cross the impermissible line where "pressure
                      1
                         Sullivan considered the relationship between child enforcement pro-
                    grams and Aid to Families with Dependent Children (AFDC). 496 U.S.
                    at 478. TANF is a block grant program established in 1996 as the succes-
                    sor to the AFDC program. See 42 U.S.C. §§ 601-618.
                       2
                         The Tenth Amendment states: "The powers not delegated to the
                    United States by the Constitution, nor prohibited by it to the States, are
                    reserved to the States respectively, or to the people." U.S. Const. amend.
                    X.
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                    6                        HODGES v. THOMPSON
                    turns into compulsion." See Dole, 483 U.S. at 211 (citations omitted).
                    Congress may use its Spending Power to influence a State’s legisla-
                    tive choices by providing incentives for States to adopt certain poli-
                    cies, but may not compel or coerce a State, or go so far as to
                    "commandeer the legislative processes of the States by directly com-
                    pelling them to enact and enforce a federal regulatory program." See
                    New York v. United States, 505 U.S. at 161, but Congress, under the
                    Commerce Clause, may offer the States a choice of regulation under
                    federal control or preemption under federal regulation. See Hodel v.
                    Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264,
                    288 (1981).

                       The district court found that, based on the State’s own admission,
                    the alternative penalty, which South Carolina has now elected, would
                    result in the loss of a small fraction of the State’s TANF funds and
                    that such a proportion was noncoercive. Given the linkages between
                    child support enforcement and aid to needy families and the level of
                    the alternative penalty, we agree with the district court’s conclusion
                    that "the Title IV-D conditions are not so overbearing as to create an
                    unconstitutional compulsion." Hodges, 121 F.2d at 875.

                       South Carolina next contends that the Secretary of the Department
                    of Health and Human Services (HHS) has the discretion to deviate
                    from the alternative penalty structure of Title VI-D in order to
                    respond to the peculiar circumstances that led to South Carolina’s
                    noncompliance. Specifically, South Carolina argues that its inability
                    to comply with the automated system and SDU requirements was
                    caused by the failure of its prime contractor, Unisys, to deliver on its
                    contract with the State. South Carolina maintains that because its non-
                    compliance was no fault of its own and its alternative systems are in
                    substantial compliance with the goals of the statute, the Secretary
                    abused her discretion by refusing to grant South Carolina an evidenti-
                    ary hearing and waive or amend the alternative penalty for noncom-
                    pliance.

                       We have examined the penalty provisions of the statute and, like
                    the district court, cannot find the discretion South Carolina envisions.
                    The wording of the statute is plain. Where the Secretary determines
                    that a state plan would be disapproved, and where the State has made
                    and continues to make a good faith effort to comply and has submit-
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                                              HODGES v. THOMPSON                            7
                    ted a corrective compliance plan, "the Secretary shall not disapprove
                    the State plan . . . and the Secretary shall reduce the amount other-
                    wise payable to the State [by the designated alternative penalty]." 42
                    U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). Again, we agree with
                    the district court that "[b]y the text of the statute, the legislature has
                    prescribed that the Secretary shall enforce this penalty." Hodges, 121
                    F.2d at 879. Absent any discretion available to the Secretary to
                    impose a lesser penalty than the alternative penalty as outlined in the
                    statute, South Carolina’s assertion that it is entitled to an evidentiary
                    hearing must also fail.3

                                                       III.

                       For the foregoing reasons, we are of opinion that the Title IV-D
                    provisions are constitutionally valid under the Spending Clause and
                    the Tenth Amendment and that the Secretary lacks discretion under
                    Title IV-D to deviate from the penalty provisions.

                      The judgment of the district court is accordingly

                                                                                AFFIRMED.

                      3
                       In the district court, South Carolina asserted a Due Process claim
                    which the district court denied. The court concluded that the "State can-
                    not invoke the protections of the Fifth Amendment with claims that [the
                    State] has been harmed." Hodges, 121 F.2d at 865. South Carolina does
                    not take issue with the district court’s holding, but rather, on appeal it
                    asserts that the State is entitled to assert a Due Process claim on behalf
                    of its citizens. Because this contention was never properly presented to
                    the district court, we do not consider it now. See McGowan v. Gillen-
                    water, 429 F.2d 586, 587 (4th Cir. 1970).
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                                              No. 10-10

                      In the Supreme Court of the United States

                                MICHAEL D. TURNER, PETITIONER
                                                   v.
                                    REBECCA L. ROGERS, ET AL.


                                      ON WRIT OF CERTIORARI
                             TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL




                                                        NEAL KUMAR KATYAL
                                                         Acting Solicitor General
                                                           Counsel of Record
                                                        TONY WEST
                                                         Assistant Attorney General
                                                        LEONDRA R. KRUGER
                                                         Acting Deputy Solicitor
                                                           General
                      SALLY A. HOWARD                   JOSEPH R. PALMORE
                       Acting General Counsel            Assistant to the Solicitor
                                                           General
                      ROBERT E. KEITH                   LEONARD SCHAITMAN
                       Associate General Counsel        EDWARD HIMMELFARB
                      LISETTE PEDRE MESTRE               Attorneys
                       Attorney                          Department of Justice
                       Department of Health and          Washington, D.C. 20530-0001
                          Human Services                 SupremeCtBriefs@usdoj.gov
                       Washington, D.C. 20201            (202) 514-2217
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                                     QUESTIONS PRESENTED

                          1. Whether the Court has jurisdiction to review the
                      decision of the South Carolina Supreme Court.
                          2. Whether due process requires that the State pro-
                      vide counsel, at its expense, to an indigent parent in a
                      child-support proceeding, when the parent is subject to
                      a civil-contempt order for non-payment that may lead to
                      confinement.




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                      In the Supreme Court of the United States
                                              No. 10-10
                                 MICHAEL D. TURNER, PETITIONER
                                                  v.
                                    REBECCA L. ROGERS, ET AL.


                                      ON WRIT OF CERTIORARI
                             TO THE SUPREME COURT OF SOUTH CAROLINA



                        BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                   SUPPORTING REVERSAL



                                INTEREST OF THE UNITED STATES
                          This case concerns the due process protections that
                      apply in a state civil contempt proceeding for non-
                      payment of court-ordered child support. The state
                      child-support enforcement program at issue in the case,
                      like that in every other State, is part of one of the larg-
                      est cooperative federal-state programs, established un-
                      der the Social Services Amendments of 1974 (1975 Act),
                      Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                      et seq.) (adding Title IV-D to the Social Security Act).
                      The program, which is administered by the Secretary of
                      Health and Human Services (Secretary), provides that
                      States with approved plans for child and spousal support
                      that meet federal requirements are reimbursed by the
                      federal government for 66% of the costs of operating
                      their child-support enforcement programs. 42 U.S.C.

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                      655(a)(2)(C). The United States has a substantial inter-
                      est in the effective and equitable operation of such child-
                      support programs.
                                            STATEMENT
                          1. This case involves proceedings in South Carolina
                      family court to enforce a child-support order entered
                      against petitioner for the support of his and respondent
                      Rogers’ minor child. South Carolina, like every other
                      State, maintains a child-support enforcement program
                      as a condition of receiving federal funding for its Tempo-
                      rary Assistance for Needy Families program. Since
                      Congress first required States receiving federal funds to
                      undertake child-support enforcement efforts, it has
                      shifted its emphasis from a localized, court-based en-
                      forcement approach to centralized and automated ef-
                      forts. South Carolina, however, maintains a localized,
                      court-based approach to child-support enforcement.
                          a. Congress first required States receiving federal
                      funds to establish child-support enforcement programs
                      in 1950, pursuant to the Aid to Families with Dependent
                      Children (AFDC) program. See Social Security Act
                      Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                      quiring States receiving AFDC funds to “provide for
                      prompt notice to appropriate law-enforcement officials
                      of the furnishing of aid to dependent children in respect
                      of a child who has been deserted or abandoned by a par-
                      ent”). In 1968, Congress required States participating
                      in AFDC to create statewide or local “organizational
                      unit[s]” for establishing paternity and collecting child
                      support. Social Security Amendments of 1967, Pub. L.
                      No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                      quired States to “provide for entering into cooperative
                      arrangements with appropriate courts and law enforce-
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                      ment officials * * * to assist” with administration of
                      the program. Id. § 201(a)(1), 81 Stat. 879.
                          b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                      651 et seq., and established the general statutory frame-
                      work that exists today. See 1975 Act § 101(a), 88 Stat.
                      2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                      (describing program). The 1975 Act required States
                      participating in AFDC to “have in effect a plan ap-
                      proved” by the Secretary under Title IV-D and to “op-
                      erate a child support program in conformity with such
                      plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                      lar, each State was required to provide services to locate
                      noncustodial parents and to establish the paternity of,
                      and secure support for, children receiving AFDC bene-
                      fits. 42 U.S.C. 654(4).
                          Under the 1975 Act, AFDC recipients were required
                      to assign their support rights to the State and cooperate
                      in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                      Amounts recovered generally were retained by the State
                      to reimburse it and the federal government for AFDC
                      assistance provided to the child’s family. 42 U.S.C.
                      657(b) (1976). Once assigned, the support obligation was
                      owed to the State and was collectible under all applica-
                      ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                          The Secretary’s regulations implementing the 1975
                      Act reflected a localized, court-centered approach to
                      enforcement. States’ efforts to collect past-due child
                      support were required to include (“as applicable and
                      necessary”): “[c]ontempt proceedings to enforce an ex-
                      tant court order,” court-ordered wage garnishment, and
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                           Congress required States to provide services to non-AFDC families
                      as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                      red to assign their support rights and any child support the State collec-
                      ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                      attachment of real and personal property. 45 C.F.R.
                      303.6 (1975). States were also required to maintain suf-
                      ficient staff (either statewide or locally) to “enforce col-
                      lection of support” by “executing contempt proceedings,
                      wage assignments, obtaining garnishment orders, at-
                      taching real and personal property, criminal prosecution
                      and executing judgments.” 45 C.F.R. 303.20(c)(7)
                      (1975).
                          c. In 1984, Congress found that there remained “a
                      critical lack of child support enforcement,” which had “a
                      critical impact on the health and welfare of the children
                      of the Nation.” Child Support Enforcement Amend-
                      ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                      § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                      required States to adopt laws and procedures providing
                      for, among other things, (i) mandatory wage withhold-
                      ing; (ii) expedited processes for obtaining and enforcing
                      support orders; (iii) state income tax refund intercepts;
                      and (iv) reporting overdue support to consumer credit
                      agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                          Congress ultimately set the federal share of reim-
                      bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                      expanded the availability of matching funds at the 90%
                      level for (optional) State expenditures for automating
                      data processing systems to improve “the monitoring of
                      support payments, the maintenance of accurate records
                      regarding the payment of support, and the prompt pro-
                      vision of notice to appropriate officials with respect to
                      any arrearages in support payments which may occur.”
                      1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                      655(a)(3)(A).
                          d. Congress amended Title IV-D again in 1988 to
                      improve the rate of child-support collection. Family
                      Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                      102 Stat. 2343. Because effective child-support enforce-
                      ment “had long been thwarted by localized enforcement
                      systems that were unable to quickly and effectively
                      track delinquent parents who crossed county and state
                      lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                      (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                      denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                      emphasized centralized, automated record-keeping and
                      information retrieval in order to improve collection
                      rates. In particular, Congress mandated “automated
                      data processing and information retrieval system[s]”
                      that had previously been optional. 1988 Act § 123(a)(C),
                      102 Stat. 2352; 42 U.S.C. 654(24).
                          The Title IV-D regulations were amended after
                      adoption of the 1988 Act. As amended, the regulations
                      omitted specific references to contempt proceedings as
                      required means for enforcing child-support obligations.
                      See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                      pra.
                          e. Finally, Congress made further changes to the
                      child-support enforcement system in the Personal Re-
                      sponsibility and Work Opportunity Reconciliation Act of
                      1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                      which, among other things, replaced AFDC with the
                      block-grant program called Temporary Assistance for
                      Needy Families (TANF).3 Those changes again empha-
                      sized a centralized, automated approach to child-support

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                           Federal financial support remained available for “[e]nforcement of
                      a support obligation” through a variety of means, including contempt
                      citations. 45 C.F.R. 304.20(b)(3)(iv).
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                           The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                      608(a)(7). As before, a custodial parent is required to assign her rights
                      to child support to the State as part of the application for TANF assis-
                      tance. 42 U.S.C. 608(a)(3)(A).
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                      enforcement. The amended statute established detailed
                      requirements for the “statewide automated data pro-
                      cessing and information retrieval systems” made man-
                      datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                      654a(a). Among other things, the system must include
                      a state case registry that includes every child-support
                      case in the State, including the amount of monthly sup-
                      port owed and collected in all cases administered by the
                      state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                      654a(e)(5) (States must “promptly * * * update” case
                      records when circumstances change). The States are
                      required to use their centralized databases “to the maxi-
                      mum extent feasible, to assist and facilitate the collec-
                      tion and disbursement of support payments,” including
                      by establishing wage-withholding orders and sending
                      wage-withholding notices to employers. 42 U.S.C.
                      654a(g)(1); see 42 U.S.C. 666(c).
                          f. Despite the changes in federal law, South Caro-
                      lina maintains a localized, court-based approach to child-
                      support enforcement. It is the only State that does not
                      have a certified automated system. See Office of Child
                      Support Enforcement, U.S. Dep’t of Health & Human
                      Servs., National Status of Automated Child Support
                      Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                      certmap.htm.4
                        4
                          In the 1996 Act, Congress determined that any State that failed to
                      automate its child-support program should incur substantial penalties.
                      42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                      the Department of Health and Human Services’ (HHS) authority to
                      impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                      and subsequently submitted a corrective-action plan and accepted
                      imposition of a penalty retroactive to 1998. The State paid more than
                      $55 million in penalties through 2007. South Carolina Dep’t of Social
                      Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                      http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                          Acting pursuant to express statutory authority, S.C.
                      Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                      partment of Social Services has contracted with county
                      clerks of court across the State to administer its pro-
                      gram. The South Carolina courts have in turn adopted
                      a special rule governing child-support enforcement. See
                      S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                      quires clerks of court to review on a monthly basis “all
                      child support and periodic alimony accounts paid
                      through the clerk of court,” as are all accounts for chil-
                      dren whose custodial parent receives TANF assistance.
                      S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                      such account is in arrears, the clerk is required to “issue
                      a rule to show cause and an affidavit identifying the or-
                      der of the court which requires such payments to be
                      made and the amount of the arrearage [and] directing
                      the party in arrears to appear in court at a specific time
                      and date” to face contempt proceedings. S.C. Rule
                      24(b).
                          A “wilful[]” violation of a “lawful order” of a South
                      Carolina court constitutes contempt and may subject the
                      contemnor to up to 12 months confinement. S.C. Code
                      Ann. § 63-3-620 (West 2010).
                          2. Respondent Rogers and petitioner are the par-
                      ents of a minor child, B.L.P. In 2003, the family court in
                      Oconee County, South Carolina, entered an Order of
                      Financial Responsibility against petitioner. Although
                      the order noted that petitioner was unemployed, the
                      court imputed a gross monthly income of $1386 to him
                      and ordered him to pay $59.72 a week in child support
                      through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                      083107.doc. We are informed by HHS that the State has now paid a
                      total of more than $72 million in penalties to date and currently owes an
                      additional incurred penalty of more than $10 million for fiscal year 2010.
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                      Because respondent Rogers was receiving public assis-
                      tance, she assigned her right to collect child support to
                      the Department of Social Services. Pet. Br. 8; see id. at
                      9 n.6 (payments were remitted to respondent Rogers
                      starting in 2004 because her benefits had ended but her
                      case continued to be administered as a Title IV-D case).
                      Petitioner fell behind on his payments, received a num-
                      ber of rules to show cause from the court clerk why he
                      should not be held in contempt, and was jailed three
                      times as a result. Id. at 9-10.
                         By 2007, petitioner was $5728.76 behind on his child-
                      support payments, and a judge of the Oconee County
                      Family Court issued a bench warrant for his arrest.
                      Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                      ary 3, 2008. After noting petitioner’s outstanding bal-
                      ance and stating that he had not made a payment
                      since August 2006, the judge asked petitioner, “[i]s there
                      anything you want to say?” Id. at 17a. Petitioner re-
                      sponded:
                         Well, when I first got out, I got back on dope. I done
                         meth, smoked pot and everything else, and I paid a
                         little bit here and there. And, when I finally did get
                         to working, I broke my back, back in September. I
                         filed for disability and SSI. And, I didn’t get
                         straightened out off the dope until I broke my back
                         and laid up for two months. And, now I’m off the
                         dope and everything. I just hope that you give me a
                         chance. I don’t know what else to say. I mean, I
                         know I done wrong, and I should have been paying
                         and helping her, and I’m sorry. I mean, dope had a
                         hold to me.
                      Ibid.
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                         After a brief exchange between petitioner and re-
                      spondent about his SSI application, the court said:
                         If there’s nothing else, this will be the Order of the
                         Court. I find the Defendant in willful contempt. I’m
                         gonna sentence him to twelve months in the Oconee
                         County Detention Center. He may purge himself of
                         the contempt and avoid the sentence by having a zero
                         balance on or before his release.
                      Pet. App. 18a. The court made no finding that petitioner
                      was capable of paying the arrears while incarcerated.
                      See id. at 17a-18a.
                          At this hearing, neither petitioner nor respondent
                      Rogers was represented by counsel. Pet. App. 6a. How-
                      ever, pro bono counsel filed an appeal on petitioner’s
                      behalf, alleging that petitioner had a right under the
                      Sixth Amendment and the Due Process Clause to have
                      appointed counsel in the contempt proceeding. Id. at
                      10a-15a. Before the intermediate state court could rule,
                      the South Carolina Supreme Court granted discretion-
                      ary review and affirmed the family court. Id. at 1a-5a.
                          The court noted that the “purpose of civil contempt
                      is to coerce the defendant to comply with the court’s or-
                      der,” while criminal contempt’s purpose is “to punish a
                      party for disobedience or disrespect.” Pet. App. 2a-3a.
                      “Civil contempt sanctions are conditioned on compliance
                      with the court’s order. * * * A contemnor imprisoned
                      for civil contempt is said to hold the keys to his cell be-
                      cause he may end the imprisonment and purge himself
                      of the sentence at any time.” Id. at 3a. The court recog-
                      nized that the “distinction between civil and criminal
                      contempt is crucial because criminal contempt triggers
                      additional constitutional safeguards not mandated in
                      civil contempt proceedings.” Ibid.
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                         The court noted that in this case the family court had
                      said that petitioner could “purge himself of the con-
                      tempt” by achieving a “zero balance” on his arrearage.
                      Pet. App. 3a. Reasoning that “[t]his conditional sen-
                      tence is a classic civil contempt sanction,” the court con-
                      cluded that petitioner had no right to appointed counsel.
                      Ibid.
                                     SUMMARY OF ARGUMENT
                          1. The Court has jurisdiction to review the decision
                      of the South Carolina Supreme Court. Petitioner has
                      completed his term of confinement for civil contempt
                      and has not identified any collateral consequences flow-
                      ing from the contempt. Those facts would ordinarily
                      render his case moot. Petitioner, however, qualifies for
                      a narrow exception to the mootness doctrine because the
                      controversy is capable of repetition yet evading review.
                      Sentences for civil contempt in South Carolina are lim-
                      ited to 12 months, and it is highly unlikely that peti-
                      tioner would be able to secure plenary review by this
                      Court within any future period of confinement. In addi-
                      tion, the constitutional violation petitioner asserts is
                      capable of repetition because he remains subject to the
                      underlying child-support order and still has substantial
                      arrears. There is thus a reasonable expectation that he
                      will receive automatically-generated rules to show cause
                      for contempt in the future. Indeed, since the contempt
                      at issue in this case, petitioner has been jailed again for
                      civil contempt.
                          2. Petitioner’s confinement for civil contempt vio-
                      lated due process, not because he lacked counsel, but
                      because the procedures employed by the family court
                      were inadequate to ensure the accurate determination of
                      petitioner’s present ability to pay his child-support ar-
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                      rears. That ability to pay was a necessary predicate to
                      the civil contempt sanction.
                          The defining feature of confinement for civil con-
                      tempt is its purpose to coerce compliance with a court
                      order. Such confinement must therefore end upon dis-
                      charge of the contemnor’s obligations; he is said to hold
                      “the keys of [his] prison in [his] own pocket[].” Shilli-
                      tani v. United States, 384 U.S. 364, 368 (1966) (citation
                      omitted). Such confinement may not be imposed, how-
                      ever, where the contemnor demonstrates his inability to
                      comply with the order. In such cases, he does not truly
                      hold the keys to the prison; to confine him nonetheless
                      would render the confinement punitive and thus a sanc-
                      tion that may be imposed only after compliance with
                      criminal case safeguards.
                          The question of petitioner’s ability to pay his child-
                      support arrears therefore should have been a focus of
                      the civil contempt proceeding, but it was not. Pro se
                      petitioner was afforded no meaningful opportunity to
                      establish his indigency, and even after he made a state-
                      ment that could have easily been understood to mean he
                      had no present ability to pay nearly $6000 to avoid jail,
                      the family court judge made no further inquiry on the
                      matter before committing him to a nominally conditional
                      term of confinement.
                          The proceeding did not comply with due process be-
                      cause there was a serious risk of erroneous deprivation
                      of petitioner’s liberty through the procedures employed
                      and because additional procedures would have enhanced
                      the accuracy of the proceeding without materially im-
                      pinging on any governmental interest. See Mathews v.
                      Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                      would have been a sufficient, but not a necessary, means
                      of satisfying due process in this case. There were other
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                      means of providing petitioner with a meaningful oppor-
                      tunity to establish his present inability to pay, such as
                      asking him to complete an understandable form seeking
                      his financial information, or asking him questions on the
                      topic as necessary at a hearing. In the typical case, pro-
                      viding basic information about one’s personal finances is
                      not the kind of undertaking that requires assistance of
                      counsel, and due process protections are based on the
                      requirements of the mine-run case, not the exceptional
                      one.
                          There is no basis for petitioner’s proposed categori-
                      cal due process right to appointed counsel in civil con-
                      tempt proceedings where confinement is imposed. The
                      Court has declined to recognize a categorical constitu-
                      tional right to appointed counsel in the context of other
                      non-criminal proceedings that can result in confinement.
                      Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                      bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                      (1976) (summary court-martial). Civil contempt pro-
                      ceedings in child-support cases are relatively brief; the
                      custodial parent may not be represented by counsel; and
                      the issues in dispute are generally not complex. Given
                      those circumstances, there is no warrant for recognizing
                      a categorical right to defense counsel in such proceed-
                      ings. Finally, recognizing a due process right to counsel
                      in such proceedings would upset the balance struck by
                      Title IV-D and its implementing regulations, both of
                      which stress the importance of due process protections
                      in child-support proceedings but neither of which permit
                      federal funding for provision of counsel.
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                                             ARGUMENT
                      I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                           CISION OF THE SOUTH CAROLINA SUPREME COURT
                          Although petitioner has completed his term of con-
                      finement for the civil contempt at issue here, his claim is
                      not moot because he remains subject to the underlying
                      child-support order and because there is a reasonable
                      expectation that he will face future contempt proceed-
                      ings. His claim thus avoids mootness because it is capa-
                      ble of repetition yet evading review. This Court thus
                      has jurisdiction to review the final judgment of the
                      South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                          1. “In general a case becomes moot when the issues
                      presented are no longer ‘live’ or the parties lack a le-
                      gally cognizable interest in the outcome.” Murphy v.
                      Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                      omitted) (quoting United States Parole Comm’n v.
                      Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                      confined individual’s challenge to his confinement gener-
                      ally presents no question of mootness, an individual who
                      has been released from confinement ordinarily may con-
                      tinue to press his challenge only if he suffers some “col-
                      lateral consequence” that constitutes a “concrete
                      and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                      7 (1998). Because this Court “ha[s] been willing to pre-
                      sume that a wrongful conviction has continuing collat-
                      eral consequences,” the Court ordinarily will not dismiss
                      as moot a criminal defendant’s challenge to his convic-
                      tion once the defendant has completed his term of im-
                      prisonment. Id. at 8. But the Court has not employed
                      that presumption in other contexts, instead requiring a
                      party not in custody to demonstrate that he will actually
                      face collateral consequences if he does not secure relief
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                      on appeal. See id. at 14 (no presumption of collateral
                      consequences for parole revocation); see also id. at 14-16
                      (reviewing party’s claimed collateral consequences).
                          Petitioner has completed his term of confinement for
                      civil contempt. Because he challenges a civil order, not
                      a criminal conviction, no presumption of collateral conse-
                      quences applies. Moreover, petitioner has not identified
                      any collateral consequences flowing from the finding of
                      civil contempt. Ordinarily, petitioner’s challenge to that
                      finding would be considered moot and beyond this
                      Court’s jurisdiction.
                          2. Petitioner’s claim in this case, however, avoids
                      mootness because his is one of the “exceptional situa-
                      tions” in which a claim is capable of repetition, yet evad-
                      ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                      (1983). In non-class actions, this doctrine requires satis-
                      faction of two elements: “(1) the challenged action was
                      in its duration too short to be fully litigated prior to its
                      cessation or expiration, and (2) there [is] a reasonable
                      expectation that the same complaining party would be
                      subjected to the same action again.” Murphy, 455 U.S.
                      at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                      (1975) (per curiam)). Petitioner satisfies both elements.
                          First, confinement for civil contempt in South
                      Carolina is limited to 12 months, S.C. Code Ann.
                      § 63-3-620 (West 2010), and it is exceedingly unlikely
                      that a contemnor could appeal through the South
                      Carolina court system, petition this Court for a writ of
                      certiorari, and receive a decision on his claim within
                      such a limited time period. See, e.g., First Nat’l Bank v.
                      Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                      short a period of time for appellants to obtain complete
                      judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                      319 (1975) (per curiam) (future challenge to law school
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                      admission procedure could likely come to this Court for
                      decision within three-year period of law school matricu-
                      lation). Indeed, in this case, petitioner had completed
                      his term of imprisonment for civil contempt more than
                      a year before the South Carolina Supreme Court ren-
                      dered its decision. Compare Pet. App. 8a with id. at 1a.
                          Second, petitioner “can make a reasonable showing
                      that he will again be subjected to the alleged illegality.”
                      Lyons, 461 U.S. at 109. Petitioner is still subject to the
                      underlying order for child support, and he is nearly
                      $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                      clerks of court in South Carolina automatically issue
                      rules to show cause when a non-custodial parent is late
                      on a required payment, there is a reasonable expectation
                      that petitioner will again be subject to contempt pro-
                      ceedings. Indeed, after he was released from jail for the
                      contempt at issue here, petitioner was again held in con-
                      tempt and reincarcerated. In May 2010 yet another rule
                      to show cause for contempt issued due to failure to pay
                      support to respondent. Pet. Br. 13-15; see id. at 15 (May
                      2010 rule to show cause is still outstanding); see also
                      Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                      plaintiffs seeking community-based services rather than
                      institutionalization not moot even though they were then
                      receiving desired services, because of “the multiple in-
                      stitutional placements [they] ha[d] experienced”). This
                      is thus far from “an abstract dispute about the law” that
                      might be thought “unlikely to affect [petitioner] any
                      more than it affects other [South Carolina] citizens.”
                      Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
                        5
                          That petitioner was represented by pro bono counsel in a subse-
                      quent contempt proceeding involving a different support order, see Pet.
                      Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                      bono counsel bound to represent petitioner in every future contempt
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                      II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                          SARY TO SECURE AN ACCURATE ADJUDICATION OF
                          CIVIL CONTEMPT VIOLATED DUE PROCESS
                          The validity of the civil contempt order against peti-
                      tioner turned on a critical fact: his present ability to
                      purge himself of contempt by paying off his past-due
                      child support. The family court’s procedures in this case
                      violated due process because they were inadequate to
                      ensure an accurate determination of that fact and thus
                      prevent an erroneous deprivation of petitioner’s liberty.
                      Although provision of government-provided counsel
                      would have been a sufficient means of complying with
                      due process requirements in this case, it was not a nec-
                      essary one. Other mechanisms, such as requiring an
                      affidavit for disclosure of financial information and a
                      preliminary assessment of petitioner’s current ability to
                      pay child support, would have satisfied the requirements
                      of due process.
                          A. Confinement For Civil Contempt Is Permitted Only
                             When The Contemnor Is Presently Able To Comply With
                             The Underlying Order
                         Both civil and criminal contempt can lead to confine-
                      ment, but this Court has long distinguished the two
                      based on the “character and purpose” of the sanction
                      imposed. Gompers v. Buck’s Stove & Range Co., 221
                      U.S. 418, 441 (1911). In civil contempt, the “punishment
                      * * * [is] remedial,” in that it is intended to “coerc[e]

                      proceeding, then his claim of entitlement to the assistance of counsel
                      would be moot. There is no indication in the record, however, that pro
                      bono counsel is under any such obligation, and, in fact, counsel did not
                      appear in a 2009 contempt proceeding involving support owed respon-
                      dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                      served six months for civil contempt).
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                      the defendant to do what he had refused to do.” Id. at
                      442. Punishment for criminal contempt, on the other
                      hand, is “punitive” and is imposed “to vindicate the au-
                      thority of the court.” Id. at 441.
                          Because of that fundamental distinction, confinement
                      imposed for civil contempt is conditional. The sentence
                      must include a purge clause under which the contemnor
                      will be immediately released upon compliance with the
                      underlying court order. Hicks v. Feiock, 485 U.S. 624,
                      634 (1988). When confined under such a civil contempt
                      order, the contemnor holds “the keys of [his] prison in
                      [his] own pocket[ ].” Shillitani v. United States, 384
                      U.S. 364, 368 (1966) (citation omitted); see id. at 370
                      (“While any imprisonment, of course, has punitive and
                      deterrent effects, it must be viewed as remedial if the
                      court conditions release upon the contemnor’s willing-
                      ness” to comply with a court order.).
                          A purge clause by itself, however, will not render the
                      contemnor’s confinement remedial rather than punitive
                      because “the justification for coercive imprisonment as
                      applied to civil contempt depends upon the ability of the
                      contemnor to comply with the court’s order.” Shillitani,
                      384 U.S. at 370-371. Accordingly, “punishment may not
                      be imposed in a civil contempt proceeding when it is
                      clearly established that the alleged contemnor is unable
                      to comply with the terms of the order.” Hicks, 485 U.S.
                      at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                      (“[T]o jail one for a contempt for omitting an act he is
                      powerless to perform would * * * make the proceeding
                      purely punitive, to describe it charitably.”); see also
                      Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                      (“When the parent is unable to make the required pay-
                      ments, he is not in contempt.”).6
                          The burdens of production and persuasion may be
                      placed on the defendant to demonstrate his present in-
                      ability to comply with an order. See Hicks, 485 U.S. at
                      637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                      Accordingly, if the defendant “offers no evidence as to
                      his inability to comply,” “stands mute,” or is disbelieved
                      by the court, then he fails to carry his burden and may
                      be held in contempt. Maggio, 333 U.S. at 75. But the
                      trial court “is obliged” to consider “all the evidence
                      properly before it in the contempt proceeding in deter-
                      mining whether or not there is actually a present ability
                      to comply and whether failure so to do constitutes delib-
                      erate defiance which a jail term will break.” Id. at 76.
                          If, upon examination, a contempt penalty is consid-
                      ered punitive rather than remedial, it will be vacated
                      unless all “the protections that the Constitution requires
                      of * * * criminal proceedings” were provided. Inter-
                      national Union, United Mine Workers v. Bagwell, 512
                      U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




                        6
                           A defendant may not avoid a finding of civil contempt for violating
                      an order by collaterally attacking that order in the contempt proceed-
                      ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                      make the distinct assertion that he has a “present inability to comply
                      with the order in question.” United States v. Rylander, 460 U.S. 752,
                      757 (1983); see ibid. (“While the court is bound by the enforcement
                      order, it will not be blind to evidence that compliance is now factually
                      impossible. Where compliance is impossible, neither the moving party
                      nor the court has any reason to proceed with the civil contempt
                      action.”); Maggio, 333 U.S. at 74-75.
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                         B. The Family Court’s Procedures Were Inadequate To
                            Ensure An Accurate Determination Of Present Ability
                            To Pay
                          The procedures employed by the family court vio-
                      lated petitioner’s due process rights because they were
                      inadequate to ensure that petitioner was not erroneously
                      confined as an inducement to perform a task he was
                      powerless to perform, while additional procedures to
                      ensure petitioner’s present ability to pay his child-sup-
                      port arrears would have been minimally burdensome.
                          “Procedural due process imposes constraints on gov-
                      ernmental decisions which deprive individuals of ‘lib-
                      erty’ or ‘property’ interests within the meaning of the
                      Due Process Clause of the Fifth or Fourteenth Amend-
                      ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                      Confinement for civil contempt is a deprivation of lib-
                      erty, and the alleged contemnor is thus entitled to pro-
                      cedural due process protections before its imposition.
                      Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                      nation of parole triggers due process protections); see
                      also Bagwell, 512 U.S. at 827 (civil contempt requires
                      “notice and an opportunity to be heard”).
                          The conclusion that due process applies is the begin-
                      ning of the inquiry, not its end, because “the require-
                      ments of due process are ‘flexible and cal[l] for such
                      procedural protections as the particular situation de-
                      mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                      (brackets in original) (quoting Morrissey, 408 U.S. at
                      481). The Court has “generally * * * declined to es-
                      tablish rigid rules and instead ha[s] embraced a frame-
                      work to evaluate the sufficiency of particular proce-
                      dures.” Ibid. That framework involves “consideration
                      of three distinct factors:
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                         First, the private interest that will be affected by the
                         official action; second, the risk of an erroneous depri-
                         vation of such interest through the procedures used,
                         and the probable value, if any, of additional or substi-
                         tute procedural safeguards; and finally, the Govern-
                         ment’s interest, including the function involved and
                         the fiscal and administrative burdens that the addi-
                         tional or substitute procedural requirements would
                         entail.
                      Mathews, 424 U.S. at 335.
                          Application of the Mathews factors here demon-
                      strates that the family court proceeding did not comply
                      with the requirements of procedural due process. First,
                      petitioner’s private interest in avoiding incarceration
                      was significant. See Foucha v. Louisiana, 504 U.S. 71,
                      80 (1992).
                          Second, there was a serious “risk of an erroneous
                      deprivation” of petitioner’s liberty interest under the
                      procedures employed by the family court, and there
                      would have been value in additional procedures.
                      Mathews, 424 U.S. at 335. Petitioner did not dispute
                      that he had failed to comply with his child-support or-
                      der, so the propriety of his confinement for civil con-
                      tempt thus turned on his present ability to do so. See
                      pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                      “was the precise question before the family court”); id.
                      at 17. But South Carolina automatically referred peti-
                      tioner for contempt proceedings without considering
                      whether petitioner was employed or had assets. At the
                      contempt hearing, the court solicited no financial infor-
                      mation from petitioner, nor was there apparently any
                      mechanism in place for him to provide it on his own. Pe-
                      titioner’s statement at the hearing that he had been un-
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                      able to work because he broke his back, Pet. App. 17a,
                      could reasonably be understood to constitute a claim
                      that he had no present ability to pay nearly $6000. The
                      court did not explore this question, however; it made no
                      inquiry into petitioner’s income or assets. Instead, the
                      court imposed a jail sentence unaccompanied by any
                      finding that petitioner had the ability to pay off his out-
                      standing balance from a jail cell.7 Taking additional
                      modest steps to determine whether petitioner had the
                      present ability to discharge his obligation, see pp. 24-25,
                      infra, would have improved the accuracy of the proceed-
                      ing.
                          Finally, the government’s interests also favor addi-
                      tional procedural safeguards to ensure that only those
                      parents with a present ability to pay are confined for
                      civil contempt. While the State has a strong interest in
                      enforcing child-support orders, it secures no benefit
                      from jailing a non-custodial parent who cannot discharge
                      his obligation. The period of incarceration makes it less,
                      rather than more, likely that such parent will be able to
                      pay child support. See Elizabeth G. Patterson, Civil
                      Contempt & the Indigent Child Support Obligor: The
                      Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                      Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                      State incurs the substantial expense of confinement.
                          Moreover, as a general matter, the routine use of
                      contempt for non-payment of child support is likely to be
                      an ineffective strategy for enforcing support orders.
                      See National Child Support Enforcement, U.S. Dep’t
                      of Health & Human Servs., Strategic Plan: FY 2005-
                      2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
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                          The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                      gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                      gible for work release, Pet. Br. 12 n.8.
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                      programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                      pdf. While child-support recovery efforts once “followed
                      a business model predicated on enforcement” that “in-
                      tervened only after debt, at times substantial, accumu-
                      lated and often too late for collection to be successful, let
                      alone of real value to the child,” experience has shown
                      that alternative methods—such as order modifications,
                      increased contact with non-custodial parents, and use of
                      “automation to detect non-compliance as early as possi-
                      ble”—are more effective. Id. at 2.
                          A substantial portion of child-support obligors have
                      no or low reported income. Elaine Sorensen et al., As-
                      sessing Child Support Arrears in Nine Large States &
                      the Nation 22 (2007) (Assessing Child Support Arrears),
                      http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                      (obligors with $10,000 or less in annual income consti-
                      tuted half of the child-support obligors and owed 70% of
                      the arrears in a nine-state study). Such individuals’
                      child-support obligations are often substantial. See id.
                      at 54 (“For obligors with reported income of $10,000 a
                      year or less, the median percent of reported income that
                      was due as current support was 83[%].”). A low-income
                      individual in arrears on child-support payments is
                      “rarely a candidate for civil incarceration because of the
                      likelihood that he or she is unable to pay the hefty sum
                      represented by the accumulated arrears, or even a por-
                      tion thereof that may be set by the court as the purge
                      amount.” Civil Contempt 116.8

                        8
                          To be sure, coercive enforcement remedies, such as contempt, have
                      a role to play in child-support enforcement efforts, such as with non-
                      custodial parents who are hiding assets or unreported self-employment
                      or under-the-table income. See Strategic Plan 2; Assessing Child
                      Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                          Many States have taken alternative steps to avoid
                      child-support arrears, such as establishing more realis-
                      tic support orders, “increas[ing] parental participation
                      in the order establishment process,” providing employ-
                      ment services to non-custodial parents, or using automa-
                      tion tools to improve wage withholding. Assessing Child
                      Support Arrears 10-11, 80-89; see id. at 85 (study of
                      Florida program that provides employment services and
                      case management to non-custodial parents found that
                      program participants paid nearly five dollars in child
                      support for every dollar spent on the program). Such
                      alternatives, which focus on early intervention rather
                      than after-the-fact efforts to collect substantial accumu-
                      lated arrears, are more likely to be effective means of
                      enforcing the child-support obligations of the substantial
                      number of low-income obligors. See Strategic Plan 2.
                         C. Due Process Can Be Satisfied By A Variety Of Proce-
                            dures Intended To Assure An Accurate Determination Of
                            Present Ability To Pay In A Civil Contempt Proceeding
                          Petitioner argues that, in order to ensure that his
                      civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                      due process required the appointment of counsel to as-
                      sist him in establishing his inability to comply with the
                      court’s order, see id. at 41. Although we agree that peti-
                      tioner’s due process rights were violated, we disagree
                      that the State’s failure to appoint counsel was itself the
                      basis of the violation. Appointment of counsel is cer-
                      tainly one way to help ensure an accurate determination
                      of the obligor’s current ability to pay—the determina-
                      tion on which the “civil” nature of a civil contempt sanc-
                      tion rests—but it is not the only way. It was the State’s

                      dence, however, that routine use of contempt among low-income non-
                      custodial parents is generally effective. See Civil Contempt 126.
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                      failure to provide any meaningful mechanism for making
                      that determination in this case, and not its failure to
                      provide counsel in particular, that violated petitioner’s
                      due process rights.9
                              1. Courts can comply with due process by providing a
                                 meaningful opportunity for an alleged contemnor to
                                 establish his present ability to pay
                          While there is no basis for a constitutional rule cate-
                      gorically requiring appointment of counsel in all civil
                      contempt that could lead to deprivation of physical lib-
                      erty, see pp. 25-32, infra, due process does require pro-
                      cedures sufficient to ensure fundamental fairness. In
                      the context of a civil contempt proceeding for non-pay-
                      ment of child support that could lead to confinement,
                      this means procedures adequate to allow a pro se con-
                      temnor to attempt to carry his burden of establishing his
                      present inability to pay.
                          Such procedures may include requiring a non-paying
                      parent to complete an understandable form seeking fi-
                      nancial information. South Carolina already requires

                        9
                           Although petitioner’s submissions below and in this Court have
                      focused on the value of appointed counsel in ensuring that indigent
                      child-support obligors are not erroneously jailed as a means of inducing
                      them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                      fairly encompassed in those submissions is the proposition that due
                      process demands an appropriate procedure to evaluate an obligor’s
                      present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                      503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                      to the Court to consider whether there are alternative procedures,
                      other than the specific procedure petitioner has proposed, that would
                      satisfy constitutional requirements. To the extent the Court concludes
                      otherwise, however, the proper course would be to dismiss the writ of
                      certiorari as improvidently granted and await a case that expressly
                      raises a broader due process claim.
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                      noncustodial parents to fill out such a form when a sup-
                      port order is originally sought in a Title IV-D case, see
                      S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                      parently does not do so in subsequent contempt proceed-
                      ings. Requiring that such forms be completed at the
                      outset of a contempt proceeding would impose little ex-
                      pense on the State or burden on the proceeding while
                      materially advancing the accuracy of the court’s deter-
                      mination. Such information could by itself establish the
                      contemnor’s present inability to pay his arrears or, con-
                      versely, demonstrate his ability to pay. To the extent
                      the court had questions about the information on the
                      form or disbelieved it, the court could question the
                      contemnor about his finances at the contempt hearing.
                      Such simple, minimally burdensome procedures would
                      enable the court to evaluate whether the alleged
                      contemnor has the ability to pay his arrears and is thus
                      an appropriate candidate for a civil contempt sanction.
                            2. There is no basis for an inflexible right to counsel
                               rule in civil contempt proceedings
                          Although the constitutional inadequacy of the family
                      court’s procedures could have been cured by appoint-
                      ment of counsel (who presumably would have addressed
                      petitioner’s inability to pay his arrears and urged the
                      court not to jail him for that reason), appointment of
                      counsel was not constitutionally compelled.
                          a. “The very nature of due process negates any con-
                      cept of inflexible procedures universally applicable to
                      every imaginable situation.” Lujan v. G&G Fire Sprin-
                      klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                      Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                      Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                      calls for such procedural protections as the particular
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                      situation demands.”) (brackets in original) (quoting
                      Morrissey, 408 U.S. at 481). The question in a due pro-
                      cess case is how to ensure a fundamentally fair proceed-
                      ing, taking into account the importance of the private
                      interest at issue, the risk of error and value of additional
                      procedures, and the government’s interest. See id. at
                      335. This is not an inquiry that typically lends itself to
                      the kind of categorical approach advocated by petition-
                      er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                      (contrasting categorical Sixth Amendment right to coun-
                      sel in criminal prosecution “with the more limited due
                      process right” in other contexts).10
                          In fact, in areas outside traditional criminal prosecu-
                      tions where an individual’s liberty is nonetheless at
                      stake, the Court has declined to recognize a categorical
                      right to counsel, instead relying on alternative proce-
                      dural safeguards to ensure due process. See Gagnon,
                      411 U.S. at 782-790; see also Middendorf v. Henry, 425
                      U.S. 25, 43 (1976) (no due process right to counsel for
                      summary courts-martial).11 For example, in Gagnon,

                        10
                           The Sixth Amendment right to counsel is inapplicable to a civil
                      contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                      Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                        11
                           In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                      cess right to appointed counsel in a juvenile delinquency proceeding,
                      but, as the Court later explained, that was because the proceeding
                      “while denominated civil, was functionally akin to a criminal trial.”
                      Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                      plurality would have held that there is a due process right to counsel
                      before a State involuntarily transfers a prisoner to a state mental
                      hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                      trolling concurrence, however, disagreed, concluding that “the fairness
                      of an informal hearing designed to determine a medical issue” does not
                      “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                      that a prisoner “required assistance” in such a proceeding to ensure
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                      the Court held that due process required the govern-
                      ment to provide a preliminary and final hearing before
                      it could incarcerate an individual for violating the terms
                      of his probation. See 411 U.S. at 782; see also id. at 785-
                      786 (hearings necessary in order to provide notice of the
                      alleged probation violation and ensure “accurate finding
                      of fact and the informed use of discretion”). At the same
                      time, however, the Court rejected the “contention that
                      the State is under a constitutional duty to provide coun-
                      sel for indigents in all probation or parole revocation
                      cases.” Id. at 787; see id. at 790 (stating that due pro-
                      cess may require appointment of counsel in exceptional
                      cases). The Court recognized that “such a rule has the
                      appeal of simplicity” but concluded that “it would impose
                      direct costs and serious collateral disadvantages without
                      regard to the need or the likelihood in a particular case
                      for a constructive contribution by counsel.” Id. at 787.
                          The Court in Gagnon noted that in many cases a pro-
                      bationer’s mitigating evidence may be “so simple as not
                      to require either investigation or exposition by counsel.”
                      411 U.S. at 787. Here too, with the provision of easy-to-
                      understand forms on assets and income and, if neces-
                      sary, a colloquy with the trial court, it will often be sim-
                      ple for a delinquent child-support obligor to demon-
                      strate his present inability to discharge his obligation
                      without the assistance of appointed counsel. Indeed,
                      even in criminal cases to which the Sixth Amendment
                      right of counsel applies, defendants are not entitled to
                      government-appointed counsel for the purpose of filling
                      out the forms routinely used to establishing their finan-
                      cial eligibility for government-appointed counsel. See


                      fairness, but said that it could be “rendered by competent laymen in
                      some cases.” Ibid.
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                      18 U.S.C. 3006A(b) (counsel will be appointed only after
                      court is “satisfied after appropriate inquiry that the per-
                      son is financially unable to obtain counsel”); United
                      States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                      Criminal Justice Act, the public fisc need not contribute
                      one penny unless the accused first establishes that he
                      cannot afford counsel. Nothing in the statute directs the
                      Treasury to assist the accused in making this determina-
                      tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                      legal expertise is needed to participate effectively in
                      hearings under the Criminal Justice Act,” ibid., no legal
                      expertise is generally required to establish inability to
                      pay child-support arrears.
                          Gagnon also expressed concern that “[t]he introduc-
                      tion of counsel into a revocation proceeding will alter
                      significantly the nature of the proceeding,” since the
                      States typically relied on probation officers to conduct
                      revocation hearings but might turn to attorneys if all
                      probationers were represented. 411 U.S. at 787. “[T]he
                      decisionmaking process will be prolonged, and the finan-
                      cial cost to the State * * * will not be insubstantial.”
                      Id. at 788. In the context of civil contempt for child sup-
                      port as well, automatic appointment of counsel could
                      delay the proceedings, create an asymmetry in repre-
                      sentation between non-custodial parents and custodial
                      parents who may appear pro se, see, e.g., Pet. App. 16a,
                      and impose considerable financial cost on the govern-
                      ment without an automatic increase in accuracy.
                          Lassiter v. Department of Social Services, 452 U.S.
                      18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                      32-33, is not to the contrary. In that decision, the Court
                      held that there was no due process right to counsel in a
                      parental-rights termination proceeding. See Lassiter,
                      452 U.S. at 32-33. In dictum, the Court said its cases
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                      had established a “presumption” that an indigent had a
                      right to appointed counsel “when, if he loses, he may be
                      deprived of his physical liberty.” Id. at 26-27. The
                      Court has not subsequently relied on any such presump-
                      tion derived from the Lassiter dictum, and Lassiter it-
                      self recognized that Gagnon, which involved a depriva-
                      tion of physical liberty, had held that “due process is not
                      so rigid as to require that the significant interests in
                      informality, flexibility and economy must always be sac-
                      rificed” through appointment of counsel. Id. at 31 (quot-
                      ing Gagnon, 411 U.S. at 788).
                          That there may be atypical cases with “complex fac-
                      tual and legal issues” (Pet. Br. 46) in which counsel
                      would provide a significant benefit beyond what could be
                      obtained through other procedural safeguards does not
                      mean there should be a right to counsel. “[P]rocedural
                      due process rules are shaped by the risk of error inher-
                      ent in the truth-finding process as applied to the gener-
                      ality of cases, not the rare exceptions.” Walters v. Na-
                      tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                      (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                      (“existence of complexity in some cases” was not “suffi-
                      cient to warrant a conclusion that the right to retain and
                      compensate an attorney in [Veterans Administration]
                      cases is a necessary element of procedural fairness un-
                      der the Fifth Amendment”).
                          b. A recognition that due process requires fair pro-
                      ceedings before a child-support obligor can be held in
                      civil contempt but that this due process right does not
                      encompass appointment of government-funded counsel
                      is also consistent with the balance struck by Congress
                      and the Secretary in enacting and administering the
                      Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                      (“[W]e must give particular deference to the determina-
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                      tion of Congress, made under its authority to regulate
                      the land and naval forces, U.S. Const., Art. I, § 8, that
                      counsel should not be provided in summary courts-mar-
                      tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                      congressional judgment must be afforded even though
                      the claim is that a statute Congress has enacted effects
                      a denial of the procedural due process guaranteed by the
                      Fifth Amendment.”).
                          Congress and the Secretary have demonstrated their
                      concern that child-support-related proceedings be con-
                      ducted fairly by repeatedly making compliance with
                      procedural due process rules a requirement of State
                      participation in the program.12 At the same time, how-
                      ever, they have declined to reimburse the States for
                      the cost of providing counsel to non-custodial parents.
                      See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                      ute does not provide federal funding for “defense coun-
                      sel for absent parents” or “incarceration of delinquent
                      obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                      ing for “[t]he costs of counsel for indigent defendants in

                        12
                           See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                      state income tax refunds to pay overdue support permitted only “after
                      full compliance with all procedural due process requirements of the
                      State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                      delinquency to credit bureaus “only after [the] parent has been afforded
                      all due process required under State law, including notice and a reason-
                      able opportunity to contest the accuracy of such information.”);
                      42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                      full compliance with all procedural due process requirements of the
                      State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                      “shall be subject to due process safeguards, including (as appropriate)
                      requirements for notice, opportunity to contest the action, and oppor-
                      tunity for an appeal on the record to an independent administrative or
                      judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                      303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                      IV-D actions” or “[a]ny expenditure for jailing of par-
                      ents in child-support enforcement cases”); see also
                      52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                      inception of the [Title IV-D] program has been that
                      costs of incarceration of delinquent obligors and costs of
                      defense counsel are not necessary and reasonable costs
                      associated with the proper and efficient administration
                      of the Title IV-D program.”).
                          Finally, at its broadest, the categorical rule petition-
                      er suggests—that there is a right to government-ap-
                      pointed counsel in all “proceedings denominated as ‘civil’
                      where an individual nonetheless faces the prospect of
                      confinement to state custody,” Pet. Br. 30—conflicts
                      with Congress’s express judgment that provision of
                      government-funded counsel is not warranted in all such
                      areas. See Middendorf, 425 U.S. at 43 (deferring to
                      such a judgment); Walters, 473 U.S. at 319-320 (same);
                      see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                      (“The role of the judiciary is limited to determining
                      whether the procedures meet the essential standard of
                      fairness under the Due Process Clause and does not ex-
                      tend to imposing procedures that merely displace con-
                      gressional choices of policy.”).
                          For example, while aliens are sometimes detained
                      during removal proceedings or pending enforcement of
                      removal orders, Congress has long explicitly provided
                      that there is no obligation to provide government pay-
                      ment for counsel in such proceedings. See 8 U.S.C. 1362
                      (“In any removal proceedings before an immigration
                      judge and in any appeal proceedings before the Attor-
                      ney General from any such removal proceedings,
                      the person concerned shall have the privilege of being
                      represented (at no expense to the Government) by such
                      counsel, authorized to practice in such proceedings,
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                      as he shall choose.”) (emphasis added); 8 U.S.C.
                      1229a(b)(4)(A). Congress’s judgment is consistent with
                      this Court’s repeated holdings that removal proceedings
                      are civil and non-punitive, see, e.g., INS v. Lopez-
                      Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                      proceeding is a purely civil action to determine eligibil-
                      ity to remain in this country, not to punish an unlawful
                      entry, though entering or remaining unlawfully in this
                      country is itself a crime.”), and its conclusion that deten-
                      tion of an alien during the removal process is permissi-
                      ble because it is incidental to the proceedings, and not
                      their purpose or goal, see, e.g., Carlson v. Landon,
                      342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                      of this deportation procedure.”). As the Court has
                      also noted, removal proceedings—whose purpose is re-
                      moval of aliens from the country, not deprivation of their
                      physical liberty—are “streamlined” administrative pro-
                      ceedings held before administrative personnel, immigra-
                      tion judges, under rules offering the aliens more limited
                      procedural rights than are available in court. Lopez-
                      Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                      hearing is intended to provide a streamlined determina-
                      tion of eligibility to remain in this country, nothing
                      more”). The due process guarantee of fundamental fair-
                      ness does not mandate the appointment of counsel in
                      such proceedings, which would be contrary to the judg-
                      ment of Congress.13

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                           For these reasons, the lower courts have held that aliens in removal
                      proceedings have no constitutional right to appointment of counsel at
                      government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                      (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                      that in light of the non-criminal nature of both the proceedings and the
                      order which may be a result, that respondents are not entitled to have
                      counsel appointed at government expense”) (citing cases); see Moham-
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                                                CONCLUSION
                          The judgment of the Supreme Court of South Caro-
                      lina should be reversed.
                          Respectfully submitted.

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                      med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                      Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                      F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                      F.2d 506, 509 (5th Cir. 1987).
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       STATE OF RHODE ISLAND
       PROVIDENCE, S.C.                                           FAMILY COURT

       State of Rhode Island ex rel.          :
       GERO MEYERSIEK                         :
              Plaintiff                       :
                                              :
       VS.                                    :            DOCKET NO: K010521M
                                              :
      MARY SEGUIN                             :
                Defendant                     :

                        PLAINTIFF’S ANSWERS TO DEFENDANT’S
             REVISED (on or about May 9, 2023) FIRST SET OF INTERROGATORIES

       NOW COMES PLAINTIFF the Rhode Island Office of Child Support Services
       (“OCSS”) and hereby responds to Defendant’s First Set of Interrogatories revised and
       amended on May 9, 2023, following negotiations with Defendant.

       1. Separately for 2012 and each subsequent year to the present, describe in detail
       and quantify each separate arrear calculation for interest by month, relating to
       the interest arrears your agency seeks to establish in your Motion to Establish
       Arrears.


       ANSWER: The interest is a calculation pursuant to Rhode Island statute. This
       calculation of interest has previously been produced to the Defendant in this case.

       2. State all reasons, include events and occurrences or otherwise by date and time
       since 2012 to the present, identify actions by persons, organizations, groups, or
       entities that caused your agency to seek to establish interest arrears by motion at
       this time.

       ANSWER: Objection, overly broad and not relevant. Without waiving said
       objections, the foregoing interest was to run pursuant to Court Orders dated May
       24, 2012, and September 25, 2012 and Rhode Island statute. Seeking Court
       adjudication of arrears due under Court orders and securing Court orders for
       repayment of same is a routine function of OCSS.

       3. Name all experts and witnesses you propose to call as witnesses and for each
       describe the nature of their specialties, involvement, participation, expertise,
       training and affiliations, all opinions which they have reached/rendered to give at
       in the case at bar and the factual basis for each such opinion. Attach to your
       answers copies of all written reports made by each expert and the expert’s CV or

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       resume.

       ANSWER: None at this time other than the parties to this case. The OCSS expects
       the parties to testify to their factual knowledge. Objection to the reference to
       “attach” as improper because it is a Request for Production of Documents.

       4. State the name, address, email and telephone number of each person having
       knowledge of facts material to this case and indicate the content of their knowledge
       and what you expect them to testify to at trial.

       ANSWER: Objection, overly broad. OCSS asserts that the parties and current and
       former employees of the OCSS have knowledge of this case in that this case has
       been pending for over 20 years. At this time, the Plaintiff does not know which
       employees will be called to testify at the hearing. The phrases “content of their
       knowledge” and “what you expect them to testify at trial” call for hearsay and
       speculation.

       5. State the factual basis of your substantiation for each and every claim that you
       raised in your Motion to Establish Arrears.

       ANSWER: Objection, prepared in anticipation of litigation. The support obligation
       of the Defendant was established by the Order of the Court. The Court ordered
       interest to accrue per state statute. The records indicate the Defendant failed to
       make payments when due. Further, the factual basis is pursuant to state statute
       and the fundamental principles of mathematics.

     6. State the factual basis for and describe in detail the conversation, communication,
        discussion or otherwise of the telephone call Kevin Tighe made to the attorney or
        agent or representative of GERO MEYERSIEK on December 6, 2021, to advise and
        to discuss interest. Include information of, regarding, on, relating to any and all
        notes, recordings, records Kevin Tighe made of the telephone conversation and call
        he made to the attorney or agent or representative of GERO MEYERSIEK on
        December 6, 2021. Question 6 is a compound question and is being answered as two
        separate interrogatories.

            6(a) State the factual basis for and describe in detail the conversation,
       communication, discussion or otherwise of the telephone call Kevin Tighe made to
       the attorney or agent or representative of GERO MEYERSIEK on December 6,
       2021, to advise and to discuss interest.

       ANSWER 6(a): See TRAC note of 12/6/21, pursuant to Rule 33(d), previously
       provided to the Defendant.

            6(b) Include information of, regarding, on, relating to any and all notes,
      recordings, records Kevin Tighe made of the telephone conversation and call he
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Case:23-1978
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      made to the attorney or agent or representative of GERO MEYERSIEK on December
      6, 2021.

       ANSWER 6(b): See TRAC note of 12/6/21, pursuant to Rule 33(d), previously
       provided to the Defendant.

     7. State the factual basis for, including identifying the person who instructed Timothy
        Flynn to do so and describe in detail the subpoena Timothy Flynn mailed and
        request for information regarding the Defendant to Bank of America by Timothy
        Flynn on December 14, 2021. Attach to your answer a copy of the subpoena and all
        records related to Timothy Flynn’s request for information. Question 7 is a
        compound question and is being answered as two separate interrogatories.

            7(a) State the factual basis for, including identifying the person who
       instructed Timothy Flynn to do so.

       ANSWER 7(a): Objection, not relevant to the Motion to Establish Arrears.

            7(b). Describe in detail the subpoena Timothy Flynn mailed and request for
       information regarding the Defendant to Bank of America by Timothy Flynn on
       December 14, 2021.

       ANSWER 7(b): Objection, not relevant to the Motion to Establish Arrears.
       Objection to the reference to “attach” as improper because it is a Request for
       Production of Documents.

      8. State the factual basis and describe in detail the conversation, communication,
      discussion or otherwise of the telephone or otherwise conversation Timothy Flynn
      made on January 4, 2022, to Marie at Bank of America regarding a subpoena that
      Timothy Flynn had sent to Bank of America regarding the Defendant. Attach to
      your answer a copy of the subpoena and request for information.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears. Objection to
       the reference to “attach” as improper because it is a Request for Production of
       Documents.

       9. State the factual basis and describe in detail all actions, discussions, notes
           made of conversations, communication, or otherwise made by Timothy Flynn
           as they relate to Defendant’s case from December 2021 to the present.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears.

       10. Identify the name, address, phone number and email of all persons Timothy
           Flynn contacted, spoke to, discussed, communicated, and interacted in any and
           all forms regarding the Defendant from December 2021 to the present. Attach
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          to your answer all documents and records as they relate to Timothy Flynn’s
          conversations regarding the subject matter.

       ANSWER:             Objection, not relevant to the Motion to Set
       A r r e a r s . Objection to the reference to “attach” as improper because it is a
       Request for Production of Documents.

       11. Describe in detail and state the factual basis for all documents that set forth,
           describe, reflect, contain, refer, or relate to the legal authority by the Rhode
           Island Office of Child Support Services to calculate child support interest per
           annum, and the method interest per annum is calculated by the agency in the
           Defendant’s case. Cite the specific statute, regulation or any law by which the
           Rhode Island Office of Child Support Services uses to compute interest and the
           specific rate. Question 11 is a compound question and is being answered as three
           separate interrogatories.

          11(a) Describe in detail and state the factual basis for all documents that set
          forth, describe, reflect, contain, refer, or relate to the legal authority by the
          Rhode Island Office of Child Support Services to calculate child support interest
          per annum.

      ANSWER 11(a): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.   Without waiving said objection, including, but not
      limited to, the following citations:

       42 USC 651, et seq.
       45 CFR 200 et seq.
       45 CFR 300 et seq.
       RIGL 15-5 et seq.
       RIGL 15-8.1 et seq.
       RIGL 15-9 et seq.
       RIGL 15-11.1 et seq.
       RIGL 15-12 et seq.
       RIGL 15-13 et seq.
       RIGL 15-21 et seq.
       RIGL 15-22 et seq.
       RIGL 15-23.1 et seq.
       RIGL 15-24 et seq.
       RIGL 15-25 et seq.
       RIGL 15-26 et seq.
       RIGL 15-28 et seq.
       RIGL 15-29 et seq.
       RIGL 15-30 et seq.
       218-RICR-30-00-1 et seq.
       Rhode Island State Plan promulgated pursuant to 45 CFR 200 et seq.
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                Document:00118189824
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       IRS Publication 1075

          11(b) and the method interest per annum is calculated by the agency in the
          Defendant’s case.

      ANSWER 11(b): Interest is calculated at 1% per month on the ending principal
      balance of the preceding month.

      11(c) Cite the specific statute, regulation or any law by which the Rhode Island
      Office of Child Support Services uses to compute interest and the specific rate.

      ANSWER 11(c) Rhode Island General Laws 15-5-16.5; 12% per annum on any
      support debt due and owning for child support and/or spousal support.

       12. Describe in detail and state the factual basis for all documents that set forth,
           describe, reflect, contain, refer, or relate to the legal authority by the Rhode
           Island Office of Child Support Services to deny noncustodial parents access to
           any portion of their case files, including the agency’s accounting calculations and
           method of calculation of alleged arrears. Attach to your answer all documents
           that relate to the relevant calculations of interest arrears in the Defendant’s
           case file.

      ANSWER: Objection, not relevant to lead to the discovery of admissible evidence,
      not relevant to the Motion to Establish Arrears and lastly, the attaching of
      documents is in the nature of a Request for Production of Documents. Without
      waiving said objections, see the statutes listed supra.

       13. Describe in detail and state the factual basis for the creation, faxing and
           mailing offline of the Notice of Intent to Lien receipt of letter, communication or
           correspondence by Timothy Flynn from Bank of America regarding the
           Defendant from January 12, 2022, to January 22, 2023. Attach to your answer
           a copy of documents created and sent offline by Timothy Flynn related to the
           Defendant.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears. Objection to
      the reference to “attach” as improper because it is a Request for Production of
      Documents.

       14. Describe in detail and state the factual basis for not mailing to the Defendant a
           copy of the Notice of Intent to Lien on January 12, 2022. State and identify the
           person or persons who authorized, instructed, directed or otherwise caused
           Timothy Flynn to do so. State the factual basis and describe in detail the legal
           authority for Timothy Flynn to do so. Question 14 is a compound question and is
           being answered as three separate interrogatories.

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         14(a) Describe in detail and state the factual basis for not mailing to the
         Defendant a copy of the Notice of Intent to Lien on January 12, 2022.
      ANSWER 14(a): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

           14(b) State and identify the person or persons who authorized, instructed,
      directed or otherwise cause Timothy Flynn to do so.

      ANSWER 14(b): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

      1 4 ( c ) State the factual basis and describe in detail the legal authority for Timothy
      Flynn to do so.

      ANSWER 14(c): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

       15. Describe in detail and state the factual basis for all actions and system input by
           any and all employees or former employees of your agency that caused the
           system at your agency to generate a Notice of Intent to Lien on or about March
           3, 2023. Attached to your answer all documents that set forth, describe, reflect,
           contain, refer, or relate to your answer.

      ANSWER: O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t A r r e a r s .
      Objection to the reference to “attach” as improper because it is a Request for
      Production of Documents.

       16. Describe in detail and state the factual basis for your agency’s failure to remove,
           suspend or otherwise stop the issuance of the notice of perfected lien subsequent
           to receipt of appeal from the Defendant on or about April 1, 2022. Attached to
           your answer all documents that set forth, describe, reflect, contain, refer, or
           relate to your answer.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears and further
      the reference to “attach” as improper because it is a Request for Production of
      Documents.

       17. Describe in detail the two emails in the possession of Frank DiBiase as they
           relate to the Defendant. Attach to your answer a copy of each email and all
           documents as they relate to the authorship of each and every email, and the
           persons set to, sent from and copied on each and every email.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears and further
      the reference to “attach” as improper because it is a Request for Production of
      Documents.
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       18. Describe in detail the job function, job title, job tasks and every day-to-day
           function of Kevin Tighe at your agency from January 2021 to the present.
           Attach to your answer all documents as they relate to the duties, obligations,
           responsibilities, services and code of conduct as they relate to Kevin Tighe.

      ANSWER: See job description for Deputy Chief of Legal Services as described on the
      State of Rhode Island – Division of Human Services – Department of Administration
      website. See Rhode Island Supreme Court Rule of Professional Conduct.

       19. Set forth in detail the following information pertaining to all policies or
          agreements of liability insurance covering or pertaining to acts or omissions
          committed by or on your behalf as a result of enforcing child support interest
          ordered by the Family Court in 2012 at the time of occurrence referenced in the
          Case Tracking Case History from 2018 to the present, designating which, if any
          are primary coverage and which are excess coverage: name and address of the
          insurance carrier, all limits of liability coverage, name and address of the named
          insured and policy number, full description of the acts or omissions to which
          coverage extends, full description of any and all exclusions, the dates of
          coverage, and the present custodian of the policy.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears.

       20. Identify in detail and give the substance of each statement, action or omission,
           or declaration relating to interest, or satisfied with no receipt of interest or
           satisfied with receipt of less interest, or waived interest, whether oral or written,
           by conduct, silence or otherwise, which you contend was made by or on behalf of
           the Plaintiff, GERO MEYERSIEK, and provided the place and date when each
           such statement was made and any witnesses to same.

       ANSWER: See TRAC note of 12/6/21, and emails dated October 11, 2022 and
       October 13, 2022 pursuant to Rule 33(d), previously provided to the Defendant.

       21. Identify the name, address, telephone number and email address of the person
           or persons responsible for publishing the Total Due and Interest Due, payments
           made, and history of all payments in Defendant’s online OCSS account each and
           every month from 2012 to the present.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears..

       22. State the name, address, telephone number, and position of each person having
          personal knowledge of facts material to this case. Include your own full name,
          address, phone number, email, employer, title and position.

      ANSWER: Objection, overly broad in that this case has been pending since 2001, has
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      had multiple hearings in RI Family Court, has been appealed to the RI Supreme
      Court, and has had litigation in Federal District Court. Currently, OCSS is aware of
      the current Family Court proceedings as well as actions in Federal District Court
      and the RI Supreme Court.

       23. If you have obtained any written or recorded statements concerning the dispute
           in this matter, set forth the name and address, phone number and email of the
           person who gave the statement/recording, the date the statement was made, the
           content of the statement, and the present custodian of the statement.

      ANSWER: None.

       24. If you are aware of the existence of any evidence relative to the dispute in this
           matter, then identify each such item, state the date produced or obtained, and the
           name, address, telephone number and email of the present custodian of each such
           demonstrative item

            .
       ANSWER: See Rhode Island Family Court Orders in this case from hearing dates
       on May 24, 2012 and September 25, 2012 currently in the custody of the Rhode
       Island Family Court. The child support ledger currently in the custody of OCSS.
       The interest calculation currently in the custody of OCSS.

       25. Describe in detail any and all policies, guidelines, protocols, standards, and
           orders your agency relied on in the administrations and enforcement of
           Defendant’s case from 2012 to the present. Attach to your answers all
           documents as they relate to said policies, protocols, standards and orders.

      ANSWER: The State hereby objects to Interrogatory Number 25. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).
      .
        26. If you claim any of Defendant’s agency case file records are missing
            information, contain an incorrect or false information or any information was
            modified in any way, shape or form, identify the specific page of the record, the
            date and time of the entry, identify the information which is missing, identify
            which information is false/incorrect, and state which information has been
            modified or changed.

      ANSWER: The State hereby objects to Interrogatory Number 26. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

       27. Did you and any and all employees at your agency have the knowledge, training,
           and education to accurately issue any and all notices of intent to lien, notices of
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          perfected notice of lien and notices of levy against the Defendant’s property?
          Attach to your answer supporting documentation substantiating your answer.

      ANSWER: The State hereby objects to Interrogatory Number 27. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      28. State based on factual basis and described in detail the errors alleged in your
      agency’s October 14, 2022 Recission of Liens issued by John Langlois. Attach to your
      answer all documents as they relate to and support your answer.

      ANSWER: The State hereby objects to Interrogatory Number 28. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      29. State based on factual basis and describe in detail the basis of your agency’s
      allegation that it will continue to enforce arrears owed stated in your agency’s
      October 14, 2022, Recission of Liens issued by John Langlois. Attach to your
      answer all documents as they relate to and support your answer.

      ANSWER: The State hereby objects to Interrogatory Number 29. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      30. State based on factual basis and describe in detail the documentary information
      John Langlois agreed to produce at the October 5, 2022 Prehearing held by the
      Rhode Island Executive Office of Health and Human Services Office of Appeals.
      Attach to your answer all documents John Langlois agreed to produce. State based
      on factual basis and describe in detail the account balance before Gero Meyersiek
      agreed to waive the interest, the account balance after Defendant made the
      payment, and the account balance when your agency put the interest back on the
      system. Attach to your answer all documents as they relate to and support your
      answer.

       ANSWER: The State hereby objects to Interrogatory Number 30. Pursuant to Rule
       33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
       allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      Respectfully submitted,

      /s/ Lisa Pinsonneault, Esquire (#5979)
      Department of Human Services
      Office of Child Support Services
      77 Dorrance Street
      Providence, Rhode Island 02903
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Case:
Case:23-1978
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      Lisa.Pinsonneault@dhs.ri.gov
      401-458-4404
                                       CERTIFICATION

            I hereby certify that on May 30, 2023, I mailed a copy of this Response to Mary
      Seguin P.O. Box 22022 Houston, Texas 77019 postage pre-paid and via email
      marylive22022@gmail.com.
                                                   /s/ Lisa Pinsonneault




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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.              :
       GERO MEYERSIEK                             :
              Plaintiff                           :
                                                  :
       VS.                                        :              DOCKET NO: K20010521M
                                                  :
                                                  :
       MARY SEGUIN                                :
           Defendant                              :


         DEFENDANT’S MOTION TO DISQUALIFY MAGISTRATE NAHABEDIAN


                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby
       requests the Chief Judge or the Chief Judge’s designee-judge the Honorable Judge
       Merolla that this Honorable Court disqualify Magistrate Susan Nahabedian from this
       matter. The Magistrate is prejudiced against the Defendant by her prejudicial muzzle of
       the Defendant using the WebEx Host/Administrator’s capability to mute the Defendant
       throughout the entire time allocated to the trial hearing on the State’s Motion to Set
       Arrears, from the point State counsel Paul Gould called the Plaintiff as the State’s
       witness, all the way to the point where the Magistrate read her decision into the record.
       Magistrate Nahabedian muted the Defendant to prevent the Defendant from mounting
       her defense, which the record shows has all along been the Defendant’s intent to mount
       her defense. The aforesaid public court hearing was streamed by the Rhode Island
       Courts and was heard remotely via WebEx hearing on February 2, 2024 scheduled at 2
       PM Eastern Time.

                The amount of and whether the arrears that comprises solely of interest are in
       dispute. The accuracy of the alleged arrears that is computed by the State is in dispute.

                The Court had ordered discovery (against the State) a year ago at the
       February 10, 2023 court hearing on the State’s Motion to Set Arrears, and the court



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       records in this matter shows Defendant’s pending discovery motions had been
       continued to the February 2, 2024 hearing.

                Discovery was not completed.

                Magistrate Nahabedian, who presided over the remote hearing, using the WebEx
       Host/Administrator’s capability to mute any WebEx hearing participant, but without
       any warning to Defendant, muted the Defendant effectively muzzling the Defendant in a
       remote hearing several times (approximately 8) before the decision was read into the
       record – but the undisputed prejudice to the Defendant is the Magistrate’s
       muting the Defendant the entire time from the point of the State’s calling of
       its witness, to the subsequent entire duration of the State’s witness
       testimony of the Plaintiff, GERO MEYERSIEK, that included posing to the
       Gero Meyersiek 5-6 questions that were irrelevant, leading or lacked
       timeframe, that were additionally not about Defendant’s pending discovery
       motions, but on the State’s Motion to Set Arrears.

                Magistrate’s Nahabedian’s WebEx muting of Defendant prevented the Defendant
       from objecting after each question be it on grounds, on relevance, it’s leading, or
       timeframe or personal knowledge, etc.

                Magistrate Nahabedian continued to mute the Defendant at the
       conclusion of State’s witness testimony. Continuing to place the Defendant
       on mute, Magistrate Nahabedian went straight to read into the record her
       decision. Only at the close of reading the decision into the record did
       Magistrate Nahabedian unmute the Defendant.

                During the entirety of the State’s witness testimony Defendant was
       muted/prevented from putting on the record objections or objecting to State’s questions
       immediately after each question. After the State finished questioning Plaintiff’s witness,
       Magistrate Nahabedian continued to mute the Defendant to prevent the Defendant from
       cross-examining the State’s witness.

                Using WebEx’s mute mechanism, Magistrate Nahabedian prevented the
       Defendant from presenting Defendant’s evidence, be it calling Defendant’s witnesses or

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       proffering documentary evidence that were already submitted into the record in 2023
       via attachments to motions, affidavits, objections and filings into the record in this
       matter.

                Using WebEx’s mute mechanism, Magistrate Nahabedian prevented Defendant
       from presenting arguments, effectively prevented from lodging a defense.

                After the State finished putting on its case, the Defendant was continuously
       muted to prevent her from being heard, be it to cross-examine State’s evidence or
       present Defendant’s evidence and arguments.

                To unilaterally reach a decision by proactively using WebEx’s mute capability to
       muzzle the Defendant without affording the opportunity to Defendant to object to the
       State’s questions, nor cross-examine the State’s witness, nor present Defendant’s case by
       muzzling/muting the Defendant in a remote WebEx hearing, when the amount of or
       arrears is in dispute shows prejudice against the Defendant, is prejudicial to the
       Defendant, and is a gross miscarriage of justice, especially when the amount in dispute
       is a substantial $81,000.00 +. The ruling in favor of the State was a foregone
       conclusion.

                In the WebEx hearing, Magistrate Nahabedian sought to create a false record,
       denying Defendant her right to a meaningful appeal, through using the WebEx mute
       against the Defendant to falsely make it look like Defendant failed to mount any
       defense, when in reality Defendant was muzzled and muted by Magistrate Nahabedian
       from presenting evidence and arguing her case, and denied Defendant’s right to object
       to the line of questioning or object to or cross-examine the State’s claim of over
       $81,000.00 in interest arrears.

                Through continuous muting the Defendant throughout the State’s examination of
       its witness, continuing to the rendering of the Court’s decision in the aforesaid manner,
       Magistrate Nahabedian denied the Defendant her constitutional rights to present
       evidence and present arguments because Defendant could not lodge objections nor
       present evidence while Defendant was muted. The WebEx mute cannot serve as an
       excuse to deny a defendant due process, thwart the right to present arguments, object to


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       the State’s witness questions, cross-examine the State’s witness, present the evidence, or
       silence the Defendant.

                Defendant’s exclusion from participation in the hearing through Magistrate
       Nahabedian’s use of the WebEx mute function to silence the Defendant during the
       presentation of evidence and arguments throughout the entirety of the trial phase (that
       proceeded without conclusion of discovery, without resolution of pending motions to
       compel discovery) placed the Defendant at a “total and complete disadvantage” and
       showed bias that requires that she be removed.

       Demonstrated Lack of Competence to Preside

                After the Magistrate read her decision into the record, Defendant was finally
       unmuted. Only at that time after the decision was read did the Magistrate give the
       Defendant permission to cross examine the State’s witness, with the caveat that any
       cross-examination is not going to change her decision. It is plainly obvious that
       unmuting and giving the Defendant permission to cross-examine the witness after the
       decision was read into the record is futile and renders the decision void, as it was
       decided without due process. Defendant also called Paul Gould representing the State
       as her first witness, as is Defendant’s right, to testify on the alleged interest arrears
       amount. Without any basis in law, Magistrate Nahabedian denied Defendant her right
       to call the State as a witness as well, the central witness who stated on the record had
       prepared and administered the amount of the alleged arrears. After preventing the
       Defendant from calling her first witness, Magistrate Nahabedian prevented the
       Defendant from presenting an audio recording of the State’s deputy chief counsel John
       Langlois stating the Plaintiff Gero Meyersiek had waived interest, which the Defendant
       had already submitted and filed into the record in this matter as early as June 6, 2023
       (See Exhibit A). Magistrate Nahabedian prevented Defendant from presenting any
       evidence at all, effectively preventing the Defendant from litigating by presenting her
       evidence and defense, stating that the Magistrate’s decision is just based on there is no
       other court order in the record that brings interest to zero, so there is no need for the
       Defendant to mount a defense disputing the alleged arrears with evidence.



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                The Magistrate clearly shows her own confusion and reasonably calls into
       question her competence by stating that a hearing on the motion to set arrears brought
       by the State is restricted to only hearing what court orders issued twelve and eleven
       years ago in 2012 and 2013 say in the court record in this matter. The Magistrate shows
       she is in effect either flouting or lacks understanding of the intent of the Court’s
       February 2023 Order that ordered discovery. The Magistrate then instructed the
       Defendant to file a Motion if the Defendant disagrees.

                The Magistrate’s insistence that Defendant has to file another motion in order to
       litigate Defendant’s dispute of the State’s alleged interest arrears violates the pro-se
       Defendant’s right to a speedy trial, efficiency and economy, prejudicing the Defendant.

                The aforesaid spectacle of: (1) declaring the Magistrate is restricting the scope of
       the hearing on the State’s motion to set arrears to only taking judicial notice of a twelve-
       year old 2012 court order, (2) while muzzling/muting the Defendant throughout the
       State’s calling and examination of Its witness, and then (3) upon the conclusion of the
       State’s direct questions, going straight to reading her decision while continuously
       muting the Defendant preventing the Defendant from lodging objections/cross-
       examination/presenting evidence and present arguments, reasonably calls into question
       the Magistrate’s competence.

                Under Turner v. Rogers, et al., 564 U.S. 431 (2011), the pro-se Texas
       Defendant has the due process and equal protection right to (1) identify the central
       issues; (2) present evidence; (3) present arguments. Magistrate Nahabedian shows she
       is confused about the central issues, restricts the scope of the hearing to just take
       judicial notice of what the prior court orders say, and flouts the Title IV-D Program
       statutory provisions of the Social Security Act.

                1. The above is violative of Title IV-D Program mandates that govern this child
                   support interest related matter. See Social Services Amendments of
                   1974 (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42
                   U.S.C. 651 et seq.) (adding Title IV-D to the Social Security Act)
                The issue of paramount concern, among others, is the due process protections
       that apply. The state child-support enforcement program at issue in this matter (which

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       is an interstate child support case), like that in every other State, is part of one of the
       largest cooperative federal-state programs, established under the Social Services
       Amendments of 1974 (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C.
       651 et seq.) (adding Title IV-D to the Social Security Act).

                2. Congress and the Secretary of the U.S. Department of Health and Human
                   Services have demonstrated their concern that child-support-related
                   proceedings be conducted fairly by repeatedly making compliance with
                   procedural due process rules a requirement of State participation in the
                   program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial
                   parents’ state income tax refunds to pay overdue support permitted only
                   “after full compliance with all procedural due process requirements of the
                   State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                   delinquency to credit bureaus “only after [the] parent has been afforded all
                   due process required under State law, including notice and a reasonable
                   opportunity to contest the accuracy of such information.”); 42 U.S.C.
                   666(a)(8)(B)(iv) (income withholding “must be carried out in full compliance
                   with all procedural due process requirements of the State”); 42 U.S.C.
                   666(c)(1)(H) (expedited State agency procedures “shall be subject to due
                   process safeguards, including (as appropriate) requirements for notice,
                   opportunity to contest the action, and opportunity for an appeal on
                   the record to an independent administrative or judicial tribunal”); see also
                   45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4),
                   303.101(c)(2), 303.102(c)(1), 303.104(b).


                3. It is therefore no doubt and unequivocal that due process in any State tribunal
                   in the United States must provide the opportunity to contest the
                   accuracy of the information, the accuracy of the alleged arrears put
                   forth by the State Agency, a Title IV-D Program State Agency, as here. Yet,
                   Magistrate Nahabedian restricts the scope of a hearing to set the arrears
                   brought by the State to only determining whether there exists a prior court



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                   order that set interest, and disallowing litigation challenging the accuracy of
                   the alleged arrears put forth by the State Agency.



                4. Having chosen to participate in the Title IV-D Program, the Rhode Island
                   State here is mandated to comply with the clearly defined meaning of due
                   process in 42 U.S.C. 666(a)(7)(B)(i). Federal law preempts all State customs,
                   preempts State practices, preempts State policies or interests, and preempts
                   State laws that go contrary to the statutory provisions of the Federal Title IV-
                   D Program.



                The Magistrate’s WebEx muting of the Defendant for the entire duration of: (1)
       the State’s questioning of its witness obstructing her from objecting to the questions, (2)
       denying the Defendant the opportunity to cross-examine the witness, (3) denying the
       Defendant the opportunity to challenge the accuracy of the State’s information, (4)
       denying the Defendant the opportunity to present evidence and present arguments. The
       Magistrate’s statement after unmuting the Defendant after reading into the record the
       decision that the Defendant’s then-allowed post-judgment cross-examination of the
       State’s witness “won’t change her decision” unequivocally demonstrates prejudice
       against the Defendant and calls into question her competence.


                The American Bar Association, (“ABA”) in its seminal report produced for remote
       hearings and technology integration into the courts that further address court
       procedures during the COVID-19 Pandemic states that 60% to 100% of the
       approximately 30 million cases annually in the United States have a pro se litigant as a
       party, and that holds especially true in state family courts across the country. This
       implies that the Magistrate’s muting of the Texas pro-se Defendant that obstructs her
       from lodging objections during the State’s examination of its witness showing due
       process violations irreparably injure the vast majority of the pro se public in this Court,
       such as the Defendant proceeding pro se, and from Texas, by knowingly muting the
       Defendant and stating after rendering her decision and unmuting the Defendant that
       any of the Defendant’s post-judgment cross-examination of the witness “won’t change
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       her decision” is an abuse of the electronic technology system to disadvantage the pro-se
       Defendant in the digital court. See ABA Report here:
       https://www.srln.org/system/files/attachments/AppendixA.ABA%20remote.117-
       annual-2020.pdf


       Implication of Violating Due Process Mandates Under Turner v. Rogers, et
       al., 564 U.S. 431 (2011) on State Eligibility of Participation in Title IV-D
       Program

                1. It is in the Public’s interest AND the State’s interest to disqualify Magistrate
                   Nahabedian who uses the WebEx mute function to muzzle the pro-se
                   Defendant, failing to comply with Turner v. Rogers, et al., 564 U.S. 431
                   (2011).



                2. In this matter, on motion to re-establish child support interest brought by
                   under Title IV-D Program, the State and the Plaintiff and all persons etc., are
                   mandated by Turner v. Rogers, et al., 564 U.S. 431 (2011) to comply
                   with due process safeguards Congress intended. Specific to the due
                   process requirement Congress intended is the requirement to develop a
                   record that allows for appeal. Here, the record development requirement is
                   violative of due process.



                See Congressional Intent at eg. 42 U.S.C. 666(c)(1)(H) (expedited
       State agency procedures “shall be subject to due process safeguards,
       including (as appropriate) requirements for notice, opportunity to contest
       the action, and opportunity for an appeal on the record to an independent
       administrative or judicial tribunal”) (Emphasis added)



                3. As Congress, the United States Department of Justice, and the Secretary of
                   the U.S. Department of Health and Human Services have demonstrated their
                   concern that child-support-related proceedings be conducted fairly by

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                   repeatedly making compliance with procedural due process rules a
                   requirement of State participation in the program, it is further in the
                   State’s interest to disqualify Magistrate Nahabedian.



                4. The Defendant seeks to preserve this important issue on the record, for
                   appeal.
                5. After the conclusion of the hearing on February 2, 2024, the Defendant sent a
                   formal written email request to the Clerk of the Court, Magistrate
                   Nahabedian’s Clerk, copying the State counsel, Paul Gould, requesting an
                   electronic recording copy of the WebEx hearing, a public hearing that was also
                   livestreamed. Defendant is informed by WebEx that WebEx hearings are
                   recorded. A record of the muting, periods of muting, Defendant’s repeated
                   press of the “raise hand button” when she was muted to show her intent to
                   object but could not lodge them audibly on the record because she was muted,
                   is requested.
                6. In support of the above, the Defendant attaches herein a copy of the aforesaid
                   Defendant email request made on February 2, 2024.


       WHEREFORE, the Defendant respectfully requests the Chief Judge or designee-Judge
       Merolla of this Honorable Court to:

                1. Grant the Defendant’s Motion to Disqualify Magistrate Nahabedian.
                2. Stay proceedings in this matter to investigate the raised due process violations
                   raised herein as well as due process violation matters relating to Title IV-D
                   Programs that mandate due process proceedings, in order to enforce Title IV-
                   D Program requirements and to enforce the State to comply with Title IV-D
                   Program participation eligibility requirements.
                3. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 4, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

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                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com




                                             CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 4, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

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                                     Exhibit A
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       Case:
        Case:23-1978
                 23-1967 Document:
Submitted: 6/1/2023 7:15 PM
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Envelope:  4132664
Reviewer: Doris O.



                                STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
                PROVIDENCE, S.C.                                                       FAMILY COURT

                State of Rhode Island ex rel.
                GERO MEYERSIEK
                     Plaintiff

                VS.                                               :              DOCKET NO: K010521M


                MARY SEGUIN
                          Defendant

                       MARY SEGUIN's DECLARATION PURSUANT To RULE 37(a)(2) IN
                       SUPPORT 0F DEFENDANT'S THIRD RULE 7(b)(3) (G) MOTION TO
                      COMPEL PRODUCTION UNDER RULE 34(b), RULE 37(a)(2)(3), RULE
                                       26(b)((1), RULE 26(b)(5)




                          I, MARY SEGUIN ("Plaintiff"), resident Of the State Of Texas, in good faith,

                certify, declare, verify and state pursuant tO 28 U.S. Code sec 1746, under penalty Of

                perjury that the foregoing is true and correct:

                          1.   I received in the mail a Notice of Lien for the amount of $75,638.00 dated

                               March 3, 2022 issued by the Rhode Island Ofﬁce of Child Support Services on

                               and around mid-March 2022. In April 2022, I ﬁled a written appeal of the

                               lien. My written appeal was docketed on April 4, 2022 at the Ofﬁce of

                               Appeals of the Rhode Island Executive Ofﬁce of Health and Human Services,

                               Docket#22-2116. The Administrative Hearing was continued to the

                               maximum of three times by the Appeals Ofﬁce due to the failure of the Ofﬁce

                               Of Child Support Services to grant me, the Appellant, access to my case ﬁle.


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Reviewer: Doris O.



                             On October 5, 2022 a telephonic conference took place prior to the

                             Administrative Hearing. The participants of the telephone call were John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island, Debra DeStefano, Esq., the Hearing Ofﬁcer of the Rhode Island

                             Executive Ofﬁce of Health and Human Services Ofﬁce of Appeals in Rhode

                             Island, and myself in Texas. I, in Texas, recorded the phone call starting at

                             12:30PM Central Time, or 1:30PM Eastern Time. The recording of the

                             telephone call is 1 hour 35 minutes and 38 seconds long. I am admitting into

                             evidence the recording.

                          2. Because the entire recording is over one and half hour long, I admit into

                             evidence the attached true and accurate part of the recording where John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island stated to me and Debra DeStefano "what happened in this case is when

                             Mary's representative, her attorney, called us in later November 2021 and said

                             she wants her passport released, what does she have to do to release her

                             passport, they put her in touch with Karla, who gave her the $104k number.

                             Where that number came from was the department attorney contacted the

                             custodial parent, Mr. MEYERSIEK. So, we contacted his attorney, it wasn't

                             me, it was somebody else in my ofﬁce, and said, if she was willing to make a

                             $104k payment to pay off the principal, would you be willing to waive the

                             $75k or $73k in arrears. At that time, he said yes. So Karla notiﬁed Mary that

                             if she paid the $104k, it would be paid in full because he was willing to waive
                             the interest, that was just the principal. What happened was the day after

                             Karla told Mary to Wire the $104k the attorney for Mr. Meyersiek contacted us

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                               again and said he changed his mind. Please put the interest back on the

                               system. So we did."

                          3. I attempted to attach the audio ﬁle recording to the Rhode Island Courts e-

                               ﬁling Tyler Technologies system but was informed by the system that audio
                               ﬁles cannot be uploaded as attachments.

                          4. Therefore, I uploaded the audio ﬁle to Google Drive and shared it with

                               DomesticExhibits@Courts.ri.gov and pau1.gould@dhs.ri.gov

                          5. I further attach here the link of the shared Audio File on Google Drive as

                               https: //drive.google.com/file/d/11701n42KYv21NHK3FJ4iN41           -




                               hBMaEgQ/View?usp=sharing

                          6. I granted access to this audio ﬁle on Google Drive to

                               DomesticEXhibits@courts.ri.gov and Daul.gould@dhs.ri.go\z

                          7.   I further emailed DomesticExhibits@courts.ri.gov and Daul.gould@dhs.ri.gov

                               that this is the audio ﬁle attached to my afﬁdavit ﬁled herein in Court to

                               Admit the audio ﬁle into evidence in the above captioned matter in Family

                               Court, K20010521M.

                          8. The Family Court Clerk told me to email my exhibits and evidence along with

                               the case number K20010521M to DomesticEXhibits@courts.ri.gov

                          9. Karla Caballeros of the Rhode Island Ofﬁce of Child Support Services notiﬁed

                               me on December 7, 2021 that if I paid the $104,185.98 it would be paid in full

                               because Gero Meyersiek waived the interest. I agreed, and on December 7,

                               2021, on the same day of Karla Caballeros' notiﬁcation, I paid the $104,185.98

                               through bank wire. After I paid the full amount through bank wire, I emailed

                               Karla Caballeros also on the same day on December 7, 2021 that I wired it.

                                                                 Page 3 of 6
Case Number: K20010521M
Filed in Providence/Bristol County Family Court
       Case:
        Case:23-1978
                 23-1967 Document:
Submitted: 6/1/2023 7:15 PM
                                   Document:00118189824
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                                                 00118126457   Page:
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Envelope:  4132684
Reviewer: Doris O.



                          10. Rhode Island Ofﬁce of Child Support Services also emailed and mailed

                             through regular mail to me during litigation the TRAC note of 12/06/2021

                             and 12 / 07/ 2021 that says, "Agent contacted me that NCP wants to pay all

                             arrears to obtain passport. I called CP private attorney Barbara Grady to

                             advise, and to discuss if CP wants the interest put back on the case

                             (REDACI'ED). We removed the interest when case was made UI when we
                             were ﬁling to Texas. Atty Grady checked with CP and CP is satisﬁed with the

                             lump sum payment of principle of $104k+/-. After conference with Monique

                             and Frank Dibiase, it was decided to require payment in more secure/less

                             reversable form than credit card, so $ will need to be Wired by bank check.

                             Agent will be contacted back by NCP as NCP won't give phone number or

                             email address. Agent is not even sure if NCP is in country. Interest is not

                             included in amount that is considered for passport purposes in any event.

                          11. The statements contained in the Defendant's Second Rule 7(b)(3)(G) Motion


                             to Compel Production ﬁled on March 27 3, 2023 in the Family Court and

                             Defendant's Third Rule 7(b)(3)(G) Motion to Compel ﬁled on June 1, 2023

                             are, to my knowledge, true and correct.

                          12. I ﬁled my/ Defendant's First Rule 7(b) (3)(G) Motion to Compel Production on

                             February 3, 2023 and the Court heard this motion at the hearing in this

                             matter on February 10, 2023.

                          13. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in this

                             matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall comply with

                             discovery forthwith.



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Case Number: K20010521M
Filed in Providence/Bristol County Family Court
       Case:
        Case:23-1978
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Submitted: 6/1/2023 7:15 PM
                                   Document:00118189824
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Envelope:  4132684
Reviewer: Doris O.



                          14. At the hearing held on February 10, 2023 in this matter, the State through and

                             by Paul Gould, Esq., represented to the Court that the State on its own

                             removed interest from the system in Defendant's case ﬁle in 2018. TRAC

                             notes dated 12/06/2021 and 12/ 07/ 2021 also state that the State on its own

                             removed interest from the system in Defendant's case ﬁle in October 2018.

                          15. At the hearing held on February 10, 2023 in this matter, the Court ordered the

                             State to put interest back on the system without prejudice to the Defendant.

                          16. The Court ruled at the March 6, 2023 hearing in this matter that the interest

                             number put back on the system without prejudice to the Defendant is only a

                             "starting point" for the sole purpose of having a number to start with, without

                             prejudice to the Defendant. The Court elucidates to the Defendant, "You have

                             to have a number to start with. The State is not saying you owe this number."

                          17. The Court ruled at the March 6, 2023 hearing in this matter that the State ex.

                             Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest number

                             which the Court ordered to put back on the system without prejudice to the

                             Defendant.

                          18. I, the Defendant in this matter, in good faith, attempted to confer with the

                             State/ Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,

                             2023 hearing to make discovery in an effort to secure the information and

                             documents requested in my/ Defendant's Request for Product of Documents

                             without court action in the form of a formal Motion to Compel. However, the

                             State/ Plaintiff replied in Court that the State stands by the responses

                             propounded by the State/ Plaintiff in the Plaintist Response to Defendant's

                             Request for Production of Documents dated February 16, 2023 and continues

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Case Number: K20010521M
Filed in Providence/Bristol County Family Court
       Case:
        Case:23-1978
                 23-1967 Document:
Submitted: 6/1/2023 7:15 PM
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Envelope:  4132684
Reviewer: Doris O.



                             to stand by those said responses up to June 8, 2023, the date this matter is

                             continued for hearing on the State/Plaintiffs DHS Motion.

                          19. I, the Defendant in this matter, in good faith, again attempted to confer with

                             the State/ Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,

                             including sending more than 12 email confer attempts to make discovery in an

                             effort to secure the information and documents requested in my/ Defendant's

                             Requests for Production of Documents without court action in the form of a

                             formal Motion to Compel. However, the State/ Plaintiff again replied during a

                             May 9, 2023 telephone conference with the Defendant that the State/ Plaintiff

                             stands by the responses propounded by the State/ Plaintiff in the Plaintist

                             Responses to Defendant's Requests for Production of Documents in February

                             and April of 2023. The Defendant further revised Defendant's First Set of

                             Interrogatories pursuant to discussions at the aforesaid May 9, 2023

                             discovery telephone conference, as well as asked the State / Plaintiff in writing

                             via email to reply to the Defendant if the State / Plaintiff has any further

                             questions or issues to discuss without court action, but again, the

                             State/ Plaintiff failed to communicate any objections or issues with the

                             Defendant.

                          20.1 certify that the above is true and correct.


                          Declaration Executed on June 1, 2023 by Mary Seguin




                                                                          Mary Seguin



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Case:
Case:23-1978
      23-1967   Document:
                Document:00118189824
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                                         Exhibit B
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Case:23-1978
      23-1967       Document:
                    Document:00118189824
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                                                                             Mary Seguin <maryseguin22022@gmail.com>



 Request for Audio Recording of Remote WebEx hearing
 Mary Seguin <maryseguin22022@gmail.com>                                                 Fri, Feb 2, 2024 at 7:21 PM
 To: virtualfamilyclerk@courts.ri.gov
 Cc: Richard Santamaria <Rdsantamaria@courts.ri.gov>, "Nahabedian, Susan" <snahabedian@courts.ri.gov>

   Dear Clerk of the Family Court,

   I am respectfully requesting the audio recording of the WebEx hearing in this matter, Gero Meyersiek v. Mary Seguin,
   K2001-0521M that was scheduled on February 2, 2024 at 2PM EST.

   Please email the audio recording to me as soon as possible.

   Thank you.

   Respectfully Submitted,
   Mary Seguin

   ---------- Forwarded message ---------
   From: Mary Seguin <maryseguin22022@gmail.com>
   Date: Fri, Feb 2, 2024 at 2:38 PM
   Subject: Request for Audio Recording of Remote WebEx hearing
   To: Santamaria, Richard <rdsantamaria@courts.ri.gov>
   Cc: Gould, Paul (DHS) <Paul.Gould@dhs.ri.gov>, Nahabedian, Susan <snahabedian@courts.ri.gov>


   Dear Clerk of the Court,

   I am respectfully requesting the WebEx hearing audio recording of the hearing in this matter, Gero Meyersiek v Mary
   Seguin, K-0521M that was scheduled on February 2, 2024 at 2PM EST.

   Please email the audio recording to me.

   Thank you.

   Respectfully submitted,
   Mary Seguin



         On Jan 18, 2024, at 2:18 PM, Santamaria, Richard <rdsantamaria@courts.ri.gov> wrote:




         Ms. Seguin,



         We have finished scanning the entire file. I will be emailing you the documents In increments, as I did
         before.




         Thank you for your patience during this process.
Case:
Case:23-1978
      23-1967     Document:
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       Regards,

       Richard




        <image001.jpg>

                         Richard Santamaria, Jr.
                         Deputy Clerk
                         Domestic Clerk's Office
                         Rhode Island Family Court
                         One Dorrance Plaza
                         Providence, RI 02903
                         Phone: 401-458-3122
                         rdsantamaria@courts.ri.gov |
                         www.courts.ri.gov




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                                         EXHIBIT G
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Case:23-1978
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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.              :
       GERO MEYERSIEK                             :
              Plaintiff                           :
                                                  :
       VS.                                        :              DOCKET NO: K010521M
                                                  :
                                                  :
       MARY SEGUIN                                :
           Defendant                              :


             DEFENDANT’S MOTION FOR A VIDEO RECORDING OF TITLE IV-D
                               WEBEX HEARING


                Now comes the Texas Defendant, MARY SEGUIN (“Seguin”) and hereby
       respectfully moves the Chief Judge of Family Court, the Honorable Michael Forte, to
       send the Defendant a sound recording and video recording of the public court
       hearing heard via WebEx scheduled on February 2, 2024 at 2 PM Eastern Time in the
       above-captioned matter, a Title IV-D Case.

                Defendant requests a hearing on this matter.

                Defendant proceeds pro-se in Texas. The State alleges a substantial but
       unsubstantiated $81,652.46 in interest arrears without any evidentiary
       substantiation of the validity and accuracy of the alleged arrears on the
       record in this interstate Title IV-D Program case.

                During the entirety of the trial phase of the Title IV-D case WebEx hearing on the
       State’s alleged $81,852.46 in interest arrears, the WebEx Host/Magistrate forcibly
       muted the Defendant for the entire “trial phase” all the way to and through the
       Magistrate’s reading the decision into the record. Only after the decision was read into
       the record was the Defendant unmuted by the WebEx Host/Magistrate. Defendant was
       unable to unmute the Host’s/Magistrate’s mute, and repeatedly pushed the “raise hand”
       button to signal Defendant’s intent to speak to present Defendant’s case, but to no avail.

                                                Page 1 of 8
Case:
Case:23-1978
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                 Document:00118189824
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          I.       Background

                While the court records lacks documentary evidence substantiating the State’s
       allegation of the $81,654.62 in interest arrears, on the other hand, Defendant has filed
       several motions and submitted evidence into the record from February 3, 2023 to
       August 2023 documentary evidence of screen shots taken on December 6, 2021 showing
       “$0.00 interest” reflected on the Defendant’s online account as of November 30, 2021
       which Office of Child Support Services represented to the Texas Defendant showed that
       interest was waived by the Plaintiff. Defendant’s online account screenshot on
       December 6, 2021 showing “$0.00 interest” coupled with Office of Child Support
       Services representation that the “$0.00 interest” showed interest was waived by the
       Plaintiff led the Texas Plaintiff to reasonably rely on the accuracy of the State’s
       representation that interest was waived, in consideration of the Defendant agreeing to
       pay off the principle in one lump sum. Defendant in Texas accepted and paid in full IN
       ONE LUMP SUM the pay off of $104,185.98 that Office of Child Support sent to
       Defendant in writing by email to pay off arrears in full via bank wire on December 7,
       2021, in consideration of the Plaintiff GERO MEYERSIEK waiving interest. The
       agreement was brokered by the State, by Deputy Legal Counsel Kevin Tigue (“Tigue”) of
       Office of Child Support Services and Attorney Barbara Grady on behalf of Plaintiff
       GERO MEYERSIEK. This is documented in the Defendant’s Title IV-D Child Support
       case file on the “TRAC dated 12/06/2021 and 12/07/2021” that shows Tigue brokering
       the interest waiver with Attorney Barbara Grady on behalf of Gero Meyersiek in
       consideration of Defendant paying a lump sum payment of $104, 185.98 in principle as
       payoff. Defendant submitted the aforesaid documents into the record, attached to
       Defendant’s affidavits. Defendant again attaches the aforesaid online account screen
       shot showing “$0.00 interest” as of November 30, 2021 and the “TRAC for 12/06/2021
       and 12/07/2021” as Exhibit A to this Motion.

                Additionally, at a Prehearing telephonic conference that took place on October 5,
       2022, The participants of the telephone call were John Langlois, Esq., of the Rhode
       Island Office of Child Support Services in Rhode Island, Debra DeStefano, Esq., the
       Hearing Officer of the Rhode Island Executive Office of Health and Human Services
       Office of Appeals in Rhode Island, and Defendant in Texas. Defendant, in Texas,

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Case:
Case:23-1978
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                 Document:00118189824
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       recorded the phone call starting at 12:30PM Central Time, or 1:30PM Eastern Time. The
       recording of the telephone call is 1 hour 35 minutes and 38 seconds long. Defendant is
       admitting into evidence the recording. Listen to the audio recording at the link here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing



                Because the entire recording is over one and half hour long, Defendant admitted
       into evidence the attached true and accurate part of the recording where John Langlois,
       Esq., of the Rhode Island Office of Child Support Services in Rhode Island stated to
       Defendant and Debra DeStefano “what happened in this case is when Mary’s
       representative, her attorney, called us in later November 2021 and said she wants her
       passport released, what does she have to do to release her passport, they put her in
       touch with Karla, who gave her the $104k number. Where that number came from was
       the department attorney contacted the custodial parent, Mr. MEYERSIEK. So, we
       contacted his attorney, it wasn’t me, it was somebody else in my office, and said, if she
       was willing to make a $104k payment to pay off the principal, would you be willing to
       waive the $75k or $73k in arrears. At that time, he said yes. So Karla notified Mary that
       if she paid the $104k, it would be paid in full because he was willing to waive the
       interest, that was just the principle. What happened was the day after Karla told Mary to
       wire the $104k the attorney for Mr. Meyersiek contacted us again and said he changed
       his mind. Please put the interest back on the system. So we did.”

                https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                hBMaEg9/view?usp=sharing
                The above are but some of the many evidence the Defendant had already
       submitted into the record on file, but not formally admitted into evidence by a trial
       justice at a hearing. Therefore, the record is amply clear that Defendant intends and
       seeks to exercise her right to the opportunity to be heard (not muted in a WebEx hearing
       by the Magistrate the duration of the trial phase of the hearing).

          II.      Defendant was forcibly Muted for the Entire Duration of the Trial
                   Phase of the Hearing

                                                Page 3 of 8
Case:
Case:23-1978
      23-1967    Document:
                 Document:00118189824
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                1. The WebEx Host/Magistrate had put Defendant on mute throughout the
                   duration of the State’s witness testimony all the way through to reading into
                   the record the decision using a new WebEx Mute function. Defendant was
                   unable as an individual participant to unmute the WebEx Host‘s mute of the
                   Defendant.
                2. For the duration of the opposing party’s testimony and then through to the
                   end of the reading of the decision into the record, Defendant was forcibly put
                   on mute.
                3. Defendant pressed the “raise hand” button repeatedly seeking to be heard, but
                   to no avail.
                4. If the act of forcibly muting Defendant is not on the appeal record in the
                   WebEx hearing, the record is inaccurate, falsely making it look like Defendant
                   didn’t mount a defense/present evidence before the decision, when in fact
                   Defendant was forcibly muted and used the “raise hand” button repeatedly to
                   signal Defendant’s intent to speak/present evidence/present argument
                   throughout the “trial evidence and argument” phase, but to no avail.
                5. The transcript must accurately reflect the fact that the WebEx
                   Host/Magistrate had forcibly put the Defendant on mute throughout the
                   duration of the trial, resulting in the trial consisted only of the State’s witness
                   testimony, all the way through to the reading into the record the court’s
                   decision using a new WebEx Host mute function. Defendant was unable as an
                   individual participant to unmute the WebEx Host‘s mute of the Defendant.
                6. The Host’s/Magistrate’s mute of the Defendant was not explicitly verbalized
                   on the record beforehand or after unmuting. But the act of the forcible
                   Host/Magistrate muting of the Defendant, when said muting occurred during
                   the State’s testimony/evidence/argument, is crucial to the accuracy of the
                   record, that is guaranteed by the due process provisions of Federal Title IV-D.
                7. Defendant was forcibly muted from raising objections to the opposing party’s
                   questions on their direct.
                8. Defendant was forcibly muted from cross-examining the State’s witness.



                                                  Page 4 of 8
Case:
Case:23-1978
      23-1967    Document:
                 Document:00118189824
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                9. Defendant was forcibly muted from presenting Defendant’s evidence, inter
                   alia the above-mentioned evidence.
                10. Defendant was forcibly muted from presenting Defendant’s arguments
                   regarding the State’s insufficiency/lack of evidence substantiating or
                   supporting the accuracy of alleged arrears calculated and alleged owed.
                11. Defendant was forcibly muted from being heard on evidence and arguments.
                12. Then, going straight to reading a judgment into the record while still keeping
                   Defendant on mute makes the alleged judgement read into the record lack due
                   process. The record must reflect the act of muting the Defendant for the
                   entire trial phase of the hearing.
                13. If the act of forcibly muting the Defendant is not on the record in the WebEx
                   hearing, the record is inaccurate, making it look like Defendant did not mount
                   a defense/present evidence before the decision, when in fact Defendant was
                   forcibly muted and vigorously used the “raise hand” button repeatedly to
                   signal Defendant’s intent to speak and present Defendant’s evidentiary case
                   throughout the “trial evidence and argument” phase, but to no avail.
                14. From the start of mute to the time of unmuting must be part of the record.
                15. The Texas Defendant was summoned to a WebEx hearing where Defendant
                   was forcibly muted and prevented from being heard for the crucial entire
                   phase of the “trial, evidence and argument” of the hearing all the way through
                   to the reading of the decision into the record, which must be preserved in the
                   record to reflect a true/accurate record of the proceeding.
                16. The Defendant respectfully requests to obtain a complete and true video
                   record of the WebEx hearing that appeared on the computer screen replete
                   with being forcibly muted as is indicated by a crossed out microphone icon at
                   the bottom-right corner of the participant’s window, replete with showing the
                   “raising hand” icon pressed and all the crucial records showing the
                   suppression of Defendant’s intent to be heard that must be preserved on the
                   record.
                17. This was a public hearing which was live-streamed.
                18. Defendant requests a sound and video recording of the above WebEx hearing.


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Case:
Case:23-1978
      23-1967    Document:
                 Document:00118189824
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                19. The issue of paramount concern, among others, is the due process protections
                   that apply. The state child-support enforcement program at issue in this
                   matter (which is an interstate child support case), like that in every other
                   State, is part of one of the largest cooperative federal-state programs,
                   established under the Social Services Amendments of 1974 (1975 Act), Pub. L.
                   No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et seq.) (adding Title IV-D
                   to the Social Security Act).

                20. Congress and the Secretary of the U.S. Department of Health and Human
                   Services have demonstrated their concern that child-support-related
                   proceedings be conducted fairly by repeatedly making compliance with
                   procedural due process rules a requirement of State participation in the
                   program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial
                   parents’ state income tax refunds to pay overdue support permitted only
                   “after full compliance with all procedural due process requirements of the
                   State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                   delinquency to credit bureaus “only after [the] parent has been afforded all
                   due process required under State law, including notice and a reasonable
                   opportunity to contest the accuracy of such information.”); 42 U.S.C.
                   666(a)(8)(B)(iv) (income withholding “must be carried out in full compliance
                   with all procedural due process requirements of the State”); 42 U.S.C.
                   666(c)(1)(H) (expedited State agency procedures “shall be subject to due
                   process safeguards, including (as appropriate) requirements for notice,
                   opportunity to contest the action, and opportunity for an appeal on
                   the record to an independent administrative or judicial tribunal”); see also
                   45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4),
                   303.101(c)(2), 303.102(c)(1), 303.104(b).

                21. It is therefore unequivocal that due process in any and all tribunal(s) must
                   provide the Defendant Noncustodial Parent the opportunity to
                   contest the accuracy of the information and/or the accuracy of the
                   alleged arrears put forth by the State Agency, a Title IV-D Program State
                   Agency, as in this instant case here.

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                22. Under Turner v. Rogers, et al., 564 U.S. 431 (2011), the pro-se Texas
                   Defendant has the due process and equal protection right to (1) identify the
                   central issues; (2) present evidence; (3) present arguments.
                23. Defendant further sent a written letter request to the Office of the Chief Judge
                   of the Family Court for the same audio and video recordings.
                24. In support of this motion, the Defendant attaches to this herein motion the
                   following evidence ( just a portion of the total evidence) that Defendant was
                   prevented from presenting at the WebEx hearing – these were also previously
                   submitted into the record by the Defendant from February 2023 to June
                   2023:
                              (1) A copy of the screen shots of Noncustodial Parent Defendant’s
                                 online child support account statement of total arrears owed
                                 that shows “$0.00” under “Interest” as of November 30, 2021
                                 which Karla Cabelleros of Office of Child Support Services told
                                 the Defendant showing Gero Meyersiek waived interest and to
                                 rely on the arrears amount figures on the screen stating
                                 “$93,214.56 of principle arrears, $0.00 of interest.”
                              (2) A copy of the TRAC notes of 12/6/2021 and 12/7/2021
                              (3) A copy of the emails between Defendant and Karla Caballeros
                                 on December 6, 2021 and December 7, 2021.

       WHEREFORE, the Defendant respectfully requests the Chief Judge of this Honorable
       Court to:

                1. Grant the Defendant’s Motion for an audio recording and Video recording of
                   the February 2, 2024 Title IV-D WebEx Hearing on this matter.
                2. Declare that Defendant’s child support record file maintained by the Rhode
                   Island Office of Child Support Services that by law codified in Title IV-D
                   Program of the Social Security Act must be produced to the Defendant
                   Noncustodial Parent upon request, including the factual events in this case
                   relating to the waiver of interest that is material to the accuracy of the alleged
                   interest arrears.
                3. Order a hearing.
                4. Listen to and admit into evidence the audio recording of John Langlois of
                   Office of Child Support Services here:
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing


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                5. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 5, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com




                                              CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 5, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                               FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :
                                                 :
       MARY SEGUIN                               :
           Defendant                             :


                  DEFENDANT’S MOTION TO DISMISS INTEREST ARREARS


                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby
       moves to dismiss interest arrears. Defendant respectfully requests and moves for a
       hearing on Defendant’s herein Motion to Dismiss Interest Arrears.

                Defendant separately filed accompanying this motion Defendant’s Motion to
       Disqualify Magistrate Nahabedian, that is related to this herein motion. As facts fully
       alleged herein, Defendant incorporates all the facts averred to in Defendant’s Motion to
       Disqualify that outlines the fact at the WebEx Hearing scheduled at 2 PM Eastern Time
       on February 2, 2024, Magistrate Nahabedian instructed the Defendant to file a separate
       Motion to challenge the accuracy of the information presented on the record in this
       matter by the Office of Child Support Services (“the State”) of the alleged interest owed
       and to challenge whether interest is owed. Additionally, the Defendant requests and
       moves for a hearing to present evidence showing that the Plaintiff’s private attorney
       Barbara Grady provided oral representation and sent written statements representing to
       the Office of Child Support Services that Gero Meyersiek waived interest.

                In support of Defendant’s herein Motion to Dismiss Interest Arrears, the
       Defendant again re-attaches Defendant’s Affidavit of the Facts filed and submitted into
       the record in this matter on June 1, 2023 (see Exhibit A) and states the following facts:



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                 1. The State (Rhode Island Office of Child Support Services) computation of
                    alleged interest arrears of over $81k is inaccurate and the Defendant
                    moves for a hearing to challenge and question the State on the State’s
                    information and computation.
                 2. The child in question turned 18 years old and was emancipated on April
                    21, 2018, and is now a 24 year old adult.
                 3. Further, Defendant received in the mail a Notice of Lien for the amount of
                    $75,638.00 dated March 3, 2022 issued by the Rhode Island Office of
                    Child Support Services without supporting documentation justifying the
                    lien amount on and around mid-March 2022.
                 4. In April 2022, Defendant filed a written appeal of the lien. Defendant’s
                    written appeal was docketed on April 4, 2022 at the Office of Appeals of
                    the Rhode Island Executive Office of Health and Human Services,
                    Docket#22-2116. The Administrative Hearing was continued to the
                    maximum of three times by the Appeals Office due to the failure of the
                    Office of Child Support Services to grant Defendant access to Defendant’s
                    child support case file.
                 5. On October 5, 2022 a telephonic conference took place prior to the
                    Administrative Hearing. The participants of the telephone call were John
                    Langlois, Esq., of the Rhode Island Office of Child Support Services in
                    Rhode Island, Debra DeStefano, Esq., the Hearing Officer of the Rhode
                    Island Executive Office of Health and Human Services Office of Appeals in
                    Rhode Island, and Defendant in Texas. Defendant, in Texas, recorded the
                    phone call starting at 12:30PM Central Time, or 1:30PM Eastern Time.
                    The recording of the telephone call is 1 hour 35 minutes and 38 seconds
                    long. Defendant is admitting into evidence the recording, Exhibit A.
                    Listen to the audio recording at the link here:
                    https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                    hBMaEg9/view?usp=sharing
                 6. Because the entire recording is over one and half hour long, Defendant
                    admits into evidence the attached true and accurate part of the recording
                    where John Langlois, Esq., of the Rhode Island Office of Child Support
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Case:
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                    Services in Rhode Island stated to Defendant and Debra DeStefano “what
                    happened in this case is when Mary’s representative, her attorney, called
                    us in later November 2021 and said she wants her passport released, what
                    does she have to do to release her passport, they put her in touch with
                    Karla, who gave her the $104k number. Where that number came from
                    was the department attorney contacted the custodial parent, Mr.
                    MEYERSIEK. So, we contacted his attorney, it wasn’t me, it was somebody
                    else in my office, and said, if she was willing to make a $104k payment to
                    pay off the principal, would you be willing to waive the $75k or $73k in
                    arrears. At that time, he said yes. So Karla notified Mary that if she paid
                    the $104k, it would be paid in full because he was willing to waive the
                    interest, that was just the principal. What happened was the day after
                    Karla told Mary to wire the $104k the attorney for Mr. Meyersiek
                    contacted us again and said he changed his mind. Please put the interest
                    back on the system. So we did.”
                    https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                    hBMaEg9/view?usp=sharing
                 7. Karla Caballeros of the Rhode Island Office of Child Support Services
                    notified the Texas Defendant Seguin on December 7, 2021 that if the
                    Defendant paid the $104,185.98 it would be paid in full because Gero
                    Meyersiek waived the interest. Defendant agreed, and on December 7,
                    2021, on the same day of Karla Caballeros’ notification, Defendant paid
                    the $104,185.98 through bank wire in Texas. After Defendant paid the full
                    amount through bank wire, Defendant emailed Karla Caballeros also on
                    the same day on December 7, 2021 that Defendant wired it.
                 8. Rhode Island Office of Child Support Services also emailed and mailed
                    through regular mail to Defendant on or about February 2023 during
                    Court ordered discovery the Office of Child Support’s “TRAC note” of
                    12/06/2021 and 12/07/2021 that states, “Agent contacted me that NCP
                    wants to pay all arrears to obtain passport. I called CP private attorney
                    Barbara Grady to advise, and to discuss if CP wants the interest put back
                    on the case (REDACTED). We removed the interest when case was made
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                    UI when we were filing to Texas. Atty Grady checked with CP and CP is
                    satisfied with the lump sum payment of principle of $104k+/-. After
                    conference with Monique and Frank Dibiase, it was decided to require
                    payment in more secure/less reversable form than credit card, so $ will
                    need to be wired by bank check. Agent will be contacted back by NCP as
                    NCP won’t give phone number or email address. Agent is not even sure if
                    NCP is in country. Interest is not included in amount that is considered for
                    passport purposes in any event.” The statements contained in the
                    Defendant’s Second Rule 7(b)(3)(G) Motion to Compel Production filed on
                    March 27 3, 2023 in the Family Court and Defendant’s Third Rule
                    7(b)(3)(G) Motion to Compel filed on June 1, 2023 are, to Defendant’s
                    knowledge, true and correct.
                 9. Defendant filed Defendant’s First Rule 7(b)(3)(G) Motion to Compel
                    Production on February 3, 2023 and the Court heard this motion at the
                    hearing in this matter on February 10, 2023.
                 10. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in
                    this matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall
                    comply with discovery forthwith.
                 11. At both the WebEx hearing held on February 10, 2023 in this matter and
                    at the February 2, 2024 WebEx hearing in this matter, the State through
                    and by Paul Gould, Esq., represented to the Court that the State on its own
                    removed interest from the system in Defendant’s case file in 2018. TRAC
                    notes dated 12/06/2021 and 12/07/2021 also state that the State on its
                    own removed interest from the system in Defendant’s case file in October
                    2018.
                 12. At the hearing held on February 10, 2023 in this matter, the Court ordered
                    the State to put interest back on the system without prejudice to the
                    Defendant.
                 13. The Court ruled at the March 6, 2023 hearing in this matter that the
                    interest number put back on the system without prejudice to the
                    Defendant is only a “starting point” for the sole purpose of having a
                    number to start with, without prejudice to the Defendant. The Court
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                    elucidates to the Defendant, “You have to have a number to start with. The
                    State is not saying you owe this number.”
                 14. The Court ruled at the March 6, 2023 hearing in this matter that the State
                    ex. Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest
                    number which the Court ordered to put back on the system without
                    prejudice to the Defendant.
                 15. The Defendant in this matter, in good faith, attempted to confer with the
                    State/Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,
                    2023 hearing to make discovery in an effort to secure the information and
                    documents requested in Defendant’s Request for Product of Documents
                    without court action in the form of a formal Motion to Compel. However,
                    the State/ Plaintiff replied in Court that the State stands by the responses
                    propounded by the State/Plaintiff in the Plaintiff’s Response to
                    Defendant’s Request for Production of Documents dated February 16,
                    2023 and continues to stand by those said responses up to June 8, 2023.
                 16. The Defendant requested any and all documents in Defendant’s child
                    support case file relating to the TRAC notes of 12/6/2021 and 12/7/2021
                    as well as relating the substance of John Langlois’s statements regarding
                    “what happened in this case” that discuss Gero Meyersiek’s lawyer Barbara
                    Grady phoning the Office of the Child Support Services that Gero
                    Meyersiek said yes, he “agreed to waive the $73k or $75k that are in
                    arrears,” which are part of Defendant’s child support case file. (audio
                    recording of John Langlois is here
                    https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                    hBMaEg9/view?usp=sharing But, the Office of the Child Support Services
                    refused to produce those records, claiming Client-Attorney Privilege.
                    However, the State never produced any Privilege Log, as is required by
                    law.
                 17. The Defendant in good faith again attempted to confer with the
                    State/Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,
                    including sending more than 12 email confer attempts to make discovery
                    in an effort to secure the information and documents requested in
                                              Page 5 of 9
Case:
Case:23-1978
      23-1967   Document:
                Document:00118189824
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                    my/Defendant’s Requests for Production of Documents without court
                    action in the form of a formal Motion to Compel. However, the
                    State/Plaintiff again replied during a May 9, 2023 telephone conference
                    with the Defendant that the State/Plaintiff stands by the responses
                    propounded by the State/Plaintiff in the Plaintiff’s Responses to
                    Defendant’s Requests for Production of Documents in February and April
                    of 2023. The Defendant further revised Defendant’s First Set of
                    Interrogatories pursuant to discussions at the aforesaid May 9, 2023
                    discovery telephone conference, as well as asked the State/Plaintiff in
                    writing via email to produce Defendant’s requested documents in
                    Defendant’s child support case file relating to “TRAC notes of 12/6/2021
                    and 12/7/2021” as well as relating to the substance of John Langlois’s
                    audio recorded October 5, 2022 statements regarding “what happened in
                    this case” that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the
                    Office of the Child Support Services that Gero Meyersiek said yes, he
                    “agreed to waive the $73k or $75k that are in arrears,” which are part of
                    Defendant’s child support case file.
                 18. The issue of paramount concern, among others, is the due process
                    protections that apply. The state child-support enforcement program at
                    issue in this matter (which is an interstate child support case), like that
                    in every other State, is part of one of the largest cooperative federal-state
                    programs, established under the Social Services Amendments of 1974
                    (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et
                    seq.) (adding Title IV-D to the Social Security Act).

                 19. Congress and the Secretary of the U.S. Department of Health and Human
                    Services have demonstrated their concern that child-support-related
                    proceedings be conducted fairly by repeatedly making compliance with
                    procedural due process rules a requirement of State participation in the
                    program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-
                    custodial parents’ state income tax refunds to pay overdue support
                    permitted only “after full compliance with all procedural due process

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                    requirements of the State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report
                    child-support delinquency to credit bureaus “only after [the] parent has
                    been afforded all due process required under State law, including notice
                    and a reasonable opportunity to contest the accuracy of such
                    information.”); 42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must
                    be carried out in full compliance with all procedural due process
                    requirements of the State”); 42 U.S.C. 666(c)(1)(H) (expedited State
                    agency procedures “shall be subject to due process safeguards, including
                    (as appropriate) requirements for notice, opportunity to contest the
                    action, and opportunity for an appeal on the record to an
                    independent administrative or judicial tribunal”); see also 45 C.F.R.
                    302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4), 303.101(c)(2),
                    303.102(c)(1), 303.104(b).

                 20. It is therefore unequivocal that due process in any and all State tribunal(s)
                    in the United States must provide the Defendant Noncustodial
                    Parent the opportunity to contest the accuracy of the information
                    and/or the accuracy of the alleged arrears put forth by the State
                    Agency, a Title IV-D Program State Agency, as in this instant case here.
                 21. In support of this motion, the Defendant attaches to this herein motion the
                    following:
                           (1) A copy of the screen shots of Noncustodial Parent Defendant’s
                                 online child support account statement of total arrears owed
                                 that shows “$0.00” under “Interest” as of November 30, 2021
                                 which Karla Cabelleros of Office of Child Support Services told
                                 the Defendant showing Gero Meyersiek waived interest and to
                                 rely on the arrears amount figures on the screen stating
                                 “$93,214.56 of principle arrears, $0.00 of interest.” Marked as
                                 Exhibit B
                           (2) A copy of the TRAC notes of 12/6/2021 and 12/7/2021 marked
                                 as Exhibit C



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                             (3) A copy of the letter from Executive Office of Health and Human
                                Services Appeals Officer, Debra DeStefano, sent to the
                                Defendant in Texas outlining agreements made at the pre-
                                hearing conference held on October 5, 2022, where John
                                Langlois stated, “So, we contacted his attorney, it wasn’t me, it
                                was somebody else in my office, and said, if she was willing to
                                make a $104k payment to pay off the principal, would you be
                                willing to waive the $75k or $73k in arrears. At that time, he
                                said yes. So Karla notified Mary that if she paid the $104k, it
                                would be paid in full because he was willing to waive the
                                interest, that was just the principal.” Listen to the audio
                                recording here:
                                https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_
                                -hBMaEg9/view?usp=sharing Marked as Exhibit D.
                             (4) A copy of the emails between Defendant and Karla Caballeros
                                on December 6, 2021 and December 7, 2021. Marked as
                                Exhibit E.

       WHEREFORE, the Defendant respectfully requests the Chief Judge or designee-Judge
       Merolla of this Honorable Court to:

                1. Grant the Defendant’s Motion to Dismiss Interest Arrears.
                2. Grant the Defendant’s request for her records relating to the “TRAC notes of
                   12/6/2021 and 12/7/2021” as well as relating to the substance of John
                   Langlois’s audio recorded October 5, 2022 statements regarding “what
                   happened in this case” that discuss Gero Meyersiek’s lawyer Barbara Grady
                   phoning the Office of the Child Support Services that Gero Meyersiek said yes,
                   he “agreed to waive the $73k or $75k that are in arrears” as of December 6,
                   2021 and October 5, 2022 which are part of Defendant’s child support case
                   file.
                3. Declare that Defendant’s child support record file maintained by the Rhode
                   Island Office of Child Support Services that by law codified in Title IV-D
                   Program of the Social Security Act must be produced to the Defendant
                   Noncustodial Parent upon request.
                4. Order a hearing on the herein issues raised in this matter.
                5. Listen to and admit into evidence the audio recording of John Langlois of
                   Office of Child Support Services here:
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing

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Case:
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                6. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 4, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com




                                              CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 4, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

                                                         _______________________




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                                     Exhibit A
Case Number: K20010521M
Filed in Providence/Bristol County Family Court
       Case:
        Case:23-1978
                 23-1967 Document:
Submitted: 6/1/2023 7:15 PM
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Envelope:  4132664
Reviewer: Doris O.



                                STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
                PROVIDENCE, S.C.                                                       FAMILY COURT

                State of Rhode Island ex rel.
                GERO MEYERSIEK
                     Plaintiff

                VS.                                               :              DOCKET NO: K010521M


                MARY SEGUIN
                          Defendant

                       MARY SEGUIN's DECLARATION PURSUANT To RULE 37(a)(2) IN
                       SUPPORT 0F DEFENDANT'S THIRD RULE 7(b)(3) (G) MOTION TO
                      COMPEL PRODUCTION UNDER RULE 34(b), RULE 37(a)(2)(3), RULE
                                       26(b)((1), RULE 26(b)(5)




                          I, MARY SEGUIN ("Plaintiff"), resident Of the State Of Texas, in good faith,

                certify, declare, verify and state pursuant tO 28 U.S. Code sec 1746, under penalty Of

                perjury that the foregoing is true and correct:

                          1.   I received in the mail a Notice of Lien for the amount of $75,638.00 dated

                               March 3, 2022 issued by the Rhode Island Ofﬁce of Child Support Services on

                               and around mid-March 2022. In April 2022, I ﬁled a written appeal of the

                               lien. My written appeal was docketed on April 4, 2022 at the Ofﬁce of

                               Appeals of the Rhode Island Executive Ofﬁce of Health and Human Services,

                               Docket#22-2116. The Administrative Hearing was continued to the

                               maximum of three times by the Appeals Ofﬁce due to the failure of the Ofﬁce

                               Of Child Support Services to grant me, the Appellant, access to my case ﬁle.


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                             On October 5, 2022 a telephonic conference took place prior to the

                             Administrative Hearing. The participants of the telephone call were John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island, Debra DeStefano, Esq., the Hearing Ofﬁcer of the Rhode Island

                             Executive Ofﬁce of Health and Human Services Ofﬁce of Appeals in Rhode

                             Island, and myself in Texas. I, in Texas, recorded the phone call starting at

                             12:30PM Central Time, or 1:30PM Eastern Time. The recording of the

                             telephone call is 1 hour 35 minutes and 38 seconds long. I am admitting into

                             evidence the recording.

                          2. Because the entire recording is over one and half hour long, I admit into

                             evidence the attached true and accurate part of the recording where John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island stated to me and Debra DeStefano "what happened in this case is when

                             Mary's representative, her attorney, called us in later November 2021 and said

                             she wants her passport released, what does she have to do to release her

                             passport, they put her in touch with Karla, who gave her the $104k number.

                             Where that number came from was the department attorney contacted the

                             custodial parent, Mr. MEYERSIEK. So, we contacted his attorney, it wasn't

                             me, it was somebody else in my ofﬁce, and said, if she was willing to make a

                             $104k payment to pay off the principal, would you be willing to waive the

                             $75k or $73k in arrears. At that time, he said yes. So Karla notiﬁed Mary that

                             if she paid the $104k, it would be paid in full because he was willing to waive
                             the interest, that was just the principal. What happened was the day after

                             Karla told Mary to Wire the $104k the attorney for Mr. Meyersiek contacted us

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                               again and said he changed his mind. Please put the interest back on the

                               system. So we did."

                          3. I attempted to attach the audio ﬁle recording to the Rhode Island Courts e-

                               ﬁling Tyler Technologies system but was informed by the system that audio
                               ﬁles cannot be uploaded as attachments.

                          4. Therefore, I uploaded the audio ﬁle to Google Drive and shared it with

                               DomesticExhibits@Courts.ri.gov and pau1.gould@dhs.ri.gov

                          5. I further attach here the link of the shared Audio File on Google Drive as

                               https: //drive.google.com/file/d/11701n42KYv21NHK3FJ4iN41           -




                               hBMaEgQ/View?usp=sharing

                          6. I granted access to this audio ﬁle on Google Drive to

                               DomesticEXhibits@courts.ri.gov and Daul.gould@dhs.ri.go\z

                          7.   I further emailed DomesticExhibits@courts.ri.gov and Daul.gould@dhs.ri.gov

                               that this is the audio ﬁle attached to my afﬁdavit ﬁled herein in Court to

                               Admit the audio ﬁle into evidence in the above captioned matter in Family

                               Court, K20010521M.

                          8. The Family Court Clerk told me to email my exhibits and evidence along with

                               the case number K20010521M to DomesticEXhibits@courts.ri.gov

                          9. Karla Caballeros of the Rhode Island Ofﬁce of Child Support Services notiﬁed

                               me on December 7, 2021 that if I paid the $104,185.98 it would be paid in full

                               because Gero Meyersiek waived the interest. I agreed, and on December 7,

                               2021, on the same day of Karla Caballeros' notiﬁcation, I paid the $104,185.98

                               through bank wire. After I paid the full amount through bank wire, I emailed

                               Karla Caballeros also on the same day on December 7, 2021 that I wired it.

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                          10. Rhode Island Ofﬁce of Child Support Services also emailed and mailed

                             through regular mail to me during litigation the TRAC note of 12/06/2021

                             and 12 / 07/ 2021 that says, "Agent contacted me that NCP wants to pay all

                             arrears to obtain passport. I called CP private attorney Barbara Grady to

                             advise, and to discuss if CP wants the interest put back on the case

                             (REDACI'ED). We removed the interest when case was made UI when we
                             were ﬁling to Texas. Atty Grady checked with CP and CP is satisﬁed with the

                             lump sum payment of principle of $104k+/-. After conference with Monique

                             and Frank Dibiase, it was decided to require payment in more secure/less

                             reversable form than credit card, so $ will need to be Wired by bank check.

                             Agent will be contacted back by NCP as NCP won't give phone number or

                             email address. Agent is not even sure if NCP is in country. Interest is not

                             included in amount that is considered for passport purposes in any event.

                          11. The statements contained in the Defendant's Second Rule 7(b)(3)(G) Motion


                             to Compel Production ﬁled on March 27 3, 2023 in the Family Court and

                             Defendant's Third Rule 7(b)(3)(G) Motion to Compel ﬁled on June 1, 2023

                             are, to my knowledge, true and correct.

                          12. I ﬁled my/ Defendant's First Rule 7(b) (3)(G) Motion to Compel Production on

                             February 3, 2023 and the Court heard this motion at the hearing in this

                             matter on February 10, 2023.

                          13. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in this

                             matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall comply with

                             discovery forthwith.



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                          14. At the hearing held on February 10, 2023 in this matter, the State through and

                             by Paul Gould, Esq., represented to the Court that the State on its own

                             removed interest from the system in Defendant's case ﬁle in 2018. TRAC

                             notes dated 12/06/2021 and 12/ 07/ 2021 also state that the State on its own

                             removed interest from the system in Defendant's case ﬁle in October 2018.

                          15. At the hearing held on February 10, 2023 in this matter, the Court ordered the

                             State to put interest back on the system without prejudice to the Defendant.

                          16. The Court ruled at the March 6, 2023 hearing in this matter that the interest

                             number put back on the system without prejudice to the Defendant is only a

                             "starting point" for the sole purpose of having a number to start with, without

                             prejudice to the Defendant. The Court elucidates to the Defendant, "You have

                             to have a number to start with. The State is not saying you owe this number."

                          17. The Court ruled at the March 6, 2023 hearing in this matter that the State ex.

                             Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest number

                             which the Court ordered to put back on the system without prejudice to the

                             Defendant.

                          18. I, the Defendant in this matter, in good faith, attempted to confer with the

                             State/ Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,

                             2023 hearing to make discovery in an effort to secure the information and

                             documents requested in my/ Defendant's Request for Product of Documents

                             without court action in the form of a formal Motion to Compel. However, the

                             State/ Plaintiff replied in Court that the State stands by the responses

                             propounded by the State/ Plaintiff in the Plaintist Response to Defendant's

                             Request for Production of Documents dated February 16, 2023 and continues

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Envelope:  4132684
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                             to stand by those said responses up to June 8, 2023, the date this matter is

                             continued for hearing on the State/Plaintiffs DHS Motion.

                          19. I, the Defendant in this matter, in good faith, again attempted to confer with

                             the State/ Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,

                             including sending more than 12 email confer attempts to make discovery in an

                             effort to secure the information and documents requested in my/ Defendant's

                             Requests for Production of Documents without court action in the form of a

                             formal Motion to Compel. However, the State/ Plaintiff again replied during a

                             May 9, 2023 telephone conference with the Defendant that the State/ Plaintiff

                             stands by the responses propounded by the State/ Plaintiff in the Plaintist

                             Responses to Defendant's Requests for Production of Documents in February

                             and April of 2023. The Defendant further revised Defendant's First Set of

                             Interrogatories pursuant to discussions at the aforesaid May 9, 2023

                             discovery telephone conference, as well as asked the State / Plaintiff in writing

                             via email to reply to the Defendant if the State / Plaintiff has any further

                             questions or issues to discuss without court action, but again, the

                             State/ Plaintiff failed to communicate any objections or issues with the

                             Defendant.

                          20.1 certify that the above is true and correct.


                          Declaration Executed on June 1, 2023 by Mary Seguin




                                                                          Mary Seguin



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Case:
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                                         Exhibit B
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                                          No. 23-1967


                                      IN THE
                          UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT
                            UNITED STATES OF AMERICA,

                                     Plaintiff-Appellant,
                                         MARY SEGUIN
                                               v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.


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                            Appeal from the United States District Court
                                  for the District of Rhode Island
                                      ___________________
        APPELLANT’S MOTION TO STAY PURSUANT TO Fed. R. App. P 8(a)(2)
                                      ___________________


                Pursuant to Fed. R. App. P 8(a)(2), and pursuant to Fed. R. App. P

       8(a)(2)(D), Appellant, proceeding from Texas and as a citizen of Texas,

       respectfully requests review by a panel of judges in this United States Court of

       Appeals for the First Circuit under Fed. R. App. P 8(a)(2)(D), and requests the

       Court, under Fed. R. App. P 8(a)(2), to stay the district court’s two denials of

       Appellant’s two requests for time extensions to file an amended Notice of Appeal

       (and requests the Court to stay the respective tolling of time to file to file Notice of

       Appeal of said denials), which the district court issued on March 7, 2024 and

       March 8, 2024 denying Appellant’s 03/01/2024 and 03/07/2024 Fed. R. App. P

       4(a)(5) motions for extensions of time (ECF 49, ECF 50) which were filed in the

       district court in order to comply with this Court’s March 1, 2024 Court Order that

       explicitly states, “The appellant shall inform this court whether or not she intends

       to file a notice of appeal or amended notice of appeal from the district court's post-

       judgment order,” and “ See also Fed. R. App. P. 4(a)(5) (allowing the district court

       to grant an extension of time to file a notice of appeal if the party so moved no
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       later than 30 days after the time prescribed by Rule 4(a) expires)” (Case: 23-1967

       Document: 00118115155 Page: 2 Date Filed: 03/01/2024 Entry ID: 6626341).

       Appellant attaches this Court’s Order herewith as EXHIBIT A.

                It is self-evident that this Court’s March 1, 2024 Order in this matter

       explicitly instructed the Appellant, MARY SEGUIN, to file a Fed. R. App. 4(a)(5)

       motion in district court, see (“See also Fed. R. App. P. 4(a)(5) (allowing the district

       court to grant an extension of time to file a notice of appeal if the party so moved

       no later than 30 days after the time prescribed by Rule 4(a) expires)”) because this

       Court’s March 1, 2024 was issued at the late hour at 4:39 PM on Friday March 1,

       2024, a mere 30 hours prior to the “30 days after the time prescribed by Rule 4(a)

       expires” at midnight Saturday March 2, 2024.

                At issue is a post-appeal Order issued in the district court by Judge William

       Smith dated February 1, 2024. At issue also is the fact that this Court had on

       January 22, 2024 set the Briefing schedule setting the due date of Appellant Brief

       for Monday March 4, 2024. Therefore, Saturday, March 2, 2024 was the deadline

       to file an amended Notice of Appeal, and Monday March 4, 2024 was the deadline

       to file the Appellant Brief.

                As the Court can see, the Court’s late hour 4:39 PM Friday March 1, 2024

       Court Order ordered the Appellant to RESPOND to the Court and is an external


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       factor beyond the Appellant’s control that materially affects the following timing

       beyond Appellant’s control:

                (1) The ability to meet the deadline to file an amended Notice of Appeal by

                   right under Fed. R. App. P 4 by burdening the Appellant to review,

                   consider and respond to the Court’s March 1, 2024 Order

                (2) Vacating the Briefing schedule, in recognition that the Court’s March 1,

                   2024 could materially alter the scope of the appeal

                (3) Instructs the Appellant to RESPOND to the Court whether the Appellant

                   intends to file an amended notice of appeal or notice of appeal of the

                   district court’s February 1, 2024 post-appeal order.

                (4) Instructs the Appellant explicitly to extend the time to do the above,

                   explicitly citing “See also Fed. R. App. P. 4(a)(5) (allowing the district

                   court to grant an extension of time to file a notice of appeal if the party so

                   moved no later than 30 days after the time prescribed by Rule 4(a)

                   expires)”

                (5) Explicitly instructs the Court and the district court by way of Court Order

                   regarding Fed. R. App. P. 4(a)(5), explicitly protecting constitutional

                   safeguards of and in compliance with DUE PROCESS – that the

                   district court (Judge Smith), which is devoid of jurisdiction, violates

                   with calculated and deliberate intent.

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                Therefore, Appellant respectfully files this motion to stay under Fed. R.

       App. P 8(a)(2) and demonstrates the following:

                (1) It is impracticable to file in the district court before a disqualified judge.

                (2) It is impracticable to file in the district court that violates due process.

                (3) It is impracticable to file in the district court that is devoid of jurisdiction

                      post-appeal.

                (4) It is impracticable to file in the district court that altered the record of

                      appeal, tampered with the record of appeal, and obstructed the docketing

                      of pre-appeal motions that were also denied pre-appeal that raise issues

                      of disqualification and tampering with the record of appeal by obstructing

                      the docketing of three motions.

                (5) It is impracticable to file in the district court/judge Smith that/who

                      engages in a pattern of obstruction of a federal proceeding and tampering

                      with the record of appeal in a federal proceeding.

                 I.     DISQUALIFICATION – DEFENDANTS-APPELLEES ARE
                      JUDGE SMITH’S FORMER CLIENTS AND JUDGE SMITH HAS
                              KNOWLEDGE OF APPELLEES’ EMPLOYMENT
                       PERFORMANCES TIED TO STATE REVENUE GENERATED
                      FROM ILLEGAL 12% COMPOUND INTEREST COLLECTIONS
                       THROUGH ACCOUNTING FRAUD AND DEFRAUDING THE
                      UNITED STATES AND NONCUSTODIAL PARENTS THROUGH,
                         inter alia, ALTERING THE AUTOMATED ACCOUNTING
                      RECORD SYSTEM MANDATED BY 42 U.S.C. 654a, 42 U.S.C. 655
                              OF TITLE IV OF THE SOCIAL SECURITY ACT


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          A. The Amended Complaint (ECF 25) makes known to a Judge of the
             United States of the commissions of federal crimes That Incur Penalties
             under 42 U.S.C. § 655(a)(5)(A)(ii) for the Defendants-Appellees’
             Systemic violations of, inter alia, 42 U.S.C. 654b and Their Cover-up
             Thereof Through Accounting Fraud Submitted to Federal Authorities



          Relying on and with 18 U.S.C. § 4 applicable to this matter, Appellant in good

       faith drafted the Amended Complaint (ECF 25) to make known to “some judge of

       the United States” the commission of federal crimes including theft of the United

       States in violation of 18 U.S.C. § 666 using the framework of Title IV of the Social

       Security Act for monetary gain and defraud of the United the States and defrauding

       the Appellant by the Defendants-Appellees. The “some judge” of the United

       States in question is district court Judge William Smith sitting in this matter. The

       Amended Complaint reports organized criminal activities of systemic Rhode Island

       establishment and collection of 12% compound interest for overdue support that is

       disallowed under 42 U.S.C. § 654 (21)(A) that makes clear the Rhode Island State

       Plan must strict interest to simple 3-6%. Rhode Island’s 12% compound interest is

       motivated by Title IV-D’s provision that the interest represents incentivized state

       revenue in welfare cases, as the support order is assigned to the State by the

       welfare recipient. Establishing and collecting the 42 U.S.C. § 654 (21)(A)

       disallowed 12% compound interest under color of state law is criminal and entails

       accounting fraud ballooning the support amount due that is mandated to be


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       calculated by the automated record system stipulated in 42 U.S.C. 654a and

       disbursed and paid and accounted for and reported to the United States for

       reimbursement of federal funds under Title IV-D Program through mandated

       accurate administration and calculations using the automated record system that is

       mandated under 42 U.S.C. § 654b. Therefore, for example, illegal record

       alterations that entails “taking unlawful 12% compound interest off the system” or

       “putting unlawful 12% compound interest back on the system” or “not accounting

       for any payments made by the noncustodial parent” or “removal from the system

       any payments made by the noncustodial parent” are explicit violations of, inter

       alia, 42 U.S.C. § 654b.    42 U.S.C. § 655 (a)(5)(A)(ii) states, “All failures of a

       State during a fiscal year to comply with any of the requirements of section 654b

       of this title shall be considered a single failure of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year

       for purposes of this paragraph.” Needless to say, these organized defrauding

       targeting Texas properties and defrauding Appellant in Texas of illegal 12%

       compound interest, when the Defendants-Appellees recorded in Appellant’s Title

       IV support case file that they removed the illegal 12% compound interest when

       sending to Texas in order to cover up from out-of-state and federal authorities the

       illegal 12% compound interest (via wire and via mail, constituting wire and mail

       fraud), defrauded and fraudulently induced the Appellant that the resulting 0%


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       interest shown on the automated system online is because Appellee Gero

       Meyersiek waived interest if Appellant paid off the entire principle due in one

       lump sum (wire fraud), then clandestinely put the illegal 12% compound interest

       back onto the automated system when Appellant accepted the offer and performed

       on the contract paying off support in one lump sum in Texas, then lien Texas

       properties using fraudulent liens (by email and by mail constituting wire and mail

       fraud), then submitting to the United States for the cost of collection of fraudulent

       12% compound interest that are thus untraceable to a principle base that would

       otherwise have exposed the illegal 12% compound interest all constitute a pattern

       of criminal interstate accounting fraud in order to defraud the Appellant, the State

       of Texas, and the United States of America (inter alia, wire and mail fraud). In the

       period of just 2021 to 2023 alone, Defendants-Appellees sent by wire and by mail

       to the Appellant at least eight different sets of books of accounts of alleged arrears

       owed (resulting from the aforesaid alterations of the records through the illegal

       taking off interest from the system or putting it back on the system or manually

       adding alleged medical support arrears twice onto the system) that allegedly were

       generated by the automated record keeping system mandated by 42 U.S.C. § 654a

       and 42 U.S.C. § 654b to be accurate. And this scheme of altering the 42 U.S.C. §

       654a and 42 U.S.C. § 654b mandated automated record system and manipulating

       its accounting is routine to this day, from the time Rhode Island installed the 42


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Case:
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      23-1967   Document:
                Document:00118189824
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       U.S.C. § 654a mandated automated record system, and before that, from the time

       Rhode Island participated in the Title IV Program, because Rhode Island had

       always routine established and collected, and continues to illegally establish and

       collect the 12% compound interest under color of state law, defrauding the

       noncustodial parents and defrauding the United States through accounting fraud,

       with or without the automated system. In 1996, Congress explicitly authorized

       penalties under 42 U.S.C. § 655 for States’ noncompliance with 42 U.S.C. § 654a

       and 42 U.S.C. § 654b. Therefore, Rhode Island’s intentional noncompliance

       penalties under 42 U.S.C. § 655 provisions relating to its deliberate accounting

       fraud altering records that Congress mandated to be maintained by the States in

       order to keep ACCURATE records using the automated record system accrues

       since 1996. Defendants-Appellees’ Record alterations/tampering with/falsifying

       federal government records, and with the intent to defraud, incur other criminal

       penalties too numerous to discuss for the purposes of this motion, so accordingly,

       Appellant reserves the right to raise them at the right time in accordance with

       proper procedures in this federal proceeding. Moreover, in sending falsified

       records in 2018, 2021, 2022 and 2023, and fraudulent liens to Texas on Texas

       properties, Defendants-Appellees violated Texas Penal Codes and incurred Texas

       penalties. (Rhode Island civil and criminal laws were violated as well, but the

       Rhode Island Attorney General chooses to represent and engage in cover up, aiding


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Case:
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       and abetting and subornation of perjury instead). The cumulative penalties accrued

       alone run upwards of hundreds of millions of dollars, potentially billions.

       Appellant respectfully requests Oral Argument on this important issue.

          B. Defendants-Appellees’ Financial and Employment Incentives are tied to
             successful collection of illegal 12% compound interest to boost State
             revenue through Fraud and Judge Smith has knowledge of the scheme
             as former counsel of the Defendants-Appellees, including representing
             Appellees in Employment disputes
                      Appellant states that it is appropriate to present at Oral Argument the

                incentives tied to the successful collection of illegal 12% compound interest,

                as that, while important, is not the basis of this motion; however it suffices

                now to raise in this motion under Fed. R. App. P 8 that the Appellant

                presents the basis of Judge Smith’s disqualification. 28 U.S.C. § 455 deals

                with the disqualification of district court judges and it states in part:

                Any justice, judge, or magistrate, of the United States shall disqualify

                himself/herself in any proceeding in which his/her impartiality might

                reasonably be questioned. See also 28 U.S.C. Sec. 144; Code of Judicial

                Conduct, Canon 3.C(1)(a). In re Martinez-Catala,129 F.3d 213, 220 (1st

                Cir. 1998) makes clear that disqualification is self-executing, and that the

                standard is whether there is an appearance of bias by an objective observer.

                      The district court judge is disqualified if the objective observer in 28

                U.S.C. § 455(a) having possession of all the facts in this case might question
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Case:
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                            00118126457       Page:
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                the judge’s impartiality, See, “Any justice, judge, or magistrate judge of the

                United States shall disqualify himself in any proceeding in which his

                impartiality might reasonably be questioned.” That objective observer, for

                starters, needs to look no further than the district court’s website of Judge

                Smith’s Public Relations biography that clearly summarizes the depth of

                client relationship and his former firm’s existing client relationship with

                (both formerly and presently) with the Defendants-Appellees, including the

                Rhode Island Judiciary and Rhode Island state employees, including

                representing the them in employment disputes where he has intimate

                knowledge of the employment incentive schemes. See, Exhibit B, and

                weblink – he built the Edwards & Angell firm’s Public Law (Defense)

                Practice based on acquiring and representing key government clients like the

                state courts (and employees thereof) and representations of employees

                within the state’s major political subdivision such as the governor’s office

                (and employees thereof), the state secretary (and employees thereof), the

                state treasurer (and employees thereof), various state agencies (and

                employees thereof), negotiated through the then-novel flat fee contracts

                that were designed to generate high volumes to increase the number of

                representations in all areas; see




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                https://www.rid.uscourts.gov/sites/rid/files/documents/judges/articles/FBA%

                20Profile%2009-14%20Smith-Hon-William-E.pdf

                      Records of these representations are a matter of public records since

                attorney’s fees are funded by Rhode Island’s public funds.

                      To the objective observer, this judge, William Smith, shall disqualify

                himself in this proceeding as his impartiality might reasonably be

                questioned under 28 U.S.C. § 455(a).

          C. Judge Smith did nothing and failed to act on the filed Amended
             Complaint Allegations of federal and state criminal activities made
             known to him in an official federal proceeding, then Obstructed the
             district court clerk’s docketing of Appellant’s filed motions, then
             Altered the record of appeal in order to Aid the Defendants-Appellees
             by cover up and Interfere with the On-going Appeal Proceeding Under
             Color of Law
                      A play-by-play review of the record of this case requires Judge

                Smith’s disqualification and shows his bias protecting, aiding and abetting

                and covering up the criminal acts by the Defendants-Appellees “made

                known to him” in the Amended Complaint (ECF 25) and interference of

                appellate review including jurisdictionally devoid attempts to interfere with

                the appeal.

                      After the filing of the Amended Complaint on September 1, 2023

                (ECF 25), that alleges details of, inter alia, the Defendants-Appellees’


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                attempts to cover up, inter alia, their significant federal civil and criminal

                penalty-incurring schemes under, inter-alia, 42 U.S.C. § 655, entailing,

                among others, fraudulent accounting and theft of the United States using the

                42 USC § 654a automated record system, Judge Smith did nothing to

                conduct the requisite federal proceeding getting to the merits of the

                Amended Complaint’s alleged egregious interstate federal crimes. Nor did

                Judge Smith refer the alleged egregious interstate federal crimes to

                appropriate law enforcement authorities, including to a United States

                Attorney General. Nor did Judge Smith take actions required of “some

                judge of the United States” when allegations of egregious interstate federal

                crimes are officially filed in a United States District Court of Law in an

                official federal proceeding “made known to him” under 18 U.S.C. § 4. Nor

                did Judge Smith make a report to Congress, be it the House Congressional

                Oversight Committee or House Congressional Judiciary Committee or

                another applicable Congressional Committee. Nor did Judge Smith make a

                report to the Secretary of the U.S. Department of Health and Human

                Services or an appropriate federal authority.

                      Instead, Judge Smith sua sponte dismissed the case claiming the

                United States District Court for the District of Rhode Island lacks subject

                matter jurisdiction over, inter alia, violations of 42 U.S.C. § 654, 655,

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Case:
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                1983, and 18 U.S.C. § 1964 (and revoking Appellant’s electronic filing

                privileges thus attempting to muzzle the Appellant in a scheme to

                obstruct future filings) on October 19, 2023 entering final judgment.

                      Fed. R. of App. P 4 makes clear that the Notice of Appeal must be

                filed in 30 days, Saturday November 18, 2023.

                      In the afternoon of November 16, 2023, Appellant from Texas filed

                with the district court clerk via email a timely Rule 59 motion within 28

                days of the final judgment. Appellant followed up the filing of the

                November 16, 2023 Rule 59 motion with filing a Rule 60(b) motion on the

                same day via email on November 16, 2023. See ECF 32, ECF 32-1. This is

                preserved in the Clerk Certified Record of Appeal transmitted to the Court

                of Appeals on November 17, 2023 in ECF 33, 33-1. See Attachment

                Exhibit C, ECF 33-1.

                      On November 16, 2023, Appellant called from Texas to Rhode

                Island’s federal clerk’s office to confirm that the clerks are in receipt of

                Appellant’s two November 16, 2023 motion filings, and the clerks

                confirmed in the affirmative. Timely motions under Rule 59 and Rule 60

                are treated as Rule 59(e) motions if filed within 28 days post-judgment,

                which suspend the finality of the judgment. See, Gonzalez-Arroyo v.


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Case:
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                                              Page:1426
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                Doctors’ Ctr. Hosp. Bayamon, Inc., 54 F.4th 7, 19 (1st Cir. 2022) "A Rule

                59(e) motion briefly suspends finality" of a judgment so the district court

                can "fix any mistakes and thereby perfect its judgment before a possible

                appeal." quoting Banister v. Davis, 140 S.Ct. 1698, 1708 (2020).”

                      On the morning of November 17, 2023, Appellant still not seeing the

                docketing of her timely November 16, 2023 filed two motions which by law

                are treated as Rule 59(e) motions, called the district court clerk’s office and

                was told that Judge Smith obstructed the docketing of Appellant’s timely

                November 16, 2023 rule 59 motions, in violation of, among others, Fed. R.

                Civ. P 79. District Court Clerk Meghan Kenny told the Appellant that the

                clerk cannot do what the Appellant tells the clerk to do and the clerk is going

                to do what the judge tells her to do, then hung up the phone.

                Subsequent to the disturbing phone exchange, the district court issued the

          first of the two denials that states,

              “TEXT ORDER The Court is in receipt of Plaintiff’ two recent emails to the
          Clerk’s Office. The Court construes these emails as motions for leave to file the
          motions attached to those emails and denies leave to file for the reasons given
          in its earlier text orders.”


                Appellant quickly filed via email with the district clerk’s office the only

          motion Appellant filed on November 17, 2023, a rule 60(b)(1) motion


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Case:
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          requesting relief from Judge Smith’s obstruction of docketing of Appellant’s

          properly filed motions, moving the Court to order the clerks to docket

          Appellant’s motions.

                Approximately two hours thereafter, Judge Smith issued the second of the

          two text order denials dated November 17, 2023 that states,

          “TEXT ORDER The Court is in receipt of Plaintiff’s email to the Clerk’s
          Office this afternoon. As with its order issued earlier today, the Court construes
          this email as a motion for leave to file the motion attached to the email and
          denies leave to file for the reasons given in its earlier text orders.”



          Deeply disturbed by the continuous obstruction of docketing of Appellant’s

       properly filed motions, then denying those motions thus tampering with the record

       of appeal, Appellant called the clerk’s office again. This time clerk Meghan

       Kenny again informed Appellant Judge Smith was obstructing the docketing of

       Appellant’s motions and then screamed, “File your notice of appeal……. appeal

       everything!” Then, the clerk hung up the phone.

                Within a few minutes, Appellant filed her Notice of Appeal in this matter,

       ECF 32, 32-1, that is over 83 pages long, detailing the above obstruction of

       docketing timely November 16, 2023 Rule 50(e) motions that critically raise

       issues, among others, of Judge Smith’s disqualification, and tampering with the

       record of appeal.

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Case:
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                 Document:00118189824
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                Before the end of the day on November 17, 2023, the Clerk of the Court of

       the District Court transmitted the clerk certified record of appeal, ECF 33, and sent

       up to this Court ECF 33-1, where the docket sheet critically showed only THREE

       entries under November 17, 2023:

                • TEXT ORDER The Court is in receipt of Plaintiff’ two recent emails to
                  the Clerk’s Office. The Court construes these emails as motions for leave
                  to file the motions attached to those emails and denies leave to file for the
                  reasons given in its earlier text orders.
                • TEXT ORDER The Court is in receipt of Plaintiff’s email to the Clerk’s
                  Office this afternoon. As with its order issued earlier today, the Court
                  construes this email as a motion for leave to file the motion attached to
                  the email and denies leave to file for the reasons given in its earlier text
                  orders.
                • ECF 32, NOTICE OF APPEAL by Mary Seguin as to Text Order, Text
                  Order (Attachments #1 Envelope)(Kenny, Meghan)(Entered:
                  11/17/2023).
       ECF 33-1 demonstrates with concrete evidence that as of the time of the notice of

       appeal filed in this matter on November 17, 2023, the only three entries on the

       docket for November 17, 2023 that listed above.

                However, that is not what is shown today, with several revisions instructed

       by Judge Smith on November 20, 2023, who as of November 17, 2023 was

       divested of jurisdiction.

          D. As of November 20, 2023, the District Court has been and remains
             DIVESTED OF JURISDICTION
          ECF 33-1 proves beyond a reasonable doubt that Appellant did not file any

       motions subsequent to the second TEXT ORDER that says, “TEXT ORDER The

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Case:
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                Document:00118189824
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       Court is in receipt of Plaintiff’s email to the Clerk’s Office this afternoon. As with

       its order issued earlier today, the Court construes this email as a motion for leave

       to file the motion attached to the email and denies leave to file for the reasons

       given in its earlier text orders.” On the heals of this second text order entered on

       November 17, 2023, Appellant filed the Notice of Appeal, ECF 32, 32-1,

       demonstrating that there were no pending motions at the time of the filing of

       the Notice of Appeal, ECF 32.

          Judge Smith’s second November 17, 2023 text order makes clear that “The

       Court is in receipt of Plaintiff’s email to the Clerk’s Office this afternoon. As with

       its order issued earlier today, the Court construes this email as a motion for leave

       to file the motion attached to the email and denies leave to file.” Judge Smith’s

       first November 17, 2023 text order similarly makes clear that “The Court is in

       receipt of Plaintiff’ two recent emails to the Clerk’s Office. The Court construes

       these emails as motions for leave to file the motions attached to those emails

       and denies leave to file for the reasons given in its earlier text orders.” Judge

       Smith made it crystal clear that the district court reviewed and considered on the

       merits and denied “motions attached to those emails.” Therefore, when

       Appellant filed her Notice of Appeal on November 17, 2023, ECF 32, THERE

       WAS NOTHING PENDING BEFORE THE COURT.



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Case:
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                Document:00118189824
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          The filing of a notice of appeal "divests" the district court of jurisdiction

       over the case, See Griggs v. Provident Consumer Disc. Co., 459 U.S. 56,

       58 (1982) (per curiam).

          Nothing was pending before the court when Appellant filed her November

       17, 2023 appeal, as evidenced in the proof preserved in ECF 33-1 docketed on

       November 17, 2023. See attached Exhibit C.

          However, because Appellant’s November 17, 2023 Notice of Appeal

       documents preserves evidence of Judge Smith’s obstruction of docketing

       Appellant’s timely two Rule 59(e) motions filed on November 16, 2023 and

       Appellant’s Rule 60(b)(1) motion filed on November 17, 2023, Judge Smith

       attempts to cover up his docket obstructions that not only violate Fed. R. Civ. P 79,

       but also violates several federal criminal codes as they relate to government record

       alterations, obstructing an official federal proceeding and falsifying/tampering with

       government records – therefore Judge Smith actively tampered with the docket

       and the record of appeal in this case starting November 20, 2023 to date.

          Without any pending motion before the district court after his own two denial

       TEXT ORDER disposals of Appellant’s post-judgment motions, Judge Smith

       instructed the district court clerk to falsify and alter the record on November 20,

       2023, when the district court was divested of jurisdiction.


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Case:
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          Firstly, as an initial step, Judge Smith sought to fraudulently fabricate the

       false appearance of retention of jurisdiction for himself/district court, thus

       deliberately ordered the district court clerk to falsify the record by docketing

       on the record all of Appellant’s “motions attached to the emails” the district

       court received from November 16, 2023 to November 17, 2023, as entries ECF

       34, 35, 37 under the date November 17, 2023 entered AFTER the Notice of

       Appeal (ECF 32) in order to falsely make it appear as if Appellant filed three

       motions subsequent to her filing of the Notice of Appeal (ECF 32), thus

       fraudulently fabricating “retaining jurisdiction” over pending motions filed

       after the Notice of Appeal, when in reality, Judge Smith had already in two

       text orders “denied all the motions attached to Plaintiff’s emails” before the

       docketing of the November 17, 2023 Notice of Appeal (ECF 32).

          Secondly, after thus fraudulent fabricating the appearance of jurisdiction

       retention, Judge Smith ordered the district court clerk to falsely enter Appellant’s

       timely 28 day November 16, 2023 Rule 59 motions under entries dated November

       17, 2023 in order to fraudulently make them appear filed out of time (see, entries

       ECF 34, ECF 35 entered under docket entry date November 17, 2023. But, see

       ECF 34-1 and ECF 35-1 Envelopes consisting of Appellant’s gmail emails’ filings

       date-stamped by Gmail showing November 16, 2023.) Thus, Judge Smith



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       sought to also falsify the record to make timely filed Rule 59 motions to falsely

       appear out-of-time.

          Thirdly, after thus fraudulently and falsely “retaining jurisdiction” through

       the tampering of government records, Judge Smith sought to interfere with,

       obstruct and subvert appellate review by his very delayed disposition of the

       falsely-appearing pending motions until after this Court set the briefing

       schedule. Therefore, Judge Smith waited almost 75 days until February 1, 2024 to

       issue a foregone conclusion denial that further deceptively misapplied and quoted

       out-of-context Gonzalez-Arroyo v. Doctors’ Ctr. Hosp. Bayamon, Inc., 54 F.4th 7,

       19 (1st Cir. 2022), when in reality the Gonzalez-Arroyo Court made clear that the

       Notice of Appeal divests the district court of jurisdiction if there isn’t any

       outstanding pending motions at the time of the filing of the Notice of Appeal,

       as is the case here. See docket sheet transmitted to this Court on November

       17, 2023, ECF 33-1. The truth of the matter is Judge Smith fabricated through

       fraudulent falsification of the appeal record abusing his Office using the text order

       November 20, 2023 to falsely make it appear as if there were pending motions

       filed post-appeal by the Appellant by falsely docketing pre-appeal filed and

       previously obstructed and denied motions misleadingly labeled as ECF 34, 35 and

       37 as entries after the entry of the ECF 32 Notice of Appeal.

          E. Judge Smith’s February 1, 2024 is similarly Void
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                Document:00118189824
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          Having established the above undisputable facts supported by record evidence,

       this Court must find that Judge Smith’s February 1, 2024 is similarly devoid of

       jurisdiction. The district court orders entered from November 20, 2023 to March 8,

       2024 are null and void and of no force and effect as they are issued by fraud,

       without jurisdiction, result of unlawful rulings, are unconstitutional and violate due

       process and obstruct justice – they obstruct this official federal proceeding and are

       criminal in nature. An order that exceeds the jurisdiction of the court is void, and

       can be attacked in any proceeding in any court where the validity of the judgment

       comes into issue. (See Pennoyer v. Neff, 95 U.S. 714 (1878)).

          Thus, the objective observer is left with the disturbing appearance that not only

       did the judge do nothing, he sought to cover up the Defendants-Appellees’ crimes

       alleged in the Amended Complaint (ECF 25) and evidence of his own association

       with the Appellees-scheme after the docketing of the Amended Complaint (ECF

       25) on September 1, 2023.



                II.    DISTRICT COURT DENIALS OF COURT COMPLIANT
                      TIMELY Fed. R. App. P 4(a)(5) MOTION CONSISTENTLY
                         WRONGLY APPLYING “EXCUSABLE NEGLECT”

                 A. FACTUAL TRAVEL OF THE GOOD CAUSE Fed. R. App. P
                    4(a)(5)(A) motions filed in District Court




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                At 4:39 PM on March 1, 2024, this Court issued its Order, See, (Case: 23-

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       6626341). The Court’s March 1, 2024 Court Order states, “The appellant shall

       inform this court whether or not she intends to file a notice of appeal or amended

       notice of appeal from the district court's post-judgment order,” and “ See also Fed.

       R. App. P. 4(a)(5) (allowing the district court to grant an extension of time to file a

       notice of appeal if the party so moved no later than 30 days after the time

       prescribed by Rule 4(a) expires).” See paragraph 3 of Order (Case: 23-1967

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       This Court instructs the Appellant to file Fed. R. App. P 4(a)(5) motion in order to

       be DUE PROCESS compliant because the Court vacated its Briefing Schedule a

       mere 3 days prior to the due date of Appellant’s Brief set for March 4, 2024, as

       well as instructed the Appellant to respond to the Court as to Appellant’s intentions

       whether Appellant will file a Notice of Appeal or Amended Notice of Appeal to

       incorporate the February 1, 2024 district court order to the Notice of Appeal

       Appellant filed on November 17, 2023 (ECF 32), while the Court is cognizant of

       the March 2, 2024 deadline next day on a Saturday to file said Notice of Appeal or

       Amended Notice of Appeal. Therefore, it is crystal clear and explicit that this

       Court instructs the Appellant to file the Fed. R. App. P 4(a)(5) motion in order to

       be DUE PROCESS compliant allowing the Appellant an adequate opportunity to


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       review, consider and respond to this Court. All indications show that this Court on

       March 1, 2024 did not anticipate a biased, disqualified and criminally

       compromised district court judge involved in record tampering to deny the Fed. R.

       App. P 4(a)(5) that this Court itself instructed filing by Court Order.

                Under Fed. R. App. P 4(a)(5)(A), this Court’s issuance of the March 1, 2024

       Court Order that vacated the Court’s previously issued January 22, 2024 briefing

       schedule, and explicitly stating in the text of the Order directing the Appellant to

       “inform this court whether or not she intends to file a notice of appeal or amended

       notice of appeal from the district court's post-judgment order,” and “ See also Fed.

       R. App. P. 4(a)(5) (allowing the district court to grant an extension of time to file a

       notice of appeal if the party so moved no later than 30 days after the time

       prescribed by Rule 4(a) expires)” makes clear that this Court’s March 1, 2024

       Order is the GOOD CAUSE basis to move for extension of time under Fed. R.

       App. P. 4(a)(5) that this Court explicitly instructed the Appellant, since the Order

       affects any and all preparation of the filing of an amended Notice of Appeal or a

       Notice of Appeal.

                Accordingly, in compliance with the Court’s March 1, 2024 Order,

       Appellant diligently and in good faith filed in the district court on March 1, 2024

       the Order prescribed Fed. R. App. P 4(a)(5) Motion for Extension of Time, and

       immediately afterwards, filed here in this Court Appellant’s Notice dated March 1,
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       2024 notifying this Court Appellant complied with the Court’s Order by filing the

       explicitly instructed Fed. R. App. P 4(a)(5) motion for an extension of time in the

       district court and informing the Court that Appellant intends to file a notice of

       appeal or an amended notice of appeal. See Appellant’s March 1, 2024 Notice

       (See, e.g., (Case: 23-1967 Document: 00118115266 Page: 2 Date Filed:

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       APPELLANT’S SUBMISSION/FILING MOTION FOR EXTENSION OF TIME

       PURSUANT TO Fed. R. App. P 4(a)(5)”); See also, e.g., ECF 49. Friday, March

       1, 2024 is 29 days after the district court’s jurisdictionally devoid February 1, 2024

       order.

                     PLAIN READING OF THE TEXT OF Fed. R. App. P 4(a)(5)

                Fed. R. App. P 4(a)(5) Motion for Extension of Time states as follows:

                Fed. R. App. P 4(a)(5)(A)(i) states, “a party so moves no later than 30 days

       after the time prescribed by this Rule 4(a) expires; and”

                Fed R. App. P 4(a)(5)(A)(ii) states, “regardless of whether its motion is filed

       before or during the 30 days after the time prescribed by this Rule 4(a) expires, that

       party shows excusable neglect or good cause.”




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                Fed. R. App. P 4(a)(5)(C) states, “No extension under this Rule 4(a)(5) may

       exceed 30 days after the prescribed time or 14 days after the date when the order

       granting the motion is entered, whichever is later.”

                Therefore, a plain textual reading of Fed. R. App. P 4(a)(5) Motion for

       Extension of Time makes clear that good cause is the standard of review to be

       applied by the district court of Appellant’s Fed. R. App. P 4(a)(5) Motion for

       Extension of Time filed on Friday, March 1, 2024 that is 29 days from the district

       court February 1, 2024 order. Appellant showed good cause for a 30 day

       extension based on the this Court’s aforesaid March 1, 2024 Court Order that

       explicitly says to the Appellant to file a Fed. R. App. P 4(a)(5) motion for extension

       of time if necessary, since the Court’s Order affects the Appellant’s “intent to file a

       Notice of Appeal or an amended Notice of Appeal” and the preparation of the

       Notice of Appeal – therefore pursuant to the appellate rule’s prescribed good cause

       showing, Appellant requested the 30 days extension to adequately review and

       consider this Court’s March 1, 2024 Court Order that affects Appellant’s

       preparation of the Notice of Appeal. See this Court’s 03/01/2024 Court Order

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                However, the district court did not review Appellant’s timely 29 day Fed. R.

       App. P 4(a)(5) motion for extension of time applying the appellate rule’s standard

       of good cause that is explicitly prescribed by Fed. R. App. P 4(a)(5)(A)(ii).

                On March 7, 2024 the district court denied Appellant’s timely 29 day Fed.

       R. App. P 4(a)(5) motion for extension of time showing good cause this Court’s

       March 1, 2024 Court Order that affects Appellant’s preparation of Appellant’s

       Notice of Appeal.

                Wrongly, the district court denied Appellant’s timely 29 day Fed. R. App. P

       4(a)(5) motion for extension of time filed on March 1, 2024 wrongly applying

       “excusable neglect” relying on “extraordinary circumstances” deliberately omitting

       mention of this Court’s “good cause” March 1, 2024 Court Order and instead

       falsely accusing the Appellant of “not knowing the rules” that caused the Appellant

       to file a notice of appeal out of time. That is categorically a false, fraudulent

       distortion of the facts, calculated to deliberately omit this Court’s March 1, 2024

       Order, to make it “disappear” – consistent with Judge Smith’s track record of

       “making Appellant’s motions disappear” from the record by obstructing the

       docketing of Appellant’s motions from November 16, 2023 to November 17, 2023,

       AND consistent with his Defendants-Appellees-former clients’ record tampering

       methodology of removing from the automated record system Rhode Island’s illegal



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       12% compound interest to cover up criminal activity. Record tampering and

       falsifying the records are their modus operandi.

                Accordingly, Appellant filed with the district court clerk on Thursday,

       March 7, 2024, Appellant’s motion for reconsideration and Appellant’s Motion for

       Extension of Time pursuant to Fed. R. App. P 4(a)(5)(A)(i), Fed. R. App. P

       4(a)(5)(A)(ii), and Fed. R. App. P 4(a)(5)(C) moving the district court to apply the

       good cause standard because Appellant already filed on March 1st Appellant’s

       timely Fed. R. App. P 4(a)(5) Motion for Extension of time within 29 days, that

       had already shown good cause that Appellant required the 30 day extension to

       adequately review and consider this Appellate Court’s March 1, 2024 Order that

       affects Appellant’s preparation of Notice of Appeal. For example, Paragraph one

       (1) of Appellant’s March 1, 2024 FRAP 4(a)(5) Motion clearly states as good

       cause that “Plaintiff only received the Appellate Court March 1, 2024 Court Order

       on the afternoon of March 1, 2024, and has not had an adequate opportunity to

       adequately review, consider or respond.” See, ECF 49, first paragraph.

                The district court docketed the Appellant’s district court motion for

       reconsideration as ECF 53.

                Appellant immediately filed here into this case her Response to the Court’s

       March 1, 2024 Order again responding that the Appellant intends to file a notice of


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       appeal or an amended notice of appeal, and noticed the Court Appellant’s filing in

       the district court the March 7, 2024 motion for reconsideration. (See, (Case: 23-

       1967 Document: 00118117753 Page: 2 Date Filed: 03/07/2024 Entry ID: 6627688)

                On Friday, March 8, 2024 the district court denied Appellant’s March 7,

       2024 motion for reconsideration (ECF 53) with a curt TEXT ORDER, saying the

       second denial is on the same basis as the district court’s March 7, 2024 denial,

       again wrongly applying an “excusable neglect” standard by distorting the facts

       through omission of this Court’s March 1, 2024 Court Order, then falsely accusing

       the Appellant of not knowing the rules and filing a Notice of Appeal out of time.

                At this juncture, Appellant can file a Notice of Appeal of the district court

       March 7th and 8th, 2024 denials, incorporating those orders into the final

       judgment. However, Appellant respectfully reminds the Court that Judge Smith’s

       post-appeal orders dated November 20, 2023, February 1, 2024, and the resulting

       March 7, 2024 and March 8, 2024 denial orders have already resulted in the

       creation of two appeal cases, Appeal No. 23-1967 and 23-1978. A third appeal

       case created under these circumstances is not in the interest of judicial economy.

                Accordingly, Appellant respectfully filed in this Court a motion for

       reconsideration before this Court, pursuant to a reading of the rules’ texts under

       Fed. R. App. P 27(b), 26(b)(1) and 4(a)(5)(A).


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                Appellant in good faith and with diligence filed in the district court on

       March 8, 2024 a Fed. R. App. P 8(a)(1)(A) to stay the denials and to stay the

       tolling of time to file Appellant’s Notice of Appeal pending this Court’s

       resolution of this herein motion for reconsideration. In so doing, in the

       interest of judicial economy, the Appellant in good faith afforded the district

       court a third opportunity to reconsider its Fed. R. App. P 4 extension of time

       denials, prior to filing a Fed. R. App. P 8(a)(2) motion before this Court.

       Appellants asked the district court to resolve Appellant’s Fed. R. App. P

       8(a)(1)(A) motion to stay by the end of day on March 8, 2024, based on the

       district court’s record of speedy two denials throughout this week. However,

       the district court failed to resolve it by the requested time.

                Consequently, Appellant filed in the district court a Notice of

       Withdrawal of Appellant’s Fed. R. App. P 8(a)(1)(A) motion to stay on March

       11, 2024.

                Subsequently, with no pending motions before the district court, Appellant

       files this Fed. R. App. P 8(a)(2) motion to stay the district court’s denials and to

       stay the tolling of time to file a Notice of Appeal, pending the resolution by this

       Court of Appellant’s Fed. R. App. P 27(b), 26(b)(1) and 4 motion to reconsider.

       Appellant, in complying with and responding to the Court’s March 1, 2024 Order

       that instructed the Appellant to respond and to file with the district court the Fed.
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       R. App. P 4(a)(5) motion for extension of time, has been adversely affected by a

       jurisdictionally devoid district court and this appeal proceeding has been interfered

       with through his tampering of the record of appeal criminally by the disqualified

       bias judge in district court, William Smith.

             THE COMMISION BY DEFENDANTS-APPELLEES and JUDGE
         SMITH of FEDERAL CRIMINAL VIOLATIONS MADE KNOWN TO A
                    JUDGE OF THE UNITED STATES HEREIN
                Herein, Appellant, in filing this motion and raising before the Court the

       filing of the Amended Complaint (ECF 25) in this matter, made known to judges

       of the United States, pursuant to 18 U.S.C. §4, in the official proceeding

       allegations of the commission of acts by Defendants-Appellees violating 18 U.S.C.

       §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285,

       18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18

       U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

       1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. §

       201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C.

       § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C. §1031,

       18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

       §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts

       by the Defendants-Appellees and/or Judge Smith on this list is not exhaustive.


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                                           No Immunity

                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit Court reminds the

       Court that Judges are similarly liable to the criminal laws for their official acts. A

       notable example is Ex parte Commonwealth of Virginia, in which the Supreme

       Court affirmed the criminal indictment of a judge based on an official act. 100 U.S.

       339 (1879). A county judge was indicted in federal court for violating a federal

       statute that prohibited discriminating on the basis of race in jury selection. Id. at

       340, 344. The Supreme Court began by observing the principle that officers are

       bound to follow the law: “We do not perceive how holding an office under a State,

       and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in

       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then


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       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

                             “But if the selection of jurors could be considered
                                in any case a judicial act, can the act charged
                               against the petitioner be considered such when
                                he acted outside of his authority and in direct
                               violation of the spirit of the State statute? That
                               statute gave him no authority, when selecting
                               jurors, from whom a panel might be drawn for
                                 a circuit court, to exclude all colored men
                                merely because they were colored. Such an
                                exclusion was not left within the limits of his
                                discretion. It is idle, therefore, to say that the
                                act of Congress is unconstitutional because it
                                inflicts penalties upon State judges for their
                                    judicial action. It does no such thing.
                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for



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       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

                          [W]e have never held that the performance of
                          the duties of judicial, legislative, or executive
                              officers, requires or contemplates the
                         immunization of otherwise criminal deprivation
                          of constitutional rights. On the contrary, the
                             judicially fashioned doctrine of official
                         immunity does not reach ‘so far as to immunize
                            criminal conduct proscribed by an Act of
                                          Congress . . . .’
       Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial

       immunity from civil money damages in the context of bribery allegations but

       explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity

       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within




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       his statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a judge

       has no criminal immunity for the same “official act.” See also Imbler

       v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372

       (1980) (“[T]he cases in this Court which have recognized an immunity from civil

       suit for state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842,

       845 (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by

       United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).




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                                             CONCLUSION

                WHEREFORE, this Court should GRANT Appellant’s herein motion to

       stay the district court’s Fed. R. App. P 4(a)(5) denials and to stay the tolling of

       time to file a Notice of Appeal pending the Court’s resolution of the pending

       Appellant’s March 8, 2024 Fed. R. App. P 27(b) Motion to Reconsider and extend

       the time to file Appellant’s Notice of Appeal or amended Notice of Appeal to April

       2, 2024. This Court should GRANT Appellant’s March 8, 2024 Fed. R. App. P

       27(b) Motion to Reconsider and extend the time to file Appellant’s Notice of

       Appeal or amended Notice of Appeal to April 2, 2024. This Court should instruct

       the clerks of the courts to correct the falsely altered record. This Court should

       order divestiture of jurisdiction of the district court throughout the pendency of the

       appeal and the trial court is functus officio. This Court should appropriately and

       fittingly sanction the district court actors involved in falsifying the record for

       misconduct. Appellant requests Oral Argument on all issues raised herein before

       the Court. Appellant requests any and all Relief deemed just.

                                         Respectfully submitted,
                                         Mary Seguin
                                         Pro Se
                                         /s/____________________
                                         Email: maryseguin22022@gmail.com
                                         Phone: (281)744-2016
                                         P.O. Box 22022
                                         Houston, TX 77019
                                             Page 36 of 37
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      23-1967   Document:
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                                      Dated: March 11, 2024




                               CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 11, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




                                          Page 37 of 37
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                                     Exhibit A
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                       United States Court of Appeals
                                        For the First Circuit
                                           _____________________

        No. 23-1967
                                               MARY SEGUIN,

                                              Plaintiff - Appellant,

                                                       v.

         RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
             ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
         MEYERSIEK, in his individual and official capacity; PRISCILLA GLUCKSMAN; JOHN A.
            LANGLOIS; PAUL GOULD; MICHAEL D. COLEMAN, in his individual and official
              capacity; DEBORAH A. BARCLAY, in her individual and official capacity; LISA
           PINSONNEAULT, in her individual and official capacity; CARL BEAUREGARD, in his
          individual and official capacity; KEVIN TIGHE; MONIQUE BONIN; FRANK DIBIASE;
        WENDY FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN; RHODE ISLAND COURT
         SYSTEM; MARISA BROWN; PAUL A. SUTTELL, in his individual and official capacity as
         Executive Head of Rhode Island State Court System; RHODE ISLAND ADMINISTRATIVE
          OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE OFFICE OF THE
        SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RHODE ISLAND SUPERIOR
          COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE JUDICIAL
             TECHNOLOGY CENTER; JULIE HAMIL; JOHN JOSEPH BAXTER, JR.; JUSTIN
         CORREA; RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL; RHODE ISLAND
            OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT; ADAM D.
                     ROACH; PETER F. NERONHA; TYLER TECHNOLOGIES, INC.,

                                            Defendants - Appellees.
                                            __________________
                                            ORDER OF COURT

                                            Entered: March 1, 2024
                                         Pursuant to 1st Cir. R. 27.0(d)

               The briefing schedule entered on January 22, 2024 is hereby vacated as entered in error.

               In 1:23-cv-00126-WES-PAS (D.R.I), Plaintiff-appellant Mary Seguin filed three post-
        judgment motions pursuant to Rule 59, Rule 60(b) and Rule 60(b)(1) (Docket Entries #34, #35
        and #37) which, per Fed. R. App. P. 4(a)(4)(B)(i), tolled the effectiveness of her November 17,
        2023 notice of appeal until the district court disposed of the post-judgment motions. On February
        1, 2024, the district court entered an order denying the post judgment motions. (D.E. # 48)
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                 The appellant shall inform this court whether or not she intends to file a notice of appeal
        or amended notice of appeal from the district court's post-judgment order. See Fed. R. App. P.
        4(a)(4)(B)(ii) (noting that if appellant seeks appeal an order disposing of a post-judgment motion
        or incorporate it into a prior appeal, they must file a notice of appeal or amended notice of appeal
        within the 30 day period after the order enters). See also Fed. R. App. P. 4(a)(5) (allowing the
        district court to grant an extension of time to file a notice of appeal if the party so moved no later
        than 30 days after the time prescribed by Rule 4(a) expires).

               A briefing schedule will enter in due course.


                                                               By the Court:

                                                               Maria R. Hamilton, Clerk


        cc:
        Mary Seguin
        Marissa D. Pizana
        Joanna M. Achille
        Peter F. Neronha
Case:
Case:23-1978
      23-1967   Document:
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      Published September 2014
                                                                                              Judicial Proﬁle
                                                                                                      by Amy E. Moses



                              Hon. William E. Smith
                      Chief Judge, U.S. District Court for the
                             District of Rhode Island



     B
                    orn and raised in Boise, Idaho, Chief Judge
                    William E. Smith of the U.S. District Court for
                    the District of Rhode Island got a taste of both
                    politics and the judiciary at a young age. His
                    late father, Walter E. “Bill” Smith, was a suc-
     cessful candidate for the Ada County Probate Court in the
     1950s. Chief Judge Smith recalls many fall days during his
     childhood handing out palm cards and walking in parades
     for his father’s campaigns.
         Judge W.E. Smith was an early champion of court
     reform, and his efforts ultimately led to merit-selection for
     state judges in Idaho. Selected by the governor for a seat on
     the Idaho District Court, the trial court of general jurisdic-
     tion, W.E. Smith was the first member of Idaho’s judiciary
     appointed under the new merit selection process.
         Chief Judge Smith considers his father to be his earli-
     est and most influential judicial mentor. His father was
     a devoted public servant who spent the vast majority of
     his legal career as a judge; he was committed to following
     the highest ethical standards and dedicated to the rule of
     law. Chief Judge Smith recalls frequently walking from his
     elementary school to the county courthouse to get a ride
     home; he would do homework while his father drafted opin-
     ions or sit in the courtroom and watch trials. The late W.E.
     Smith’s devotion to the law appears to have influenced all
     of his children’s professional paths: Stephen is in private
     practice in Idaho; Tom is a law professor in California; and      Chief Judge Smith and Court Security Officer Charlie Penelton
     Trish is a district attorney in Utah.                             standing in front of a portrait of Senior Judge Lagueux. Penelton
         Chief Judge Smith left Idaho to study at Georgetown           worked for both judges.
     University, following in his brother Stephen’s footsteps.
     Thanks to Idaho’s Democratic Sen. Frank Church, he                chair. He worked upward of 30 hours a week to help support
     worked during college as a messenger in the U.S. Senate           himself and pay for his undergraduate education.
     Foreign Relations Committee, of which Sen. Church was                During the summer of 1980, Chief Judge Smith returned




     Amy E. Moses served as Chief Judge Smith’s law clerk during the 2005 – 2006 term. She is a mem-
     ber of the board of the Rhode Island Chapter of the Federal Bar Association.© 2014 Amy E. Moses.
     All rights reserved.
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Case:23-1978
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              home to work on Sen. Church’s re-election campaign. He              public library, and the Rhode Island State Courts in a variety
              coordinated volunteers, drafted issue papers, and occasion-         of high-profile labor-related legal battles. At the same time,
              ally drove the senator to campaign events across Idaho.             Chief Judge Smith continued to represent an increasing
              Although close, the campaign did not survive the “Reagan            variety of private sector and nonprofit clients on labor and
              Revolution,” which unseated numerous long-serving demo-             employment matters, including grocery chains, banks, and
              cratic senators and left Chief Judge Smith without a job.           manufacturing companies, as well as colleges.
              Through Sen. Church’s former Chief of Staff Peter Fenn,                 While in private practice, Chief Judge Smith also became
              he secured a position at the newly formed Democrats for             politically active. Although a Democrat in his college days,
              the ’80s, a political action committee. There he worked             he found himself more at home with Rhode Island’s small
              as a research assistant helping to draft two fact books for         Republican party. Early on, he was active with the 1988 Bob
              democratic candidates running in 1982 and 1984. While at            Dole (R) presidential campaign,. Through his legal work for
              Georgetown, Chief Judge Smith met his future wife, class-           the town of Warwick, he became good friends with Mayor
              mate Christine Boris, a native of Westerly, R.I.; he occasion-      Chafee and supported his re-election campaigns.
              ally traveled with her to Rhode Island to visit her family in           In late 1999, following the sudden death of U.S. Sen.
              the summer.                                                         John Chafee, Mayor Lincoln Chafee was appointed by the
                  Shortly after graduating from Georgetown in 1982, Chief         governor to serve the remaining year of his father’s term.
              Judge Smith enrolled in the night program at Georgetown’s           The following November, Sen. Chafee ran for the seat. He
              Law School. By taking courses at night, he was able to work         was the clear underdog going into the 2000 race, campaign-
              full time during the day to pay for his education. Thanks           ing against the much more seasoned Rep. Robert Weygand
              to his connections at Democrats for the ’80s, he secured a          (D). Bringing his campaign experience from a U.S. Senate
              paralegal/law clerk position at Akin Gump Strauss Hauer &           race 20 years prior, Chief Judge Smith left his partnership
              Feld and worked there through much of law school (taking            at Edwards & Angell to serve as the staff director in Sen.
              time off in summers to clerk in several other firms). During        Chafee’s Rhode Island office. From 9 to 5, Chief Judge Smith
                                              his third year, he and Christine    worked on Senate matters, but all of his spare time was
                                              married.                            devoted to the campaign, overseeing everything from staff-
   Outside of the court-                          In 1987, after considering      ing to scheduling, media, and debate preparation.
   house, you might catch                     law firms in Portland, Maine,           After serving for a year as staff director and seeing
   a glimpse of Chief Judge                   and Providence, R.I., Chief         Chafee to victory in November, Chief Judge Smith returned
                                              Judge Smith accepted a posi-        to Edwards & Angell. Shortly thereafter, U.S. District Judge
   Smith peddling through                     tion at Edwards & Angell, then      Ronald R. Lagueux announced he would take senior status,
   downtown Providence                        Providence’s largest and most       opening up a seat on the federal bench. Sen. Chafee sug-
   or on the East Bay bike                    prestigious law firm. Other         gested Chief Judge Smith to President George W. Bush, and
   path. Weather permitting, than Christine’s family down                         after a relatively uneventful process, he was confirmed by
                                              in Westerly, he “didn’t know a      the U.S. Senate on Nov. 14, 2002. Looking back, Chief Judge
   he occasionally rides his                  soul in Rhode Island,” but his      Smith appreciates that the stars unexpectedly aligned: but
   bike the almost 25 miles                   instincts told him that Rhode       for both Sen. Chafee and President Bush winning close and
   from home to work.                         Island was a place where a          perhaps unexpected victories in 2000, he would not have
                                              young lawyer could have an          been appointed to the federal bench.
                                              impact and make a name for              Taking the bench in his early forties, Chief Judge Smith
              himself. As a young associate, Chief Judge Smith built a            brought with him innovative ideas about the work of judging.
              practice focused on labor law and pubic-sector law. In his          In one high-stakes patent case involving complex computer
              new hometown of West Warwick, he served as an assistant             algorithms, for example, he broke new ground by combining
              solicitor and later became the municipal judge. In neighbor-        the digital audio of testimony with the demonstrative video
              ing Warwick, after now-Governor Lincoln Chafee (D) was              used by the witness to create a movie that he embedded
              elected mayor in 1992, Chief Judge Smith competed for and           into his decision; readers can click on the embedded link
              won a contract to consolidate all of the city’s legal services      to watch the movie.1 In another case, when it came time to
              and was designated as the city solicitor. Revolutionary at the      award attorneys’ fees in a securities class-action matter,2 he
              time, he convinced Mayor Chafee that his firm could handle          adopted a market-based approach championed by Judges
              the city’s legal work efficiently and effectively for a flat fee,   Vaughn Walker and Milton Shadur in the post-settlement
              saving the city $100,000 per year. Under this contract, Chief       context using available data about fee awards.3
              Judge Smith represented Warwick in numerous matters                     Early on in his judicial career, Chief Judge Smith became
              involving police officers, firefighters, and municipal unions;      focused on issues of fundamental fairness. In the wake of
              civil rights cases; utility rate cases; tax and zoning matters;     Booker4 and disturbed by the disparity between crack and
              and cases regarding the interpretation of the city charter,         cocaine sentences, he conducted extensive research on
              to name a few. This experience led to a similar flat-fee con-       the scientific differences between the two substances and
              tract representing the Rhode Island Secretary of State. In          the history of the 100-to-1 sentencing ratio in use at the
              due course, Chief Judge Smith’s burgeoning public-sector            time. His thoughtful and comprehensive opinion on this
              practice expanded to include representing the governor, a           issue, United States v. Perry,5 was used by other judges
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     considering rejecting the 100-to-1 ratio and got a shout            hac vice process, issued an order permitting the electronic
     out from the U.S. Supreme Court in the United States v.             filing of complaints, and initiated a protocol to allow report-
     Spears6 opinion, which upheld the discretion of district            ers to use electronic devices in the courtroom (with the
     court judges to vary from the sentencing guidelines based           judge’s approval) to report via Twitter, blogs, or otherwise.
     on policy disagreements. On another topic, Chief Judge              Currently he is overseeing an initiative to make admission
     Smith chastised law enforcement’s persistent failure to             to practice in the District of Rhode Island more practical for
     record custodial interrogations, warning that in future cases       new lawyers, a program to provide pro bono counsel in civil
     he would take remedial measures, including instructing the          cases, the development of a re-entry court to offer an alter-
     jury to treat with caution testimony of law enforcement offi-       native to supervised release, and a litigation academy to help
     cers about statements made during custodial interrogations          train young lawyers (at low cost) in some of the basic skills
     where recording equipment was not utilized.7 These efforts,         of litigation. (The academy is a partnership between the
     along with those of many other judges and commentators,             court, the Federal Bar Association, and the Roger Williams
     arguably have contributed to a sea change in practices on           University School of Law.)
     custodial recording.8                                                    Looking forward, Chief Judge Smith is not certain if he
         Chief Judge Smith has taught at Roger Williams                  will retire or take senior status when eligible, but he does
     University School of Law, the state’s only law school, since        not think of himself as the kind of judge who has to be on
     2007. He believes that the law school plays a unique role in        the bench. While he cherishes his judicial position, he has
     Rhode Island’s legal community by educating many of the             numerous interests and enjoys traveling. And while that
     state’s lawyers, fostering intellectual exchanges through           decision is still a long ways off, he says it might be interest-
     seminars and conferences, and expanding legal services              ing to do some “completely different” kind of public service.
     through its clinics and Pro Bono Collaborative. His courses         That, above all, is what he learned from his father: a life of
     have included a year-long capstone course of his own design         devoted public service is its own reward. ~
     in federal practice, which mimics an actual federal civil case
     from start to finish; a course in expert and scientific evi-        Endnotes
                                                                            1
     dence; and a seminar in judicial process, which explores how             Uniloc USA, Inc. v. Microsoft Corp., 640 F. Supp. 2d
     judges decide cases with an emphasis on the psychological           150 (D.R.I. 2009).
                                                                             2
     and less well understood influences in decision-making.                  In re Cabletron Systems, Inc. Securities Litigation,
     Chief Judge Smith greatly enjoys mentoring students and             239 F.R.D. 30 (D.N.H. 2006).
                                                                             3
     interacting with faculty and staff. He recently accepted                 See, e.g., In re Oracle Securities Litig., 131 F.R.D. 688
     appointment as chair of the law school’s board of directors         (N.D. Cal. 1990) (Walker, J.); In re Amino Acid Lysine
     and looks forward to helping the school navigate the chang-         Antitrust Litig., 918 F. Supp. 1190 (N.D. Ill. 1996) (Shadur,
     ing seas of legal education.                                        J.); Report of the Third Circuit Task Force on Selection of
         During his tenure as a district judge, Chief Judge Smith        Class Counsel, 208 F.R.D. 340, 354 n.31 (2002).
                                                                             4
     has accepted numerous invitations to sit with the First and              United States v. Booker, 543 U.S. 220 (2005).
                                                                             5
     Ninth Circuit Courts of Appeals. He enjoys the sparring and              United States v. Perry, 389 F. Supp. 2d 278 (D.R.I. 2005).
                                                                             6
     camaraderie in the appellate bench. Indeed, Chief Judge                  Spears v. United States, 555 U.S. 261, 261, 266 (2009).
                                                                             7
     Smith was nominated by President Bush to a seat on the                   United States v. Mason, 497 F. Supp. 2d 328, 336 (D.R.I.
     First Circuit in December of 2007, but (somewhat ironically         2007) (“It is for this reason that continued indifference (or
     given his early political background) was “blue-slipped” by         resistance) by the Providence Police Department to practices
     Rhode Island’s Democratic senators in the waning months of          aimed at curing the problems discussed above risks this
     the Bush administration.                                            Court’s use of corrective measures.”); see also United States
         Outside of the courthouse, you might catch a glimpse of         v. Mejia, Cr. No. 07-005S, Jury Instructions, p. 36, www.rid.
     Chief Judge Smith peddling through downtown Providence              uscourts.gov/menu/judges/jurycharges/CRdocs/07-05S%20
     or on the East Bay bike path. Weather permitting, he occa-          US%20v%20Tejada-Pichardo%20et%20al%20(Ricardo%20
     sionally rides his bike the almost 25 miles from home to            Mejia).pdf (“Testimony regarding unrecorded statements,
     work. During lunch, he usually catches a game of competi-           particularly in circumstances where recording equipment is
     tive squash. And on the weekends, he enjoys hiking, tennis,         available, must be viewed with caution.”); Katie Mulvaney,
     and mountain biking. He is an avid reader, mostly of nonfic-        Police resist judge’s call that they record interrogations,
     tion, with a particular interest in history, policy, and science.   PROVIDENCE JOURNAL, March 18, 2009.
                                                                             8
         In December 2013, Chief Judge Smith began his seven-                 See Thomas P. Sullivan, Recording Custodial
     year term as chief judge. The youngest person ever to               Interrogations, THE CHAMPION, April 2014.
     serve as chief judge in the District of Rhode Island,9 he               9
                                                                              See Federal Judicial Center, Biographical Directory of
     brings new energy and enthusiasm to the position. While             Federal Judges, 1789 present, www.fjc.gov/history/home.
     he continues to innovate and focus on fairness, Chief Judge         nsf/page/judges.html (containing dates of birth and years of
     Smith is committed broadening his effort to make the court          service as District of Rhode Island Chief Judge).
     a friendlier and more welcoming place for litigants, lawyers,
     and the public. During his first few months as chief, he
     established a court Twitter account, modernized the pro
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Case:23-1978
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                  569ÿ159ÿÿ99ÿ6ÿ5449ÿ9ÿ416ÿ69462ÿ36 53 ÿÿ33ÿ7ÿ9ÿ59ÿ
                  39925 ÿ6 ÿ9ÿ%3615ÿ4966ÿ5449ÿ65#ÿÿÿ
              &7#ÿ5ÿ9ÿ29ÿ52ÿ*946 34ÿ433ÿ79 ÿ459ÿ559 9 ÿ79 ÿ619ÿ52ÿ
                  654349ÿ163ÿ52ÿ14 313 57ÿ69634ÿ52ÿ297ÿ5449ÿÿ9ÿ416ÿÿ699ÿ
                  4598ÿ&"ÿ9ÿ1349ÿ/"ÿ69ÿ335 9ÿ0"ÿ5639ÿÿ9ÿ459ÿ!ÿ569ÿ69699 92ÿ
                  7ÿ419"ÿ52ÿ3ÿ%317ÿ163ÿ6996%92ÿ6ÿ 7ÿ9ÿ%96 9 ÿ52ÿ29ÿ
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              &:#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
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              &;#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
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      Case       Document:
                  Document:00118189824
                           00118126457
                           00118126723
                            00118123623
            1:23-cv-00126-WES-PAS        Page:
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                                                454 Filed
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                 01234560ÿ859 ÿ 1121264ÿÿÿ6ÿ6ÿ1ÿÿ1ÿÿ36 6ÿ29ÿ5956ÿ
                 ÿ8956ÿ4 62ÿ1ÿÿ226ÿ596641ÿ232ÿ46 ÿ ÿ86465ÿ9212219ÿ4ÿ
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              #$"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
                 1121264ÿ236ÿ8 1ÿ952ÿ226ÿ596641ÿ9ÿ+5ÿ,#*ÿ,ÿ68956ÿ236ÿ-914ÿ
                  656ÿ&65219ÿ0ÿ18264"ÿ
              #."ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                 65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                 BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
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                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                 46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                 5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
                 6*ÿ2ÿ236ÿ226ÿ&68642ÿ36ÿ122ÿ56 926ÿ6ÿÿ226ÿ952ÿ461"ÿ
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                 56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                 4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                 98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
              "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
              ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                 4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                 492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                 N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                 5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                 662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                 9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                 952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                 6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                 N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                 236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
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                 N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                     ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                 1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                 5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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            1:23-cv-00126-WES-PAS        Page:
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                                               1270
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                  011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
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              ÿ705ÿÿ322ÿ56ÿ382ÿÿ2290ÿ16895ÿ572ÿ5052ÿ22 053ÿ0 ÿ0 ÿ0 560ÿ22 053ÿ
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                  30 $ÿ0 ÿ702ÿ22ÿ8163558560 ÿ3!2ÿ685ÿÿ572ÿ5052ÿ%8109$ÿÿ
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                  69056ÿ0857692ÿÿ(8!23ÿ0 ÿ"717ÿ572ÿ%8109ÿ703ÿ0ÿ666 ÿÿ572ÿ
                  81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿÿ"717ÿ35052ÿ16895ÿ10323ÿÿ0ÿ572ÿ9632ÿ095$ÿ
                  0 ÿ57292692ÿ702ÿ350 !ÿ56ÿ9032ÿ103ÿ0!035ÿ573ÿ8163558560ÿ35052ÿ901512ÿ
                  0 ÿ8163558560ÿ35052ÿ16895ÿ901512ÿ0 ÿ9823ÿÿÿ8 29350 ÿ572ÿ#762ÿ30 ÿ
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                  81ÿ16895ÿ921693ÿÿ5!056$ÿ!2ÿ52 ÿ6512$ÿ0208052ÿ669585ÿ56ÿ2ÿ
                  7209ÿ0 ÿ56ÿ2136ÿÿ0ÿ28590ÿ2136029ÿ092ÿ8 0250ÿ/935ÿ0 ÿ/68957ÿ
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                  2215961ÿ!ÿ3352$ÿ&6 332$'ÿ0 ÿ229052 ÿ832ÿ0ÿ"76 ÿ2925ÿ802ÿ
                  2215961ÿ!ÿ3352$ÿ2925ÿ0 ÿ3209052ÿ96ÿ5705ÿ7&6 332'ÿ962ÿ69ÿ
                  9632ÿ5!053$ÿ36ÿ5705ÿ9632ÿ5!053ÿ6ÿ65ÿ92122ÿ0 ÿ9208352ÿ0856052ÿ
                  2215961ÿ65123ÿ6ÿ16895ÿ6563ÿ69ÿ20!3ÿ572ÿ5052ÿ22 053ÿ2ÿ
                  22159610 $ÿ69ÿ092ÿ96ÿ32ÿ5!053ÿ02ÿ56ÿ22159610 ÿ011233ÿ572ÿ16525ÿ
                  69056ÿ6ÿ572ÿ5052ÿ22 053)ÿ22159610 2ÿ20!3ÿÿ72ÿ6 ÿ"0ÿ572ÿ
                  96ÿ32ÿ5!05$ÿ3817ÿ03ÿ2$ÿ572ÿ203ÿ+05$ÿ10ÿ011233ÿ572ÿ16895ÿ92169ÿ3ÿ56ÿ
                  29360 ÿ!6ÿ629ÿ$88ÿ23ÿ0"0ÿ56ÿ572ÿ1689576832ÿÿ#762ÿ30 ÿ56ÿ011233ÿ572ÿ
                  16895ÿ20!ÿ69056$ÿ69ÿ!25ÿ0ÿ&1689523ÿ6512'ÿ0ÿ20ÿ69ÿ!25ÿ0ÿ&1689523ÿ
                    6512'ÿ57968!7ÿ9ÿ:0ÿ325ÿÿ572ÿ5052ÿ22 053ÿ05ÿ"7ÿÿÿ72ÿ5052ÿ
                  22 053ÿ229052 ÿ0ÿ56ÿ32 ÿ572ÿ65123ÿ22159610 ÿ69ÿÿ9ÿ:0$ÿ0 ÿ572ÿ
                  35052ÿ168953ÿ229052 ÿ968!052ÿ16895ÿ9823ÿ306"!ÿ572ÿ81$ÿ9632ÿ
                   5!053ÿ0 ÿ22ÿ572ÿ09523ÿ"76ÿ092ÿ92923252ÿÿ0" 293$ÿ92652ÿ011233ÿ56ÿ16895ÿ
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                  81ÿ10323$ÿ03ÿ"2ÿ03ÿ2 ÿ92652ÿ011233ÿ56ÿ572ÿ59031953ÿ69292ÿÿ9632ÿ
                   5!053ÿ69ÿ020ÿÿ19510 $ÿ572ÿ5052ÿ16895)3ÿ09!25ÿ0 ÿ20ÿ6ÿ011233ÿ56ÿ
                  16895ÿ618253ÿ56ÿ572ÿ96ÿ32ÿ5!05ÿ0 ÿ572ÿ!2290ÿ81ÿ92385ÿÿ572ÿ

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                  2305ÿ23876154ÿ2646314ÿ0 154ÿ71ÿ3 4ÿÿ75ÿ64ÿ508ÿ43261ÿ64ÿ575ÿ5ÿ
                  3ÿ4871ÿ06267ÿ1ÿ164ÿ713ÿ74ÿ34ÿ86567154ÿ35ÿ72244ÿ3ÿ2305ÿ
                  57142654ÿ575ÿÿ3 ÿÿ34ÿ86567154ÿ3ÿ778ÿÿÿ
              !"ÿ$6 8ÿ5ÿ$%74ÿ&3'ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿ
                  (ÿ!)!*ÿ575ÿ5ÿ3ÿ4871ÿ06267ÿ0461ÿ5ÿ73476ÿ4575ÿ2305ÿ08ÿ7 61ÿ
                    ÿ2753ÿ34ÿ86567154ÿ3ÿ7224461ÿ2305ÿ274ÿ61375631ÿ358ÿ74ÿ5ÿ
                  &876156ÿÿ2753ÿ+,48415ÿ8656715-.ÿ3ÿ7224461ÿ4575ÿ2305ÿ
                  3261ÿ57142654ÿ575ÿ5ÿ$%74ÿ&876156ÿ3 ÿ71ÿ76ÿ3ÿ3ÿ778ÿÿ1ÿ
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                  57142654ÿ3ÿ2305ÿ32614ÿ575ÿ4ÿ3 ÿ71ÿ76ÿ3ÿ61ÿÿ778ÿ53ÿ5ÿÿ
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                  !)!*ÿ575ÿ465ÿ5ÿ$%74ÿ&876156T4ÿ478ÿ31ÿ610664ÿ53ÿ5ÿÿ'063ÿ
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                  71ÿ5714ÿ5ÿ2305ÿ274ÿ68ÿ3ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ14DD?EFÿ12E85>2GHÿ
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                  5ÿ&876156ÿ61ÿ31ÿ2305ÿ575ÿ5ÿ0 ÿP76ÿ/064ÿ061ÿ5ÿ761ÿ3ÿW72ÿ
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                  /305ÿ53ÿ0626788ÿ13562ÿ575ÿ564ÿ2305ÿ72244ÿ1678ÿ71ÿ1678ÿ53ÿÿ7 ÿ3220 ÿ
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            1:23-cv-00126-WES-PAS        Page:
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                    4I9<4GÿPJÿLÿMÿNTKOÿB9ÿI49349ÿ9Bÿ54I43ÿ4Gÿ18ÿ8ÿH4EÿH91ÿÿ
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                     885B133ÿ8S18ÿ4ÿ91ÿB9ÿ8ÿ8A849ÿ9Bÿ4>8ÿ9ÿB438ÿ>ÿ534> ÿ
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                    Y9I8>8ÿZ8B8ÿ8ÿB9>8ÿ5348ÿ9BÿX1G8ÿ>4Eÿÿ8ÿ4ÿ4ÿB9>8ÿ
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        9 54ÿ27815ÿ 24ÿ ÿ 25ÿ7011 93ÿ749!247ÿ#)ÿ#'2ÿ(33#&#4%ÿ&454&#'67ÿ>4!21ÿ
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        (33#&#4%ÿ&454&#'#:27ÿ9 54ÿ27815ÿ73834ÿ 093ÿ7734ÿ#)ÿ#'2ÿ(33#&#4%ÿ&454&#'67ÿ180ÿ
        8"ÿ70334ÿ#)ÿ9#2ÿ#)<#$#<=4%ÿ4)<ÿ(33#&#4%ÿ&454&#'6ÿ42ÿ4B4 032!4ÿ485ÿ ÿ9 54ÿ
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        3 4ÿ7014929ÿ 093ÿ#)ÿ#'2ÿ(33#&#4%ÿ&454&#'67ÿ9 54ÿ27815ÿA05228ÿ 01 2ÿ#)ÿ
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              O1ÿ3456ÿ64ÿP.QCRSÿ4TUAVRÿWXR4=4A.Yÿ.XUSTÿC9ÿZ.A=[4=Sÿ
                 \C]S.V4V\ÿZXKU4=ÿA==STTÿ[CÿSUS=[.CV4=ÿ=ATSÿ4V9C.^A[4CV_ÿ
                 .>62ÿ̀aÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08_ÿdbHÿ.2:0@2ÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08aÿdFHÿ
                 Z06;b<aÿ[0ÿ7660eÿ6;:;@21ÿ.2:0@2ÿAbb255ÿ@0ÿ@/2ÿR7@7f752ÿ@/?0>g/ÿ@/2ÿZ>f6;bÿ
                 Z0?@76aÿÿV08Gh>f6;bÿb752ÿ@<h25ÿ5/766ÿ80@ÿf2ÿ?2:0@26<ÿ7bb255;f62ÿ2ib2h@ÿc0?ÿb2?@7;8ÿ
                 b752ÿ@<h25ÿ@0ÿ7@@0?82<5ÿe/0ÿ/7B2ÿ28@2?21ÿ78ÿ7hh27?78b2ÿ;8ÿ7ÿb752aÿÿdDHÿ=08@28@aÿ
                 d7Hÿ[/2ÿZ>f6;b_ÿT26cG?2h?2528@21ÿU;@;g78@5ÿ781ÿZ7?@;25aÿ[/2ÿZ>f6;b_ÿ526cG
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                 '[/2ÿZ>f6;b_ÿT26cG?2h?2528@21ÿU;@;g78@5ÿ781ÿZ7?@;25aÿ[/2ÿZ>f6;b_ÿ526cG?2h?2528@21ÿ
                 6;@;g78@5_ÿ781ÿh7?@;25ÿ5/766ÿ/7B2ÿ.2:0@2ÿAbb255ÿ@0ÿ@/2ÿ?2g;5@2?ÿ0cÿ7b@;085ÿ0?ÿ
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                 781ÿZ7?@;25ÿ@0ÿ7ÿ=752_ÿ[/2ÿh>f6;b_ÿ526cG?2h?2528@21ÿ6;@;g78@5_ÿ781ÿh7?@;25ÿ;8ÿ7ÿb752ÿ
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                  7ÿ9ÿ012343567ÿ23357ÿ ÿ796ÿ94 39ÿ2797ÿ569ÿ5ÿ29392ÿ5449ÿÿ
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                  654349ÿ163ÿ52ÿ14 313 57ÿ69634ÿ52ÿ297ÿ5449ÿÿ9ÿ416ÿÿ699ÿ
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                 01234560ÿ859 ÿ 1121264ÿÿÿ6ÿ6ÿ1ÿÿ1ÿÿ36 6ÿ29ÿ5956ÿ
                 ÿ8956ÿ4 62ÿ1ÿÿ226ÿ596641ÿ232ÿ46 ÿ ÿ86465ÿ9212219ÿ4ÿ
                 46ÿ596ÿ5132ÿ1ÿ6!"ÿ
              #$"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
                 1121264ÿ236ÿ8 1ÿ952ÿ226ÿ596641ÿ9ÿ+5ÿ,#*ÿ,ÿ68956ÿ236ÿ-914ÿ
                  656ÿ&65219ÿ0ÿ18264"ÿ
              #."ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                 65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                 BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
                 121H6ÿ98ÿ6!ÿ965ÿ*Iÿ16ÿ0"ÿ
              "ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ815ÿ46ÿ596ÿ
                 19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                 46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                 5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
                 6*ÿ2ÿ236ÿ226ÿ&68642ÿ36ÿ122ÿ56 926ÿ6ÿÿ226ÿ952ÿ461"ÿ
              #"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ96ÿ9212219ÿ
                 56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                 4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                 98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
              "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
              ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                 4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                 492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                 N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                 5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                 662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                 9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                 952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                 6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                 N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                 236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
                 952ÿ1895 219*ÿ 6ÿ236ÿ9262ÿ98ÿ411)952ÿ56954ÿ98ÿ6ÿ29ÿ0313ÿÿ
                  ÿ236ÿ6856566264ÿ52*ÿNPOÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ29ÿ6ÿ3654ÿ
                 N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                     ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                 1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                 5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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                  Document:00118189824
                           00118126457
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                            00118123623
            1:23-cv-00126-WES-PAS        Page:
                                         Page:33-1
                                     Document  1080
                                               1301
                                               1539
                                                486 Filed
                                                     Date
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                                                                  03/29/2024
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                  011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
                  029ÿ5235ÿÿ73ÿ35ÿ3ÿ65ÿ2708352ÿ
              ÿ705ÿÿ322ÿ56ÿ382ÿÿ2290ÿ16895ÿ572ÿ5052ÿ22 053ÿ0 ÿ0 ÿ0 560ÿ22 053ÿ
              ÿÿ0ÿ0ÿ685635052ÿ2935ÿ0 ÿ0ÿ9632ÿ5!05ÿÿ5"6ÿ35052ÿ96122!3ÿÿ#762ÿ
                  30 $ÿ0 ÿ702ÿ22ÿ8163558560 ÿ3!2ÿ685ÿÿ572ÿ5052ÿ%8109$ÿÿ
                  1052!69ÿ&3292923252ÿ5!05$'ÿ56ÿ2ÿ0992ÿ96ÿ011233!ÿ2215961ÿ1032ÿ
                  69056ÿ0857692ÿÿ(8!23ÿ0 ÿ"717ÿ572ÿ%8109ÿ703ÿ0ÿ666 ÿÿ572ÿ
                  81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿÿ"717ÿ35052ÿ16895ÿ10323ÿÿ0ÿ572ÿ9632ÿ095$ÿ
                  0 ÿ57292692ÿ702ÿ350 !ÿ56ÿ9032ÿ103ÿ0!035ÿ573ÿ8163558560ÿ35052ÿ901512ÿ
                  0 ÿ8163558560ÿ35052ÿ16895ÿ901512ÿ0 ÿ9823ÿÿÿ8 29350 ÿ572ÿ#762ÿ30 ÿ
                  %8109)3ÿ666 ÿÿ572ÿ!50ÿ81056ÿ6ÿ(8!2192052ÿ0"3ÿÿ572ÿ%8109)ÿ
                  2252ÿ!50*2215961ÿ168953ÿ0 ÿ572ÿ%8109)3ÿ20ÿ56ÿ572ÿ+81ÿ0 ÿ56ÿ
                  2ÿ96ÿ011233!ÿ572ÿ666,2ÿ2215961ÿ81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿ
                  ÿ572ÿ16895ÿ921693ÿ6052ÿ572ÿ!62925ÿ215ÿ61592ÿ
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                  81ÿ16895ÿ921693ÿÿ5!056$ÿ!2ÿ52 ÿ6512$ÿ0208052ÿ669585ÿ56ÿ2ÿ
                  7209ÿ0 ÿ56ÿ2136ÿÿ0ÿ28590ÿ2136029ÿ092ÿ8 0250ÿ/935ÿ0 ÿ/68957ÿ
                  .2 25ÿ0 ÿ/68952257ÿ.2 25ÿ9!753ÿÿ19510 $ÿ572ÿ8163558560ÿ
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                  9632ÿ5!053ÿÿ572ÿ#762ÿ30 ÿ5052ÿ168953$ÿ#762ÿ30 ÿ5052ÿ%8109ÿ0 ÿ
                  572ÿ#762ÿ30 ÿ82969ÿ16895ÿ2217ÿ209ÿ165522ÿ9215 ÿ92052ÿ56ÿ368!29ÿ
                  .35256ÿ41256ÿÿÿ
              5ÿ72ÿ5052ÿ22 053ÿ229052 ÿ2ÿ0ÿ572ÿ5052)3ÿ20!3ÿ68532ÿ6ÿ572ÿ5052)3ÿ
                  2215961ÿ!ÿ3352$ÿ&6 332$'ÿ0 ÿ229052 ÿ832ÿ0ÿ"76 ÿ2925ÿ802ÿ
                  2215961ÿ!ÿ3352$ÿ2925ÿ0 ÿ3209052ÿ96ÿ5705ÿ7&6 332'ÿ962ÿ69ÿ
                  9632ÿ5!053$ÿ36ÿ5705ÿ9632ÿ5!053ÿ6ÿ65ÿ92122ÿ0 ÿ9208352ÿ0856052ÿ
                  2215961ÿ65123ÿ6ÿ16895ÿ6563ÿ69ÿ20!3ÿ572ÿ5052ÿ22 053ÿ2ÿ
                  22159610 $ÿ69ÿ092ÿ96ÿ32ÿ5!053ÿ02ÿ56ÿ22159610 ÿ011233ÿ572ÿ16525ÿ
                  69056ÿ6ÿ572ÿ5052ÿ22 053)ÿ22159610 2ÿ20!3ÿÿ72ÿ6 ÿ"0ÿ572ÿ
                  96ÿ32ÿ5!05$ÿ3817ÿ03ÿ2$ÿ572ÿ203ÿ+05$ÿ10ÿ011233ÿ572ÿ16895ÿ92169ÿ3ÿ56ÿ
                  29360 ÿ!6ÿ629ÿ$88ÿ23ÿ0"0ÿ56ÿ572ÿ1689576832ÿÿ#762ÿ30 ÿ56ÿ011233ÿ572ÿ
                  16895ÿ20!ÿ69056$ÿ69ÿ!25ÿ0ÿ&1689523ÿ6512'ÿ0ÿ20ÿ69ÿ!25ÿ0ÿ&1689523ÿ
                    6512'ÿ57968!7ÿ9ÿ:0ÿ325ÿÿ572ÿ5052ÿ22 053ÿ05ÿ"7ÿÿÿ72ÿ5052ÿ
                  22 053ÿ229052 ÿ0ÿ56ÿ32 ÿ572ÿ65123ÿ22159610 ÿ69ÿÿ9ÿ:0$ÿ0 ÿ572ÿ
                  35052ÿ168953ÿ229052 ÿ968!052ÿ16895ÿ9823ÿ306"!ÿ572ÿ81$ÿ9632ÿ
                   5!053ÿ0 ÿ22ÿ572ÿ09523ÿ"76ÿ092ÿ92923252ÿÿ0" 293$ÿ92652ÿ011233ÿ56ÿ16895ÿ
                  921693$ÿ0 ÿ19510 $ÿ2 ÿ011233ÿ56ÿ19810ÿ16895ÿ21363$ÿ(8!253ÿ0 ÿ69293ÿ6ÿ
                  81ÿ10323$ÿ03ÿ"2ÿ03ÿ2 ÿ92652ÿ011233ÿ56ÿ572ÿ59031953ÿ69292ÿÿ9632ÿ
                   5!053ÿ69ÿ020ÿÿ19510 $ÿ572ÿ5052ÿ16895)3ÿ09!25ÿ0 ÿ20ÿ6ÿ011233ÿ56ÿ
                  16895ÿ618253ÿ56ÿ572ÿ96ÿ32ÿ5!05ÿ0 ÿ572ÿ!2290ÿ81ÿ92385ÿÿ572ÿ

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                            00118123623
            1:23-cv-00126-WES-PAS        Page:
                                         Page:33-1
                                     Document  1081
                                               1302
                                               1540
                                                487 Filed
                                                     Date
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                  0123145650563178ÿ7 6 15ÿ71ÿ1678ÿ3ÿ078ÿ568ÿ71ÿ716108ÿ72244ÿ53ÿ
                  2305ÿ23876154ÿ2646314ÿ0 154ÿ71ÿ3 4ÿÿ75ÿ64ÿ508ÿ43261ÿ64ÿ575ÿ5ÿ
                  3ÿ4871ÿ06267ÿ1ÿ164ÿ713ÿ74ÿ34ÿ86567154ÿ35ÿ72244ÿ3ÿ2305ÿ
                  57142654ÿ575ÿÿ3 ÿÿ34ÿ86567154ÿ3ÿ778ÿÿÿ
              !"ÿ$6 8ÿ5ÿ$%74ÿ&3'ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿ
                  (ÿ!)!*ÿ575ÿ5ÿ3ÿ4871ÿ06267ÿ0461ÿ5ÿ73476ÿ4575ÿ2305ÿ08ÿ7 61ÿ
                    ÿ2753ÿ34ÿ86567154ÿ3ÿ7224461ÿ2305ÿ274ÿ61375631ÿ358ÿ74ÿ5ÿ
                  &876156ÿÿ2753ÿ+,48415ÿ8656715-.ÿ3ÿ7224461ÿ4575ÿ2305ÿ
                  3261ÿ57142654ÿ575ÿ5ÿ$%74ÿ&876156ÿ3 ÿ71ÿ76ÿ3ÿ3ÿ778ÿÿ1ÿ
                  35ÿ3 4ÿ5ÿÿ'0ÿ/305ÿ/8ÿ4575ÿ53ÿ5ÿ$%74ÿ&876156ÿ575ÿ5ÿ
                  &876156ÿ61ÿ$%74ÿ64ÿ01231456505631788ÿ7 ÿ3ÿ358ÿ7224461ÿ5ÿ
                  57142654ÿ3ÿ2305ÿ32614ÿ575ÿ4ÿ3 ÿ71ÿ76ÿ3ÿ61ÿÿ778ÿ53ÿ5ÿÿ
                  '0ÿ/305ÿ61ÿ5ÿ&8761566165675ÿ0&0ÿ725631ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ
                  14DD?EFÿ12E85>2GHÿI@JKKJLMKNOÿ71ÿ5ÿ5ÿ'575ÿP17154ÿ7ÿ6106578ÿ
                     715ÿ6145715ÿ71ÿÿ35ÿ72244ÿ53ÿ534ÿÿ57142654ÿ575ÿ5ÿ$%74ÿ&876156ÿ
                  3 ÿ71ÿ76ÿ3ÿ3ÿ778ÿÿ$ÿ78ÿ$%74ÿ&876156ÿ425088ÿ0454ÿ564ÿ
                  /305ÿ5ÿ%514631ÿ3ÿ56ÿ53ÿ415ÿ5ÿ1 ÿ612ÿ71ÿ87ÿ5ÿ66ÿ7254ÿÿ
              !QÿR3058ÿ5ÿ$%74ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿSSÿ
                  !)!*ÿ575ÿ465ÿ5ÿ$%74ÿ&876156T4ÿ478ÿ31ÿ610664ÿ53ÿ5ÿÿ'063ÿ
                  /305ÿ61ÿ5ÿ745ÿ478ÿ4ÿ7 61ÿ5ÿ457504ÿ3ÿ5ÿ778ÿ5ÿÿ'063ÿ
                  /305ÿ3ÿ01642834ÿ74314ÿ768ÿ71ÿ2315610ÿ53ÿ768ÿ53ÿ861064ÿ064625631ÿ
                  71ÿ5714ÿ5ÿ2305ÿ274ÿ68ÿ3ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ14DD?EFÿ12E85>2GHÿ
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                  State of Rhode Island and Providence Plantations


           PROVIDENCE, Sc.                                   FAMILY COURT




           *******************************
           GERO MEYERSIEK




           Vs.                                  F.C. FILE NO. K2001-0521M




           MARY SEGUIN
           ********************************



                                          Heard Before:

                      The Honorable Magistrate Armando O. Monaco

                                     On March 6, 2023


           APPEARANCES:


           FOR MS. SEGUIN. . . . . Pro se

           FOR THE STATE. . . . .. Paul Gould, Esq.




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Case:
Case:23-1978
      23-1967
       23-1967   Document:
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                                          I HEREBY CERTIFY THAT THE

                                          FOLLOWING IS A TRUE AND ACCURATE

                                          TRANSCRIPT IN THE CASE OF

                                          GERO MEYERSIEK VS. MARY SEGUIN

                                          HEARD BEFORE

                                          MAGISTRATE ARMANDO O. MONACO

                                          ON MARCH 6,2023.




                                          STEVEN FAZIO
                                          ELECTRONIC COURT REPORTER




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           1                              GERO MEYERSIEK V. MARY SEGUIN

           2                                   F.C. NO. K2001-0521M

           3                                   MARCH 6, 2023

           4

           5                                   MARY SEGUIN: Having been

           6          duly sworn testifies as follows:

           7                                   THE COURT: After the

           8          February 12th hearing two orders were submitted

           9          one by each side, objections were filed through

          10          your order being entered, ma'am.

          11                                   MS. SEGUIN: Thank you Your

          12          Honor. I am sorry. Could you repeat that again?

          13          Sorry.

          14                                   THE COURT: Subsequent to the

          15          hearing of February 10,2023, two separate orders

          16          were submitted for my signature. One you

          17          submitted and one the State submitted. The State

          18          filed an objection to the submission of your

          19          order on the basis that they alleged, I believe,

          20          that it is not what I said.

          21                                   MS. SEGUIN: And I also filed

          22          an objection to their proposed order that also

          23          clearly states a lot of additional items that

          24          were never before the Court. Including the

          25          number now that they have now, they submitted a

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           1          $75,623.71 and then another one for $6028.75.

           2          These two numbers were not even in their

           3          original motion to establish arrears that was up

           4          before the court on February the 10th and those

           5          two numbers were never brought up as well. And

           6          without a clear understanding and audit of what

           7          those numbers represent. Because they

           8          unilaterally of their own volition without any

           9          court approval.

          10                                  ATTORNEY GOULD: Judge,

          11          objection.

          12                                  MS. SEGUIN: Took off the

          13          interest.

          14                                  THE COURT: Let me interrupt

          15          you, ma'am. Where are you getting these two

          16          numbers from? I do not see them anywhere.

          17                                  MS. SEGUIN: Exactly. That is

          18          the order proposed order that the State had

          19          filed. You are absolutely right. Your Honor.

          20          Those two numbers--

          21                                  THE COURT: I am looking at

          22          the proposed state order that has different

          23          numbers then what you are saying.

          24                                  MS. SEGUIN: The proposed

          25          order that they submitted to me, on #4 it says

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           1          $75,623.71 for interest. And then a medical

           2          support interest for $6028.75. Now these two

           3          numbers were never before the Court before on

           4          February the 10th. On February the 10th they

           5          brought up a motion that mentioned $81,000.

           6                                  THE COURT: Well, maybe that

           7          is a combination of the two numbers.

           8                                  ATTORNEY GOULD: Yeah, Judge.

           9          That is the combination.

          10                                  MS. SEGUIN: So sorry, go

          11          ahead.

          12                                  ATTORNEY GOULD: There was an

          13          objection, Judge.

          14                                  THE COURT: Yeah, what is

          15          your objection, Paul?

          16                                  ATTORNEY GOULD: We are off

          17          the subject. The subject is whether this order

          18          should enter or not.

          19                                  THE COURT: Right.

          20                                  ATTORNEY GOULD: Not about

          21          any agreements, not about anything else other

          22          than the numbers and Judge if I may or I will

          23          let the defendant continue Judge.

          24                                  THE COURT: I thought my

          25          order was very simply was to set the arrears as

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           1          they appear on the State computer but without

           2          prejudice and then there will be a subsequent

           3          hearing to determine whether or not those

           4          numbers are in fact accurate. As I am reading

           5          the order, they put two numbers in and it is

           6          clearly, let me read the paragraph. Yeah,

           7          paragraph six, the Court finds that the total

           8          the arrears of $81,000, which is the combined

           9          number is placed on the Child Support ledger

          10          without prejudice to the June 8, 2023 hearing.

          11          The State agrees it shall respond to the

          12          defendant's first request for production of

          13          documents forthwith.

          14                                  MS. SEGUIN: Yes, Your Honor.

          15          So therefore, you had not made any kind of

          16          findings of fact of whatever they might be. You

          17          simply said put the interest back--

          18                                  THE COURT: Yeah, I said

          19          whatever the computer says is the balance. Put

          20          it on the computer without prejudice, which

          21          means that we need a starting point. You need to

          22          know what they allege you owe and that is what

          23          they are alleging you owe. You disagree with

          24          that number. You asked them for the

          25          documentation to substantiate that number. That

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Case:23-1978
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           1          is why I continued it out all the way to June so

           2          that you would have an opportunity to get their

           3          materials, for you to you digest their

           4          materials, provide counter materials back to

           5          them. So that in June, a full hearing can be

           6          held with everyone totally prepared as to argue

           7          either position. Either there is no money due or

           8          there is a balance due. I never made any finding

           9          whatsoever there is in fact a balance due. If I

          10          did, I would not have continued the hearing.

          11                                  MS. SEGUIN: Thank you, Your

          12          Honor. That is exactly what my understanding as

          13          well.

          14                                  THE COURT: Right. That is

          15          what the order says. It says put the number on

          16          the computer, but without prejudice, which means

          17          both sides have to argue and convince the Judge

          18          that that is in fact the number. Or you are

          19          going to argue it is an incorrect number and you

          20          are going to substantiate it by whatever

          21          arguments you present. They going to

          22          substantiate it by whatever arguments they

          23          present. And then whoever hears it in June will

          24          decide which side is correct.

          25                                  MS. SEGUIN: Thank you, Your

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Case:23-1978
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           1          Honor. I wanted to make sure that, you know,

           2          that all parties understand that because at this

           3          point, the State is saying that you already

           4          found that I had—-

           5                                  THE COURT: No, no. The State

           6          is not saying that because the order clearly

           7          says those numbers or that number is without

           8          prejudice, which means I did not establish that

           9          number. We do it in many of these cases to get

          10          the ball rolling, so either side knows what they

          11          need to produce to substantiate their positions.

          12          The same way they can come in now and say, Oh,

          13          no, we made a mistake. She actually owes

          14          $185,000.

          15                                  MS. SEGUIN: You are giving

          16          me a heart attack, Your Honor.

          17                                  THE COURT: It puts a cap on

          18          what they can argue.

          19                                  ATTORNEY GOULD: Judge, can I

          20          respond now?

          21                                  MS. SEGUIN: So, Your Honor,

          22          with that in mind, just to clarify, that is what

          23          they are saying in 2018 when they first took

          24          off--

          25                                  ATTORNEY GOULD: Objection.

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Case:
Case:23-1978
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           1                                  THE COURT: Just a minute.

           2          The order speaks for itself. It says the balance

           3          on the computer as of whatever dates in there. I

           4          cannot read it now quickly, whatever dates in

           5          there, that is the balance on the computer. They

           6          have to substantiate it. They are going to send

           7          you documentation supposedly to substantiate it.

           8          If they cannot substantiate, then they are not

           9          going to get that number.

          10                                  ATTORNEY GOULD: Judge, I

          11          disagree with that. Judge, we have no obligation

          12          to substantiate this. There is a Child Support

          13          number that was established by Judge McCann. You

          14          took judicial notice of that.

          15                                  THE COURT: I took judicial

          16          notice that there was no appeal of his order.

          17          That is what the judicial notice of.

          18                                  MS. SEGUIN: Thank you, Your

          19          Honor. Thank you, Your Honor. That is my

          20          understanding as well that you took judicial

          21          notice of the orders themselves. But what is in

          22          dispute is how the child support office has

          23          handled this computation.

          24                                  THE COURT: That's the

          25          argument for June, ma'am. That is the argument

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Case:23-1978
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           1          for June.

           2                                  MS. SEGUIN: Taking that off

           3          the system without your approval. Now, put it

           4          that way--

           5                                  THE COURT: What you are

           6          arguing now is what you need to argue in June. I

           7          am satisfied that the order that has been

           8          presented by the State that breaks down the two

           9          balances that the total is $81,000 is in fact

          10          the appropriate order from the hearing. It is

          11          without prejudice. They are going to provide

          12          documents that you requested so that you can

          13          then decide whether or not you agree or

          14          disagree. And if you disagree with their method

          15          of calculating it, you need to present why you

          16          think that method is incorrect and what should

          17          be the correct number if any.

          18                                  MS. SEGUIN: Yes, and

          19          including a waiver of interest –

          20                                  THE COURT: You are arguing

          21          whether the number is correct or not. That is

          22          the whole purpose of making it without

          23          prejudice.

          24                                  MS. SEGUIN: Yes, and that

          25          would include the waiver of interest that had

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           1          occurred.

           2                                  THE COURT: No, that is the

           3          subject of the hearing. That is the subject of

           4          the hearing. I am making no finding about

           5          whether there was or was not a waiver of

           6          interest.

           7                                  MS. SEGUIN: Thank you, Your

           8          Honor. So that is part of the discovery that

           9          needs to happen.

          10                                  THE COURT: Well, that is

          11          what I assume you are asking for. Is to get the

          12          documentation that would have substantiate your

          13          belief that there was the waiver of the

          14          interest.

          15                                  MS. SEGUIN: Thank you, Your

          16          Honor.

          17                                  THE COURT: So, if you can

          18          substantiate that there was a waiver of

          19          interest, that balance disappears.

          20                                  MS. SEGUIN: So, the State is

          21          objecting to producing those protected

          22          documents—

          23                                  THE COURT: No, no. They are

          24          not objecting to producing any documents. The

          25          line paragraph says in paragraph 10, The State

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Case:
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       23-1967   Document:
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                           00118126457
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                            00118123623   Page:
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                                                1118
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           1          agrees it shall respond to the defendant's first

           2          request for production of documents forthwith.

           3          So, whatever you asked them for, they are going

           4          to they are going to provide to you. If you do

           5          not think they provided everything you asked

           6          for, you file a supplemental request.

           7                                  ATTORNEY GOULD: The State

           8          filed its answer in response to her request for

           9          production, Judge. And I will stand by that. And

          10          I will argue those issues that we refuse to

          11          answer, or we objected on procedural grounds or

          12          we objected on legal grounds for what we did.

          13          And I will respond to that when it is

          14          appropriate.

          15                                  THE COURT: That would be

          16          June 8th. That will be done on June 8th. So, you

          17          can be prepared to go forward on whatever your

          18          objections are and whoever hears it will decide

          19          whether the objections were valid or not.

          20                                  MS. SEGUIN: Your Honor, Mr.

          21          Gould had said something to me, emailed

          22          something to me to the affect that he said you

          23          will be retiring June the 8th. I just wanted to

          24          know why he emailed me something like that.

          25                                  THE COURT: It has been

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
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                           00118126457
                           00118126723
                            00118123623   Page:
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                                                1119
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                                                 525   Date
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           1          projected that I am to retire sometime before

           2          July 1st. They are dealing with my successor and

           3          I sit until my successor is appointed and

           4          qualified. And the projection is by the end of

           5          the by end of June, the latest could be earlier.

           6          I do not think it could be later, but it is

           7          possible.

           8                                  ATTORNEY GOULD: And Judge,

           9          because we, I guess, we like making these

          10          artificial records, I will make this record

          11          here. I did not say that snd I resent the

          12          defendant putting words in my mouth.

          13                                  MS. SEGUIN: I indicated the

          14          email that you wrote to me.

          15                                  THE COURT: Listen, just a

          16          minute, just a minute. Whether I sit or I do not

          17          sit is an immaterial situation, it has nothing

          18          to do with what is before me today. I am ruling

          19          on the order they sent you breaking down the

          20          balances between the child support and medical

          21          arrears is valid as to what I said the last time

          22          we were here. I am going to sign that order and

          23          proceed with their discovery. Whatever

          24          objections you have relative to the discovery

          25          and whoever sits here, whether it is me or

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
                           00118126723
                            00118123623   Page:
                                          Page:1579
                                                1120
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           1          someone else, they will be prepared to address

           2          the situation. Okay.

           3                                  MS. SEGUIN: Thank you, Your

           4          Honor. Thank you. One last question about number

           5          11 and 12. I mean, those elements—

           6                                  THE COURT:    11 and 12?

           7                                  MS. SEGUIN: Yeah, 11 and 12.

           8                                  THE COURT: 11 tells you how

           9          to contact us. 11 is how to contact us and 12 is

          10          a standard paragraph that they put in indicating

          11          that, I don't know why it's here, but they that

          12          the standard paragraph they stick in every case

          13          has no bearing on this one. Other than it says

          14          that until it is paid in full, you know, the

          15          order will continue to run. But there is no

          16          order running in terms of what your obligation

          17          to pay that is.

          18                                  MS. SEGUIN: Okay, okay. So

          19          that is something that is boilerplate.

          20                                  THE COURT: That is

          21          boilerplate and 11 is how you get in touch with

          22          us.

          23                                  MS. SEGUIN: Sure.

          24                                  THE COURT: We do not put

          25          that in, we will never have any hearings.

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
                           00118126723
                            00118123623   Page:
                                          Page:1580
                                                1121
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                                                 527   Date
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           1                                  MS. SEGUIN: Thank you, Your

           2          Honor.

           3                                  ATTORNEY GOULD: If I could

           4          talk this time a little bit. Maybe just for the

           5          record. Those same paragraphs were in the

           6          September 25th, 2012 orders. And that same

           7          boilerplate languages in a July 11, 2012 orders

           8          and any other order that she would receive.

           9          August 15, 2012. That same identical language

          10          was contained in those. It is boilerplate.

          11                                  THE COURT: Yeah,

          12          boilerplate. All right, we will see you on June

          13          8th at 2:30. Wait a minute. Daylight savings

          14          time is starting soon.

          15                                  MS. SEGUIN: Oh, yeah.

          16                                  THE COURT: All right. Do you

          17          go on daylight saving time? Pay attention.

          18                                  MS. SEGUIN: Okay.

          19                                  THE COURT: This coming

          20          Saturday, our clocks jump forward an hour. So,

          21          your clock does not jump forward. You are going

          22          to have to call in an hour earlier.

          23                                  MS. SEGUIN: All right.

          24                                  THE COURT: I have friends

          25          that live in Arizona, and they told me that in

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
                           00118126723
                            00118123623   Page:
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           1          Arizona, there were three different time zones

           2          in the summer.

           3                                  MS. SEGUIN: Yeah, every

           4          county is allowed to do that out here.

           5                                  THE COURT: I know that. That

           6          is why that is why I pay attention to it because

           7          they tell me that people have trouble. They

           8          think, Oh, I am going to be on time, I am going

           9          to Court. They said, No, you are an hour late.

          10          What do you mean? This is the time across the

          11          street. No, that is an hour different than us.

          12                                  MS. SEGUIN: It really is

          13          crazy. That they have marked it off, not a

          14          county, but across the street. You are

          15          absolutely right.

          16                                  THE COURT:    All right. So,

          17          pay attention. It is 2:30 our time.

          18                                  ATTORNEY GOULD: Judge, if I

          19          may. The order I submitted that contains 12

          20          paragraphs.

          21                                  THE COURT: Yes.

          22                                  ATTORNEY GOULD: February 10,

          23          2023, starting with paragraph one, the matter is

          24          continued.

          25                                  THE COURT: Yes.

                                               16
Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
                           00118126723
                            00118123623   Page:
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           1                                  ATTORNEY GOULD: That order

           2          is going to be accepted by the Court. That will

           3          be the order of the Court for that day?

           4                                  THE COURT: Right.

           5                                  ATTORNEY GOULD: The order

           6          that she submitted will be stricken, correct?

           7                                  THE COURT: Right.

           8                                  MS. SEGUIN: Yes, that is my

           9          understanding, too. Yes.

          10                                  ATTORNEY GOULD: Thank you,

          11          Judge.

          12                                  THE COURT:    All right. We

          13          will see you in June.

          14                                  ATTORNEY GOULD: One more

          15          thing. I am sorry. Judge, if I may, can the

          16          defendant place her address on the record?

          17          Because we sent some correspondence that was

          18          sent back to us. Now we have used her email as a

          19          courtesy to her and we also need an actual

          20          street address so that we can send her

          21          documents.

          22                                  MS. SEGUIN: Your Honor, I

          23          think this is, I do not really understand why -–

          24                                  THE COURT: Let me just

          25          interrupt. Let me interrupt. When you enter your

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
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                            00118123623   Page:
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           1          appearance, you need to provide under the rules

           2          your address, your phone number, and your email

           3          address.

           4                                  MS. SEGUIN: Yes.

           5                                  THE COURT: And if you were

           6          an attorney, obviously your bar number. Okay so

           7          if you change any of those addresses or emails,

           8          you are under an obligation to keep updating it

           9          because if they send anything to the address or

          10          the email that you provided, it's not a defense

          11          later on, Oh, it's not my address or email, I

          12          changed it. So that is why they are asking to be

          13          sure they get the right method to contact you,

          14          depending on what they have to send. It is a

          15          part of the Court order that you provide your

          16          address and email address.

          17                                  MS. SEGUIN: Your Honor, may

          18          I also then ask that the State sent me a or e-

          19          file any notices? Because they have been mailing

          20          things to me in Texas, which takes 10 to 12 days

          21          for me to receive by regular mail. So, could you

          22          also please, I am going to ask you please to

          23          ask, to make them, to order them to notice me by

          24          electronic means as well.

          25                                  THE COURT: Well, that's part

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
                           00118126457
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                            00118123623   Page:
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           1          of the rules, too.

           2                                  MS. SEGUIN: Okay.

           3                                  THE COURT: All right?

           4                                  MS. SEGUIN: Okay. Thank you,

           5          Your Honor. I appreciate you telling me.

           6                                  THE COURT: All right, June

           7          8th.

           8                                  ATTORNEY GOULD: I do not

           9          have an address, Judge.

          10                                  THE COURT: Oh, that is

          11          right. What is your updated address?

          12                                  MS. SEGUIN: My address is on

          13          the on file is P. O. Box 22022 Houston, Texas,

          14          77019.

          15                                  THE COURT: What about email?

          16                                  MS. SEGUIN: That's Mary

          17          Seguin 22022 at Gmail.com. They are also in my

          18          pleadings as well.

          19                                  THE COURT: Slow down. Slow

          20          down. We do not type that fast.

          21                                  THE CLERK: I did not get

          22          that P. O. Box. Can you give it to me again,

          23          please?

          24                                  MS. SEGUIN: Yes, it is,

          25          22022.

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
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           1                                  THE COURT: That is the P. O.

           2          Box number?

           3                                  MS. SEGUIN: Yes, Your Honor.

           4                                  THE COURT: Making sure it

           5          was not the zip or area code.

           6                                  MS. SEGUIN: It is one too

           7          many numbers.

           8                                  THE COURT: What is the zip

           9          in Houston?

          10                                  MS. SEGUIN: It is 77019.

          11                                  THE COURT: All right, all

          12          set?

          13                                  MS. SEGUIN: Thank you, Your

          14          Honor.

          15                                  THE COURT: Okay, June 8.

          16                                  ATTORNEY GOULD: Thank you,

          17          Judge.

          18                                  MS. SEGUIN: Thank you, Your

          19          Honor.

          20

          21

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Case:
Case:23-1978
      23-1967
       23-1967   Document:
                 Document:00118189824
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